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            IN THE COURT OF CRIMINAL APPEALS OF TEXAS
                    CLERK’S SUMMARY SHEET FOR
      POSTCONVICTION APPLICATIONS FOR WRIT OF HABEAS CORPUS
     UNDER CODE OF CRIMINAL PROCEDURE, ARTICLES 11.07 AND 11.071
Application for Writ of Habeas Corpus                                                  RECEIVED
                                                                                COURT OF CRIMINAL APPEALS
Ex Parte: Obel Cruz- Garcia                         From: Harris               County 9/21/2021
                                                                                 DEANA WILLIAMSON, CLERK
(Name of Applicant)
                                                    337                                Court

                                             TRIAL COURT WRIT NO. 1384794-C

APPLICANT’S NAME (As reflected in judgment): Cruz- Garcia, Obel
OFFENSE (As reflected in judgment): Capital Murder
CAUSE NO. (As reflected in judgment): 138479401010
PLEA: _          GUILTY         X   NOT GUILTY          _ TRUE
SENTENCE: DEATH- TDCJ-ID                                    DATE: 07/22/2013
(Terms of years reflected in judgment)
TRIAL DATE: 07/22/2013
TRIAL JUDGE’S NAME (Judge presiding at trial): Renee Magee
APPEAL NO. (If applicable): Ap- 77,025
CITATION TO OPINION (If applicable):              S.W.3d
HEARING HELD:            YES X NO
(Pertaining to the application for writ of habeas corpus)
FINDINGS & CONCLUSIONS ENTERED BY HABEAS JUDGE:                           YES X NO
(Pertaining to the application for writ of habeas corpus)
RECOMMENDATION:                  GRANT           DENY             DISMISS X NONE
(Habeas judge’s recommendation regarding application for writ of habeas corpus)
HABEAS JUDGE’S NAME:              Colleen Gaido
(Judge presiding over habeas corpus proceeding)
NAME OF HABEAS COUNSEL IF APPLICANT IS REPRESENTED: David Currie

I certify that all applicable requirements of Texas Rule of Appellate Procedure 73.4 have been complied with
in this habeas proceeding, including the requirement to serve on all the parties in the case any objections,
motions, affidavits, exhibits, proposed findings of fact and conclusions of law, findings of fact and
conclusions of law, and any other orders entered or pleadings filed in the habeas case.

  Ta’Shiqua Reed- Solomon                                                    04/15/2021
Signature of District Clerk or Clerk’s Representative                     Date Signed




Misc. Docket No. 18-025
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                            SUBSEQUENT
                       POST CONV ICTION




FROM:                   351th DISTRICT COURT



                                   OF



                        HARRIS COUNTY, TEXAS




                            Cruz- Garcia, Obel


                               APPLICANT



                                   VS.



                          THE STATE OF TEXAS


                              RESPONDENT
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                                                               Marilyn Burgess - District Clerk Harris County
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                   13847940101C / Court: 337                                                      By : T Reed
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                 IN THE 337 TH JUDICIAL DISTRICT COURT
                         HARRIS COUNTY, TEXAS

                                     AND

               IN THE TEXAS COURT OF CRIMINAL APPEALS
                            AUSTIN, TEXAS

                           §
Ex parte OREL CRUZ-GARCIA, §
                           §                Writ No.
                           §                Trial Court Case No:
                           §                1384794
                           §
                Applicant. §                 CAPITAL CASE
                           §
                           §
                           §


              SUBSEQUENT APPLICATION FOR
         POST-CONVICTION WRIT OF HABEAS CORPUS


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                              STATEMENT OF THE CASE

     I.        Introduction

          A.     The 1992 disappearance and death of A.
          Cruz-GarciaCruz-Garcia was convicted and sentenced to death in

2013 as a party to the 1992 capital murder of A. 1 3 CR 530. A. was

reported missing by his mother, Diana Garcia, on the night of September

30, 1992, after a neighbor alerted 911 to the child’s disappearance. Ex.

77. At the time, Garcia shared an apartment with a man she identified

to law enforcement as her husband, Arturo Rodriguez. Id. In the hours

that followed A.’s disappearance, Garcia and Rodriguez gave separate

statements to the Houston Police Department (“HPD”), in which they

described being violently assaulted in their apartment by masked

intruders who spoke to them in English. Id.; Ex. 78. Garcia described to

law enforcement waking up to a loud noise and discovering a masked and

armed intruder standing in the living room. Ex. 77. Garcia was ordered

to lay face down on the bed, her hands tied, and she was sexually

assaulted. Id. She could hear Rodriguez being beaten and A. crying. Id.




1In accordance with redaction requirements, the name of A., a minor at the time of
the offense, has been abbreviated to his first initial and redacted from exhibits.




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Rodriguez, too, was ordered to lay face down, his mouth gagged and a

pillowcase placed over his head, and beaten until he gasped for air. Ex.

78. After Garcia heard the front door close, she rushed to free Rodriguez

and discovered that A. was no longer in the apartment. Ex. 77. Neither

Garcia nor Rodriguez recognized the main assailant, who they both

described as being a Black man, tall and muscular, who spoke to them in

English. Id.; Ex. 78.

     Following Garcia and Rodriguez’s initial statement to HPD, law

enforcement quickly ascertained that the child’s parents were lying to

them. The couple reported that the assailants had broken into the

apartment, yet no items of value were taken, including the gold jewelry

worn by Garcia and Rodriguez that night. Ex. 96. Garcia denied any drug

involvement and was adamant that she could think of no motive for the

abduction of her son. Id. However, law enforcement soon discovered that

Garcia and Rodriguez had been dealing cocaine from the apartment from

which A. was taken and on that very night. Ex. 24. HPD officers pled with

Garcia to be truthful and to help in recovering her son. Ex. 64; 65. Law

enforcement tracked various leads based on neighbors’ observations of

two men roughly corresponding to Garcia and Rodriguez’s description of




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the assailants, and interviewed the couples’ friends and associates to no

avail. Ex. 24; 97.

      Of those known associates, law enforcement conducted multiple

interviews of Carmelo “Rudy” Santana Martinez. Ex. 67; 68. Although

denying any knowledge of the circumstances of A.’s disappearance,

Santana admitted that he had met Garcia and Rodriguez as their cocaine

supplier. Ex. 68. Santana described making weekly deliveries of cocaine

to the couple’s apartment, accompanied by his cousin’s then-husband,

Cruz-Garcia. Ex. 68. Santana had recruited Cruz-Garcia from Puerto

Rico to Houston. Law enforcement was unable to interview Cruz-Garcia

after learning that “for whatever reason” he had returned to the

Dominican Republic. Ex 66.

      In addition to interviewing known associates of Garcia and

Rodriguez, law enforcement focused their investigation on the forensic

evidence recovered from the apartment on the night of A.’s

disappearance. Specifically, law enforcement sent to the then-recently

inaugurated DNA Section of the HPD Crime Lab a sexual assault kit

containing vaginal swabs and underwear from Garcia and a cigar found

at the apartment. Law enforcement did not, however, believe that the




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cigar was connected to the assault and disappearance of A. Ex. 64. The

cigar and sexual assault kit were received by HPD Crime Lab employee

Deetrice Wallace, who screened the items for blood and semen. 16 RR 98;

Ex. 24; 132. After taking a cutting from the underwear, DNA Section

supervisor Dr. Sharma performed DNA extractions from the underwear

cutting, cigar, and vaginal swabs. 16 RR 86–87, 97; Ex. 132. Dr. Sharma

was unable to compare those extractions to DNA samples obtained by

law enforcement from known associates of Garcia and Rodriguez. Ex.

132. After sending the DNA evidence to various labs in an attempt to

obtain definitive comparisons, the DNA Section reported conflicting

results and the forensic evidence was eventually stored in HPD Crime

Lab storage. Id.

     A.’s body was discovered on November 4, 1992, on the banks of a

Baytown bayou. An autopsy was performed and, though no cause of death

could be ascertained, his death was ruled a homicide. Stonewalled by

Garcia and Rodriguez, and with no further leads, the case was eventually

classified as cold. In a memo dated January 6, 1993, HPD Sergeant

Stephens summarized, “Diana [Garcia] and Arturo [Rodriguez] have

been untruthful throughout the investigation with regards to the events




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inside the apartment and the identity of the suspects.” Ex. 19; see also

Ex. 66.

     B.    A cold case revisited.
     In 2007, HPD Sergeant Eric Mehl reopened the cold case of A.’s

disappearance and death. As part of the investigation, he retrieved the

cigar and sexual assault kit, stored since 1994 in HPD Crime Lab storage

at 1200 Travis St. and Goliad St. Ex. 132; 16 RR 30–32. By 2007, the

DNA Section of the HPD Crime Lab had been shuttered since 2002 after

an   independent    audit   uncovered     widespread    mishandling     and

misanalysis of DNA evidence. Ex. 61. 2007 also marked the end of a five-

year investigation by an independent investigator tasked by the City of

Houston to review the operating procedures of the HPD Crime Lab

generally. Id. That investigation and its findings would eventually lead

to the closure of the HPD Crime Lab as a whole. Among the many and

significant failings uncovered, the independent investigator cautioned

that storage conditions at 1200 Travis St. and Goliad St. were likely to

cause the contamination and degradation of biological evidence,

including through exposure to flooding, high humidity, and extreme heat.

Ex. 61; 140.




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     Sergeant Mehl sent the cigar and sexual assault kit to an

independent forensic firm, Orchid Cellmark, to re-compare the DNA on

those items to samples newly obtained from associates and friends

identified in the course of the initial investigation. 16 RR 33. Of those

persons, Sergeant Mehl eventually located Cruz-Garcia in Puerto Rico

and, in 2008, obtained a buccal swab for comparison. Orchid Cellmark

reported that Cruz-Garcia’s DNA matched the DNA profile identified on

the cigar, the major DNA profile identified on the underwear cutting, and

the minor DNA profile identified on the vaginal swabs. 21 RR 119–20.

Orchid Cellmark also reported that Garcia’s husband, Rodriguez, could

not be excluded as a contributor to the DNA profile identified from the

mixture on the vaginal swabs. Id. at 111–12. Based on this DNA

evidence, Cruz-Garcia was indicted on November 28, 2008, in connection

with the disappearance and death of A. 1 CR 6.

     C.    An eyewitness implicates Cruz-Garcia as a party to the
           murder of A.
     Soon after indicting       Cruz-Garcia in connection with A.’s

disappearance, law enforcement again interviewed Santana, the cousin

of Cruz-Garcia’s wife and suspected associate of Cruz-Garcia. Ex. 69. At

the time, Santana was incarcerated in federal prison in Florida on felony



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drug charges. Id. Santana again denied any knowledge of the

circumstances of A.’s disappearance and death. Id. He had not kept in

touch with Cruz-Garcia but described a friendly relationship between

Cruz-Garcia and Garcia and Rodriguez. Id. Garcia and Rodriguez

themselves would later describe Cruz-Garcia and his wife as close

friends, with whom they often went out to clubs, even dropping by on the

afternoon of A.’s disappearance. 18 RR 135.

     Over two years after Cruz-Garcia was indicted and with the case

seemingly at a standstill, law enforcement interviewed Santana again in

May 2011. Ex. 101. By that time, the State was confident of Santana’s

involvement. Ex. 127. After assuring Santana that his cooperation

“would be made known to the prosecutor and the presiding judge[,]” FBI

Agent Ebersole explained that the State needed Santana’s help “to

complete the picture of what happened to the little boy A.” Ex. 101.

Santana then recounted driving to Garcia and Rodriguez’s apartment

with Cruz-Garcia and another associate, Rogelio Aviles-Barroso, on the

night of A.’s disappearance, taking A. and driving to Baytown, where

Santana observed Cruz-Garcia order Aviles-Barroso to murder A. Id. Two




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months after Santana’s statement, the State gave notice of its intention

to seek the death penalty against Cruz-Garcia. 4 RR 9.

     D.    Cruz-Garcia is found guilty as a party to capital
           murder and sentenced to death.
     At trial, the State’s case against Cruz-Garcia rested on three key

elements: first, Santana’s testimony as an eyewitness to Cruz-Garcia

ordering A.’s murder; second, DNA evidence tying Cruz-Garcia to the

sexual assault of Garcia on the night of A.’s disappearance; and third, the

testimony of Angelita Rodriguez that her then-husband had confessed to

killing A. In closing argument, the State summarized to the jury that

these three elements established Cruz-Garcia’s guilt as a party to capital

murder. 23 RR 97–98. Defense counsel, Skip Cornelius and Mario

Madrid, presented no case on rebuttal.

     At the penalty phase, the State again called Santana to testify as

an eyewitness to Cruz-Garcia ordering another murder in 1989. 25 RR

72–85. The State bolstered its future dangerousness case by eliciting

testimony that Cruz-Garcia was involved in a 2001 kidnapping plot in

Puerto Rico and the further murder of a person identified only by the

name “Betico.” 24 RR 14–43, 78–117. Defense counsel presented no case

on rebuttal on future dangerousness and presented the testimony of four



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mitigation witnesses over the course of one day. Cruz-Garcia was

formally sentenced to death by Judge Magee on July 22, 2013. 3 CR 530.

     Attorneys Skip Cornelius and Mario Madrid were appointed to

represent Cruz-Garcia after the State announced its intention to seek the

death penalty. 1 CR 57–58. Defense counsel agreed with presiding Judge

Renee Magee to represent Cruz-Garcia for a flat fee. Cornelius, who sat

as First Chair, accordingly did not submit any detailed billing in

connection with Cruz-Garcia’s case.

     Cornelius did, however, bill prolifically to other cases on which he

was appointed during Cruz-Garcia’s trial. Jury selection in Cruz-Garcia’s

case started on June 3, 2013, and sentencing occurred on July 22, 2013.

Cornelius billed time to other cases every day, Monday through Saturday,

between June 3 and July 22, 2013. See Ex. 138. Cornelius billed at least

2.5 hours to other cases on each of those days and during Cruz-Garcia’s

trial. Id. On each day that the jury heard evidence during the guilt phase,

Cornelius billed at least 4 hours to other cases, and as many as 5.5 hours.

Id. Over the three days of the punishment phase, Cornelius billed an

average of 4.83 hours per day in other cases. Id.




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        E.    A case built on false testimony and false DNA evidence,
              compounded by the ineffective assistance of trial
              counsel.
        Within months of Cruz-Garcia’s conviction and sentence of death,

the State’s case against Cruz-Garcia began to crumble. First, in

November 2015, the State published an amended DNA report that

revealed that much of the DNA evidence introduced at trial was false.

Ex. 11. In closing, the State had reasoned to the jury that the DNA

evidence established Cruz-Garcia’s identity as Garcia’s assailant because

his DNA was on the sexual assault kit and the remaining DNA was that

of her husband, Rodriguez. 23 RR 82. The State further relied on the DNA

evidence as corroboration for Santana’s accomplice testimony, according

to which he himself was never in Garcia’s apartment and Cruz-Garcia

had confessed to assaulting Garcia. Id. However, the Amended DNA

report concluded that no conclusions could be drawn as to the identity of

any of the contributors to the DNA mixture on the vaginal swabs, and no

conclusions could be drawn as to the identity of the contributors to the

minor DNA mixture on the underwear cutting. 2 Ex. 11. As corrected, the


2The Amended DNA report did not dispute that Cruz-Garcia’s DNA profile matched
that from the cigar and the major contributor to the DNA mixture from Garcia’s
underwear. Ex. 11. However, during the initial investigation, law enforcement never
believed that the cigar was tied to the offense. Ex. 64. The State also refuted evidence



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DNA evidence therefore neither establishes Cruz-Garcia’s identity as

Garcia’s assailant, nor corroborates Santana’s testimony. Instead, the

DNA evidence reveals the likelihood of an unknown assailant. 3

        Second, the State vehemently argued to the jury that Santana

neither asked for, nor received a deal in connection with his testimony

against Cruz-Garcia. 23 RR 96–98. In his testimony, Santana implicated

himself in both the 1992 capital murder of A. and the 1989 murder of

Saul Flores (introduced at punishment as an extraneous offense). At the

State’s prompting, he told the jury that he was testifying despite the risk

of prosecution in connection with either offense. See infra §§ I.A.2.; IV.A.

However, after Santana testified for the State at the guilt and penalty

phases, the State never brought any charges against him. The absence of

any charges reveals that the jury was laboring under a false impression

as to the credibility of the State’s star witness.




of a consensual sexual relationship between Garcia and Cruz-Garcia, arguing to the
jury that they would have to be “crazy” to believe that Garcia would have a
relationship with a man “15 years her junior[.]” 23 RR 91; see also infra § IV.D.4.
3 The possibility of an unknown assailant was already known to the State by 2011,
based on Orchid Cellmark testing that identified an unknown male DNA on the door
of the car in which the assailants were alleged to have taken A.. Ex. 133.




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     Moreover, evidence uncovered in post-conviction further casts

serious doubt as to Santana’s credibility. Federal court records establish

that Santana had a history of mental health issues and had sought to

convince a federal judge that he was incompetent shortly before

implicating Cruz-Garcia to the FBI. Ex. 12; 13; 14. He had also been

convicted of assaulting a child prior to his involvement in the kidnapping

and death of A., a crime of moral turpitude based on which he could have

been impeached and which would have cast doubt as to his supposed

reluctant involvement in a crime against a child, A. Ex. 79.

     Third, after she testified for the State that Cruz-Garcia had

confessed to her some months after A.’s disappearance, Angelita

Rodriguez was able to adjust her immigration status despite having been

convicted of deportable offenses. Assistant District Attorney Natalie Tise

personally wrote and signed a letter in support of Angelita’s bid to adjust

her immigration status. Ex. 113. Finally, in the intervening years,

successor counsel have uncovered a wealth of exculpatory and mitigation

evidence, including material evidence withheld by the State in violation

of its Brady obligations and evidence missed or ignored due to the

ineffective assistance of trial counsel.




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     Because of the ineffective assistance of counsel, the jury was not

presented with a case on rebuttal at the guilt phase. The jury also heard

virtually nothing of Cruz-Garcia’s life story leading up to the offense. As

a child, his family fell from middle-class respectability to grinding

poverty in a remote fishing village after his father suffered a debilitating

accident that ended his naval career. Cruz-Garcia was subsequently

abandoned by his mother, who fled to Venezuela, and was forced to work

as a fisherman to sustain his family while still a young teenager. He was

also forced to marry a village girl he barely knew, who abandoned him

for another man while he—still a teenager—worked on a coffee

plantation in Puerto Rico.

     Despite being dealt a miserable hand in life, Cruz-Garcia was

capable of extraordinary empathy and generosity. When he had money,

he made sure the people he knew were in need had food. He also paid for

a friend’s medical treatment that saved his friend’s arm from having to

be amputated. And he always sent money back to the Dominican

Republic to assist his ailing father. The jury heard none of this, nor any

of the rest of Cruz-Garcia’s life story because trial counsel failed even to




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retain a mitigation specialist—despite the ABA and Texas Guidelines

requiring one as part of a capital trial team.

     F.    Cruz-Garcia received ineffective assistance of initial
           state habeas counsel.
     After his conviction and sentence of death, two attorneys from the

Office of Capital and Forensic Writs (“OCFW”) were assigned to

represent Cruz-Garcia in state post-conviction proceedings. The OCFW

was newly formed and the attorneys assigned to Cruz-Garcia’s case were

inexperienced, under-resourced, and carried significant caseloads with

no supervision. Ex. 120. State habeas counsel thus failed to identify and

develop significant evidence of trial counsel’s ineffectiveness, including

Cornelius’s publicly available billing records establishing his startling

neglect of Cruz-Garcia’s case. They also failed to investigate and develop

swaths of evidence that established that Cruz-Garcia was prejudiced by

trial counsel’s ineffectiveness. Id.; Ex. 121. Cruz-Garcia was therefore

unable to develop and raise many of the claims presented herein.




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     II.     Procedural History
           Cruz-Garcia was indicted as a party to capital murder on November

20, 2008. 1 CR 6. 4 In August 2011, the State gave notice of its intention

to seek the death penalty against Cruz-Garcia, and attorneys Skip

Cornelius and Mario Madrid were appointed as first and second chair.5 1

CR 57–58; 4 RR 6–7, 9. After four days of testimony by witnesses for the

State at the guilt phase of trial, the defense presented no case on rebuttal

and both sides rested. 21 RR 174–75. After two days of testimony by

witnesses for the State on punishment, the defense presented the

testimony of four witnesses over the course of one day. 26 RR 8–96. The

jury was sequestered overnight to deliberate on punishment and, after

the trial court held an ex parte meeting with a holdout juror, returned a

sentence of death. 27 RR 9. Cruz-Garcia was formally convicted and




4 Citations to the Clerk’s Record from trial are cited to as “volume CR page” and to
the Clerk’s Record from initial state post-convictions proceedings as “volume SHCR
page.” Citations to “RR” are to the Reporter’s Record from trial and to “SHRR” to the
Reporter’s Record from any hearing in connection with initial state post-conviction
proceedings.
5 In the interim period, Cruz-Garcia had retained attorneys Steven Shellist and
Christian Capitaine as counsel. 1 CR 19–21. Because neither Mr. Shellist nor Mr.
Capitaine were death-qualified, however, they withdrew from the case when the
State announced its intention to seek the death penalty. 4 RR 6.




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sentenced to death as a party to capital murder on July 22, 2013. 3 CR

530.

        The Court of Criminal Appeals (“CCA”) affirmed Cruz-Garcia’s

conviction and sentence of death on direct appeal on October 28, 2015.

Cruz-Garcia v. Texas, No. AP-77,025, 2015 WL 6528727 (Tex. Crim. App.

Oct. 28, 2015) (unpublished). Cruz-Garcia timely filed an initial

application for writ of habeas corpus in the convicting court on August

28, 2015. 1 SHCR 2. Over Cruz-Garcia’s objections that the convicting

court contravened the procedures outlined under Tex. Code Crim. Proc.

art. 11.071, the convicting court adopted the State’s proposed findings

and conclusions verbatim and in full on December 29, 2016.6 5 CR 1084–

85.

        On November 3, 2015, the State published an Amended Laboratory

Report by the Houston Forensic Science Center. Ex. 11. On May 2, 2016,

Cruz-Garcia filed a Subsequent Application for a Writ of Habeas Corpus

Filed Pursuant to Art. 11.071 § 5 and Art. 11.073 of the Texas Code of

Criminal Procedure. Ex. 4. Cruz-Garcia argued that the DNA evidence


6 Judge Magee lost her bid for reelection on November 8, 2016. 5 SHCR 1109. Her
tenure ended two days after adopting the State’s proposed findings, on December 31,
2016.




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on which the State relied to obtain his conviction had been discredited by

the State’s own expert and that his conviction was therefore based on

false, misleading, and scientifically invalid evidence. Id. On November 1,

2017, the CCA adopted the convicting court’s recommendation that relief

be denied on Cruz-Garcia’s initial application and dismissed the

subsequent application. Ex parte Cruz-Garcia, No. WR-85,051-02-03,

2017 WL 4947132, at *2 (Tex. Crim. App. Nov. 1, 2017).

      Cruz-Garcia timely filed a petition for writ of habeas corpus in the

United States District Court for the Southern District of Texas, Houston

Division, on October 31, 2018, and an amended petition on July 1, 2019.

On January 29, 2021, the federal district court stayed federal proceedings

in Cruz-Garcia’s case and ordered Cruz-Garcia to file a subsequent state

habeas application. Ex. 137.

   III. Statement of Facts
      Cruz-Garcia has incorporated relevant facts under each claim for

relief, infra.




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                            CLAIMS FOR RELIEF

   I.     Claim One: The State relied on false testimony, in
          violation of the Fourteenth Amendment.

        The State relied extensively on false testimony to obtain a

conviction and sentence of death against Cruz-Garcia, in violation of due

process under the Fourteenth Amendment. Napue v. Illinois, 360 U.S.

264, 269 (1959) (“[I]t is established that a conviction obtained through

use of false evidence, known to be such by representatives of the State,

must fall under the Fourteenth Amendment.”); Ex parte Ghahremani,

332 S.W.3d 470, 478 (Tex. Crim. App. 2011) (“A conviction procured

through the use of false testimony is a denial of due process guaranteed

by the Federal Constitution.”). A violation of due process is established

where (1) false testimony was given; (2) the State knew or should have

known that the testimony was false; and (3) the false testimony was

material. Id. at 477–78. Because Cruz-Garcia satisfies all three elements,

he is entitled to a new trial.

        At trial, the State’s case against Cruz-Garcia turned on the

testimony of Carmelo “Rudy” Santana Martinez implicating Cruz-Garcia

as a party to the offense, DNA evidence linking Cruz-Garcia to the

apartment of Diana Garcia, and the testimony of Angelita Rodriguez



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alleging that Cruz-Garcia had confessed to her. False testimony,

however, impacted all three elements of the State’s case. Despite eliciting

testimony designed to convey to the jury the impression that Santana

was testifying at the risk of being prosecuted, the State never brought

any charges against him. Then, after Cruz-Garcia was convicted, the

State published an amended DNA report in which it recanted much of

the DNA evidence it relied on to tie him to the offense and to corroborate

Santana’s accomplice testimony. Ex. 11. Finally, after Rodriguez testified

against Cruz-Garcia, the State supported her bid to adjust her

immigration status. Ex. 113. Based on the information available to the

State at the time of trial, the State knew or should have known that the

testimony of Santana and Rodriguez and the DNA testimony was false.

     In combination, this false testimony infected all critical aspects of

the State’s case against Cruz-Garcia. Absent the false testimony, the jury

would have been presented with little evidence supporting the State’s

theory of the case and Cruz-Garcia’s guilt as a party to capital murder.

     A.    The State relied on the false testimony of Carmelo
           “Rudy” Santana Martinez.
     At the guilt phase of trial, the testimony of Carmelo “Rudy”

Santana Martinez was critical to the State’s case against Cruz-Garcia. In



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closing, the State argued that Santana’s testimony needed only “the

tiniest little bit of corroboration” to prove that Cruz-Garcia was guilty of

capital murder as a party. 23 RR 36. Santana, who had recruited Cruz-

Garcia from Puerto Rico to Houston, claimed that he, Rogelio Aviles-

Barroso,7 and Cruz-Garcia drove to the apartment of Diana Garcia and

Arturo Rodriguez on the night of the offense. 20 RR 135. He alleged that,

there, Cruz-Garcia sexually assaulted Diana Garcia, took A., and ordered

Aviles-Barroso to murder A. Id. at 149. Santana described his own

participation in the kidnapping and murder of A. and, at the State’s

prompting, told the jury that his testimony therefore placed him at risk

of prosecution in connection with the capital murder of A. Id. at 153–54,

166. The State did not call Aviles-Barroso to testify.8

         According to Santana, the three men drove to Garcia and

Rodriguez’s apartment because Cruz-Garcia wanted to get drugs and

money from the couple. 20 RR 135. Santana described the vehicle used



7 At the time of Cruz-Garcia’s trial, Aviles-Barroso had been arrested in connection
with the offense and was housed at the Harris County Jail. 20 RR 166–67. He was
convicted of capital murder on January 29, 2014, in trial Cause No. 1346839, in the
337th District Court in Harris County, Texas. The State did not seek the death
penalty against Aviles-Barroso and he was sentenced to life.
8   Santana also testified for the State against Aviles-Barroso in a subsequent trial.




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that night as a four-door, blue Chevrolet driven by Cruz-Garcia. Id. at

136. Santana alleged that Cruz-Garcia instructed him to remain in the

car while he and Aviles-Barroso went up to Garcia’s and Rodriguez’s

apartment. Id. at 137. Santana insisted to the jury that he remained in

the car, from which he observed Cruz-Garcia returning from Garcia’s

apartment with A. in his arms. Id. at 144. According to Santana, Cruz-

Garcia volunteered to him that he had raped Garcia and beaten

Rodriguez. Id. at 145. Santana was adamant to the jury that he pled with

Cruz-Garcia to find Garcia so as to protect the child, at which point Cruz-

Garcia walked away while Santana remained in the car with A. Id. at

145–46. Santana testified that, sitting alone with A. in the car and with

Cruz-Garcia and Aviles-Barroso nowhere in sight, he “was already

convinced” that Cruz-Garcia was not going to return A. to Garcia. Id. at

147.

       Santana then recounted sitting in the backseat of the car alongside

A. as the group drove towards Baytown. 20 RR 147. He described to the

jury how, upon stopping the car, Cruz-Garcia told Aviles-Barroso that

Aviles-Barroso knew what needed to be done. Id. at 149. It was at this

point that, in his version of the offense, Santana stepped away to defecate




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and discovered A. dead only upon walking back towards the group. Id. at

150–52. Santana then described to the jury how he tied rocks to A. to

weigh the body down and that he and Aviles-Barroso submerged it in a

bayou. Id. at 153–54. Santana testified that he threw the knife used by

Aviles-Barroso out of the car window as they drove away. Id. at 166.

     Santana testified that the group then drove to a Pasadena motel

and called a friend after all four tires on their car blew out. 20 RR 154.

He alleged that Cruz-Garcia then swore him and Aviles-Barroso to

secrecy. Id. at 156. Santana then described driving back to Cruz-Garcia’s

apartment, while Aviles-Barroso left. Id. at 158. After spending the night

there, Santana testified that Cruz-Garcia explained to him that he

intended to leave Houston immediately and suggested Santana

accompany him throughout the day as he prepared to travel back to the

Dominican Republic. 20 RR 160–61. Santana never saw Cruz-Garcia

thereafter. Id. at 164.

     Santana’s account of the night of the offense to the jury squarely

contradicted his prior statements to law enforcement spanning from 1992

to 2011. Moreover, despite Santana’s repeated pleas to the jury that he

risked grave legal consequences by testifying to his participation in




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capital murder, the State never charged Santana in connection with the

offense. Finally, Santana misrepresented his criminal record and thus

avoided being impeached.

           1.    The State relied on false testimony to establish Cruz-
                 Garcia’s guilt as a party to capital murder.

        Santana’s testimony to the jury was riddled with falsities that were

known to the State as contradicted by his prior statements to law

enforcement, 9 other witnesses’ accounts, and law enforcement’s

investigation of the offense. Santana was interviewed by law enforcement

in connection with the offense as early as October 5, 1992. Ex. 67. In an

interview with HPD officers U.P. Hernandez and A.C. Alonzo, Santana

“denied knowledge of who kidnapped and murdered the complainant in

this case [. . .] and told officers that [Cruz-Garcia] had left for Puerto Rico

on a ‘planned trip’.” Id. Santana was interviewed again on November 5,

1992, and again denied any knowledge of the offense. Ex. 68. In February

2009, HPD interviewed Santana after reopening the case but he

remained adamant that he did not know about the circumstances of A.’s

disappearance and death. Ex. 69.


9 The State did not disclose to the defense a number of prior statements by Santana
(as well as other witnesses) made to law enforcement. See infra §§ IV.A and C.




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         It was not until Santana was interviewed by FBI Agent Ebersole in

2011, and was told that “any cooperation he gave would be made known

to the prosecutor and the presiding judge,” that he connected Cruz-Garcia

to the capital murder of A. 10 20 RR 165; Ex. 101 at 2. Despite the State’s

suggestion to Santana before the jury that he had told Agent Ebersole

that he had not previously implicated Cruz-Garcia because he had been

too scared, Santana replied that he could not recall making such

statements to the FBI.11 21 RR 13. 12

         In his account of the night of A.’s disappearance to the jury,

Santana further contradicted his prior statement to the FBI concerning

key elements of the offense. In his 2011 statement to the FBI, Santana

stated that Cruz-Garcia and Aviles-Barroso had returned to the waiting



10FBI Agent Ebersole’s report of Santana’s statement makes clear that Santana was
advised from the outset of the interview that “any cooperation he gave would be made
known to the prosecutor and the presiding judge.” Ex. 101 at 2.
11In response to Santana replying that he did not remember ever telling Agent
Ebersole that he had not previously implicated Cruz-Garcia because he was
concerned about testifying against him, the State commented on the record and
before the jury, “I think Agent Ebersole will.” 21 RR 13. The court sustained the
defense’s objection to the State’s sidebar. Id. at 13–14.
12FBI Agent Ebersole’s report of Santana’s statement reflects that: “MARTINEZ
[Santana] again interjected in his responses that he did not want to go to trial.
MARTINEZ was advised that his cooperation would be made known to the prosecutor
and the presiding judge.” Ex. 101 at 8 (emphasis added).




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car together and that Cruz-Garcia was holding A. in his arms. Ex. 101 at

7. According to this same statement, the two men then returned to

Garcia’s apartment and Aviles-Barroso carried A. back with them. Id.

But by the time of his testimony, Santana described Cruz-Garcia

returning alone, telling Santana that he had assaulted Garcia and

Rodriguez, and A. walking alongside Cruz-Garcia because he was

familiar to A. 21 RR 49–50.

     In another glaring example of the falsity of Santana’s account to the

jury, Santana testified that the three men had driven to Garcia’s

apartment in Cruz-Garcia’s car, which he described as a blue four-door

Chevrolet. 20 RR 128, 136, 161. Santana specifically distinguished this

blue Chevrolet from the blue Thunderbird owned and driven by Cruz-

Garcia’s wife. Id. at 128. Yet, Cruz-Garcia’s wife testified that the couple

never owned a blue Chevrolet and that, in 1992, Cruz-Garcia owned and

drove an Oldsmobile. Id. at 95. The State’s own pictures of the cars owned

by Cruz-Garcia and his wife at the time of the offense further established

that both cars were two-door vehicles. See 30 RR State’s Ex. 37; 38.

     Santana’s explanation to the jury for why Cruz-Garcia would have

taken A. was contradicted by the testimony of A.’s own mother and step-




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father, Garcia and Rodriguez. According to Santana, Cruz-Garcia took A.

because A. had recognized him. 20 RR 144. Yet, both Garcia and

Rodriguez testified that the alleged assailants had been wearing masks.

19 RR 215; 18 RR 214–15. According to Rodriguez, A. was asleep and

“didn’t even know what was going on.” 18 RR 215. No explanation was

offered as to why Garcia and Rodriguez, who described themselves as

close friends with Cruz-Garcia, did not recognize Cruz-Garcia but A. did.

     Finally, Santana testified that Aviles-Barroso had used a knife to

cause the death of A. and that A.’s chest had been covered in blood. 20

RR 151–52. Santana further described how he himself later threw that

knife out of the car on Cruz-Garcia’s orders. Id. at 166. But the State

provided a supplemental Brady notice on the eve of trial stating that a

presumptive test for blood on A.’s clothing was negative. 3 CR 482.

Santana’s testimony to the jury was contrary to his own prior statements,

eyewitness testimony provided by two other State witnesses, and law

enforcement’s own investigation, all of which were known to the State.

        2.    The State relied on false testimony to bolster
              Santana’s credibility to the jury.

     With no forensic evidence tying Cruz-Garcia to any events

occurring after the alleged assault in Garcia’s apartment, Santana’s



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testimony was key to establishing Cruz-Garcia’s participation in the

murder of A. 13 In closing, the State summarized as to Santana’s

testimony, “he filled in all the gaps for you.” 23 RR 98. Santana had been

interviewed by law enforcement in connection with A.’s death as early as

October 5, 1992. Ex. 67. He was also interviewed again in 2009, after the

HPD interpreted the DNA evidence as establishing Cruz-Garcia’s

presence inside Garcia’s apartment on the night of A.’s disappearance.

Ex. 69. Yet, Santana testified that it was not until he was approached by

the FBI in 2011 that he felt compelled to reveal Cruz-Garcia’s

participation as a party to the capital murder of A. 20 RR 165. By then,

it was clear to HCDAO that Santana was involved. Ex. 127.

         At trial, the State prompted Santana to tell the jury that he was

testifying at grave, personal risk of being prosecuted in connection with

the capital murder of A.:

               Q.    When Special Agent Ebersole came to talk to you,
                     did he make any promises about your case?

               A.    No.

13  See Ex. 101 (“MARTINEZ [Santana] was advised that the interviewing agent
wanted his assistance; and although there was scientific evidence to prove [Cruz-
Garcia’s] involvement in the invasion of the GARCIA’s home as well as the rape of
DIANA GARCIA, there was a need to complete the picture of what happened to the
little boy [A.]”) (emphasis added).




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               Q.    Did he offer any deals or say you were going to get
                     any benefits from this?

               A.    No, no way.

               Q.    Was there - - was this something, you know, that
                     you did because anybody offered you something to
                     do it?

               A.    No, never.

               Q.    And you know as you sit there that you could be
                     charged with a crime, don’t you?

               A.    That’s right.

               Q.    And you could get in a lot of trouble?

               A.    That’s right.


20 RR 165–66. The State also elicited testimony that neither the FBI nor

the Harris County D.A’s Office had made promises to Santana or offered

him a deal in connection with his testimony against Cruz-Garcia:

     Q.        We talked about, Rudy [Santana], the fact that when the
               special agent went up to interview you, he didn’t make
               you any promises, correct?

     A.        No.

     [. . .]




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         Q.    Have Justin [Wood] or I [Natalie Tise] or any member of
               the D.A.’s office ever made you any promises about this
               case?

         A.    No, never.

         Q.    Have we ever told you that you are going to get any kind
               of special deal based on your testimony?

         A.    No, never.

Id. at 173–74. The State further asked Santana to testify that he had also

“never even asked for a deal,” to which he replied, “No, never.” 14 21 RR

12.

         In his statement to the FBI and in his testimony as a witness for

the State, Santana described in detail his participation in the kidnapping

and death of A., including how he weighed down A.’s body and disposed

of the murder weapon. 15 20 RR 153–54, 66. Yet, contrary to Santana’s

representations at trial that he risked being prosecuted by testifying, the

State never charged him with any offense in connection with the capital




14At punishment, the State similarly elicited testimony from Santana that he had
neither asked for nor been offered a deal or benefit. 25 RR 95–96.
15At punishment, Santana also implicated himself in the murder of Saul Flores. See
below § IV.A.1.




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murder of A. 16 The State thus elicited false testimony designed to convey

to the jury the false impression that Santana could and would be charged

based on his sworn testimony that he participated in the capital murder

of A. See Burkahlter v. State, 493 S.W.3d 214, 218 (Tex. Crim. App. 1973)

(State elicited false testimony where “the prosecutor's silence as to the

plan not to prosecute conveyed an impression to the jury which the State

knew to be false[.]”); Ramirez v. State, 96 S.W.3d 386, 395 (Tex. App.—

Austin 2002, pet. ref’d) (State elicited false testimony where it did not

correct false impression conveyed by witness’s testimony, irrespective of

the fact that she did not know her testimony was false).

         The State’s objection to the trial court’s charge that Santana’s

testimony be characterized as accomplice testimony indicates that the

State knew that it would not bring charges against Santana. 22 RR 16

(objecting to the jury being instructed on Santana being considered an

accomplice as a matter of law). Already in May 2011, two years prior to

Santana’s testimony, Assistant District Attorney Natalie Tise concluded

that that she “might have enough information to charge [Santana]” if


16The State also never charged Santana in connection with the murder of Saul Flores,
after Santana testified that he took Flores by force, watched as he was beaten,
dumped Flores’s body in a bathtub, and then left it in a dumpster. See infra § IV.A.1.




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Santana’s DNA could be linked to the rape kit. Ex. 127. Yet, Santana was

excluded as a possible contributor to the rape kit by Orchid Cellmark in

June 2011. 21 RR 116–17. Hence, to the extent the State’s assessment of

Santana’s criminal liability in connection with the capital murder of A.

turned on whether he was included or excluded by the DNA on the rape

kit, the State knew at the time of his 2013 testimony that it would not

bring any charges against Santana. 17

            3.    The State relied on false testimony to prevent the
                  defense from impeaching Santana.

         On voir dire by the defense, Santana testified that he was convicted

in 1992 in Harris County of misdemeanor assault on a boy. 21 RR 28. The

victim of that offense was a girl, a fact known to the Harris County

District Attorney’s Office. Ex. 79. The State argued, and the trial court

agreed, that the defense should be prohibited from introducing this prior



17 In the alternative, the State elicited false testimony by prompting Santana to
represent to the jury that he did not receive, nor request, a deal in connection with
his testimony against Cruz-Garcia. The FBI’s report of Santana’s 2011 statement
belies his trial testimony that he was entirely unconcerned about obtaining a deal in
exchange for his testimony. Agent Ebersole’s report establishes that, from the outset
and throughout the interview, he was “advised [by the FBI officer] that his
cooperation would be made known to the prosecutor and the presiding judge.” Ex. 101
at 2, 8. His report also states that “MARTINEZ [Santana] again interjected in his
responses that he did not want to go to trial. MARTINEZ was advised that his
cooperation would be made known to the prosecutor and the presiding judge.” Id. at
8 (emphasis added).




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conviction as impeachment because it was not a crime involving moral

turpitude.    21   RR   24.   Santana’s    testimony    and    the   State’s

characterization of the offense was false because it was committed

against a girl and therefore constituted a crime involving moral turpitude

under Texas law and grounds for impeachment. See Tex. R. Evid. 609;

Hardman v. State, 868 S.W.2d 404, 407 (Tex. App.—Austin 1993), pet.

dism’d, improvidently granted, 891 S.W.2d 960 (Tex. Crim. App. 1995)

(Mem.) (finding that assault by a man against a woman constitutes a

crime involving moral turpitude that is admissible for impeachment

pursuant to Texas Rule of Evidence 609).

     B.      False testimony about the DNA evidence.
     The case against Cruz-Garcia was ostensibly solved in 2008 on the

basis of DNA evidence linking Cruz-Garcia to the assault on Diana

Garcia on the night of A.’s disappearance. 23 RR 89. At trial, the State

alleged that the DNA evidence established Cruz-Garcia’s identity as the

masked assailant who assaulted Garcia, thus tying him to the place and

time of A.’s disappearance, and that it also corroborated Santana’s

account of the offense. Id. at 82–83, 90–91.




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         The State introduced the testimony of Orchid Cellmark analyst

Matt Quartaro, who testified that Cruz-Garcia’s DNA matched (1) the

DNA profile identified on the cigar; (2) the major DNA profile of the DNA

mixture on the underwear cutting; and (3) that Cruz-Garcia could not be

excluded as a possible contributor to the DNA mixture identified on the

vaginal swabs. 21 RR 119–20. Quartaro also testified that Garcia’s

husband, Rodriguez, could not be excluded as a contributor to the minor

profile obtained from the DNA mixtures identified on the underwear

cutting and vaginal swabs. Id. at 111–12, 114. The State also introduced

the testimony of HPD Crime Lab analyst Amber Head, who similarly

testified that Cruz-Garcia could not be excluded as a contributor to the

DNA profile on the cigar and the major DNA profile from the mixture on

the underwear cutting, nor from the DNA profile from the mixture on the

vaginal swabs. 18 Id. at 161–62.




18Head testified that she compared only Cruz-Garcia’s DNA sample to the DNA
profiles obtained from Orchid Cellmark testing. She did not compare the DNA profiles
obtained by Orchid Cellmark against any other DNA sample. 21 RR 164.




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            1.    The State relied on false testimony regarding DNA
                  evidence to obtain Cruz-Garcia’s conviction as a
                  party to capital murder.

         In closing, the State described this DNA testimony as “the most

damning” evidence against Cruz-Garcia. 23 RR 36. The State argued to

the jury that the DNA established Cruz-Garcia’s identity as Garcia’s

assailant on the night of A.’s disappearance.19 Id. at 82–83. The State

further contended that, by excluding Santana as a possible contributor to

the DNA identified on the rape kit, the DNA corroborated Santana’s

account according to which he was never in Garcia’s apartment. Id. at 82.

The State reasoned to the jury that, based on the DNA evidence excluding

Santana as Garcia’s assailant and Garcia’s husband being the other

contributor to the DNA mixtures, Cruz-Garcia must have been Garcia’s

assailant and was thus connected to A.’s disappearance and death. Id. at

82–83, 93. In closing argument at the guilt phase of trial, the State

affirmed to the jury that, “you could literally stop with the DNA” and

that, “on the DNA alone, you could convict the defendant.” Id. at 91.




19During, the original investigation, law enforcement never believed that the cigar
was connected to the assailants. See Ex. 64.




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     In November 2015, after Cruz-Garcia was convicted and after he

filed an initial writ of habeas corpus in state court, the State provided to

initial habeas counsel an amended DNA report in which the State

recanted much of this DNA testimony. Ex. 11. Contrary to the version of

the DNA evidence presented at trial, the amended report concluded that

no conclusions could be drawn as to the identity of the contributors to the

DNA mixture on the vaginal swabs, nor as to the identity of the

contributors to the minor component of the DNA mixture on the

underwear cutting. Id.

        2.    The State relied on false testimony to bolster the
              reliability of the DNA evidence.

     The State itself described the DNA evidence as the linchpin to its

case against Cruz-Garcia. 23 RR 91. However, emails dating back to the

months leading up to Cruz-Garcia’s trial to and from various State actors

establish that the State knew that the reliability of the DNA evidence

was at issue. Ex. 124; see also Ex. 132; 136. The HPD Crime Lab had been

shuttered in 2007 after an independent investigator tasked by the City

of Houston with reviewing HPD Crime Lab procedures uncovered

“rampant false test results, mishandling of evidence, improper police

procedure, criminal activity, and incompetence.” 3 CR 455. Among the



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significant failings identified, the independent investigator cautioned

that the storage conditions of biological evidence, and rape kits

specifically, were likely to cause the contamination and degradation of

evidence. Ex. 61 at 29. For example, the independent investigator

documented the fact that evidence stored at 1200 Travis St., from where

Sergeant Mehl retrieved the sexual assault kit in 2007, had been exposed

to water. Ex. 140 at 58. Hence, to bolster the reliability of the DNA

evidence, the State relied on the false testimony of law enforcement and

lab technicians to give the jury the false impression that the only forensic

evidence tying Cruz-Garcia to the offense was “in pristine condition.” 23

RR 90.

         HPD Sergeant Eric Mehl and Orchid Cellmark supervisor Matt

Quartaro both testified that the rape kit had been sent to, and received

by, Orchid Cellmark in sealed bags.20 20 RR 47; 21 RR 137. Sergeant




20 Quartaro also provided false testimony about the source of DNA in the sperm
fraction. 21 RR 133–37. Even if it were possible to reliably determine that Cruz-
Garcia’s DNA was present in the sperm fraction, the mere presence of DNA in the
sperm fraction does not mean the DNA came from sperm. DNA from epithelial (skin)
cells may also be present in sperm fractions. Quartaro also gave false testimony that
it was Cruz-Garcia’s sperm on the vaginal swabs and the underwear, and that cross-
contamination between the cigar and these samples was not possible. 16 RR 62. DNA
testing of these items yielded a mixture of DNA from multiple contributors. This
mixture could have resulted from a combination of sperm cells and epithelial cells.



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Mehl agreed with the State that the rape kit was “[a]ll sealed up.” 20 RR

47. However, a review of the chain of custody of the sexual assault kit

revealed that the evidence bag in which it was stored was unsealed prior

to being processed by Orchid Cellmark. Ex. 10 at 2. Contrary to

Quartaro’s testimony as an Orchid Cellmark supervisor, notes made by

the person within Orchid Cellmark who received the sexual assault kit

establish that the FedEx packaging was sealed but the sexual assault kit

itself was unsealed. 21 Id. at 2–3. Likewise, the envelope containing the

cutting from Garcia’s underwear and from which Orchid Cellmark made

its own cutting was marked as unsealed. Id. at 3.

         C.    The State relied on the false testimony of Angelita
               Rodriguez.
         To further corroborate Santana’s testimony and the DNA evidence,

the State relied heavily in closing argument on the testimony of Angelita

Rodriguez, Cruz-Garcia’s wife, who claimed that Cruz-Garcia had “told

her he did it.” 23 RR 37. Rodriguez testified that on the night of the


That means that, contrary to the State’s argument at trial, it cannot be said that
Cruz-Garcia’s sperm was present.
21In his review of HPD Crime Lab storage facilities and procedures, the independent
investigator found that storage conditions often required evidence to be unsealed so
as to determine the contents of the paper bags, boxes, and containers in which
evidence was stored. Ex. 61 at 31.




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offense, she and Cruz-Garcia were watching television in their apartment

until she went to bed around 9 p.m. 20 RR 101. Rodriguez did not

remember Cruz-Garcia leaving the apartment on that night, nor him

returning to the apartment in the night. Id. at 102. She was clear,

however, that the next morning, it was just she and Cruz-Garcia at the

apartment. Id.

     Rodriguez testified that she learned about A.’s disappearance on

the news that same morning, and that Cruz-Garcia did not react when

she told him about it. 20 RR 89. According to Rodriguez, Cruz-Garcia

later told her that he was leaving Houston immediately, did not explain

why, and that this was not a planned trip. Id. at 99–100. Rodriguez

testified that she did not see Cruz-Garcia again until two months later,

in Santo Domingo, when she visited to ask him for a divorce. Id. at 105.

Rodriguez told the jury that it is then that she asked Cruz-Garcia again

about A.’s disappearance and that he told her he had killed A. Id. at 107.

     Rodriguez’s trial testimony contradicted her numerous prior

statements to law enforcement, from her first interview in October 1992

and continuing until October 2008. Ex. 73; 37; 74. Rodriguez never

previously alleged that Cruz-Garcia had confessed to killing A., let alone




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to killing A. himself. Moreover, contrary to her testimony that she had

not seen Cruz-Garcia again until she travelled to Santo Domingo to ask

for a divorce, law enforcement documented in February 8, 1993, that

Rodriguez was living with Cruz-Garcia in the Dominican Republic. Ex.

15. Rodriguez and Cruz-Garcia’s relationship was not over, nor was

Rodriguez unaware of her husband’s location in the months that followed

the offense. Multiple witnesses further confirmed that, contrary to

Rodriguez’s testimony that he had left Houston suddenly, Cruz-Garcia’s

return to Puerto Rico had been planned for some time. Ex. 81; 91.

     D.    The State also relied on false testimony from Diana
           Garcia and Arturo Rodriguez, and law enforcement.
     The State’s case also relied on Diana Garcia and Arturo Rodriguez’s

testimony about a supposed motive for Cruz-Garcia’s involvement in the

offense, namely, that he was acting in retaliation for their decision to stop

dealing cocaine. However, police reports establish that the couple were

dealing cocaine from their apartment on the night of the offense. The

State also introduced testimony from law enforcement to bolster Garcia’s

and Rodriguez’s credibility, including that they were truthful in their

statements to police. Yet, recorded interviews with Garcia and Rodriguez

reveal that law enforcement did not believe their account of the offense.



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        1.    The State relied on the false testimony of Diana
              Garcia and Arturo Rodriguez to establish motive.

     Diana Garcia and Arturo Rodriguez testified that Cruz-Garcia had

taken A. in retaliation for their decision to stop dealing drugs. 18 RR 133;

19 RR 203. However, law enforcement’s investigation revealed that

Garcia and Rodriguez were dealing drugs on the night of A.’s

disappearance, as confirmed by two separate witnesses known to the

State. Ex. 24 at 1. In addition to testifying falsely about a supposed

motive, critical aspects of Garcia’s and Rodriguez’s account of the events

inside the apartment on the night of the offense were contradicted by

forensic evidence known to the State. For example, Rodriguez testified

that he “was all bloody” from repeated blows to the head and that his

head was then stuffed in a pillowcase. Yet, no pillowcase was found at

the scene nor taken into evidence. Ex. 95 (listing items identified by law

enforcement at Garcia’s and Rodriguez’s apartment).

     In addition to testifying falsely about the night of the offense,

Garcia lied to the jury about her relationship with Rodriguez. Garcia

described Rodriguez as her common-law husband and testified that A.

lived with the couple full-time. 18 RR 121, 125; 25 RR 194. However, at

the time of the offense and of the trial, Garcia remained legally married



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to Angelo Garcia Sr. and Rodriguez was therefore not her common-law

husband. Garcia and Rodriguez had become a couple when Garcia still

lived with, and remained married to, Garcia Sr.22 Ex. 100; 97.

Additionally, A. did not live with the couple until much later than

Garcia’s representation at trial. 19 RR 197.

            2.    The State relied on the false testimony of law
                  enforcement.

         The State relied on the false testimony of law enforcement to bolster

the credibility of Diana Garcia and Arturo Rodriguez, whom

investigators repeatedly accused of being dishonest in the course of their

investigation. Although HPD Officers C.E. Elliott and U.P. Hernandez

acknowledged that Garcia and Rodriguez were not truthful in their

initial statements, they testified that Garcia and Rodriguez had

cooperated and assisted early on in the investigation. 18 RR 119; 19 RR

74. Officer Elliott testified that “they were truthful about everything.” Id.



22Garcia had also previously had an affair with a man named Pedro Ortiz, who she
told police was the biological father of A. Ex. 97. At trial, Garcia referred to Garcia
Sr. as A.’s father. 25 RR 194.

At the time of the offense in 1992, Diana Garcia was also carrying around letters in
her purse from Jose Martin Valdez expressing romantic interest in her. Ex. 99. Valdez
later provided a declaration that he had an on and off affair with Garcia while she
remained married to Garcia Sr. and was living with Rodriguez. Ex. 22.




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Similarly, Officer Hernandez told the jury that Garcia had told him, “I’m

going to quit lying to you and tell you the truth.” 19 RR 74. This testimony

is squarely contradicted by law enforcement’s reports for months after

the disappearance and death of A., documenting law enforcement’s

distrust in Garcia and Rodriguez. For example, in a November 9, 1992

supplement, investigating officers reported, “It is still our belief that

[Garcia] is not being completely truthful with us[.]” Ex. 66. Similarly, in

January 6, 1993, law enforcement concluded that “Diana and Arturo

have been untruthful throughout the investigation[.]” Ex. 19 (emphasis

added); see Ex. 24; 64; 65; 97.

     In addition to misrepresenting Garcia and Rodriguez as reliable

witnesses, law enforcement testified falsely to facts connected with the

offense. The State elicited false testimony that no ransom was ever

demanded after A. disappeared. 19 R 79. However, there were at least

two ransom calls made and known to law enforcement. Ex. 17; 18.




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         E.    The State relied on the false testimony of Johnny
               Lopez and Santana at punishment.

         The State relied on the false testimony of Johnny Lopez 23 and

Santana to tie Cruz-Garcia to the 1989 murder of Saul Flores in Houston,

introduced at punishment as an extraneous offense and in support of a

sentence of death. Lopez testified that Flores had been a friend and that

he had learned of his death when an HPD investigator visited with him

in the Harris County Jail in 1989 in connection with Flores’s murder. 25

RR 46–47. In response to the State’s leading question about whether

Flores had been running from Cruz-Garcia, Lopez alleged that Flores had

been on the run from Cruz-Garcia. Id. at 50–51. Lopez further testified

that he had also identified Cruz-Garcia in 1989 as a potential suspect in

connection with Flores’s murder. 25 RR 54–55.

         Lopez’s testimony contradicted his 1989 statement to HPD. Ex. 29.

In 1989, Lopez formally identified a suspect known as “Shorty” and

explained to HPD that Flores had been a dealer for Shorty until the pair

fell out. Id. According to this same statement, Shorty had made it known

that he was looking for Flores after discovering that Flores had stolen



23   Lopez died in 2015.




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cocaine from him. Id. According to Lopez, Flores had been on the run from

Shorty until Flores was murdered. Id. In addition to Lopez’s 1989

statement naming Shorty as the likely suspect in the murder of Flores,

HPD identified Shorty as Alfonso Faustino Cervantes from a photo lineup

during the same 1989 interview with Lopez.24 Id. at 4. Lopez never

mentioned Cruz-Garcia in his 1989 statement to HPD, nor was his

statement given to the defense at trial.25

         The State relied again on Santana, this time at the penalty phase,

to bolster Lopez’s testimony that Cruz-Garcia was responsible for Flores’s

death. According to Santana, Cruz-Garcia had killed Flores after Flores

confessed his feelings to Cruz-Garcia’s then-girlfriend, Elizabeth

Ramos.26 25 RR 74. At the State’s prompting, Santana graphically

described Cruz-Garcia allegedly assaulting Flores before breaking his



24In all of its reports, law enforcement associated Cruz-Garcia with the alias “Chico.”
See, e.g., Ex. 101.
25This statement, as well as other prior statements by witnesses for the State, was
not included in the State’s initial and supplemental Brady notices. 3 CR 447–50, 482–
83.
26 At punishment, Santana was also called to testify by the State to the alleged rape
by Cruz-Garcia of a woman only identified as Betico’s wife. 25 RR 66–70. The State’s
notice of intent to use prior bad acts provides no further identifying information,
either concerning “Betico” or the victim of the alleged rape. 3 CR 414. Upon
information and belief, this testimony is false.




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neck.27 Id. at 81–82. Santana described how Flores was injected with

drugs, his hands were “completely destroyed,” he was hit “several times,

many times,” and burned with cigarettes “I can’t tell you how many

times.” Id. at 81, 93. Santana further insisted to the jury, “I saw it

perfectly when [Cruz-Garcia] broke [Flores’s] neck.” Id. at 82.

         However, this testimony was contrary to the autopsy of Flores,

which showed no evidence of a broken neck, no evidence of injuries to the

hands, no evidence of cigarette burns, and no needle marks. Id. at 113–

15. Elizabeth Ramos, who was supposed to have provoked the dispute

between Flores and Cruz-Garcia, has now provided a sworn declaration

that she had never met or even known any individual known as Saul

Flores. Ex. 30.




27The State indicted Cruz-Garcia on a charge of capital murder in 2008, 1 CR 6, but
did not give notice of its intention to seek the death penalty against Cruz-Garcia until
August 31, 2011, 4 RR 9. In an email dated August 1, 2011, Assistant District
Attorney Natalie Tise reports, “due to a newly discovered witness, we are now looking
at seeking the death penalty against this defendant . . . Our new witness has told us
about an extraneous murder that he saw this defendant commit. We have found a
1989 unsolved case that matches the details provided by this witness.” Ex. 125. Upon
information and belief, the witness is Santana and the cold case is the 1989 unsolved
murder of Saul Flores, and the State sought the death penalty against Cruz-Garcia
on the basis of false evidence. In response to an open records request by counsel for
Cruz-Garcia to HPD for records in connection with the 1989 murder of Saul Flores,
HPD indicated that it believed those records to be excepted from disclosure. Ex. 116;
117.




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         F.    The State solicited false testimony regarding a
               kidnapping in Puerto Rico.
         In support of its case on future dangerousness, the State introduced

testimony that Cruz-Garcia was tied to the 2001 kidnapping of several

individuals in Puerto Rico. 24 RR 14–43, 78–117. Federal agent Juan

DeJesus Rodriguez testified for the State that he arrested Cruz-Garcia

in 2001 in Puerto Rico in connection with the kidnapping and release of

two individuals. Id. at 54. On cross, trial counsel was prevented from

questioning Agent Rodriguez about the circumstances of the kidnapping,

including Cruz-Garcia’s role as an informant for federal law enforcement.

The trial court sustained the State’s objection, even after Agent

Rodriguez testified on voir dire that he had verified that Cruz-Garcia

cooperated as an informant in connection with federal law enforcement

operations. Id. at 72–73. Upon information and belief, 28 testimony

regarding Cruz-Garcia’s role in the 2001 kidnapping was false.




28In addition to Agent Rodriguez’s testimony confirming Cruz-Garcia’s cooperation,
Cruz-Garcia was granted by INS a three-month visa on September 21, 2001. Ex. 111.
Under the “purpose” section, a handwritten note states: “significant public benefit.”
Id.




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     G.     The State knew, or should have known, of the false
            testimony.
     Cruz-Garcia is not required to prove actual knowledge by the State

of the falsity of the testimony it elicited, only that the State should have

known. See Giglio v. Unites States, 405 U.S. 150, 154–55 (1971)(holding

that State violated due process by relying on false testimony despite

absence of showing that the prosecutor who elicited the testimony knew

of its falsity). Here, the discrete allegations of false testimony are based

on information located in emails to and from State actors leading up to

Cruz-Garcia’s trial, law enforcement and investigative reports and on the

basis of which the State built its case, and, in the case of Santana’s false

testimony   that   he   risked   being   prosecuted,    the   State’s   own

representations to the trial court and outside the presence of the jury.

Cruz-Garcia can therefore establish that the State knew, or should have

known based on information available to State actors involved in Cruz-

Garcia’s case, that the testimony was false.

     H.     There is a reasonable likelihood that this false
            testimony impacted the outcome of the case against
            Cruz-Garcia.
     The false testimony relied on by the State to secure Cruz-Garcia’s

conviction was material because “there is a ‘reasonable likelihood’ that




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the false testimony affected the outcome.” Ex parte Ghahremani, 332

S.W.3d at 478 (citing United States v. Agurs, 427 U.S. 97, 103 (1976)).

Here, false testimony infected every critical aspect of the State’s case

against Cruz-Garcia, including the only eyewitness account, the only

forensic evidence, and the only confession introduced by the State. The

cumulative impact of the false evidence relied upon by the State therefore

entitles Cruz-Garcia to a new trial.

     Santana was “the essential witness linking [Cruz-Garcia] to the

acts of [capital murder] alleged in the indictment.” Ramirez v. State, 96

S.W.3d 386, 396 (Tex. App.—Austin 2002, pet. ref’d). His testimony—

according to which Cruz-Garcia sexually assaulted Garcia, took A., and

directed Aviles-Barroso to kill A.—enabled the jury to find Cruz-Garcia

guilty as a party to capital murder. Santana’s testimony to the jury

placed Cruz-Garcia inside Garcia’s apartment for significantly longer

than his previous statements to law enforcement, from 5–10 minutes to

40 minutes, thereby leaving sufficient time for Cruz-Garcia to allegedly

sexually assault Garcia, physically assault Rodriguez, and take A. 20 RR

144–45. Similarly, Santana described Cruz-Garcia as returning to the car

alone, thus firmly cementing his role as the kidnapper, and A. walking




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alongside him, thereby confirming Cruz-Garcia’s identity because A.

knew him and would therefore have followed him willingly. 21 RR 49–50.

Finally, Santana’s description of A.’s stabbed and bloodied body provided

a cause of death where the medical examiner had been unable to

establish one. 20 RR 151–52.

     But the jury was deprived of any opportunity to assess Santana’s

credibility when the State prompted him to testify falsely that he was

testifying despite the risk of criminal prosecution. As argued supra

§ I.A.2 and n.17, regardless of whether it formally struck a deal with

Santana, the State deliberately elicited testimony designed to “convey[]

an impression to the jury which the State knew to be false[.]” Burkhalter

v. State, 493 S.W.3d 214, 218 (Tex. Crim. App. 1973). And that false

testimony “was critical in evaluating [Santana’s] credibility in view of

[his] extremely questionable background[,]” including his confessed

participation in at least two murders, a conviction for assault on a child,

and 17-year federal sentence on drug-related charges. Ramirez, 96

S.W.3d at 396–97. Finally, as the only testimony tying Cruz-Garcia to the

scene of A.’s death, false testimony impacting the credibility of Santana




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was material. Id. at 97; Giglio, 405 U.S. at 154–55 (false testimony

impacting credibility of prosecution’s key witness was material).

         There can likewise be little doubt as to the materiality of the false

DNA testimony in light of the State’s closing argument, which told the

jury that “on the DNA alone, you could convict the defendant.” 23 RR 91.

According to the State, the DNA evidence was critical to its case against

Cruz-Garcia because it tied him to the alleged sexual assault of Diana

Garcia and corroborated its star witness’s version of the offense. Id. at

36, 93. Absent the DNA evidence, only Santana’s testimony directly tied

Cruz-Garcia to the sexual assault of Garcia, which was alleged to have

preceded the kidnapping and murder of A.29 Although the 2015 amended

DNA report confirmed the presence of Cruz-Garcia’s DNA profile on a

cigar found at Garcia’s apartment, law enforcement accepted that “it

wasn’t the guys that came in” that had left the cigar. Ex. 64 at 7.

Moreover, trial testimony established that Cruz-Garcia, who along with

his then-wife Angelita Rodriguez were friends of Garcia and Rodriguez,



29Neither Diana Garcia nor Arturo Rodriguez identified Cruz-Garcia as one of the
assailants who allegedly assaulted them on the night that A. was kidnapped from
their apartment, even though they described Cruz-Garcia as a close friend. 18 RR
138.




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had visited Garcia’s apartment earlier on the day of the offense. 18 RR

133–34, 145, 178–79, 184, 201.

     Absent the false testimony that reliable DNA evidence tied Cruz-

Garcia to the cutting from Garcia’s underwear and tied Cruz-Garcia and

Garcia’s husband to the vaginal swabs, the State could not have argued

in closing that Cruz-Garcia must have been the assailant who sexually

assaulted Garcia before taking A. 23 RR 82–83, 93. Nor could the State

have argued to the jury that the DNA evidence corroborated Santana’s

account, according to which he was never inside Garcia’s apartment on

the night of the offense. Id. at 82. Moreover, the jury would have been left

with little to corroborate Santana’s account of the offense, which the jury

could then not have relied on because Santana’s testimony was

accomplice testimony and therefore required corroboration. 3 CR 484.

     Finally, Angelita Rodriguez’s false testimony was similarly

material. At the time of A.’s disappearance, law enforcement did not

doubt her or Santana’s statements, according to which Cruz-Garcia’s

departure had been planned. See Ex. 67. By the time of trial, Rodriguez’s

testimony served to further cast guilt on Cruz-Garcia by linking his

departure to the timing of A.’s disappearance. By alleging that she had




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contacted Cruz-Garcia to ask him for a divorce, Rodriguez also set the

scene for Cruz-Garcia’s supposed confession. Likewise, Diana Garcia’s

and Arturo Rodriguez’s false testimony concerning the supposed motive

was essential to explaining why Cruz-Garcia, who was widely known to

be a close friend of the couple, would sexually assault Garcia, physically

assault Rodriguez, and kidnap and order the murder of A.

     I.    Cruz-Garcia’s false testimony claim meets the
           requirements of Texas Code of Criminal Procedure
           Article 11.071 § 5(a)(2).
     In combination, false testimony impacted critical aspects of the

State’s case against Cruz-Garcia such that, but for the State’s reliance on

false testimony, no rational juror would have convicted Cruz-Garcia of

the capital murder of A. Tex. Code Crim. Proc. art. 11.071 § 5(a)(2).

Absent the false testimony, there is no credible eyewitness testimony

tying Cruz-Garcia to the death of A., no forensic evidence reliably

establishing Cruz-Garcia’s identity as Garcia’s assailant, and no motive

for Cruz-Garcia’s supposed involvement and later departure from

Houston. Hence, by a preponderance of what little evidence remains of

the State’s case and the extensive allegations of State misconduct

uncovered since Cruz-Garcia’s conviction, Cruz-Garcia makes a prima




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facie showing of innocence. Ex parte Brooks, 219 S.W.3d 396, 401 (Tex.

Crim. App. 2007); Ex parte Elizondo, 947 S.W.2d 202, 209 (Tex. Crim.

App. 1996) (petitioner who does not allege bare innocence claim is

required only to show that it is “more likely than not that no reasonable

juror would have convicted” him as a party to capital murder. (quoting

Schlup v. Delo, 513 U.S. 298, 327 (1995))).

     After subtraction of evidence infected by the State’s misconduct,

what evidence remains, both from trial and uncovered in post-conviction

proceedings, establishes “a cohesive theory of innocence.” Ex parte Reed,

271 S.W.3d 698, 746 (Tex. Crim. App. 2008). First, Santana’s own

testimony places him both at Garcia’s apartment on the night of A.’s

disappearance and at the scene of A.’s death. Second, the amended DNA

report answers the State’s question in closing argument to the jury, if not

for Cruz-Garcia’s DNA, “where is the DNA of the guy who raped Diana?”

23 RR 82. The 2015 amended DNA report establishes that there are

unknown DNA profiles on both the vaginal swabs and underwear cutting.

Ex. 11. Third, various affidavits and a law enforcement report adduced

since Cruz-Garcia’s trial establish that Cruz-Garcia neither fled from

Houston, nor was his location unknown to law enforcement in the months




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that followed A.’s disappearance and death. Ex. 15; 81; 91. This Court

should therefore authorize Cruz-Garcia’s claim pursuant to Tex. Code

Crim. Proc. art. 11.071 § 5(a)(2).

  II.     Claim Two: The State relied on false testimony under the
          Chabot standard.
        Under Ex parte Chabot, the State’s reliance on false testimony

violates the Due Process Clause of the Fourteenth Amendment,

regardless of whether the State knew the testimony to be false at the

time it was relied upon. 300 S.W.3d 768, 771 (Tex. Crim. App. 2009).

Cruz-Garcia incorporates here by reference all allegations under Claim I

in support of his false testimony claim under the Chabot standard. The

State violated Cruz-Garcia’s due process rights under the Fourteenth

Amendment when it relied on false testimony to obtain a conviction and

sentence of death against Cruz-Garcia, whether the State knew or did

not know of the testimony’s falsity at the time of trial. Id.; Ex parte

Chavez, 371 S.W.3d 200, 205 (Tex. Crim. App. 2012). Cruz-Garcia is

therefore entitled to a new trial.




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         A.    Cruz-Garcia’s false testimony claim under Ex parte
               Chabot meets the requirements of Texas Code of
               Criminal Procedure Article 11.071 § 5(a)(2).
         Cruz-Garcia incorporates here by reference all allegations and

arguments under supra § I.I in support of authorization of his false

testimony claim under Ex parte Chabot pursuant to Tex. Code Crim.

Proc. art. 11.071 § 5(a)(2).

      III. Claim Three: Cruz-Garcia’s conviction was obtained in
           reliance on inaccurate and unreliable DNA evidence, in
           violation of the Eighth and Fourteenth Amendments.
         The DNA evidence relied upon by the State to tie Cruz-Garcia to

the offense and corroborate Santana’s testimony was first obtained and

processed by the HPD Crime Lab in October 1992. 16 RR 84; Ex. 132. The

HPD Crime Lab had only just begun performing DNA casework the year

prior, in 1991, under the supervision of Dr. Baldev Sharma. Ex. 140 at

30. Prior to supervising the small team of five DNA analysts, Dr. Sharma

had “no experience in forensic science.” Id. Despite having a supervisory

role, Dr. Sharma’s skills as a DNA analyst were described by his manager

at the time as “weak[].” Id. at 31.30 At the time of the HPD Crime Lab’s



30 Dr. Sharma was removed from his supervisory role in the DNA section of the HPD
Crime Lab in August 1996 after it came to light that a defendant accused of sexual
assault of a child was proven innocent by DNA analysis that the DNA Section failed
to perform for months. Ex. 140 at 34; Ex. 132. Dr. Sharma was cited for incompetence



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receipt of the forensic evidence in 1992, Dr. Sharma acted as the main

DNA analyst. 16 RR 97. Specifically, on October 25, 1992, Dr. Sharma

performed DNA extractions and analysis on the rape kit, including by

cutting a section from Garcia’s underwear. 16 RR 83, 86–87; 21 RR 13;

Ex. 132. While the DNA extractions were sent to a California lab for

analysis, the cigar and rape kit remained in storage at HPD Crime Lab

facilities until 2007. 16 RR 30; Ex. 132.

      In 2007, the independent investigator tasked by the City of Houston

in 2002 to investigate allegations of gross misconduct and negligence by

the HPD Crime Lab published his Final Report. See Ex. 61. The report

concluded that “the risk that casework performed by the Crime Lab,

particularly the DNA Section, would lead to miscarriages of justice was

unacceptably high.” Id. at 378. The DNA Section of the lab had been

shuttered as early as 2002, after it was found to be operating “under

conditions that made the risk of an injustice intolerably high.” Id. at 8.

      That closure resulted from a 2002 audit by an outside agency, which

uncovered that the DNA Section was “in shambles[.]” Ex. 140 at 8, 64–



following an investigation by the HPD Internal Affairs Division in the wake of the
scandal. Id.




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65. Of particular concern, the 2002 audit revealed that “serious

deficiencies . . . had become so egregious that analysts in the Lab simply

had no perspective on how bad their practices were.” Ex. 141 at 5. Among

the “major problems” identified, the analysis of DNA mixtures was

flagged as a problem area. Ex. 140 at 8. In 2005, the independent

investigator reported that, “in several cases involving mixtures, the DNA

analysts performed the statistical calculations incorrectly.” Id.

     In addition to detailing the mishandling of forensic evidence and

the misreporting of results by the DNA Section, the independent

investigator also identified significant issues with the storage of forensic

evidence by the HPD Crime Lab. Ex. 61 at 28. The report highlighted

that the “[s]torage of biological evidence” had been “an ongoing problem

for the Property Room.” Id. The report further noted that practices

surrounding the long-term storage of sexual assault kits in particular

made such evidence “much more likely to degrade[.]” Id.; see id. at 71–72.

     In May 2001, “a significant volume of evidence related to homicides

and sexual assaults was water damaged” when Tropical Storm Allison

caused extensive damage to the property room located at 1200 Travis St.

Ex. 140 at 58. The independent investigator reported that “the Crime Lab




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employees had no information about which cases were specifically

affected.” Id. at 59 n.51. Although the HPD Crime Lab expanded its

storage capacities by relocating the Property Room to a separate building

on Goliad Street, the independent investigator found that this facility too

suffered from “major deficiencies[.]” Id. at 69. The report concluded that,

“[e]ven if repairs are made to the present facility, it may not be adequate

for the proper storage and handling of evidence[.]” Id.

     As detailed in § I.B, at the guilt phase of trial, the State introduced

DNA evidence from a cigar and rape kit to tie Cruz-Garcia to Diana

Garcia’s apartment and to corroborate Santana’s accomplice testimony.

At a pre-trial hearing on defense counsel’s Motion to Suppress Results of

All DNA Testing, 3 CR 455, HPD Sergeant Mehl testified for the State

that, in 2007, he retrieved the cigar from the HPD Crime Lab Property

Room on Goliad Street and the rape kit from the HPD Crime Lab storage

rooms on Travis Street. 16 RR 30, 32. Sergeant Mehl testified that he had

no training in the collection and storage of biological evidence, including

DNA evidence. Id. at 27. Sergeant Mehl testified that he did not observe

any damage to the plastic bags and envelopes in which the evidence was




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stored. 16 RR 31. The cigar and rape kit were then sent to Orchid

Cellmark by Sergeant Mehl. 16 RR 33.

     Orchid Cellmark DNA analyst Matt Quartaro testified, “[t]here was

nothing initially just looking at the evidence that would indicate that any

tampering or contamination may have occurred.” 16 RR 50. However, he

also explained that he did not receive the evidence; an Orchid Cellmark

evidence custodian did. Id. That custodian was not identified at trial, nor

called to testify. Before the jury, Quartaro explained that he would not

have been able to observe contamination to the DNA evidence with the

naked eye. 21 RR 129. Although he explained that “that’s why we have

quality control steps,” Quartaro acknowledged that Orchid Cellmark

could not control how the HPD Crime Lab handled the evidence or ensure

that the HPD Crime Lab maintained quality control. Id. at 130. Finally,

although Orchid Cellmark performed separate DNA extractions,

Quartaro testified that they relied on the cutting of the underwear made

by HPD Crime Lab employee Dr. Sharma in 1992. Id. at 135.

     Finally, Amber Head, a criminalist specialist with the HPD Crime

Lab, testified that she had obtained a DNA profile from a buccal swab

submitted by Cruz-Garcia. 16 RR 89–90. Head explained that she then




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compared that DNA profile to those obtained by Orchid Cellmark and

confirmed that Cruz-Garcia could not be excluded as a contributor to the

cigar, the vaginal swabs, and the cutting from the underwear. Id. Head

testified that she had not herself obtained DNA profiles from the forensic

evidence at issue and had relied entirely on the analysis performed by

Orchid Cellmark. Id. at 91. Nor did Head compare any other profiles from

known individuals connected to law enforcement’s investigation with the

DNA profiles identified by Orchid Cellmark. 21 RR 164. Head confirmed

that Dr. Sharma had acted as the main DNA analyst at the time of the

original analysis in 1992, but that HPD Crime Lab employee Deetrice

Wallace had initially received and processed the sexual assault evidence.

Id. at 86–98.

     In support of Cruz-Garcia’s Motion to Suppress, defense counsel

offered all of the reports by the independent investigator (“Bromwich

Reports”), an HPD Internal Affairs investigation report, employee and

complaint records for Dr. Sharma and Joseph Chu, who both performed

DNA lab work on the case, and conviction on three counts of tampering

with a government record against Deetrice Wallace, who processed the

sexual assault kit. 16 RR 20–21; see Def. Ex. 2–7. Defense counsel also




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sought to have the same admitted into evidence before the jury. 16 RR

109–10.

     With regards to the findings of the independent investigator, the

trial court found that:

     The [Bromwich] report sets out facts and discussions of
     employees at the HPD – old HPD Crime Laboratory and
     discusses disputes, allegations of misconduct, and potential
     criminal activity. The report sets out certain issues with the
     old HPD DNA serology section of the crime lab. Those issues
     include deficiency in documentation of procedures, mistakes
     in performing analysis of samples containing mixtures of
     more than one person’s DNA, errors in calculating statistical
     probabilities, mischaracterization of DNA results and
     testimony, lack of established quality assurance and internal
     auditing systems, inadequate resources, a technical leader
     with inadequate qualifications, inadequate training program,
     insufficient educational background for analysts, and
     inadequate standards of operating procedures.

17 RR 13. As to Dr. Sharma, the trial court found that he “did perform

DNA analysis on the extractions in this case” and “had five instances of

alleged employee misconduct . . . [f]our of [which] were sustained.” Id. at

15–16. The trial court likewise found that Joseph Chu had “nine

employee misconduct allegations . . . two [of which] were sustained.” Id.

at 14–15. As to Deetrice Wallace, the trial court found that “Deetrice

Wallace received the sexual assault kit in 1992” and “subsequently

obtained a felony allegation or conviction . . . for tampering with a



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government document while working at a . . . different laboratory[.]” Id.

at 16.

     The trial court also made findings of fact as to each DNA item

offered by the State:

     I find that the cigar evidence was stored at the HPD property
     room on Goliad Street on October 1st, 1992, and was retrieved
     from that location by Sergeant Mehl in October 2007. I find
     that the cigar evidence was inside a larger container of
     evidence, was taken to the old HPD Crime Lab sometime in
     1992, but was returned to the HPD property room and
     appeared to be unopened by the HPD Crime Lab at the time
     it was retrieved by Sergeant Mehl and mailed to Orchid
     Cellmark Laboratory for DNA testing on October 2nd, 2007.

     ...

     The sexual assault kit was sealed and stored in the Houston
     Police Department property room annex on the 24th floor of
     1200 Travis. And that was in 1992. I find that sometime in
     1992, that sexual assault kit was taken to the old HPD Crime
     Lab and tested by Dr. B. Sharma. I find that Dr. Sharma took
     cuttings from the panties in that sexual assault kit and
     extracted DNA from the cutting that he retrieved from those
     panties.

     ...

     The sexual kit evidence was retrieved from the Houston Police
     Department's property room annex on the 24th floor of 1200
     Travis in October 2007 by Sergeant Eric Mehl, who retrieved
     it and observed that it appeared to be sealed and it was sent
     to Orchid Cellmark Laboratories on October 2nd, 2007.




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The trial court found that “Orchid Cellmark found no evidence of

degradation . . . or contamination on evidence from the old HPD Crime

Lab.” Id. at 10–11. As to what it dubbed the “new” HPD Crime Lab, the

trial court found that the lab “did not independently obtain DNA profiles

from the evidentiary samples, but rather relied on the DNA profiles

already obtained by Orchid Cellmark.” 31 Id. at 11.

         Finally, the trial court denied Cruz-Garcia’s Motion to Suppress

and ruled that “[t]he results of the new HPD Crime Lab as to the

comparison [with the Orchid Cellmark DNA profiles] is admissible and

relevant.” 17 RR 5–6,11. The trial court also ruled that the complaint

records of Dr. Sharma and Joseph Chu, as well as the judgment of

conviction against Deetrice Wallace, were inadmissible, and instructed

defense counsel that the Bromwich Reports were “not to be mentioned or

alluded to or discussed.” Id. at 15.




31 The trial court found that Orchid Cellmark “performed their own extractions from
a cutting of the underwear of Diana Garcia that they obtained, which was a different
cutting than that used by the old HPD Crime Lab.” 17 RR 8. Quartaro testified that
Orchid Cellmark “received . . . the crotch of the pair of underwear [which] was cut out
from the original pair of underwear and we took a cutting from the crotch area for
our testing.” 21 RR 135.




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     A.    The DNA evidence relied on by the State to secure
           Cruz-Garcia’s conviction was unreliable.
     As detailed supra § I.B, the DNA evidence relied on by the State

was unreliable and neither established that Cruz-Garcia was the

assailant who sexually assaulted Garcia nor supported Santana’s

account of the night of the offense. By the time of Cruz-Garcia’s trial, the

HPD Crime Lab, and the DNA Section in particular, had been linked by

an independent investigation to several miscarriages of justice. See Ex.

61; 140; 141. That investigation specifically identified a significant

number of issues directly relevant to and impacting the DNA evidence

relied on by the State to secure Cruz-Garcia’s conviction. Namely, the

investigation flagged as problem areas the analysis of DNA mixtures of

the type at issue in Cruz-Garcia’s case, the work of Dr. Sharma (who was

the lead DNA analyst in connection with the forensic evidence relied on

by the State), and the storage of rape kits such as the rape kit stored by

the HPD Crime Lab and relied on by Orchid Cellmark. Id.

     Moreover, the independent investigation identified two of the

locations at which forensic evidence relied on in the case against Cruz-

Garcia was stored, 1200 Travis St. and Goliad St., as suffering from

serious problems and likely to result in the contamination and



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degradation of forensic evidence. Ex. 140 at 58, 69. Finally, employee

complaint histories and criminal records implicated at least three HPD

Crime Lab employees (Dr. Baldev Sharma, Joseph Chu, and Deetrice

Wallace) who were directly involved in receiving, processing, and storing

the DNA evidence that was then relied on by the State to secure Cruz-

Garcia’s conviction. Ex. 62; 63; 132. The unreliability of the DNA

evidence relied on by the State is best summed up by the first chair for

the State’s closing argument with respect to the DNA evidence, who said

“I don’t care about quality control.” 23 RR 90.

     B.    The DNA evidence relied on by the State was
           inaccurate.
     As detailed supra § I.B, the State published an amended DNA

report in 2015 that established that the DNA results introduced at trial

to tie Cruz-Garcia to the facts of offense were inaccurate. Contrary to

testimony by expert witnesses for the State at trial, the amended DNA

report stated that no conclusions could be drawn as to the identity of the

contributors to the DNA mixture identified on the cutting from Garcia’s

underwear. Ex. 11 at 2. Similarly, the report stated that no conclusions

could be drawn as to the identity of the contributors to the minor DNA

profile identified from the vaginal swabs. Id. Hence, contrary to the



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State’s characterization of the DNA evidence in closing argument, the

DNA evidence did not establish that Cruz-Garcia must have sexually

assaulted Garcia to the extent that the other DNA profile was that of her

husband’s, nor that Santana was truthful in recounting that he had

remained in the car during the offense because his profile was not

identified on the sexual assault kit. 23 RR 82, 93.

     C.    Cruz-Garcia’s rights under the Eighth and Fourteenth
           Amendments were violated.
     A conviction and sentence of death obtained in reliance on

“materially inaccurate” evidence violates the Eighth Amendment and the

Due Process Clause of the Fourteenth Amendment. Estrada v. State, 313

S.W.3d 274, 287 (Tex. Crim. App. 2010) (citing Johnson v. Mississippi,

486 U.S. 578, 590 (1988)); see Townsend v. Burke, 334 U.S. 736, 740–41

(1948) (conviction based on “materially untrue” information violates due

process). Cruz-Garcia’s rights under the Eighth and Fourteenth

Amendment were therefore violated when he was convicted on the basis

of evidence that was later revealed to be unreliable and untrue. Cruz-

Garcia is therefore entitled to a new trial.




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     D.    Cruz-Garcia’s unreliability of the DNA evidence claim
           meets the requirements of Texas Code of Criminal
           Procedure Article 11.071 § 5(a)(2).
     Here, Cruz-Garcia’s allegations that the only forensic evidence

purportedly tying him to the facts of the offense is unreliable is based not

on competing evaluations of the reliability of the DNA evidence, but on

the State’s own admission that it introduced unreliable and inaccurate

DNA evidence to secure Cruz-Garcia’s conviction as a party to capital

murder. This claim therefore does not require hypothesizing how the jury

may have been swayed by a conflicting account of the evidence presented

at trial. See Ex parte Henderson, 246 S.W.3d 690, 694 (Tex. Crim. App.

2007) (Price, J., concurring) (where new evidence is not “conflicting

versions of the brute facts . . . we do not hypothetically envision a jury

that is now presented with two conflicting versions of the brute facts.

Instead, we envision a hypothetical jury that has heard an expert who

has renounced his own earlier opinion as scientifically invalid.”). There

can be little doubt that the jury would not have believed the since-

abandoned DNA evidence introduced by the State at trial. See id. (“I do

not believe a rational juror would choose to rely upon the expert’s

abandoned view.”).




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     Cruz-Garcia’s    claim    further   incorporates    by   reference   all

allegations and arguments, supra § I.I, in support of his prima facie case

of innocence. The State itself argued to the jury that the DNA evidence

was the linchpin to its case, both by establishing Cruz-Garcia’s identity

as Garcia’s assailant and as corroborating the only eyewitness testimony.

23 RR 82, 91, 93. However, the amended DNA report no longer supports

the State’s theory of the case, such that no rational juror could have found

Cruz-Garcia guilty as a party to capital murder. Cruz-Garcia’s

unreliability of the DNA evidence claim should therefore be authorized

pursuant to Tex. Code Crim. Proc. art. 11.071 § 5(a)(2).

  IV.   Claim Four: The State withheld exculpatory evidence, in
        violation of the Sixth, Eighth, and Fourteenth
        Amendments and Brady v. Maryland.
     The State withheld exculpatory, impeachment, and mitigating

evidence impacting critical aspects of its case against Cruz-Garcia in

violation of its constitutional duty and of Cruz-Garcia’s due process

rights. Brady v. Maryland, 373 U.S. 83, 87 (1963) (“[T]he suppression by

the prosecution of evidence favorable to an accused . . . violates due

process where the evidence is material either to guilt or punishment[.]”).

The State has a duty to disclose such evidence, regardless of whether a




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defendant requests the withheld evidence and irrespective of the State’s

intention in withholding it. Id. (due process violation arises from

withholding of exculpatory information by the State “irrespective of the

good faith or bad faith of the prosecution”); United States v. Bagley, 473

U.S. 667, 682 (1985) (withholding of material, exculpatory evidence

violates due process irrespective of defense request for evidence); Thomas

v. State, 841 S.W.2d 399, 407 (Tex. Crim. App. 1992) (en banc) (duty to

disclose exculpatory evidence “attaches with or without a request for the

evidence”). Accordingly, the State violates a defendant’s due process

rights “when a prosecutor 1) fails to disclose evidence 2) which is

favorable to the accused 3) that creates a probability sufficient to

undermine the confidence in the outcome of the proceeding.” Thomas, 841

S.W.2d at 404.

     A.    The State withheld impeachment evidence against
           Santana.
     As outlined supra §§ I.A and E, the State called Santana to testify

against Cruz-Garcia at both the guilt and punishment phase of trial.

Santana’s testimony was critical to the State’s case against Cruz-Garcia

as the only direct evidence placing Cruz-Garcia at the scene of A.’s death.

Moreover, Santana’s recounting of Cruz-Garcia’s supposed role in the



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unsolved 1989 murder of Flores apparently motivated the State to seek

the death penalty against Cruz-Garcia and underpinned its case on

future dangerousness. See Ex. 125; supra n.27. The State, however, failed

to disclose significant impeachment evidence, including evidence going to

Santana’s bias, evidence demonstrating that Santana was an unreliable

historian, and evidence that he was convicted of a crime involving moral

turpitude.

        1.    The State failed to disclose that Santana received a
              benefit for his testimony against Cruz-Garcia.

     In his statements to federal and local law enforcement and in his

testimony at Cruz-Garcia’s trial, Santana implicated himself in the

capital murder of A. and the 1989 murder of Saul Flores. Specifically, in

his 2011 statement to the FBI and at trial, Santana described waiting

alone with A. after realizing that A. would not be returned to Garcia’s

apartment, witnessing Aviles-Barroso murder A., tying rocks to A.’s body

to submerge it in a bayou, and disposing of the murder weapon on the

way back to Houston. 20 RR 145–46, 149, 153–54, 156; Ex. 101. Similarly,

in statements to local law enforcement and at trial, Santana described

taking Flores by force to an apartment he rented to deal drugs from;

watching and listening as Flores was beaten, injected with drugs, and



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strangled; helping carry Flores’s body to the bathtub and eventually

returning to move Flores’s body to a dumpster. 25 RR 76–85.

      In the course of his testimony, both at guilt and punishment, the

State elicited testimony from Santana that he had neither been offered

nor requested a deal. See supra § I.A.2. In closing argument at the guilt

phase, the State further argued to the jury that it could not have offered

him a deal because it had “nothing” on Santana in connection with the

capital murder of A. 23 RR 96. Thereafter, the State similarly

represented to prior state habeas counsel that Santana’s conduct did not

rise to the level of criminal liability. See Ex. 80; 135. 32

      The State’s assertion that Santana did not, nor could have, received

a deal—whether because the State had no evidence to support any

criminal charges against Santana, or because Santana did not commit

any crime in connection with the capital murder of A. or the murder of

Flores—is not plausible. First, Santana’s own statements to federal and




32Among the materials turned over by the State in response to the convicting court’s
order that the State comply with its Brady obligations, the State included typed
“Meeting Notes from Jail Meeting with Rudy [Santana] on 05.16.12.” Ex. 135.
Whereas the meeting notes are entirely typed, the document includes undated and
unsigned handwritten additions at the bottom of several pages, including the
handwritten annotation “No deals, no limits on what we could ask.” Id.




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local law enforcement, as well as his sworn testimony, implicate him in

kidnapping A., hiding A.’s body, disposing of the murder weapon,

kidnapping Flores, and dumping Flores’s body. See supra §§ I.A and E.

Second, FBI Agent Ebersole’s report establishes that already in 2011

Santana made clear to law enforcement that he “did not want to go to

trial” for the murder of A. and was repeatedly “advised that his

cooperation would be made known to the prosecutor and the presiding

judge.” Ex. 101 at 2, 8. Third, contrary to the State’s argument that it

could not have offered Santana a deal at the time of his 2011 statement

because it did not know of his involvement in the disappearance and

death of A., 23 RR 96–97, A.D.A. Natalie Tise wrote in an email dated

prior to Santana’s statement: “I know that Rudy [Santana] was likely

with the defendant that night.”33 Ex. 127. Finally, the trial court’s charge

on guilt tied Cruz-Garcia’s criminal liability as a party to the criminal

acts of “Aviles-Barroso and/or Carmelo Martinez-Santana[.]” 3 CR 484–



33This email, dated May 19, 2011, also casts doubt on FBI Agent Ebersole’s testimony
to the jury that, going into the interview with Santana on May 28, 2011, he “had no
idea” that Santana may have firsthand knowledge of the offense. 20 RR 178. Agent
Ebersole testified that he had previously reviewed “background reports, investigative
reports” sent by Agent Johnson. Id. at 177. Agent Johnson had been part of the
investigation since 1992, and Santana was interviewed in connection with the death
and disappearance of A. as early as October 5, 1992. Ex. 67.




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504 (emphasis added). In ruling that Santana’s testimony was accomplice

testimony, the trial court made clear that he had committed “two

affirmative acts” in furtherance of the conspiracy. 22 RR 3.

      Based on these factors, and upon information and belief, the State

failed to disclose that Santana received a benefit in connection with his

testimony against Cruz-Garcia, in violation of the State’s Brady

obligations and in violation of Cruz-Garcia’s due process rights.34 Giglio,

405 U.S. at 154–55 (due process violated where prosecution failed to

disclose “evidence of any understanding or agreement as to future

prosecution” of prosecution witness); Kyles v. Whitley, 514 U.S. 419, 441

(1995) (prosecution failed in its Brady obligation and defendant’s due

process rights violated where prosecution failed to disclose statements

going to credibility of eyewitness testimony).




34 In the alternative, if the State’s representation in post-conviction proceedings that
it could not charge Santana with any offense in connection with the capital murder
of A. is an accurate statement, then the State deliberately elicited false testimony by
asking Santana to state to the jury that he “could be charged with a crime.” 20 RR
166; Ex. 80; see supra § I.A.2.




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          2.   The State failed to disclose further evidence going to
               Santana’s credibility.

     At the time of his 2011 statement to the FBI, Santana was serving

a 17-year sentence on federal drug-related charges. In 1998, leading up

to Santana’s conviction, a federal court granted his defense counsel’s

motion for a psychiatric evaluation, citing competency concerns. Ex. 13;

14. In April 2011, just one month prior to his statement to the FBI

implicating Cruz-Garcia, Santana addressed a letter to the convicting

court seeking to have his sentence set aside on the basis of incompetence.

Ex. 12.

     Notwithstanding the relevance of these records to Santana’s

credibility, the State failed to disclose to defense counsel for Cruz-Garcia

that a court had previously found sufficient grounds to order a psychiatric

evaluation of Santana. Likewise, the State did not disclose that weeks

prior to implicating Cruz-Garcia, Santana sought to have his sentence

set aside based on his psychiatric history. The State thus violated its

Brady obligations to disclose Santana’s competency evaluation. Mathis v.

Dretke, 124 F. App’x 865, 877 (5th Cir. 2005) (State failed in its Brady

obligations when it did not disclose to defense publicly available record

of prosecution witness’s competency evaluation).



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             3.     The State failed to disclose that Santana was
                    convicted of a crime involving moral turpitude.

        Cruz-Garcia incorporates here by reference all facts under supra

§ I.A.3. The State failed to disclose that Santana was charged with injury

to a child and eventually convicted in Harris County in 1992 of

misdemeanor assault on a girl, which is a crime involving moral

turpitude. 35 Ex. 79. As a crime involving moral turpitude, this conviction

was grounds for impeachment. See Tex. R. Evid. 609. Additionally, this

conviction undermined Santana’s allegations that, although present at

the scene, he did not witness A.’s murder because he could not withstand

harm to a child. 21 RR 9. The State violated its Brady obligations when

it failed to disclose Santana’s criminal history. Bagley, 473 U.S. at 676

(Brady obligations extends to impeachment evidence).

        B.        The State withheld mitigation evidence.

        As well as failing to disclose impeachment evidence, the State

withheld mitigating evidence that Cruz-Garcia was an informant for

federal law enforcement. On voir dire by the defense, State witness and

federal agent Juan DeJesus Rodriguez testified that he had verified with




35   Hardman, 868 S.W.2d at 407.




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federal law enforcement that Cruz-Garcia was an informant for federal

law enforcement. 24 RR 72–73. The State objected to Agent Rodriguez

testifying to Cruz-Garcia’s cooperation with federal law enforcement

before the jury on hearsay grounds. Id. at 74. While sustaining the State’s

hearsay objection, the trial court ruled that the information may

nevertheless be relevant to mitigation. Id. Notwithstanding the trial

court’s cautioning as to the mitigating value of this information, the State

did not disclose evidence of Cruz-Garcia’s role as a federal law

enforcement informant. 36

      C.     The State withheld exculpatory evidence and
             impeachment in connection with several witnesses.
      In response to Cruz-Garcia’s multiple pre-trial motions for

disclosure of Brady materials and the trial court’s corresponding orders,

the State responded with a Brady notice dated June 3, 2013, and a

supplemental Brady notice dated June 27, 2013. 3 CR 447–50, 482–83.



36Outside the presence of the jury, the State argued that it had not been aware that
Agent Rodriguez had received confirmation of Cruz-Garcia’s role as an informant for
federal law enforcement. 24 RR 73. Regardless, the State’s obligation to disclose this
mitigation evidence was triggered by Agent Rodriguez’s statements confirming this
information. Harm v. State, 183 S.W.3d 403, 407 (Tex. Crim. App. 2006) (en banc)
(“The state's duty to reveal Brady material to the defense attaches when the
information comes into the state's possession, whether or not the defense requested
the information.”).




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Notwithstanding the trial court’s order for the disclosure of Brady

materials generally, including prior statements and criminal records

concerning specific witnesses for the State, the State failed to disclose to

the defense the following:

  • That Angelita Rodriguez received a benefit from the State in

     connection with her testimony against Cruz-Garcia. Ex. 113.

  • Criminal records and immigration records establishing that

     Angelita Rodriguez was facing state and federal charges, was

     convicted of a deportable offense, and that she was nevertheless

     able to adjust her status. Ex. 73; Ex. 75.

  • Prior inconsistent statement made by Johnny Lopez to HPD in 1989

     concerning the murder of Saul Flores. Ex. 29.

  • A Memo by FBI Agent Eric Johnson documenting that Angelita

     Rodriguez and Cruz-Garcia were living together in the Dominican

     Republic with her mother a few months after leaving the country in

     1992. Ex. 15.

  • Reports from law enforcement establishing that law enforcement

     questioned the credibility and truthfulness of Diana Garcia and

     Arturo Rodriguez. See, e.g., Ex. 19; 64; 65; 66.




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     • Reports from various law enforcement and federal agencies,

       significant portions of which are redacted, including portions that

       appear to contain exculpatory evidence. See, e.g., Ex. 16; 17; 18.

     • Law enforcement records showing that law enforcement was

       developing a second theory of the case and that other, unnamed

       individuals claimed knowledge of the offense. Ex. 16.

     • Documents received in response to a subpoena issued by the Harris

       County District Attorney’s Office to Agent Juan DeJesus Rodriguez

       – FBI Puerto Rico Field Office. Ex. 35.

     • Immigration records showing that Santana’s legal permanent

       residence status was revoked. Ex. 76.37

       D.    The evidence withheld by the State was material.

       Withheld evidence is deemed material if it “might have affected the

outcome of the trial.” United State v. Agurs, 427 U.S. 97, 104 (1976); Ex

parte Kimes, 872 S.W.2d 700 (Tex. Crim. App. 1993) (en banc) (evidence

is material “if there is a reasonable probability that, had the evidence

been disclosed to the defense, the outcome of the proceedings would have


37To the extent that this Court finds that these materials were provided to trial
counsel, Cruz-Garcia alleges that trial counsel was ineffective for failing utilize them.
See infra § VI.




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been different.”). In determining whether evidence is material, the

withheld evidence is evaluated cumulatively and “in the context of the

overall record [and] in the overall context of the overall strength of the

State’s case.” Thomas, 841 S.W.2d at 405 (citing Agurs, 427 U.S. at 113).

         Here, the withheld evidence of Santana’s bias, as well as withheld

evidence of his psychiatric history and crime of moral turpitude, would

have undermined the credibility and reliability of the State’s only

eyewitness tying Cruz-Garcia to the scene of A.’s murder. The

significance of the impeachment evidence withheld by the State is

strengthened by the State’s deliberate misrepresentations to the jury

that no such evidence existed.38 See Ex parte Adams, 768 S.W.2d 281, 291

(Tex. Crim. App. 1981) (“The probable adverse effect disclosure of the

statement to the defense would have had upon the State's case is evident

by the lengths the State went to see that it was not admitted into

evidence.”). Finally, defense counsel expressly requested, and the trial

court ordered, the State to disclose:

         4. All promises of benefit or leniency afforded to any
         accomplice or prospective witness in connection with his/her



38   See § I.A.2.




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     proposed testimony or other cooperation with regard to the
     alleged offense.
     5. All known convictions which are admissible for
     impeachment concerning any of the State’s proposed
     witnesses.
     6. All known convictions, pending charges or suspected
     criminal offense concerning any accomplice proposed to be
     used as a witness by the State.

1 CR 184. “When the prosecutor receives a specific and relevant request,

the failure to make any response is seldom, if ever, excusable.” Agurs,

427 U.S. at 106; see Bagley, 473 U.S. at 682–83 (“The more specifically

the defense requests certain evidence, thus putting the prosecutor on

notice of its value, the more reasonable it is for the defense to assume

from the nondisclosure that the evidence does not exist, and to make

pretrial and trial decisions on the basis of this assumption.”).

     Similarly, at punishment, the State failed to disclose evidence that

would have critically undermined its case on future dangerousness. In

closing at punishment, the State recounted in vivid detail the alleged

murder by Cruz-Garcia of Saul Flores. 26 RR 150. The State argued that

the murder “line[d] up with what we know about the defendant[.]” Id. at

151. However, the State withheld exculpatory and impeachment

evidence implicating the only two witnesses, Santana and Lopez, to tie

Cruz-Garcia to the 1989 unsolved murder of Flores. Significantly, the



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State withheld Lopez’s statement to HPD at the time of the offense, in

which Lopez identified by name and in a photo lineup an entirely

different individual as Flores’s murderer. Ex. 29. This statement was

thus not only entirely exculpatory of Cruz-Garcia; it would have further

permitted the defense to impeach Lopez with his entirely contradictory

statements given at the time of the offense, in 1989.

     Santana also testified in gruesome detail how Cruz-Garcia tortured

and broke the neck of Flores. 25 RR 76–85. Withheld evidence would have

undermined his credibility and further undermined the State’s case on

future dangerousness. With seemingly no forensic evidence tying Cruz-

Garcia to Flores’s murder and Lopez’s prior identification of another

individual, Santana’s credibility was crucial to the State’s case on future

dangerousness. Thomas, 841 S.W.2d at 405 (where “State’s case rested

upon the credibility of only two witnesses . . . [i]t follows that evidence

tending to . . . impeach their testimony would have undermined the

State's case”). Similarly, withheld evidence of Cruz-Garcia’s cooperation




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as an informant for federal law enforcement would have weighed heavily

in favor of a verdict of life. 39

      In light of the totality of the State’s case on guilt and punishment,

there is a reasonable probability that the withheld evidence affected the

outcome of Cruz-Garcia’s conviction and sentence of death. Hence, the

State’s withholding of exculpatory, impeachment, and mitigating

evidence violated Cruz-Garcia’s due process rights.

      E.     Cruz-Garcia’s Brady claim meets the requirements of
             Texas Code of Criminal Procedure Article 11.071
             § 5(a)(1).
      Cruz-Garcia’s Brady claim meets the requirements of Tex. Code

Crim. Proc. art. § 5(a)(1). Under Texas precedent, § 5(a)(1) requires a

showing that (1) the factual basis for an applicant’s current claims were

unavailable as to all of his previous applications; and (2) the specific facts

alleged, if established, would constitute a constitutional violation that

would likely require relief from either the conviction or sentence. Ex parte




39 Significantly, there was a lone holdout juror in favor of a verdict of life, which
further suggests the overall weakness of the State’s case for a sentence of death and
the heightened relevance of evidence going both to Cruz-Garcia’s future
dangerousness and of mitigating circumstances.




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Campbell, 226 S.W.3d 418, 421 (Tex. Crim. App. 2007). Cruz-Garcia’s

Brady claim satisfies both prongs.

      As well as expressly requesting pre-trial disclosure of evidence that

was then withheld by the State, 1 CR 184, Cruz-Garcia again moved for

disclosure by the State of any exculpatory, impeachment, and mitigating

evidence in initial state postconviction proceedings. Ex. 122. Cruz-Garcia

specifically requested:

      1. Any information tending to show a witness’s bias in favor
      of the government or against Cruz-Garcia or which otherwise
      impeaches a witness’s testimony. . . .
      [. . .]
      3. All deals or “consideration” or promises of “consideration”
      given to or on behalf of all State witnesses or expected or
      hoped for by said State witnesses. . . .
      [. . .]
      3. Emails between the State and the FBI regarding Carmelo
      Martinez Santana (“Rudy”), specifically discussing:
      a. his willingness to testify;
      b. the anticipated content of his testimony;
      c. any representations made to him regarding the potential
      consequences of his testimony; and
      d. his transfer from federal custody in Pennsylvania to
      Houston to testify.
      [. . .]
      6. Emails between the State and the FBI or other law
      enforcement entities regarding Cruz-Garcia’s use as a
      Confidential Informant by FBI agents in Puerto Rico.

Id.




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     Despite acknowledging “its ongoing obligation under Brady v.

Maryland, 373 U.S. 83 (1963), to disclose material, exculpatory and

impeachment evidence to the defense[,]” the State nevertheless

requested that the convicting court “vacate its order granting the

defendant’s motion for disclosure.” Ex. 123. After the State’s motion was

denied, it turned over a small number of emails and reports, including an

email in response to the convicting court’s order in which the State

represented that “[t]here were no offers of promises made to any witness

to testify[.]” Ex. 80. In that same email, the State further represented

that it was unable to verify that Cruz-Garcia had worked as a

confidential informant on behalf of law enforcement in Puerto Rico. Id.

     In ascertaining reasonable diligence in uncovering the new facts on

the basis of which an applicant seeks to raise a Brady claim, counsel is

constitutionally entitled to rely on the State’s representations that it has

complied with its Brady obligations. Strickler v. Greene, 527 U.S. 263,

283–84 (1999) (attorney is entitled to rely on State’s assurances that it

will comply with its Brady obligations). Whether at trial or in state post-

conviction proceedings, a defendant or applicant is not required to

“scavenge for hints of undisclosed Brady material when the prosecution




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represents that all such material has been disclosed.” Banks v. Dretke,

540 U.S. 668, 695–96 (2008). This Court should therefore find that Cruz-

Garcia’s Brady claim meets the requirements of Tex. Code Crim. Proc.

art. 11.071 § 5(a)(1), taking into account the State’s express

representation to initial state habeas counsel that it had complied with

its Brady obligations. Ex. 80. Moreover, as argued supra §§ III.A–D,

Cruz-Garcia has alleged facts which, if established, prove that the State

violated his due process rights when it withheld material exculpatory,

impeachment, and mitigating information.

     V.     Claim Five: The Texas death penalty statute deprived the
            jury of the power inherent in a single juror’s vote as
            protected by the Sixth Amendment’s jury unanimity
            requirement announced in Ramos v. Louisiana.
          In Ramos v. Louisiana, 140 S. Ct. 1390, 1397 (2020), the Supreme

Court held, for the first time, that “the Sixth Amendment right to a jury

includes the unqualified right to a unanimous jury. 40 That unqualified

right to jury unanimity carries with it the corollary right that, where a



40 The case produced a number of opinions and not all of the justices in the majority
joined all sections of Justice Gorsuch’s opinion. The core holding, that the Sixth
Amendment demands jury unanimity and that this rule is applicable to the states
under the Fourteenth Amendment, commanded a majority of the Court. See Ramos,
140 S. Ct. at 1408 (opinion of the Court); id. at 1410 (Kavanaugh, J., concurring); id.
at 1420–21 (Thomas, J., concurring).




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single juror votes in opposition to an otherwise unanimous jury, that

single vote carries the day. The power of a single juror’s vote, where

unanimity is required, is fundamental to the Sixth Amendment right to

a jury trial.

      Prior to Ramos, Texas courts held that “[t]he United States

Constitution clearly does not grant a right to a unanimous verdict.”

Phillips v. State, 130 S.W.3d 343, 351 n.6 (Tex. App.—Houston [14th

Dist.] 2004), aff’d, 193 S.W.3d 904 (Tex. Crim. App. 2006); see Arrington

v. State, 2015 WL 1247270, at *2 (Tex. App.—San Antonio Mar. 18, 2015,

pet. ref’d) (same); Taylor v. State, 671 S.W.2d 535, 539 (Tex. App.—

Houston [1st Dist.] 1983, no pet.) (“The due process clause of the Federal

constitution does not require a unanimous verdict in criminal cases.”);

Nunez-Quijada v. State, 2019 WL 5199263, at *2 n.2 (Tex. App.—Austin

Oct. 16, 2019, no pet.) (Sixth Amendment “does not require a unanimous

jury verdict in state criminal trials”); Coker v. State, 2010 WL 5031098,

at *4 (Tex. App.—Tyler Dec. 8, 2010, no pet.) (unanimity requirement of

Sixth Amendment “has not been extended to state criminal trials”). Texas

courts had relied on the Supreme Court’s pre-Ramos precedent stating

that the federal constitution did not require jury unanimity in state




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courts. See Gillette v. State, 444 S.W.3d 713, 726 n.17 (Tex. App.—Corpus

Christi 2014, no pet.) (“[T]he United States Supreme Court has ruled the

United States Constitution does not require a unanimous jury verdict in

state criminal trials.” (citing Apodaca v. Oregon, 406 U.S. 404, 407–14

(1972), and Johnson v. Louisiana, 406 U.S. 356, 359–63 (1972))); Lewis

v. State, 2011 WL 2755469, at *6 (Tex. App.—Fort Worth July 14, 2011,

pet. ref’d) (“[W]e have found no United States Supreme Court authority

requiring juror unanimity in state cases.”); Brown v. State, 2011 WL

2714117, at *6 (Tex. App.—El Paso July 13, 2011, pet. ref’d) (“[T]here is

no authority that states the United States Constitution requires a

unanimous verdict in state cases.”); State v. Espinoza, 2010 WL 2598982,

at *3 (Tex. App.—Dallas June 30, 2010, pet. ref’d) (same).

     The Ramos decision upends Texas courts’ long-standing position

that the federal Constitution did not require unanimous verdicts in state

criminal trials. It also calls into question Texas’s capital sentencing

statute. Ostensibly, the statute reflects the Sixth Amendment right to a

unanimous jury verdict by requiring, on paper, that death sentences be

unanimous. However, the statute strips away the very power of the single

juror inherent in the Sixth Amendment’s unanimity requirement by




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deliberately and explicitly barring the jurors from understanding that

even a single vote is sufficient to ensure that the defendant will be

sentenced to life.

     The vitality of the Sixth Amendment’s right to a unanimous jury

derives directly from the jury’s understanding of the impact of a single

vote in opposition. That vitality is destroyed when the jury is misled by

the court’s instructions and, thus, barred from understanding the impact

of a single juror’s vote. Because Texas’s sentencing statute intentionally

deprives its juries of that understanding, it violates the Sixth

Amendment’s right to a unanimous jury as announced in Ramos.

     A.    The Sixth Amendment requires a unanimous verdict.
     In Ramos, the Court considered whether non-unanimous jury

verdicts permitted under Louisiana and Oregon’s criminal statutes

violated the Sixth Amendment right to a jury. Ramos, 140 S. Ct. at 1394–

95. The jury in Ramos had voted 10-2 in favor of conviction. Id. at 1394.

Despite two jurors voting to acquit, the defendant was convicted under

Louisiana’s statute permitting non-unanimous jury verdicts. Id. Ramos

held that the Sixth Amendment’s unanimity requirement applies to state

trials, striking state statutes that permitted guilty verdicts tendered by




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a non-unanimous jury as unconstitutional and overruling precedent

holding that the Sixth Amendment does not require unanimous juries.

Id. at 1397. In doing so, the Supreme Court recognized that “the Sixth

Amendment right to a jury trial is ‘fundamental to the American scheme

of justice’” and the requirement that a verdict be unanimous is

“incorporated against the States under the Fourteenth Amendment.” Id.

     Central to the holding was the Court’s reasoning that if the right to

“trial by an impartial jury” enshrined in the Sixth Amendment “carried

any meaning at all, it surely included a requirement as long and widely

accepted as unanimity.” Id. at 1396. The Court drew this reasoning from

a long history in common law, dating back to fourteenth century England,

that “no person can be found guilty of a serious crime unless ‘the truth of

every accusation . . . should . . . be confirmed by the unanimous suffrage

of twelve of his equals and neighbors’” because “‘[a] verdict, taken from

eleven, was no verdict’” at all. Id. at 1395 (quoting 4 W. Blackstone,

COMMENTARIES     ON THE    LAWS    OF   ENGLAND 343 (1769)) (first two

alterations in original). This right to trial by jury, including unanimity,

is so essential to “[t]he Sixth Amendment promises” and the “powers as




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jurors” enshrined in the Bill of Rights that it cannot be “freely abridged

by statute.” Id. at 1395.

     The right to jury unanimity in state criminal convictions, which the

Supreme Court now recognizes in Ramos, extends with equal force to any

fact-finding that increases the penalty for a crime, including

determinations of future dangerousness for a state’s capital sentencing

procedures. See Apprendi v. New Jersey, 530 U.S. 466, 490 (2000)

(holding that “any fact that increases the penalty for a crime beyond the

subscribed statutory maximum must be submitted to a jury”); Ring v.

Arizona, 536 U.S. 584, 589 (2002) (applying Apprendi’s rule to state’s

capital sentencing statutes). Ring similarly examined the long history

establishing the jury’s role in deciding the facts necessary to determine a

defendant’s eligibility for capital punishment. Ring, 536 U.S. at 599 (“If

th[e] question had been posed in 1791, when the Sixth Amendment

became law . . . the answer would have been clear . . . .” (quoting Walton

v. Arizona, 497 U.S. 639, 710 (1990) (Stevens, J., dissenting))). And by

the same token, Ramos’s requirement for jury unanimity likewise applies

to a jury’s finding, for example, that the mitigation evidence is




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insufficient to secure a life sentence. See Mills v. Maryland, 486 U.S. 367

(1988).

     The natural corollary to the Sixth Amendment’s guarantee of jury

unanimity is that a single juror’s vote in opposition to that unanimity—

either against a guilty verdict or against a sentence of death—precludes

a guilty verdict or death sentence. That is, the Sixth Amendment’s

demand for unanimity, in turn, empowers the lone juror who votes

against her eleven counterparts, hanging the jury in guilt-phase verdicts,

and securing life in sentencing-phase verdicts. See Ramos, 140 S. Ct. at

1395 (recognizing the longstanding history that “[a] verdict, taken from

eleven, was no verdict.” (quoting 4 W. Blackstone, COMMENTARIES ON THE

LAWS OF ENGLAND 343 (1769) (internal quotation marks omitted))).

     B.    Texas’s death penalty statute violates the Sixth
           Amendment’s guarantee of a unanimous jury as
           announced in Ramos.
     Though Texas’s death penalty statute ostensibly requires a

unanimous jury verdict, as demanded by the Sixth Amendment, its jury

instruction explicitly and intentionally works to strip the power of a

single juror (and up to nine jurors) inclined to vote for life in violation of

the Sixth Amendment.




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         1.        The 10-12 Rule.

      Under Texas’s death penalty scheme, the jury must assess a

minimum of two special issues before a death sentence can be imposed.

One special issue requires the jury to determine the probability that the

defendant will engage in future criminal conduct—i.e., the defendant’s

future dangerousness. Tex. Code Crim. Proc. art. 37.071 § 2(a)(2)(b)(1).

Another requires the jury to assess the mitigation evidence and the

defendant’s “moral culpability” to determine whether the mitigating

circumstances are sufficient to warrant a life sentence rather than death.

Tex. Code Crim. Proc. art. 37.071 § 2(e)(1). If the jury unanimously finds

that there is a probability of future criminal conduct and that the

mitigation evidence is insufficient, the defendant is sentenced to death.

Tex. Code Crim. Proc. art. 37.071 § 2(g). 41

      The statute also requires the court to instruct the jury on unusual

voting requirements as to the special issues, known as the 10-12 rule.

The jury is instructed that it may find future dangerousness only if the

jury is unanimous. Tex. Code Crim. Proc. art. 37.071 § 2(d)(2). At the


41 In some cases, including Cruz-Garcia’s, the jury is also asked whether the
defendant actually caused or intended to kill the victim, or whether he anticipated
that a human life would be taken. See Tex. Code Crim. Proc. art. 37.071 § 2(b)(2).




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same time, the jury is instructed that it may find that the defendant is

not a future danger only if at least ten jurors agree. Id. The jury receives

no instruction explaining what would happen if one or more, but fewer

than ten, jurors find that the defendant is not a future danger. On the

mitigation special issue, the jury is instructed that it may find that

insufficient mitigation exists only if the jury is unanimous. Tex. Code

Crim. Proc. art. 37.071 § 2(f)(2). Again, similar to the future

dangerousness special issue, the jury is also instructed that it may find

that the mitigation is sufficient to warrant a life sentence only if at least

ten jurors agree. Id. The jury is given no instruction as to what would

happen if between one and nine jurors find that the mitigating

circumstances are sufficient to warrant a life sentence.

      Under the statute, “[i]f the jury . . . is unable to answer any issue

. . . the court shall sentence the defendant to . . . life imprisonment.” Tex.

Code Crim. Proc. art. 37.071 § 2(f). But critically, the jury is not informed

of this. On the contrary, the instructions speak in mandatory terms,

requiring the jury to answer special issues. Tex. Code Crim. Proc. art.

37.071 § 2(f)(1) (directing the jury that it “shall answer . . . ‘yes’ or ‘no’”).

Moreover, the statute explicitly gags “[t]he court, the attorney




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representing the state, the defendant, [and] the defendant’s counsel”

from informing any juror that the failure to agree on either special issue

will result in a life sentence. Tex. Code Crim. Proc. art. 37.071 § 2(a)(1).

     In short, the jury is told a lie: that at least ten jurors must agree on

at least one of the special issues to secure a life sentence. These jury

instructions inexorably lead the jury to believe that at least ten jurors

must agree on at least one of the special issues in order to secure a life

sentence. By design, the instructions mislead the jury that they are

required to answer the special issues and preclude the jury from

understanding that the Sixth Amendment’s unanimity requirement

endows a lone juror, who finds either special issue in favor of the

defendant, with the power to grant that defendant a life sentence. The

instructions thus directly violate the Sixth Amendment’s guarantee, as

announced in Ramos, that a single vote is sufficient to avoid a sentence

of death and that a lone juror therefore has the power to prevent a verdict

of death.

        2.    The 10-12 Rule disempowers the single juror who
              votes alone, in violation of Ramos.

     The 10-12 rule functions to distort the deliberation process,

deliberately instructing the jury that a single juror who is inclined to vote



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for life is barred from doing so unless she can convince nine other jurors

to join her. This statutory provision entirely disempowers the single

juror, thereby undermining the unanimity requirement that Ramos held

to be fundamental to the Sixth Amendment right to a jury trial. Although

Ramos makes clear that a single vote must be sufficient to avoid

conviction or a particular sentence, the Texas jury instructions lead the

jury to believe that a single vote is not sufficient to produce a sentence of

life.

        Because the jury is precluded from knowing the effect of a single

vote for life, Texas’s sentencing statute robs each and every juror of the

power of his or her single vote, as enshrined in, and protected by, the

Sixth Amendment’s unanimity requirement. Under the Texas statute, a

single vote can compel a life sentence. However, because of the jury

instructions demanded by the statute, directing that a life sentence is

only possible if ten or more jurors agree, a single juror inclined to

sentence a defendant to life is led to believe that she must convince nine

others in order to give any power to her vote and thus obtain a sentence

of life. The inevitable effect of the jury instruction is to cut off the purpose




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of the Sixth Amendment’s unanimity requirement at its knees, making

that requirement entirely meaningless in Texas.42

      This Court has long-recognized concerns surrounding Texas’s jury

instructions in capital cases and the possible constitutional magnitude

resulting from “the danger that jurors, unaware of the operation of the

law, might mistakenly think a sentence other than death to be impossible

unless ten of them agree.” Draughon v. State, 831 S.W.2d 331, 337 (Tex.

Crim. App. 1992). The court conceded that it was “past serious dispute”

that the 10-12 rule is “uncommonly enigmatic” because the failure of even

one juror to agree with the group would result, not in a hung jury, but in

an automatic sentence of life without parole, yet Texas capital “jurors

don’t know this.” 43 Id.


42  Indeed, the effect of this has already manifested in questionable and
unconstitutional jury verdicts. As one juror testified in support of proposed legislation
that would properly inform jurors about the power of their vote, even if there is a
single holdout, a juror should have the opportunity to know that she can “stand [her]
ground” and have “the law support [her].” See, e.g., Hearing on H.B. 3054 Before the
H. Comm. on Criminal Jurisprudence, 2017 Leg., 85th Sess. (Tex. 2017), available at
http://tlchouse.granicus.com/MediaPlayer.php?view_id=40&clip_id=13351
(testimony of Karyn Paige Gilbeaux found from 2:11:00 to 2:13:52).



43Empirical data confirms that the Texas sentencing statute engenders confusion,
deprives the jury of understanding the power of a single vote against death, and, thus,
undermines the reliability of any unanimous verdict. Studies have demonstrated that
when faced with an informational vacuum, jurors tend to fill the gap with their own
misperceptions, and act on those misperceptions when making decisions. See, e.g.,



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      The Supreme Court has likewise recognized that where the state’s

sentencing scheme misleads the jury about the ability to leave a question

unanswered, juries are likely to feel compelled to answer all questions

posed. Mills, 486 U.S. at 381. A survey in one such state, the Court

explained, demonstrated that among verdict sheets for twenty-five

separate capital jury trials, where the sentencing scheme was unclear

about whether the jury was free to leave a question unanswered, “no

answer as to the existence of mitigating circumstances was ever left

blank.” Id. The Court thus recognized a jury’s compulsion to answer every

question put to it, when it is misled about its ability to leave questions

blank. Id.

      Under Texas’s sentencing statute, a juror who is inclined to find in

favor of the defendant on either of the special issues, but thinking she is

foreclosed from doing so unless she can convince nine others to join her,

is at the same time barred from knowing that she can simply refuse to



William J. Bowers & Benjamin D. Steiner, Death by Default: An Empirical
Demonstration of False and Forced Choices in Capital Sentencing, 77 TEX. L. REV.
605, 670 (1999) (“In every state examined here, capital jurors vastly underestimate
the time that convicted first-degree murderers not given the death penalty will stay
in prison.”); see William J. Bowers & Wanda D. Foglia, Still Singularly Agonizing:
Law’s Failure to Purge Arbitrariness from Capital Sentencing, 39 CRIM. L. BULL. 51,
68, 71, 72–73 (2003).




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join the otherwise unanimous jury, resulting in an unanswered special

issue and a life sentence. The Texas statute likewise bars that juror from

knowing that if either special issue is left unanswered, the defendant will

be sentenced to life. Such a juror will be inclined to ultimately capitulate

to unanimity, as no other options are available to her following the jury

instructions. See id. Any alleged jury unanimity in a system that is

designed to compel a reluctant juror to participate in that unanimity,

despite her conscientious desire not to, by directly instructing her that

there is no other alternative, rings entirely hollow.

     Where the jury is misled about the number of jurors needed to

secure a life sentence, and is likewise barred from understanding that

her single vote on either of the special issues is sufficient to secure a life

sentence, the statute’s requirement of unanimity is meaningless. A

statute that operates to misinform a jury, forcing it to answer each of the

questions posed, while foreclosing any information about how a single

juror’s refusal to vote for death affects those deliberations, removes from

that juror the very power inherent in the Sixth Amendment’s

requirement for jury unanimity, as outlined in Ramos. The “powers as

jurors” enshrined in the Sixth Amendment’s right to jury unanimity




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cannot be “freely abridged by statute.” Ramos, 140 S. Ct. at 1395.

Because the Texas sentencing statute operates to strip those powers from

juries in capital cases in which death is sought, the statue is

unconstitutional under the Sixth Amendment, and Cruz-Garcia’s

sentence of death should be vacated.

     C.    The unconstitutional penalty-phase instructions
           directly impacted the verdict at punishment in Cruz-
           Garcia’s case.
     During the penalty phase hearing, the court charged Cruz-Garcia’s

jury as described above. As to the special issue on future dangerousness,

the court instructed the jury that it “may not answer . . . yes unless you

agree unanimously,” and “may not answer . . . no unless ten or more

jurors agree.” 3 CR 515. At the same time, the court spoke in mandatory

terms, instructing the jury: “You shall return a Special Verdict of ‘YES’

or ‘NO’ on Special Issue No. 1.” Id. (emphasis added). As dictated by the

statute, the jury was not provided any instruction in the event one, and

up to nine, jurors were inclined to vote no as to future dangerousness.

     Similarly, as to the special issue on mitigating circumstances, the

court instructed the jury that it “may not answer . . . yes unless you agree

unanimously,” and “may not answer . . . no unless ten or more jurors




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agree.” Id. at 517. And again, the jury was not provided any instruction

in the event one, and up to nine, jurors were inclined to vote yes as to

mitigating circumstances.

     The jury’s instruction on the 10-12 rule, and the lack of an

instruction confirming that a single juror could prevent a death sentence,

directly influenced the verdict in Cruz-Garcia’s case. There were several

jurors who initially favored a life verdict, including juror Angela

Bowman. Juror Bowman “was one of the most adamantly opposed” jurors

to returning a death sentence, and after the jury was sequestered

overnight during punishment phase deliberations, “felt a great deal of

pressure” to change her vote on the special issues. 3 CR 611, 639. During

the penalty phase deliberations, juror Bowman learned that her ten-

year-old daughter was seriously ill, possibly with pneumonia. Id. at 610–

11; 2 SHCR 355. On the second day of deliberations, juror Bowman sent

a note asking to speak to the trial court without explaining the reason

why, and the trial court decided to meet with juror Bowman one-on-one

in chambers. 27 RR 3–4.

     During the ex parte meeting, juror Bowman explained that she was

the only juror who answered the mitigation and future dangerousness




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special issues44 such that Cruz-Garcia would be sentenced to life instead

of death and suggested that she be replaced with an alternate juror

because she did not think the jury would ever come to an agreement. 27

RR 6. She explained that she felt pressured to change her vote, but that

she would not change her opinion. Id. At the meeting, she also expressed

serious concern about having to be sequestered another night. Id. at 8.

Juror Bowman told the trial court that, “I am not changing my stance on

[the special issues]. I’m not.” Id. at 5–6. The trial court instructed her to

continue to deliberate and that it could be for “a pretty long period of

time,” but that it would not “be for years.” Id. The trial court told juror

Bowman to “continue trying to reach an agreement with the jury, if you

can.” Id. at 7. She indicated that how long juror Bowman had to

deliberate was “completely in the hands of the entire jury.” Id. at 8.

      An hour after their ex parte meeting, juror Bowman, who had just

plainly asserted, “I am not changing my stance on [life]. I am not,” 27 RR

6, joined a unanimous jury verdict sentencing Cruz-Garcia to death. The



44Special issues 1 and 3 were future dangerousness and mitigation, respectively. 3
CR 523, 525. Special issue 2 asked the jury whether Cruz-Garcia actually caused or
intended to kill the victim, or whether he anticipated that a human life would be
taken. See Tex. Code of Crim. Proc. art. 37.071 § 2(b)(2).




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court did not communicate anything about this discussion, or its

supplemental instructions, on the record to counsel or Cruz-Garcia.

Instead, the court only told counsel that juror Bowman asked how long

the deliberations would last. 3 CR 606–07.

     The process was so disturbing to juror Bowman that she reached

out to trial counsel the same day that the verdict was read and signed a

sworn affidavit averring that, “[t]he verdict I returned was not a true and

honest expression of my belief in the evidence supporting the special

issues that called for the death penalty.” 3 CR 611. Juror Bowman was

“distraught over her decision to capitulate during the punishment phase

deliberations and change her vote” and felt “pressured” to do so. Id. at

606–11. Additionally, she explained that her daughter was suffering from

a fever and she wanted to take care of her, rather than be sequestered

another night. Id. at 606, 611.

     The lack of any information concerning what would happen if juror

Bowman did not either change her vote or persuade 9 other jurors to join

her in voting for life was a key factor in juror Bowman casting a vote she

did not believe in:

     The judge did not tell me what would happen if I could not
     change my mind or how long I would be there if I did not



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      agree. I understood that it could be a long time—days, weeks
      even. That is something the other jurors talked to me about—
      that it could take a long time, but we would need to keep
      deliberating. We did not know what would happen if I could
      not agree with them, but I think we figured there would be a
      mistrial.

      Ultimately, I went back to deliberations like the judge
      instructed me to and thought about whether I could find a way
      to agree with the rest of the jurors. Because of all the pressure
      from the other jurors and my daughter being sick, I decided
      to change my vote to death.

      At no time did I truly believe the evidence presented
      warranted a sentence of death, but I had to stop fighting what
      seemed inevitable.

2 SHCR 356.

      The court’s instruction that the jury was required to answer yes or

no, combined with its instruction that the jury could answer either of the

special issues in favor of life only if ten jurors agreed, left the single juror

inclined to vote for life with no options. This framework precluded Cruz-

Garcia’s jury from understanding that a single juror could refuse to join

the otherwise unanimous jury, leaving one or both of the special issues

unanswered and resulting in a life sentence.

      The 10-12 rule prevented the jury from understanding that a single

vote was sufficient to depart from a verdict of death and yield a life

sentence. Cruz-Garcia was therefore deprived of the protective reach of



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the Sixth Amendment requirement of jury unanimity. Because Cruz-

Garcia was denied his Sixth Amendment right to a unanimous jury

verdict during his penalty phase deliberations, he is entitled to a new

penalty phase hearing.

     D.    Cruz-Garcia’s Ramos claim meets the requirements of
           Texas Code of Criminal Procedure Article 11.071
           § 5(a)(1).
     This Court should authorize Cruz-Garcia’s Ramos claim pursuant

to Tex. Code Crim. Proc. art. 11.071 § 5(a)(1). To satisfy § 5(a)(1), an

applicant must show that (1) the factual or legal basis of the claim was

previously unavailable, and (2) the specific facts alleged, if established,

would constitute a constitutional violation that would likely require relief

from the conviction or sentence. Ex parte Campbell, 226 S.W.3d 418, 421

(Tex. Crim. App. 2007).

     This Court has recognized that § 5(a)(1) permits authorization

when a “subsequent writ is based on binding and directly relevant United

States Supreme Court precedent decided after applicant had exhausted

[his] claim at trial and on direct appeal and after applicant had filed his

first state habeas application” Ex parte Martinez, 233 S.W.3d 319, 322

(Tex. Crim. App. 2007). Cruz-Garcia’s claim is based on the United States




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Supreme Court’s decision in Ramos v. Louisiana, decided on April 20,

2020, well after Cruz-Garcia’s initial and first successive writs were filed

in state court in 2015 and 2016. See 1 SHCR 2; Ex. 4. Moreover, as argued

supra §§ V.B and C, Cruz-Garcia has alleged facts which, if proven,

establish a violation of the Sixth Amendment right to jury unanimity.

Hence, this claim satisfies Tex. Code Crim. Proc. art. 11.071 § 5(a)(1).

  VI.     Claim Six: Cruz-Garcia’s Sixth Amendment right to
          effective assistance of counsel was violated.
     A.        Legal background.
          1.     The Sixth Amendment guarantees the right to
                 effective representation.

     The Sixth Amendment guarantees every criminal defendant the

right to effective representation at trial. This Sixth Amendment right

“preserves the fairness, consistency, and reliability of criminal

proceedings by ensuring that the process is an adversarial one.” Ex parte

Flores, 387 S.W.3d 626, 633 (Tex. Crim. App. 2012). To prove ineffective

assistance of counsel, an applicant must show that his counsel performed

deficiently at trial and that counsel’s deficient performance prejudiced

the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984); Ex parte

Bryant, 448 S.W.3d 29, 39 (Tex. Crim. App. 2014); Ex parte Overton, 444

S.W.3d 632, 640 (Tex. Crim. App. 2014).



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     An applicant establishes deficient performance by showing that

trial counsel’s performance fell below an objective standard of

reasonableness. Andrus v. Texas, 140 S. Ct. 1875, 1881 (2020); Ex parte

Bryant, 448 S.W.3d at 38–39. In death penalty cases, trial counsel’s

performance is deficient when it is “inconsistent with the standard of

professional competence in capital cases that prevailed [at the time and

in the location of the trial].” Cullen v. Pinholster, 563 U.S. 170, 196

(2011). The American Bar Association (ABA) standards, which the

Supreme Court “has long referred to as ‘guides to determining what is

reasonable,’” play an important role in assessing counsel’s performance.

Wiggins v. Smith, 539 U.S. 510, 524 (2003) (quoting Strickland, 466 U.S.

at 688). Because the ABA standards reflect the “[p]revailing norms of

practice,” Strickland, 466 U.S. at 688, they are “valuable measures of the

prevailing professional norms of effective representation,” Padilla v.

Kentucky, 559 U.S. 356, 367 (2010).

     In assessing trial counsel’s performance, courts look to the

guidelines that were in effect at the time of trial. Bobby v. Van Hook, 558

U.S. 4, 7 (2009). Where the “prevailing professional norms” as expressed

in the ABA standards are different from the “most common customs” of




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defense attorneys in a particular locale, the prevailing professional

norms nonetheless govern trial counsel’s performance. Harrington v.

Richter, 562 U.S. 86, 88 (2011). That is, a culture of deficiency does not

shelter trial counsel’s performance from constitutional accountability.

The guidelines applicable to Cruz-Garcia’s case include the ABA

Guidelines for the Appointment and Performance of Defense Counsel in

Death Penalty Cases, 31 HOFSTRA L. REV. 913 (2005) (the “ABA

Guidelines”), the ABA Standards for Criminal Justice (3d ed. 1993) (the

“ABA Standards”), and the State Bar of Texas Guidelines and Standards

for Texas Capital Counsel, 69 Tex. B.J. 966 (2006) (the “Texas

Guidelines”).

     Courts apply a “case-by-case approach to determining whether an

attorney’s   performance     was    unconstitutionally    deficient   under

Strickland.” Rompilla v. Beard, 545 U.S. 374, 393–94 (2005) (O’Connor,

J., concurring). An applicant must prove deficient performance by a

preponderance of the evidence. Thompson v. State, 9 S.W.3d 802, 813

(Tex. Crim. App. 1999).

     An applicant establishes prejudice when he shows that “there is a

reasonable probability that, but for counsel’s unprofessional errors, the




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result of the proceeding would have been different.” Strickland, 466 U.S.

at 694. A reasonable probability is “a probability sufficient to undermine

confidence in [the] outcome.” Id. at 693–94. An applicant does not need

to show that trial counsel’s deficient performance “more likely than not

altered the outcome” in his case. Id. at 693. Rather, the applicant need

only show that “the likelihood of a different result [is] substantial, not

just conceivable.” Richter, 562 U.S. at 112.

        2.        Caseload and fee guidelines for Texas death penalty
                  cases.

             a.     Texas and ABA Guidelines require counsel to
                    limit their caseload.

     One of the most important obligations of capital counsel is to

maintain a manageable caseload. All lawyers “have an ethical obligation

to control their workloads so that every matter they undertake will be

handled diligently and competently.” ABA Comm. on Ethics and Prof’l

Responsibility, Formal Op. 06-441, at 9 (2006). ABA Guideline 10.3

provides that “[c]ounsel representing clients in death penalty cases

should limit their caseloads to the level needed to provide each client with

high quality legal representation in accordance with these Guidelines.”

ABA Guideline 10.3. Texas Guideline 9.3, set forth in full below, provides

additional detail. It requires counsel to “give priority to death penalty


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clients over their other caseload.” Texas Guideline 9.3(B). It also requires

that if counsel finds himself “overextended” “such that reasonable time

is not available to properly complete the tasks necessary for providing

quality representation,” he is required to “notify the court.” Texas

Guideline 9.3(C). If counsel finds himself overextended, he is also

required to request legal assistance, withdraw from the case, or “take

steps to reduce other case load matters.” Id.

Guidelines 9.3 – Obligations of Counsel Respecting Workload
     A.    Counsel representing clients in death penalty cases
           should limit their caseloads to the level needed to
           provide each client with high quality legal
           representation in accordance with these Guidelines.
     B.    Counsel representing the death penalty clients must,
           due to the severity of nature of the case and the
           necessity for time-consuming research and preparation,
           give priority to death penalty clients over their other
           caseload.
     C.    In the event that counsel’s caseload becomes
           overextended after acceptance of a death penalty case,
           so that reasonable time is not available to properly
           complete the tasks necessary for providing maximum
           quality representation, counsel should notify the court
           and request additional legal assistance, or seek to
           withdraw, or take steps to reduce other caseload matters
           which conflict with his death penalty representation.
     The reasons for limits of capital counsel’s caseload are obvious. “A

sleep-deprived member of a capital defense team, no matter how talented



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or dedicated, cannot provide competent representation if his or her

workload does not provide the time necessary to handle these

extraordinarily taxing engagements.” Lawrence J. Fox, Capital

Guidelines and Ethical Duties: Mutually Reinforcing Responsibilities, 36

HOFSTRA L. REV. 775, 783 (2008). Because death penalty cases “are

intense emotionally and demanding of one’s time,” even the “best of

intentions cannot overcome an excessive workload.” Id. at 784.

             b.   The Texas Indigent Defense Commission has
                  concluded that five is the maximum number of
                  death penalty cases a fulltime capital practitioner
                  can handle.

     Facing a “statewide crisis in the criminal defense system,” the

Texas legislature passed the Fair Defense Act (“FDA”) in 2001. James D.

Bethke and Morgan Shell, Public Defense Innovation in Texas, 51 IND. L.

REV. 111, 112 (2018). “A key component of the Act was the creation of the

Task Force on Indigent Defense,” which was subsequently renamed the

Texas Indigent Defense Commission (“TIDC”). Id. TIDC “distributes

funds   to   counties,   monitors   their   compliance    with   state   and

constitutional requirements, provides counties technical support, and

develops Texas indigent defense policies.” Id.




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      The TIDC has studied the issue of appointed counsel caseloads for

both death penalty and non-death penalty cases. In 2013, the TIDC

ordered an assessment of the Regional Public Defender for Capital Cases

Office (“RPDO”) from the Public Policy Research Institute of Texas A&M

University. Ex. 142. The RPDO, based in Lubbock County, was created

by TIDC in 2008 “to make high-quality capital defense representation

more accessible in small and mid-sized jurisdictions,” whose budgets

could otherwise become overwhelmed by the costs of a capital case.

Bethke & Shell, Public Defense Innovation in Texas, 51 IND. L. REV. at

115. The RPDO does so by employing salaried attorneys who “specialize

exclusively in capital defense services.” Ex. 142 at 24, 29. RPDO staffs

each case with two attorneys, an investigator, and a mitigation specialist.

Id. at vii.

      When it funded the creation of the RPDO, TIDC mandated that

each attorney’s caseload not exceed five active cases. Id. at 2. The 2013

assessment found that RPDO respected the five-case maximum, with

each attorney averaging four cases. Id. at 24. The assessment concluded

that the five-cases-per-attorney cap was important to RPDO’s ability to




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provide capital representation consistent with the Texas Guidelines. Id.

at 2.

        Three years later, however, TIDC commissioned another report on

RPDO. The assessment, which RPDO joined TIDC in requesting, was

conducted by the National Association of Public Defense (“NAPD”). The

NAPD found that caseloads had increased, with the cap being raised to

six cases per attorney. Ex. 145. The report criticized this development,

noting that “[t]here are other places in the country where the caps are

significantly lower than that maintained by RPDO, including some with

a cap of one or two open cases at a time.” Id. The report concluded that

“six capital cases appears to be too high to comply with the ABA

Guidelines.” Id. at 12.

        The lessons from the TIDC reports are clear: An attorney who

works exclusively on death penalty cases—as part of a team with at least

one other attorney, an investigator, and a mitigation specialist—can

handle up to, but no more than, five capital cases to remain compliant

with the prevailing professional guidelines.




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           c.    TIDC has also closely studied felony caseloads.

     TIDC has also looked at the issue of appointed counsel caseloads for

non-capital cases. For many years, the default standard for a non-capital

caseload was that developed by the National Advisory Commission on

Criminal Justice Standards and Goals in 1973. Ex. 144. The “NAC

standards,” as they became known, provided that caseloads should not

exceed 150 felony cases a year. Id. According to a September 2013 Report

from Council of State Governments Justice Center, the Harris County

Public Defender’s Office adhered to the NAC standards, with a caseload

cap of 150 felony cases per year and a goal of 30-35 cases open at any

given time. Ex. 147.

     In 2013, the Texas Legislature instructed TIDC to “conduct and

publish a study for the purpose of determining guidelines for establishing

a maximum allowable caseload for a criminal defense attorney that,

when the attorney’s total caseload . . . is considered, allows the attorney

to give each indigent defendant the time and effort necessary to ensure

effective representation.” Tex. H.B. 1318, 83rd Leg., R.S. (2013). The

legislature further directed that “[t]he study must be based on relevant

policies, performance guidelines, and best practices.” Id.




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       TIDC reported on the results in a January 2015 report. The report

strongly criticized the NAC standards as outdated and lacking an

empirical foundation. Ex. 144. Based on an exhaustive analysis of Texas

criminal defense practice, the report concluded that caseloads should be

capped according to the degree of offense. The report concluded that:

       for the delivery of reasonably effective representation
       attorneys should carry an annual full-time equivalent
       caseload of no more than the following:
            •    236 Class B Misdemeanors;
            •    216 Class A Misdemeanors;
            •    174 State Jail Felonies;
            •    144 Third Degree Felonies;
            •    105 Second Degree Felonies; or
            •    77 First Degree Felonies.

Id. at 34. The TIDC has criticized Harris County for failing to adhere to

the caseload guidelines for appointed cases. Ex. 146 at 15; Ex. 143 at 11.

Indeed, in 2016, TIDC found that Harris County’s appointment system

was so badly flawed and led to such high caseloads that it failed TIDC’s

standard for being a “fair, neutral, and nondiscriminatory system.” Ex

146.




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           d.    Both the ABA and the Texas Guidelines prohibit
                 fixed-fee contracts in death penalty cases.

     Like workload, fee structure is critical to ensure that counsel

provide adequate representation in capital cases. Fox, 36 HOFSTRA L.

REV. at 777–78 (“Given the fact that the prosecution in capital cases will

likely be represented by well-funded and skilled specialists, issues of fees

and workload have become central to the defense team’s duty of

competent performance imposed by Rule 1.1.”).

     Both the Texas and ABA Guidelines prohibit the use of flat fees in

death penalty cases. Texas Guideline 8.1.B.1 (“Flat fees, caps on

compensation, and lump-sum contracts are improper in death penalty

cases.”); ABA Guideline 9.1.B.1 (same). Fixed fees are prohibited by the

Guidelines for obvious reasons: “When assigned counsel is paid a

predetermined fee for the case regardless of the number of hours of work

actually demanded by the representation, there is an unacceptable risk

that counsel will limit the amount of time invested in the representation

in order to maximize the return on the fixed fee.” ABA Guideline 9.1,

Cmt. “The possible effect of such rates is to discourage lawyers from doing

more than what is minimally necessary to qualify for the flat payment.”




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Id. (quoting commentary to Standard 5-2.4 of the ABA Standards for

Criminal Justice: Providing Defense Services).

     B.        Background regarding Cruz-Garcia’s counsel.
          1.     Cruz-Garcia’s family raised money to retain counsel
                 for him.

     On February 16, 2010, the Court appointed Mike Fosher as first

chair counsel for Cruz-Garcia. 1 CR 8. Mario Madrid was appointed as

co-counsel on March 3, 2010. 1 CR 11. Members of Cruz-Garcia’s family,

however, raised sufficient funds through their church to retain private

counsel. Ex. 85 at 9. They hired Steven Shellist and Christian Capitaine

to represent Cruz-Garcia in April of 2010. Id.

          2.     When the State decided to seek the death penalty,
                 Cruz-Garcia’s retained counsel were forced to
                 withdraw and Skip Cornelius and Mario Madrid
                 were appointed to represent Cruz-Garcia.

     Shellist and Capitaine worked on Cruz-Garcia’s case until August

2011. When the State decided to seek the death penalty, however, they

withdrew from the case. 2 CR 326; 4 RR 4–10; Ex. 6. On August 31, 2011,

the court appointed R.P. “Skip” Cornelius as lead counsel and Mario

Madrid as second chair. 1 CR 57–58.




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            3.      Cornelius sought and received compensation for his
                    representation of Cruz-Garcia on a flat-fee basis, in
                    contravention of Texas Guideline 8.1.B.1 and ABA
                    Guideline 9.1.B.1.

         The Texas and ABA Guidelines are clear: flat fees “are improper in

death penalty cases.” Texas Guideline 8.1.B.1; ABA Guideline 9.1.B.1.

Cornelius nonetheless sought and received a $65,000 flat fee for his

representation of Cruz-Garcia. Ex. 7. Cornelius’s co-counsel, Mario

Madrid, likewise sought and received a $60,000 flat fee. 2 CR 375–76.

Although flat fees are prohibited by both the ABA and Texas Guidelines,

they have long been permitted as part of the Harris County appointment

system       that     TIDC     concluded     failed    the   “fair,   neutral,   and

nondiscriminatory” test. Ex. 146. In 2013, the presumptive flat fee was

$35,000.00 for first-chair counsel and $30,000.00 for second chair. Ex. 7

at 1. Cornelius justified his being paid a near-doubling of the presumptive

flat fee on the grounds that the case was “more than 19 years old” and

was “very complex.” 2 CR 372. Cornelius also told the court that “[i]n all

likelihood there will be a multitude of expert witnesses on many different

elements of the various cases.”45 2 CR 373. He also emphasized Cruz-



45   It is unclear what Cornelius meant by the “various cases.”




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Garcia’s ties to Puerto Rico, telling the court that the case “involves

numerous extraneous offenses, both in Texas and in Puerto Rico” and

that “[d]efendant’s family lives in Puerto Rico, as well as in Texas and

other cities.” 2 CR 372.

     As discussed above, the problem with flat fees in death penalty

cases is that they create “an unacceptable risk that counsel will limit the

amount of time invested in the representation in order to maximize the

return on the fixed fee.” ABA Guideline 9.1, Cmt. This makes flat fees

particularly problematic in Texas death penalty cases, as counsel have a

duty to “give priority to death penalty clients over their other caseload”

under Texas Guideline 9.3.B.

     Flat fees also impede accountability for appointed counsel. Because

they were working on a flat fee, neither Cornelius nor Madrid kept

contemporaneous time entries. Yet, as described below, an analysis of

Cornelius’s billing records in other cases shows that the exact situation

the prohibition of flat fees was meant to prevent occurred in Cruz-

Garcia’s case. Cornelius did not “give priority” to Cruz-Garcia’s case.

Instead, he worked relentlessly on other, hourly-billed cases from the




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beginning of jury selection in Cruz-Garcia’s case on June 3, 2013, until

sentencing on July 22, 2013. See Ex. 138.

         4.     Cornelius’s crushing              caseload       far    exceeded
                reasonable standards.

      Throughout his representation of Cruz-Garcia, Cornelius carried a

caseload far in excess of TIDC standards. Harris County did not track

counsel caseloads during the 2011 to 2013 time period. Accordingly, the

only way to determine Cornelius’ caseload is to identify and count each

of his individual appointments. The appointments Cruz-Garcia has been

able to identify paint an extremely troubling picture of Cornelius’s

caseload. 46

      The      chart   below    summarizes       Cornelius’s     capital    murder

appointments while he served as Cruz-Garcia’s lead counsel. The

documents underlying Figure 1 are included in Exhibit 138 and Exhibit

148, showing when Cornelius was appointed and when representation

concluded, and billing in corresponding cases.47


46Cruz-Garcia used the docket searching feature of the Harris County District Clerk’s
website to attempt to identify the capital cases to which Cornelius was appointed
during his representation of Cruz-Garcia. Because there is no centralized repository
for appointments, though, he cannot be certain that he located all of Cornelius’s
appointments.
47 Billing records from Cornelius’s capital cases are included with his non-capital
billing records. The fact that some of the cases were death penalty cases is only



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Figure 1: Cornelius’s capital appointments during his representation of
Cruz-Garcia. 48
 Case                               Type                Appt.           End
 Andre Sloan                        Non-Death           09/21/10        05/25/12
 Herbert Nash                       Non-Death           03/10/10        09/30/11
 Lucky Ward                         Death               03/02/11        09/17/13
 Kevin Owens                        Non-Death           04/12/11        01/27/14
 Judy Hambrick                      Non-Death           04/18/11        12/20/12
 Bobby Jones                        Non-Death           04/19/11        06/08/12
 Charles Grabow                     Non-Death           04/24/11        01/22/13
 Jeffery Prevost                    Death               05/24/11        04/05/14
 Daryl Reed                         Non-Death           11/14/11        08/23/13
 Astin Johnson                      Non-Death           01/30/12        01/31/13
 Shawn Mayreis                      Non-Death           03/29/12        08/08/13
 Justin McGee                       Non-Death           05/07/12        12/12/13
 Neil Mukherjee                     Death               12/04/12        11/14/15
 Juan Reyes                         Death               12/13/12        04/04/14
 Anthony Alegria                    Non-Death           01/11/13        10/01/14
 Curtis Adams                       Death               01/13/13        07/15/15
 Neva Jane Gonzalez                 Non-Death           02/06/13        02/13/14
 Johntay Gibson                     Non-Death           02/25/13        07/14/14
 Randy Segura                       Non-Death           04/24/13        11/17/14
 Tyran Riley                        Non-Death           05/13/13        01/08/15
 Osman Irias                        Non-Death           06/21/13        04/07/14


apparent from the billing records. Cornelius’s billing records in the Juan Reyes case
include a notation that it was a death case until January 2014, six months after Cruz-
Garcia’s trial ended. Likewise, Cornelius’s billing records in the Neil Mukherjee case
state that the State was seeking the death penalty against Mukherjee at the time
Cornelius withdrew from the representation in November 2015. Cornelius’s billing
records in the Curtis Adams, Lucky Ward, and Jeffery Prevost cases also indicate
that those cases were death penalty cases.
48The documents underlying Figure 1 are collected in Exhibits 148 and 138. Exhibit
148 contains appointment orders and documents indicating when Mr. Cornelius’s
representation ended. In some instances, to see that the case was a death case, it is
necessary to look to Exhibit 138. The duration of Mr. Cornelius’s involvement is also
evidenced in the billing records in Exhibit 138.



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        The documents in Exhibits 138 and 148 show that between August

2011, when he was appointed in Cruz-Garcia’s case, and June 2013, when

jury selection began in Cruz-Garcia’s case, Cornelius worked six non-

death capital murder cases to conclusion. These records also show that

at the time of Cruz-Garcia’s trial, Cornelius had six active death penalty

cases. As the 2016 TIDC report on RPDO found, “six capital cases

appears to be too high to comply with the ABA Guidelines.” Ex. 145 at

12. That figure of six cases further assumes that the attorney works on

no other cases and is part of a team comprised of co-counsel, a mitigation

specialist, and an investigator. As discussed infra § VI.E.3, Cornelius

admitted that he did not retain a mitigation specialist in Cruz-Garcia’s

case.

        Moreover, in addition to the already six death penalty cases

Cornelius was appointed to, he was appointed to at least ten non-death

capital cases, two of which49 he tried to verdict within a month of

concluding Cruz-Garcia’s trial. In the time period between when

Cornelius was appointed to represent Cruz-Garcia and the trial,




49   Shawn Mayreis and Daryl Reed.




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Cornelius saw another six non-death capital cases to conclusion. In total,

Cornelius worked on at least sixteen non-death capital murder cases

while representing Cruz-Garcia, in addition to the six death cases he was

carrying.

       Cornelius’s capital murder docket alone put his caseload far above

the TIDC limit of five death cases per full-time capital attorney. Yet,

Cornelius also carried hundreds of non-capital felony cases. Again,

although there is no central repository of case appointments in Harris

County during the relevant time period, Cruz-Garcia has identified as

many of Cornelius’s appointments as he could during the time period

from September of 2010 to the date of Cruz-Garcia’s trial. A list of

Cornelius’s non-capital appointments from one year before he was

appointed to represent Cruz-Garcia until the end of Cruz-Garcia’s trial is

included below in Figure 2. The documents underlying Figure 2,

including appointment orders and indictments, are collected in Exhibit

139.

       As indicated by Figure 2, Cornelius was appointed to over 500

felony cases in the less-than-three-year period from September 2010 to

July 2013. In 2012 alone, Cornelius was appointed to over 250 felony




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cases. During his less-than-two-year representation of Cruz-Garcia,

Cornelius was appointed to over 400 felony cases.

         The TIDC guidelines provide that attorneys should not handle more

than 144 cases per year, assuming all the cases are third degree felonies.

Yet, much of Cornelius’s caseload consisted of first-degree felonies such

as non-capital murder, aggravated robbery, aggravated assault,

aggravated kidnapping, and aggravated sexual assault. The TIDC

guidelines dictate that attorneys should not take on more than 77 first-

degree felonies in one year, assuming the attorney has no other cases.

Figure 2: Cornelius’s felony appointments from September 2010 to July
2013. 50
Case No. Appt. Date              Defendant               Charge
1276750 Sept. 7, 2010            Robert Edwin            Burglary of a habitation
                                 Lewis
1276472        Sept. 7, 2010     Anthana Denmon          Aggravated Assault
                                                         with a deadly weapon
1276473        Sept. 7, 2010     Anthana Denmon          Aggravated Assault
1276862        Sept. 7, 2010     Truett Lane Finch       Burglary of a habitation
1276580        Sept. 7, 2010     Angela Michelle         Prostitution
                                 Palmer
1276950        Sept. 8, 2010     Johnny Dawon            Aggravated Robbery –
                                 Hall                    Deadly Weapon
1277012        Sept. 8, 2010     Lawrence Price          Aggravated Assault –
                                                         Family Member
1277059        Sept. 8, 2010     Rafael Ochoa            Aggravated Assault
                                 Flores

50   The documents underlying Figure 2 are collected in Exhibit 139.



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Case No. Appt. Date    Defendant                   Charge
1277381 Sept. 13, 2010 Johnny Oneal                Delivery of a Controlled
                       Rosborough                  Substance
1277262 Sept. 13, 2010 Zeke Jermaine               Burglary of a habitation
                       Rayford
1277574 Sept. 13, 2010 Sheneka                     Aggravated Assault
                       Henderson
1277739 Sept. 14, 2010 Elmer Yobany                Possession of a
                       Martinez                    Controlled Substance
1277801 Sept. 14, 2010 Eulalio Alejandro           Evading Arrest or
                       Garcia                      Detention
1277903 Sept. 15, 2010 Charles Stevens             Endangering Child
                       Woods
1277810 Sept. 15, 2010 Donald Wayne                Possession of a
                       Lewis                       Controlled Substance
1278042 Sept. 16, 2010 Steven Anthony              Burglary of a habitation
                       Scanlon
1278015 Sept. 16, 2010 Darla Jean                  Prostitution
                       Westerfield
1278092 Sept. 17, 2010 Mary K. Beltran             Possession of a
                                                   Controlled Substance
1277782    Sept. 17, 2010 Louis Thomas             Assault – Family
                                                   Violence – 2nd Offender
1278835    Sept. 24, 2010 Deangelis                Robbery
                          Marshall
1281238    Oct. 13, 2010 Raymond                   Sexual Assault
                          Richardson
1281569    Oct. 18, 2010 Clyde Eugene              Murder
                          Bradford
1282123    Oct. 21, 2010 Tredric Culclager         Murder
1281298    Oct. 25, 2010 Henry Price               Aggravated Sexual
                                                   Assault
1281146    Oct. 26, 2011     Matthew Young         Aggravated sexual
                                                   assault child under 14
1282084    Oct. 29, 2010     Leonard Keith         Burglary of a habitation
                             Campbell




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Case No. Appt. Date          Defendant             Charge
1285192 Nov. 15, 2010        Charles Ellium        Possession of a
                             Dees                  Controlled Substance
1285814    Nov. 19, 2010     Ashley Trimont        Possession of a
                                                   Controlled Substance
1287718    Dec. 7, 2010      Floyd Edward          Aggravated Assault –
                             Coleman               Family Member
1280414    Dec. 8, 2010      Brian Lynn            Possession of a
                             Fairchild             Controlled Substance
1288400    Dec. 13, 2010     Tevlon John           Possession of a
                             Campbell              Controlled Substance
1288718    Dec. 16, 2010     Christopher Cash      Aggravated Robbery –
                             Wilkins               Deadly Weapon
1288977    Dec. 17, 2010     Gregory Scott         Possession with Intent
                             Jelks                 to Deliver a Controlled
                                                   Substance
1289316    Dec. 20, 2010     Marvin Earl           Criminal Mischief
                             Rumley, II
1289228    Dec. 20, 2010     Paul Anthony          Theft
                             Archer
1289199    Dec. 20, 2010     Troy Bennings         Burglary of a habitation
1289045    Dec. 20, 2010     Tyler Frank           Burglary of a habitation
1289088    Dec. 20, 2010     Tyler Frank           Assault
1287026    Dec. 20, 2010     Le-Charles Bryant     Aggravated Robbery –
                                                   Deadly Weapon
1294397    Feb. 7, 2011      Lorenzo Rogers        Possession with Intent
                                                   to Deliver a Controlled
                                                   Substance
1292242    Feb. 7, 2011      Lorenzo Vonzell       Assault of a family
                             Rogers                member 2nd offender &
                                                   impending breathing
1290357    Feb. 14, 2011     Michael Walker        Burglary of a habitation
1295252    Feb. 14, 2011     Ione Lashay Allen     Theft – Third Offender
1290358    Feb. 14, 2011     Michael Walker        Burglary of a habitation
1298168    March 10,         Teddrick Batiste      Aggravated Robbery
           2011                                    – Deadly Weapon




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Case No. Appt. Date          Defendant             Charge
1298422 March 14,            Wilson Ennis          Delivery of a Controlled
         2011                Barker III            Substance
1298423 March 14,            Wilson Ennis          Possession of a
         2011                Barker III            Controlled Substance
1298424 March 14,            Wilson Ennis          Delivery of a Controlled
         2011                Barker III            Substance
1298482 March 14,            Frank G Garcia        Possession with Intent
         2011                                      to Deliver a Controlled
                                                   Substance
1291793    March 15,         Steven Hanks          Aggravated sexual
           2011                                    assault child under 14
1300376    March 28,         Desarian Oneal        Burglary – Habitation
           2011              Cartwright
1300296    March 29,         Jesus Fedibiagini     Aggravated Kidnapping
           2011
1300619    March 30,         Leland Dazey      Possession of a
           2011                                Controlled Substance
1296660    April 1, 2011     James Benton      Aggravated Assault –
                             Thomas            Family Member
1287853    April 4, 2011     Kyle Bryant       Delivery of Marihuana
1301372    April 4, 2011     Miguel Angel      Assault of Family
                             Mata              Member – Impeding
                                               Breathing
1284004    April 5, 2011     Chalyn Stewart    Robbery
1288687    April 5, 2011     Esmai Kyet        Aggravated sexual
                                               assault of a child 14-17
                                               years of age
1297534    April 5, 2011     Amanda Michelle Possession with Intent
                             Thornton          to Deliver a Controlled
                                               Substance
1301461    April 5, 2011     Jason Ryan Lafeur Possession of a
                                               Controlled Substance
1301618    April 6, 2011     Rafael Horazeo    Possession of a
                             Gonzales          Controlled Substance
1301482    April 6, 2011     Percy Lee         Aggravated Assault –
                             Freeman           Family Member



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Case No. Appt. Date       Defendant                Charge
1301483 April 6, 2011     Percy Lee                Felon in Possession of
                          Freeman                  Firearm
1301484    April 6, 2011 Percy Lee                 Possession of a
                          Freeman                  Controlled Substance
1301394    April 6, 2011 Justin Lott               Assault
1301396    April 6, 2011 Justin Lott               Assault
1299908    April 6, 2011 Leonardo                  Theft
                          Buentello
1301661    April 7, 2011 Morris Banks              Theft
1297594    April 7, 2011 Michael Anthony           Theft
                          Reescano
1301545    April 7, 2011 Michael Reescano          Theft – Third Offender
1302237    April 11, 2011 Ricky Lee Vallejo        Aggravated Assault
1302079    April 11, 2011 Vernis Elbert Boyd       Harassment of Public
                                                   Servant
1302038    April 11, 2011 Janice Renne             Possession of a
                          Johnson                  Controlled Substance
1302122    April 11, 2011 Jarvis Eugene            Aggravated Assault
                          Faultry
1302124    April 11, 2011 Jarvis Eugene        Possession of a
                          Faultry              Controlled Substance
1301900    April 11, 2011 Vern Hayward         Controlled Substance
                          McKinney             Fraud – Prescription
1302501    April 13, 2011 Brandon Lee West     Possession with Intent
                                               to Deliver a Controlled
                                               Substance
1301953    April 13, 2011    Brandon West      Felon in Possession of
                                               Firearm
1301954    April 13, 2011    Brandon West      Possession of
                                               Marihuana
1302509    April 13, 2011    Christopher James Aggravated Robbery –
                             Franks            Deadly Weapon
1302510    April 13, 2011    Christopher James Aggravated Assault
                             Franks
1297373    April 19, 2011    Bobby Jones       Aggravated Assault




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Case No. Appt. Date    Defendant                   Charge
1302731 April 18, 2011 Judy Lucille                Theft of Firearm
                       Hambrick
1302700 April 18, 2011 John Henry                  Aggravated Assault –
                       Addison                     Family Member
1298312 April 17, 2011 Ethel Ibarra                Possession with Intent
                                                   to Deliver a Controlled
                                                   Substance
1303461    April 25, 2011 Mattheaus Reed           Possession of a
                                                   Controlled Substance
1292299    April 26, 2011 Vito Mario               Aggravated Assault –
                          Murrugo                  Family Member
1301177    May 4, 2011    Justin Abels             Bail Jumping and
                                                   Failure to Appear
1296922    May 9, 2011       Broderick Keon        Possession of
                             Ansley                Marihuana
1296921    May 9, 2011       Broderick Keon        Possession with Intent
                             Ansley                to Deliver a Controlled
                                                   Substance
1305352    May 9, 2011       Broderick Keon        Tampering/Fabricating
                             Ansley                Physical Evidence
1305885    May 12, 2011      Jimmy Calvin          Aggravated Assault –
                             Parker                Family Member
1306894    May 23, 2011      Patrick Bernard       Aggravated Robbery –
                             Jackson               Deadly Weapon
1307048    May 23, 2011      Calvin Lavergne       Aggravated Robbery –
                                                   Deadly Weapon
1307176    May 23, 2011      Manuel L. Luna        Assault of Family
                                                   Member – Impeding
                                                   Breathing
1307028    May 24, 2011      Kenneth Robert        Aggravated Assault –
                             Welters               Family Member
1307152    May 24, 2011      Torrance Keith        Possession of a
                             Coleman               Controlled Substance
1307404    May 25, 2011      Tramella A.           Possession of a
                             Waller                Controlled Substance




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Case No. Appt. Date          Defendant             Charge
1307363 May 25, 2011         Julius Murray         Assault of Family
                                                   Member Second
                                                   Offender and Impeding
                                                   Breathing
1307331    May 25, 2011      Laura Kim Taylor      Deadly Conduct
1281626    May 26, 2011      John Joe Valencia     Possession of a
                                                   Controlled Substance
1280866    May 26, 2011  Deshon Chantez            Aggravated Assault
                         Gilkey
1302296    May 27, 2011 Charles Douglas            Aggravated Assault
                         Grabow Jr.
1294356    May 27, 2011 Seaver Kardell             Aggravated Robbery –
                         Gordon                    Deadly Weapon
1307784    June 17, 2011 John Joe Valencia         Bail Jumping and
                                                   Failure to Appear
1295162    June 21, 2011 William                   Aggravated Robbery –
                         Hernandez                 Deadly Weapon
1312658    July 12, 2011 Esmai Kyet                Robbery
1310708    July 13, 2011 Kerri Lashun              Aggravated Robbery –
                         Livings                   Deadly Weapon
1313253    July 18, 2011 Orlando Salinas           Injury to Elderly
                                                   Individual
1312972    July 18, 2011     Tremayne Givens       Violation of Protective
                                                   Order – Family
                                                   Violence
1315016    Aug. 1, 2011      Damian Orion          Theft – Third Offender
                             Smith
1314871    Aug. 1, 2011      James Byron           Burglary with Intent to
                             McCauley              Commit Theft
1311512    Aug. 4, 2011      Donovan Charles       Credit/Debit Card
                             Anderson              Abuse
1309645    Aug. 4, 2011      Donovan Charles       Assault – Family
                             Anderson              Member – 2nd Offender
1315349    Aug. 4, 2011      Paul Curtis           Assault of Family
                             Rideaux               Member – Impeding
                                                   Breathing



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Case No. Appt. Date          Defendant             Charge
1310753 Aug. 5, 2011         Steven Anthony        Possession of
                             Scanlon               Marihuana
1315417    Aug. 5, 2011      Augustine M.          Credit/Debit Card
                             Peralez               Abuse
1315123    Aug. 5, 2011      Claudia Elizabeth     Assault of Family
                             Munoz                 Member – Impeding
                                                   Breathing
1315938    Aug. 10, 2011     Freddy Sanchez        Possession of a
                                                   Controlled Substance
1316066    Aug. 11, 2011     Janice Rena           Possession of a
                             Johnson               Controlled Substance
1316076    Aug. 11, 2011     Jyamos Edward         Assault of Family
                             Maxie-Mouton          Member – Impeding
                                                   Breathing
1316088    Aug. 11, 2011     James Edward          Possession with Intent
                             Lewis                 to Deliver a Controlled
                                                   Substance
1316171    Aug. 12, 2011     Kevin Antonio         Aggravated Assault
                             Owens
1316317    Aug. 15, 2011     Lissandro Pacheco     Burglary of a habitation
1316230    Aug. 15, 2011     Nathan Edward         Possession of a
                             Williams              Controlled Substance
1316432    Aug. 15, 2011     Sergio Luis Gil       Indecency with a Child
1316522    Aug. 16, 2011     Juan Manuel           Retaliation
                             Lucio- Lopez
1316624    Aug. 16, 2011     Juan Manuel           Aggregate Criminal
                             Lucio-Lopez           Mischief
1309846    Aug. 16, 2011     Johnathan             Possession of a
                             Matthew Adams         Controlled Substance
1313015    Aug. 17, 2011     Alejandro Castillo    Possession of a
                                                   Controlled Substance
1316371    Aug. 17, 2011     Nija A. Brown         Assault – Family
                                                   Violence – 2nd Offender
1316714    Aug. 17, 2011     Christopher           Theft – Third Offender
                             Bernard Hamlett
1316737    Aug. 17, 2011     Jordan Lee Lane       Theft – Third Offender



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Case No. Appt. Date          Defendant         Charge
1298312 Aug. 17, 2011        Ethel Ibarra      Possession with Intent
                                               to Deliver a Controlled
                                               Substance
1312234    Aug. 18, 2011     Zackery Lee Hayes Aggravated Robbery –
                                               Deadly Weapon
1316787    Aug. 18, 2011     Daniel Martinez   Assault of Family
                                               Member Second
                                               Offender and Impeding
                                               Breathing
1316848    Aug. 18, 2011     William Griffin   Assault of Family
                                               Member – Impeding
                                               Breathing
1316826    Aug. 18, 2011     Jeremy Michael    Possession of
                             Gonzalez          Marihuana
1316603    Aug. 18, 2011     Kayla Michelle    Harassments of Public
                             Matthews          Servant
1309558    Aug. 18, 2011     Gloria Torres     Aggregated Assault
1283183    Aug. 19, 2011     Charles Chilcutt  Theft
1316985    Aug. 19, 2011     Tamisha Renee     Delivery of Marihuana
                             Jones
1316953    Aug. 19, 2011     Christopher R.    Assault – Family
                             Rhodes            Violence – 2nd Offender
1317205    Aug. 22, 2011     Kim Anthony       Possession with Intent
                             Williams          to Deliver a Controlled
                                               Substance
1315485    Aug. 25, 2011     Dominic Rendon    Aggravated Robbery –
                                               Over 65 or Disable
1304788    Aug. 25, 2011     Curtis Pugh       Aggravated Assault –
                                               Family Member
1308710    Sept. 1, 2011     Colton Lavoire    Burglary of habitation
                             Harris
1318466    Sept. 1, 2011     Zacorrieon        Aggravated Robbery –
                             Tjontrae Nauling  Deadly Weapon
1318985    Sept. 6, 2011     Damien Deshone    Aggravated Robbery –
                             Jones             Deadly Weapon




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Case No. Appt. Date          Defendant          Charge
1313906 Sept. 6, 2011        Pete Ramos         Aggravated Robbery –
                                                Deadly Weapon
1319096    Sept. 7, 2011     Stacy Demon        Assault of Family
                             Williams           Member Second
                                                Offender and Impeding
                                                Breathing
1319138    Sept. 8, 2011     Damien Deshone     Aggravated Robbery –
                             Jones              Deadly Weapon
1305537    Sept. 9, 2011     Adolfo Martinez    Burglary with Intent to
                                                Commit Theft
1319282    Sept. 9, 2011     Desmon Wayne       Aggravated Robbery –
                             Preston            Deadly Weapon
1304487    Sept. 9, 2011     Adolfo Martinez    Theft
1319301    Sept. 9, 2011     Adolfo Martinez    Theft – Third Offender
1319241    Sept. 9, 2011     Alexander Scott    Aggravated Assault
1318986    Sept. 9, 2011     Damien Deshone     Aggravated Robbery –
                             Jones              Deadly Weapon
1319441    Sept. 12, 2011    Valentina Rebecca Possession of a
                             Gonzales           Controlled Substance
1319596    Sept. 12, 2011    James Price Fagan Driving While
                                                Intoxicated
1319827    Sept. 14, 2011    Adrian Uriostigue Burglary of habitation
1319804    Sept. 14, 2011    Aaron Davon        Violation of Protective
                             Kossie             Order – Family
                                                Violence
1320647    Sept. 21, 2011    Patrice Annette    Theft – Third Offender
                             Breeler
1320627    Sept. 21, 2011    Manuel S. Garcia   Assault – Family
                                                Violence – 2nd Offender
1320744    Sept. 22, 2011    Roy Charles        Burglary of habitation
                             Findley
1319149    Sept. 30, 2011    Damien Deshone     Aggravated Robbery –
                             Jones              Deadly Weapon
1318694    Sept. 30, 2011    Zacorrien Jhontrae Aggravated Robbery –
                             Nauling            Deadly Weapon




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Case No. Appt. Date          Defendant             Charge
1320838 Oct. 3, 2011         Kenneth Gradnigo      Aggravated Robbery –
                                                   Deadly Weapon
1321919    Oct. 3, 2011      Kyle Yamcey           Injury to Elderly
                             McWhorter             Individual
1322105    Oct. 3, 2011      Kenneth Davonne       Evading Arrest or
                             Grandnigo             Detention – Second
                                                   Offender
1322034    Oct. 3, 2011      Robert Edward         Theft – Third Offender
                             Byrd
1317118    Oct. 4, 2011      Walter J. Gamble      Unauthorized use of a
                                                   vehicle
1320820    Oct. 4, 2011      Adam Wade             Prohibited Weapons
                             Buchanan
1322239    Oct. 4, 2011      Kyle Yamcey           Burglary with Intent to
                             McWhorter             Commit Theft
1322236    Oct. 4, 2011      Alaniz Arturo         Possession of a
                             Espinoza              Controlled Substance
1322212    Oct. 5, 2011      Jvarro Young          Assault – Family
                                                   Violence – 2nd Offender
1322415    Oct. 6, 2011      Terell D. Jones       Possession of a
                                                   Controlled Substance
1322453    Oct. 6, 2011      Jose Mendoza          Possession of a
                                                   Controlled Substance
1316148    Oct. 7, 2011      Nicholas Ray          Forgery
                             Bosley
1321806    Oct. 7, 2011      Ketrick Demonta       Burglary of a habitation
                             White
1322502    Oct. 7, 2011      Stefen Kennedy  Theft of Firearm
1322501    Oct. 7, 2011      Stefen Kennedy  Aggravated Robbery –
                                             Deadly Weapon
1322586    Oct. 7, 2011      Elbridge Brown  Delivery of a Controlled
                                             Substance
1322568    Oct. 7, 2011      Mammie Lakeysha Prostitution
                             Nelson
1297587    Oct. 11, 2011     Desmond Wayne   Robbery
                             Preston



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Case No. Appt. Date          Defendant             Charge
1322591 Oct. 14, 2011        Anita Diamond         Injury to Child –
                             Washington            Omission
1315900    Oct. 24, 2011     Stephanie Ann         Theft by Check
                             Kaiser
1325912    Nov. 7, 2011      Jamal Molizone        Aggravated Assault –
                                                   Family Member
1326108    Nov. 7, 2011      Clifford Jones        Aggravated Assault
1316831    Nov. 8, 2011      John V. Danna         Assault – Family
                                                   Violence – 2nd Offender
1326363    Nov. 10, 2011     Thanh Kim Hoang       Aggravated Robbery –
                                                   Deadly Weapon
1327392    Nov. 18, 2011     Frank Kenneth         Possession of a
                             Burnett               Controlled Substance
1327299    Nov. 18, 2011     Pete Ramos            Burglary of a habitation
1327734    Nov. 21, 2011     Angelica Lee          Murder
                             Serrano
1324880    Nov. 21, 2011     Charles Douglas       Aggravated Robbery –
                             Garbow Jr.            Deadly Weapon
1324881    Nov. 21, 2011     Charles Douglas       Tampering/Fabricating
                             Garbow Jr.            Physical Evidence
1329482    Dec. 9, 2011      Selina Ruby           Burglary of a habitation
                             Dominguez
1329698    Dec. 12, 2011     Chezare Rivers        Possession with Intent
                                                   to Deliver a Controlled
                                                   Substance
1329463    Dec. 19, 2011     Casey Albert          Aggravated Assault
                             Smith
1330357    Dec. 19, 2011     Viola Robles          Burglary of a habitation
1330238    Dec. 19, 2011     Desmon Wayne          Aggravated Robbery –
                             Preston               Deadly Weapon
1330156    Jan. 9, 2012      Selina Ruby           Burglary of a habitation
                             Dominguez
1333822    Jan. 23, 2012     Ashley Lanerica       Burglary of a habitation
                             Jackson
1334082    Jan. 23, 2012     Jose Sorto            Driving While
                                                   Intoxicated



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Case No. Appt. Date          Defendant             Charge
1334143 Jan. 23, 2012        Nathan Lee            Aggravated Assault
                             Shelton
1333840    Jan. 23, 2012     Brian Anthony         Burglary of a habitation
                             Pendarvis
1333885    Jan. 23, 2012     Joshua William        Controlled Substance
                             Anderson              Fraud – Prescription
1332389    Jan. 23, 2012     Joshua William        Possession with Intent
                             Anderson              to Deliver a Controlled
                                                   Substance
1326314    Jan. 24, 2012     Melvin Glens          Possession of a
                             Black                 Controlled Substance
1329804    Jan. 24, 2012     Glinda Gail           Injury to Child
                             Bustaman
1334238    Jan. 24, 2012     Ronnie Antonio        Evading Arrest or
                             Jordan                Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1334208    Jan. 24, 2012     Mark Johnson          Possession of a
                                                   Controlled Substance
1310478    Jan. 24, 2012     Brandon Bridges       Aggravated Robbery –
                                                   Deadly Weapon
1310225    Jan. 24, 2012     Brandon Joseph        Aggravated Robbery –
                             Bridges               Deadly Weapon
1308369    Jan. 24, 2012     Brandon Joseph        Unauthorized Use of a
                             Bridges               Vehicle
1334334    Jan. 25, 2012     Priscilla Lee         Theft – Third Offender
                             Gonzalez
1334435    Jan. 26, 2012     Adrian R. Jameson Criminal Mischief
1334354    Jan. 26, 2012     Ivory S. Delaney  Robbery
1334370    Jan. 26, 2012     Christopher       Engaging in Organized
                             Laderrick Amos    Criminal Activity
1334416    Jan. 26, 2012     Torrey Taylor     Aggravated Robbery –
                                               Deadly Weapon
1293300    Jan. 27, 2012     Angela Geething   Robbery
1334611    Jan. 27, 2012     Bruce Kevin Curry Theft – Third Offender




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1334592 Jan. 27, 2012        Chatham Hayes         Theft of Metal
                             Summers
1318215    Jan. 27, 2012     David Michael         Driving While
                             Cain                  Intoxicated
1299894    Jan. 27, 2012     Latosha Crawford      Theft $1,500-$20,000
                                                   (Food Stamps/Snap)
1309773    Feb. 1, 2012      Jeremy Wayne          Criminal Mischief
                             Williams
1314000    Feb. 1, 2012      Jeremy Wayne          Burglary of Habitation
                             Williams
1318992    Feb. 1, 2012      Jeremy Williams       Evading Arrest or
                                                   Detention – Second
                                                   Offender
1322789    Feb. 6, 2012      Christopher           Felon in Possession of
                             Barillas              Firearm
1328640    Feb. 6, 2012      Walid Pervez          Driving While
                                                   Intoxicated with Child
                                                   Passenger
1335869    Feb. 6, 2012      Xin Gu                Forgery – Government
                                                   Instrument
1335870    Feb. 6, 2012      Xin Gu                Theft – Aggregate
1336016    Feb. 6. 2012      Yalobeth Levorn       Possession of a
                             Jarra                 Controlled Substance
1331220    Feb. 6, 2012      David Anthony         Possession of a
                             Torreence             Controlled Substance
1336036    Feb. 7, 2012      Adam Daniel           Driving While
                             Martinez              Intoxicated
1335983    Feb. 7, 2012      Christian Blair       Possession of a
                             Pillow                Controlled Substance
1331011    Feb. 8, 2012      Oscar Perez           Injury to Child
1336160    Feb. 8, 2012      Richard Allen         Burglary of a motor
                             Powell                vehicle
1336271    Feb. 9, 2012      Muntaser Hazem        Possession with Intent
                             Judeh                 to Deliver a Controlled
                                                   Substance




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1336273 Feb. 9, 2012         Muntaser Hazem        Harassment of Public
                             Judeh                 Servant
1326527    Feb. 9, 2012      Muntaser Hazem        Aggravated Assault
                             Judeh
1296263    Feb. 9, 2012      Reginald Tyrone       Aggravated Robbery –
                             Hollins               Deadly Weapon
1311807    Feb. 9, 2012      Carrington Taylor     Burglary with Intent to
                                                   Commit Theft
1335652    Feb. 10, 2012     Roy Alejos            Theft – Third Offender
1336425    Feb. 10, 2012     Jason Andrew          Driving While
                             Burrow                Intoxicated
1336461    Feb. 10, 2012     Cedric Brown          Aggravated Robbery –
                                                   Deadly Weapon
1336485    Feb. 10, 2012     Matthew Wade          Driving While
                             Brown                 Intoxicated
1298272    Feb. 13, 2012     Leroy D. Taylor       Possession of a
                                                   Controlled Substance
1336575    Feb. 13, 2012 Leroy Devonte             Burglary of a habitation
                         Taylor                    and theft
1308624    Feb. 16, 2012 Pete Fulgencio            Aggravated Robbery –
                         Ramos                     Deadly Weapon
1337289    Feb. 17, 2012 Ronald Glen               Theft – Third Offender
                         Simon
1324169    Feb. 28, 2012 Biance Chintel            Theft – Third Offender
                         Lewis
1339165    March 5, 2012 Robert Lee Busby          Retaliation
1339164    March 5, 2012 Robert Lee Busby          Arson
1339134    March 5, 2012 Mandy Lea Melder          Possession of a
                                                   Controlled Substance
1339699    March 9, 2012 Don Morris                Possession of a
                         Washington                Controlled Substance
1338227    March 14,     Cedric Brown              Burglary of a habitation
           2012
1340642    March 19,     Muntaser Hazem            Assault
           2012          Judeh




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1341053 March 26,            James Benton          Aggravated Assault –
         2012                Thomas                Family Member
1341866 March 30,            James Thomas          Violation of Protective
         2012                                      Order – Family
                                                   Violence
1340574    March 30,      William                  Engaging in Organized
           2012           Hernandez                Criminal Activity
1342143    April 2, 2012  Chesare                  Aggravated Assault
                          Denontrae Rivers
1343079    April 10, 2012 Amy Lynn Catlett    Robbery
1343774    April 16, 2012 Antonio Arturo      Possession with Intent
                          Herdandez           to Deliver a Controlled
                                              Substance
1344007    April 16, 2012 William Chambers Possession of a
                                              Controlled Substance
1343898    April 17, 2012 Joshua Cole         Possession of a
                                              Controlled Substance
1344184    April 18, 2012 Cuong Khanh         Theft – Third Offender
                          Nguyen
1344216    April 18, 2012 Vicente Aguilar, Jr Engaging in Organized
                                              Criminal Activity –
                                              Participate in
                                              Combination
1344379    April 19, 2012 Gernette Toran      Prostitution
1344471    April 20, 2012 Travone Desean      Evading Arrest or
                          Harris              Detention – Second
                                              Offender
1342022    April 20, 2012 Reginald Hollins    Aggravated Robbery –
                                              Deadly Weapon
1346763    May 9, 2012    Carlos Garcia       Aggravated Robbery –
                                              Deadly Weapon
1347592    May 16, 2012 Ashton Vincent        Murder
                          Craven
1343569    May 21, 2012 Justin Joseph         Failure To Comply With
                          Morris              Sex Registration
                                              Requirements




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Case No. Appt. Date          Defendant             Charge
1348020 May 21, 2012         Clinton Blount        Delivery of a Controlled
                                                   Substance
1348240    May 22, 2012      Brannon Kirk          Robbery
                             Chappel
1348285    May 22, 2012      Erick Charles         Murder
                             Erminger
1348948    May 29, 2012      Roman Nathan          Assault of Family
                             Lazo                  Member Second
                                                   Offender and Impeding
                                                   Breathing
1348949    May 29, 2012      Roman Nathan          Violation of Protective
                             Lazo                  Order – Family
                                                   Violence
1348606    May 29, 2012      Daniel Velasco        Burglary of a habitation
1347677    May 29, 2012      Jeremy Wayne          Assault of a Family
                             Williams              Member
1349326    May 31, 2012      Ozzie Walker          Theft – Third Offender
1347104    May 31, 2012      Laura Eileen          Theft – Third Offender
                             Holloway
1349385    June 1, 2012      Jairo Umanzor         Murder
1349399    June 1, 2012      Robert Earl           Burglary of a habitation
                             Garner
1322060    June 4, 2012      Amber Rae Silver
                                          Possession with Intent
                                          to Deliver a Controlled
                                          Substance
1349735    June 4, 2012 Amber R. Silver   Robbery
1349736    June 4, 2012 Amber R. Silver   Possession of a
                                          Controlled Substance
1349502    June 4, 2012 Rhiannon Michelle Attempted Arson
                         Hendon
1832776    June 11, 2012 Michael William  Possession of Controlled
                         Resnick          Substance (M)
1321171    June 11, 2012 Justin McGee     Aggravated Robbery –
                                          Deadly Weapon
1321172    June 11, 2012 Justin McGee     Aggravated Kidnapping




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Case No. Appt. Date   Defendant                    Charge
1350329 June 18, 2012 Clifford Jones               Aggravated Assault
                                                   with Deadly Weapon
1351322    June 18, 2012 Edward                    Possession with Intent
                         Montemayor                to Deliver a Controlled
                                                   Substance
1351306    June 18, 2012 Edward                    Murder
                         Montemayor
1351510    June 20, 2012 Joseph Earl               Murder
                         Marshall
1352143    June 25, 2012 Juan Jucro                Aggravated Robbery –
                         Penaluer                  Deadly Weapon
1345586    June 25, 2012 Jose Fierros              Unauthorized use of a
                                                   vehicle
1352328    June 28, 2012 Johntrell                 Attempted Burglary of
                         Anderson Gable            a Habitation
1352329    June 28, 2012 Johntrell                 Felon in Possession of
                         Anderson Gable            Firearm
1353062    July 5, 2012  Toni Tavarez              Injury to Child
1353471    July 9, 2012  Rory Darnell              Felon in Possession of
                         Jones                     Firearm
1353155    July 9, 2012  Rory Darnell              Aggravated Assault
                         Jones
1353392    July 9, 2012  Daniel Ward               Aggravated Robbery –
                                                   Deadly Weapon
1355800    July 30, 2012     Clinton               Aggravated Robbery –
                             Christopher           Deadly Weapon
                             Graham
1355874    July 30, 2012     Lalo Erick Garza      Robbery
1355648    July 30, 2012     Kevin J. Carr         Delivery of a Controlled
                                                   Substance
1355649    July 30, 2012     Kevin J. Carr         Delivery of a Controlled
                                                   Substance
1355928    July 31, 2012     Paula Mendez          Prostitution
1355818    July 31, 2012     Ronald Dean           Impersonating a Public
                             Jacksich              Servant




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1350774 July 31, 2012        Jerry Wayne           Failure to Comply with
                             Adaway                Sex Registration
                                                   Requirements
1329885    July 31, 2012     Saul Melesio, Jr.     Assault – Family
                                                   Violence – 2nd Offender
1356046    Aug. 1, 2012      John Earl Jackson     Possession of a
                                                   Controlled Substance
1356023    Aug. 1, 2012      Jerrell Bell          Felon in Possession of
                                                   Firearm
1354901    Aug. 1, 2012      Rickey Stewart        Assault of Family
                                                   Member Second
                                                   Offender and Impeding
                                                   Breathing
1356193    Aug. 2, 2012      Russell Ray           Theft of Metal
                             Delaune
1356136    Aug. 2, 2012      Ramon Lopez           Possession of a
                             Elizarraraz Jr        Controlled Substance
1355976    Aug. 2, 2012      Jose Ruben Perez      Reckless Injury to Child
1355977    Aug. 2, 2012      Jose Ruben Perez      Injury Child under 15/B
                                                   Injury
1355358    Aug. 2, 2012      Nestor Dizan          Forgery – Commercial
                             Wong                  Instrument
1324977    Aug. 3, 2012      Jerome Lige           Assault of Family
                                                   Member – Impeding
                                                   Breathing
1356244    Aug. 3, 2012      Vicki Lynn Kintz      Possession of a
                                                   Controlled Substance
1356062    Aug. 3, 2012      Carl Alexander        Failure to Comply with
                             Turner                Sex Offender
                                                   Registration
1357324    Aug. 13, 2012     Andrew Lee            Felon in Possession of
                             Ratcliff              Firearm
1358058    Aug. 20, 2012     Cesar Martinez        Felon in Possession of
                                                   Firearm
1358059    Aug. 20, 2012     Cesar Martinez        Burglary of a habitation
1358060    Aug. 20, 2012     Cesar Martinez        Burglary of a habitation



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1357992 Aug. 20, 2012        Arthur Collins        Possession of a
                                                   Controlled Substance
1358372    Aug. 22, 2012     Velma Wiley           Driving While
                                                   Intoxicated
1358247    Aug. 22, 2012     John Gates            Possession with Intent
                                                   to Deliver a Controlled
                                                   Substance
1358604    Aug. 27, 2012     Delvin Lamar          Aggravated Robbery
                             Williams              – Deadly Weapon
1358766    Aug. 27, 2012     Ashley Dawn           Aggravated Assault
                             Robinson
1358854    Aug. 27, 2012     Jason Lee Road        Aggravated Assault
1358987    Aug. 28, 2012     Matthew Ward          Injury to Child
                             Albritton
1358904    Aug. 28, 2012     Shadarick Bruce       Theft – Third Offender
                             Joseph
1358936    Aug. 28, 2012     Bobby Ray Short       Possession of a
                                                   Controlled Substance
1358937    Aug. 28, 2012     Bobby Ray Short       Tampering/Fabricating
                                                   Physical Evidence
1352456    Aug. 28, 2012     Emily Nichole         Burglary of a building
                             Medina
1351678    Aug. 28, 2012     Emily Nichole         Theft of Firearm
                             Medina
1352466    Aug. 28, 2012     Victor Manuel         Aggravated Robbery –
                             Fuentes               Deadly Weapon
1352467    Aug. 28, 2012     Victor Manuel         Aggravated Robbery –
                             Fuentes               Deadly Weapon
1359029    Aug. 29, 2012     Rolando Tomas         Injury to Child
                             Mendez
1359137    Aug. 29, 2012     Elizabeth Ann         Delivery Simulated
                             Esparza               Controlled Substance
1359102    Aug. 29, 2012     Donald Ray            Possession of a
                             Johnson               Controlled Substance
1359224    Aug. 30, 2012     Diane Johnson         Theft – Third Offender




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Case No. Appt. Date          Defendant             Charge
1359257 Aug. 31, 2012        Franklin Jamile       Forgery – Commercial
                             Randle                Instrument
1359303    Aug. 31, 2012     Darius Yohaunce       Assault
                             Moore
1359304    Aug. 31, 2012     Darius Yohaunce       Possession with Intent
                             Moore                 to Deliver a Controlled
                                                   Substance
1359305    Aug. 31, 2012     Darius Yohaunce       Evading Arrest or
                             Moore                 Detention – Second
                                                   Offender
1359451    Sept. 4, 2012     Jose Fraga            Theft – Third Offender
1354008    Sept. 4, 2012     Jose Fraga Jr         Aggravated Robbery –
                                                   Deadly Weapon
1359806    Sept. 4, 2012     Alfonso Bosquez       Assault – Family
                                                   Violence – 2nd Offender
1360026    Sept. 6, 2012  Otis Lee                 Aggravated Assault
                          Thompson
1359693    Sept. 6, 2012 Harold Dewayne            Aggravated Assault –
                          Bradley                  Family Member
1360704    Sept. 14, 2012 William Joseph           Theft
                          Bernard
1336674    Sept. 14, 2012 Kenneth Arthur           Felon in Possession of
                                                   Firearm
1333489    Sept. 14, 2012 Kenneth Junior           Tampering/Fabricating
                          Arthur                   Physical Evidence
1354559    Sept. 15, 2012 James Thomas             Violation of Protective
                                                   Order
1360537    Sept. 17, 2012 Jorden Marquis           Assault of Family
                          Thompson                 Member – Impeding
                                                   Breathing
1360903    Sept. 17, 2012 Joshua Deandre           Theft
                          Jones
1360904    Sept. 17, 2012 Joshua Deandre           Evading Arrest or
                          Jones                    Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device




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Case No.   Appt. Date     Defendant                Charge
1353410    Sept. 17, 2012 Tryone Lee Brown         Aggravated Robbery
1281978    Sept. 19, 2012 Ramiro Ruiz              Theft
1361521    Sept. 19, 2012 Rory Keith               Delivery of a Controlled
                          Chenier                  Substance
1361522    Sept. 19, 2012 Rory Keith               Possession with Intent
                          Chenier                  to Deliver a Controlled
                                                   Substance
1361249    Sept. 19, 2012 Matthew                  Burglary with Intent to
                          Wadsworth                Commit Theft
1361250    Sept. 19, 2012 Matthew                  Evading Arrest or
                          Wadsworth                Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1361251    Sept. 19, 2012 Matthew                  Theft
                          Wadsworth
1361675    Sept. 20, 2012 Leonard Flowers          Theft of Metal
1361588    Sept. 20, 2012 Joseph Norman            Possession of
                          Payne                    Dangerous Drug
1359426    Sept. 20, 2012 Dave Vu Mai, II          Burglary of a habitation
1343978    Sept. 21, 2012 Stephen Lucas            Theft – Third Offender
1291817    Sept. 21, 2012 Pedro Ernesto            Aggravated Robbery –
                          Umana                    Deadly Weapon
1361414    Sept. 21, 2012 Joe Villarreal           Assault – Family
                                                   Violence – 2nd Offender
1361437    Sept. 21, 2012 Harold Bruise            Controlled Substance –
                          Lackey                   Fraud – Fraudulent
                                                   Acquisition of
                                                   Controlled Substance –
                                                   Section 481.129(a-1),
                                                   Health and Safety Code
1362480    Sept. 27, 2012 Cesar Alejandro          Burglary of a habitation
                          Martinez
1362630    Oct. 1, 2012   Joseph Wayne             Possession of a
                          General                  Controlled Substance
1362631    Oct. 1, 2012   Joseph Wayne             Possession of a
                          General                  Controlled Substance



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Case No. Appt. Date          Defendant             Charge
1362799 Oct. 1, 2012         Rachael Channelle     Prostitution
                             Scott
1362945    Oct. 1, 2012      Marvis Dominick       Evading Arrest or
                             Collins               Detention – Second
                                                   Offender
1335545    Oct. 2, 2012      Christopher J         Aggravated Assault
                             Simpson
1335546    Oct. 2, 2012      Christopher J         Possession of a
                             Simpson               Controlled Substance
1362557    Oct. 2, 2012      Michael Dejean        Aggravated Assault
                             Simmons
1363054    Oct. 2, 2012      Ruben Dioniso         Possession of a
                             Stergiou              Controlled Substance
1363127    Oct. 3, 2012      Carl William          Aggravated Assault
                             Woolery
1357004    Oct. 3, 2012      Marvin E              Aggravated Assault –
                             Robinson              Family Member
1356608    Oct. 3, 2012      Brodrick Lichris      Robbery
                             Green
1363149    Oct. 4, 2012      Jason Andrew       Evading Arrest or
                             Furrer             Detention – Motor
                                                Vehicle, Watercraft, or
                                                Tire Deflation Device
1363183    Oct. 4, 2012      Kale Traylor Forks Possession of a
                                                Controlled Substance
1356588    Oct. 4, 2012      Michael James      Theft
                             Baker
1363199    Oct. 5, 2012      Samuel Placencia Aggravated Robbery –
                                                Deadly Weapon
1363312    Oct. 5, 2012      Steven Davila      Aggravated Assault –
                                                Family Member
1363313    Oct. 5, 2012      Steven Davila      Violation of Protective
                                                Order – Family Member
1354485    Oct. 5, 2012      Steven Davila      Aggravated Assault –
                                                Family Member




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Case No. Appt. Date          Defendant             Charge
1363399 Oct. 7, 2012         Fred Michael          Possession of a
                             Anderson              Controlled Substance
1363854    Oct. 7, 2012      James Ronald          Possession of a
                             Coleman               Controlled Substance
1363776    Oct. 8, 2012      Lloyd Dewayne         Robbery
                             Gilbert
1363548    Oct. 8, 2012      Kelby Swinney         Aggravated Assault
1293965    Oct. 9, 2012      Daniel Palacios       Cruelty to livestock
                                                   animals
1362093    Oct. 9, 2012      Markus Dwayne         Possession with Intent
                             Butler                to Deliver a Controlled
                                                   Substance
1364009    Oct. 11, 2012     Terry Lee Bagley      Aggravated Assault
1364147    Oct. 11, 2012     Christopher Pyse      Evading Arrest or
                                                   Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1363898    Oct. 12, 2012     Jesus Arturo          Assault – Family
                             Ventura               Member – 2nd Offender
1364277    Oct. 12, 2012     Brandon Lamont        Possession with Intent
                             Fisher                to Deliver a Controlled
                                                   Substance
1365885    Oct. 31, 2012     Kelby Swinney         Criminal Mischief
1368826    Nov. 26, 2012     Leonel Morillo        Aggravated Assault
1368810    Nov. 26, 2012     Dennis Leon           Robbery
                             Sharp
1368690    Dec. 4, 2012      Neil Jay              Aggravated Robbery –
                             Mukherjee             Deadly Weapon
1367889    Dec. 6, 2012      Charles Dixon         Possession with Intent
                             Moore                 to Deliver a Controlled
                                                   Substance
1323357    Dec. 10, 2012     Edwin James           Burglary of a habitation
                             Brooks Jr.
1370354    Dec. 10, 2012     Rodney L. Smith       Aggravated Assault –
                                                   Family Member
1370355    Dec. 10, 2012     Rodney L. Smith       Burglary – Habitation



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Case No. Appt. Date          Defendant             Charge
1370428 Dec. 10, 2012        Jameisha Elainne      Theft
                             Kennon
1370530    Dec. 10, 2012     David Yates           Assault – Family
                                                   Violence – 2nd Offender
1370446    Dec. 10, 2012     Anthony John          Possession of a
                             Kaczmarek             Controlled Substance
1370070    Dec. 10, 2012     Willie Walker         Possession of a
                                                   Controlled Substance
1370164    Dec. 10, 2012     Leonard Gregory       Possession of a
                                                   Controlled Substance
1366319    Dec. 10, 2012     Matthew Vincent       Aggravated Assault
                             Woodard
1311799    Dec. 10, 2012     Edwin James           Theft
                             Brooks
1311351    Dec. 10, 2012     Edwin Brooks          Burglary of a habitation
1300048    Dec. 10, 2012     Edwin Brooks          Burglary of a habitation
1366366    Dec. 11, 2012     Rashawn Demond        Theft
                             Ross
1370550    Dec. 11, 2012     Kendrick Tamara       Robbery
                             Mable
1370569    Dec. 11, 2012     Patricia Martinez     Theft – Third Offender
1369735    Dec. 11, 2012     Tyler Kent Wright     Unauthorized use of a
                                                   vehicle
1370109    Dec. 12, 2012     Ricky Pittman         Burglary of a habitation
1370032    Dec. 12, 2012     Willie Darries        Possession of a
                                                   Controlled Substance
1369719    Dec. 12, 2012     Antonio Manuel        Assault – Family
                             Flores                Violence – 2nd Offender
1367796    Dec. 12, 2012     Lindsey Rene          Theft – Third Offender
                             Lindquist
1356096    Dec. 12, 2012     Mikesha               Unauthorized use of a
                             Matthews              vehicle
1370760    Dec. 13, 2012     Christina             Assault
                             McCardell




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Case No. Appt. Date          Defendant         Charge
1357349 Dec. 14, 2012        Barron Keith      Assault of Family
                             Williams          Member – Impeding
                                               Breathing
1370972    Dec. 14, 2012     Jose Tereso       Assault of Family
                             Salazar           Member – Impeding
                                               Breathing
1370940    Dec. 14, 2012     Antonio Bermudez Aggravated Assault –
                                               Family Member
1370896    Dec. 15, 2012     Miguel Angel Rios Possession with Intent
                                               to Deliver a Controlled
                                               Substance
1368157    Dec. 15, 2012     Binh Lam          Possession of a
                                               Controlled Substance
1317189    Dec. 15, 2012     Laverne M. Brown Stalking
1370642    Dec. 17, 2012     Nathan Patrick    Aggravated Assault –
                             Carlisle          Family Member
1371052    Dec. 17, 2012     Clarence Alvin    Felon in Possession of
                             Hill              Firearm
1371051    Dec. 17, 2012     Clarence Alvin    Possession of a
                             Hill              Controlled Substance
1371291    Dec. 17, 2012     Grady Clyde       Robbery
                             Nelson
1370925    Dec. 17, 2012     Jerrell Bell      Aggravated Robbery –
                                               Deadly Weapon
1367505    Dec. 18, 2012     Korey Donnell     Aggravated Assault –
                             Anderson          Family Member
1371354    Dec. 18, 2012     Vance Edward      Theft – Third Offender
                             Vanhowten
1371312    Dec. 18, 2012     Katrina Rashawn Aggravated Assault –
                             Ben               Family Member
1359876    Dec. 18, 2012     Michael Anthony   Aggravated Assault –
                             Davila            Family Member
1335856    Dec. 19, 2012     Keith Leonard     Injury to an Elderly
                             Townsend          Individual
1371404    Dec. 19, 2012     Byron White       Assault Family Member
                                               Impeding Breathing



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Case No. Appt. Date          Defendant             Charge
1298678 Dec. 19, 2012        Gil Moises Escoto     Robbery
1371561 Dec. 20, 2012        Vance Edward          Theft – Third Offender
                             Vanhowten
1371537    Dec. 20, 2012     Brandon Garcia        Evading Arrest or
                                                   Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1369162    Dec. 21, 2012     John Mora III         Illegal Dumping
1371686    Dec. 21, 2012     Gregory Oneal         Possession of a
                             Jenkins               Controlled Substance
1371264    Dec. 21, 2012     John Anderson         Theft – Third Offender
1371628    Dec. 21, 2012     Judy Lucille          Theft of Firearm
                             Hambrick
1369814    Dec. 21, 2012     Carla Denise          Theft
                             Jackson
1374729    Jan. 24, 2013     Jonathan Jerome       Unauthorized Use of a
                             Brooks                Vehicle
1341148    Feb. 12, 2013     Kevin Jamon           Aggravated Robbery –
                             Johnson               Deadly Weapon
1377762    Feb. 19, 2013     Erric Bernard         Possession with Intent
                             Bailey                to Deliver a Controlled
                                                   Substance
1380193    March 11,         Marco Ivan Perez-     Arson
           2013              De Los
1380147    March 11,         Rickie James          Attempted Aggravated
           2013              Bradley               Sexual Assault
1379542    March 13,         Marquiet A. Davis     Aggravated Robbery –
           2013                                    Deadly Weapon
1380441    March 18,         Cindy Bogado          Assault – Family
           2013                                    Violence – 2nd Offender
1380810    March 18,         Vicente Raul          Theft of Firearm
           2013              Lopez
1380877    March 18,         Randy Dewayne         Aggravated Robbery –
           2013              Masters               Deadly Weapon
1380858    March 18,         Cindy Bogado          Assault – Family
           2013                                    Violence – 2nd Offender



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Case No. Appt. Date          Defendant             Charge
1381025 March 19,            Keenan Shawn          Possession of a
         2013                Houston               Controlled Substance
1369694 March 19,            Antonio Gonzales      Possession of a
         2013                                      Controlled Substance
1381003 March 20,            Brian E. Crouch       Evading Arrest or
         2013                                      Detention – Second
                                                   Offender
1381092    March 20,         Frederick Addison     Possession with Intent
           2013                                    to Deliver a Controlled
                                                   Substance
1381171    March 21,         Erik Lee Sharp        Burglary of habitation
           2013
1381250    March 21,         Joe Anthony           Aggravated Assault
           2013              Fisher                – Family Member
1369498    March 21,         Erik Lee Sharp        Burglary of habitation
           2013
1310116    March 21,         Debbie Rae            Possession of a
           2013              Sherman               Controlled Substance
1381376    March 22,         Derek Wayne           Forgery – Commercial
           2013              Hemingway             Instrument
1381377    March 22,         Derek Wayne           Theft
           2013              Hemingway
1381335    March 22,         Susan Marie           Fraudulent use of
           2013              Perdomo               identifying information
1380485    March 22,         William Kaiser        Possession of a
           2013                                    Controlled Substance
1383003    April 8, 2013     Joseph Wyatt          Assault of Family
                                                   Member – Impeding
                                                   Breathing
1382963    April 8, 2013     Gunter Nicola         Assault of Family
                                                   Member – Impeding
                                                   Breathing
1356874    April 11, 2013 Javed Stephen            Burglary of a habitation
                          Tafarroji
1361294    April 11, 2013 Javed Stephen            Evading Arrest or
                          Tafarroji                Detention – Motor




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Case No. Appt. Date          Defendant             Charge
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1361295    April 11, 2013 Javed Stephen            Unauthorized use of a
                          Tafarroji                vehicle
1350164    April 11, 2013 Rhonda Denise            Aggravated Assault
                          Sparks
1384132    April 15, 2013 Matthew James            Harassment to Public
                          Hurlock                  Servant
1338908    April 17, 2013 Marquiet Antonio         Possession of a
                          Davis                    Controlled Substance
1376715    April 19, 2013 Keith Winston            Burglary of a habitation
1339892    April 19, 2013 Michael Slaughter        Kidnapping
1381191    April 24, 2013 Randy Allen              Aggravated Assault
                          Segura
1385115    April 25, 2013 Derrick Jones            Aggravated Robbery –
                                                   Deadly Weapon
1385755    April 29, 2013 Tristin Terril           Felon in Possession of
                          Williams                 Firearm
1385712    April 29, 2013 Erick Dewayne            Theft
                          Lee
1385713    April 29, 2013 Erick Dewayne            Evading Arrest or
                          Lee                      Detention – Motor
                                                   Vehicle, Watercraft, or
                                                   Tire Deflation Device
1385612    April 29, 2013 Bernard J.               Retaliation
                          Serrano
1385474    April 29, 2013 Ronald Wayne             Aggravated Assault –
                          Degrate Jr.              Family Member
1385493    April 29, 2013 Hector Mario             Possession with Intent
                          Gonzalez                 to Deliver a Controlled
                                                   Substance
1385494    April 29, 2013 Nichole Lynn             Possession with Intent
                          Walko                    to Deliver a Controlled
                                                   Substance
1385567    April 29, 2013 Bernardo Alvarez         Burglary of a habitation
                          Serrano



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Case No. Appt. Date    Defendant                   Charge
1385412 April 29, 2013 Carl Anthony                Controlled Substance
                       Bowman                      Fraud – Prescription
1325973 April 30, 2013 Mister Eliakim              Burglary of a habitation
                       Thomas
1370501 April 30, 2013 Adam Valentine              Burglary of a habitation
                       Castro
1352665 April 30, 2013 Kristin Louise              Possession of a
                       Bunch                       Controlled Substance
1385785 May 1, 2013    Kevin Mark Arvay            Driving While
                                                   Intoxicated
1385786    May 1, 2013       Kevin Mark Arvay      Possession of a
                                                   Controlled Substance
1288489    May 1, 2013       Oscar Daniel          Evading Arrest
                             Ponce
1385820    May 1, 2013       Gregory Stevenson Burglary with Intent to
                                               Commit Theft
1336563    May 1, 2013       Tuan Anh Nguyen Possession of
                                               Marihuana
1339977    May 2, 2013       Jesus Angel       Aggravated Assault
                             Chavira
1386001    May 2, 2013       Treon Rashard     Evading Arrest or
                             Pruitt            Detention – Motor
                                               Vehicle
1386002    May 2, 2013       Treon Rashard     Tampering/Fabricating
                             Pruitt            Physical Evidence
1386003    May 2, 2013       Treon Rashard     Possession of a
                             Pruitt            Controlled Substance
1385960    May 2, 2013       Randy Deshun      Aggravated Assault –
                             Lindsey           Family Member
1386924    May 10, 2013      Michael Gregory   Engaging in Organized
                             Ceaser, Sr        Criminal Activities –
                                               Participation in
                                               Combination
1386930    May 10, 2013      Michael Gregory   Engaging in Organized
                             Ceaser, Sr        Criminal Activities –




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Case No. Appt. Date            Defendant           Charge
                                                   Participation in
                                                   Combination
1386049        May 22, 2013  Gregory Lynn          Aggravated Robbery –
                             Stevenson             Deadly Weapon
1387502        May 23, 2013 Randy Allen            Assault
                             Segura
1389758        June 25, 2013 Keith Aundre          Robbery
                             Wright
1390561        June 26, 2013 Cindy Nahir           Assault – Contract Jail
                             Bogado                or Detention Facility
                                                   Employee
1394065        July 11, 2013   Muntaser Hazem      Aggravated Assault –
                               Jedeh               Family Member
1387261        July 11, 2013   Muntaser Hazem      Possession with Intent
                               Jedeh               to Deliver a Controlled
                                                   Substance
1336272        July 11, 2013   Muntaser Hazem      Possession with Intent
                               Jedeh               to Deliver a Controlled
                                                   Substance
1395226        July 22, 2013   Adrian Roshard      Possession of a
                               Jones               Controlled Substance
1395476        July 26, 2013   Susan Morris        Aggravated Assault

          5.     From jury selection through the punishment phase
                 of Cruz-Garcia’s trial, Cornelius spent extraordinary
                 amounts of time working on other cases.

     As set forth above in § VI.A.2.a, an attorney’s excessive workload

can have devastating consequences for a client. For Cruz-Garcia,

Cornelius’s overwhelming caseload meant not only that Cornelius could

not effectively prepare for Cruz-Garcia’s trial, but also that Cornelius




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dedicated much of his time during Cruz-Garcia’s death penalty trial to

working on other cases.

     Using the docket search function of Harris County District Clerk’s

website, Cruz-Garcia has obtained as many of Cornelius’s billing records

as he can for the time period from the start of jury selection in Cruz-

Garcia’s case (June 3, 2013) to sentencing (July 22, 2013). There is no

central repository of billing records from this time period, nor was billing

done electronically. Rather, Cornelius filled out handwritten time sheets

and submitted them to the individual court where each case was venued,

at least until around 2015, when an electronic billing system appears to

have been implemented. Using the same handwritten form that

Cornelius submitted, the courts would then approve or disapprove his fee

request. As part of its digitization of criminal court records over the past

several years, the Harris County District Clerk added the timesheets to

the cases’ online dockets.

     These records can paint only a partial picture of Cornelius’s

workload around the time of Cruz-Garcia’s trial. This method, however,

has considerable limitations. Time sheets are missing for many of

Cornelius’s cases. The fee request for Johntay Gibson’s capital murder




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case was filed under seal. And Cruz-Garcia’s case was not the only one

Cornelius handled on a flat-fee basis. He also sought and received

$75,000.00 flat fees in the Jeffery Prevost and Curtis Adams cases. Ex.

128. As in Cruz-Garcia’s case, Cornelius did not submit time sheets in

either case. Because the below analysis can only reflect cases that Cruz-

Garcia was able to identify and in which Cornelius submitted time

sheets, it likely understates the amount of work Cornelius performed on

other cases around the time of Cruz-Garcia’s trial.

      In Harris County, attorneys can either bill by the hour, by court

appearance, or both. See Ex. 103. As indicated in Cornelius’s billing

records, the hourly rate for capital cases was $100.00/hr. 51 Ex. 7; 138. For

felony cases, the hourly rates are $85.00/hr. for a first-degree felony,

$60.00/hr. for a second-degree felony, and $40.00/hr. for a third-degree

felony. Ex. 103.

      When an attorney appears in court, however, he can claim a flat fee

for that day. The court day fee for capital cases is $400.00. Ex. 103. For

felony cases, the court day fees are $225.00 for a first-degree felony,



51 By the time Cornelius sought payment in Neil Mukherjee’s case, the rate appears
to have increased to $150.00/hr. Id.




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$175.00 for a second-degree felony, and $125.00 for a third-degree felony.

Id. Thus, the system roughly equates a court appearance with between

2.5 and 4 hours of work. Since 2010, attorneys may claim a maximum of

four court day fees per day. When a client has multiple charges arising

from different offense reports, the attorney may claim a separate court

day for court appearances on behalf of the same client but for different

charges. Id.

     Even with limited accessibility to Cornelius’s billing records, the

records Cruz-Garcia was able to locate paint a disturbing picture. Jury

selection in Cruz-Garcia’s case started on June 3, 2013, and sentencing

occurred on July 22, 2013. As described below and as set forth in Figure

3, Cornelius billed time to other cases every day Monday through

Saturday, between June 3 and July 22, 2013. Indeed, with the exception

of one day of jury deliberations when he billed half an hour and claimed

a court day fee in another case, Cornelius billed at least 2.5 hours to

other cases on each of those days during Cruz-Garcia’s trial. Cornelius

did not “give priority” to Cruz-Garcia’s case as required by Texas

Guideline 9.3.B. Rather, he did exactly what the Texas and ABA




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Guidelines prohibition on flat fees is designed to prevent: he prioritized

his hourly-billed cases to the detriment of Cruz-Garcia.

             a.    Jury selection.

       Jury selection in Cruz-Garcia’s case began on June 3, 2013, and

lasted eleven days. As described below and as shown in Figure 3,

Cornelius regularly worked substantial amounts of time on other cases

throughout jury selection.

     • On the first day of jury selection, for which the transcript runs 333
       pages,52 Cornelius billed 7 hours to other cases and claimed a
       $225.00 court day fee in another case.
     • On the seventh day of jury selection, for which the transcript runs
       262 pages, Cornelius billed 7.75 hours to other cases and claimed
       a $125.00 court day fee in another case.
     • On the ninth day of jury selection, for which the transcript runs 237
       pages, Cornelius billed 8 hours to other cases and claimed a
       $225.00 court day fee and a $125.00 fee court day for
       appearances in other cases.
     • On the tenth day of jury selection, for which the transcript runs 292
       pages, Cornelius billed 6.5 hours to other cases.
     • On the Saturday after the second week of jury selection, Cornelius
       billed 5 hours to other cases and claimed a $125.00 court day fee.
       (Cornelius likely misdated the court day fee.)
     • On the final day of jury selection, for which the transcript runs 201
       pages, Cornelius billed 6 hours on other cases.


52Transcript page counts do not include the index. Additionally, because Cruz-Garcia
does not speak English, all the proceedings were translated into Spanish—except for
the witnesses who testified in Spanish, whose testimony was translated into English.




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  • In sum, over the 11 days of jury selection, Cornelius:
        o billed at least 2.5 hours on other cases on 10 days;
        o billed at least 3.25 hours on other cases on 8 days;
        o billed at least 6 hours on other cases on 5 five days; and
        o claimed 19 court day fees in other cases, for a total of
          $3,450.00, just in flat fee court appearances.

           b.    The week of the evidentiary hearing.

     Jury selection ended on Monday, June 17, 2013. On Wednesday

June 19, the court held an evidentiary hearing on the defense’s motion to

exclude DNA evidence, a critically important pretrial motion. 16 RR; 17

RR. Yet, leading up to the evidentiary hearing and throughout the rest

of that week, Cornelius spent substantial amounts of time working on

other cases.

  • On Tuesday, June 18 (the day before the evidentiary hearing),
    Cornelius billed 10 hours to other cases.
  • On the day of the evidentiary hearing, for which the transcript runs
    122 pages, Cornelius billed 5.5 hours to other cases. He also
    claimed a $400.00 court day fee for an appearance day in a
    different capital murder case and two $125.00 court day fees for
    other cases.
  • The day following the hearing, Cornelius billed 5.25 hours in other
    cases, claimed another $400.00 court day fee for an appearance
    in yet another capital murder case, and claimed a $225.00 court
    day fee and a $125.00 court day fee in other cases.
  • On Friday, June 21, Cornelius billed 7 hours in other cases,
    claimed a $400.00 court day fee for an appearance in still yet
    another capital murder case, and claimed a $225.00 court day fee
    for an appearance in a different case.



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  • The following Saturday, Cornelius billed 8.5 hours to other cases.

           c.    Two weeks before trial.

     In the penultimate week before trial, Cornelius continued to spend

significant amounts of time on his other cases.

  • On Monday, June 24, exactly two weeks before trial began,
    Cornelius billed 7 hours to other cases and claimed a $125.00
    court day fee.
  • The next day, he billed 8 hours to other cases and claimed one
    $175.00 court day fee for one case, and three $125.00 court day
    fees in other cases.
  • On Wednesday, June 26, he billed 5 hours to other cases and
    claimed three $125.00 court day fees.
  • On Thursday, June 27, Cornelius billed 6.5 hours to other cases
    and claimed a $400.00 court day fee for an appearance day in still
    yet another capital murder case.
  • That Friday, he billed 7 hours and claimed two $175.00 court day
    fees.
  • On Saturday, June 29, Cornelius billed 5.5 hours to other cases.

           d.    The week before trial.

     The same pattern continued the week before opening arguments in

Cruz-Garcia’s case. Cornelius continued to dedicate extraordinary

amounts of time to other cases, even on the eve of Cruz-Garcia’s trial.

  • Trial began on Monday, July 8, 2013.
  • The Saturday before trial (July 6), Cornelius billed 8.5 hours to
    other cases. (He also claimed a $175.00 court day fee the Sunday
    before trial, but that seems like it must be an error).




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  • The Friday before trial (July 5), Cornelius billed 8.75 hours other
    cases.
  • The Thursday before trial was the Fourth of July holiday. Cornelius
    nonetheless billed 8 hours to other cases.
  • The Wednesday before trial, there was a second hearing on the
    Motion to Suppress DNA evidence in Cruz-Garcia’s case. Cornelius
    billed 7.75 hours to other cases.
  • The Tuesday before trial, Cornelius billed 7.25 hours to other
    cases, and claimed three $225.00 court day fees in other cases,
    plus a $175.00 court day fee for another case.
  • On Monday, July 1, exactly one week before trial, Cornelius billed
    9.55 hours to other cases.

           e.    The guilt phase.

     Trial began on July 8, 2013. The jury heard evidence from Monday,

July 8, until Thursday, July 11. Closing arguments were to have occurred

on July 12, but the parties disagreed about whether an accomplice charge

should be included. The parties’ submissions to the court on this point

were not transcribed and do not appear in the clerk’s record. Judge Magee

issued a decision from the bench at around 4:45 p.m. on July 12. 22 RR

18. Closing arguments were pushed to the following Monday, July 15.

     On each day that the jury heard evidence during the guilt phase,

Cornelius billed at least 4 hours to other cases. He also claimed three

$175.00 court day fees in other cases, and a $125.00 court day fee in

another case. Specifically:




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  • On Monday, July 8, Cornelius billed 4 hours to other cases.
  • On Tuesday, July 9, Cornelius billed 5.5 hours to other cases, and
    claimed two $175.00 court day fees.
  • On Wednesday, July 10, Cornelius billed 4 hours to other cases,
    claimed a $225.00 court day fee, and claimed two $125.00 court
    day fees in other cases.
  • On Thursday, July 11, Cornelius billed 4 hours to other cases and
    claimed a $175.00 court day fee.
  • On Friday, July 12, the day of the disputed charge conference,
    Cornelius billed 4 hours to other cases.
  • On the Saturday before closing arguments in the guilt phase, which
    were scheduled for the following Monday (and the beginning of the
    punishment phase that Tuesday), Cornelius billed 6.5 hours to
    other cases.
  • On Monday, July 15, the day of closing arguments and jury
    deliberations in the guilt phase, Cornelius billed 2.25 hours to
    other cases.

           f.   The punishment phase.

     The evidence presentation in the punishment phase lasted three

days. The state presented evidence on Tuesday, July 16, and Wednesday,

July 17. The defense presented its evidence on Thursday, July 18. The

jury reached its verdict late in the day on Friday, July 19. Cruz-Garcia

was sentenced to death on Monday, July 22. In the three days that

evidence was presented in the punishment phase, Cornelius claimed

four court day fees, including two $400.00 fees in two different capital




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cases. Over those same three days, Cornelius billed an average of 4.83

hours per day in other cases. Specifically:

  • On Tuesday, July 16, Cornelius billed 6.25 hours to other cases
    and claimed a $175.00 court day fee.
  • On Wednesday, July 17, 2013—the day before the defense
    presented its case—Cornelius billed 3.25 hours to other cases,
    claimed a $400.00 court day fee in another capital case, and
    claimed a $225.00 court day fee in a different case.
  • On Thursday, July 18, 2013—the day the defense presented its
    case—Cornelius billed 5.5 hours to other cases and claimed a
    $400.00 court day fee in yet another capital case.
  • On the day of jury deliberations, when a serious issue emerged with
    a holdout juror, Cornelius billed 8 hours to other cases.
  • On the following Saturday, Cornelius billed 5.5 hours to other
    cases.
  • On the day that Cruz-Garcia was sentenced to death, Cornelius
    billed 8.5 hours to other cases, and claimed a $175.00 court day
    fee and a $125.00 court day fee.
     According to these billing records, Cornelius performed $33,430.75

worth of work in other cases over the course of Cruz-Garcia’s trial. Based

on the $35,000 flat fee permitted by Harris County for first chair in a

death penalty case, Cornelius performed the equivalent of an entire

other. In other words, Cornelius performed so much work on other cases

around the time of Cruz-Garcia’s trial, it was as if he had investigated,

selected a jury for, and tried to verdict an entire other death penalty case

between the time of jury selection and sentencing in Cruz-Garcia’s case.




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Figure 3 below sets forth the details of Cornelius’s billings between June

3 and July 22, 2013. The billing records underlying Figure 3 are collected

at Exhibit 138.

Figure 3: Cornelius’s billings in other cases from June 3, 2013 to July
22, 2013. 53
 Date      Case Event Work on Other Cases                             Total

 Mon.,     Jury              Ward: 3 hrs. trial prep                  7 hours
 June 3, Selection           Gonzalez: 1 hr. legal research           1 Court
                             Serrano: 0.5 hrs. witness                Day
 2013
                             interview
                             Taverez: 2.5 hrs. legal research
                             Court Day: Jones D ($225.00)
 Tues.,    Jury              Degrate: 1 hr. legal research            2.75 hours
 June 4, Selection           Mendez: 1.75 hr. jail visit   1 Court
 2013                        Court Day: Gonzalez ($225.00) Day




53 The documents supporting Figure 3 are collected in Exhibit 138. In some
instances, Mr. Cornelius represented a client in multiple charges and billed
separately for each charge. For clients with multiple charges, the different cases are
indicated by the last 3 digits of the case number.



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Date     Case Event Work on Other Cases                       Total

Wed.,    Jury            Serrano: 0.50 hrs. witness           2.75 hours
                         interview                            2 Court
June 5, Selection
                         Jones, D: 0.50 hrs. misc.            Days
2013                     matters
                         Bogado: 0.50 hrs. witness
                         interview (-858)
                         Alegria: 1.25 hrs. legal research
                         Court Day: Degrate ($175.00)
                         Court Day: Alegria ($400.00)
Thur.,   Jury            Lindsey: 1 hr. legal research        3.25 hours
June 6, Selection        Serrano: 0.75 hrs. legal             4 Court
                         research                             Days
2013
                         Jones D: 0.50 hrs. witness
                         interview
                         Bogado: 0.50 hrs. witness
                         interview (-858)
                         Mendez: 0.50 hrs. records
                         research
                         Court Day: Bogado ($125.00)
                         (-858)
                         Court Day: Bogado ($125.00)
                         (-441)
                         Court Day: Serrano ($175.00)
                         Court Day: Chavira ($125.00)




                                                                        000193
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Date      Case Event Work on Other Cases                      Total

Fri.,     Jury           Davis: 1.5 hrs. misc. matters        3.5 hours
                         (-542)                               4 Court
June 7, Selection
                         Winston: 1.25 hrs. legal             Days
2013                     research (-716)
                         Judeh: 0.75 hr. jail visit (-273)
                         Court Day: Lindsey ($175.00)
                         Court Day: Winston ($175.00)
                         (-715)
                         Court Day: Winston ($175.00)
                         (-716)
                         Court Day: Judeh ($225.00)
                         (-272)
Sat.      No court       Lindsey: 0.75 witness interview      5.25 hours
June 8,                  Winston: 1.25 hrs. legal
                         research (-715)
2013
                         Mukherjee: 2 hrs. records
                         research
                         Batiste: 1.25 hrs. records
                         research
Sun.      No court       Ward: 4 hrs. trial prep              4 hours
June 9,
2013
Mon.,     Jury           Mukherjee: 2.5 hrs. records          2.5 hours
                         research                             2 Court
June      Selection
                         Court Day: Davis ($225.00)           Days
10,                      (-542)
2013                     Court Day: Davis ($125.00)
                         (-908)




                                                                        000194
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Date     Case Event Work on Other Cases                       Total

Tues.,   Jury            Ward: 3 hrs. trial prep              7.75 hours
                         Bradley: 0.75 hrs. misc. matters 1 Court
June     Selection                                        Day
                         Gonzales N: 1.5 hrs. records
11,                      research
                         Mukherjee: 1.5 hrs. court
2013                     appearance
                         Ceaser: 1 hr. records research
                         Court Day: Pruitt ($125.00)
Wed.,    Jury            Bradley: 0.50 hrs. records           0.50
                         research                             hours.
June     Selection
                         Court Day: Bradley ($175.00)         1 Court
12,                                                           Day
2013
Thur.,   Jury            Ward: 3 hrs. trial prep              8 hours
June     Selection       Riley: 1.25 hrs. legal research      2 Court
                         Gonzales N: 1 hr. records            Days
13,
                         research
2013
                         Woodard: 2 hrs. legal research
                         Ceaser: 0.75 hrs. records
                         research
                         Court Day: Perdomo ($125.00)
                         Court Day: Ceaser ($225.00)
Fri.,    Jury            Reed: 1.5 hrs. legal research        6.5 hours
June     Selection       Ward: 3 hrs. trial prep
14,                      Taverez: 2 hrs. misc. matters

2013




                                                                        000195
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 Date         Case Event Work on Other Cases                           Total

 Sat.,        No court        Reed: 3 hrs. of trial prep               5 hours
 June                         Taverez: 2 hrs. misc. matters            1 Court
                              Court Day: Bowman                        Day
 15,
                              ($125.00) 54
 2013
 Mon.,        Jury            Mayreis: 5 hrs. legal research           6 hours
 June         Selection       McGee: 1 hr. legal research
                              (-317)
 17,
 2013
 Tues.,       No court        Riley: 0.5 hrs. witness                  10 hours
                              interview; 1.25 hrs. records
 June
                              research
 18,                          McGee: 2 hrs. legal research
 2013                         (-317)
                              Gonzales N: 1.25 hrs. misc.
                              matters
                              Jones R: 2 hrs. misc. matters
                              Serrano A: 3 hrs. misc. matters




54   This court date appears to have been misdated by Mr. Cornelius.



                                                                                 000196
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Date     Case Event Work on Other Cases                       Total

Wed.,    Motion      to Stevenson: 1 hr. legal research       5.5 hours
                        (-049)                                3 Court
June     Suppress
                         Segura: 1.75 hrs. legal research     Days
19,      Evidentiary
                         Gonzales N: 1 hr. records
2013     Hearing         research
                         Serrano A: 1.75 hrs. misc.
                         matters
                         Court Day: Gonzalez N
                         ($400.00)
                         Court Day: Lee ($125.00) (-713)
                         Court Day: Lee ($125.00) (-712)
Thur.,   No court        Riley: 0.5 hrs. witness interview 5.25 hours
June                     Lee: 0.25 hrs. written               3 Court
                         correspondence (-713)                Days
20,
                         Davis: 1.5 hrs. misc. matters
2013                     (-542)
                         Stergiou: legal research (hrs.
                         not listed)
                         Serrano A: 1 hr. legal research
                         Ward D: 0.50 hrs. written
                         correspondence
                         Sparks: 1.5 hrs. jail visit
                         Court Day: Stevenson
                         ($225.00) (-049)
                         Court Day: Stevenson
                         ($125.00) (-820)
                         Court Day: Riley ($400.00)




                                                                        000197
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Date     Case Event Work on Other Cases                       Total

Fri.,    No court        Riley: 3 hrs. document review        7.00 hours
                         and conferences.                     2 Court
June
                         Jones, D: 2 hrs. legal research      Days
21,
                         Davis: 1.25 hrs. misc. matters
2013                     (-542)
                         Irais: 0.75 hrs. records research
                         Court Day: Irias ($400.00)
                         Court Day: Jones D ($225.00)
Sat.,    No court        Irias: 2.5 hrs. legal research       8.5 hours
June                     Lee: 0.75 hrs. written
                         correspondence (-713); 0.25 hrs.
22,                      written correspondence (-713)
2013                     Perdomo: 0.50 hrs. written
                         correspondence
                         Darries: 1.5 hrs. legal research
                         Stergiou: 2 hrs. legal research
Mon.,    No court        Mayreis: 1.5 hrs. records            6.50 hours
                         research; 0.5 hrs. meeting with      1 Court
June
                         DA                                   Day
24,                      McGee: 2.5 hrs. trial notebook
2013                     (-317)
                         Alegria: 2 hrs. records research
                         Court Day: Stergiou ($125.00)




                                                                        000198
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Date     Case Event Work on Other Cases                       Total

Tues.,   No court        Irias: 1 hr. written                 8 hours
                         correspondence; 1.5 hrs. legal       4 Court
June
                         research                             Days
25,                      Wright: 1 hr. misc. matters
2013                     Winston: 1 hr. legal research
                         (-716)
                         Mukherjee: 3.5 hrs. records
                         research
                         Court Day: Williams ($125.00)
                         Court Day: Wright ($175.00)
                         Court Day: Arvay ($125.00)
                         (-785)
                         Court Day: Arvay ($125.00)
                         (-786)
Wed.     No court        Riley: 1 hr. legal research          5 Hours
June                     McGee: 2 hrs. records research       3 Court
                         (-317)                               Days
26,
                         Williams: 1 hr. records research
2013
                         Gonzalez: 1 hr. legal research
                         Court Day: Bogado ($125.00)
                         (-858)
                         Court Day: Bogado ($125.00)
                         (-441)
                         Court Day: Perdomo ($125.00)




                                                                        000199
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Date     Case Event Work on Other Cases                       Total

Thur.    No court        McGee: 2.5 hrs. misc. matters (-     6.5 hours
                         317)                                 1 Court
June
                         Degrate: 0.75 hrs. witness           Day
27,                      interview
2013                     Gonzalez: 1.25 hrs. legal
                         research
                         Brown: 1 hr. legal research
                         Ceaser: 1 hr. legal research
                         Court Day: McGee ($400.00)
                         (-993)
Fri.     No court        Wright: 1.5 hrs. records             7 hours
                         research                             2 Court
June
                         Jones, D: 1.75 hrs. records          Days
28,                      research
2013                     Gonzales N: 1.75 hrs. legal
                         research
                         Hernandez: 2 hrs. legal
                         research
                         Court Day: Winston ($175.00)
                         (-715)
                         Court Day: Winston ($175.00)
                         (-716)
Sat.     No court        McGee: 3 hr. witness interview       5.5 hours
                         (-317)
June
                         Hernandez: 2.5 hrs. legal
29,                      research
2013




                                                                        000200
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Date      Case Event Work on Other Cases                      Total

Mon.      No court       Lindsey: 1 hr. records research      9.55 hours
July 1,                  Winston: 1.75 hrs. records
                         research (-715)
2013
                         Mukherjee: 5.8 hrs. records
                         research
                         Mendez: 1 hr. records research
Tues.,    No court       Mayreis: 1 hr. Meeting with          7.25 hours
                         judge/DA                             4 Court
July 2,
                         Wright: 0.75 hrs. written            Days
2013                     correspondence; 0.75 hrs. legal
                         research; 1.75 hrs. misc. matters;
                         0.75 misc. matters
                         Jones, D: 0.75 hrs. witness
                         interview; 1.50 hrs. legal
                         research
                         Court Day: Davis ($225.00) (-
                         542)
                         Court Day: Gonzalez ($225.00)
                         Court Day: Jones D ($225.00)
                         Court Day: Lindsey ($175.00)




                                                                        000201
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Date      Case Event Work on Other Cases                      Total

Wed.,     Motion     to Wright: 0.75 misc. matters            7.75 hours
July 3, Suppress         Gonzalez: 1.5 hrs. legal
                         research
2013      Hearing
                         Jones, D: 0.75 hrs. witness
                         interview
                         Sparks: 1 hr. legal research
                         Ceaser: 0.75 hrs. written
                         correspondence
                         Serrano A: 1.5 hrs. misc.
                         matters
                         Hernandez: 1.5 hrs. written
                         correspondence
Thur.     No court       Mayreis: 3 hrs. legal research       8 hours
July 4,                  Ward D: 2 hrs. written
                         correspondence
2013
                         Hernandez: 3 hrs. legal search
Fri.      No court       Stevenson: 1 hr. misc. matters       8.75 hours
                         (-049); 0.25 misc. matters (-049)
July 5,
                         Gonzalez: 1 hr. records research
2013
                         Jones, D: 1.50 hrs. records
                         research
                         Davila: 3 hrs. misc. matters
                         Williams D: 2 hrs. legal
                         research
Sat.      No court       Davis: 4 hrs. misc. matters (-       8.5 hours
                         542)
July 6,
                         Alegria: 3 hrs. trial notebook
2013
                         Williams D: 1.5 hrs. legal
                         research




                                                                        000202
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 Date         Case Event Work on Other Cases                           Total

 Sun.         No court        Court Day: Serrano ($175.00) 55 1 Court
                                                              Day
 July 7,
 2013
 Mon.,        Guilt Phase     Wright: 0.75 misc. matters               4 Hours
 July 8,                      Davila: 2.5 hrs. misc. matters
 2013                         Batiste: 0.75 hr. witness
                              interview
 Tues.,       Guilt Phase     Mayreis: 2 hrs. witness                  5.5 Hours
                              interview; 0.5 hrs. conference           2 Court
 July 9,
                              with client and DA                       Days
 2013                         Ward: 2 hrs. DNA evidence
                              Mendez: 1 hr. legal research
                              Court Day: Degrate ($175.00)
                              Court Day: Bowman ($175.00)
 Wed.,        Guilt Phase     Ward: 2.5 hrs. DNA evidence              4 Hours
 July                         Mendez: 0.5 hr. jail visit               3 Court
                              Batiste: 1 hr. legal research            Days
 10,
                              Court Day: Judeh ($225.00)
 2013
                              (-272)
                              Court Day: Judeh ($125.00)
                              (-642)
                              Court Day: Judeh ($125.00)
                              (-273)




55   This court date appears to have been misdated by Mr. Cornelius.



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Date     Case Event Work on Other Cases                       Total

Thur.,   Guilt Phase     Judeh: 0.75 hrs. witness             4 Hours
                         interview (-065)                  1 Court
July
                         Judeh: 1 hr. witness interview (- Day
11,                      273)
2013                     Mukherjee: 1 hr. court
                         appearance
                         Mendez: 1.25 hrs. misc. matters
                         Court Day: Judeh ($175.00)
Fri.,    Guilt Phase Mukherjee: 2 hrs. records                4 Hours
                     research
July     Charge
                     Sparks: 0.75 hrs. records
12,      Conference  research
2013                     Serrano A: 1.25 hrs. records
                         research
Sat.,    No court        Mayreis: 3 hrs. trial prep           6.5 Hours
July                     Lee: 2 hrs. records research (-
                         713)
13,
                         Sparks: 1.5 hrs. legal research
2013
Mon.,    Guilt Phase Mayreis: 1 hr. witness interview 2.25 Hours
July     Closing         Sparks: 1.25 hrs. records
                         research
15,      Arguments
2013     and
         Deliberation




                                                                        000204
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Date     Case Event Work on Other Cases                       Total

Tue.,    Punishment      Ward: 3 hrs. of legal research       6.25 Hours
July     Phase           Wright: 1.5 hrs. of legal            1 Court
                         research                             Day
16,
                         Bradley: 1 hr. witness interview
2013
                         Brown: 0.75 hrs. misc. matters
                         Court Day: Bradley ($175.00)
Wed.,    Punishment      Mayreis: 2 hrs. trial prep           3.25 Hours
July     Phase           Owens: 0.75 hrs. misc. matters       2 Court
                         Ceaser: 0.50 hrs. witness            Days
17,
                         interview
2013
                         Court Day: Alegria ($400.00)
                         Court Day: Ceaser ($225.00)
Thur.,   Punishment      Mayreis: 1 hr. Conference with       5.5 Hours
                         DA/Review Notes                      1 Court
July     Phase
                         Irias: 1.5 hrs. misc. matters        Day
18,
                         Gonzales N: 1.5 hrs. records
2013                     research
                         Alegria: 1 hr. witness interview
                         Batiste: 0.50 hr. witness
                         interview
                         Court Day: Gonzales N
                         ($400.00)
Fri.,    Punishment      Mayreis: 3 hrs. trial prep           8 hours
July     Phase Jury      Gonzales N: 1 hr. records
                         research
19,      Deliberation
                         Alegria: 2 hrs. records research
2013     and Verdict
                         Batiste: 2 hrs. misc. matters




                                                                        000205
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Date       Case Event Work on Other Cases                     Total

Sat.,      No court      Mayreis: 2 hrs. trial prep           5.5 hours
July                     Judeh: 3.5 hrs. legal research
                         (-065)
20,
2013
Mon.       Sentencing    Mayreis: 2.5 hrs. jail visit; 0.75   8.5 Hours
                         hrs. meeting with DA; 1.5 hrs.       2 Court
July
                         witness interview.                   Days
22,                      Owens: 1 hr. trial prep
2013                     Irias: 1 hr. witness interview
                         Sharp: 1 hr. legal research
                         Fraga: 0.75 hrs. legal research
                         Court Day: Jones A ($125.00)
                         Court Day: Carrizales
                         ($175.00)

          6.   The billing records of Cornelius’s investigator show
               that Cruz-Garcia’s case was not ready to be tried by
               the beginning of jury selection.

        While Cornelius and Madrid did not keep time entries, their

investigator, J.J. Gradoni, did. It is apparent from those time entries

that, after their appointment in August 2011, trial counsel waited almost

nine months—until May 2012—to begin investigating the case at all. Ex.

7 at 6–7. Over the course of 2012, the investigator billed fewer than 70

hours. Id. Perhaps most troublingly, the vast majority of the

investigator’s work occurred during or just before trial. Jury selection



                                                                        000206
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began on June 3, 2013, but less than 20% of the investigative work was

completed by April 7, 2013. Id. at 6–7, 10–11, 26, 46–49. A substantial

portion of the investigative activity occurred beginning on June 3, 2013,

the first day of jury selection. Id. The investigator time entries from jury

selection through trial reflect that the defense team was attempting to

locate witnesses, conduct interviews, research state’s witnesses, do other

field work, and set investigative assignments throughout June 2013. Id.

at 46–49. Given the amount of work Cornelius performed on other cases

during that same period, there is no realistic possibility that he could

have prepared for trial from June 3, 2013, onward—the defense team was

most actively investigating Cruz-Garcia’s case.

     Moreover, because trial counsel waited until just before trial to

investigate in earnest, there was no margin for error and no time for

follow-up investigations. Thus, although their investigator did make a

short visit to the Dominican Republic (43% of the time billed for the trip

was for travel to and from Houston), little was accomplished beyond a

few interviews, and no follow-up investigation was possible because

sufficient time had not been allocated. Ex. 7 at 26. Likewise, although

trial counsel asserted in court filings that investigations in Puerto Rico




                                                                         000207
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would be necessary for the defense, 2 CR 384–85, they never travelled

there.

         7.   Cornelius failed to perform key tasks, such as
              reviewing the State’s file.

     One consequence of Cornelius’s failure to “give priority” to Cruz-

Garcia’s death penalty case, as required by Texas Guideline 9.3.B, is that

he failed to perform basic tasks necessary for a competent representation.

Cornelius did not even review the district attorney’s file. Under the

mistaken impression that the State was required to essentially curate a

limited set of relevant files for them to review, trial counsel repeatedly

refused to take advantage of the district attorney’s open file policy. See

20 RR 185–86; 16 RR 4–5.

     During the guilt phase, frustrated that he had to cross-examine the

State’s expert without having read his report, Cornelius asked to make a

record of his complaints:

     Cornelius:        Yeah. I want to make sure we understand each
                       other. I don’t have a responsibility to go through
                       your file and figure out what’s in your file. I don’t
                       have to do that. . . .
     Tise:             I have e-mail after e-mail to you, Skip, that I can
                       print out saying: Please come by and see my file.
                       It’s opened to you. . . .




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      The Court:       I don’t think we need to put this all on the record.
                       . . . If you want to argue, we’ll go off the record.
      Cornelius:       I’m not going to go try to figure out what’s in your
                       file. . . . I’m not going to go through 20 boxes of
                       DNA records.
      Tise:            I told you, Skip, you need to come by and see my
                       file.
      The Court:       All right. Let’s go off the record, Mary Ann.

      20 RR 186–87 (emphasis added). Cornelius subsequently confirmed

to post-conviction counsel in an email that he, as a matter of policy, did

not participate in “open file” systems like that used by the Harris County

District Attorney’s Office, stating “I don’t play that game.” 3 SHCR 607.

      In his affidavit to the convicting court, Cornelius attempted to walk

back the admission he made during trial concerning his failure to review

the State’s file. He claimed that “the files where [sic] brought to court by

a number of prosecutors” and that he reviewed the State’s file then and

there. 4 SHCR 942–48. Cornelius’s billing records, together with other

factors, strongly suggest that Cornelius did not actually review the

State’s file.

      First, Cornelius’s billing records show that from jury selection to

sentencing (i.e., the time when Cruz-Garcia’s case was in court),

Cornelius was routinely working a substantial number of hours outside




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of his full court days for Cruz-Garcia’s case. In addition, Cornelius was

appearing in court for other clients, often several a day. It is not plausible

that, with the amount of time Cornelius was working and billing on other

cases, he could have reviewed the State’s entire file in the courtroom.

         Second, when post-conviction counsel examined the State’s file,

they found numerous documents that were not in trial counsel’s files. 1

SHCR 61. Many of the documents were in Spanish, a language Cornelius

does not read, and included extensive evidence from Cruz-Garcia’s

incarceration in Puerto Rico where he was a model prisoner. Id. at 61–

62. Cornelius could not have read through these Spanish-language

document. Indeed, none of the evidence was introduced at Cruz-Garcia’s

trial.

         Third, the State made clear both during the guilt phase and in

writing that its file was located in the District Attorney’s office, not in the

courtroom. 20 RR 186 (“I told you, Skip, you need to come by and see my

file.”); 2 CR 491 (“My file . . . remained open to defense counsel up to and

during trial. Photos witness statements, evidentiary items, lab reports,

and other items were all stored together in my office and were available




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for review before and during trial.”). There is no indication on the record

that the files were ever located or brought into the courtroom.

     In combination, Cornelius’s affidavit, billing records, and other

evidence shows that Cornelius failed to perform even the most basic of

defense tasks: to review the State’s file.

     C.     Trial counsel rendered ineffective assistance of
            counsel by failing to adequately communicate with
            Cruz-Garcia and by rushing his case to trial.
     The trial defense team submitted in state post-conviction

proceedings three affidavits: from lead counsel Skip Cornelius, second

chair counsel Mario Madrid, and investigator J.J. Gradoni. Cornelius’s

affidavit is by far the longest. 4 SHCR 942. Madrid’s affidavit is much

shorter than and largely parrots select sections of Cornelius’s affidavit. 5

SHCR 951.

     One common theme to these affidavits is the team’s difficulty

communicating with Cruz-Garcia, which the defense team blamed

entirely on Cruz-Garcia. 5 SHCR 952 (“We were hampered in our defense

because our client would not discuss any facts of the case. He insisted

that God would set him free but refused to discuss the case.”); 5 SHCR

957 (“Cruz-Garcia was not very forthcoming about much of anything with




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respect to the case because, as he informed me, God and Jesus were going

to deliver him and he was not really concerned about being convicted.”);

4 SHCR 943 (“Cruz-Garcia would not discuss the facts of the case with

us. At all. He refused to discuss it with us. His statement was that God

would deliver him.”). Indeed, in response to nearly every issue they were

asked about, counsel pointed to their difficulty communicating with

Cruz-Garcia.

     When examined together with Cornelius’s billing records, however,

the affidavits suggest a different story. Cornelius was appointed to Cruz-

Garcia’s case in August 2011. According to Gradoni’s billing records, no

one visited Cruz-Garcia until May 2012. Ex.7 at 6. Throughout his entire

representation, Cornelius met with Cruz-Garcia only twice. 5 SHCR 957.

Gradoni also met with Cruz-Garcia only twice. Id. Madrid apparently

never visited Cruz-Garcia. Id.

     Texas Guideline 10.2 provides:
GUIDELINE 10.2 – RELATIONSHIP WITH THE CLIENT
     A.    Counsel at all stages of the case should make every
           appropriate effort to establish a relationship of trust with the
           client, and should maintain close contact with the client:

           1.    Barring exceptional circumstances, the client should be
                 contacted within 24 hours of initial counsel’s entry into




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                the case, with full and complete interviews of the client
                to be conducted as soon as practically possible.

           2.   Promptly upon entry into the case, initial counsel should
                communicate in an appropriate manner with both the
                client and the government regarding the protection of
                the client’s rights against self-incrimination, to the
                effective assistance of counsel, and to preservation of the
                attorney-client privilege and similar safeguards.

     B.    Counsel at all stages of the case should re-advise the client
           and government regarding these matters as appropriate.

     C.    Counsel at all stages of the case should engage in a continuing
           interactive dialogue with the client concerning all matters
           that might reasonably be expected to have a material impact
           on the case, such as:

           1.   The progress of and prospects for factual investigation,
                and what assistance the client might provide to it;

           2.   Current or potential legal issues;

           3.   The development of a defense theory;

           4.   Presentation of the defense case;

           5.   Potential agreed-upon dispositions of the case;

           6.   Litigation deadlines and the projected schedule of case-
                related events; and

           7.   Relevant aspects of the client’s relationship with
                correctional, parole or other governmental agents (e.g.,
                prison medical providers or state psychiatrists).

     As with so much else in his representation of Cruz-Garcia,

Cornelius’s actions flew in the face of the Texas Guidelines. He did not

conduct a “full and complete interviews of the client . . . as soon as



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practically possible.” Texas Guideline 10.2.A.1. Indeed, no one visited

Cruz-Garcia until nine months after Cornelius was appointed. Nor did

Cornelius “at all stages of the case . . . engage in a continuing interactive

dialogue with the client concerning all matters that might reasonably be

expected to have a material impact on the case.” Texas Guideline 10.2.C.

Cornelius met with Cruz-Garcia only twice. Further, in light of the

failure of anyone on the defense team to meet with Cruz-Garcia for the

first nine months of the representation and Cornelius’s extremely limited

interaction with Cruz-Garcia, it can hardly be said that trial counsel

made “every appropriate effort to establish a relationship of trust with

the client, and . . . maintain[ed] close contact with the client.” Texas

Guideline 10.2.A.

     Given that Cornelius and his investigator failed to meet at all with

Cruz-Garcia for nine months and then met with him only twice, their

complaints that Cruz-Garcia “was not very forthcoming about much of

anything with respect to the case” and “would not discuss the facts of the

case” ring hollow. The Texas Guidelines do not contemplate a one-way

street where counsel parachutes in for a couple visits with his client

before trial and the client immediately provides counsel everything he




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needs to win the case. Rather, the Texas Guidelines speak of

“establish[ing] a relationship of trust with the client” and “maintain[ing]

close contact with the client” as essential to effective representation.

Texas Guideline 10.2.A. Trial counsel thus failed to establish any

relationship and communicate with Cruz-Garcia in accordance with the

Guidelines.

     There were other Guideline failures that also contributed the

obviously dysfunctional relationship between Cruz-Garcia and his

defense counsel. Cruz-Garcia does not speak English. Neither Cornelius

nor Gradoni speak Spanish. As a consequence, “each and every time

members of the defense team spoke to Cruz-Garcia it was with the

assistance of Edna Velez, who was a certified interpreter with the

Customs Service.” 5 SHCR 958. Indeed, according to Gradoni, Velez was

the only member of the defense team who visited Cruz-Garcia more than

twice; he claims that she met with him seven times, including the two

visits that Cornelius and Gradoni attended. Id.

  There are specific provisions of the Texas Guidelines concerning non-

English speaking clients. They provide as follows:

GUIDELINE 10.3 – ADDITIONAL OBLIGATIONS OF COUNSEL
REPRESENTING A FOREIGN NATIONAL



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     B. Counsel representing a foreign national should:
          1.    Immediately determine if the client’s ability to
                communicate with counsel, in English, is sufficient to
                allow counsel and the client to adequately communicate.
                Counsel must recognize that some foreign nationals
                speak in dialects of which counsel may be unfamiliar,
                resulting in unintended miscommunication.

          2.    If there are any language conflicts, counsel should
                immediately request the court to appoint an appropriate
                interpreter to assist the defense in all stages of the
                proceeding, or counsel may request permission to
                withdraw due to language problems. It is highly
                recommended that both lead and associate counsel have
                adequate communication with the defendant, rather
                than just one of counsel.

     Like Texas Guideline 10.2, Texas Guideline 10.3.B strongly

emphasizes the importance of effective client communication. It “highly

recommend[s] that both lead and associate counsel have adequate

communication with the defendant, rather than just one of counsel” and

gives counsel the option of withdrawing from the case “due to language

problems.” Texas Guideline 10.3.B.2. Here, neither counsel had adequate

communication with Cruz-Garcia, as Madrid apparently did not meet

with Cruz-Garcia and Cornelius (and his investigator) required an

interpreter. 5 SHCR 957.

     In sum, Cornelius had a client he met with only twice and Madrid

never, with whom he could not communicate directly. As detailed in



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Figure 1, he also had a crushing caseload with more death penalty cases

than TIDC recommends for full-time capital practitioners and more

felony cases than TIDC recommends for non-capital practitioners. Under

the Texas Guidelines, either of these issues would have been sufficient to

justify withdrawing from the case or, at the very least, continuing the

trial. See Texas Guideline 9.3.C (counsel should notify the court and may

seek to withdraw if “counsel’s caseload becomes overextended”); Texas

Guideline 10.3.B.2 (“[C]ounsel may request permission to withdraw due

to language problems.”). Yet, trial counsel did not even attempt to obtain

a continuance.

     Instead, trial counsel decided to proceed to trial even though first

chair counsel had a caseload well in excess of reasonable standards, had

only met with Cruz-Garcia twice and second chair never, and could not

communicate directly because of a language barrier,. His decision to

proceed to trial without at least attempting to obtain a continuance

simply does not square with his and his defense team’s attempts to blame

their failings at trial on Cruz-Garcia’s purported lack of cooperation. As

detailed below, had Cornelius sought a continuance and conducted a




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thorough investigation, he could have presented evidence that would

have undercut the State’s case at both the guilt and punishment phases.

     D.        Trial counsel’s investigation, preparation, and
               performance during the guilt/innocence phase was
               ineffective.
     One of trial counsel’s most critical duties is to thoroughly

investigate the defendant’s case. To the extent trial counsel fails to

investigate a particular thread or item of evidence, that assessment must

be based on a reasonable decision that supports trial counsel thus

limiting the investigation. Wiggins, 539 U.S. at 521; see Strickland, 466

U.S. at 690–91. Trial counsel failed to adequately investigate and prepare

for the guilt phase of Cruz-Garcia’s trial.

          1.        DNA Failures.

               a.     Failure to retain a DNA expert.

     Trial counsel failed to retain, or to continue working with, the DNA

expert that Cruz-Garcia’s original counsel had retained. At the time of

their appointment, Dr. Elizabeth Johnson, a private forensic expert and

DNA analyst, had already been retained to review the State’s DNA

evidence. Ex. 6 at 1–2. Trial counsel declined to consult with Dr. Johnson,

however, and therefore went to trial with no DNA expert of their own.




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     In his affidavit, Cornelius attempted to explain his failure to retain

an expert by stating that he “know[s] a lot about DNA evidence,” and in

his opinion the DNA evidence “had been sufficiently preserved.” 4 SHCR

944. This, however, was untrue. The chain of custody of the DNA

evidence was not properly preserved, as was later determined in post-

conviction proceedings. Ex. 10.

     Cornelius also stated that a DNA expert was not retained because

this expert would have been cross-examined by the State. 4 SHCR 944.

While a DNA expert would almost certainly have faced cross-

examination, it does not explain Cornelius’s failure to consult with a DNA

expert at all. Had trial counsel consulted with a DNA expert, trial counsel

would have known of significant issues with the chain of custody and

reliability of the DNA evidence. Trial counsel could thus have challenged

one of the key elements of the State’s case against Cruz-Garcia.

           b.    Failure to determine           that    DNA     had    been
                 improperly stored.

     Cruz-Garcia’s state post-conviction counsel retained an outside

DNA expert to review the State’s trial evidence. The report identified

deficiencies in the chain of custody and analysis of the DNA evidence. Ex.

10. Contrary to the testimony of the State’s witnesses, the evidence bag



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containing the vaginal swabs was unsealed when it arrived at Orchid

Cellmark. Id. Likewise, the cutting from the underwear was stored in the

same unsealed envelope as the blood sample from Arturo Rodriguez. Id.

     Had they retained a DNA expert, trial counsel could have brought

the DNA storage problems to the jury’s attention during trial and thus

significantly undercut the reliability of the DNA evidence. These findings

by a DNA expert also would have significantly strengthened the defense’s

motion to suppress the DNA evidence. 3 CR 455. The defense was

therefore prejudiced when it was unable to proffer any link between the

DNA evidence in Cruz-Garcia’s case and the well-publicized and

significant problems at the former HPD Crime Lab. In denying Cruz-

Garcia’s motion to suppress the DNA evidence, Judge Magee cited the

lack of connection between the DNA in Cruz-Garcia’s case and handling

and storage problems within the old HPD Crime Lab. 17 RR 13; 17. The

storage and integrity of the evidence issues identified by Cruz-Garcia’s

DNA expert in post-conviction could have provided that link, had trial

counsel retained a DNA expert.

     As described supra § I.B, the DNA evidence was the linchpin to the

State’s case. The defense was therefore entirely handicapped by trial




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counsel’s failure to retain a DNA expert, such that the defense was

unable to suppress the DNA evidence, or barring suppression, at least

challenge its reliability before the jury.

        2.        Failure to investigate Carmelo Santana.

             a.     Failure to investigate Santana’s inconsistent
                    statements.

     Had trial counsel reviewed the State’s file, they would have found

multiple prior inconsistent statements by Santana. During several

interrogations in 1992 and in 2009, Santana denied any knowledge of or

involvement in the offense. Ex. 67; 68; 69; see supra § I.A.1. His testimony

to the jury materially contradicted those prior statements, as well as

statements made to the FBI and HPD after he agreed to cooperate. See

supra § I.A.1. Because counsel did not review the State’s file, they could

not impeach Santana with his prior inconsistent statements. Trial

counsel’s failure to impeach Santana as well as other key witnesses, see

supra §§ I.C & D, was constitutionally ineffective. Peoples v. Lafler, 734

F.3d 504, 513 (6th Cir. 2013); Beltran v. Cockrell, 294 F.3d 730 (5th Cir.

2002); see Moffett v. Kolb, 930 F.2d 1156 (7th Cir. 1991) (failure to

impeach with prior inconsistent statements); Smith v. Wainwright, 741




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F.2d 1248 (11th Cir. 1984) (failure to impeach with prior inconsistent

statements).

           b.    Failure to investigate Santana’s mental health.

     As set forth supra § IV.A.2, Santana suffered from serious mental

health issues. These records should have been disclosed to trial counsel

pursuant to the State’s Brady obligation to disclose impeachment

evidence. Id. However, the information was readily available through

public records and could have been discovered by trial counsel had they

exercised reasonable diligence. Evidence of Santana’s mental health

issues was available from the electronic docket entries in connection with

Santana’s federal prosecution, including the letter he sent to a federal

judge around the time he implicated Cruz-Garcia and in which he

professed to be mentally incompetent. Ex. 12.

           c.    Failure to investigate Santana’s crime of moral
                 turpitude.

     Trial counsel’s failure to investigate Santana does not need to be

inferred solely from their failure to introduce evidence of his mental

health issues. During trial, trial counsel admitted to having failed to

conduct a basic investigation of the State’s key witness. 21 RR 17−18. As

set forth supra §§ I.A.3 & IV.A.3, around the time of A.’s kidnapping,




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Santana was convicted in Harris County of assaulting a child. Because

the victim was a girl, the assault constituted a crime of moral turpitude

that was fair game for impeachment. See Tex. R. Evid. 609; Hardman,

868 S.W.2d at 407. However, trial counsel had not investigated the

conviction and therefore did not know the gender of the victim.

     As Cornelius stated during the trial: “Honestly, I’m not sure. In

fairness, I’ve got an investigator’s report, but I don’t have that much

confidence in it.” 21 RR 17. Indeed, the billing records of trial counsel’s

investigator show that, on June 20, 2013, he attempted to “Obtain

Offense Report Regarding State Witness Prior Conviction.” Ex. 7 at 47.

However, it appears that there was no follow-up to determine the

specifics of Santana’s conviction. Because Cornelius did not investigate

Santana’s prior conviction, he stated that he would simply trust whatever

the State or Santana told him: “I’ve got some conflicting information from

my own investigators and so, I’m going to accept pretty much whatever

the State tells me or what he [Santana] tells me.” 21 RR 18.

     As set forth above supra §§ I.A.3 & IV.A.3, Santana lied by

asserting that he had committed assault against a boy. 21 RR 21. Not

only would a crime of moral turpitude have been grounds for




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impeachment, see Tex. R. Evid. 609, the fact of Santana’s conviction

around the time of A.’s disappearance would have further cast doubt as

to his claims to the jury that he reluctantly followed along in taking and

killing A., a child, so much so that he became physically ill at the scene

of A.’s death. 20 RR 150–52. Because trial counsel failed to investigate

Santana’s prior conviction (compounded by the State’s failure to correct

false testimony), Santana escaped impeachment.

      “A key prosecution witness’s prior criminal history and resultant

parole status clearly constitute important impeachment evidence” and

“[i]t is beyond the range of professionally reasonable judgment to forgo

investigation of, and impeachment based upon, such evidence absent

some apparent strategic reason that might explain or excuse counsel’s

failure.” Grant v. Lockett, 709 F.3d 224, 234 (3d Cir. 2013), abrogated on

other grounds by Dennis v. Sec., Penn. Dep’t of Corrs., 834 F.3d 263 (3d

Cir. 2016). As evidenced by trial counsel’s own statements on the record

that he would “accept pretty much whatever” the very witness that he

sought to impeach, counsel’s failure to investigate Santana’s prior

conviction was not based on any strategy. Instead, trial counsel’s belated

investigation combined with an excessive case-load prevented any




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following-up on what was by trial counsel’s own admission an incomplete

investigation. Id.

     Trial counsel’s failure to investigate and uncover multiple grounds

upon which to impeach Santana, including prior inconsistent statements,

publicly available records raising questions as to his mental health, and

his prior convictions, is made all the more glaring by Santana’s critical

role in the State’s case against Cruz-Garcia. In closing, the State made

clear that its only eyewitness’s testimony was key. 23 RR 98. As an

unindicted accomplice, Santana’s testimony could and should have been

aggressively impeached. Cruz-Garcia was therefore prejudiced by trial

counsel’s failure to investigate and impeach the State’s star witness, thus

leaving the jury to believe that Santana was a reliable witness. Hence,

trial counsel was constitutionally ineffective for failing to impeach the

State’s star witness. Grant, 709 F.3d at 234 (failure to discover star

witness was on parole and use conviction to impeach him was ineffective

assistance of counsel).




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        3.        Failure to investigate Angelita Rodriguez.

             a.     Failure to investigate lies about Cruz-Garcia
                    leaving suddenly.

     As set forth supra § I.C, Rodriguez was not truthful when she

testified that Cruz-Garcia’s departure to the Dominican Republic shortly

after A.’s disappearance was sudden and unplanned. At that time, Cruz-

Garcia’s father had been building a house for the couple to live in together

in the Dominican Republic. Ex. 81−91. The evidence showing that Cruz-

Garcia intended to imminently return to the Dominican Republic was

readily available from witnesses there. Id. However, because trial

counsel failed to conduct a reasonable investigation in the Dominican

Republic, trial counsel failed entirely to uncover this evidence.

             b.     Failure to investigate testimony about asking for
                    a divorce from Cruz-Garcia.

     As detailed supra § I.C, Rodriguez testified falsely that she and

Cruz-Garcia ended their relationship when he returned to the Dominican

Republic. In fact, Cruz-Garcia and Rodriguez continued to live as

husband and wife in Rodriguez’s mother’s home in the Dominican

Republic. Ex. 15. This was documented in a law enforcement report that

counsel failed to review and would have also been easily discoverable had




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trial counsel conducted a reasonable investigation in the Dominican

Republic. Ex. 15.

     Trial counsel also failed to impeach Rodriguez with her prior

inconsistent statements. Indeed, rather than impeaching her, Cornelius

bolstered much of Rodriguez’s false testimony. Cornelius sought to

impeach her by pointing to a 2008 interview in which she stated that

Cruz-Garcia had not answered her when she asked whether he was

involved in A’s death. 20 RR 111–12. In doing so, however, Cornelius

confirmed that Rodriguez had told the police “this entire story except for

that,” suggesting that Ms. Rodriguez was being untruthful only about

Cruz-Garcia’s purported confession. Id. at 112. Rodriguez explained her

misstatement at the 2008 interview by saying: “I was scared.” Id.

     As detailed supra § I.C, Rodriguez testified falsely to a number of

material facts, including Cruz-Garcia’s alleged confession and their

relationship after he returned to the Dominican Republic. In August

1993, Rodriguez told the FBI she “had no knowledge about the

disappearance of [A].” Ex. 73. And in 1994, she remained adamant that

Cruz-Garcia “never admitted any involvement in [A’s] disappearance”

and that she did “not believe his departure had anything to do with [A].”




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Ex. 37. Trial counsel failed to bring any of these prior inconsistent

statements to the jury’s attention.

     Had they performed an adequate investigation, trial counsel could

have broadly impeached Rodriguez, exposing her general untruthfulness

about Cruz-Garcia to the jury. Of significance, Rodriguez’s prior

inconsistent statements could have served to impeach her testimony

about Cruz-Garcia’s supposed confession, and at the very least have

avoided bolstering her false testimony. Had trial counsel done so, the jury

would have been much less inclined to believe that Rodriguez misspoke

in 2008 because she was scared. Rather, her prior inconsistent

statements would have exposed her to the jury as an unreliable witness.

        4.        Failure to investigate Diana Garcia and Arturo
                  Rodriguez.

             a.     Failure to develop evidence of Diana Garcia’s
                    consensual relationship with Cruz-Garcia.

     The key piece of evidence against Cruz-Garcia was the presence of

his DNA in the samples taken from Garcia’s vaginal swab and

underwear. 23 RR 93. Based on Garcia’s allegation that one of the

assailants sexually assaulted her, the DNA appeared to link Cruz-Garcia

to the time and place of A.’s disappearance. There was substantial

evidence, however, that Cruz-Garcia and Garcia had a consensual sexual


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relationship. Specifically, several associates of Garcia and Cruz-Garcia

could and would have testified that it was well known that they

maintained a consensual sexual relationship. Ex. 21 at 1; 22 at 1; 23 at

2. Specifically, Cesar Rios, and his brothers Hector Saavedra and Jose

Valdez, knew Garcia and Cruz-Garcia well and could have testified that

they had a consensual sexual relationship. Id. That relationship would

have explained the presence of Cruz-Garcia’s DNA and thus prevented

the State from arguing to the jury that Cruz-Garcia must have been one

of the assailants on the night of A.’s disappearance.

      Rios, who was identified in the offense report from 1992 as an

associate of Garcia, remembers speaking briefly with someone from the

defense team. Ex. 21 at 2. After that brief conversation, however, he was

never contacted again. Id. All three of the brothers were available to

testify at Cruz-Garcia’s trial, had the defense team asked them to. Ex. 21

at 2; 22 at 2; 23 at 2.

      In their affidavits, trial counsel squarely placed blamed Cruz-

Garcia for their failure contact and follow-up with witnesses who could

have testified to Garcia and Cruz-Garcia’s relationship. These claims,

however,    cannot    withstand scrutiny. In his affidavit,         Gradoni




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acknowledges that Rios was identified as a possible witness based on the

1992 offense report, 5 CR 958, but Cornelius and Gradoni both claimed

that they could not locate or interview Rios. 4 CR 944–45; 5 CR 958.

These claims, however, are contradicted by Rios’s own recollection of

having briefly been contacted by the defense team. Ex. 21.

      According to the investigator billing records, the bulk of trial

counsel’s efforts to locate witnesses occurred in June 2013, during jury

selection and while Cornelius continued to bill several hours each day to

other cases. Ex.7 at 46–49; 138. That jury selection had already begun by

the time trial counsel attempted to locate and reach out to witnesses,

combined with Cornelius’s extensive billing to other cases, lend

plausibility to Rios’s recollection that the defense team never followed-

up.

      In his affidavit, however, Cornelius attempts to place the blame on

Cruz-Garcia for trial counsel’s failure to locate Rios, asserting that (in his

two meetings with Cruz-Garcia), “[h]e never told us about the alleged

witnesses Cesar Rios [or his brothers] Jose Valdez, or Hector Saavedra.”

4 SHCR 944. Yet, by his investigator’s own admission, Cornelius did not

need Cruz-Garcia to tell him that Rios was a potentially important




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witness: he was listed as an associate of Garcia in the 1992 offense

reports. 5 SHCR 958. The background check Gradoni claims to have run

on Rios would have also turned up his family members. Id. Indeed, it is

difficult to imagine how Cruz-Garcia could have assisted trial counsel in

locating Rios and his brothers, given that Cruz-Garcia had not lived in

the United States in over 20 years aside from in pre-trial detention.

     Rather, trial counsel’s failure to locate and/or follow-up with

witnesses who could have testified to Cruz-Garcia and Garcia’s

relationship   is attributable to trial counsel’s failure to begin their

investigations in advance of jury selection or by seeking a continuance.

Trial counsel’s affidavits and Cornelius’s billing records make clear that

trial counsel did not dedicate sufficient time to investigation ahead of

Cruz-Garcia’s trial. The defense was thus prevented from presenting

evidence of a consensual relationship between Cruz-Garcia and Garcia.

     Had trial counsel presented this evidence, the State’s case would

have been damaged beyond repair. The State described the DNA

evidence as “the most damning corroboration for the defendant in this

case[.]” 23 RR 36. The State argued to the jury that Cruz-Garcia must

have sexually assaulted Garcia because there was no evidence of any




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consensual relationship. But for trial counsel’s deficient performance,

that very evidence would have been presented to the jury.

           b.    Failure to develop evidence that Garcia and
                 Rodriguez were still selling drugs.

     As set forth supra §§ I.D and IV.C, the State’s theory of Cruz-

Garcia’s motive for assaulting Garcia and Rodriguez was retaliation

because they had stopped selling drugs for him. Garcia and Rodriguez

both testified that they had stopped selling drugs a month before A. was

kidnapped. 18 RR 133–34, 204; 19 RR 33. The State presented their

testimony not only as evidence of Cruz-Garcia’s motive, but also to

portray Garcia and Rodriguez as a hardworking couple who had recently

left their criminal past behind to raise their young son. 18 RR 33.

     Evidence from police reports, however, establish that Garcia and

Rodriguez lied to law enforcement. Ex. 24 at 1−2. Not only had the couple

not stopped dealing drugs; they were dealing drugs on the night of A.’s

disappearance and from the apartment from which A. was taken. Id.

These police reports were easily discoverable to trial counsel, had trial

counsel reviewed the State’s file. Had trial counsel presented evidence

that Garcia and Rodriguez were dealing on the night that, and from the

apartment from which A. was taken, the State would have had no theory



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as to motive for Cruz-Garcia’s involvement. Instead, the jury could

readily have tied the assault and A.’s disappearance to Garcia and

Rodriguez’s continued involvement in dangerous criminal activity.

              c.     Failure to develop evidence that Garcia was an
                     unreliable witness.

      As set out supra § I.D, Garcia testified falsely to a number of

material facts, including her relationship with Rodriguez, her son’s

paternity, and living arrangements. This information was uncovered by

law enforcement and available to trial counsel had they reviewed the

State’s file. See, e.g., Ex. 24.

         5.        Failure to investigate law enforcement’s theory of
                   the case at trial.

              a.     Failure to investigate cigar.

      The cigar found in Garcia’s apartment was one of the State’s key

pieces of evidence. The State contended to the jury that the cigar was left

by one of the assailants and, because Cruz-Garcia’s DNA was on it, it

therefore inculpated Cruz-Garcia. 18 RR 35−36, 80; 21 RR 119.

      During the original 1992 investigation, though, the police discarded

the possibility that the cigar was left by one of the assailants; in a

recorded statement, HPD stated that they did not believe that the cigar

was tied to the assault and assailants. Ex. 64 at 7; 65. Had trial counsel


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conducted a sufficient investigation, including by reviewing the State’s

file, trial counsel could have located this recording. As a result, trial

counsel failed to present evidence that the police had concluded in 1992

that the cigar was not linked to one of the assailants and, therefore, did

not establish Cruz-Garcia’s identity as one of the assailants on the night

of A.’s disappearance. In combination with the information from Rios and

his brothers about Cruz-Garcia and Garcia’s consensual relationship, the

State would have been unable to rely on the DNA to tie Cruz-Garcia to

A.’s disappearance and death.

           b.    Failure to investigate whether police believed
                 Garcia and Rodriguez.

     As discussed supra § I, law enforcement witnesses testified that

very soon after A.’s disappearance, Garcia and Rodriguez cooperated fully

and were truthful with law enforcement. 18 RR 119; 19 RR 66, 67, 74. In

fact, according to numerous police reports, Garcia and Rodriguez were

uncooperative throughout the investigation and law enforcement did not

trust their account of the circumstances of A.’s disappearance. Ex. 19; 64;

66. In 1993, months after A.’s disappearance and the discovery of his

body, one investigating officer even summarized: “Diana [Garcia] and

Arturo [Rodriguez] have been untruthful throughout the investigation



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with regards to the events inside the apartment and the identity of the

suspects.” Ex. 19 (emphasis added). These reports were available to trial

counsel as part of the State’s file, but because the State failed to review

the State’s file, law enforcement’s false testimony was unchallenged.

     The false testimony from law enforcement personnel was not

limited to the credibility of Garcia and Rodriguez. As detailed supra §

I.D, law enforcement further misrepresented to the jury that the

investigation had never considered other theories of A.’s disappearance.

According to police records, however, several demands for ransom were

made. Ex 17; 18. Law enforcement also documented uncovering a “family

secret” regarding A.’s paternity. Ex.97.

     But based on law enforcement false testimony, the jury was left

with the inaccurate impression that there were no other theories as to

A.’s disappearance, such as a kidnapping for ransom or being taken by

his biological father. Had trial counsel conducted an adequate

investigation, trial counsel would have located the police reports

concerning the issues above and could have developed an alternative

theory of the case. Instead, false testimony went unchallenged and

defense counsel presented no case on rebuttal at the guilt phase.




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        6.    Failure to challenge subpoenas.

     Cruz-Garcia’s rights to due process and a fair trial under the Fifth,

Sixth, and Fourteenth Amendments were violated when the prosecutors

engaged in misconduct by issuing improper, extra-judicial subpoenas. In

criminal cases during pre-trial, the State may not issue subpoenas to

discover documents in third-party possession. Martin v. Darnell, 960

S.W.2d 838, 842 (Tex. App.—Amarillo 1997, no pet.).

     Here, during pre-trial, the prosecutors issued non-judicial

subpoenas that were meant to secure attendance of witnesses at trial to

order production of documents. For example, the prosecutors issued a

subpoena to the FBI Puerto Rico Field Office for “a certified copy of the

complete file on former inmate Cruz-GarciaCruz Garcia [sic].” Ex. 36.

This was a misuse of subpoena power.

     The prosecutors misused subpoenas to order production of

countless documents they otherwise could not have obtained, such as

Cruz-Garcia’s medical records. The prosecutors then used the evidence

obtained through the improper use of the subpoena power, such as prison

records from Puerto Rico, to argue—and prevail—on the argument that

Cruz-Garcia presented a future danger. Upon information and belief,




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prosecutors did not provide copies of any of the documents they obtained

to defense counsel. Cruz-Garcia’s trial was thus undermined by

prosecutorial misconduct, which trial counsel failed to identify and

challenge, thus constituting deficient performance.

     E.        Trial counsel’s investigation, preparation,              and
               performance during the punishment phase                  was
               ineffective.

     As detailed in prior sections, trial counsel failed to allocate and

devote an adequate time to investigate and prepare for Cruz-Garcia’s

trial. Trial counsel did not retain a mitigation specialist, nor consult with

any relevant experts. The defense’s entire penalty case, presented

through four lay witnesses, lasted just one day and accounted for less

than 75 pages of the transcript. 26 RR 8–55, 67–92. A wealth of

mitigation evidence uncovered in post-conviction make clear that

“effective counsel would have painted a vividly different tableau of

aggravating and mitigating evidence than that presented at trial.”

Andrus, 140 S. Ct. at 1886.

          1.     Trial counsel’s mitigation presentation was anemic
                 at best.

     Trial counsel called only four lay witnesses at the punishment

phase. Cruz-Garcia’s younger brother Joel had to pay his own way from



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the Dominican Republic to Houston, and trial counsel showed little to no

interest in him and barely prepared him to testify. Ex. 85 at 10–11. Joel’s

direct examination lasted only twelve pages of transcript, including

lengthy objections from the State. 26 RR 32–43. Because trial counsel

were unprepared and had not investigated Cruz-Garcia’s life history,

they failed to elicit helpful testimony. Instead, Joel provided only the

briefest chronology of Cruz-Garcia’s childhood and inadvertently made it

appear that he had experienced a pleasant childhood in the Dominican

Republic. Id. Not only was the testimony not particularly mitigating; the

false impression it gave was actually aggravating. See Andrus, 140 S. Ct.

at 1883 (“Counsel’s introduction of seemingly aggravating evidence

confirms the gaping distance between his performance at trial and

objectively reasonable professional judgment.”).

     The second witness, Cruz-Garcia’s wife Mireya, testified via a

shoddy video link from the Dominican Republic. Her testimony lasted

fewer than ten pages and, due to the poor connection and problems with

interpretation, her testimony was extremely difficult to understand. 26

RR 11–20.




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     Moreover, Mireya could not testify to Cruz-Garcia’s childhood or his

life leading up to the offense, and instead generally described their life in

the Dominican Republic. Id. Cruz-Garcia’s then 17-year-old son also

testified, but because Cruz-Garcia went to prison when he was five years

old, there was little he could offer. 26 RR 67–79.

     The defense’s final witness was Angel Mesa, a teenager who had

known Cruz-Garcia while he was in pre-trial detention, and whom Cruz-

Garcia had positively influenced. 26 RR 80–86. Mesa was not identified

or contacted by the defense; instead, he came to the courtroom and asked

to testify after hearing about the trial. Id. at 81. The jury foreman later

stated that he was by far the most persuasive defense witness. 35 RR Def.

Ex. 4; Ex. A at 12 (“[I]f it hadn’t been for that kid, it would have been a

much easier decision for me.”).

        2.    Trial counsel failed to retain a mitigation specialist,
              despite the Texas Guidelines requiring one.

     Texas Guideline 3.1.A.1 provides: “The defense team should consist

of no fewer than two attorneys qualified in accordance with GUIDELINE

4.1, an investigator, and a mitigation specialist.” ABA Guideline 4.1.A.1

contains substantially identical language. The commentary to the ABA

Guidelines emphasizes the importance of a mitigation specialist:



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          A mitigation specialist is also an indispensable member
    of the defense team throughout all capital proceedings.
    Mitigation specialists possess clinical and information-
    gathering skills and training that most lawyers simply do not
    have. They have the time and the ability to elicit sensitive,
    embarrassing and often humiliating evidence (e.g., family
    sexual abuse) that the defendant may have never disclosed.
    They have the clinical skills to recognize such things as
    congenital, mental or neurological conditions, to understand
    how these conditions may have affected the defendant’s
    development and behavior, and to identify the most
    appropriate experts to examine the defendant or testify on his
    behalf. Moreover, they may be critical to assuring that the
    client obtains therapeutic services that render him cognitively
    and emotionally competent to make sound decisions
    concerning his case.

          Perhaps most critically, having a qualified mitigation
    specialist assigned to every capital case as an integral part of
    the defense team insures that the presentation to be made at
    the penalty phase is integrated into the overall preparation of
    the case rather than being hurriedly thrown together by
    defense counsel still in shock at the guilty verdict. The
    mitigation specialist compiles a comprehensive and well-
    documented psycho-social history of the client based on an
    exhaustive investigation; analyzes the significance of the
    information in terms of impact on development, including
    effect on personality and behavior; finds mitigating themes in
    the client’s life history; identifies the need for expert
    assistance; assists in locating appropriate experts; provides
    social history information to experts to enable them to conduct
    competent and reliable evaluations; and works with the
    defense team and experts to develop a comprehensive and
    cohesive case in mitigation.

         The mitigation specialist often plays an important role
    as well in maintaining close contact with the client and his
    family while the case is pending. The rapport developed in




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     this process can be the key to persuading a client to accept a
     plea to a sentence less than death.

           For all of these reasons the use of mitigation specialists
     has become part of the existing ‘standard of care in capital
     cases, ensuring high quality investigation and preparation of
     the penalty phase.

ABA Guideline 4.1.A.1 Cmt., 31 HOFSTRA L. REV. at 960 (internal

citations and quotation marks omitted).

     Contrary to the Texas and ABA Guidelines, trial counsel did not

retain a mitigation specialist. In his affidavit, Cornelius claimed that

although it was true that he did not have a mitigation specialist, the

defense team “had my experience, which predates mitigation experts, at

least in Harris County.” 4 SHCR 947. He also notes that he had an

investigator on the case. Id. The Texas Guidelines are clear, however,

that an investigator is not enough; rather, “[t]he defense team should

consist of no fewer than two attorneys . . . , an investigator, and a

mitigation specialist.” Texas Guideline 3.1.A.1 (emphasis added). The

Texas Guidelines do not support Cornelius’s suggestion that either he or

his investigator could have somehow worn two hats, and also taken on

the role of mitigation specialist.

     Cornelius also claimed that “all of the ‘Mitigation Experts’ in

Harris, County, of which there were not many at that time, refused to


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take cases for the money the County was willing to pay,” which was

$75.00/hr. 4 SHCR 947. Cornelius’s billing records, however, reveal

otherwise. In the Jeffrey Prevost death penalty case, he employed a

mitigation specialist from September 2012 to April 2014, who was based

in Houston, and worked for the $75.00/hr. rate. Ex. 109. Again,

Cornelius’s affidavit simply is not credible in light of his recently

discovered billing records.

        3.    Trial counsel botched the minimal effort they made
              to introduce mitigating evidence.

     Trial counsel also attempted to introduce evidence of Cruz-Garcia’s

religiosity through Bible study certificates and his assistance to federal

law enforcement agencies such as the FBI, DEA, and INS through a

Puerto Rican police officer, who was a state’s witness. 26 RR 56–58; 24

RR 68–75. This evidence, however, was excluded by the trial court on

hearsay grounds. Id. Trial counsel was ineffective for failing to do the

legwork necessary to introduce the evidence in a form that would not

have drawn a sustained objection from the State.




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            4.     Trial counsel failed to consult with any experts,
                   except for a psychologist who did seven hours of
                   work.

         When Cornelius sought approval for his $65,000.00 flat fee, he told

the court that “[i]n all likelihood there will be a multitude of expert

witnesses on many different elements of the various cases.” 56 Ex. 7 at 14.

The only expert Cornelius sought funding for, however, was a

psychologist named Dr. Susana Rosin. According to his funding motion,

Dr. Rosin was needed for “testing, review of documents, consultation, and

possible testimony” relating to “issues of mental health and mitigation.”

2 CR 387. In support of the motion, counsel attached a letter from Dr.

Rosin in which she stated that, based on her understanding of her role

on the case and its complexity, her role would involve approximately sixty

to seventy hours of work. Id. at 390. The trial court approved funds up to

$17,400 for this purpose. Id. at 389.

         Yet, trial counsel barely used Dr. Rosin. After receiving approval

for expenses for Dr. Rosin in July 2012, counsel did not have her perform

any work on the case for nearly a year, until May 2013, just before trial.

Ex. 7 at 21. Other than a phone call with the investigators on January 6,


56   It is unclear what Cornelius meant by the “various cases.”




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2013 (for which Dr. Rosin did not bill time), Dr. Rosin reviewed records

for two hours on May 9, 2013, and evaluated Cruz-Garcia for three hours

on May 15, 2013. Id. She then spoke with counsel for an hour on June 27,

2013, and prepared a report in an hour on July 1, 2013, a week before

opening statements in Cruz-Garcia’s trial. Id. Thus, in total, Dr. Rosin

performed only seven hours of work on Cruz-Garcia’s case, all shortly

before trial. What little work was performed by Dr. Rosin appears to have

been unused by trial counsel.

        5.    Trial counsel failed to conduct an investigation in
              Puerto Rico.

     In his motion requesting approval for his $65,000.00 flat fee,

Cornelius emphasized Cruz-Garcia’s ties to Puerto Rico, telling the court

that the case “involves numerous extraneous offenses, both in Texas and

in Puerto Rico,” and that “[d]efendant’s family lives in Puerto Rico, as

well as in Texas and other cities.” Ex. 7 at 13. When he sought funding

his investigator, Cornelius told the court “investigations will in all

likelihood be required to go to Puerto Rico to properly investigate this

case,” as “Defendant’s family lives in Puerto Rico and there are alleged

extraneous offenses in Puerto Rico that the State intends to attempt to

prove at punishment in this case.” 2 CR 384–85.



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     Yet, no one from the defense team ever travelled to Puerto Rico, nor

were any records requested by trial counsel from Puerto Rico. Trial

counsel even failed to uncover records that were within the State’s

possession and accessible as part of the State’s open file policy. See §

VI.B.7.

     Addressing why no one from the defense team travelled to Puerto

Rico, where Cruz-Garcia was previously incarcerated and where he spent

much of his life, Cornelius stated in his affidavit that he “was confident

that the investigators would do a very professional and competent job

and nothing has convinced me otherwise.” 4 SHCR 947. As with so much

else in that affidavit, Cornelius seeks to the shift blame for the problems

at Cruz-Garcia’s trial on to others, in this case his investigator. Gradoni

did not address the question in his affidavit. In a subsequent letter, he

Gradoni said only: “I have no recollection of suggesting we travel to

Puerto Rico.” Ex. 8 at 1. Clearly, trial counsel had no strategic reason for

failing to conduct an investigation in Puerto Rico.

          6.   Trial counsel failed to investigate extraneous
               offenses and future dangerousness.

     Trial counsel failed to conduct a meaningful investigation into the

extraneous offenses offered by the State and into the issue of future



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dangerousness generally. Indeed, Cornelius’s affidavit alone makes that

clear: “We were not going to win on future dangerousness, in my opinion,”

he wrote. 4 SHCR 946. Yet, Cornelius did not describe any investigative

effort explaining this determination. Instead, trial counsel appears to

have based this conclusion on their failure to succeed on the future

dangerousness special issue in prior cases, and trial counsel’s apparent

belief that HCDAO would not seek the death penalty unless there were

an insurmountable case for future dangerousness. Id. (“[T]he State does

not seek the death penalty on cases where the crime is an aberration or

where the defendant does not have a history.”).

     As discussed infra VI.E.7, there was significant evidence available

to combat the State’s future dangerousness case. Much of the testimony

concerning extraneous offenses was contradicted by forensic evidence

and prior witness statements. Significantly, there was significant record-

based evidence that Cruz-Garcia had been a model prisoner in Puerto

Rico, so much so that he was given the keys to parts of the prison he was

incarcerated in. Trial counsel not only failed to present evidence showing

that Cruz-Garcia was not a future danger; trial counsel did not even

attempt to uncover any such evidence. As the Supreme Court held in




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Andrus, it is “hardly the work of reasonable counsel” to “relinquish[] the

first of only two procedural pathways for opposing the State’s pursuit of

the death penalty” by failing to investigate future dangerousness. 140 S.

Ct. at 1885.

        7.     Had trial counsel performed an adequate
               investigation, the evidence presented at trial would
               have been very different.

     An adequate mitigation investigation, conducted with the

assistance of a mitigation specialist, would have uncovered a substantial

amount of mitigation evidence. Likewise, there was a substantial case to

be made on the future dangerousness special issue. Among other things,

Cruz-Garcia had been a model prisoner in Puerto Rico and was widely

praised by the prison personnel as a positive influence on other prisoners.

Much of the State’s evidence concerning extraneous offenses was wildly

contradictory to the forensic and documentary evidence. There is a

reasonable probability that, had the evidence detailed below been

presented at the punishment phase, at least one juror would have

reached a different conclusion regarding either the mitigation or future

dangerousness special issue.




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           a.        An adequate mitigation investigation by a
                     mitigation specialist would have allowed trial
                     counsel to present evidence of Cruz-Garcia’s life
                     history

                i.     Early life   in   Santo   Domingo,     Dominican
                       Republic.
     Cruz-Garcia was born on July 8, 1967, in the capital of the

Dominican Republic, Santo Domingo. His father, Valerio “Hungría”

Julian Cruz Santos, had worked tirelessly to build a successful life for

himself and his young family in Santo Domingo. Hungría was born and

raised in the small fishing village of Boba, Dominican Republic. At the

time, there was no electricity, no running water, and no highway that

reached the village. Hungría was raised in poverty, in a place where even

children were required to work both farming and fishing in order for

families to survive. The fragile wooden houses were frequently damaged

or destroyed in storms, forcing families to repair or relocate. Making

things even more difficult was the fact that Hungría’s parents divorced

when he was young and his father suffered from some form of mental

illness. As a teenager, Hungría determined to make a better life for

himself. He left Boba at 15 years old and began work driving a bulldozer.

He also played the accordion in the streets for change. He moved to Santo

Domingo and, at approximately 20 years old, he joined the Dominican


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navy, training as a medic. He also began to work in a neighborhood clinic

on his days off from the military. While in Santo Domingo, he met a

beautiful young girl and asked her family to allow her to marry him.

Dalia Margarita Garcia Martinez was just 14 years old and although her

family was not affluent, she was raised in the city and was more cultured

than Hungría. However, Hungría had a good job with the navy and

Dalia’s parents consented and the two started a family. They had a

daughter, Noemí, and then a son, Obel. See, e.g., Ex. 44; 84; 89; 110.

     Shortly after Cruz-Garcia was born, his father purchased a parcel

of land near the home of Dalia’s parents and built a modest home there.

Dalia was a stay-at-home mother and Hungría’s military service allowed

him to come home most nights. Hungría also put his medical knowledge

to work providing advice and homeopathic remedies to people in the

neighborhood who could not access hospital services. The family attended

a Catholic church.

     Cruz-Garcia was very close to his mother, napping in her bed and

sharing his sweets with her. He has fond memories of that time and his

older sister, Noemí, remembers him being his mother’s favorite. A




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younger sister, Natalia, and then a brother, Joel, soon joined the family.

See, e.g., Ex. 44; 90; 100.

      It appeared that Hungría had achieved all he had set out to

accomplish. He escaped the poverty and drudgery of Boba, married a

beautiful woman, had a successful career that provided a good income,

lived in a house with modern amenities, and was able to send his two

oldest children to a good primary school where they were receiving a

much better education than that available in his village. Any problems

in the household and the marriage were hidden. See, e.g., Ex. 44; 90; 100.

      All that Hungría achieved, however, was lost one fateful day when

Cruz-Garcia was a young child. While Hungría was changing a flat tire

on the side of the road, he was struck by a passing truck. He was severely

injured in the accident, with broken bones and internal injuries that

required multiple surgeries and a long recovery in the hospital. While he

was hospitalized, Hungría was visited by women with whom he was

having affairs and Dalia was confronted with the fact that her husband

had been regularly unfaithful. Those who knew her then remember her

fury and devastation. Once Hungría was sufficiently recovered to return

home, Dalia left her husband and children and moved to her parents’




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home and began making plans to permanently relocate to Venezuela and

start a new life. Hungría never fully recovered from his injuries and he

was unable to return to his career in the navy. He was given a disability

pension, but it was not nearly enough to maintain the family’s lifestyle.

Hungría briefly tried to maintain the status quo, hiring a neighborhood

woman to help with the house and the children (and fathering a child

with her), but it was impossible. After struggling for a couple of years,

Hungría left Santo Domingo and returned to Boba, moving his four

children in with his mother. See, e.g., Ex. 42; 44; 84; 89; 110.

              ii.   Youth in Boba, Dominican Republic.
     The    psychological   effects   of   so   much   change      cannot   be

overemphasized. Cruz-Garcia was just nine or ten years old. His mother

had abandoned him. His father was a changed man, with no career, no

money, and no house. Cruz-Garcia was taken from the only home he had

ever known in the capital and moved to a small, rural village where he

lived in a tiny two-bedroom, wooden house with a zinc roof that had no

running water and no electricity. The family cooked over a fire. A latrine

in the backyard served as the family’s toilet and a nearby hole provided

water for drinking and bathing. The well would become contaminated




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during storms by runoff from the latrine, as well as by rat urine. Cruz-

Garcia left a good school to continue his education in a rural school that

taught the basics in half-day increments because all the children in the

village were expected to work the other half of the day. Any evening

studies were done after church by the light of an oil lamp. There were no

grocery stores and no medical clinic. See, e.g., Ex. 85; 87; 89; 90; 91; 92;

93; 110.

     The people in Boba were very different from what Cruz-Garcia had

become accustomed to in Santo Domingo. While Cruz-Garcia had been

raised catholic, the people in Boba practiced an Evangelic religion. They

were poor and superstitious. Everything in Cruz-Garcia’s life was

upended. See, e.g., Ex. 90; 110.

     As Hungría reentered the life he had fled years earlier, his son was

forced to adopt a completely new lifestyle. The boy who was spoiled and

cuddled by his mother was now required to wake before dawn every day

and accompany his father as he went out onto the ocean to fish in a yawl.

It was hard and dangerous work, as the sea could be unpredictable and

the boat was small. On more than one occasion Cruz-Garcia saved his

father’s life during fishing accidents. In one instance, Cruz-Garcia’s




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father fell from the boat and became tangled in the fishing nets. In

another, the fishing boat capsized and Cruz-Garcia pulled his father from

the water. Cruz-Garcia learned how to make fishing nets and how to

swim in strong currents and waves. After fishing in the morning, Cruz-

Garcia attended school in the afternoon. He would then go back out

fishing until dark. He also helped with planting, tending to, and

harvesting the crops grown on his grandmother’s plot of land. Cruz-

Garcia began to cook and to care for his younger siblings, especially the

baby, Joel. There was little time for children’s games. See, e.g., Ex. 39;

42; 43; 44; 85; 92; 110.

      There was no telephone in Boba. Hungría periodically spoke with

Dalia in Venezuela when he went to the capital to collect his pension but

the children had no way to hear her voice. From her work as a maid,

Dalia sent some money and clothes to her children but that could never

replace a mother’s love and presence in Cruz-Garcia’s life. See, e.g., Ex.

89; 90; 110.

      As his father attempted to rebuild his life somewhat, Cruz-Garcia

became his companion, friend, and co-worker. Hungría taught his son

how to fish and farm. After a time, Hungría felt strong enough to open a




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clinic in the village where he could use his skills as a medic to help the

villagers who had no access to a doctor. Cruz-Garcia helped his father

give injections and clean and suture wounds. Cruz-Garcia was no longer

treated as a child, but as an adult who was expected to work side-by-side

with his father. See, e.g, Ex. 85; 9;, 110.

      Although their relationship was close, Hungría was a very strict

father who did not demonstrate love. Ex. 85 at 13; Ex. 94 at 2. He

demanded unquestioning obedience from Cruz-Garcia and punished

disobedience severely. Ex. 85 at 13; Ex. 94 at 2. Hungría drank heavily

and on more than one occasion crashed a car in a ditch because he was

driving drunk. Ex. 85 at 13. Cruz-Garcia sometimes accompanied

Hungría when he was drinking with his friends and he (and later his

younger brother, Joel) tried to stop him from responding to medical calls

when inebriated. See, e.g., Ex. 85; 94; 110.

      The homes in Boba were built of wood and had zinc roofs. Boba was

subjected to numerous tropical storms and damage to homes or their

complete loss during a storm was frequent. Like everyone in the village,

Cruz-Garcia learned to live with the daily uncertainty and to go out and

repair whatever damage occurred as quickly as a storm passed. The




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villagers all helped each other, with reconstruction or whatever else was

needed. Cruz-Garcia’s family was known as particularly generous with

their time, labor, and food. See, e.g., Ex. 84; 87; 92; 110.

      While living in his grandmother’s house, Cruz-Garcia fell from the

roof while attempting to patch a hole left by a storm. He suffered a head

injury so severe that his father felt unable to deal with it himself.

Hungría transported his son via boat and truck to the closest town with

a hospital, Nagua. For some time afterwards, Cruz-Garcia suffered

headaches and was limited in his ability to read and write at school. See,

e.g., Ex. 84; 92; 110.

      In Boba, Hungría met his second wife, Dorca Cruz Faña. She was

single and had no children of her own. Hungría married Dorca, left his

children with his mother, and moved to a nearby village, Bella Vista de

Boba, with Dorca. Bella Vista de Boba was just as primitive as was Boba,

with no running water or electricity. Dorca was jealous of Hungría’s

relationship with the children from his previous marriage to Dalia. After

Dorca had her first child, the other children joined the new family but

they were never loved by Dorca. Because Hungría wanted to please his

new wife, he distanced himself from his oldest son and took Dorca’s side




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in any dispute, beating the children if she said they had been disobedient

or disrespectful to her. Cruz-Garcia’s younger brother, Joel, would leave

the house almost every day to go back to his grandmother in Boba and

escape Dorca’s wrath. Cruz-Garcia was still required to labor like an

adult, but he was no longer his father’s best friend. This new

abandonment was exceedingly painful and his sadness was obvious to his

friends. See, e.g., Ex. 85; 87; 93; 94; 110.

      When Cruz-Garciawas approximately 12 years old, his mother sent

for his older sister, Noemí, to join her in Venezuela. Cruz-

Garciadesperately wanted to go, too, and Dalia promised to arrange his

immigration paperwork and send for him as soon as possible. However,

Dalia never had any intention to bring her son to live with her. She lied

and told Cruz-Garciathat the reason she couldn’t bring him with her was

that his birth certificate had been lost. But Dalia confided to Noemí that

this was just a story she made up as an excuse and that she would never

bring either of her sons. Cruz-Garciawas rejected again by his mother

and now abandoned by his older sister. See, e.g., Exs. 85, 89, 90, 110.

      Left as the oldest child, with a stepmother who didn’t love him and

a father whose discipline had turned harsh, Cruz-Garciafound himself




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primarily responsible for his now four younger siblings. His step-mother

was a teacher at a distant village school, which meant that Cruz-Garcia

was responsible for ensuring that his two full siblings and two half-

siblings were fed and cared for. He cooked, cleaned, washed, and changed

diapers. This was in addition to his continued duties as a fisherman and

assistant in his father’s medical practice. There was neither time nor

money for additional schooling and, like many of his peers in the village,

Cruz-Garcia did not attend high school. See, e.g., Exs. 39, 85, 94, 110.

       When he was 18, Cruz-Garcia met Mireya Perez, a girl who was

visiting Bella Vista de Boba with her family. Although both maintained

that nothing inappropriate happened between them, because they were

found alone together in a room, they were forced to marry. Neither

Hungría nor Dorca approved of the marriage and Cruz-Garcia was

quickly forced to move out of his father’s home with his new wife. Shortly

thereafter, Mireya became pregnant with Cruz-Garcia first child. Cruz-

Garcia spent long hours every day fishing in order to support Mireya and

he also continued to help his father and stepmother. See, e.g., Exs. 87,

110.




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     At 19, Cruz-Garcia found himself in a common-law marriage to a

girl he barely knew with a baby on the way. In addition, he was expected

to continue to help support his father and his four younger siblings. All

this in the Dominican Republic, where the economy was depressed and

able young people were fleeing the country in droves in order to earn a

decent living. Cruz-Garcia decided it was time for him to join the

migration and go to Puerto Rico, where he hoped to be able to send money

back to his family and to earn enough to purchase his own fishing boat.

He planned to return to the Dominican Republic as soon as he was able

to support himself and his family. See, e.g., Exs. 85, 87, 110.

              iii.   Young adulthood in Puerto Rico.
     After consulting with Mireya, Cruz-Garcia left the Dominican

Republic and travelled to Puerto Rico. There, he immediately gained

employment on a coffee and banana farm in the area of Lares. Cruz-

Garcia lived in quarters on the farm with other laborers, mostly

Dominican immigrants. It was hard work, from sunup to sundown in

grueling heat. The terrain around Lares is mountainous and slippery and

the footing was treacherous. Huge ants lived in the banana trees and fell

on the workers as they harvested bananas. At the end of the day, Cruz-




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Garcia was exhausted, his fingers were black with sap, his skin was

swollen from insect bites, and he had earned $5.00. See, e.g., Ex. 110.

     Shortly after arriving in Puerto Rico, Cruz-Garcia called his father

at a nearby store in Nagua, Dominican Republic. Hungría told him that

although Mireya was carrying Cruz-Garcia’s child, she had taken up with

another man. Once again, Cruz-Garcia was abandoned by an important

woman in his life and he was devastated. He continued to work and send

money to his father, intending that it go to support his child, but the

relationship with Mireya and his reason to return to the Dominican

Republic was gone. See, e.g., Ex. 110.

     After a few months of backbreaking labor, Cruz-Garcia fled the

farm and went to Rio Piedras. He was alone, without money or contacts.

While standing by the side of the road, Cruz-Garcia saw someone he

knew, a neighbor from Bella Vista de Boba, Piruquinu “Piruca” Acosta.

Recognizing a friend in need, Piruca took Cruz-Garcia back to his home

in Rio Piedras and helped him get a job working in a café as a cook. There,

Cruz-Garcia met Angelita Rodriguez. See, e.g., Ex. 85, 91, 110.

     Angelita Rodriguez was also a Dominican immigrant, but she had

family in Puerto Rico. Cruz-Garcia and Angelita fell in love and in 1987,




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they were legally married. Cruz-Garcia continued to work hard to

support his new wife and to send money home. His work in the informal

economy involved cooking, landscaping, and collecting cans and metal.

However, he was unable to earn enough money to purchase a home or

guarantee a better life for himself or his family. See, e.g., Ex. 110.

      It was during this time that Cruz-Garcia met Carmelo “Rudy”

Santana Martinez, Angelita’s cousin. Rudy had been living in Houston,

Texas but had been deported back to the Dominican Republic. He had

recently come to Puerto Rico and was planning to return to Houston

where, he said, there was money to be made for someone willing to work

hard. What he meant was that there was money to be made in selling

drugs. See, e.g., Ex. 85, 110.

      Cruz-Garcia’s younger brother, Joel, also immigrated to Puerto

Rico, and established himself in the region of San Jose. He met Angelita

and Rudy. Cruz-Garciatold Joel that he was going to move with Rudy and

Angelita to the United States in order to improve their economic

situation. See, e.g., Exs. 85, 110.




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              iv.   Move to Houston, Texas.
     In 1989, Cruz-Garcia went with Rudy to Houston and Angelita soon

followed. At first, they all shared an apartment. Angelita had a small

business in the apartment, styling the hair of neighborhood Dominican

immigrants. Some months later, Rudy’s pregnant wife, Margarita

Martinez Zorrilla, moved to Houston and she and Rudy lived near Cruz-

Garcia and Angelita. Rudy introduced Cruz-Garcia to his contacts in the

drug business and Cruz-Garcia joined Rudy in selling cocaine. Soon both

men were also using the drug. See, e.g., Exs. 86, 110.

     In Houston, Rudy became violent and frequently beat Margarita.

Margarita was 20 years old, with no family, and she spoke no English.

She sought help from Obel, who would try to calm Rudy and would help

Margarita and her baby leave the apartment when things were out of

control. It was Cruz-Garcia who brought her diapers and food when Rudy

was away for days at a time. See, e.g., Ex. 86; 110.

     Cesar Rios, Jose Valdez, and Hector Saavedra remember Cruz-

Garcia as being a good friend with a big heart. Cruz-Garcia was close to

the brothers’ parents, and they remember him helping their family out

often. Cruz-Garcia would bring the family groceries or buy clothes and




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books for the brothers for school. He would ask Hector, who was younger,

about his grades and encourage him to study. When Hector did well in

school, Cruz-Garcia would give him pocket money or a small gift. See,

e.g., 20, 21, 22.

      Cruz-Garcia treated Cesar, Jose, Hector, and their parents like

family. They remember Cruz-Garcia sharing meals with them and being

part of their lives, much in the way they themselves would bring food and

support to their relatives in Mexico. His generosity struck them, both for

how generous Cruz-Garcia was (he gave Cesar his first car) and because

he never asked for anything in return. See, e.g., 20, 21, 22.

      Particularly memorable for the brothers was the time that Cruz-

Garcia helped Cesar get proper medical attention for a gunshot wound,

saving Cesar’s arm. Cesar had been shot, and his family took him to a

nearby hospital. Cruz-Garcia joined the family there, and the hospital

intended to amputate the arm. Cruz-Garcia helped get the family to a

different hospital, where Cesar was able to receive treatment that saved

his arm. Cruz-Garcia even paid for the medical treatment because Cesar

did not have any insurance. This was just another example of how the




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brothers felt that Cruz-Garcia treated them like family. See, e.g., 20, 21,

22.

      During this time in Houston, Cruz-Garcia continued to send money

to his father in the Dominican Republic. Hungría used this money to

support the family and also to begin building a house in Bella Vista de

Boba for Cruz-Garcia and Angelita, as they were planning to return to

the country once they had saved enough money to set up a good life there.

See, e.g., Ex. 81, 91, 110.

               v.    Return to Dominican Republic.
      Cruz-Garcia returned to the Dominican Republic in 1992. Shortly

thereafter, Angelita joined him. At first, they stayed in Santo Domingo,

with Cruz-Garcia’s aunt, Nilsa Garcia. The couple then stayed for a time

in Bella Vista de Boba, with Hungría and Dorca, helping work on the

house that was being constructed for them. Then they went to Higuey,

and stayed for a time with Angelita’s family. Cruz-Garcia worked both

fishing and driving a bus. Those that saw the couple didn’t note any

problems but, in 1993, Cruz-Garcia and Angelita decided to divorce. After

enduring the loss of another important relationship, Cruz-Garcia decided

to return to Puerto Rico. See, e.g., Ex. 81, 89, 91, 110.




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              vi.   Life in Puerto         Rico   and    the   Dominican
                    Republic.
     After returning to Puerto Rico, Cruz-Garcia again worked whatever

jobs were available. He learned that his first wife, Mireya was now living

there and they reconnected and rekindled their relationship. Mireya

remembers Cruz-Garcia as a devoted husband, who helped cook, clean,

and do laundry. He went out of his way to make Mireya feel special,

particularly on her birthday. Soon, she was pregnant with their second

child, Abel Cruz-Perez. See, e.g., Exs. 85, 87, 110.

     After Abel was born, he and his mother returned to the Dominican

Republic. Cruz-Garcia joined Mireya and his two sons there, living first

in the house in Bella Vista de Boba, and then in Santo Domingo. Both

boys remember a loving, attentive father. Mireya was the disciplinarian

and Cruz-Garcia was the fun parent. Cruz-Garcia began driving his own

commuter bus, in addition to fishing. He would come home from work

with toys for the boys or a flower for Mireya. See, e.g., Ex. 87; 110.

     Once, as Cruz-Garcia returned from fishing in his pickup truck, he

saw a crowd of people surrounding a badly injured child who had been




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struck by a car. Cruz-Garcia ran to help 6-year old Hector “Wandy”

Alexander Santos, picking him up, placing him in the truck, and driving

him to the nearest hospital. Now an adult, Wandy still has visible scars

from the accident. Both he and his mother believe Cruz-Garcia saved his

life that day. See, e.g., Ex. 43; 93; 110.

      While in Puerto Rico, Cruz-Garcia met an agent of the Immigration

and Naturalization Service (“INS”). That agent asked Cruz-Garciato

work as a confidential informant to help him uncover criminal activity in

Puerto Rico. Cruz-Garcia agreed and after he returned to the Dominican

Republic, he was regularly paroled into Puerto Rico at the behest of this

agent in order to assist the agency. Once, at the behest of this agent,

Cruz-Garcia was at sea with an INS target when the boat was rendered

inoperable during a tropical storm. Cruz-Garcia and the target were lost

at sea for 3 days and nearly died. They were ultimately rescued by a cargo

ship and returned to Puerto Rico. Once there, the agent was able to make

a critical arrest. Cruz-Garcia was paid for his work and used this money

to establish a real estate business in Santo Domingo. See e.g., Ex. 46; 85;

110; 111.




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      Having now found some success in business, via his cooperation

with INS, Cruz-Garcia took care of his family and others. One day as he

drove from Santo Domingo to Bella Vista de Boba, Cruz-Garcia spotted a

child begging on the side of the road. He pulled over and asked the child

where his parents were. The child responded that his parents were very

poor and that he needed help. Cruz-Garcia bought the child a meal and

clothes and then took him home. Cruz-Garcia talked to the parents about

the importance of educating their son and he stayed in touch with the

child and sent money to help the child and his family for some time

thereafter. See, e.g., Ex. 87, 110.

      Cruz-Garcia also continued to fish with his now elderly father.

Neighbors remember a day when the sea was very rough and the yawl

containing Cruz-Garcia and Hungría turned over several times. Hungría

became trapped under the boat and was too tired to swim to shore. Cruz-

Garcia dove under the boat to rescue his father and pulled him to shore.

See, e.g., Exs. 82, 110.

      Cruz-Garcia spent months at a time in Puerto Rico, apart from his

family in the Dominican Republic. He met Maria “Dorca” Altagracia

Capellan and they began a relationship and had a child, Obeliz Cruz.




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Dorca was aware of Cruz-Garcia’s family in the Dominican Republic but

she didn’t care. She loved Cruz-Garcia and the fact that he was such a

supportive and attentive father when he was in Puerto Rico. When Dorca

was ill with an ovarian cyst, Cruz-Garcia took her to the doctor and paid

for her surgery. He then cared for her while she recovered, carrying her

to bed and bathing her. While Dorca was at work, Cruz-Garcia cooked,

cleaned the house, and took care of her home business, selling phone

cards. He played with Obeliz and took her to daycare. See, e.g., Ex. 88;

110.

              vii. Incarceration in Puerto Rico.
       When working as a confidential informant in Puerto Rico, Cruz-

Garcia was arrested in 2001. He was sentenced to 16 years in prison,

during which he moved between several prisons on the island.

       Prison in Puerto Rico was eye-opening for Obel. He was forced to

come to terms with his addiction and he became sober. He also returned

to his religious roots. Daisy Melendez, a case worker supervisor at the

Bayamon Prison, remembers Cruz-Garcia and his transformation. Cruz-

Garcia talked with Ms. Melendez frequently and was remorseful and

repentant about his life before. He cried when he spoke about the damage




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his choices had done to his family. The prison promoted family unity and

Cruz-Garcia was visited frequently by Dorca and Obeliz, as well as Cruz-

Garcia’s oldest son, Obelito. All of them noted the difference in Obel. See,

e.g., Ex. 45; 83; 105; 106; 107; 108.

     The prison chaplains spent a lot of time with Cruz-Garcia and

considered him a valuable assistant. In addition to assisting with church

activities, Cruz-Garcia was asked to speak with new prisoners to help

maintain order in the prison. He set a good example for others and wasn’t

considered to be a problem, therefore he was given privileges such as

access to open areas. See, e.g., Ex. 45; 83; 105; 106; 107; 108.

     All of the information above could have been obtained prior to Cruz-

Garcia’s trial in 2013, by conducting in-person interviews with potential

witnesses in the Dominican Republic, Puerto Rico, and Houston who

were available and willing to testify.

           b.    A trauma expert could have testified to the effects
                 of Cruz-Garcia’s difficult childhood and early-
                 adult life.

     Trial counsel did not retain an expert on trauma who could have

explained to the jury, after reviewing the available social history evidence

set out above and interviewing the client, that what Cruz-Garcia




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experienced was more than just “a rough childhood.” Cruz-Garcia

experienced repetitive, prolonged, and cumulative traumatic events that

involved direct harm, exploitation, and maltreatment including neglect,

abandonment,      and      antipathy     by     primary     caregivers   during

developmentally vulnerable times in his life. As detailed in the

declaration of Claudia Degrati (Exhibit 110) and as summarized below,

the result is complex trauma.

     Cruz-Garcia suffers from complex post-traumatic stress disorder, a

psychological disorder that can develop in response to prolonged,

repeated experience of interpersonal trauma in a context in which the

individual has little or no chance of escape. Had trial counsel hired an

expert in the field, they would have been able to present the following

information to the jury.

     Years of repeated and prolonged adverse experiences profoundly

affected Cruz-Garcia. Chronic and repeated exposure to traumatic and

stressful   events   throughout        his    life,   particularly   during   his

developmental period, shaped and substantially impaired his cognitive,

psychological, and social functioning and behaviors. The most significant

traumatic events in Cruz-Garcia’s life, even among a myriad of others




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included the chaos, parental discord and maternal abandonment in

which he grew up.

      Cruz-Garcia’s father, even though Cruz-Garcia was only a child,

made him feel complicit in his secret liaisons. His father’s easy-going and

friendlier attitude, compared to his mother’s, made Cruz-Garcia idealize

his father. However, Valerio’s womanizing and drinking exposed Cruz-

Garcia to sexual abuse and started him early on the road to alcohol abuse

and addition. In doing so, Valerio normalized what were dangerous

situations for a child.

      Yet the most significant turning points in Cruz-Garcia’s life and

perhaps the most traumatic experiences for him were his father’s

accident and his mother’s abandonment not long after. Cruz-Garcia was

still a child when Valerio had such a serious accident that medical

personnel thought he was dead and placed him in the hospital’s morgue

until they realized he was not. Later, Dalia left the country and moved to

Venezuela, leaving her children without a mother. From then on, despite

his young age, Cruz-Garcia was propelled into a parental role, forced to

become a caretaker for his younger siblings. Cruz-Garcia also had to care

for his father, who would not allow anyone other than Cruz-Garcia take




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care of his personal hygiene. From then on, Cruz-Garcia was to become

not only his siblings’ father of sorts, but his father’s “crutch.” The

abandonment by his mother was repeated when his mother sent for his

older sister to join her in Venezuela, while falsely promising to send for

Cruz-Garcia soon. He suffered the loss of both mother and sister and was

left feeling unwanted and unworthy.

     After Cruz-Garcia’s father remarried, Cruz-Garcia was rejected

anew by his stepmother, who treated him and his siblings harshly. She

demanded that Cruz-Garcia’s father prioritize his relationship with her

and her biological children at the expense of his previously close

relationship with Obel.

     As described in detail throughout his life history above, the long list

of traumatic incidents to which Cruz-Garcia was exposed in childhood

and adolescence include: familial patterns of trauma and poverty; what

appears to be maternal mental illness and stress; extreme poverty and

related environmental deprivation; child labor, abandonment, and

neglect; repeated exposure to pesticides and other neurotoxins, including

alcohol as a child; early loss of sense of safety, loss of his father as a

protector and income-earner, loss of familiar surroundings when his




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family moved from the capital to a rural area, etc. Each of these

traumatic events alone may detrimentally impact an individual’s

cognitive and behavioral development, however, the presence and

interaction of multiple traumatic incidents had an exponential effect on

Cruz-Garcia’s development and subsequent functioning.

     Traumatic childhood experiences like those experienced by Cruz-

Garcia are the kind of adverse childhood experiences powerfully linked

to detrimental effects on adult health. The Adverse Childhood

Experiences (ACE) study by Kaiser Permanente and the Center for

Disease Control was based on a questionnaire regarding adverse

childhood experiences including       abuse,   neglect,   poverty,   family

dysfunction, and other traumatic experiences such as those of Cruz-

Garcia. The ACE study identified factors that set the stage for illness

including mental illness. The study confirmed an unequivocal and highly

significant link between repeated traumatization in childhood and

depression, alcoholism, drug abuse and sexual promiscuity, as well as

various medical illnesses including heart disease, cancer, stroke and

diabetes.




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     In late adolescence and adulthood Cruz-Garcia’s exposure to

trauma and stress continued. The experiences described above in more

detail include: extreme poverty and lack of access to services and

resources; many near-death experiences at sea; exposure to serious

diseases and severe deformities while helping his father tend to patients

that suffered from severe illnesses; being forced into a live-in relationship

and start a family at a young age; suffering the dangers of crossing the

Mona Passage on a frail boat, as he and many Dominican risked their

lives in search of a better life in Puerto Rico; facing discrimination and

fear of being detected as an undocumented alien in Puerto Rico; learning

that his common-law wife was being unfaithful while pregnant with their

child; surviving tropical storms in the Dominican Republic, Puerto Rico

and at sea; and experiencing at least two serious car accidents. He also

continued to be exposed to neurotoxins, particularly in the form of

pesticides and other agro-chemicals.

     Exposure to such chronic, multiple and severe instances of trauma,

in combination with a genetic predisposition to substance abuse, set the

stage for his resorting, early on, to the coping method that is common in

victims of trauma: self-soothing and self-medicating his symptoms with




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alcohol and ultimately, drugs. In adulthood, religion became not only a

source of comfort and hope for him, but when it helped him with a severe

addiction to heroin while in prison in Puerto Rico, it became his lifeline.

Cruz-Garcia found in religion an adaptive way of coping with the

sequelae of the chronic, severe and repeated traumatic life experiences

he has had to live through since childhood.

     Trauma does not always dissipate in its effects but rather can

trickle down from generation to generation—intergenerational trauma.

The people at the highest risk of trauma and those with the most

difficulty working through it have experienced their own trauma but also

have come from a family where there was a trauma in their parents and

often in their parents’ parents. Where trauma has been untreated, what

is fairly common is that the untreated trauma in the parent is

transmitted through the child through the attachment bond and through

the messaging about self and the world, safety, and danger.

     Cruz-Garcia experienced adverse effects of intergenerational

trauma. Prior to his birth, as a member of the military his father fought

during a civil war. He was apprehended and nearly killed by civilians.

Little is known about his mother’s experiences. However, the fact that




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she abandoned her four young children and left them to fend for

themselves to go work in Venezuela could be a sign of a traumatic past.

     Cruz-Garcia was also likely exposed to neurotoxins:

           • Alcohol forced on him by his father from when he was as
             young as six, with adverse effects on his developing brain;
           • Cruz-Garcia worked in agriculture with his father from an
             early age;
           • He then worked on a coffee plantation as a young man and
             was exposed to pesticides.
           c.    An expert of Dominican culture could have
                 provided valuable contextualization.

     Trial counsel did not retain a culturally competent expert, who

could explain to the jury the Dominican Republic’s culture and customs,

particularly concerning masculinity, traditional gender roles, marriage,

divorce, and child rearing. An expert familiar with the history of

migration from the Dominican Republic to Puerto Rico could have

explained Cruz-Garcia’s life as a migrant in a larger socio-economic

context and cultural pressures, and the connection between that

migration and the drug trade.

     Cruz-Garcia’s journey from Dominican Republic to Puerto Rico and

then to United States was part of a well-recognized pattern that was

influenced by a desire for a better life and struggling with poor economic



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conditions. An anthropologist or sociologist familiar with this topic could

have provided the jury a wealth of information to put Cruz-Garcia’s life

story into context and to better understand why that story mitigated

against the death penalty.

     For example, Dr. Gina Perez is a professor of anthropology, whose

research focus includes substantial work on the issue of migration in and

around Puerto Rico. She is particularly familiar with the experience of

Dominican migrants coming to Puerto Rico in the 1980s and 1990s. Dr.

Perez was available to testify at Cruz-Garcia’s trial had she been

contacted by trial counsel and would have provided the information

contained in Exhibit 41 and summarized below.

              i.    Cruz-Garcia’s early life in the Dominican
                    Republic.
     Raised in a rural area of the Northeastern region of the Dominican

Republic in the early 1960s, Cruz-Garcia’s kin network and household

was large, fluid, and included extended family members. Like much of

the Dominican population at the time, Cruz-Garcia’s family was involved

in agricultural work. They owned a modest plot of land where they raised

food for their families and to sell to earn money. The men in Cruz-

Garcia’s family were also fishermen, an important economic activity that




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fed their family and provided reliable income. The family’s economic

security through the early 1960s reflects not only the industriousness of

the family, but also national political economic policies that characterized

the Dominican economy under the Dictator Rafael Trujillo from 1930-

1961. This policy supported small-scale agricultural production by family

farmers and limited the mobility of rural workers to ensure a robust

supply of agricultural labor. From a very early age, Cruz-Garcia was

expected to and actively participated in agricultural work, fishing, and

helping to care for younger relatives.

     Cruz-Garcia’s childhood and development were particularly

distinguished by the separation of his parents and his mother leaving to

live in Venezuela. From the time that Cruz-Garcia’s father returned to

live with his extended family with Cruz-Garcia and his siblings, it was

clear that Cruz-Garcia took on an important role of caring for his brother

and sisters by cooking, babysitting, making useful items for the

household, fishing, and working with his father. He was a good and hard

worker helping his father provide for the family. Cruz-Garcia was

someone who protected his family, helped others, and from a very early

age took on roles that exceeded his age.




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     In addition, Cruz-Garcia’s view of what constituted family and

family relationships was also impacted by his native country. The

Dominican Republic has a particularly unique history of family size.

Indeed, throughout his thirty-one-year dictatorship, Rafael Trujillo

implemented policies to encourage population growth by enforcing strict

controls of emigration from the Dominican Republic, encouraging

European immigration to the island, and “systematic encouragement of

childbirth” and, consequently, large families to ensure a large and

available labor pool for agricultural and industrial work. The existence

of large families with a range of household arrangements, therefore, was

both state-sanctioned and culturally acceptable in the Dominican

Republic.

     However, as a young man in his late teenage years in the

Dominican Republic, Cruz-Garcia was like many young men struggling

to work in a changing economy. While the Dominican economy in the

1960s and early 1970s was still largely defined by large numbers of

workers in agricultural labor and subsistence economy, the late 1970s

and 1980s witnessed unprecedented economic changes that had a

dramatic impact on the economic, social, and cultural lives of residents




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on the island and throughout the Caribbean. Economic hardship

increasingly defined life in the Dominican Republic in the late 1970s and

1980s. According to anthropologist Jorge Duany, “employment and

underemployment, the rising cost of living, a chaotic transportation

system, near collapse of basic public service like electricity, running

water, housing, health care and education” made life very difficult for

Dominicans in general, and those residing in rural areas in particular. 57

               ii.   Emigration in the Dominican Republic.
      In addition to deteriorating economic and social conditions, changes

in Dominican migration also define the decades of the 1960s, 1970s, and

1980s. From 1930-1961, movement within the Dominican Republic and

emigration were severely restricted under Rafael Trujillo. Beginning in

1966, however, these restrictions were lifted, and Dominicans

increasingly engaged in internal and international migration. According

to Ramona Hernandez, while it was virtually impossible for Dominicans

to apply for a passport for more than thirty years, by the late 1960s,

anyone who wanted a passport could apply and acquire one. These




57Jorge Duany, Dominican Migration to Puerto Rico: A Transnational Perspective
(2005).




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changes led to significant internal migration with those residing in rural

areas often moving to urban centers like Santo Domingo.

     It also led to substantial emigration, legally and illegally. By the

1980s, migration was such a defining feature of Dominican life that

Dominicans refer to this massive movement and displacement as “irse

para los paises” (literally “moving to the countries”).

     By the mid-1980s, when Cruz-Garcia began to court Mireya Pérez

Garcia, he was one of many young Dominicans engaged in internal

migration in search of work, unsuccessfully seeking employment in an

economy that increasingly employed women more than men, and

considering migration as a way to search for a better life. In 1986, like

thousands of other Dominicans, Cruz-Garcia traveled on a yola to Puerto

Rico. Not only was Puerto Rico an increasingly popular destination for

Dominican migrants, it also held the possibility of getting legal

documents that would allow him to travel to and live legally in the United

States. These ideas of a better life and the possibility of changing one’s

status to go to the United States circulated widely in the Dominican

Republic in the 1980s and led Cruz-Garcia and tens of thousands of

others to leave the Dominican Republic for Puerto Rico.




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              iii.   Life and work in Puerto Rico.
     While Puerto Rico was often regarded as “a springboard for the

U.S.,” the cultural, linguistic, and historical ties between Puerto Rico and

the Dominican Republic make it attractive and reasonable for

Dominicans to remain and reside there.

     One element that was especially notable about Cruz-Garcia’s

migration experience was the degree to which he maintained connection

with his family in the Dominican Republic.

     Although Dominican migrants began to arrive in Puerto Rico in

significant numbers in the 1980s and 1990s seeking a better life, Puerto

Rico also was experiencing significant economic, social, and political

problems that constrained migrants’ experiences. Beginning in the mid-

late 1970s, Puerto Rico was in economic crisis. The impact of the oil crisis

on the island and the devaluation of the American dollar in the early

1970s, as well as the failure of Puerto Rico’s industrialization program to

provide adequate jobs for its growing population, led to increased

unemployment and underemployment.

     Beginning in the 1980s and 1990s, Dominican migrants like Cruz-

Garcia increasingly comprised a large number of surplus laborers




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involved in the informal economy in Puerto Rico. Often they worked off

the books as domestic workers, in construction, landscaping and

gardening, and providing childcare. When Cruz-Garcia’s wife arrived in

Puerto Rico in 1994, she worked cleaning houses. Cruz-Garcia worked in

a range of jobs in the informal economy, including working as a gardener

and even collecting cans to trade in for money when times were hard.

     For Cruz-Garcia, seeking employment as an undocumented

Dominican in the late 1980s and 1990s in Puerto Rico was no small

matter. He managed to find a range of jobs as a gardener, collecting and

recycling cans, and working as a real estate agent—all jobs that were

part of the informal economy and paid very little. Like so many

Dominican migrants, Cruz-Garcia lived in low-rent neighborhoods like

Barrio Obrero, where he could draw on networks with other co-nationals

and managed to send money back to the Dominican Republic to help

support his wife and their son. Given Cruz-Garcia’s demonstrated

commitment to financially provide for his extensive families, both in the

Dominican and in Puerto Rico, it is not surprising that turning to the

drug economy became yet another source of generating income. As the

possibilities for formal employment diminished for all residents on the




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island, the drug economy grew in Puerto Rico, the Dominican Republic,

and the United States. And like many with experiences in the informal

economy and limited economic possibilities, selling drugs seemed like a

reasonable strategy.

           d.    An investigation in Puerto Rico would have
                 uncovered highly significant evidence from Cruz-
                 Garcia’s time in a Puerto Rican prison.

     Records from Cruz-Garcia time in prison, many of which were in

the State’s file that trial counsel failed to review, indicate Cruz-Garcia

had no disciplinary history or grievances from his time in Puerto Rican

prisons. Ex. 38 at 8 (no disciplinary complaints from October 31, 2005 to

November, 3, 2008); id. at 9 (no grievances from 2005 to 2010); id. at 10

(no disciplinary complaints); id. at 11 (same). Indeed, the records reflect

that rather than being a disciplinary problem, Cruz-Garcia was the

opposite. Cruz-Garcia earned numerous recommendations for good time

credit based on his behavior and hard work. Id. at 1, 4, 6, 7, 12, 14, 16,

18, 20, 21. From October 2005 to July 2009, Cruz-Garcia received

frequent commendations for his hard work at the prison. Id. In total,

Cruz-Garcia received 204 days of credit for his behavior. One notation

specifically observed that:




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            This prison performs risky jobs and for this reason
            we are asking for this good conduct time to
            compensate him for the effort that he makes and
            by this means help create an example so that other
            prisoners will give their best.

Id. at 6.

      Cruz-Garcia’s behavior in prison was remarkable for both the

absence of any disciplinary infractions and the awarding of special

privileges for good behavior. During this time, Cruz-Garcia worked as a

carpenter building furniture for the prison corporation, a job for which he

was permitted to leave the prison grounds to work at this job. Cruz-

Garcia was also permitted outside the perimeter of the prison for cleaning

duties. He also worked maintenance jobs and in the kitchen, which would

have entailed working in the outside perimeters of the institution. The

fact that Cruz-Garcia was given these privileges indicates that his

conduct was excellent and that he was not seen by the prison authorities

as a security threat. Cruz-Garcia did not receive a single disciplinary

infraction during this time. See, e.g., Ex. 45; 83; 105; 106; 107; 108.

      Chaplains at the facilities where Cruz-Garcia was housed were also

available to testify regarding Cruz-Garcia’s positive behavior in prison

and the resulting trust and freedoms that were bestowed upon him.




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Chaplain Irma Iglesias Cruz has worked in the Puerto Rico Department

of Correction for roughly forty years. She supervises about sixty other

prison workers, including chaplains in other facilities, and oversees the

orientation of new chaplains coming in to work in an institutional setting

for the first time. Ivan Negron Vera has worked as a chaplain for the

Department of Correction for seventeen years. From 2000 to 2012, he

supervised roughly two thousand chaplains serving the various facilities

run by the Department. He regularly counsels both inmates and

correctional facility staff and guards. Jimmy Osorio has been a pastor for

thirty years and has volunteered as a chaplain with the Department of

Correction for about twenty-two years. And Luis Gonzales Martinez has

volunteered as a chaplain at multiple facilities in San Juan for about

twenty-eight years. See, e.g., Ex. 45; 105; 106; 107; 108.

     These four chaplains each got to know Cruz-Garcia as a volunteer

helping with religious services and taking care of the chapel. Each agrees

that in the many years they have worked in the criminal justice system,

Cruz-Garcia stands out to them as one of the best behaved, most trusted,

and well-respected inmates. See, e.g., Ex. 105; 106; 107; 108.




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     As experienced chaplains, they had witnessed other inmates trying

to con their way into positions of trust or pretend to be religious. But each

believes through their experiences with Cruz-Garcia that he is a genuine

and honest person. To them, Cruz-Garcia’s faith is real, as was the

encouragement and support he gave to other inmates. At the time, the

chaplains noted Cruz-Garcia’s leadership skills and how he worked hard

to help others become better people and productive inmates. He got along

well with other inmates and staff. See, e.g., Ex. 105; 106; 107; 108.

     Because of Cruz-Garcia’s good behavior, he earned the respect of

guards, staff, and other inmates. He was given a significant role in the

church services of the prison. He was the most trusted inmate in the

chapel and would assist in all matters dealing with the prison’s religious

services. Cruz-Garcia would help get the chapel ready for worship

services and clean up after, moving about freely. He took part in music

services and led Bible studies. See, e.g., Ex. 105; 106; 107; 108.

     None of the chaplains remember Cruz-Garcia being written up for

discipline problems or being considered dangerous. None ever witnessed

or heard of him committing any violence; he would not have been given

so much freedom if he had. And this was not due to the lack of




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opportunity—while in prison in Puerto Rico, Cruz-Garcia was housed in

general population and he was frequently left alone outside his cell. See,

e.g., Ex. 105; 106; 107; 108.

     Cruz-Garcia was given tremendous privileges and trust in the

prison not conferred on most other inmates. For example, multiple

chaplains at various times gave Cruz-Garcia the keys to the chapel or

their offices and allowed him to move around unsupervised. See, e.g., Ex.

105; 106; 107; 108.

     Cruz-Garcia was also allowed to work in the “corporation” area,

which allowed inmates access to power tools and other potentially

dangerous objects that were used for making furniture. Only inmates

who were well-behaved, hard-working, and had earned trust were

permitted to work there. See, e.g., Ex. 45; 83;105; 106; 107; 108.

     In fact, if anything, Cruz-Garcia was seen as a calming influence

who helped to maintain order. He would convince other inmates to pay

attention to correctional staff and to follow the rules. Correctional staff

felt Cruz-Garcia made their jobs easier through his influence on other

inmates. When Cruz-Garcia was moved into segregation because he was




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being extradited to Texas, he maintained this attitude. 58 See, e.g., Ex. 45;

83; 105; 106; 107; 108.

      Overall, these chaplains would have testified that Cruz-Garcia had

a tremendous, positive impact on the lives of other inmates and of

correctional staff while in prison in Puerto Rico. In addition to being a

trustworthy and hard worker, Cruz-Garcia acted as a leader and a

counselor to help other inmates obey prison rules. See, e.g., Ex. 45; 83;

105; 106; 107; 108.

      Dr. Alejandro Lebron, a clinical psychologist who counseled Cruz-

Garcia while he was in prison there, was also available to testify. Dr.

Lebron has worked in the field for roughly forty years and, at the time he

knew Cruz-Garcia, was providing mental health support and assistance

to inmates. Cruz-Garcia began seeing Dr. Lebron by choice. That is, he

was not ordered to receive counseling, but instead had sought out therapy

on his own. See, e.g., Ex. 45.




58Copies of the letters found in the DA file support the chaplains’ view that Cruz-
Garcia maintained his faith even as he was incarcerated in Houston: he continued to
take Bible courses by correspondence and engage in nearly daily religious exchanges
via post with friends and family. Had trial counsel reviewed the DA file, these letters
could have been presented to the jury.




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     Like the chaplains, Dr. Lebron observed that Cruz-Garcia’s faith

was genuine and thoughtful. He also felt that his dealings with Cruz-

Garcia gave him a new perspective on the Bible and using religion as a

common ground to connect with patients. Dr. Lebron’s experience in

dealing with Cruz-Garcia was that he was open and honest and was not

a troublemaker. He witnessed Cruz-Garcia have access to other prison

staff and civilians, and never felt he posed a danger to anyone. He never

knew of Cruz-Garcia to cause any trouble. Ex. 45.

     Dr. Lebron would have told the jury about the Cruz-Garcia he

knew: “a deeply spiritual man, who believed that doing good work and

living a good Christian life was the most important thing he could do.”

Having worked with prison populations, and knowing Cruz-Garcia in the

years after the crime occurred, Dr. Lebron would have communicated

that he had witnessed inmates change and that, even if guilty, he

believed Cruz-Garcia was no longer the same individual. Ex. 45.

     It is not surprising, therefore, that when an expert on the Puerto

Rico Department of Corrections conducted a review of Cruz-Garcia’s

disciplinary records in Puerto Rico, he concluded that Cruz-Garcia had

exemplary conduct during the nearly eight years he was incarcerated in




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Puerto Rico. There was nothing in the records to indicate that Cruz-

Garcia was a dangerous or violent inmate; in fact, just the opposite—

Cruz-Garcia was a model inmate who was trusted and highly regarded

by prison staff. Ex. 40.

     Finally, Cruz-Garcia’s common law wife Dorca, who trial counsel

briefly interviewed by telephone, could have provided helpful information

in this regard had she been interviewed earlier and more thoroughly.

Dorca had been with Cruz-Garcia during the time he was in prison and

had visited him there frequently with their daughter. She recalls the jail

guards were friendly with Cruz-Garcia. She also remembers that Cruz-

Garcia worked hard to continue to provide as much as he could for his

family, even though he was in prison. He would make hammocks, key

chains, and other items to sell and then send the money to Dorca and

their daughter. Ex. 88.

     None of this information about Cruz-Garcia’s conduct and life in

prison in Puerto Rico was presented to the jury. In failing to conduct an

investigation into a clear avenue of mitigating information, counsel’s

performance under the standards for capital counsel was deficient. ABA

Guidelines, Guideline 10.7(A) (“[c]ounsel at every stage have an




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obligation to conduct thorough and independent investigations relating

to the issues of both guilt and penalty”).

           e.        Had trial counsel investigated the state’s case on
                     future    dangerousness,     they   could    have
                     significantly undermined it.

     Trial counsel failed to conduct a thorough and independent

investigation into extraneous offenses. As set forth more fully in Claim 1,

much of the testimony that the State presented about extraneous

offenses was false. Cruz-Garcia hereby incorporates by reference all facts

and allegations in that claim. Had counsel conducted a constitutionally

sound inquiry, they would have been able to effectively impeach the

State’s witnesses and rebut their testimony.

                i.     Saul Flores Murder.
     Trial counsel failed to thoroughly investigate Saul Flores’s murder

despite being put on notice that the State intended to introduce testimony

and evidence about it. The State presented five lay witnesses and an

expert, along with dozens of exhibits related to this extraneous offense.

Trial counsel did not present a single rebuttal witness and failed to follow

basic procedure for impeaching a witness.

     As set forth more fully in Claim I, Johnny Lopez’s testimony at trial

was completely contradictory to the statement he gave police in 1989. Ex.



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29. Even though Lopez had identified another suspect entirely, both by

name and in a photo lineup, trial counsel failed to impeach him. Trial

counsel elicited all the responses necessary to show that the witness

contradicted his prior statement, 25 RR 51–55, but then, instead of

reading the statement to the jury to impeach Mr. Lopez, counsel switched

to a new line of questioning. 25 RR 56.

     Trial counsel then failed to present rebuttal witnesses who could

have testified that Johnny Lopez gave a completely different statement

in 1989. Mr. Lopez was interviewed by two officers, R.E. Gonzales and

A.C. Alonzo, the same officers who were involved in investigating Cruz-

Garcia’s case. Because they interviewed Mr. Lopez in 1989, they could

have testified about what Mr. Lopez told them then, and such testimony

would not be hearsay because it would have been offered for purposes of

impeachment.

     Trial counsel failed to investigate available records on Saul Flores.

including the offense report and the results of any DNA testing

performed. Trial counsel failed to request updates on the progress of the

investigation that the State witness testified had happened since

Santana came forth with his information about the Saul Flores murder.




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     Trial counsel failed to review the DA file and discover dozens of

photos of Saul Flores that could have been used to impeach testimony

regarding injuries Cruz-Garcia allegedly inflicted.

     As set forth more fully in Claim I,          Santana gave dramatic

testimony about Saul Flores’s murder that was completely false. It was

directly contradicted by the autopsy report, photographs, and witness

affidavits. In particular, Santana testified that Cruz-Garcia’s girlfriend,

Elizabeth Ramos, was the source of conflict between Cruz-Garcia and

Mr. Flores. 25 RR 74. He testified that “Saul had taken some drugs, he

had gone to Elizabeth’s apartment, and he wanted to have some type of

love relationship with her.” Id. Ms. Ramos called Cruz-Garcia and told

him about it; Cruz-Garcia was furious, and immediately went to her

apartment. Id. According to Santana, Cruz-Garcia then killed Mr. Flores

elsewhere. The State used this testimony to argue in closing that Cruz-

Garcia “killed that 18-year-old guy for nothing more than he hit on his

girlfriend.” 26 RR 174.

     Had counsel conducted an adequate investigation, they would have

been able to locate and interview Elizabeth Ramos. She would have

testified that she does not know Saul Flores. Ex. 30. She was never




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“courted” by Flores. Cruz-Garcia never picked up Flores—or any other

man—from her apartment under the circumstances described in the

testimony. At that time, she was living with her mother, in her mother’s

apartment. She is certain she would have remembered if several men

arrived to remove another man interested in “some type of love

relationship.” Id.

       Santana also testified that Cruz-Garcia killed Flores in a rather

gruesome manner, inflicting all manner of injuries. 25 RR 79–83. Had

counsel requested the records, consulted experts, and hired a medical

examiner or a pathologist to testify, he would have been able to present

testimony explaining that the injuries shown in the photos and the

autopsy report (a small abrasion, bruised face, 25 RR 108) are

inconsistent with the injuries Santana testified were inflicted

(“completely destroyed hands,” cigarette burns, injected drugs, 25 RR 81,

93).

               ii.   Kidnapping Puerto Rico.
       Trial counsel failed to investigate the extraneous offense for which

Cruz-Garcia was incarcerated. Trial counsel failed to uncover records

that would have substantiated the testimony the defense was unable to




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introduce at trial: that Cruz-Garcia was working on behalf of law

enforcement agencies at the time of the offense, October 11, 2001.

Specifically, Cruz-Garcia was admitted to Puerto Rico a couple of weeks

prior, on September 21, 2001, for 90 days for “significant public benefit.”

Ex. 111. This type of benefit is typically used to allow noncitizens to

appear for and participate in a civil or criminal legal proceeding in the

United States. 8 C.F.R. § 212.5(b)(4). Significant public benefit parole

might be granted, for example, to allow a key witness with no legal means

of entering the United States to be paroled into the country long enough

to testify in a criminal prosecution for drug trafficking.

     Again, trial counsel failed to obtain those records, investigate the

testifying witnesses, and present any rebuttal witnesses or experts. Here,

counsel could have introduced testimony of a retired DEA agent who

could have put the actions of Cruz-Garcia that day in context of a multi-

agency operation gone sideways and their informant being caught in the

middle of it. Trial counsel did none of that.




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                iii.   Betico.
      Finally, during the punishment phase, Santana testified that Cruz-

Garcia, along with others, broke into “Betico’s” 59 house. 25 RR 66.

According to Santana, Cruz-Garcia stole drugs and money from Betico,

beat him, and raped his wife. Id. at 70.

      Trial counsel failed to conduct any investigation, locate any

information about Betico and the alleged rape, and present any rebuttal

testimony. Trial counsel failed to make any objection to the introduction

of such highly prejudicial, inflammatory testimony that had no indicia of

reliability. Aside from issues with Santana’s credibility in general,

Santana did not witness this offense himself, could not say when this

incident allegedly occurred, did not know the names of the people who

were present, and did not even know the names of the alleged victims.




59Spelled phonetically in the transcript as “Patiko” but spelled as “Betico” on the
State’s notice of intent to use prior bad acts. The notice does not provide the name of
Betico’s wife, the date the alleged assault occurred, or location. 2 CR 414.




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           f.   Had trial counsel not waited until the last minute,
                they could have presented evidence of Cruz-
                Garcia’s work as a valued asset of United States
                Law Enforcement agencies.

     Had counsel timely requested records from government agencies,

they would have been able to show that Cruz-Garcia served as a

confidential informant for the United States Government. Ex. 46.

Although the document from U.S. Department of Justice is heavily

redacted, it begins with “As per your request I am submitting a list with

case number of aliens prosecuted as a result of the assistance rendered

by confidential informant Cruz-GarciaJulian CRUZ-Garcia” and then

continues onto the next page. Id. As a result of his activities—often at

risk to himself—federal agencies were able to make numerous arrests.

Id. Because trial counsel waited until just before trial to begin their

investigation in earnest, however, they were left with an almost fully

redacted and practically useless list of matters in which Cruz-Garcia had

assisted the United States. Had trial counsel acted more diligently, they

would could have taken the steps required to obtain additional

information.

     These records would have also shown that the U.S. Government

repeatedly trusted Cruz-Garcia to enter the country legally for the



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purpose of providing “significant public benefit.” In fact, even obtaining

a copy of Cruz-Garcia’s passport—which his family had and would have

gladly provided, had trial counsel asked—would have shown that he was

repeatedly issued permission to enter the country for “significant public

benefit.” Ex. 111. These admissions into the country were for the purpose

of providing support to United States federal agencies with the

apprehension of serious drug traffickers.

     Either a passport or immigration records would have also shown

that Cruz-Garcia entered the country legally and was in Puerto Rico for

one of these assignments when he was arrested for kidnapping. Records

from government agencies would have also shown that Cruz-Garcia was

making a living legally and receiving payments from the U.S.

Government for the services he provided. Thus, records of federal

agencies—which trial counsel failed to request——would have provided

information relevant to both future dangerousness and mitigation special

issues.

           g.    Trial counsel also performed deficiently by failing
                 to make appropriate objections and motions.

     As detailed in § VI.G, trial counsel performed deficiently by failing

to object to inadmissible evidence and failed to preserve claims for review



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on appeal. Trial counsel also failed to challenge the reasonableness and

adequacy of the State’s notice of intent to use extraneous offenses and

prior bad acts under Tex. Code Crim. P. Art. 37.07 § 3(g), including, but

not limited to, lack of timely notice necessary to investigate the alleged

conduct, lack of names of the victims, lack of precise dates. For example,

the notice the State gave regarding the extraneous rape offense it later

introduced at a punishment phase states only as follows:

           Sometime between 1989 and 1992, the Defendant
           and an unknown male committed or attempted to
           commit a robbery against an individual named
           “Betico.” This incident occurred at an apartment
           located at the edge of Loop 610 in Houston, Harris
           County, Texas. The Defendant and the unknown
           male were driven to the apartment by Carmelo
           Santana. After the incident, the Defendant
           admitted to also sexually assaulting a female
           inside the apartment at that location.
3 CR 468. This statement does not meet the minimum statutory notice

requirements, such as the name of the victim or the date on which it is

occurred. It also does not give sufficient information for Cruz-Garcia to

prepare his defense, such as the location, the names of other person

present, or even the full name of the complainant. Nonetheless, trial




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counsel did not raise any objections to the sufficiency of this notice or the

subsequent introduction of testimony about this alleged offense.

     Trial counsel, however, failed to object to the introduction of

testimony regarding the above-alleged extraneous offense. By failing to

object to the deficiencies in the State’s notice, trial counsel failed to hold

the State to its burden of proof. Trial counsel likewise made no motions

in limine or oral motions to challenge the introduction of unsubstantiated

allegations of extraneous offense, thus relieving the State of its burden of

proof.

     Trial counsel did not retain a mitigation specialist, called just four

lay witnesses, conducted no investigation in Puerto Rico despite Cruz-

Garcia’s community ties there, failed to challenge the State’s case on

future dangerousness, and failed to uncover and present to the jury a

wealth of mitigation evidence. That evidence included Cruz-Garcia’s

cooperation with U.S. law enforcement authorities, a documented record

of good behavior in a prison setting, and numerous witnesses who were

available to testify to his generosity.




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     F.        Trial counsel was ineffective during jury selection.
          1.     Cruz-Garcia’s constitutional right to a grand jury
                 selected from a fair cross-section of the community
                 under the Sixth and Fourteenth Amendments was
                 violated.

     Cruz-Garcia was indicted by the grand jury twice, first in 2008 and

then again in 2013. At that time, Texas employed the “key man” system

of grand jury selection, which it finally abolished two years after Cruz-

Garcia’s trial in 2015, the last state in the nation to do so. Rather than

picking from a pool of randomly selected residents to hear criminal cases,

judge-appointed commissioners were allowed to nominate prospective

jurors under a system the Supreme Court has called “susceptible of

abuse.” Castaneda v. Partida, 430 U.S. 482, 497 (1977) (citing Hernandez

v. Texas, 347 U.S. 475, 479 (1954)). This system was likely

unconstitutional as applied to Cruz-Garcia’s case for two main reasons.

First, this system—which relied on judicial appointment of prospective

jurors—was unconstitutional because it lent itself to the selection of

grand jurors with connections to the criminal justice system and law

enforcement. Second, the key man system discriminated against the

Hispanic population who were unconstitutionally underrepresented as

grand jurors. A Houston Chronicle analysis of 1,900 grand jurors who



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served from 2007 to 2014 in Harris County showed that there were three

times more adult Hispanics living in Harris County than the number who

served on grand juries, 36 percent versus 12 percent. See Ex. 49. The

Supreme Court has held that similar disparities in representation have

established a prima facie case of discrimination in grand jury

proceedings. See Castaneda, 430 U.S. at 495–96. Trial counsel failed

object to Cruz-Garcia’s indictment by a grand jury selected through the

unconstitutional key man system. Had trial counsel raised an objection

to the indictment, the indictment either would have been dismissed or

the issue of the unconstitutional key man system would have been

preserved for appellate review where it would have been successful.

        2.    Failure to raise cross-section claim.

     Harris County systematically excludes Hispanics from the jury pool

to the extent that jury venires average less than 25% Hispanic

representation, while the percentage of Hispanics in the community

population exceeds 40%. See infra n.55. This practice violates the

Constitution’s fair-cross-section requirement. See Duren v. Missouri, 439

U.S. 357 (1979). Jury venires must be representative of a cross-section of

the community. Whenever there is an underrepresentation of a segment




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of society on a jury list, there is a denial of equal opportunity or equal

participation. Hispanics constitute a distinctive, cognizable group in the

Harris County community. Hispanics were underrepresented in Cruz-

Garcia’s jury venire compared to the percentage of Hispanics in the

community. At the time of Cruz-Garcia’s trial in 2013, Harris County’s

population was 4,325,413, of which 1,851,606 people, or 42.81%, were

Hispanic.60 The petit jury venire from which Cruz-Garcia’s jury was

selected was made up of 150 people. Of those, 28 people, or 18.67%, were

Hispanic. The absolute difference between the percentage of Hispanics in

the general population and the percentage of Hispanics in Cruz-Garcia’s

jury venire is 24.14%.

      This large discrepancy in the percentage of Hispanics represented

in jury venires in Harris County persisted over a number of a years. For

example, five years prior to Cruz-Garcia’s trial, in 2008, the population

of Harris County was 3,965,716 people. Of those, 1,664,403, or 41.96%,




60Texas Department of State Health Services, Texas Population, 2013 (Estimates),
available at http://dshs.texas.gov/chs/popdat/ST2013.shtm (last accessed Oct. 27,
2018).




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were Hispanic.61 But during the 2008 capital trial of Mabry Landor in

Harris County, the petit jury venire was 195 people, of which 43 or 22%

were Hispanic. Petition for Writ of Habeas Corpus, Landor v. Davis, No.

16-cv-03384 (ECF No. 10) (S.D. Tex. Oct. 31, 2017). This represents an

absolute difference of 19.96%. During the 2002 capital trial of Ronald

Prible in Harris County, the absolute disparity between the percentage

of Hispanic prospective jurors and the Hispanic proportion of the adult

population was 15.6%. See Robert C. Walters, et al., Jury of Our Peers:

An Unfulfilled Constitutional Promise, 58 SMU L. Rev. 319 (2005).

      Because this large discrepancy occurred not just in Cruz-Garcia’s

case, but also in other venires in Harris County over a significant period

of time, the cause of the underrepresentation of Hispanics in Harris

County jury venires is systematic—that is, inherent in the particular

jury-selection process utilized.

      Disproportionate exclusion of Hispanics from jury venires in Harris

County constitutes infringement of a defendant’s constitutional right to

a jury drawn from a fair cross-section of the community in violation of



61Texas Department of State Health Services, Texas Population, 2008, available at
http://dshs.texas.gov/chs/popdat/ST2008.shtm (last accessed Oct. 27, 2018).




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the Sixth and Fourteenth Amendments. The Sixth Amendment, applied

to the States through the Due Process Clause of the Fourteenth

Amendment, forbids any substantial underrepresentation of minorities,

regardless of the motive, and the defendant does not need to demonstrate

purposeful discrimination to show that his constitutional right to a jury

selected from a fair cross-section was violated.

     The discriminatory jury system that produced the petit jury venire

from which Cruz-Garcia’s jury was selected also violated the Equal

Protection Clause of the Fourteenth Amendment. The Equal Protection

Clause prohibits underrepresentation of minorities in juries by reason of

intentional discrimination. To show that an equal protection violation

has occurred in the context of jury selection, a defendant must show that

the procedure employed resulted in substantial underrepresentation of

his race or of the identifiable group to which he belongs—Hispanics. As

set forth above, Hispanics have been systematically under-represented

in Harris County jury venires. The jury system employed by Harris

County results in substantial underrepresentation of Hispanics in jury

venires, including the jury venire from which Cruz-Garcia’s petit jury

was selected, violating Cruz-Garcia’s constitutional rights.




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     Trial counsel failed to lodge any objection to systematic exclusion

and underrepresentation of Hispanics, although all the information

necessary to lodge such an objection was publicly available at the time of

Cruz-Garcia’s trial. As a result, no effort was made to ensure that the

jury venire in Cruz-Garcia’s case did not exclude or underrepresent

Hispanics. Moreover, because counsel failed to make an objection, the

issue was not properly preserved for appellate review.

        3.    Trial counsel’s stipulation to exclude jurors and
              failure to create a full record of that exclusion.

     Texas allows both the defendant and prosecution a total of fifteen

peremptory challenges. Tex. Code Crim. Proc. art. 35.15. Here, trial

counsel and the prosecution engaged in negotiated stipulations

effectively allowing them to share approximately 80 additional removals

by agreement without presentation to the court. 5 RR 104–05; 6 RR 4,118,

186–87, 192; 7 RR 251; 8 RR 35, 180; 9 RR 17; 10 RR 123, 124; 11 RR 4,

105; 13 RR 149. In overwhelming majority of these instances, the agreed

exclusions were done without the benefit of individual voir dire

examination. 5 RR 104–05 (defense counsel and the State agreeing to

excuse thirty-eight people); 11 RR 105 (defense counsel and the State

agreeing to excuse thirty-one people). Others were stipulated removals



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as the result of voir dire that were not counted as peremptory challenges.

6 RR 4,118, 186–87, 192; 7 RR 251; 8 RR 35, 180; 9 RR 17; 10 RR 123,

124; 11 RR 4; 13 RR 149.

     Trial counsel failed to create a proper record for grounds for

removal, as the discussions about the questionnaires were held off the

record. See, e.g., 5 RR 99 (“Have both sides had an opportunity to review

the questionnaires in this case and make agreements as to those

questionnaires?”). The court indicated that there was a further

discussion at the bench, also off the record. Id. After resuming the

discussion on the record, the State, the judge, and trial counsel agreed as

to which jurors should be dismissed (the basis of which was left entirely

off the record) without addressing the arguments for cause. Id. at 100.

     Here, trial counsel further failed in their duties, saying that they

agreed with the prosecutor’s strikes for cause, and the trial court

considered them excusals by agreement. See 5 RR 100. Dismissing a juror

for cause, however, is not the same as stipulating to removal of the jurors.

     Among those dismissed by the judge, after that discussion was held

off the record, were potential jurors like Anita Payne, venireperson No.

18. 5 RR 104. Nothing in her questionnaire or the few questions she asked




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during group voir dire suggested a basis for dismissal for cause. See 5 RR

34–35, 90–91. Likewise, Meghan Mehl, venireperson No. 20, had little to

suggest a basis for removal for cause. See 5 RR 82, 104. The same goes

for Monica Lara, venireperson No. 8, see 5 RR 49–50, 104, and several

others, see generally 5 RR 8–105. Some expressed hesitancy about the

death penalty that did not rise to the level of “cause” sufficient to grant a

strike. See, e.g., Venireperson No. 8 statement, 5 RR 83 (“I’m not for the

death penalty, so I might possibly be swayed. I don’t want to go 100

percent, but I’m not for it. So, it would be a little difficult for me.”).

      Trial counsel failed to hold the State to its burden of qualifying

every juror and make a record of the basis on which the jurors were being

struck. Instead, counsel acquiesced to removals, off the record, without

any basis for strikes, or attempt to further explore the potential juror’s

attitudes toward the death penalty.

      This was not an isolated incident. Throughout the voir dire, counsel

stipulated to removals without any explanation of the basis for them,

including removals of Hispanic and other minority jurors. For example,

trial counsel inexplicably stipulated to the removal of Rachel Willis, a

Hispanic woman and venireperson No. 11. After brief questioning by the




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court about some answers on her questionnaire, the State withdrew its

motion to strike for cause. 5 RR 105–06. Yet the very next morning,

without any further questioning and just before her scheduled individual

voir dire, trial counsel agreed to excuse Rachel Willis with no statement

as to the reasons. 6 RR 4. The same situation repeated with venireperson

No. 54, Elsy Quinanilla, also a Hispanic woman. The court clarified a few

answers on her questionnaire in a short voir dire and denied the State’s

motion to strike. 5 RR 117–18. She was later dismissed “by agreement

between the State and the defense” without further record. 7 RR 251.

This excusal of Hispanic jurors without voir dire or a thorough record is

particularly egregious given that Hispanics were already dramatically

underrepresented in the jury venire.

     This and other similar failures to create a record, conduct

individual voir dire, and rehabilitate the jurors, falls below the standard

of care for competent capital defense advocacy. See ABA Guideline

10.10.2; Texas Guideline 11.6. Cruz-Garcia was prejudiced by this

practice because, but for the deficient performance, at least one juror who

may have concerns about assessing a death sentence could have been

rehabilitated and ultimately seated. See Witherspoon v. Illinois, 391 U.S.




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510, 520 (1968) (holding that jurors that have “conscientious or religious

scruples against capital punishment” may serve as a juror in a death

penalty case if they can follow the law). Moreover, the failure to create a

record deprived him of the ability to raise these issues on appeal.

     Cornelius’s billing records also make clear that his failures in this

regard were not the result of any strategic consideration. Rather, given

how consumed he was by his other cases during jury selection in Cruz-

Garcia’s case, it appears Cornelius was simply looking to streamline the

jury selection procedure so that he could minimize the time he spent on

Cruz-Garcia’s case.

        4.    Failure to raise a Batson challenge.

     In violation of the Sixth, Eighth, and Fourteenth Amendments, and

contrary to Batson v. Kentucky, 476 U.S. 79 (1986), the State improperly

used peremptory challenges to systematically exclude African-Americans

and Hispanics from serving on the jury. These include the discriminatory

strikes of venirepersons Latoya Johnson (No. 89), Melinda Dixon (No.

98), Johnny Bermudez (No. 92), and Gilberto Vazquez (No. 115). These

jurors had similar answers on their questionnaires and responses during




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voir dire as compared to seated white jurors.62 Yet trial counsel failed to

raise a Batson objection to the State’s peremptory challenge of these four

jurors. 11 RR 180, 261; 12 RR 219; 13 RR 181.

      Had counsel properly lodged objections based on Batson, these

jurors would have been seated on Cruz-Garcia’s jury. At the very least,

the Batson issue would have been properly preserved for appellate

review. Indeed, “[o]ne of the most fundamental duties of any attorney

defending a capital case at trial is the preservation of any and all

conceivable errors for each stage of appellate and post-conviction review.”

ABA Guideline 10.8, Cmt. Yet trial counsel failed to do so here.

          5.     Failure to raise Witherspoon challenges.

      The Supreme Court in Witherspoon v. Illinois recognized that to

allow the State to remove from the panel any member who has moral

qualms about the death penalty would unfairly cause the jury to be

“uncommonly willing to condemn a man to die.” 391 U.S. 510, 521 (1968).

Failure to follow this protection violates the Sixth and Fourteenth

Amendments to the Constitution.



62If this claim is authorized, Cruz-Garcia will further develop the record for this claim
in the trial court.




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     Numerous individuals were excluded from Cruz-Garcia’s venire

simply because they voiced general objections to the death penalty or

expressed conscientious or religious scruples against its infliction. Yet,

trial counsel failed to object and rehabilitate the improperly struck

jurors.

     For example, the State moved to strike for cause (and the court

granted those motions, off the record, 5 RR 100) Monica Lara, No. 8, after

she stated “I’m not for the death penalty, so I might possibly be swayed.

I don’t want to go 100 percent, but I’m not for it. So, it would be a little

difficult for me,” 5 RR 83, and Meghan Mehl, No. 20, who stated “I feel

the same way. I put that I’m opposed, but in a few cases I’m for it [in the

questionnaire], but not if I have to make the decision. I would be swayed

to go against the death penalty.” 5 RR 82. They were subsequently

excused without any attempt to determine whether they could

nonetheless obey the oath as a juror and return a verdict of death.

     Similarly, the court dismissed Karen Taylor, No. 68, after an

extremely truncated examination conducted solely by the trial judge. The

juror initially indicated ambivalence regarding the death penalty,

although she acknowledged that “people need to be punished if they are




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guilty.” 5 RR 121. The court instructed the juror to “err on the side of

caution” in deciding whether she believed she would be able to sit as a

juror, all but encouraging the juror to disqualify herself. 5 RR 122. It was

only after the court’s direction that the juror indicated “it would really

bother her” that she was improperly struck for cause. 5 RR 123. Even

that statement, taken alone, should not have been enough to dismiss the

juror. She was never asked if she could follow the law, despite being

“bothered” by it.

     Allyn Emert was likewise improperly struck for cause. She

expressed unqualified support for the death penalty. The prosecution

nonetheless moved to strike her, presumably due to her answers to a

series of confusing and convoluted questions regarding the burden of

proof. 7 RR 111. After being successfully rehabilitated by defense counsel,

the trial court stepped in and began asking the juror hypothetical

questions that bore no relation to Cruz-Garcia’s case. 7 RR 118–21. The

juror was then improperly struck because of her answers to those

irrelevant hypotheticals.

     Exclusion of dozens of such jurors like that from Cruz-Garcia’s

venire violated his right to a fair and impartial jury. Trial counsel failed




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to lodge appropriate objections, which both prevented the jurors from

being seated and failed to preserve the improper strikes for appellate

review.

          6.   Failure to object to State’s request that neither party
               bring up that the victim was a child.

     Trial counsel was ineffective when they agreed to the State’s

request that it not be mentioned to prospective jurors that the offense

was committed against a child and included allegations of sexual assault.

Trial counsel thus forewent any opportunity to explore and determine

whether prospective jurors could nevertheless render impartial

judgment. Instead, trial counsel agreed to the State’s motion in limine

that both sides would abstain from referencing the fact that the offense

was committed against a child, as well as mentions of sexual assault.

     The relevance of this line of questioning was made evident by

testimony from one of the potential jurors: “I think I can be open—I know

I can be open-minded in this case, which is a murder. I think I wouldn’t

be too open-minded it if it was a rape or something like that. Because I

did have a niece that got raped.” 6 RR 161 (voir dire of Adela Rodriguez,

venireperson No. 22) (emphasis added).




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     Moreover, all the while trial counsel stuck to the agreement to not

mention that the offense involved a child, trial counsel failed to object to

the State’s repeated invocation of sensational crimes committed against

children or involving victims who were children. For example, the State

repeatedly invoked the Boston marathon bombing, the Candy Man case,

and the Andrea Yates case. 5 RR 174, 223, 289; 7 RR 27, 73, 104, 144,

151, 220; 8 RR 138; 9 RR 83, 180, 185; 10 RR 13, 139; 11 RR 189, 145; 12

RR 115, 157, 251; 13 RR 209.

     Counsel thus both abandoned any chance to diffuse potential jurors’

biases, while also permitting the State to rely on examples of crimes

committed against children to build up what it suggested seated jurors

could expect to hear. Cruz-Garcia was prejudiced by counsel’s deficient

performance because he did not receive a trial from a fair, impartial, and

unprejudiced jury.

        7.    Failure to object to inflammatory and objectionable
              voir dire by the prosecution.

     In violation of Cruz-Garcia’s constitutional rights under the Fifth,

Sixth, and Fourteenth Amendments, the State conducted inflammatory,

discriminatory, and unduly prejudicial voir dire. Yet, trial counsel failed

to raise any objections. See Freeman v. Class, 95 F.3d 639 (8th Cir. 1996)



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(holding Strickland violated due to trial counsel’s failure to object to

improper argument from prosecutor).

           a.   Trial counsel failed to object to the State
                repeatedly comparing Cruz-Garcia to Charles
                Manson and Adolf Hitler.

     The State repeatedly compared the defendant to Adolf Hitler and

Charles Manson, suggesting that the defendant (and by association,

Cruz-Garcia) was evil, the worst of the worst, and deserving of the most

severe punishment. See 6 RR 26–27; 8 RR 95; 11 RR 202; 12 RR 261; 13

RR 217; 14 RR 222–23, 262–63. These were not isolated remarks; the

State repeatedly made use of these analogies throughout voir dire,

including with two jurors who were seated. 12 RR 22, 163–64.

     Building on the foundation laid in voir dire, the State subsequently

invoked these same comparisons and imagery during closing argument:

“I will also ask you that you remember those conversations that we had

with each of you individually over the last month or so back in jury

selection.” 26 RR 145. Echoing the voir dire—“Charles Manson or Hitler

. . . they have been evil inside”—the State went on to argue that “Cruz-

GarciaCruz-Garcia is a monster. He is an evil person who likes to torture

and taunt his victims.” Id. at 175. The demonstrably biased,




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inflammatory voir dire by the State violated Cruz-Garcia’s constitutional

rights under the Fifth, Sixth, and Fourteenth Amendments, including

the right to a fair and impartial jury.

           b.    Trial counsel failed to object to the State
                 repeatedly invoking the Boston marathon
                 bombing as well as other well-publicized crimes.

     Less than eight weeks before the start of voir dire in Cruz-Garcia’s

case, during the annual Boston Marathon on April 15, 2013, two

homemade pressure cooker bombs detonated near the finish line of the

race. Three people were killed, including an eight-year-old boy, and

several hundred others were injured, including sixteen who lost limbs.

This event shocked the nation; images of wounded and screaming people

filled every newspaper, TV, and smart phone. The State chose to

repeatedly and systematically invoke during voir dire, including with

potential, as well as later seated, jurors. 7 RR 27, 104; 8 RR 138; 10 RR

13, 139; 11 RR 189, 145; 12 RR 157, 251; 13 RR 209. This invocation of

the horror and associated emotions was done using nearly identical

phrasing from one potential juror to the next. The demonstrably biased,

inflammatory voir dire by the State violated Cruz-Garcia’s constitutional




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rights under the Fifth, Sixth, and Fourteenth Amendments, including

the right to a fair and impartial jury.

     Likewise, the prosecutor repeatedly invoked “the Candy Man case”

during voir dire—including with those seated as jurors—as an example

of a case with facts so egregious that “anyone who can do that, is always

going to be a threat to society:” 5 RR 174, 223, 289; 7 RR 144; 9 RR 180.

The prosecutor also repeatedly brought up Andrea Yates, a woman who

drowned her five children, in voir dire—including the voir dire of several

seated jurors. 7 RR 73, 151, 220; 9 RR 83, 185; 12 RR 115.

     Both the Candy Man case and the Andrea Yates case involved

crimes against children and in which the prosecution sought the death

penalty. As the State acknowledged during voir dire, each case was local

and well-publicized, involved children as victims, and was designed to

evoke strong emotions in the jury.

     These actions were inappropriate, inflammatory, and violated

Cruz-Garcia’s right to an impartial jury and fair trial. Again, trial

counsel’s failure to be engaged with the jury selection process meant that

appropriate objections were not raised and the issue was not properly




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preserved. These failures violated Cruz-Garcia’s rights to effective

assistance of counsel.

           c.    Trial counsel failed to object to the State
                 repeatedly asked prospective jurors commitment
                 questions.

     During voir dire, the State repeatedly and improperly asked the

venirepersons, including jurors who were seated, to commit to its theory

that “the defendant”—Cruz-Garcia—was the one who was in charge out

of the three co-conspirators and that he controlled the crime scene. 5 RR

162, 171, 282–83; see 6 RR 184–85.

     When defense counsel finally raised this issue in a verbal motion in

limine on the record, the court agreed that the prosecutor tended “to state

that it is the defendant that controls the scene.” 7 RR 7. The court

admonished the prosecutor and ordered that it would be more

appropriate to “ask the juror if they agree or disagree that a defendant

could control the scene as to what happened. A slight distinction, but

that’s what I would request, that you stay away from getting them to

commit on that, that the defendant does control the scene.” Id. at 8.

     The prosecutor continued, undeterred: “Actually, the person who

has the most control over what evidence is presented in a case is the




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defendant in that case. He chooses what he leaves behind.” 9 RR 33. By

this point, even the juror being questioned thought it was too suggestive

of guilt and the juror objected and interrupted the voir dire: “But you just

said ‘the defendant.’ And that’s presuming guilt . . . You just presumed

guilt.” Id. (Maura Denman, Venireperson No. 62).

     Repeated attempts to ask commitment questions violated Cruz-

Garcia’s right to an impartial jury. The trial court made clear that it did

the prosecutor’s conduct was improper, yet trial counsel failed to object.

           d.    Trial counsel failed to object to the State
                 repeatedly and improperly suggesting that Cruz-
                 Garcia had a criminal history that would be
                 revealed during the punishment phase.

     The State also violated Cruz-Garcia’s right to an impartial jury by

repeatedly suggesting during voir dire that he had a criminal history,

even if the jury heard nothing about it during the first stage of the trial:

“So, can you see how that other evidence—a lot of jurors are like: Well,

we didn’t hear anything about criminal history, so he must not have any,

during the guilt phase. But that’s not true because usually you won’t hear

about that until the punishment phase, if there is any.” 6 RR 16.

     With the venireperson who ended up being seated on the jury, the

State both suggested that criminal history existed and questioned the



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existence of mitigation: “And in the guilt phase, certain things like the

defendant’s criminal history, good things about the defendant, if there

are any of those, those kinds of things are not going to come into play

usually until the punishment phase of the trial.” 12 RR 14 (voir dire of

Jennifer Sims, seated juror). Again, trial counsel failed to object.

           e.    Trial counsel failed to object to the State’s biased
                 and discriminatory questions to women.

     In violation of the Sixth, Eighth, and Fourteenth Amendments, the

State’s questioning of women was biased, discriminatory, and was

designed to develop a line of testimony that would produce a neutral

reason for a strike for cause or to justify a peremptory. While in 2013

women comprised 50.20% of the population of Harris County, they

comprised 46.67% of Cruz-GarciaCruz-Garcia’s jury venire. Trial counsel

failed to lodge any objections.

     The State targeted already underrepresented women with biased

questions unrelated to their qualifications as jurors, such as “Do you

know how your husband feels about the death penalty?” 9 RR 120 (voir

dire of Patricia Lopez, venireperson No. 69, by the State); see also Donna

Chambers, venireperson 45, 8 RR 45; Nancee Pyper, venireperson 64, 9

RR 169; Casey Guillotte, venireperson 84, 10 RR 184; Sharon Alexander,



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venireperson 149, 15 RR 157. None of the married men in the venire were

asked about how their wives felt about the death penalty. However, trial

counsel did not object to this obviously discriminatory line of questioning.

     G.    Trial counsel was ineffective by failing to preserve
           issues for review.
     Trial counsel has a duty to object and move to exclude inadmissible

evidence. Henry v. Scully, 78 F.3d 51, 53 (2d Cir. 1996) (failure to object

to inadmissible evidence amounted to deficient performance); Cossel v.

Miller, 229 F.3d 649, 654 (7th Cir. 2000) (failure to object to in-court

identification); Gabaree v. Steele, 792 F.3d 991, 999 (8th Cir. 2015)

(failure to object to inadmissible testimony); Griffin v. Harrington, 727

F.3d 940, 947–48 (9th Cir. 2013) (failure to object to unsworn testimony);

Thomas v. Varner, 428 F.3d 491, 501–02 (3d Cir. 2005) (failure to object

to in-court identification); Martin v. Grosshans, 424 F.3d 588, 591 (7th

Cir. 2005) (failure to object to inadmissible testimony). As detailed below,

however, trial allowed the State to admit substantial amounts of

prejudicial evidence that trial counsel should have objected to as unduly

prejudicial or in violation of Cruz-Garcia’s constitutional rights.




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        1.    Failure to preserve Confrontation Clause violations.

     Under the Sixth and Fourteenth Amendments to the United States

Constitution, defendants have the right to confront witnesses against

them. The Sixth Amendment includes a “bedrock procedural guarantee”

that “’[in] all criminal prosecutions, the accused shall enjoy the right . . .

to be confronted with witnesses against him.’” Crawford v. Washington,

541 U.S. 36, 42, (2004) (quoting U.S. CONST. amend. VI). Testimonial

statements are not admissible unless the witness is both unavailable to

testify and the defendant had a prior opportunity to cross-examine that

witness. Id. at 53–54. Results of forensic analysis are testimonial

statements for purposes of the Sixth Amendment. See Melendez-Diaz v.

Massachusetts, 557 U.S. 305, 311 (2009). This Sixth Amendment right

applies to state trials through the Fourteenth Amendment. See id. at 309

(citing Pointer v. Texas, 380 U.S. 400, 403 (1965)).

     Cruz-Garcia’s right to confront witnesses was repeatedly violated

when Orchid Cellmark DNA analyst Matt Quartaro was permitted to

testify at the suppression hearing and at the guilt phase to forensic work

he did not perform himself. 16 RR 48–79; 21 RR 103–42. His testimony

included information about the condition in which the DNA evidence was




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received by Orchid Cellmark, the DNA testing process, and the analysis

of the results obtained. Id. However, Quartaro did not himself receive the

DNA evidence, nor perform all of the DNA lab work. During the

suppression hearing, he explained that Orchid Cellmark “work[ed] as a

team format, so [he] didn’t perform every step along the way.” Id. at 52–

53. Through Mr. Quartaro, the State also admitted a number of exhibits

that were collected and/or analyzed by others. See, e.g., id. at 120, 124.

     Similarly, Dr. Dwayne Wolf testified during the guilt phase and

punishment phases of trial about autopsies that he did not himself

perform. 20 RR 4–33. The 1992 autopsy of A. was conducted by Dr.

Vladimir Parungao, who did not testify. Id. at 6. Dr. Wolf was not

involved in creating, nor had personal knowledge of the autopsy report,

photographs, and related records. Id. at 7. This was “pretty much the

extent of the information” Dr. Wolf had. Id. Through Dr. Wolf, the State

also admitted a number of exhibits that were collected by others. See, e.g.,

id. at 10–13. Dr. Wolf further testified about the autopsy of Sault Flores,

which was conducted by Dr. Narula. 25 RR 97–115. Despite having no

personal knowledge of either case, Dr. Wolf opined as to the cause of

death of both A. and Flores. Id. at 104–10.




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     Trial counsel’s failure to object to this testimony prejudiced Cruz-

Garcia because he was unable to confront and challenge testimonial

statements that went to critical aspects of the State’s case. Trial counsel’s

failure to object further prevented Cruz-Garcia from preserving the

erroneous admission of these statements for later review.

        2.    Failure to preserve objections to evidentiary rulings
              that impermissibly limited Cruz-Garcia’s right to
              cross-examine witnesses.

     As detailed supra § I.B, the trial court held a hearing on Cruz-

Garcia’s Motion to Suppress All DNA. At that hearing, the trial court

acknowledged that contamination of the DNA evidence by the old HPD

crime lab was a relevant and critical line of cross-examination, but

nevertheless ruled that it would not permit Cruz-Garcia from introducing

any evidence on the issue.17 RR 19-21. The trial court admitted “it would

leave a wrong impression with the jury” should the defense not be

permitted to go into the DNA testing performed by the old HPD crime

lab. 20 RR 62. Still, the trial court ruled that it was “not going to allow

you to go into how they did that or where it was sent or that was sent to

another laboratory or anything like that[.]” Id.




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     As outlined above, the trial court’s interference with Cruz-Garcia’s

right to cross-examine witnesses was clear. Trial counsel, however, failed

to object to the trial court’s findings and rulings concerning the relevance

of evidence and testimony going to the reliability of the DNA evidence.

Trial counsel thus performed deficiently by not preserving the issue for

appellate review. Had trial counsel preserved the issue, the CCA would

have reviewed the merits of the claim and, given the trial court’s own

remarks as to the relevant of such evidence and testimony, ruled in favor

of Cruz-Garcia.

        3.    Failure to preserve objections to improper victim
              impact testimony.

     Trial counsel were ineffective for failing to object to the improper

introduction of the extraneous victim impact testimony or ask for an

instruction to disregard this testimony. Payne v. Tennessee, 501 U.S. 808

(1991) does not contemplate admission of evidence concerning a person

who is not the victim for whose death the defendant has been indicted

and tried. This evidence is also irrelevant under Rule 401 and article

37.071, and the danger of unfair prejudice from “extraneous victim

impact evidence” is unacceptably high.




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     During Cruz-Garcia’s punishment phase, Manuel Buten, a witness

to an extraneous offense, testified about his family members’ ongoing

mobility issues and continuing emotional issues, such as nervousness,

feelings of insecurity, inability to continue working, etc. RR 24 at 42.

Likewise, Andres Castillo Buten also offered improper extraneous victim

impact evidence, testifying that he still has problems to this day. 24 RR

95–96, 97. Trial counsel failed to object to the introduction of this

improper and unfairly prejudicial evidence or ask for a limiting

instruction, rendering ineffective assistance of counsel.

        4.    Failure to preserve objections to the prosecutor’s
              inflammatory comments.

     Throughout Cruz-Garcia’s trial, the prosecutor made numerous

unwarranted       characterizations     that     violated     Cruz-Garcia’s

constitutional rights. During closing argument for the guilt/innocence

phase of the trial, the prosecutor invoked the Bible as a litmus test for

invoking evil and wickedness and guilt: “The 28th Chapter of Proverbs

says: The wicked flee so [sic] no one pursues them, but the righteous are

as bold as lions. Ladies and gentlemen, there is the wicked right there.”

23 RR 95. Then, during the closing for the punishment phase, the State

told the jury “I will tell you right now, if it were up to Roger [Rogelio



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Avlies-Barroso] alone, [A.] would still be alive.” 26 RR 163–64. From this

argument, based on nothing in the record but the prosecutor’s opinion,

the jury would logically surmise that there was inadmissible evidence,

which, if revealed, would show them other acts or character traits of the

defendant that they should know about.

     During voir dire, as set forth in detail above, the prosecutor

repeatedly compared the defendant to Adolf Hitler and Charles Manson,

suggesting that such men (and by association, Cruz-Garcia) are evil, the

worst of the worst, and deserve the most severe punishment. The

prosecutor also repeatedly invoked gruesome, well-known cases with

multiple child victims: the Boston Marathon bombing, the Andrea Yates

case, the Candy Man case.

     Building on the foundation laid in voir dire, the prosecutor

subsequently invoked these considerations during closing argument for

the punishment phase: “I will also ask you that you remember those

conversations that we had with each of you individually over the last

month or so back in jury selection.” 26 RR 145. Echoing the voir dire—

“Charles Manson or Hitler . . . they have been evil inside”—the prosecutor

then argued that Cruz-Garcia is evil, less than human, and deserves to




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die because of that: “Those are just the facts. And they are the facts that

you need to base your decision on. Cruz-GarciaCruz-Garcia is a monster.

He is an evil person who likes to torture and taunt his victims.” Id. at

175. In doing so, the prosecutor urged the jury to rely not on the jury

charge, not on the applicable law, but on raw emotions and anger in

reaching their sentencing decision.

     The prosecutor also argued that while he and the jurors were

human beings, the person they would be executing was something less

than: “many of us and many of you probably would like to think that there

aren’t people in the world that can do the kind of things that you have

heard about over the last two weeks. Surely there aren’t those type of

people. Those type of people can’t exist because you and I as human

beings can’t really fathom that.” 26 RR 154 (emphasis added).

     The prosecutor improperly injected considerations of racial and

ethnic animus into the jury trial system by appealing to the jury’s sense

of nationalism while the fate of a foreign-born defendant, who doesn’t

speak English, was in their hands. The theme of “us versus them” (or

Americans versus foreigners) is how the prosecutor opened the closing

argument: “we live in the United States of America, the best country in




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the entire world. And thank God for that. We get to live with freedoms

that so many people do not get to live with. We get to, hopefully, walk

around in our streets and feel safe. We get to live out our dreams because

this is America.” 26 RR 142 (emphasis added). The prosecutor made that

argument to a jury acutely aware that Cruz-Garcia is a foreigner,

implying that this is not his country and these are not his streets.

     Counsel has a duty to object to improper argument from the

prosecutor. Freeman v. Class, 95 F.3d 639, 644 (8th Cir. 1996) (holding

Strickland violated due to trial counsel’s failure to object to improper

argument from prosecutor). The prosecutor’s comments were sufficient to

create prejudicial error, violating Cruz-Garcia’s rights to due process

under the Fifth and Fourteenth Amendments, yet Cornelius failed to

raise objections or move for a mistrial.

        5.    Failure to preserve constitutional errors relating to
              emotional outbursts from the gallery.

     In violation of the Fifth, Sixth, and Fourteenth Amendments, Cruz-

Garcia’s conviction was unconstitutionally obtained due to repeated,

emotional outbursts from the gallery during trial. Darden v. Wainwright,

477 U.S. 168, 181 (1986) (State misconduct violates a defendant’s due

process rights to a fair trial when the conduct “so infected the trial with



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unfairness as to make the resulting conviction a denial of due process.”).

Yet, trial counsel failed to preserve the issue or move for a mistrial. These

outbursts include, but are not limited to, the following occurrences.

     During the guilt/innocence phase, a bench conference occurred

where trial counsel explained that there were audible reactions from the

victim’s family during testimony. Trial counsel stated that “there’s no

excuse for the family being here crying and making sounds and all this

stuff in front of the jury.” 20 RR 14. The outburst was noticeable, and the

State agreed to have the family removed. Id. The trial court also

commented that “I don’t think [the outbursts are] appropriate.” Id.

     Later the same day, another emotional outburst occurred. During

testimony, the trial court was forced to stop the proceedings and remove

the jury. 20 RR 107. The trial court directly addressed the audience:

     I realize the testimony in this case is emotional, but if you
     cannot hold your emotions in and be quiet in the courtroom,
     then you will have to leave the courtroom. And that includes
     the family. I’m sorry to say that, but we cannot have this jury
     swayed by emotion and emotional outbursts. Okay? So, if you
     feel that you can’t keep from having that happen, you will
     need to step out.

Id. at 108.




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     These repeated, emotional outbursts from the gallery resulted in

Cruz-Garcia’s conviction and death sentence being fundamentally unfair.

As a result, his conviction and death sentence violated the applicable

constitutional protections, namely the Fifth, Sixth, and Fourteenth

Amendments. Had Cornelius moved for a mistrial, Cruz-Garcia could

have successfully litigated this issue in direct appeal or on collateral

review.

          6.   Failure to preserve constitutional error relating to
               incorrect translations.

     In violation of the Fifth, Sixth, Eighth, and Fourteenth

Amendments, Cruz-Garcia’s conviction was unconstitutionally obtained

when witness testimony was translated incorrectly to the jury. Ferrell v.

Estelle, 568 F.2d 1128, 1132–33 (5th Cir. 1978) (“The Constitution

requires that a defendant sufficiently understand the proceedings

against him to be able to assist in his own defense. Ensuring that the

defendant has that minimum understanding is primarily the task of the

trial judge.”). Numerous witnesses during Cruz-Garcia’s trial testified in

Spanish and their answers were translated into English for the jury by

interpreters. 18 RR 194; 19 RR 4; 20 RR 80, 116; 21 RR 4; 24 RR 14, 43,

78, 98, 118; 25 RR 59; 26 RR 8. The interpreters, however, had to correct



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their translations on numerous occasions, 20 RR 94, 144, 159–60, 165; 24

RR 36, 49–50, 60; 25 RR 61; 26 RR 12, 26, so much so that the jury sent

a note to the court that the interpreters were not translating the

testimony correctly. 3 CR 508. The trial court read the note into the

record, in which the jury asked “[a]re we only allowed to consider the

interpreter’s response of the witness in English and not the Spanish

response as heard by Spanish-speaking jury members.” 23 RR 100. After

conferring with the lawyers, the trial court responded to the jury note

that “[t]he interpreter’s response is the official record and evidence in the

case.” 23 RR 100.

     Trial counsel did not object to this response and did not move for a

mistrial. Id. The jury was then forced to determine Cruz-Garcia’s guilt

and sentence based on inaccurate translations of what the witnesses

actually testified, and in violation of Cruz-Garcia’s rights under Fifth,

Sixth, Eighth, and Fourteenth Amendments

        7.    Failure to preserve error concerning Cruz-Garcia’s
              absence from the courtroom during critical
              proceedings.

     In violation of the Fifth, Sixth, and Fourteenth Amendments, Cruz-

Garcia was not present during meaningful proceedings during his trial.




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Fairey v. Tucker, 567 U.S. 924, 343 (1970) (Sotomayor, J., dissenting from

denial of certiorari) (defendant’s presence during trial “is a basic premise

of our justice system that ‘in a prosecution for a felony the defendant has

the privilege under the Fourteenth Amendment to be present in his own

person whenever his presence has a relation, reasonably substantial, to

the fullness of his opportunity to defend against the charge.’” (quoting

Snyder v. Massachusetts, 291 U.S. 97, 105–06 (1934)). Cornelius

acquiesced in Cruz-Garcia’s exclusion from the courtroom. For example,

during the punishment phase, Cruz-Garcia was not present when the

trial court explained to the prosecutors and trial counsel about

potentially improper conversations between jurors. 24 RR 3. At the

beginning of this interaction, the trial court noted that “I just want to

make it clear the defendant is not present.” 24 RR 3. The trial court

explained that a local lawyer, Michael Casaretto, approached her because

he overheard two jurors discussing the case in the elevator. Id. at 3–4.

The discussion appeared to revolve around one to of the juror’s struggles

with the decision-making process at the guilt phase. Id. at 4. After this

discussion concluded, Cruz-Garcia returned to the courtroom. Id. at 6. As

a result of his absence during this critical proceeding, his conviction and




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death sentence violated the applicable constitutional protections, namely

the Fifth, Sixth, and Fourteenth Amendments.

     H.        Trial counsel was ineffective during jury deliberations.

          1.     Failure to investigate jury misconduct.

     On the morning of July 16, 2013, the first day of the punishment

phase of trial, local attorney Michael Casaretto was waiting for the

elevator at the Harris County Criminal Courthouse when he overheard

a conversation between two jurors. 2 SHCR 543. The jurors, who were

wearing their badges at the time, were already in conversation when Mr.

Casaretto arrived, so he could not be sure how long they had been

speaking. Id. However, it was clear to him that they were discussing the

merits of the case in which they were jurors, including the evidence that

had been presented, and how they felt about it. Ex. 31 ¶¶ 2–3. Mr.

Casaretto was “immediately troubled by the possibility that the two

jurors were discussing an ongoing case publicly and outside the presence

of other jurors.” Id. ¶ 4. Mr. Casaretto took down the court information

from the jurors’ badges and went to the 337th District Court to discuss

what he witnessed with Judge Renee Magee. See id. ¶¶ 4–5.




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      Mr. Casaretto met with Judge Magee off the record in her

chambers. He described what he had seen and heard on the elevator and

explained that, as an officer of the court, he “felt it necessary to report to

her conduct that appeared to . . . reach the level of juror misconduct.” Ex.

31 ¶ 5. Mr. Casaretto provided his contact information and told Judge

Magee he would be willing to speak with any of the attorneys regarding

the incident. Id. ¶ 5.

      Following the meeting, the trial court summarized the discussion

on the record. 24 RR 3–6. The trial court characterized the conversation

as “possibly . . . innocuous” and stated that the jurors “did not seem to be

conspiring.” Id. at 3–4. This characterization, however, flatly contradicts

Mr. Casaretto’s level of concern about the incident. Ex. 31 ¶¶ 7, 9

(describing the conversation as “blatant” misconduct and “extremely

important”). The court provided Mr. Casaretto’s contact information

should counsel for either side choose to contact him. Trial counsel Skip

Cornelius represented that he would call Mr. Casaretto to follow up on

the issue and place a summary of their conversation on the record. 24 RR

5.




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     However, trial counsel never contacted Mr. Casaretto. Ex. 31 ¶ 6.

Nor did counsel poll the jury, question the individual jurors involved in

the misconduct, or move for a mistrial. Trial counsel’s failure to do so was

constitutionally deficient. See Cannon v. Mullin, 383 F.3d 1152, 1170

(10th Cir. 2004), abrogated on other grounds by Simpson v. Carpenter,

912 F.3d 542 (10th Cir. 2018) (holding that where trial counsel “was in

fact informed about improper juror communications and did nothing,

such in action would appear to satisfy Strickland’s first prong”).

     Cornelius’s affidavit makes clear that he had not strategic reason

for failing to follow up on Michael Casaretto’s report of juror misconduct.

He states: “Honestly, after the Judge’s thorough description of the event,

as related to her by Mr. Casaretto, and particularly her notes of the event,

I felt that it was insignificant.” 4 SHCR 948. Yet, Judge Magee’s

description was not “thorough” but presented an inaccurate recounting

of what Mr. Casaretto had reported, as a brief interview with Mr.

Casaretto would have revealed. Ex. 31. Cornelius also attempts, again,

to shift to the onus to other members of the defense team, stating that “it

was recorded in the record for appellate counsel to consider on appeal.” 4

SHCR 948. Yet, without trial counsel having investigated the




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misconducted reported by Mr. Casaretto, there was little for appellate

counsel to do.

     Cornelius lacked any strategic reason for not investigating Mr.

Casaretto’s report of juror misconduct. His billing records, however,

suggest a plausible explanation. Cornelius was simply too occupied by his

crushing caseload to bother with things like allegations of jury

misconduct.

        2.        Failure to object to the trial court’s ex parte meeting
                  with a holdout juror

             a.     During the penalty phase deliberations, Angela
                    Bowman became a holdout juror for life.

     Following three days of punishment phase testimony, the jury

retired to deliberate on the afternoon of Thursday, July 18, 2013. 26 RR

176. Unable to reach a decision that afternoon, the jury was sequestered

overnight in a local hotel. Id. at 177. They returned to deliberate the

following morning. When jury foreman Matthew Clinger polled the jury

for the first time early Friday, approximately one-third of the jurors

favored death, one-third favored life, and one-third were undecided. 3 CR

609; id. at 623–24. Although it is unclear where most of the jurors fell in

that group, it is certain that Juror Angela Bowman “was one of the most




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adamantly opposed” to sentencing Cruz-Garcia to death. 3 CR 639; see

id. at 611; Ex. 33 ¶ 2.

     Just before noon on Friday, the jury sent two notes to the trial court

requesting clarification on Cruz-Garcia’s parole eligibility should he

receive a life sentence and an explanation of the definition of “society” in

the first special issue. 3 CR 510–11.

     Throughout the day on Friday, several jurors changed their votes

to death and Juror Bowman “felt a great deal of pressure from the others”

as it became clear that she was the last remaining holdout. 3 CR 611.

Bowman “tried to explain to the other jurors why [she] felt . . . death was

not the appropriate punishment but after several hours and one night of

being sequestered, it was pretty clear [she] was not going to change

anyone’s mind.” Ex. 33 ¶ 2. She became “real emotional” and “upset” in

her pleas with the other jurors, until “she would just basically break

down.” 3 CR 628, 638 [Trans. of Juror Clinger Interview]. The other

members of the jury told Bowman she was simply “holding up the

process” and “taking it too personally.” Id. at 611.

     At 3:20 p.m. on Friday afternoon, Juror Bowman sent a note asking

to meet with the judge. 3 CR 512 (“May I please speak to judge. Angela




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Bowman.”). Upon receiving the note, the trial court went on the record to

discuss the note with the State and trial counsel. Although no one knew

why Juror Bowman requested to speak with the judge, trial counsel

suggested she may simply have a conflict with spending another night in

sequestration. Rather than speak to Juror Bowman in the presence of

Cruz-Garcia and his counsel, the trial court decided to meet with Juror

Bowman ex parte in her chambers with only the court reporter present.

Trial counsel did not object to the ex parte meeting, which led the juror

changing her vote to death after an unconstitutional, coercive

instruction. 27 RR 3–4.

           b.    The trial court held an ex parte meeting with
                 Juror Bowman.

     Trial counsel’s failure to object to this ex parte meeting allowed the

trial court to give Juror Bowman unconstitutionally coercive instructions

during the ex parte meeting. Supplemental jury instructions can be given

to a deadlocked jury. Allen v. United States, 164 U.S. 492 (1896).

However, if those instructions are impermissibly coercive, a defendant’s

constitutional rights are violated. Lowenfield v. Phelps, 484 U.S. 231, 241

(1988); see also Morgan v. Illinois, 504 U.S. 719 (1992) (holding that due

process requires an impartial jury). Whether those instructions are



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improperly coercive requires a court to consider the instruction “in its

context and under all the circumstances.” Jenkins v. United States, 380

U.S. 445, 446 (1965). When a jury returns with its verdict shortly after

the supplemental instruction is given, that weighs in favor of the

instruction being coercive. United States v. United States Gypsum Co.,

438 U.S. 422, 462 (1978). The instruction being given during an ex parte

meeting—even if trial counsel acquiesced to such a meeting—weighs in

favor of any supplemental instruction being coercive. Id. at 460–62. And,

an instruction that targets holdout-jurors specifically is more likely to be

coercive. Lowenfield, 484 U.S. at 237–38.

      The trial court, Judge Renee Magee, called Juror Bowman into her

chambers to discuss the note. Juror Bowman immediately relayed to the

court that she was the sole holdout juror: “I just – I am the only juror

that’s completely – I can’t agree. I can’t agree with the questions. I can’t

answer the same questions with everyone else and I feel pressured. And

I don’t want to hold them up.” 27 RR 5. When Bowman suggested that

the court replace her with an alternate juror, the court instructed her on

the law on the use of alternates in the case of a holdout juror:

     Well, there is a manner that we have to proceed with. And just
     because you can’t deliberate with them or – you are not saying



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      you can’t deliberate, but because your answers to the
      questions are different from them does not qualify that you
      can just sub out with an alternate. That’s not what an
      alternate is for. There is a long list of things that I would have
      to go through. And I don’t want to go through those with you
      because I don’t want to try to figure out what you need to do
      to get off the jury. You shouldn’t have to figure out what you
      want to do. Those things, unfortunately, that would have to
      happen to you, and I don’t want it to happen to you, like falling
      gravely ill, or something like that. And that’s the only way
      that an alternative would replace you, is for you to become
      completely disabled.
Id.

      Judge Magee further instructed Juror Bowman that she must

continue to deliberate with the other jurors. Id. at 5–6 (“Just having a

different opinion than the other jurors at this point, that doesn’t exclude

you from being a juror. So, you are going to have to continue to deliberate

with them.”). Juror Bowman explained that the only agreement she could

reach with the other jurors was on Special Issue No. 2, whether Cruz-

Garcia “actually caused, intended, or anticipated” the death of the

decedent. “No. 1 and 3, they’re all – you know, they are all different. I am

the only one with the different opinion. And I am not changing my stance

on that. I’m not. And they’re not.” 27 RR 6.

      When Juror Bowman stated “it could be years” before the jurors

reached a unanimous verdict, the court “instruct[ed]” her that she would




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be required to deliberate until the court told them to stop and that

“generally, that can be a pretty long period of time.” 27 RR 6. The court

explained that arrangements had been made for the jury to be

sequestered Friday night and into the weekend, if necessary. Id. The

court further reminded Juror Bowman of the court’s instructions at voir

dire and stated, “If the evidence leads you to a certain way, that’s the way

you should answer it, even though it might result in something that

bothers you.” Id. at 7.

     The court again instructed Juror Bowman:

     So, I’d like you to go back and continue your deliberations with
     the jury and continue trying to reach an agreement with the
     jury, if you can. Do not violate your conscious [sic]. And
     answer those questions according to where the evidence leads
     you.

Id. at 7–8.

     Juror Bowman again pleaded with the court to do something about

the fact that she had reached an impasse with the rest of the jurors:

“Judge, I don’t want to have to stay another night. I really don’t know.”

27 RR 8. Despite Juror Bowman repeatedly telling the court that she

could not come to an agreement with the rest of the jurors on either of

the special issues, the court again instructed her to return to the jury




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room “to find out whether you can reach a verdict or not.” The court added

that whether Juror Bowman had to spend another night in sequestration

was “completely in the hands of the entire jury.” Id.

      When Juror Bowman returned to deliberations, she informed the

rest of the jury that the judge had instructed her that “you’re here until

y’all reach a verdict.” 3 CR 629.

      Cornelius was also asked to “[e]xplain counsel’s reasoning in

choosing not to object to or specifically request the trial court to report its

conversation with juror Angela Bowman on the record.” 4 SHCR 933. In

response, Cornelius’s stated: “There is a huge difference between what

we knew at the time and what has been said after the verdict was

rendered.” 4 SHCR 948. That, however, is exactly the point. Cornelius

permitted the trial judge to conduct an ex parte meeting with the holdout

juror during which the judge issued an unconstitutional coercive

instruction specifically to that juror and not the rest of the jury. Cornelius

failed to object to the ex parte meeting and failed to request that the court

inform counsel of what the court said at the meeting. The meeting and

the coercive ex parte instruction were the consequence.




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      Beyond acknowledging that “what we knew at the time” turned out

to very different from what actually happened inside the judge’s

chambers, Cornelius again attempts to place responsibility on others. He

asserts that he “trusted the Judge to do what she thought to be the

appropriate action in the situation” and that he “thought it was recorded

and a part of the record and could be reviewed on appeal if necessary.” 4

SHCR 948. Irrespective of the trial judge’s intentions or whether a matter

can be reviewed on appeal, trial counsel has an obligation to advocate for

his client and to ensure that he is afforded a trial that comports with

constitutional requirements. Cornelius failed to do so.

      I.     Trial counsel rendered ineffective assistance by failing
             to recognize significance of Cruz-Garcia’s foreign
             nationality.
      As a citizen of the Dominican Republic, Cruz-Garcia is entitled to

certain protections under the Vienna Convention on Consular Relations

(VCCR). 63 Here, Cruz-Garcia was denied effective assistance of counsel

when his trial attorneys failed to recognize and act on his rights under


63 Specifically, Cruz-Garcia was entitled to be apprised of his right to contact
authorities from his home country if he has been arrested, detained, or indicted.
Vienna Convention on Consular Relations Art. 36(1)(b), April 24, 1963, 21 U.S.T. 77,
TIAS 6820. Ensuring that this right is properly enforced is crucial in ensuring that
foreigners of any nationality, including United States citizens, receive fair treatment
when detained outside of their home countries.




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the VCCR by contacting the Dominican Republic consulate concerning

his prosecution, thereby depriving him of all the benefits that consular

involvement would have provided.

     Sandra Babcock, a clinical professor of law at Cornell University

and a licensed Texas attorney with over twenty years of capital

experience, stated that it was standard practice within the capital

defense community in 2013 to enlist the help of a foreign consulate to

assist a foreign client. Ex. 26 ¶ 8. This is reflected in the ABA Guidelines,

which state:

           A.    Counsel at every stage of the case should make
                 appropriate efforts to determine whether any
                 foreign country might consider the client to be one
                 of its nationals.

           B.    Unless predecessor counsel has already done so,
                 counsel representing a foreign national should:

                 1.    immediately advise the client of his or her
                       right to communicate with the relevant
                       consular office; and

                 2.    obtain the consent of the client to contact the
                       consular office. After obtaining consent,
                       counsel should immediately contact the
                       client’s consular office and inform it of the
                       client’s detention or arrest.

ABA Guideline 10.6.




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     The State Bar of Texas has adopted even more extensive guidelines

concerning counsel’s obligations under the VCCR:

     GUIDELINE 10.3 Additional Obligations of Counsel
     Representing a Foreign National

     A.   Counsel at every stage of the case should make
          appropriate efforts to determine whether any foreign
          country might consider the client to be one of its
          nationals.

     B.   Counsel representing a foreign national should:

          1.    Immediately determine if the client’s ability to
                communicate with counsel, in English, is sufficient
                to allow counsel and the client to adequately
                communicate. Counsel must recognize that some
                foreign nationals speak in dialects of which
                counsel may be unfamiliar, resulting in
                unintended miscommunication.

          2.    If there are any language conflicts, counsel should
                immediately request the court to appoint an
                appropriate interpreter to assist the defense in all
                stages of the proceeding, or counsel may request
                permission with withdraw due to language
                problems. It is highly recommended that both lead
                and     associate     counsel    have     adequate
                communication with the defendant, rather than
                just one of counsel.

          3.    Immediately advise the client of his or her right to
                communicate with the relevant consular office;
                and

          4.    Obtain the consent of the client to contact the
                consular office. After obtaining consent, counsel
                should immediately contact the client’s consular
                office and inform it of the client’s detention or



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                    arrest. Counsel who is unable to obtain consent
                    should exercise his or her best professional
                    judgment under the circumstances.

Texas Guideline 10.3

          1.     Trial counsel knew that Cruz-Garcia is a citizen of
                 the Dominican Republic.

      In addition to the information available to trial counsel through

Cruz-Garcia himself—who speaks no English and has a foreign

passport—trial counsel had objective information in their possession

confirming that Cruz-Garcia is a foreign national. In particular, counsel

had a copy of Cruz-Garcia’s 2010 Probable Cause Order, which states

that he is not a United States citizen. 64 Ex. 25.

      Through discovery, trial counsel had access to numerous police and

other state-issued reports indicating that Cruz-Garcia is a citizen of the

Dominican Republic. A supplemental police report provided to trial

counsel identifies Cruz-Garcia as a national of the Dominican Republic.

Ex. 26 ¶ 9. Moreover, on June 19, 2013, the prosecution filed a Notice to




64This Order incorrectly identified Cruz-Garcia as being from Dominica rather than
the Dominican Republic. Nevertheless, this Order provides evidence of Cruz-Garcia’s
foreign nationality. Furthermore, given trial counsel’s later efforts to locate and speak
with family members of Cruz-Garcia’s in the Dominican Republic, it is clear that
counsel knew where their client was from.




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Defendant of State’s Intent to Use Extraneous Offenses and Prior

Conviction stating that “[t]he defendant is a citizen of the Dominican

Republic who entered the United States as well as the Commonwealth of

Puerto Rico on multiple occasions since the late 1980s illegally and

remained in both locations for periods of time as an undocumented alien.”

Id.

      This information would have been sufficient to place counsel on

notice that they were defending a non-United States citizen.

Consequently, prevailing norms of professional practice dictated that

trial counsel take certain steps in their representation of Cruz-Garcia.

        2.    Trial counsel failed to fulfill their obligations under
              the Guidelines.

      Trial counsel did not inform Cruz-Garcia of his right to

communicate with the Dominican Republic Consulate, even though

“Guideline 10.6 unequivocally states that counsel should advise a foreign

national client of her right to communicate with consular officials.” Ex.

26 ¶ 10. Despite myriad professional guidelines clearly outlining

counsel’s obligations in representing a foreign national, trial counsel

never made an attempt to contact the Dominican Republic Consulate on

Cruz-Garcia’s behalf.



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     At the time of Cruz-Garcia’s trial, the Dominican Republic

consulate was unaware of Cruz-Garcia’s arrest and that he faced the

death penalty. Had the consulate been informed by reasonably diligent

trial counsel, multiple services would have been made available to Cruz-

Garcia’s defense team, including assistance contacting family members,

locating witnesses or records in the Dominican Republic, sending out

documents and letters to the court, being present in court, and otherwise

supporting Cruz-Garcia. Ex. 27. Had it been contacted by the defense

team, the Dominican Republic consulate would have sought to assist trial

counsel in its representation of Cruz-Garcia, including by facilitating

trial counsel’s investigation. In addition, had the consulate been involved

in this case from the start, they could have sought to use their political

influence to negotiate with the State to seek a life sentence for Cruz-

Garcia. Consular officials are often successful in persuading prosecutors

to waive the death penalty in exchange for a guilty plea. Ex. 26 ¶ 15.

Officers of the Dominican Republic Consulate were available to assist but

trial counsel never contacted the consulate, in clear contravention of the

ABA Guidelines.




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     Given the significant ways consular assistance can positively

impact a defendant’s capital case, there is no doubt that failure to seek

such assistance—especially when the obligation to do so is codified by

various professional guidelines—is prejudicial.

     Trial counsel wholly failed to fulfill their obligations under

prevailing norms of both national and state professional practice in

failing to advise Cruz-Garcia of his right to consular access, seek out

consular assistance in the defense of his case, and communicate to the

court that the State failed to properly warn Cruz-Garcia of his rights

under the VCCR.

     In his affidavit, Cornelius asserts: “The defendant expressed no

interest at all in receiving help of any kinds from his consulate. He was

given warnings about this and it was reiterated by us and his response

to almost everything was that Jesus would deliver him.” Ex. 4 SHCR 944.

The Texas Guidelines on the importance of seeking consular assistance

are clear. Counsel must not merely “reiterate[]” the trial court’s

statements about consular assistance. Counsel is required to “[o]btain

the consent of the client to contact the consular office.” Texas Guideline




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10.3.B.4. Nothing in Cornelius’s affidavit suggests that he affirmatively

attempted to gain Cruz-Garcia’s consent.

     Moreover, even if counsel is “unable to obtain consent,” that does

not mean counsel should not attempt to obtain consular assistance.

Rather, the Texas Guidelines direct counsel to “exercise his or her best

professional judgment.” Id. Nowhere in his affidavit does Cornelius

explain or even suggest why his “best professional judgment” was not to

contact the consulate. Nor does Cornelius explain why, given the extreme

importance the Texas Guidelines place on obtaining consular assistance,

neither he nor his investigator made a written record of having discussed

the issue with Cruz-Garcia.

     J.    Trial counsel’s deficient performance prejudiced the
           defense and Cruz-Garcia is therefore entitled to a new
           trial based on this Sixth Amendment violation.

     Trial counsel failed to present any case on rebuttal at the guilt

phase, seemingly conceded the special issue on future dangerousness,

and presented the testimony of just four lay witnesses on the mitigation

special issue. Had trial counsel performed even the most basic tasks,

including communicating with Cruz-Garcia, retaining a DNA expert and

mitigation specialist, reviewed the State’s file, and conducted even some




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investigation in Puerto Rico, the jury would have been presented with an

entirely different case. Even these basic steps would have enabled Cruz-

Garcia to challenge the credibility of key State witnesses, undermine the

reliability of the State’s linchpin DNA evidence, and present an

alternative theory of the case.

     Likewise, at punishment, Cruz-Garcia’s extensive record of good

behavior while incarcerated in Puerto Rico would have provided powerful

evidence against the State’s case on future dangerousness. The above

testimony (or what would have been punishment phase testimony, had

trial counsel been effective) is substantially different and more

compelling than the brief life history details provided by Cruz-Garcia’s

trial counsel through the testimony of Cruz-Garcia’s brother, wife, and

son. Trial counsel’s failure to conduct a reasonable investigation into

Cruz-Garcia’s life history and to consult with an appropriate expert

witness meant that ample information was left out of the punishment

phase presentation heard by the jury. This absence impaired the jury’s

ability to effectively weigh the presence of mitigation warranting a life

sentence.




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         As shown above, Cruz-Garcia’s Sixth Amendment right to the

effective assistance of counsel was violated when trial counsel performed

ineffectively and thus prejudiced Cruz-Garcia’s defense. See Strickland,

466 U.S. at 693–94. Because he has established both deficient

performance and resulting prejudice, Cruz-Garcia is entitled to a new

trial.

         K.   This Court should authorize Cruz-Garcia’s ineffective
              assistance of trial counsel claim pursuant to § 5(a)(1).

         Cruz-Garcia has a substantial and previously unadjudicated claim

of ineffective assistance of trial counsel. See supra § VI.A−I. Pursuant to

Texas Code of Criminal Procedure, Article 11.071 § 5(a)(1), this Court

may consider a claim raised in a subsequent application where “the

current claim[] and issue[] have not been and could not have been

presented previously . . . because the factual. . . basis for the claim was

unavailable” at the time of prior filings. The factual basis of a claim is

deemed unavailable “if the factual basis was not ascertainable through

the exercise of reasonable diligence” at the time any prior application was

filed. Tex. Code Crim. Proc. art. 11.071 § 5(e). The claim must rest on

“sufficient facts that, if proven, establish a constitutional violation




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sufficiently serious as to likely require relief[.]” Ex parte Campbell, 226

S.W.3d 418, 422 (Tex. Crim. App. 2007).

      This Court should authorize Cruz-Garcia’s ineffective assistance of

trial counsel (“IATC”) claim pursuant to § 5(a)(1) because the facts

underlying Cruz-Garcia’s IATC claim were rendered unavailable by the

ineffective assistance of state habeas counsel. This Court should permit

a subsequent state habeas application to proceed where an applicant

makes a sufficient showing that the failure to raise a substantial IATC

claim was due to initial state habeas counsel’s ineffectiveness. 65 See

Trevino v. Thaler, 569 U.S. 413, 417 (2013) (applying a similar standard

to allow federal petitioners to excuse the default of an IATC claim). Doing

so would safeguard the “bedrock” Sixth Amendment right to counsel.

Martinez v. Ryan, 566 U.S. 1, 12 (2012). Authorization would further give

Texas courts the first opportunity to rule on Cruz-Garcia’s significant

allegations of ineffective assistance of trial counsel, as well as allegations

of ineffective assistance of initial state habeas counsel. As the question of

whether state habeas counsel provided ineffective assistance is a fact-



65 In this scenario, state habeas counsel’s ineffectiveness would not result in relief
from the conviction or sentence, but merely provide a procedurally gateway to allow
the IATC claim to be considered on the merits.



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bound question, a remand to the trial court for factual development of

that issue is appropriate. See Ex parte Storey, 2017 WL 1316348, at *1

(Tex. Crim. App. 2017) (remanding a subsequent state habeas application

to the trial court for factual development regarding whether § 5 was met).

        1.    Cruz-Garcia’s state habeas counsel were ineffective,
              rendering a substantial IATC claim unavailable to
              him.

     Cruz-Garcia presents, at minimum, a prima facie case of ineffective

assistance of state habeas counsel. In initial state post-conviction

proceedings, the Office of Capital and Forensic Writs (“OCFW”),

conducted a cursory investigation of the factual and legal basis for

potential ineffective assistance of trial counsel claims. See 1 SHCR 3–6.

Affidavits submitted by an OCFW attorney and investigator document a

failure to conduct the extra-record investigation mandated by Article

11.071 and the contemporaneous standard of care. Instead, state habeas

counsel devoted less than a week to locate, interview, and obtain

declarations from critical mitigation witnesses in the Dominican

Republic and Puerto Rico, overlooked easily accessed and publicly

available information, and failed to investigate and develop critical

failures establishing the ineffective assistance of trial counsel.




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           a. Facts may be rendered unavailable within the
              meaning of Texas Code of Criminal Procedure
              Article 11.071 § 5(a)(1) by the ineffective assistance
              of state habeas counsel.
     This Court has acknowledged that a challenge to the ineffective

assistance of trial counsel will often be foreclosed on direct appeal

because of the unavailability of extra-record fact development, such that

state post-conviction proceedings are a death-sentenced applicant’s only

opportunity to raise an IATC claim. Ex parte Torres, 943 S.W.2d 469, 475

(Tex. Crim. App. 1997) (holding that because “the record on direct appeal

is inadequate to develop an ineffective assistance claim,” applicant

should be permitted to raise IATC claim anew in state post-conviction).

Moreover, initial post-conviction proceedings are critical precisely

because an application for writ of habeas corpus may not be amended.

Hence, Article 11.071 itself makes clear that extra-record fact

development is intrinsic to post-conviction review of death sentences, and

expressly situates the duty to conduct such fact development with state

habeas counsel: Section 3, titled “Investigation of Grounds for

Application,” states:

     On appointment, counsel shall investigate expeditiously,
     before and after the appellate record is filed in the court of
     criminal appeals, the factual and legal grounds for the filing
     of an application for a writ of habeas corpus.


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Tex. Code Crim. Proc. art. 11.071 § 3(a) (emphasis added). The 2006 State

Bar of Texas Guidelines and Standards for Texas Capital Counsel

(“Texas Guidelines”) similarly state:

     Habeas corpus counsel must treat the habeas corpus stage as
     both the first and last meaningful opportunity to present new
     evidence to challenge the capital client’s conviction and
     sentence. Therefore, counsel has a duty to conduct a searching
     inquiry to assess whether any constitutional violations may
     have taken place[.]
State Bar of Texas, Guidelines and Standards for Texas Capital Counsel

(“Texas Guidelines”), adopted April 21, 2006, Guideline 12.2.B(1)(c)

(emphasis added).

     Article 11.071 further provides that a convicting court “shall”

reimburse counsel for “habeas corpus investigation” and does not require

that counsel obtain the prior approval of the reimbursing court. Id. § 3(d)

(emphasis added). The duty to investigate and the convicting court’s

corresponding obligation to reimburse related expenses expressly applies

to counsel employed by the OCFW. Id. § 3(f). Adequate fact investigation

is furthermore essential to satisfying the burden of pleading, which

requires that “an application for writ of habeas corpus . . . contain

sufficient specific facts that, if proven to be true, might entitle the




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applicant to relief.” Ex parte Medina, 361 S.W.3d 633, 640 (Tex. Crim.

App. 2011).

      This duty, moreover, applies directly to counsel. “While confined to

prison, the prisoner is in no position to develop the evidentiary basis for

a claim of ineffective assistance, which often turns on evidence outside

the trial record.” Martinez, 566 U.S. at 12. Here, for example, any extra-

record investigation was entirely out of reach of Cruz-Garcia, who does

not speak English, does not have access to even a phone, and could not

read the trial record. 66 Hence, the availability or unavailability of facts

upon which an IATC claim may turn depends entirely on the assistance

of state habeas counsel. This Court should therefore find that the

ineffective assistance of state habeas counsel may render the facts

underpinning an IATC claim unavailable within the meaning of Article

11.071 § 5(a)(1).

             b. Initial state habeas counsel for Cruz-Garcia were
                ineffective.
      Initial state habeas counsel for Cruz-Garcia rendered ineffective

assistance of counsel as measured against state habeas counsel’s duties



 The convicting court ordered the translation of only volumes 18–28 of the Reporter’s
66

Record from trial.




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under Article 11.071 and the contemporaneous standard of care. Because

of the critical role of extra-fact development in state post-conviction

proceedings, Article 11.071 expressly provides that state habeas counsel

“shall” investigate and develop extra-record facts “before and after the

appellate record is filed in the court of criminal appeals[.]” Tex. Code

Crim. Proc. art. 11.071 § 3(a) (emphasis added). The Texas Guidelines

similarly affirm that a thorough investigation is the core duty of state

habeas counsel by cautioning that “[c]ounsel should not accept an

appointment if he or she is not prepared to undertake the comprehensive

extra-record      investigation   that   habeas   corpus   demands.”   Texas

Guidelines adopted April 21, 2006, Guideline 12.2.B(1)(a) (emphasis

added). Hence, the Guidelines mandate that state habeas counsel “must

promptly obtain . . . the assistance of a fact investigator and a mitigation

specialist[.]” Id. at 12.2.B(3)(a) (emphasis added).

     Here, state habeas counsel failed to obtain trial counsel’s publicly

available appointment and billing records. Those records lend significant

support to Cruz-Garcia’s allegations of ineffective assistance of counsel.

Those records are readily accessible via the Harris County District

Clerk’s Office.




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      Tellingly, state habeas counsel did not seek any investigation-

related funding. Ex. 120 ¶ 8. Instead, a single investigator, Mr. de la

Rosa, was assigned to Cruz-Garcia’s case, with no distinction between

fact and mitigation investigation. Id. ¶ 11. Mr. de la Rosa had very

limited prior investigation experience, was assigned to conduct the

totality of any investigation in connection with both phases of Cruz-

Garcia’s case, and was discouraged from seeking support. Ex. 121 ¶¶ 3;

4; 8. Even though state habeas counsel determined that investigation

would require travel to Houston, the Dominican Republic, and Puerto

Rico, Mr. de la Rosa was given just one week to locate, interview, draft

and translate declarations, and obtain signed statements from witnesses

in the Dominican Republic and Puerto Rico. Ex. 120 ¶¶ 11; 12; Ex. 121

¶¶ 4–6. Due to a family emergency, Mr. de la Rosa had to cut his trip

short. Id. at ¶ 7.

      Despite Article 11.071’s clear mandate that investigation should

begin “on appointment” and throughout the pendency of the direct

appeal, Tex. Code Crim. Proc. art. 11.071 § 3, it was not until the spring

of 2015, nearly two years into appellate and post-conviction proceedings

and weeks shy of the initial deadline for filing an initial writ application,




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that any investigation in the Dominican Republic and Puerto Rico was

conducted. Ex. 120 ¶ 13. Similarly, there is no indication that state

habeas counsel sought the assistance of “a fact investigator with

specialized training[,]” despite it being “indispensable to discovering and

developing the facts that must be unearthed in habeas corpus

proceedings.” Texas Guidelines at 12.2.B.4(d).

     Likewise, despite the Texas Guidelines making clear that state

habeas counsel “has a duty to keep the capital client informed” and to

“fully discuss[]” case strategy, Texas Guidelines at 12.2.B.2(b), state

habeas counsel did not seek to have the trial record translated into

Spanish until July 2014, or six months after appointment. 4 SHCR

855−62; Texas Guidelines at 12.2.B.2(e) (expressly alerting state habeas

counsel to the additional steps that must be taken where the client is a

national of a foreign country). Cruz-Garcia, who does not speak English,

was therefore prevented from participating fully in his own case for at

least the first six months and the time during which the record was being

translated.

     Contrary to the Texas Guidelines’ clear instruction “to reinvestigate

. . . most, if not all, of the critical witnesses for the prosecution and




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investigate their background[,]” including “whether motives for

fabrication or bias were left uncovered at the time of trial[,]” Texas

Guidelines at 12.2.B.4(e), state habeas counsel did not investigate the

State’s sole eyewitness or the State’s only witness to allege that Cruz-

Garcia confessed. Ex. 120 ¶ 16.

           Based on state habeas counsel’s failure to identify evidence of,

and raise allegations of, trial counsel’s ineffectiveness, this Court should

therefore find that prior state habeas counsel was ineffective and thus

rendered the facts underpinning Cruz-Garcia’s here-presented IATC

claim unavailable, and authorize Cruz-Garcia’s IATC claim under §

5(a)(1).

           State habeas counsel’s failures rendered a substantial claim

of ineffective assistance of counsel unavailable to Cruz-Garcia. See supra

§§VI.B-J. Cruz-Garcia should not be barred from having this claim

reviewed on the merits due to the inadequate performance of his state

habeas counsel. While state habeas counsel’s ineffectiveness does not

entitle Cruz-Garcia to relief from his conviction or sentence, they should

provide a gateway by which the underlying claim can be heard on the

merits.




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            2.    This Court should authorize Cruz-Garcia’s IATC
                  claim to safeguard the fundamental Sixth
                  Amendment right to effective assistance of trial
                  counsel, and to allow Texas courts the first
                  opportunity to rule on the merits of the IATC claim
                  and whether state habeas counsel was ineffective.

         As noted supra § VI.K.1.a, in Texas, state post-conviction

proceedings are courts’ first and potentially only chance to enforce the

“bedrock” Sixth Amendment right to effective assistance of trial counsel.

See Trevino v. Thaler, 569 U.S. 413, 422 (2013). Hence, where initial state

habeas counsel fails to effectively investigate and develop IATC

allegations, Texas courts may be deprived of any opportunity to enforce

this right. Although this Court held in Ex parte Graves that the

ineffective assistance of state habeas counsel “cannot fulfill the

requirement of article 11.071 section 5[,]” 67 since then this Court and its

members have weighed in favor of recognizing the ineffective assistance

of state habeas counsel as sufficient to overcome Article 11.071 § 5. See

Ex parte Ruiz, 543 S.W.3d 805, 826–32 (Tex. Crim. App. 2016) (across

different opinions, all members of the court suggesting that there was

“good cause” to revisit Graves); Ex parte Alvarez, 468 S.W.3d 543, 545



67   70 S.W. 3d 103, 105 (Tex. Crim. App. 2002).




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(Tex. Crim. App. 2015) (Yeary, Johnson, and Newell, JJ., concurring)

(“[R]ecent developments in federal habeas procedure, as well as, to a

certain extent, the rationale underlying those new developments, counsel

that the Court should revisit the holdings of Graves.”); Ex parte Buck, 418

S.W.3d 98, 113 (Tex. Crim. App. 2013) (Alcala, J., dissenting, joined by

Price and Johnson, JJ.) (concluding that Graves should be overturned).

     This case differs in critical aspects from previous cases that have

weighed against recognizing the ineffective assistance of state habeas

counsel as grounds for overcoming § 5. First, no state or federal court has

yet adjudicated the allegations underpinning the IATC claim before this

Court. Cf. Ruiz, 543 S.W.3d at 826 (declining to address IATC claim

where “the merits of [applicant’s] IAC claims have already been

thoroughly addressed by two federal courts”). On the contrary, here a

federal court has stayed federal proceedings so as to give Texas courts

the first opportunity to adjudicate Cruz-Garcia’s previously unpresented

claims. See Ex. 137. It therefore follows that Cruz-Garcia’s IATC claim

has not been adjudicated in state court. See Ex parte Ruiz, 543 S.W.3d

805, 826 (Tex. Crim. App. 2016) (declining to revive IATC claim on basis

of ineffective assistance of state habeas counsel where IATC claim was




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found by federal court to have been exhausted in state court). Whether

state habeas counsel rendered ineffective assistance as to permit review

in state court of Cruz-Garcia’s claim is therefore ripe for adjudication. Id.

(finding that issue was “moot” based on state court exhaustion and

federal court adjudication of underlying IATC claim).

     Second, because neither a Texas court nor a federal court has

reviewed the merits of Cruz-Garcia’s underlying IATC claim, federalism

and finality concerns dictate that Texas courts should adjudicate this

IATC claim first. In the companion cases Martinez and Trevino, the

United States Supreme Court held that ineffective assistance of state

habeas counsel may constitute cause sufficient to overcome procedural

default, and thus permit federal habeas review, of an otherwise defaulted

IATC claim. See Martinez, 566 U.S. at 12.Here, should this Court decline

to authorize Cruz-Garcia’s IATC claim, principles of finality and

federalism may be jeopardized by the eventuality of a federal court

finding that it may nevertheless reach the merits of the IATC claim.

Notably, in Trevino, the State of Texas echoed these concerns and

cautioned that, “[i]f [the United States Supreme Court] changes the rules

[against excusing procedural default of IATC claims] now, equity




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demands at a minimum that the CCA have an opportunity to reevaluate

its procedural ruling, and adjudicate [petitioner’s IATC claim] on the

merits.” Martinez v. Ryan, 566 U.S. 1 (2012) (Brief for petitioner). In light

of Martinez and Trevino, Texas courts “should be permitted, in the first

instance, to decide the merits” of his IATC claim. Trevino, 569 U.S. at 420

(citing Brief for Respondent at 58–60).

     Third, any concern that recognizing the ineffective assistance of

state habeas counsel as grounds for overcoming Section 5 would open the

floodgates to “endless and repetitious writs” are easily mitigated here.

See Graves, 70 S.W.3d at 115. Cruz-Garcia has alleged both a prima facie

case of ineffective assistance of trial counsel and ineffective assistance of

state habeas counsel. Hence, as in Martinez and Trevino, this Court could

readily limit the effect of authorization here by requiring petitioners to

establish a prima facie claim, as Cruz-Garcia has, that state habeas

counsel was ineffective and a potentially meritorious IATC claim.

           By recognizing that ineffective assistance of prior state

habeas counsel is sufficient to overcome Section 5, this Court will ensure

the safeguard of the Sixth Amendment right to effective assistance of

trial counsel, give Texas courts the first opportunity to review the merits




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of Cruz-Garcia’s IATC claim, and thus preserve Texas courts’ federalism

and finality interest.

         3.    Remand to the trial court is appropriate because the
               question of whether state habeas counsel was
               ineffective is a fact-intensive question.

      The question of whether state habeas counsel provided ineffective

assistance is a fact-bound question, a remand to the trial court for factual

development of that issue is appropriate. See Ex parte Storey, 2017 WL

1316348, at *1 (remanding a subsequent state habeas application to the

trial court for factual development regarding whether § 5 was met). Here,

Cruz-Garcia has presented a strong prima facie case of state habeas

counsel’s ineffectiveness. See § VI.K.1 supra. Article 11.071, § 9(a)

empowers the trial court to use “affidavits, depositions, interrogatories,

and evidentiary hearings” as necessary to resolve disputed factual issues.

As the trial court is statutorily positioned as the initial factfinder in state

habeas proceedings, remand to that court is appropriate for an initial

determination of state habeas counsel’s ineffectiveness. This Court need

not pass final judgment on that question now.




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  VII. Claim Seven: Cruz-Garcia was denied the right to
       confront witnesses, in violation of the Sixth and
       Fourteenth Amendments.
     Under clearly established Supreme Court precedent, testimonial

witness statements are not admissible unless both the witness is

unavailable to testify and the defendant had a prior opportunity to cross-

examine that witness. Crawford v. Washington, 541 U.S. 36, 53–54

(2004). Results of forensic analysis are testimonial statements for

purposes of the Sixth Amendment. Melendez-Diaz v. Massachusetts, 557

U.S. 305, 311 (2009). As argued supra §§ VI.G.1, Cruz-Garcia’s Sixth and

Fourteenth Amendment rights to confront witnesses were violated when

the State called witnesses to testify about forensic analysis performed by

non-testifying persons.

     A.    Cruz-Garcia was deprived of the right to confront
           witnesses in connection with forensic analysis
           relevant to the DNA evidence, and to the cause of death
           of A. and Saul Flores.
     At trial, Matt Quartaro, a DNA analyst at Orchid Cellmark,

repeatedly testified regarding lab work that was performed by others who

did not testify at trial. See supra §§ I.B and G. He also sponsored exhibits

that others collected and/or analyzed. Id. Likewise, Dr. Dwayne Wolf

testified regarding autopsy work that others performed, concerning both




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A. (at the guilt phase) and Saul Flores (at the punishment phase). See

supra §§ I.E and G. Because the DNA and autopsy evidence significantly

contributed to Cruz-Garcia’s conviction, and because the murder of Saul

Flores was a critical aspect of the punishment phase, the Confrontation

Clause violation was not harmless.

     B.    Cruz-Garcia’s Confrontation Clause claim meets the
           requirements of Texas Code of Criminal Procedure
           Article 11.071 § 5.

     This Court should authorize Cruz-Garcia’s Confrontation Clause

claim pursuant to Tex. Code Crim. Proc. art. 11.071 § 5(a)(2). In support

thereof, Cruz-Garcia incorporates here by reference all facts, allegations,

and statements of law included supra § I.I demonstrating that no rational

juror could have convicted Cruz-Garcia. The merits of that argument are

distinct from the underlying constitutional violation alleged−that is, this

Court must first evaluate Cruz-Garcia’s prima facie case of innocence,

separately from the merits of the claim he seeks to have authorized.

     This claim should also be authorized to proceed as explained in § VI.

K supra, establishing that prior state post-conviction counsel was

ineffective for failing to raise this claim in initial and first successive




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state post-conviction proceedings. Thus, Cruz-Garcia has met the

requirements of § 5.

  VIII. Claim Eight: Cruz-Garcia’s constitutional rights were
        violated when the trial court held proceedings without
        Cruz-Garcia being present.
     “It is a basic premise of our justice system that ‘in a prosecution for

a felony the defendant has the privilege under the Fourteenth

Amendment to be present in his own person whenever his presence has

a relation, reasonably substantial, to the fullness of his opportunity to

defend against the charge.’” Fairey v. Tucker, 567 U.S. 924, 343 (1970)

(quoting Snyder v. Massachusetts, 291 U.S. 97, 105–06 (1934))

(Sotomayor, J., dissenting from denial of certiorari). The Supreme Court

has long recognized that the right to be present is “scarcely less

important to the accused than the right of trial itself.” Diaz v. United

States, 223 U. S. 442, 455 (1912).

     A.    The trial court held two critical proceedings in
           connection with Cruz-Garcia’s trial outside Cruz-
           Garcia’s presence, in violation of his constitutional
           rights.
     The first critical stage of his trial from which Cruz-Garcia was

excluded was the ex parte meeting with Juror Bowman, at which the trial

court gave unconstitutionally coercive supplemental instructions. The




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factual allegations set forth in § VI.H supra are incorporated herein by

express reference. Cruz-Garcia was also absent when the trial court

conferred with defense counsel and the prosecution regarding a

conversation that a third-party attorney overheard between two jurors

outside the courtroom. 24 RR 6–6. During the discussion with counsel,

Judge Magee related the following notes from her conversation with the

reporting attorney:

     He stated that the two individuals were speaking about
     people on the jury with struggles. It was hard to hear them.
     He seemed – they seemed to be speaking about the case. The
     younger individual thanked the older individual for words of
     encouragement yesterday, which yesterday would have been
     July 15th, 2013. He said they seemed to be speaking about
     struggling with the issues. There was nothing specific about
     the issues discussed and they did not seem to be conspiring.
     He said he could not tell if they were actually talking about
     evidence. He said the conversation went on for approximately
     five minutes and that was while they were waiting on the
     elevator because the elevator took a long time. Once they got
     on the elevator, the conversation did not continue.
Id. at 5–6.

     Judge Magee did not make her notes from the conversation a part

of the record on the ground that she had read them “verbatim” in open

court (but outside Cruz-Garcia’s presence). Id. at 7. Counsel took the

attorney’s name and phone number for a follow-up conversation and the

parties agreed to the court’s proposal to admonish the jury “strongly” not


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to discuss the case outside deliberations “and leave it at that.” Id. at 6.

Shortly after this discussion, Cruz-Garcia and the jury were brought into

the courtroom. Id. at 8. Other than reiterating the admonishments, the

court warned the jurors that a violation “could have serious ramifications

to the outcome of this case.” Id. at 8–9. Nothing about the inappropriate

conversation was discussed in Cruz-Garcia’s presence.

     Both of Cruz-Garcia’s absences occurred during critical phases of

his trial. Both discussions took place during the jury’s deliberations and

both exposed jurors’ struggles to arrive at a unanimous verdict.

Furthermore, the conversation between the court and the attorneys

during the guilt-phase deliberations also addressed potential juror

misconduct that, as the court itself acknowledged, “could have serious

ramifications to the outcome of this case.” 24 RR at 6.

     This discussion should have led to questioning of both of the jurors

involved and the reporting attorney in open court. Without Cruz-Garcia’s

input, that did not occur, to his own prejudice. The court’s ex parte

discussion with Juror Bowman was even more critical to the outcome of

the trial. Juror Bowman adamantly insisted that she would not change

her answers to special issues 1 and 3, that the other jurors were




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frustrated with her for being a holdout, and that she did not want to

continue deliberations because “it could be years” before they agreed on

a verdict. 27 RR at 5–8. The court did not relate any of the conversation

it had with Juror Bowman to counsel or directly to Cruz-Garcia, though

counsel had clearly agreed to the ex parte meeting on the assumption that

the Judge would simply determine whether the juror had a scheduling

conflict. Id. at 3–4. Immediately after Juror Bowman spoke with the trial

court outside the presence of Cruz-Garcia and his counsel, she changed

her verdict and agreed to a death sentence. She immediately contacted

trial counsel expressing how much the conversation with the court and

her verdict disturbed her. She even signed sworn affidavit averring that,

“[t]he verdict I returned was not a true and honest expression of my belief

in the evidence supporting the special issues that called for the death

penalty.” 3 CR 611.

     Had Cruz-Garcia and his counsel been present during the meeting

with Juror Bowman, the coercive nature of Judge Magee’s questions and

responses would have been challenged, counsel themselves would have

questioned Juror Bowman, and a motion to poll the jury to determine

whether they were hopelessly deadlocked—necessitating a mistrial—




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would have been filed. Cruz-Garcia was clearly prejudiced by his and his

attorneys’ absence during this colloquy.

     B.     Cruz-Garcia’s Fourteenth Amendment due process
            claim meets the requirements of Texas Code of
            Criminal Procedure Article 11.071 § 5.
     This Court should authorize Cruz-Garcia’s Fourteenth Amendment

due process claim pursuant to Tex. Code Crim. Proc. art. 11.071 § 5(a)(2).

In support thereof, Cruz-Garcia incorporates here by reference all facts,

allegations, and statements of law included supra § I.I demonstrating

that no rational juror could have convicted Cruz-Garcia.

     This claim should also be authorized to proceed as explained in

§ VI.K, supra, establishing that prior state post-conviction counsel was

ineffective for failing to raise this claim in initial and first successive

state post-conviction proceedings. This claim is a record-based claim and

was entirely overlooked by prior state habeas counsel. See Ex. 120 at ¶

17. Thus, Cruz-Garcia has met the requirements of § 5.

  IX.     Claim Nine: The trial court judge who presided over
          Cruz-Garcia’s trial and state habeas proceedings had a
          conflict of interest.
     Due process guarantees that an accused will be tried before a judge

who harbors no actual bias against the accused. See, e.g., In re Murchison,

349 U.S. 133, 136 (1955). A judge free of actual bias is one capable of



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“hold[ing] the balance nice, clear and true between the state and the

accused[].” Tumey v. Ohio, 273 U.S. 510, 532 (1927). Because of the

impracticability of proving actual bias, the Supreme Court has set forth

an objective test for adjudicating judicial bias challenges. Williams v.

Pennsylvania, 136 S. Ct. 1899, 1905 (2016). Under this test, relief should

be granted when “the probability of actual bias on the part of the judge

or decisionmaker is too high to be constitutionally tolerable.” Withrow v.

Larkin, 421 U.S. 35, 47 (1975). Thus, the courts ask “whether, as an

objective matter, the average judge in [the challenged judge’s] position is

‘likely’ to be neutral, or whether there is an unconstitutional ‘potential

for bias.’” Williams, 136 S. Ct. at 1905; accord Caperton v. A.T. Massey

Coal Co., 556 U.S. 868, 881 (2009). Judicial bias is a structural trial error

not subject to harmless error analysis. Williams, 136 S. Ct. at 1909. Upon

a showing of a constitutionally intolerable risk of bias, relief is automatic.

     A.    Judge Magee had a conflict of interest based on several
           grounds.
     First, Judge Magee, who presided over Cruz-Garcia’s trial, was an

assistant district attorney (“A.D.A”) with the Harris County District

Attorney’s Office from 1992 to 2012. The HCDAO secured an indictment

against Cruz-Garcia for capital murder on November 20, 2008, four years



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before Judge Magee left their office. The trial of Cruz-Garcia began only

six months after she left the Harris County District Attorney’s Office to

assume her judgeship. Moreover, during twelve of her twenty-one years

at the Harris County District Attorney’s Office, Judge Magee served as a

felony district court chief, supervising other ADA’s in four district courts.

She also personally tried ten capital murder cases to jury. Thus, Judge

Magee would have had unfettered access to, and potentially direct

personal involvement in, the investigative and prosecutorial materials

against Cruz-Garcia.

     Second, Judge Magee held improper ex parte communication with

Juror Bowman regarding her position as the lone holdout juror refusing

to sentence Cruz-Garcia to death. See supra § VIII.H. Judge Magee thus

violated Cruz-Garcia’s right to be present at all critical stages of his trial

and unconstitutionally coerced Juror Bowman into rendering an untrue

verdict.

     Third, Cruz-Garcia also challenges Judge Magee’s highly unusual

and improper ruling disallowing him from cross-examining State’s

witnesses and presenting his own evidence concerning a history of

misconduct at the HPD crime lab that handled the DNA evidence in his




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case. For instance, Cruz-Garcia sought to introduce evidence that three

of the HPD crime lab employees involved in the handling of evidence in

this case were incompetent and engaged in misconduct and criminal

behavior.

     Finally, evidence from Judge Magee’s handling of Cruz-Garcia’s

state habeas proceeding also tends to establish her bias during the trial.

First, while running for re-election during Cruz-Garcia’s state habeas

proceedings, Cruz-Garcia’s case was the only case cited in support of her

candidacy. Judge Magee’s campaign website even linked to a Houston

Chronicle article about the trial. Ex. 60. Judge Magee also refused to

recuse herself upon Cruz-Garcia’s motion alleging that his claim that she

violated his constitutional rights by holding an ex parte meeting with

Juror Bowman created a conflict of interest. Upon losing her reelection

campaign, Judge Magee rushed Cruz-Garcia’s state habeas, preventing

him from meaningfully participating in order to ensure that she would

decide the fate of his conviction and death sentence, which she did two

days before her tenure as judge concluded by signing the State’s proposed

FFCL verbatim. See supra §I.F.




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     Judge    Magee’s    status   as   a   felony   supervisor   creates    a

constitutionally intolerable likelihood that she was aware of and involved

in prosecutorial decision-making before taking the bench and presiding

over the trial. Williams, 136 S. Ct. at 1905 (Fourteenth Amendment

violated where the judge “earlier had significant, personal involvement

as a prosecutor in a critical decision regarding the defendant’s case.”).

Certainly, the average judge presiding over a capital murder trial being

prosecuted by the same office the judge worked for as a supervisor during

the first four years of the case would not sit as a neutral arbitrator.

Moreover, Judge Magee’s conduct throughout the trial, and continuing

into the state habeas proceedings, which was decidedly biased in favor of

the prosecution, casts additional doubt on Judge Magee’s neutrality.

     B.    Cruz-Garcia’s judicial  bias  claim meets    the
           requirements of Texas Code of Criminal Procedure
           Article 11.071 § 5.
     This Court should authorize Cruz-Garcia’s judicial bias claim

pursuant to Tex. Code Crim. Proc. art. 11.071 § 5(a)(2). In support

thereof, Cruz-Garcia incorporates here by reference all facts, allegations,

and statements of law included supra § I.I demonstrating that no rational

juror could have convicted Cruz-Garcia. This claim should also be




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authorized to proceed as explained in § VI.K, supra, establishing that

prior state post-conviction counsel was ineffective for failing to raise this

claim in initial and first successive state post-conviction proceedings.

Thus, Cruz-Garcia has met the requirements of § 5.

  X.     Claim Ten: Testimony was translated incorrectly to the
         jury, in violation of Cruz-Garcia’s Fifth, Sixth, Eighth,
         and Fourteenth Amendments.

       Cruz-Garcia’s Fifth, Sixth, Eighth and Fourteenth Amendment

rights were violated by the trial court’s failure to provide accurate

interpretations of the testimony. The Supreme Court has not specifically

addressed whether provision of an interpreter is a fundamental trial

right. Nonetheless, in the context of competency challenges, the Court

has long held that a criminal defendant who “lacks the capacity to

understand the nature and object of the proceedings against him, to

consult with counsel, and to assist in preparing his defense may not be

subjected to trial” because, “though physically present in the courtroom,

[he] is in reality afforded no opportunity to defend himself.” Drope v.

Missouri, 420 U.S. 162, 171 (1975); see Ferrell v. Estelle, 568 F.2d 1128,

1132–33 (5th Cir. 1978) (“The Constitution requires that a defendant

sufficiently understand the proceedings against him to be able to assist




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in his own defense. Ensuring that the defendant has that minimum

understanding is primarily the task of the trial judge.”).

     Moreover, as a criminal defendant, Cruz-Garcia enjoyed the

“bedrock procedural guarantee” of confrontation of the witnesses against

him, Crawford, 541 U.S. at 42 (citation omitted); “the right to present the

defendant’s version of the facts as well as the prosecution’s to the jury so

it may decide where the truth lies,” Washington v. Texas, 388 U.S. 14, 19

(1967); and the right to have a jury determine every element of the crime

of which he was charged, Apprendi, 530 U.S. at 476–77. Criminal

defendants are deprived of these and other “constitutional protections of

surpassing importance,” id. at 476, when the evidence at their trials is

inaccurately conveyed to both themselves and their juries. The injustice

resulting from inaccurate interpretation is amplified when not only the

defendant’s liberty, but his life, is at stake in a capital trial. See Gilmore

v. Taylor, 508 U.S. 333, 342 (1993) (capital defendants entitled to “a

greater degree of accuracy . . . than would be true in a noncapital case”).

      A.     Cruz-Garcia’s trial proceedings were not accurately
            interpreted.
      Eleven witnesses at Cruz-Garcia’s trial testified in Spanish because

they did not adequately speak or understand English. See 18 RR 194; 20



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RR 80, 116; 21 RR 4; 24 RR 14, 43, 78, 98, 118; 25 RR 59; 26 RR 9. 68 The

record contains several instances of the interpreters self-correcting their

interpretations of these witnesses’ testimony, raising doubts as to both

the interpreters’ qualifications and the accuracy of the testimony that

was related to the jury. See, e.g., 20 RR 94 (correcting original

interpretation stating “I was in trouble” to “that was a problem”), 165

(correcting original interpretation stating “I didn’t want to die” to “I

wanted to die”); 25 RR 65 (correcting original interpretation stating the

defendant was wearing “a grey coat and a grey tie” to a “blue shirt”).

      Solidifying the concerns raised by the record, the jury sent a note to

the trial court during their guilt-phase deliberations in which they asked:

“Are we only allowed to consider the interpreter’s response of the witness

in English and not the Spanish response as heard by the Spanish-

speaking jury members[?]” 23 RR 100. After conferring with counsel, and

without objection, the court instructed the jury that “[t]he interpreter’s

response is the official record and evidence in the case.” Id.




68The State presented Spanish-language testimony from three guilt-phase witnesses
and six penalty-phase witnesses. Cruz-Garcia presented Spanish-language testimony
from two penalty-phase witnesses.




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     Finally, Ronaldo Hernandez, one of the interpreters for the jury,

also interpreted the English language testimony and argument into

Spanish for Cruz-Garcia, a foreign national who does not speak or

understand English. 4 RR 5. Based on the record evidence that he and

fellow interpreter Marilu Flores struggled to accurately interpret the

Spanish testimony into English, it is more likely than not that Mr.

Hernandez also failed to adequately interpret the English testimony into

Spanish for Cruz-Garcia.

     The trial court’s failure to provide accurate interpretations of the

evidence and arguments, and the failure of the parties to identify and

request amelioration of this error under Tex. Code Crim. Proc. art.

38.30(a), resulted in a violation of Cruz-Garcia’s constitutional rights to

due process and a fair trial, right to a jury trial, right to a unanimous

verdict, right to be present and confront the witnesses against him, and

right to present a defense. Because Cruz-Garcia’s trial was infected with

inaccurate interpretations of the evidence and arguments, and because

the jurors deliberated over different testimony based on their

comprehension or not of the Spanish language, Cruz-Garcia’s Fifth,

Sixth, Eighth and Fourteenth Amendment rights were violated.




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     B.     Cruz-Garcia’s inaccurate interpretation claim meets
            the requirements of Texas Code of Criminal Procedure
            Article 11.071 § 5.
     This     Court    should     authorize    Cruz-Garcia’s     inaccurate

interpretation claim pursuant to Tex. Code Crim. Proc. art. 11.071

§ 5(a)(2). In support thereof, Cruz-Garcia incorporates here by reference

all facts, allegations, and statements of law included supra § I.I

demonstrating that no rational juror could have convicted Cruz-Garcia.

This claim should also be authorized to proceed as explained in § VI.K,

supra, establishing that prior state post-conviction counsel was

ineffective for failing to raise this claim in initial and first successive

state post-conviction proceedings. This claim is a record-based claim and

was entirely overlooked by prior state habeas counsel. See Ex. 140 at ¶

17. Thus, Cruz-Garcia has met the requirements of § 5.

  XI.     Claim       Eleven:  Prosecutors     made     numerous
          inappropriate and inflammatory comments throughout
          trial, denying Cruz-Garcia his right to due process and
          fair trial.
     Prosecutorial misconduct, such as the State’s inflammatory

rhetoric in this case, violates a defendant’s due process rights to a fair

trial when the conduct “so infected the trial with unfairness as to make

the resulting conviction a denial of due process.” Darden v. Wainwright,




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477 U.S. 168, 181 (1986). The State made numerous inappropriate,

inflammatory, and prejudicial statements throughout trial, in violation

of Fifth, Eighth and Fourteenth Amendments. Among other things, the

State recited Biblical passages, attempted to elicit religious fury from the

jurors, compared Cruz-Garcia to Adolf Hitler and infamous serial killers,

and suggested to the jury that Cruz-Garcia was subhuman. 12 RR 22;

163–64; 6 RR 26–27; 8 RR 95; 11 RR 202; 12 RR 261; 13 RR 217; 14 RR

222–23, 262–63; 26 RR 175. Given how far beyond the pale the State’s

comments went, there can be no question that they seriously prejudiced

the jury’s ability to judge Cruz-Garcia fairly.

     This    Court    should    authorize    Cruz-Garcia’s     prosecutorial

misconduct claim pursuant to Tex. Code Crim. Proc. art. 11.071 § 5. In

support thereof, Cruz-Garcia incorporates here by reference all facts,

allegations, and statements of law included supra § I.I demonstrating

that no rational juror could have convicted Cruz-Garcia. This claim

should also be authorized to proceed as explained in § VI.K, supra,

establishing that prior state post-conviction counsel was ineffective for

failing to raise this claim in initial and first successive state post-




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conviction proceedings. Thus, Cruz-Garcia has met the requirements of §

5.

     XII. Claim Twelve: Repeated emotional outbursts from the
          gallery rendered Cruz-Garcia’s conviction and death
          sentence fundamentally unfair.
       Pursuant to the Fifth, Sixth, Eighth, and Fourteenth Amendment

right to a fair trial, a defendant is entitled to be “fairly tried in a public

tribunal free of prejudices, passion, [and] excitement.” Sheppard v.

Maxwell, 384 U.S. 33, 350 (1966). Cruz-Garcia’s conviction was therefore

unconstitutionally obtained due to repeated, emotional outbursts from

the gallery during his trial. See 20 RR 14, 107–08.

       This Court should authorize this claim pursuant to Tex. Code Crim.

Proc. art. 11.071 § 5. In support thereof, Cruz-Garcia incorporates here

by reference all facts, allegations, and statements of law included supra

§ I.I demonstrating that no rational juror could have convicted Cruz-

Garcia. This claim should also be authorized to proceed as explained in

§ VI.K, supra, establishing that prior state post-conviction counsel was

ineffective for failing to raise this claim in initial and first successive

state post-conviction proceedings. This claim is a record-based claim and




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was entirely overlooked by prior state habeas counsel. See Heisey Dec. at

¶ 17. Thus, Cruz-Garcia has met the requirements of § 5.

                            CONCLUSION

     For the foregoing reasons, the Court should authorize Cruz-

Garcia’s claims and remand for consideration by the convicting court.

Dated: April 9, 2021                 Respectfully submitted,

                                     JASON HAWKINS
                                     Federal Public Defender

                                     JEREMY SCHEPERS
                                     Supervisor, Capital Habeas Unit

                                     /s/ David Currie_____________
                                     David Currie (TX 24084240)

                                     /s/ Naomi Fenwick____________
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                                            VERIFICATION
                                           STATE OF TEXAS

                                       COUNTY OF DALLAS

     BEFORE ME, the undersigned authority , on this day personally

appeared Naomi Fenwick, who upon being duly sworn by me testified as

follows:

           1. I am a member of the State Bar of Texas in good standing.

           2. I am the duly authorized attorney for Obel Cruz-Garcia,
              having the authority to prepare and to verify Cruz -Garcia’s
              subsequent application for a writ of habeas corpus.

           3. I have prepared and read the foregoing application and I
              believe all allegations in it to be true to the best of my
              knowledge.



Signed under penalty of perjury:
                                                          fj
                                                      Naomi Fenwick



SUBSCRIBED AND SWORN TO BEFOR:


                     RUBEN VILLEGAS
               :Notary Public, State of Texas
                                                      Notary Public, State of Texas
                 Comm. Expires 02-04-2025
       jjjgj       Notary ID 129293833




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                       CERTIFICATE OF SERVICE

     I hereby certify that on April 9, 2021, I served a copy of the foregoing

application upon counsel for the Respondent via email at:

     Josh Reiss
     reiss_josh@dao.hctx.net
     Harris County Criminal District Attorney
     500 Jefferson St.
     Houston, TX 77002


                                        /s/ Naomi Fenwick
                                        Naomi Fenwick




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               IN THE 337TH JUDICIAL DISTRICT COURT
                       HARRIS COUNTY, TEXAS

                                  AND

             IN THE TEXAS COURT OF CRIMINAL APPEALS
                          AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §             CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 1 THROUGH 10
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor, Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
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                                                                                             AUSTIN, TEXAS
        September 15, 2014                                                Transmitted 9/12/2014 5:27:44 PM
                                                                            Accepted 9/15/2014 3:53:10 PM
                                                                                              ABEL ACOSTA
                                              AP - 77,025                                             CLERK



                             IN THE TEXAS COURT OF CRIMINAL APPEALS


                                           AUSTIN, TEXAS


                                        OBEL CRUZ-GARCIA
                                             Appellant

                                                  VS.

                                        THE STATE OF TEXAS
                                              Appellee


                                APPELLANT’S BRIEF
                                 Appealed from the 337TH District Court
                                          Harris County, Texas

                                       Trial Court Cause Number:

                                               1384794


                                     DEATH PENALTY APPEAL


                                           WAYNE T. HILL
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                                Tel: (713) 623-8312 Fax: (713) 626-0182
                                            wthlaw@aol.com


                                    Oral argument is not requested




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                           IDENTITY OF PARTIES AND COUNSEL


     Presiding Judge at Trial
     Honorable Renee Magee
     337th Judicial District Court
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     The Appellant
     Obel Cruz-Garcia




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                            ISSUES PRESENTED FOR REVIEW


      POINT OF ERROR NUMBER ONE
      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION TO
      SUPPRESS THE STATE’S DNA EVIDENCE WHERE THE STATE FAILED TO
      ESTABLISH A PROPER CHAIN OF CUSTODY DUE TO THE INVOLVEMENT
      OF THE HOUSTON POLICE DEPARTMENT CRIME LAB WHICH WAS SHUT
      DOWN AND WIDELY CRITICIZED IN THE REPORT OF INDEPENDENT
      INVESTIGATOR MICHAEL R. BROMWICH COMMISSIONED TO REVIEW
      AND EVALUATE THE HOUSTON POLICE DEPARTMENT CRIME
      LABORATORY AND PROPERTY ROOM (CR-III-454)

      POINT OF ERROR NUMBER TWO
      THE TRIAL COURT ERRED IN DENYING APPELLANT THE RIGHT TO
      CONFRONT AND CROSS EXAMINE HIS ACCUSERS AND THUS THE
      OPPORTUNITY TO PRESENT A DEFENSE BASED IN PART ON EVIDENCE
      CRITICAL OF THE HOUSTON POLICE DEPARTMENT CRIME LAB AND
      PROPERTY ROOM DURING HIS MOTION TO SUPPRESS AND AT TRIAL
      (CR-III-454-456)(R-XXXI-DX2/3/4)R-XVI-21);(R-XXXII-DX5/6)(R-XVI-21);(R-
      XXXIII-DX6)(R-XVI-21);(R-XXXIV-DX7-19)(R-XVI-21)

      POINT OF ERROR NUMBER THREE
      THE EVIDENCE IS INSUFFICIENT AS A MATTER OF LAW TO
      SUSTAIN APPELLANT’S CONVICTION FOR THE OFFENSE OF
      CAPITAL MURDER (CR-I-2)(CR-III-484-507)(CR-III-530)

      POINT OF ERROR NUMBER FOUR
      THE TRIAL COURT ERRED WHEN IT ALLOWED THE STATE TO
      INTRODUCE EVIDENCE OF AN EXTRANEOUS OFFENSE [POSSESSION OF
      A CONTROLLED SUBSTANCE] BY PERMITTING THE STATE SHOW THAT
      APPELLANT FAILED TO APPEAR FOR A COURT SETTING ON OCTOBER 8,
      1992 ON AN UNRELATED FELONY CHARGE AND THAT HIS BOND WAS
      FORFEITED ON THAT CHARGE ALL TO SHOW FLIGHT ON THE PART OF
      APPELLANT AT HIS CAPITAL MURDER TRIAL EVEN THOUGH THERE
      WAS NO CHARGE OF CAPITAL MURDER FILED AGAINST APPELLANT
      UNTIL 2008. (R-XIX-111,113,115,119,122-124,126,128,129,141,142)




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      POINT OF ERROR NUMBER FIVE
      THE TRAIL COURT ERRED WHEN OVER APPELLANT’S OBJECTION IT
      ADMITTED THE EXTRANEOUS OFFENSE EVIDENCE [SET FORTH IN THE
      PREVIOUS POINT OF ERROR] BECAUSE UNDER RULE 403 OF THE TEXAS
      RULES OF EVIDENCE ITS PROBATIVE VALUE, IF ANY, WAS OUTWEIGHED
      BY THE PREJUDICIAL EFFECT OF ITS ADMISSION DURING APPELLANT’S
      CAPITAL MURDER TRIAL. ( R - XIX - 111, 113 , 115 , 119 , 122 - 124 , 125 , 126 -
      128,129,141,142)

      POINT OF ERROR NUMBER SIX
      THE TRIAL COURT ERRED WHEN IT PROHIBITED APPELLANT FROM
      INTRODUCING MITIGATING EVIDENCE INCLUDING BIBLE STUDY
      CERTIFICATES DURING THE PUNISHMENT PHASE OF THE TRIAL THUS
      PREVENTING APPELLANT FROM PRESENTING A COMPLETE DEFENSE (R-
      XXVI-55-58)(R-XXXIV-DX48-55)

      POINT OF ERROR NUMBER SEVEN
      THE TRIAL COURT ERRED WHEN IT PREVENTED APPELLANT FROM
      INTRODUCING MITIGATING EVIDENCE THAT HE WAS AN INFORMANT
      FOR THE FBI, DEA OR INS(R-XXIV-70-74)

      POINT OF ERROR NUMBER EIGHT
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
      OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT INJECTING                              !


      FACTS OUTSIDE THE RECORD (R-XXIII-80)

      POINT OF ERROR NUMBER NINE
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
      OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT ASKING THE
      JURY TO CONVICT APPELLANT OF CAPITAL MURDER AS A PARTY
      BECAUSE THAT WAS WHAT THE STATE BELIEVED ACTUALLY HAPPENED -
      THAT APPELLANT DIRECTED AND ENCOURAGED. (R-XXIII-92)

      POINT OF ERROR NUMBER TEN
      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
      OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT WHICH WAS
      OUTSIDE THE RECORD AND INJECTED HER PERSONAL BELIEF THAT IF IT
      HAD BEEN UP TO THE CO-DEFENDANT,              WOULD STILL BE
      ALIVE (R-XXVI-163-165)

      POINT OF ERROR NUMBER ELEVEN
      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION FOR
      MISTRIAL BASED UPON THE IMPROPER JURY ARGUMENT OF THE
      PROSECUTOR WHEN SHE WENT OUTSIDE THE RECORD (R-XXVI-171,172)

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      POINT OF ERROR NUMBER TWELVE
      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION FOR
      NEW TRIAL BASED UPON JURY MISCONDUCT DURING THE PUNISHMENT
      DELIBERATIONS WHERE THE JURY FOREMAN INFLUENCED THE
      DELIBERATION BY QUOTING FROM HIS BIBLE ABOUT THE CORRECTNESS
      OF THE DEATH PENALTY THUS CONSTITUTING AN IMPERMISSIBLE
      OUTSIDE INFLUENCE (CR-III-522,538)




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                                   SUMMARY OF ARGUMENT

      POINT OF ERROR #1
      The State did not establish a proper chain of custody regarding sixteen year old DNA
      evidence which involved the disgraced Houston Police Department Crime Lab and
      Property Room. The trial court prevented Appellant from questioning the State’s
      witnesses regarding the collection, storage and transportation of this DNA evidence.

      POINT OF ERROR #2
      The trial court denied Appellant’s right to confront and cross examine his accusers when
      it did not allow him to question the State’s witnesses about problems in the HPD Crime
      Lab and Property Room and did not permit Appellant to introduce documentary evidence
      to establish his defense.

      POINT OF ERROR #3
      The evidence was insufficient to sustain the jury’s guilty verdict where there was no
      evidence establishing the actual cause of death and the remaining evidence was seriously
      undermined and did not amount to proof beyond a reasonable doubt.

      POINT OF ERROR #4
      The admission of an extraneous offense (bond forfeiture) alleged to have occurred in 1992
      was admitted as evidence of “flight” in Appellant’s 2013 capital murder trial even though no
      charge was pending against Appellant for capital murder in 1992 and Appellant was not
      charged with capital murder until 2008.

      POINT OF ERROR #5
      The probative value, if any, of the admission of the extraneous offense noted in Point of
      Error #4 , was outweighed by its prejudicial effect on the jury.

      POINT OF ERROR #6
      The exclusion of Appellant’s mitigating evidence showing his attendance at Bible Study
      classes prevented him from presenting a meaningful and complete defense.

      POINT OF ERROR #7
      The exclusion of Appellant’s mitigating evidence confirming that he was an informer for the
      FBI, DEA or INS prevented him from presenting a meaningful and complete defense.

      POINT OF ERROR #8
      The State’s argument injected facts outside the record.

      POINT OF ERROR #9
      The State’s argument injected the prosecutor’s personal opinion of Appellant’s guilt.

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      POINT OF ERROR # 10
      The State’s argument injected the prosecutor’s personal belief of Appellant’s culpability.

      POINT OF ERROR # 11
      The State’s argument was outside the record.

      POINT OF ERROR # 12
      An improper outside influence requiring a new trial occurred when the jury foreman quoted
      Scripture from his Bible during punishment deliberations.




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                                    STATEMENT OF THE CASE

             On September 5, 2008, Appellant was charged by complaint with the 1992 murder

      of I                  |. while in the course of and attempting to commit the kidnapping of

                       f. (CR-I-4) On April 19, 2013, Appellant was indicted for capital murder
      in this case. (CR-I-2) A jury found Appellant guilty of capital murder as alleged in the

      indictment. (CR-III-506) The jury returned answers to the Special Issues submitted at the

      punishment phase which resulted in the trial court sentencing Appellant to death. (CR-III-

      513-527,530) Appellant filed a Motion for New Trial alleging jury misconduct. (CR-III-538)

      After conducting a hearing (by affidavits), the trial court denied Appellant’s Motion for New

      Trial. (CR-III-665)

                                      RECORD DESIGNATION

      Record citations are designated:

      Clerk’s Record           (CR-vol-page)

      Reporter’s Record       (R-vol-page)

                        STATEMENT REGARDING ORAL ARGUMENT

             Oral argument is not requested




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                             STATEMENT OF FACTS IN THE CASE

                                      MOTION TO SUPPRESS

             Prior to trial, the court asked for an explanation as to what exactly was being pursued

      in the suppression hearing regarding DNA. The prosecutor noted that there was “Brady”

      material associated with the old crime lab investigation, including internal memos from the

      District Attorney’s office and the Bromwich Report which was provided to Appellant. When

      the trial court asked exactly what was sought to be suppressed, Appellant’s counsel made an

      opening statement to outline the items for the court. (R-XVI-16) 1) Some of the people that

      handled the evidence in this case were severely criticized as a result of the HPD Crime Lab

      investigation. 2), Although the State had the evidence re-examined by an independent lab,

      Appellant’s counsel noted that he had no confidence in the HPD Crime Lab. (R-XVI-17) 3),

      Specific evidence consisting of a pair of panties and a cigar from which a DNA profile were

      determined or handled by the HPD Crime Lab for latter cuttings or swabs were items

      produced by HPD Crime Lab or sent to Orchid Cellmark for analysis. (R-XVI-17)

      Appellant’s counsel noted that because the HPD Crime Lab had been completely closed, the

      trial court should not have any confidence in any items transferred from that now closed lab

      to anywhere else for fear of contamination. (R-XVI-18) Appellant argued that no evidence

      even handled by the HPD Crime Lab should be trusted for evaluation even by an independent

      crime lab and the Appellant sought to suppress it as a result. (R-XVI-18) This would include

      evidence testimony from Orchid Cellmark. (R-XVI-18) Appellant offered Defendant’s

      Exhibits 2 through 9, which included various reports regarding the Bromwich Report, and



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                                                                                                          !
      the HPD Crime Lab investigation. These items were admitted in evidence at the pretrial

      hearing. (R-XVI-21)

             The State responded that it followed the recommendations of the Bromwich Report

      in this case and sent all the evidence out to an independent lab so that they could start from

      scratch and do their own testing. (R-XVI-22) The State’s position with regard to the

      contamination issue was that it could not have happened because the old HPD crime lab

      didn’t have a sample of Appellant’s DNA at that time - because he was in Puerto Rico.

             By agreement, the State made a proffer regarding the testimony of Gloria Kologinczok

      who performed the sexual assault examination in this case. (R-XVI-23, 24) In 1992, this was

      one of the first sexual assault nurse examiners [SANE]. She performed an examination on

                     |. (R-XVI-25)   The examination was performed on October 1, 1992, at St.

      Joseph’s Hospital in Houston, Texas. (R-XVI-25) The sexual assault evidence collection kit

      was turned over to Officer W. T. Bredemeyer of the Houston Police Department. (R-XVI-25)

             The State then called Eric Mehl a retired Houston Police Department Homicide

      investigator. (R-XVI-26) In 2004, Mehl was assigned to a cold case squad within the

      homicide division of the Houston Police Department. (R-XVI-28) Mehl would look for

      cases that required DNA analysis to go any further. (R-XVI-29) He became familiar with

      a case that involved the homicide of six year old boy named )                   |. (R-XVI-29)
      The homicide o1                   |. also indicated that his mother had been sexually assaulted

      during the course of the events back in 1992. (R-XVI-29) In September, 2007, Mehl set out

      to find the evidence that he wanted to ship to Orchid Cellmark for analysis. (R-XVI-30) The



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      evidence was a cigar that had been left at the scene of the crime, as well as the rape kit which

      was taken froml              [, which included cuttings from a pair of underpants. (R-XVI-30)
      The cigar had been stored at the HPD property room (not the crime laboratory). (R-XVI-30)

      The cigar was inside a plastic ziplock bag which was then inside a brown evidence envelope

      that had been sealed. (R-XVI-31) No damage to the evidence bag or its contents was noted.

      (R-XVI-31) The rape kit was located in the HPD annex building on the 24th Floor (also not

      stored in the crime laboratory room). (R-XVI-32) No damage to the rape kit or the bag it was

      stored in was noted. (R-XVI-33) The items were then packaged by Mehl and sent to Orchid

      Cellmark. (R-XVI-33) Evidence which was stored at the crime laboratory, included a cutting

      from the panties, biological samples from Arturo Rodriguez and                          . The
      individual bags which contained the evidence were not opened by Mehl. (R-XVI-35) Blood

      samples for potential DNA analysis belonging to|                [, Arturo Rodriguez and others
      were also preserved. (R-XVI-35)

             Mehl said that from 1992 no contact had been made with Appellant, Obel Cruz

      Garcia, because he had fled the country. (R-XVI-36) As a result, there was no DNA sample

      from Appellant at any time in the 1990's after this crime had occurred. (R-XVI-36, 37) When

      Mehl shipped off the evidence to Orchid Cellmark on October 2, 2007, the State still did not

      have possession of a DNA sample from Appellant. (R-XVI-37) Subsequently, in 2008, it

      was learned that Appellant was in custody in Puerto Rico. (R-XVI-37) The FBI in Puerto

      Rico went to the prison where Appellant was being held and obtained a DNA sample from

      him on May 23, 2008. (R-XVI-38) By May 23, 2008, all the original evidence that might



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      have contained biological material had already been shipped off to Orchid Cellmark for

      analysis. (R-XVI-38) When Mehl obtained the DNA sample from Appellant, he did not open

      the package but rather repackaged the original FedEx package into another one and sent it

      to Orchid Cellmark. (R-XVI-39) The results of the testing revealed that the cigar contained

      DNA matching Appellant. A cutting from the panties contained a mixture and the major

      DNA profile obtained from the sperm fraction belonged to Appellant. (R-XVI-39) Appellant

      also was not excluded as a contributor to the vaginal swab taken in the case. (R-XVI-39)

      Mehl acknowledged that in 1992, DNA testing was in its infancy. (R-XVI-40) Mehl stated

      that at that time the type of DNA evidence that was being considered was blood and semen.

      He indicated that HPD was not necessarily looking for epithelial cells on items like cigars.

      (R-XVI-40, 41) Mehl indicated that had he been the investigator in 1992, he would not have

      even thought to look for DNA on the cigar. (R-XVI-41)

             During cross-examination, Mehl acknowledged that items that had been

      extracted from I               were stored by HPD Crime Lab. This included the blood

      and cutting from the underpants. (R-XVI-43, 44) Mehl was unaware of where blood

      samples would have been taken ffom|                whether or not it was part of the rape kit.

      (R-XVI-44) Mehl admitted that at some point the rape kit would have gone through the

      crime lab. (R-XVI-44) Blood was extracted from Arturo Rodriguez for elimination

      purposes and that was also done at the HPD Crime Lab. (R-XVI-45) In response to the

      court’s question, Mehl said that he sent the entire rape kit, along with the things that the

      crime lab removed from the rape kit which was the crotch of the panties. (R-XVI-46)


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             Matt Quartaro, a supervisor of forensics at Cellmark Forensics in Dallas, Texas,

      testified that he conducted part of the testing on Appellant’s case when he received evidence

      on October 3, 2007. (R-XVI-49) This witness did not observe anything irregular about the

      evidence. (R-XVI-50) Cellmark performed its own DNA extraction from the samples

      submitted. Essentially, they set aside extractions that had been taken by HPD. (R-XVI-51)

      The lab took their own cuttings from the panties to do a DNA analysis. (R-XVI-52) At the          !

      time the initial shipment was received, this laboratory had not received any of Appellant’s

      DNA profile or any of his associates. (R-XVI-52) The laboratory started from scratch with

      the items. (R-XVI-53) The initial testing revealed that there was a third unknown individual

      who was a male whose DNA was found on the vaginal swab and the cigar. (R-XVI-55) The

      witness indicated that the unknown profile from the cigar couldn’t be excluded as a

      contributor to the vaginal swab. (R-XVI-55) It was only a single source DNA on the cigar,

      meaning there was only one person’s DNA present. (R-XVI-56) Arturo Rodriguez was a

      contributor to the male DNA in the panties because he could not be excluded as a minor

      contributor. The major contributor was the unknown male. (R-XVI-57)

             On May 28, 2008, the laboratory obtained a full DNA profile from Appellant. (R-

      XVI-59) The witness indicated that the profile of Appellant matched the profile from the

      sperm fraction of the panties and to the cigar. (R-XVI-59) When asked about the possibility

      of contamination, the witness indicated without having the defendant’s DNA to contaminate

      it with, he could not see a way that Appellant’s DNA profile could have shown up on the

      evidence. (R-XVI-61) While the witness indicated that the storage conditions, even the


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      freshest ones, could have made it more difficult to obtain a DNA profile, he didn’t see it

      compromising the evidence. (R-XVf -62) The witness agreed that you would have had sperm

      cells on the cigar or the cigar could have contaminated the panties. (R-XVI-63) The witness

      also indicated that the storage conditions would not change the DNA to some else’s DNA,

      it would just break up the DNA to where they were not able to obtain results from it. (R-XVI-

      66 )

             During cross-examination, this witness acknowledged that the tested evidence had

      been in HPD’s possession at one point. (R-XVI-67) Quartaro noted that there was

      evidence of active testing by the HPD crime lab. (R-XVI-68) This witness admitted that

      even though two people had touched the cigar, it’s possible that only a DNA profile from one

      person would be obtained. (R-XV1-72) The witness also acknowledged that he could not

      tell when a sperm cell was deposited, just whose DNA was there. (R-XVI-72, 73)

             The State and Appellant stipulated that Appellant gave his consent to provide blood,

      hair and saliva sample on February 16, 2010. A further stipulation was that the District

      Attorney’s office obtained buccal swabs from Appellant onFebruary 18, 2010. (R-XVI-78)

             Courtney Head worked for the Houston Police Department Crime Lab. (R-XVI-79)

      Her employment with the crime lab was not related in any way to the HPD crime lab in 1992.

      (R-XV1-82) Head testified that there was a letter from the HPD crime lab in 1992 indicating

      that extractions from the evidence of the vaginal swab in the crotch panties were sent to

      Genetic Design Lab for analysis. (R-XV1-85) In the 1992 Genetic Design Lab letter there

      was no cigar or any extraction from that cigar in evidence. (R-XVI-85) This witness, who



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      was familiar with Joseph Chew from the Houston Police Department Crime Lab, stated that

      she was unaware of any DNA analysis he performed on the evidence in this case. (R-XVI-85)

      At one point in 1992, Chew obtained a hair sample from Appellant. (R-XVI-86) Chew was

      also in receipt of some buccal swabs of Appellant from Michael Webb on February 18, 2010.

      (R-XVI-86) B. Sharma who previously worked with the Houston Police Department Crime

      Lab conducted some DNA analysis on some of the extractions from the rape kit in October,

      1992. (R-XVI-87) Sharma’s comments in her analysis indicated that the male fraction of

      DNA was too degraded to make or form any conclusions back in October, 1992. (R-XVI-87)

      The witness noted that with time and advancements the ability to analyze DNA improved and

      the techniques had improved as well. (R-XVI-89) In October, 2010, this witness became

      involved in the case prior to performing extractions on buccal swabs belonging to Appellant.

      (R-XVI-90) Based on her work alone, she was able to obtain a DNA profile for Appellant.

      (R-XVI-90) Head performed a DNA test on the cigar that had been recovered and compared

      it to the DNA profile of Appellant and found that he could not be excluded as a contributor

      to the DNA on that cigar. (R-XVI-91) The same results occurred when Appellant’s DNA

      profile was compared against the evidence received which was the sperm fraction from the

      panties from               [. (R-XVI-92)

             During cross-examination, the witness confirmed that the letter marked State’s

      Exhibit No. 4 revealed that the evidence in the case, including a vaginal swab from

                     |, the crotch from the panties of |              |, and blood from various
      individuals was handled by the Houston Police Department Crime Lab. (R-XVI-95)



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             The trial court ruled that the evidence was admissible. (R-XVI-111) There was a
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      discussion between the court and Appellant’s counsel regarding what the theory of

      admissibility for disciplinary records and crime lab problems was. (R-XVI-115) Appellant

      raised the issue of contamination. (R-XVI-117)

             The trial court found that the DNA evidence that related to Orchid Cellmark testing

      was sufficiently reliable and relevant and was therefore admissible. (R-XVII-4) The court

      admitted the DNA from the cigar found at the crime scene, one sexual assault kit taken from

                     by Gloria Kologinczok, and certain blood samples taken from

      Arturo Garcia, Candido Lebrom, Bienviendo Melo, Leonardo German, and Carmelo

      Martinez. (R-XVII-5) The court denied the Motion to Suppress. (R-XVII-5, 6) The

      court also found that evidence that was extracted and examined by the old HPD Crime

      Lab would not be admitted. (R-XVII-7) The court found that testing done by the old

      HPD Crime Lab on blood samples was not admissible, but testing performed by Orchid

      Cellmark Laboratory on those samples was admissible. (R-XVII-8) The trial court also

      found that none of the evidence stored was placed in a location where contamination

      mishandling or malfeasance by the HPD Crime Lab was shown. (R-XVII-12) The court

      noted the Bromwich Report concerning the old HPD Crime Lab found that all of the specific

      recommendations made in the Bromwich Report were followed in this case. (R-XVII-13)

      The court held that the Bromwich Report would not be admitted because there was

      nothing specific about this case. (R-XVII-13, 14) The court held the evidence was not

      admissible. (R-XVII-14) The court then went on to hold that impeachment of several of the



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      State’s would be witnesses Mr. Chew and Dr. Sharma would not be allowed because they

      were not even going to testify. (R-XVII-14, 15) The trial court indicated it would allow

      wide cross examination concerning the evidence, but it would not allow the defense to

      go into the Bromwich Report or the closure of the HPD Crime Lab or the reasons for

      the closure of the lab or the impeachment of witnesses at the laboratory that do not

      testify. (R-XVII-17, 18) Appellant’s counsel then made a record of what he had tried to do

      to get certain things into evidence or have them suppressed. (R-XVIII-19) He went further

      to point out that the reasoning behind wanting to get evidence of the Bromwich Report and

      the old crime lab problems was because to show the jury the inherent unreliability of

      anything that the crime lab touched. (R-XVIII-21) Defendant’s Exhibit No. 19, which was

      the entire original file from what was Genetic Design, which was the crime lab that had the

      original cuttings from the original rape kit. (R-XVIII-22) He also discussed the fact that

      there was a DNA profile developed in 1993 by Genetic Design, but an analysis was never

      compared to the buccal swab of the Appellant and he wanted to cross examine the State’s

      witnesses or call his own witnesses to state that was a DNA profile that was never resolved

      in the case. (R-XVIII-22, 23) Appellant’s Exhibits 10 through 19 were offered and admitted.

      The trial court said that her ruling remained the same. (R-XVIII-23, 24) Appellant

      made it clear to the record that his intent was to offer these items before the jury, but

      understanding the court’s ruling he would not do that. (R-XVIII-24)




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                     THE GUILT / INNOCENCE PHASE OF THE TRIAL

             Appellant pled “Not Guilty” to the charge of capital murder. (R-XVIII-17,18)

             HPD officer James Devereaux was dispatched to 6705 Fairway just before midnight

      on September 30, 1992. (R-XVIII-48) This officer met|                and Arturo Rodriguez

      and learned that their son was missing. (R-XVIII-50) The officer described Ms.          as

      excited, hysterical and really nervous and scared. (R-XVIII-50)

             During cross examination, the witness indicated that he put out a description on the

      air that there were two black males, one wearing a mask, and the description of the vehicle

      as well. No height, weight or age was broadcast. (R-XVIII-55) He learned from others at

      the apartment complex that there may have been drugs being dealt at the apartment. (R-

      XVIII-56) This information was turned over to homicide detectives. (R-XVIII-56) He

      indicated that the police believed that the Complainants knew who their attackers were and

      that it was possibly drug related. (R-XVIII-57)

             Sergeant C. E. Elliott with the Houston Police Department Homicide Division made

      the scene involving a 7-year old boy who had been kidnaped. (R-XVIII-63) One picture

      from the scene depicted that a door had been kicked in. (R-XVIII-69) Elliot explained that

      the bedroom was in complete disarray and that it had been ransacked as if someone were

      looking for something or searching for stuff. (R-XVIII-71) Elliott described a clock radio

      wire (SX#22) which had been used to tie someone up in the house. (R-XVIII-74) There was

      apillow (SX#25) that had blood on it. (R-XVIII-75) The officer described Arturo Rodriguez

      as having been pistol whipped. (R-XVIII-75) A handgun (SX#26) that was found unfired



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      in the bedside table. (R-XVIII-76) The detective observed a cigar in the living room area of

      the apartment. He thought this was significant because neither of the adults in the apartment

      were smokers. (R-XVIII-79) Elliott testified that even though HPD looked for fingerprints,

      none were found on the immobile surfaces in the home. (R-XVIII-82) The police put out a

      broadcast with the description of the child. (R-XVIII-84) The FBI became involved in the

      case. (R-XVIII-84) opined that the individuals responsible for taking|        |, did so to bring
      pressure on the mother and father (believing that it was a drug related situation). (R-XVIII-

      87) Initially, both parents denied drug involvement.                     was transported to St.

      Joseph’s Hospital for a sexual assault kit and then transferred to the homicide division. (R-

      XVIII-89) On November 5, 1992, Elliot was notified that|                       body was found

      in Baytown by a crabber. The body was found in a mud flat, in a desolate marsh area of

      Baytown. (R-XVIII-91) The identity of                        was later confirmed by dental

      records. (R-XVIII-92) The officer indicated that Obel Cruz Garcia or “Chico” was

      developed pretty quickly as a primary suspect. (R-XVIII-94)

             During cross-examination, Elliott acknowledged that he had concerns about the two

      Complainants being truthful with him. (R-XVIII-98) Elliott admitted that the description put

      out by patrol officers was that they were looking for two black males. (R-XVIII-99, 100)

      The two Complainants, who were both Hispanic, identified the individuals as black as

      opposed to Hispanic or black Hispanic. (R-XVIII-101) Elliott attempted to explain away the

      fact that these two individuals described the two assailants as black, by claiming that it was

      cultural and that people who are Hispanic people from Mexico may not be able to describe



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      a black from Columbia who is Hispanic. (R-XVIII-101) Elliott became defensive when

      Appellant’s counsel began questioning why he could not be more specific in his report, while

      maintaining that he thought that they meant black Hispanics. (R-XVIII-102, 103) After

      asking several times, Elliott finally admitted that he never wrote in his report that the

      assailants were black Hispanics. (R-XVIII-105)          Elliott also stated that the female

      complainant stated the suspect used English but spoke with a unknown foreign accent. (R-

      XVIII-106) Although he was trying to suggest that the suspects were Spanish speaking, he

      acknowledged that he interviewed !          in English and she described a foreign accent. (R-

      XVIII-108) Elliott never took information concerning the color of the masks that were worn

      by the assailants. (R-XVIII-108, 109) Elliott again acknowledged that he knew the

      Complainants were not being truthful with him. (R-XVIII-109) Elliott also found that the

      scene suggested it was a drug related offense. (R-XVIII-110, 111) Elliott described a chrome

      plated .25 automatic pistol that was found in a bedside drawer. (R-XVIII-112)

             On redirect examination, Elliott stated that he was just trying to get something basic

      out to the patrol units. (R-XVIII-113) Elliott explained cultural identification and stated that

      on the evening when he left he was looking for a Caribbean islander, black Hispanic, or

      Columbian of that nature Hispanic black. (R-XVIII-117) Elliott stated that he believed that

      the Complainant                |) did not get a good look at both individuals. (R-XVIII-118)
      She had seen one of the individuals in a mask, but did not see the other one. (R-XVIII-118)

                            testified that her first husband was Angelo Garcia, Sr. (R-XVIII-123)

      She testified that she had an affair Jose Arturo Rodriguez. (R-XVIII-124, 125) She



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      eventually moved in with him, along with her son,             [. (R-XVIII-125)         knew

      that Rodriguez was involved in cocaine. (R-XVTII-126) A while after she moved in with

      Rodriguez, she learned that he was drug dealing. (R-XVIII-128)                   also became

      involved in the drug dealing by helping Rodriguez. (R-XVIII-128) She identified “Chico”

      as the person who sold them drugs. (R-XVIII-129) She stated that they sold drugs out of

      their first residence on Winfrey, as well as the second one where |        was abducted. (R-

      XVIII-130) The Winfrey location had been broken into because individuals thought they had

      lots of money because they were selling drugs. (R-XVIII-131) She did not make a police

      report because she realized she was drug dealing at the time. (R-XVIII-131) She described

      a vehicle parked for about two weeks by her second residence on Fairway thinking that it was

      staking out the place. (R-XVIII-132, 133) There were times when Chico brought drugs over

      to them at their Fairway location, but they did not want to sell anymore. (R-XVIII-134)

      When Arturo called Chico and told him to come back and get the drugs, she was not sure

      what happened. She stated that it was two or three weeks later that her son              was

      kidnaped. (R-XVIII-134)            described Chico bringing his wife Angelita over to the

      house and playing with little        |. (R-XVIII-134, 135)            even helped them get an

      apartment because Chico had a problem with his credit. (R-XVIII-136) She went so far as

      to sign the lease on their apartment for them. (R-XVIII-136) There were times when Chico

      would come over to her apartment along with a friend (Rudy) who was related to Angelita.

      (R-XVIII-138) Rudy worked for Chico and did what he was told. (R-XVIII-138) She

      identified State’s Exhibit No. 83 as being Chico, State’s Exhibit No. 86 was Angelita, State’s



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      Exhibit No. 85 was Rudy, State’s Exhibit No. 87 was a picture of a witness and State’s

      Exhibit No. 88 was a picture of Arturo. All the pictures were of the individuals at that time.

      (R-XVIII-142)           described that they were able to get by with their drug dealing money

      and that neither one of them had to work. She indicated that Arturo was able to buy a

      vehicle. (R-XVIII-143) Once they stopped selling drugs, they had difficulty making the

      payments on the vehicle. (R-XVIII-144) She was involved in dealing to people on a regular

      basis and had a group of people that were fairly regular and known to her. (R-XVIII-144)

      On September 30, 1992, Arturo and his brother were outside and Chico came by for a visit.

      (R-XVIII-145)            was six years old at the time and in first grade. (R-XVIII-145) On

      the evening of September 30, 1992,|          wanted to sleep in his parents’ room. (R-XVTII-

      146)           went to bed wearing a t-shirt and Batman shorts. (R-XVIII-147)             slept

      on a little pallet on the floor next to this witness’s bed. (R-XVIII-148) While asleep,

      heard a bang and woke up. Rodriguez got up and walked towards the living room and then

      was backing up into the bedroom. (R-XVIII-149) He was walking backwards because there

      was a gun pointed at him. (R-XVIII-150) The man holding the gun was described as a big

      man with big shoulders.(R-XVIII-150) The man was wearing a long sleeve shirt, but|

      could still see his skin. He was also wearing a ski mask. (R-XVIII-151) The man spoke but

      she was unable to understand what he was saying. (R-XVIII-152) She described the man as

      dark and black. (R-XVIII-152) She said the man didn’t speak Spanish or English. (R-XVIII-

      152) The man started beating Arturo and told her to turn over face down. (R-XVIII-152)

             was tied up but she did not know who did that. (R-XVIII-153) After she was face


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      down, she noticed another man come into the room. (R-XVIII-153) She heard her son saying

      “Mommy,” calling out for her. (R-XVIII-155) She saw the second man in the doorway with

      a gun, but she was unable to identify that person. (R-XVIII-156) The second man, who was

      touching her, put a blanket or pillow over her face and raped her. (R-XVIII-157) She

      described her rape taking place in front baby|         while the tall man kept beating Arturo.

      (R-XVIII-158)           described Arturo as unconscious with a pillowcase stuffed in his

      mouth. His head was covered with a pillow. (R-XVIII-159) His hands had been tied with

      an alarm clock wire. (R-XVIII-159) Before leaving, the men took several items, including

      Arturo’s wallet, a bracelet, and some cash. (R-XVIII-160) She thought that the individuals

      looked around the apartment for 10 or 15 minutes looking for something. (R-XVIII-161) The

      second man who had come into the room never said anything.              never got a look at him

      and she never saw his face because she was face down. (R-XVIII-162) As soon as she untied

      Arturo,        looked down and saw that baby|           | was not there. (R-XVIII-163) As they

      walked out of the bedroom, one of the other men (the tall one) was coming back into the

      apartment. They walked back towards the bedroom and the man left. (R-XVIII-164) This

      witness was taken to the hospital where a rape kit was prepared. She indicated that the man

      had ejaculated in her. (R-XVIII-165) After she had been raped, she placed her underwear

      back. (R-XVIII-165)          acknowledged that when police asked her about drug dealing,

      she lied to them because she was afraid. (R-XVIII-166) She did state that she told the truth

      about everything else. (R-XVIII-166)             went to the police station and eventually told

      them that Chico was her drug supplier. (R-XVIII-167) Her phone calls were being tapped



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      by police and at one point Angelita Rodriguez, Chico’s wife called her. (R-XVIII-167)

      Angelita called trying to help her. (R-XVIII-167) When Angelita came to help,

      noticed that Chico was not with her. (R-XVIII-167, 168) In November 1992,|         | was told

      that the police had found            body. (R-XVIII-168)             identified the clothing

      (SX#61) womby|           on September 30, 1992. (R-XVIII-169) The witness identified the

      individuals in color as dark black. (R-XVIII-172)           identified Appellant in Court as

      Obel Cruz Garcia (“Chico”). (R-XVIII-172) She described his skin color as dark black. (R-

      XVIII-172

             During cross-examination, !       acknowledged that for a year and half to two years

      they sold cocaine and that was how they made a living. (R-XVIII-176) During that entire

      time, they received their cocaine from Chico. (R-XVIII-177) She stated that Chico would

      come to her apartment one or two times per week. (R-XVIII-179) She knew of no reason

      why Chico would be mad at her or Arturo. (R-XVIII-179) She stated that she met Chico

      through Arturo. (R-XVIII-180)            lescribed herself as brown and the tall person who

      came into the room as darker so they’re black. (R-XVIII-182) She indicated that she never

      saw the second man who entered the bedroom so she could not say whether he was black,

      brown or white. (R-XVIII-182) She couldn’t understand Spanish or English from him . (R-

      XVIII-184) She did not recall giving the police any description of the second man who had

      come into the room. (R-XVIII-184)                 indicated that Chico had been over to her

      apartment earlier that day. (R-XVIII-184) She indicated that Arturo and her were not selling

      drugs at that time, so Chico would not have left drugs with him. (R-XVIII-185) She did tell



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      the police that there was a $4,000 piece of jewelry (Arturo’s bracelet) which was taken that

      day. (R-XVIII-185, 186)            purse, which was on top of a table, was not touched at all.

      (R-XVIII-186)          acknowledged that the police questioned her for several days, but she

      stated that on the second day she told the police about the drug dealing even though she had

      denied it the first night. (R-XVIII-188)           admitted the .25 automatic pistol was hers.

      (R-XVIII-191)          told the jury that it had been a few months between the first burglary

      at her old location (Winfrey) and the one on Fairway on September 30, 1992. (R-XVIII-192)

      She stated that drugs and money had been taken during the first burglary. (R-XVIII-192)

             Jose Arturo Rodriguez testified that he and )               had been together for 26 or

      27 years. (R-XVIII-195) Rodriguez stated that after coming to Houston from Mexico and

      California, he became involved in drugs. (R-XVIII-197) He and                  started selling

      cocaine just to live a better life. (R-XVIII-198) Rodriguez identified Appellant in Court as

      “Chico.” (R-XVIII-199) Rodriguez identified a picture of him and Appellant (SX#83). (R-

      XVIII-200) Rodriguez described his relationship with Appellant as friendly and a business

      relationship. (R-XVIII-201) Rodriguez was unable to remember that he and

      helped Chico with an apartment or that he remembered where Chico and his wife Angelita

      lived. (R-XVIII-202) He stated that he sold drugs for about three years. (R-XVIII-202)

      Rodriguez became concerned at one point ibn 1992 because a car was parked down the street

      from his residence. This scared Rodriguez and he told Appellant about it and of his intention

      to stop selling drugs. (R-XVIII-204) Rodriguez said that he never had any problems with

      Appellant. He denied that Appellant ever left drugs at his house after he stopped selling



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      drugs. (R-XVIII-204) Rodriguez stated that when he was sleeping on the night of

      September 30, 1992, he heard a noise that sounded like a kick. (R-XVIII-207) When he went

      to check on the noise, he was confronted by someone wearing a mask and pointing a gun at

      him. (R-XVIII-208) Rodriguez was unable to see the face of that individual. (R-XVIII-209)

      He described the individual as tall and like a colored person. (R-XVIII-209) The man was

      telling him to go back, go back. The individual was speaking in English, but Rodriguez did

      not understand what he was telling him. (R-XVIII-210) He was unsure whether the person

      was actually saying it in English or Spanish, but he said he understood that he needed to go.

      (R-XVIII-211) Rodriguez described the man as having an accent, but not like his. (R-XVIII-

      211) Rodriguez was taken into the bedroom where his wife was being raped. Rodriguez was

      beaten with a gun. (R-XVIII-212) Rodriguez stated that he did not see the face of the

      individual that was raping his wife because he was also wearing a mask. (R-XVIII-214)

      Rodriguez stated that little          didn’t even know what was going on. (R-XVIII-215)

      Rodriguez stated that the person that was raping his wife never said anything. (R-XVIII-215)

      Rodriguez stated that it ended when he felt baby|          being taken by the arm. He actually

      said that he did not see it, it felt like it and he heard it. (R-XVIII-215) Rodriguez stated that

      on the night tha1          was abducted, he never saw Chico again until his appearance in

      court. (R-XVIII-219) Rodriguez indicated that neither he, nor|                |, smoked cigars.
      He was aware that police found a cigar in his house on the night of September 30, 1992. (R-

      XIX-4)

             During cross-examination, Rodriguez indicated that he had only been selling drugs



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      for about two years. He denied saying three years the day before during this testimony. (R-

      XIX-6) Rodriguez then stated that he had sold drugs for about four years and that he had

      sold drugs for other people as well. (R-XIX-6) Rodriguez indicated that he could not recall

      whether the police questioned him and asked whether this incident involved drugs. He stated

      that he was only making about $560 a week selling cocaine. He then stated that the .25

      automatic pistol that was in the apartment may have belonged to the person that threatened

      him. When asked if it was                 gun, he indicated it was not and that he was sure

      about that. (R-XIX-9) Rodriguez denied having seen Appellant earlier in the day when

      Angelo was abducted. (R-XIX-11) When asked whether he had an argument at a store

      involving a tall black man and a Hispanic man on the day             was taken, Rodriguez

      stated that he did not remember. (R-XIX-12) Rodriguez acknowledged that some people

      were Hispanic, others were black, and some were white, and that he knew the differences.

      (R-XIX-12) Rodriguez admitted that when he spoke to officer Hernandez, he stated that the

      man behind the mask was not a Mexican nor a white man because the way the man spoke,

      he spoke like a black man. (R-XIX-13) Rodriguez acknowledged that he concentrated on

      the one black man that was threatening him. (R-XIX-14) He stated that he did see the person

      that was raping his wife, but he did not know who it was. (R-XIX-15) Rodriguez said that

      after the police interrogated him, and he told them what he did, then he and the police

      thought it would be Appellant that was responsible. (R-XIX-15, 16) When questioned about

      the color of the mask worn by the man, Rodriguez stated that it was either blue or black.

      When cross-examined about whether he told police that it was brown or black, he stated that



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      he did not recall saying that. (R-XIX-17) (R-XIX-18) Rodriguez identified the only picture

      showing blood on a pillow (SX#25). He also stated that he did not require stitches or

      bandages or treatment of any kind for the injuries claimed. (R-XIX-19) Rodriguez denied

      telling the police that he was not involved in drugs. He said he always told them what he did.

      (R-XIX-21) Rodriguez said that he went back to the police over a three to four week period,

      every day. (R-XIX-22) Again Rodriguez said in front of the jury that he never denied being

      a drug dealer when he talked to the police. (R-XIX-24) Rodriguez was then asked

      specifically about the conversation he had with officer Hernandez and again denied that he

      ever told Hernandez that he was not involved in drugs. (R-XIX-24) Rodriguez denied telling

      Hernandez that he didn’t know why anyone would enter his apartment and beat them up. (R-

      XIX-24) Rodriguez stated the first time his home was burglarized on Winfrey, he was unable

      to remember if drugs or money were taken. (R-XIX-29) Rodriguez also acknowledged that

      on direct examination the day before in court, he said he had been hit two or three times in

      the head and never lost consciousness. (R-XIX-33)
                                                                                                         S
             Gloria Kologinczok, a registered nurse, became a sexual assault nurse examiner

      (SANE) 1985. (R-XIX-38) This witness described how a SANE examination takes place.

      (R-XIX-38 - 42) This witness stated that in October, 1992, she performed a sexual assault

      examination on I               while working at St. Joseph’s Hospital. (R-XIX-42, 43) Some

      of the items in the sexual assault kit (SX#33) contained panties, vaginal swabs and smears,

      and a known saliva sample, and a blood sample. (R-XIX-46, 47) During her examination

      with           this witness did not note any physical injury to               or any physical



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      trauma either. (R-XIX-48) She stated that it was not unusual to have an examination that did

      not show physical trauma or physical injury. (R-XIX-49) This witness completed the rape

      kit and submitted it at 4:25 a.m. on the morning of October 1, 1992. (R-XIX-49)

             During cross-examination, this witness indicated that she was only testifying from her

      notes and not her independent recollection. She acknowledged that it was not her job to be

      the judge or the jury in determining whether someone was sexually assaulted or not, it was
                                                                                                        i
      only her job to collect the information. (R-XIX-50)

             Deputy W. T. Bredemeyer, with the Precinct 4 Constable’s Office, testified that on

      September 30, 1992, he responded to a call at 6705 Fairway in Houston, Texas. (R-XIX-55)

      He met withl              who was pretty upset, crying and had a hard time communicating.

      (R-XIX-57) He also observed Arturo Rodriguez who had been assaulted. (R-XIX-57) The

      only thing Bredemeyer could remember was that the door had been broken in. (R-XIX-58)

      He transported Ms.            to St. Joseph’s Hospital for a sexual assault kit and took

      possession of it after it was completed. (R-XIX-58) He identified State’s Exhibit No. 33 as

      that sexual assault kit. (R-XIX-59) He received the kit from the nurse Gloria Kologinczok.

      (R-XIX-59) He took the kit to the homicide division and then to the HPD property room for

      storage. (R-XIX-59)

             HPD Officer, U. P. Hernandez, was assigned to the homicide division in September,

      1992. (R-XIX-64) Hernandez interviewed two of the Complainants in a kidnaping incident.

      (R-XIX-65) He took statements from each of these individuals on October 1, 1992. (R-XIX-

      66) He interviewed Arturo Rodriguez and|               \. (R-XIX-67) Rodriguez’s statement

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      was taken at 4:26 a.m. Rodriguez did not speak English. (R-XIX-67) Ms.          ’ s statement

      was taken at 6:28 a.m. and she did speak English. (R-XIX-67) Hernandez was the first

      Spanish speaking officer to be able to speak with Rodriguez. (R-XIX-68) Hernandez

      described both witnesses as having been through a very traumatic event. (R-XIX-69)

      Rodriguez told Hernandez that one of the men in the room was a black man. (R-XIX-69)

      Hernandez stated that black Columbians and black Dominicans (or individuals from those

      countries) have a different accent that people who speak Spanish from Mexico. (R-XIX-70)

      He stated that he believed that both witnesses’ statements were consistent with each other.

      (R-XIX-71) When Hernandez questioned Arturo Rodriguez about being a drug dealer,

      Rodriguez denied it several times. (R-XIX-72,73) When Hernandez spoke with

              she did admit to the drug dealing after first denying it. (R-XIX-73)        said she

      would quit lying and tell him the truth. (R-XIX-74) She identified Chico and Angelita as her

      supplier. (R-XIX-74) Hernandez was able to determine that “Chico” was Obel Cruz Garcia.

      (R-XIX-74) Hernandez explained that               and Rodriguez were really deep into drug

      dealing, otherwise the assaults would not have occurred the way they did. (R-XIX-75, 76)

      He stated that from his experience he knew that right from the beginning. (R-XIX-76) When

      Rodriguez described the mask being worn by the man, he said it was either brown or black,

      but the lighting was not so good. (R-XIX-77) During his investigation, Hernandez received

      a tip about the Rendon Auto Shop. (R-XIX-84) By October 5, 1992, officers had not been

      able to find Obel Cruz Garcia. (R-XIX-85) On November 5, 1992, Hernandez spoke with

      the owner Rogelio Rendon. (R-XIX-85) Hernandez saw Mr. Rendon drive up to his shop



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      accompanied by Candido LeBron. (R-XIX-86) Hernandez indicated that Angelita Rodriguez

      was the wife of Obel Cruz Garcia. (R-XIX-89)

                During cross-examination, Appellant’s counsel questioned Hernandez about how he

      related the description of the individuals involved. (R-XIX-95, 96) In his report, Hernandez

      noted that the individual that they were looking for was not a Mexican nor was he a white

      man and that the individual identified as he spoke like a black man. (R-XIX-97) (R-XIX-98)

      Even as Ms.              spoke to this witness about her son being abducted, she did not

      immediately tell the truth about the drug business. (R-XIX-99) He indicated that finding the

      child was the number one priority. (R-XIX-100) Hernandez also acknowledged that Arturo

      Rodriguez volunteered to him that he had no idea why anybody would break into the house

      and assault him and assault his wife. (R-XIX-101) Appellant’s counsel was prohibited from

      questioning the witness about whether it would be just an oversight on the part of Rodriguez

      or that he was lying. (R-XIX-101, 102) He also noted that at page 2.023 of his offense

      report,                 had described the mask being worn by the tall black man as a red and

      white. (R-XIX-104)

                Eric Johnson testified that in 1992 he was assigned to the Violent Crime Squad in the

      Houston division of the FBI. (R-XIX-134) He was assigned to the abduction or kidnaping

      investigation of |                     (R-XIX-135) He spoke to individuals involved in the

      investigation, including  !             and Arturo Rodriguez. (R-XIX-137) He stated that the

      number one priority was to locate the child. (R-XIX-138) He stated that Appellant was

      developed as a suspect early on in the case. (R-XIX-138, 139) The agent testified that



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      initially they used surveillance and interviews were conducted in an effort to find Appellant,

      but they were unsuccessful. (R-XIX-139) The investigation led to Angelita Rodriguez,

      Appellant’s wife. (R-XIX-140) He stated that he knew that Appellant was to appear in a

      court on October 8, 1992, but he did not appear. (R-XIX-140) He noted that the court date

      was one week after I                 |. went missing. (R-XIX-142)     The agent stated that at

      some point his investigation shifted from Houston to Puerto Rico. (R-XIX-144)

             Linda Hernandez testified that in 1992 she was having a relationship with an

      individual she knew as Charles whose real name was Bienviendo Melo (R-XIX-148) She

      identified a picture of Charlie (SX#89). (R-XIX-150) Hernandez stated the last time that she

      had contact with Charlie was some 11 years ago. (R-XIX-151, 152) She stated that Charlie

      was involved in drug dealing with “Chico “who was Obel Cruz Garcia. (R-XIX-152) From

      observing the two individuals, Hernandez said that Appellant was the one in charge. (R-XIX-

      153) She identified the person that she knew to be Rudy who was also dealing drugs with

      Appellant. Rudy’s actual name was noted as Carmelo Martinez Santana. (R-XIX-154) The

      witness indicated that both Charles and Rudy did whatever Appellant told them to do. (R-

      XIX-155) She described Rudy’s complexion as dark and they would often mistake him as

      being black. (R-XIX-155) She said that in places like Puerto Rico, the Dominican Republic

      or Columbia individuals refer to people as black because they have dark skin. (R-XIX-156)

      She recounted how in the early morning hours of October 1, 1992, the police came and

      talked with her and Charlie. (R-XIX-156) Hernandez stated that the police believed that they

      had information regarding the case, but they actually didn’t. (R-XIX-157) She stated that she



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      was home asleep when this incident took place. (R-XIX-157) She stated that they slept until

      she received a telephone call from Appellant. (R-XIX-159) Appellant was asking for a ride,

      but Hernandez told Charlie not to do it and he did not. (R-XIX-159) Hernandez said that

      Appellant had mentioned that he was in Baytown when he needed the ride. (R-XIX-159)

      Rudy was with Appellant when Hernandez received the call at about 2:00 a.m. (R-XIX-160)

      Appellant indicated that he still needed the use of a vehicle and Hernandez said that “We told

      them they could use it, they just had to come over.” (R-XIX-160) She stated that Appellant

      and Rudy arrived at her house in a taxi somewhere between 2:30 a.m. and 3:00 a.m. (R-XIX-

      162) She stated that they came and got the car and only stayed a brief period of time. Rudy

      was acting real nervous. (R-XIX-163) She stated that Appellant did not seem nervous. (R-

      XIX-163) She described Appellant’s look as a scary one. (R-XIX-163) Appellant borrowed

      a gold car in the early morning hours of October 1, 1992. It was brought back a few days

      later by Rudy. (R-XIX-168) The witness indicated that when the car was brought back, it

      was very dirty. She noticed it because Charlie was real clean and always kept it clean. (R-

      XIX-169) She stated that after October 1, 1992, she did not Appellant again. Hernandez had

      a conversation with Angelita (R-XIX-170) Angelita ended up staying at a hotel not at this

      witness’s house. (R-XIX-171) The witness indicated that she thought it was strange that

      Angelita would not stay in her own home after October 1, 1992. (R-XIX-171) This witness

      then identified Appellant in the courtroom. (R-XIX-172)

             During cross-examination, she described Rudy as having a light complexion. She also

      said that her mom didn’t really trust Rudy. (R-XIX-173) It bothered this witness that Rudy



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      always wanted to take her son to the store with him, She never allowed this. (R-XIX-173)

             John Swaim, a retired Houston Police Department officer, testified that he was

      involved in the I                   case in 1992. (R-XIX-177) On October 5, 1992, Swaim

      went to a location in Humble attempting to investigate a possible drug supplier and to find

      Chico. (R-XIX-180) His investigation revealed that Chico and another Hispanic male moved

      out over the weekend which would have been October 3rd or 4th. (R-XIX-181) When the

      officer learned that Chico may have been back at the apartment on October 6th, he went there

      and the door was answered by Candido LeBron. (R-XIX-185) The officer was suspicious

      of LeBron because he spoke with a Spanish accent which people from the Virgin Islands

      don’t use. (R-XIX-185) Swaim identified a photograph of LeBron. (R-XIX-185) Later in

      the investigation, this individual was actually identified as Rogelio Aviles. (R-XIX-187)

             Randy Rhodes, with the Baytown Police Department, testified that on November 4,

      1992, at about 5:00 p.m., he responded to the scene of a body in a waterway. (R-XIX-192)

      Evidence from the scene included a pair of shorts with a Batman logo on it and a t-shirt. (R-

      XIX-203)

             Dr. Dwayne Wolf, the Deputy Chief Medical Examiner for Harris County, Texas,

      testified that he was familiar with Dr. Vladimir Parungao who was employed by the Harris

      County Institute of Forensics Sciences in 1992. (R-XX-6) Dr. Wolf testified that the cause

      of death is the injury or disease that initiates the sequence of events that culminates in death.

      (R-XX-7) He stated that manner of death is listed as either natural, accidental, suicidal, or

      homicide and a fifth category of undetermined. (R-XX-8) He stated that in some cases the



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      cause of death is going to be undetermined, but that a manner of death could still be

      determined by looking at the investigation and all the circumstances surrounding what

      happened to the individual. (R-XX-9) Dr. Wolf reviewed the 1992 autopsy of

                 done by Dr. Parungao and did not find any injuries on the bones, such as cut

      marks, bullet holes. (R-XX-11) After reviewing everything, Dr. Wolf concluded that his

      opinion was that the manner of death was a homicide. (R-XX-12) He testified that the

      remains found of the decedent were consistent with the body being submerged in water for

      up to five weeks. (R-XX-12) Dr. Wolf was asked what would happen if there had been

      blood on an item of clothing that was submerged in water for several weeks. Dr. Wolf

      indicated that blood washes away. (R-XX-15)

             During cross-examination, Dr. Wolf was asked about bones that were found at the

      scene and that 18 of the 24 rib bones were located. (R-XX-17) After having Dr. Wolf show

      the various location of the different bones that were recovered, Appellant’s counsel asked

      Dr. Wolf if he agreed that he couldn’t conclude that the person was stabbed or shot or beaten

      to death. Dr. Wolf agreed. (R-XX-20) He also stated he had no prior medical records so he

      did not know what type of health the child was in prior to death. He also indicated that he

      could not tell whether the person had drowned. (R-XX-20) He stated he could not tell

      whether this individual drowned or not based on the examination of the remains. (R-XX-20)

      When asked a hypothetical question whether the child could have been out fishing, could

      someone have accidently fell out of a boat and drowned, the doctor indicated that was

      possible. (R-XX-21)



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             On redirect examination, Dr. Wolf, in response to the Prosecutor’s questions,

      indicated that his evaluation of this case was predicated upon the investigator’s report and

      the fact that the child had been taken from his home and he didn’t simply wander away. (R-

      XX-24)

             During re-cross examination, Dr. Wolf acknowledged that all of the information he

      had received regarding the abduction of the child and it being done in a violent manner is all

      based on what somebody else had told him and was not based upon any medical evaluation

      that he performed. (R-XX-31)

             Eric Mehl, a former officer with the Houston Police Department, testified that in 1993

      he was reassigned to the homicide division. (R-XX-35) In 2004, HPD started a cold case

      squad within the homicide division. (R-XX-35) Mehl looked for cases that would have

      possible DNA that could be tested. (R-XX-37) Mehl testified that when he saw that|

             was listed as a victim along with her son, he thought that there might be DNA that

      could be tested. (R-XX-38) He evaluated what articles of evidence he needed to send off to

      a private lab for testing. (R-XX-39) When asked if back in 1992 DNA was in its infancy, as

      far as using it for law enforcement purposes, Mehl responded “It was.” He had never even

      thought of using DNA technology to solve a crime over at HPD at that time. (R-XX-40)

      When asked if in 1992 he would have collected a cigar from the scene because of DNA, he

      responded he would have collected the cigar, but not for DNA purposes. (R-XX-41) He

      stated that DNA was not what was being thought about, but rather blood and semen. (R-XX-

      42) Mehl stated that he did not have a DNA sample from Appellant because he was not



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      available to give one. (R-XX-42) Mehl said that he opened the case in September, 2007 and

      that he wanted to obtain a CODIS for the DNA profile that he could have entered into the

      CODIS System which is the Combined DNA Index System. (R-XX-43) He stated that he

      went to the HPD property room and recovered the cigar which was packed in a plastic bag

      within a large manila type envelope. (R-XX-45) He took the cigar and put in the cold case

      storage room located at 1100 Goliad. (R-XX-46) Mehl also retrieved the sexual assault

      evidence kit (SX#33) from the property annex room located at 1200 Travis. (R-XX-46) He

      took the sexual assault kit which appeared to be in good condition and sealed up and put it

      in a shipping box. He then shipped it to a private lab Orchid Cellmark. (R-XX-47) The

      items, including the sexual assault kit, the cigar, the cutting from the panties were sent to

      Orchid Cellmark to develop a DNA profile from them, as well as to develop|

      and Arturo Rodriguez’s DNA profile for comparison. (R-XX-48) On December 5, 2007, an

      analysis was received by Mehl. (R-XX-48) Even after comparison, as of January 16, 2008,

      there was still an unidentified male profile which was found on the evidence. (R-XX-49)

      Mehl, with the assistance of the FBI in Puerto Rico, obtained a DNA sample from Appellant.

      (R-XX-50) The FBI sent the sample by FedEx to Mehl who in turn sent it to Orchid

      Cellmark via FedEx. (R-XX-50) The DNA sample from Appellant was obtained by HPD

      on May 23, 2008. (R-XX-51) Mehl left the DNA in the sealed packaging and sent it directly

      to Orchid Cellmark with instructions to develop the DNA profile of Appellant and compare

      it against the DNA profile that was developed in this case. (R-XX-51) The results of that

      testing were received by Mehl on July 30, 2008. (R-XX-52) Once Mehl had the results, he



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      contactedl              and Arturo Rodriguez and interviewed them regarding the case. (R-

      XX-54) On September 5, 2008, Mehl filed a capital murder charge against Appellant. (R-

      XX-56)

             Prior to cross-examination, Appellant’s counsel approached the bench and pointed out

      that the officer said that DNA was not even thought about at HPD in 1992 and that he wanted

      to question him about that. (R-XX-56) The court indicated that would be done outside the

      presence of the jury. (R-XX-58) While the court was attempting to determine exactly what

      Mehl had said on direct examination, the court reiterated that it was not going to allow

      Appellant to go into the crime lab situation. (R-XX-59) Outside the presence of the jury,

      Mehl acknowledged that the crime lab was processing evidence in 1992 and it was being

      processed to solve crimes. (R-XX-61) The trial court ruled that in order to not leave a wrong

      impression on the jury, Appellant would be allowed to question the officer about the fact that

      the crime lab did process DNA, but he was not allowed to go into any details about the crime

      lab. (R-XX-62, 63) The trial court specifically noted for the record that the Prosecutor left

      the impression with the jury that DNA was not even thought about in 1992 in general, much

      less this case, and it was submitted to the HPD crime lab for DNA analysis. Appellant’s

      counsel again reurged his desire to go into a more deep evaluation of genetic design and the

      HPD crime lab studies which was denied by the trial court. (R-XX-66)

             Appellant cross-examined Eric Mehl regarding his role in the case. (R-XX-66) Mehl

      admitted that in 1992 HPD did have a crime lab that was processing evidence for DNA

      analysis. (R-XX-67) He also admitted that in this very case, items were submitted to the



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      HPD crime lab for processing of DNA. (R-XX-67) Mehl admitted that when he went to see

                     he told her about the results of the DNA testing in this case. (R-XX-68)

             Griselle Guzman, with the FBI, testified that her work centered on San Juan, Puerto

      Rico. (R-XX-71) In May, 2008, she received an assignment to obtain a buccal swab from

      Appellant. (R-XX-73) On May 21, 2008, this agent took a buccal swab from Appellant. (R-

      XX-74) After sealing the buccal swabs, this agent submitted the items as evidence. (R-XX-

      76, 77) The court admitted State’s Exhibit Nos. 65 and 66 into evidence. (R-XX-77)

      Guzman stated that she sent her report along with the evidence in a FedEx envelope to

      Detective Eric Mehl with the Houston Police Department. (R-XX-78)

             Angelita Rodriguez, from the Dominican Republic, testified that her ex-husband was

      Appellant, Obel Cruz Garcia. (R-XX-82) She identified Appellant in court. (R-XX-82) She

      stated that Appellant was originally from Dominican. (R-XX-84) She stated that she knew

      her husband by the name of Obel and also “Chico.” (R-XX-84) She stated that she knew an

      individual by the name of “Rudy” who was actually her cousin, Carmelo Martinez. (R-XX-

      85) This witness introduced her cousin to Appellant. (R-XX-85) At some point after the

      couple arrived in Houston, she suspectedthat Appellant was involved with drugs. (R-XX-87)

      Rodriguez suspected that Appellant was using and dealing drugs. She also knew him to

      occasionally smoke cigars. (R-XX-88) Rodriguez stated that her relationship with Appellant

      was different in the United States than what it was in Puerto Rico. (R-XX-89) She indicated

      that at some point she met a couple by the name oJ               and Arturo Rodriguez. (R-

      XX-89) Rodriguez stated that at one point she even began dealing drugs with Appellant and



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      that she had a case for drugs which she ended up being convicted of. (R-XX-92) Rodriguez

      and Appellant lived in Humble at the time that they knew|        and Rodriguez. (R-XX-94)

      The apartment they stayed in was actually rented for them by                   [. (R-XX-94)
      Rodriguez stated that the couple owned two cars, a blue Thunderbird and an Oldsmobile. (R-

      XX-95) In September, 1992,             was at her home in Humble when she saw a news

      broadcast that                was missing. (R-XX-97) Rodriguez woke up Appellant and

      told him about the news, but he did not respond. When she stated that she wanted to go over

      to     |’s, Appellant told her to go if she wanted to. (R-XX-98) Rodriguez stated that
      Appellant did not go with her and it seemed strange that he acted so calmly about that news.

      (R-XX-98) At that point, Appellant told his ex-wife that he was leaving to go to Puerto Rico.

      (R-XX-99) She stated that Appellant simply said that he had to leave and that it was not a

      planned trip. (R-XX-100) Appellant made the comment that he had to leave, but that if she

      stayed the police would come and get her. (R-XX-100) On the evening before the abduction

      ofl      |, Rodriguez stated that she went to bed around 9:00 p.m. and that Appellant was
      there at the apartment in Humble. (R-XX-101) She stated that because of a fight months

      before, they stayed in separate rooms and she was unaware of when Appellant may have left

      the apartment that night. (R-XX-102) When she woke up the next morning, Appellant was

      at the apartment. (R-XX-102) Once Appellant left for Puerto Rico, he never returned to

      Houston. (R-XX-103) Rodriguez testified that Appellant had an upcoming court date which

      he missed it. She stated that he had never missed court dates before. (R-XX-103, 104)

      Rodriguez left Houston and went to Santa Domingo where she found Appellant. She went



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      there wanting a divorce. (R-XX-105) Appellant told Rodriguez that he would not give her

      a divorce. (R-XX-106) She stated that Appellant insulted her and then told her that he was

      going to harm her family. (R-XX-106) Rodriguez asked Appellant whether he had anything

      to do withl       [. Appellant said that he did and that he had killed him. (R-XX-107) When
      Rodriguez was asked “Did he say anything about why he had done it”, she stated that she did

      not remember what else he said. (R-XX-107)

             During cross-examination, Rodriguez stated that on May 3rd when two defense

      investigators came to her salon, she told them she didn’t have to talk to them or answer their

      questions. (R-XX-109) She stated that when she was asked questions by the investigators,

      she did not tell them anything about Appellant confessing to murdering the little boy. (R-XX-

      110) She admitted that she had previously met with the detective and a district attorney

      along with her own lawyer about this case. (R-XX-110, 111) Although Rodriguez related

      how she had discussed a number of things with these individuals in the investigation, she

      stated that she was scared and that’s why she forgot to mention that Appellant had confessed

      to her about killing the boy. (R-XX-112)

             Carmelo Martinez Santana testified that he was originally from the Dominican

      Republic. (R-XX-172) He stated that Angelita Rodriguez was his cousin and Appellant was

      her ex-husband. (R-XX-118) He stated he came to the United States in the late 1980's to sell

      drugs. (R-XX-118) At the time of this trial, this witness was serving time in a federal

      penitentiary for trafficking drugs. (R-XX-119) Santana met Appellant through his cousin

      Angelita Rodriguez. (R-XX-119) He stated that Appellant came to the United States with



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      him to sell drugs. (R-XX-120) While living with Appellant in Houston, both were using

      cocaine. (R-XX-122) When Santana began using cocaine, he became addicted, Appellant

      took over control of the drug selling operation. (R-XX-123) He described Appellant as

      somebody who nobody would mess around with because he controls everything. (R-XX-123)

      Santana said that on one occasion he was especially frightened by Appellant because he had

      taken him by the neck and tied him up. Appellant told him that he was going to kill him

      because he thought he was taking customers away from him. (R-XX-124) Santana said that

      when Appellant and his wife moved to Humble he would stay with them at times. He

      described Appellant having a 4-door Chevrolet, blue in color, as well as Angelita having a

      Thunderbird. (R-XX-128) He said that sometimes Appellant would loan his cars to people

      who worked for him. (R-XX-128) Santana said the he would often lend his cars to an

      individual named Charlie (SX#37). (R-XX-129) Santana said that Appellant had guns,

      including a .45. (R-XX-129) In 1992, Santana said that Appellant also had a .22 rifle. (R-

      XX-129) Santana testified that Appellant would often go to          and Arturo’s apartment

      for the purpose of drugs. (R-XX-132) Santana described the relationship between Appellant

      and his wife and Arturo and I      as close friends. (R-XX-133) He was not aware of any

      romantic relationship between Appellant and            [.   (R-XX-133) Santana said that

      Appellant was fairly open about the fact that he was not faithful to his wife Angelita

      Rodriguez. (R-XX-134) On the evening that Angelo was taken, Santana said that Appellant

      said that he wanted to go and get his drugs and money from )       and Arturo. (R-XX-135)

      Santana stated that on that evening, he along with Appellant and an individual named Roger



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      went in Appellant’s blue Chevrolet 4-door car to|        ’s to pick up the money. (R-XX-137)

      Once they arrived at          s apartment, Appellant and Roger left Santana sitting in the car

      behind the apartment. (R-XX-137) Santana said that Appellant had him move over to the

      driver’s seat to wait there for him. He said that Appellant took a .45 pistol with him, along

      with Roger. (R-XX-141) He described Roger as tall and having a strong build and being

      larger than Chico (Appellant). (R-XX-142) He also described Roger as having a dark

      complexion. (R-XX-142) Santana stated that Roger had a small pocket knife with him and

      also said that both individuals had black masks. He wasn’t exactly sure what masks they had

      that night. (R-XX-143) Appellant and Roger were gone for about a half hour and when they

      returned, Appellant had a little boy in his arms. He also saw the .45 caliber weapon at that

      time. (R-XX-143) Santana got up from his seat and asked Appellant “What’s going on?

      Why do you have the little boy?” He stated that the little boy was

      Santana stated that Appellant said he (referring to                   |) “saw”. (R-XX-144)
      Santana told Appellant to take the child back to his mother. (R-XX-145) Appellant told

      Santana that he had raped ]       and that Arturo had been beaten. (R-XX-145) Santana kept

      wanting Appellant to take the child back to his mother and Appellant left for about

      5 minutes. (R-XX-146) Santana could not recall whether Appellant had the boy with him

      when he went to the mother. He stated that it’s that he may have had the boy in his own arms

      at the time. (R-XX-146) When Appellant came back to the car, Roger was with him. (R-XX-

      146) Santana moved to the back seat and sat with                      [. (R-XX-147) Santana
      described Appellant driving the car holding while holding a gun. (R-XX-148) Appellant



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      drove to Baytown. (R-XX-148) He stated that Appellant drove the car to a street where

      ended. (R-XX-148) Santana believed that Appellant was going to kill the little boy. (R-XX-

      149) Appellant said “ Bory, you already know what you have to do” (R-XX-149) As they

      were walking, Santana became ill, actually defecating. (R-XX-150) Santana heard a scream

      from the little boy. When Santana walked back towards the car, he saw the body of the little

      boy. (R-XX-151) Appellant then ordered Bory and Santana to put the body in the back seat -

      which they did. (R-XX-152) They drove around Baytown and came to an area near a river

      where they were ordered to dump the body into the river. (R-XX-153) Appellant told Bory

      and Santana to get something so that the body would sink under the water. (R-XX-153) As

      they were driving away, Santana said the tires on the vehicle were blowing up, eventually all

      four tires blew up. (R-XX-155) They all then went to a motel on 225. (R-XX-155) On the

      next day, while they were at Chico’s house in Humble, Appellant said that he was leaving

      Houston. (R-XX-158) On that next morning, Appellant took his car to the Rendon garage

      to get new tires. (R-XX-161) After cleaning up the car, it was sold. (R-XX-161) Appellant

      used the money from the sale of the car to buy a plane ticket either to Puerto Rico or the

      Dominican. (R-XX-162) Santana drove Appellant to the airport on Friday, then went back

      to his Appellant’s apartment in Humble. (R-XX-162) Other than seeing Appellant in jail

      where he was currently housed, Santana said he had not seen Appellant since dropping him

      off at the airport. (R-XX-164) Santana stated a couple of years ago while he was doing

      prison time in Pennsylvania, an FBI agent named Bill Eversol came to see him and that was

      the first time he told the whole story about that night. (R-XX-165) Santana said that no



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      promises were made to him to testify and he knew he could get in a lot of trouble because of

     his involvement. (R-XX-166) Santana said that as they drove on Highway 59 North,

      Appellant told him to throw the knife away which he did. (R-XX-166) The Prosecutor then

      had Rogelio Aviles Barroso (SX#34) brought into court to stand next to Appellant. (R-XX-

      167)

             William Ebersol, with the Federal Bureau of Investigations, testified that he was asked

      to interview Carmelo Martinez at a prison in Pennsylvania. (R-XX-176) Ebersol hoped that

      Martinez would have information about Appellant. Ebersol did not realize that he was going

      to be receiving first-hand knowledge about the killing. (R-XX-178) The touchstone event

      which seemed to change Martinez’s view of things was when the agent showed him the

      photographs of the victim in this case. (R-XX-179) The agent purposely did not disclose a

      lot of the details of the case in an effort to give Martinez to supply information about the

      case. (R-XX-180)

             Carmelo Martinez Santana was recalled as a State’s witness. (R-XXI-4) Santana then

      identified Appellant as Obel Cruz Garcia also known as “Chico.” (R-XXI-6) Santana then

      identified a photograph ofRoger, “Bory”. (SX#91). (R-XXI-7) He described Roger in 1992

      as a big man with a bulky build. (R-XXI-8) He also identified Angelo (SX#31). (R-XXI-11)

      Santana testified that he had no type of deal for his testimony in this case. (R-XXI-12) When

      questioned about his concern of leaving the federal penitentiary in Pennsylvania and being

      secured because he was going to testify against Appellant, this witness said he did not

      remember. The prosecutor then stated “I think Agent Ebersol will ” (R-XXI-13)



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             During cross-examination, this witness reluctantly acknowledged that he never had

      any type of charge in this case. He attempted to avoid answering the questions of whether

      he had ever been charged in this matter by saying he did not care and he was there to tell the

      truth. (R-XXI-15, 16)

             The witness admitted that Appellant was in Puerto Rico when he first came to the

      United States and began using drugs and selling drugs and that Appellant was not part of

      that. (R-XXI-32) Santana denied that it was inconsistent that on the one hand he tried

      blaming Appellant for his problems while staying with Appellant through thick and thin. (R-

      XXI-33, 34)

             During cross-examination, this witness denied saying that he described the place

      where the little boy was killed as an area near where|              and he had lived. (R-XXI-

      35, 36) Yet, during his direct examination by the State, he said that there’s where we used

      to live before Ms.       and I we were neighbors. (R-XXI-9) Santana denied telling the FBI

      agents when they first came to visit him that he was familiar with the Baytown area because

      he used to sell drugs in that area. (R-XXI-37) He stated that he was able to recall the specific

      route that they took when they took the little boy 21 years ago, just based on just one trip

      there. (R-XXI-37) This witness again said that he was not familiar with Baytown and that

      he had not sold drugs to people in Baytown. (R-XXI-38) Once again, Santana said that he

      never told the jury that the place where the boy was killed was near where he and|         used

      to live. (R-XXI-38, 39) He also denied telling the jury the day before that (Appellant) slept

      with his wife Angelita on the night that the young boy was killed. (R-XXI-40)



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             During further cross-examination, he stated that Appellant stayed up the rest of the

      night using drugs. (R-XXI-40) The witness then attempted to explain that “go to sleep”

      meant go to the apartment. (R-XXI-42) Santana stated that it was possible that he and

      Appellant had been to              apartment earlier in the day of the killing. (R-XXI-43)

      Santana then said that Appellant used a pay phone to call a taxi after the young boy was

      killed. (R-XXI-44) Santana said he told the FBI that all four tires blew on their vehicle. He

      stated that he did not recall telling the FBI that only two of the tires blew on the car. (R-XXI-

      45) Appellant’s counsel questioned Santana about whether he had told the FBI that he had

      defecated that night. The witness again attempted to sidestep the question, but eventually

      said he did not remember. (R-XXI-48) Santana said that the time Appellant was gone from

      the car to Diana’s apartment on that night was 30 to 40 minutes. He denied telling the FBI

      that it was 5 to 10 minutes because he said that’s not how it was. (R-XXI-49) When

      questioned about the demeanor of the young boy, Santana said that he was not crying and that

      he was very calm because we’re family. (R-XXI-50) When Appellant was carrying the little

      boy, he did not have a mask on. (R-XXI-51) When questioned about whether the boy was

      left with him in the car when Appellant went back to the mother’s apartment, this witness

      was unsure of whether the boy stayed with him or went with Appellant. (R-XXI-51) He

      denied telling the FBI that Appellant had given the boy to Rogelio. (R-XXI-51) Santana said

      that Appellant had a firearm and Rogelio had a pocket knife. (R-XXI-52) When asked where

      he was when the little boy was killed, Santana said that he was walking. (R-XXI-54)

             Santana could not say where Roger or Rogelio was at the very point in time that the



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      little boy screamed. (R-XXI-55) Santana responded to questions about the location of

      Rogelio by stating that ‘7 have always believed that Rogelio is the one who killed him

      because he ordered it. He is the one who told him you know what you have to do. ” (R-XXI-

      57) Santana said that he may have told the FBI that Rogelio exited the vehicle and took

              to the driver’s side rear of the car. (R-XXI-57) Again, Santana said that he believed

      that Rogelio killed the boy, but he did not actually see him kill the boy. (R-XXI-60) Santana

      stated to the jury that he felt threatened by Appellant when they got back from the boy’s

      killing. (R-XXI-61) He admitted that he told the FBI that Appellant, Rogelio and Martinez

      made a pact never to tell what had happened and wasn’t based upon threats. (R-XXI-61)

             William Ebersol, with the FBI, was recalled for cross-examination. (R-XXI-64)

      Ebersol stated that he and Agent Mike Hawthorne went to interview Martinez in prison. (R-

      XXI-65) Ebersol testified that the interview with Martinez was not recorded / it was an oral

      conversation. (R-XXI-65) He stated that he took notes of the conversation he had with

      Santana Martinez. (R-XXI-66) Ebersol agreed that he and Hawthorne did the very best they

      could to record what was said during the conversation. (R-XXI-67) Ebersol stated that he

      had no problem communicating with Martinez when they interviewed him. (R-XXI-68) He

      stated that he stood by the accuracy of the report that he made concerning this interview as

      reflected in the 302 document. (R-XXI-68) Ebersol agreed that a traumatic event like

      defecating would not have been something he left out of his report. (R-XXI-69) He stated

      he never recalled Martinez ever saying that he defecated. (R-XXI-69) Ebersol also

      contradicted Martinez when he related that on page 9 of his report that Martinez told him he


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      was familiar with Baytown because that is where he sold drugs. (R-XXI-69) He also stated

      that Martinez told him that he was familiar with Baytown because he had been there many

      times and had friends there for the purpose of dealing drugs. (R-XXI-70) He also stated that

      there was a reference to the fact that Martinez said that when Rogelio and Chico returned,

      it was approximately 5 to 10 minutes later and that Appellant was holding Angelo. (R-XXI-

      71) He also stated that in the report Martinez told him he believed that Appellant handed

              to Rogelio. (R-XXI-71) Ebersol agreed that one of the ways to determine if an

      individual played a role in an offense was to see where they were at the time the killing

      actually took place. (R-XXI-72) Ebersol said that Martinez told him that Rogelio exited the

      vehicle and took          to the driver’s side rear area of the vehicle. (R-XXI-73) He also

      stated that while Martinez did not say he saw Rogelio stab or slash            |, he did hear
              cry out one time, then heard Angelo say “ £///” and then he heard him hit the ground.

      (R-XXI-74) He also said that the very next thing was that he said that Chico (Appellant) was

      at the front of the car looking around. To which Ebersol said, yes, that is what Martinez told

      him. (R-XXI-74) Ebersol also said that Martinez told him that in order to try and get the

      body to go under water, they had to put blocks on it. (R-XXI-74) When Ebersol interviewed

      Martinez, Martinez only said that there were two tires that blew out on the car, he never

      mentioned the third or a fourth tire blowing out. (R-XXI-75) He also said that the

      individuals, Appellant, Rogelio and Martinez made a pact never to tell what happened that

      night. (R-XXI-76) He characterized the agreement as referring to an agreement amongst the

      three parties, not a threat. (R-XXI-76) He also noted that Martinez said that when they got



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      back to the apartment, Appellant went in to sleep with Angelita. (R-XXI-77) Ebersol noted

      that if there had been any mention of drug use as Martinez claimed, Appellant had stayed up

      all night using drugs, he would have typed it in his report. (R-XXI-77)

               Micah Webb, an investigator with the Harris County District Attorney’s Office,

      testified that he assisted in the preparation of Appellant’s case for trial. (R-XXI-84. 85)

      Webb stated that after the FBI had interviewed Martinez in jail, locating Rogelio Aviles

      became more important. (R-XXI-90) After interviewing this individual known as Candido

      LeBron or Roger, Webb participated in preparing capital murder charges against Rogelio

      Aviles Barroso. (R-XXI-91) Webb also took a buccal swab from Appellant on February 16,

      2010 .

               Matt Quattaro, a supervisor of forensics at Orchid Cellmark in Dallas, Texas, testified

      that Orchid was an independent lab that performed DNA testings on specimens from criminal

      cases around the country. (R-XXI-103) Quattaro testified that a DNA analysis was done in

      the Obel Cruz Garcia case. (R-XXI-105) Orchid Cellmark first received evidence in the case

      on October 3, 2007. (R-XXI-105) The evidence which was sent to Orchid Cellmark by

      Detective Mehl included a cigar, sexual assault kit, and referenced samples from

               and Arturo Rodriguez. (R-XXI-106) At that point in time, no sample from Appellant

      had been received. (R-XXI-106) The initial evaluation of the cigar revealed two referenced

      samples, neither of them matched, so they had an unknown male contributor. (R-XXI-109)

      The sexual assault kit was tested and DNA from I                  was found, as well as Arturo

      Rodriguez not being excluded as a possible contributor. Since there was a mixture, this left



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      another unidentified male contributor. (R-XXI-112) The profile of the cigar could also not

      be excluded as a contributor to the vaginal swab. (R-XXI-113) Testing was done on the

      cutting from a pair of panties and the results were that|                DNA was located on

      them. (R-XXI-113) Again there was a mixture of semen on the panties and Arturo

      Rodriguez could not be excluded as one of the minor contributors to the sample. (R-XXI-

      114) The major profile or contributor to the most of the DNA was an unknown individual

      whose DNA was also on the cigar. (R-XXI-114) Additional evidence was received from

      Sergeant Mehl on December 7, 2007. (R-XXI-115) Other samples were sent in for testing.

      (R-XXI-115) On May 28, 2008, Orchid Cellmark received a referenced sample from

      Appellant, Obel Cruz Garcia. (R-XXI-115) The swabs were sent from Gracel Guzman from

      the FBI as documented in State’s Exhibit No. 95. (R-XXI-119) The DNA profile from the

      cigar matched the DNA profile that came from Appellant. (R-XXI-119) Appellant could not

      be excluded as a possible donor to the sperm fractions of the vaginal swabs, and the DNA

      that was obtained from the cutting of the panties as well. (R-XXI-119, 120) Appellant was

      identified as the major contributor to the profile found on the panties. (R-XXI-120)

             During cross-examination, this witness agreed that Orchid Cellmark had quality

      control procedures to assure that they are getting the best and most accurate results from their

      testing. (R-XXI-128)      He agreed that quality control is in place to try and avoid

      contamination. (R-XXI-128) The witness detailed the steps taken to try and avoid any type

      of contamination of the DNA sampling under test. (R-XXI-129, 130) He agreed that Orchid

      Cellmark could not control or attempt to control other labs quality control. (R-XXI-130)



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      When asked whether or not the evidence was handled by the HPD crime lab, the witness

      stated that he could tell it was somewhere before it was sent to him, but he did not know who

      beforehand. (R-XXI-130) He stated that he did not know Appellant and that the sample that

      he received was marked with Appellant’s name on it. (R-XXI-130) The samples that he

      received were simply in an envelope with his name on it. (R-XXI-131) He stated that he did

      not know exactly where that came from but that somebody else provided that to him. (R-

      XXI-131) He stated that epithelial cells which were being examined are not observable by

      the naked eye, but could be seen with a microscope. (R-XXI-132) The same held true for the

      sperm fractions which are microscopic. (R-XXI-132) Quattaro stated with regard to the

      sperm cell there was no way to tell where that really came from, that he had to rely on the

      labeling that somebody else gave him. (R-XXI-134) He agreed that prior to receiving the

      evidence, he did not know how it was placed, where it was placed, when it was placed, how

      it was collected and how it was stored before it got to him. (R-XXI-134) He could not

      indicate whether the spermatozoa was the result of consensual sex or a sexual assault. (R-

      XXI-134) He confirmed that the epithelial cells which were collected in 1992 were not

      examined until 2007, some 15 years later. (R-XXI-135)

             During re-direct examination, the witness said that he made no observation of

      anything indicating that the evidence had been tampered with. (R-XXI-136.137) He testified

      that Orchid Cellmark had received a large cutting from the crotch of the panties and that they

      in turn took a smaller portion or cutting from that for testing. (R-XXI-137, 138) He stated

      that he could not contaminate evidence to create a DNA sample with someone’s DNA that



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      he did not have at the time. (R-XXI-138)

             During re-cross examination, this witness admitted and agreed that contamination

      does occur. Itdoesn’tnecessarilymeanthatpeopleareevil. (R-XXI-140) When he received

      the evidence, there was no HPD notations of quality control procedures for assurances

      connected with the evidence. (R-XXI-141)

             Courtney Head, a criminal specialist with the Houston Police Department Crime

      Laboratory, testified that with the exception of identical twins, everybody’s DNA is unique

      to that specific individual. (R-XXI-145) She explained the difference between a known

      sample or referenced sample and an evidence sample which is collected and submitted for

      analysis. (R-XXI-146) She identified State’s Exhibit No. 64 (already in evidence) as a t-shirt

      that was submitted in this case and tested. (R-XXI-154) No blood was detected on the t-shirt.

      (R-XXI-155) She testified that in a hypothetical case where the item had been in water for

      30 plus days and exposed to the elements, she would not expect blood to be on the item. (R-

      XXI-155) She testified that there was a known sample which had been taken from Appellant

      but which never was seen or touched by Orchid Cellmark. (R-XXI-156) The witness stated

      that she performed extractions on the items. (R-XXI-157) She stated that she compared the

      referenced samples to the evidence. She stated that she compared the known profile with the

      profile that Orchid Cellmark had generated on the same sample. (R-XXI-159) She ultimately

      made comparisons between the known referenced sample, the DNA profile of Obel Cruz

      Garcia, and those three items. She found that Appellant could not be excluded as a

      contributor to the DNA profile that came from the cigar. (R-XXI-161) She also found that



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      Appellant could not be excluded as a possible contributor to the DNA mixture found in the

      sperm fraction from the vaginal swab of|               \. (R-XXI-162)   Likewise, she stated

      that Appellant could not be excluded as a contributor to the major component of the profile

      from the DNA found on the panties of|                [. (R-XXI-162)
             During cross-examination Head acknowledged that she had not personally performed

      any testing on the cigar, the vaginal swabs, or the cutting from the panties. (R-XXI-172) She

      admitted that there was no quality control or technical review of her because she didn’t do

      any work on them. (R-XXI-172) She stated that she simply reviewed their work. (R-XXI-

      172)

             Appellant was found guilty of capital murder. (R-XXIII-102)

                             PUNISHMENT PHASE OF THE TRIAL

             Manuel Buten testified that he was from Puerto Rico. (R-XXIV-15) Buten was

      married and had children, including a stepson named William. (R-XXIV-15) He stated that

      he had a food truck business in 2001. The name of his business was “El Tropical.” (R-

      XXIV-17) In 2001, along with his brother Andres Castillo Buten and his stepson,

                       Mr. Buten operated the food truck. (R-XXIV-18) In October, 2001, while

      at the food truck, a man and woman came up and ordered food. That same man later came

      up and said that he liked the music and asked Buten to “pump up the volume.” (R-XXIV-22)

      Buten identified Appellant as the individual who requested that the music be turned up. He

      stated that Appellant kept asking him to come down and turn the music up himself, which

      would require him to come out of the truck. (R-XXIV-24) Appellant later came up to the



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      truck and pulled out a .38 revolver and tried to fire it twice, but it did not fire. (R-XXIV-25)

      Buten took off running towards the back leaving the keys to the truck as he ran away. (R-

      XXIV-26) Buten was told that Appellant had taken the boys from the truck and had left. (R-

      XXIV-26) He flagged down police to ask them to look for |              and Andres. (R-XXIV-

      27) Appellant later called Buten and said that in order to release the boys he would have to

      supply Appellant with 2 kilos of drugs. (R-XXIV-29) When Buten said that he sold mofango

      and fried plantains, a woman got on the line and said that’s how they would return the kids

      as mofango and chopped meat. (R-XXIV-29) Buten said that he went to the police station

      and while there Appellant contacted him. Appellant was unaware that Buten was at the

      police station and threatened to kill the boys if he did go to the police station. (R-XXIV-31)

      In speaking with Appellant, Appellant told him that Buten had to give him 75 Kilos and a

      $150,000 cash. (R-XXIV-32) In a subsequent conversation with Appellant, Buten asked to

      speak with the boys to make sure that they were alive and he did so. (R-XXIV-33) In yet

      another phone conversation, Appellant threatened to kill the boys if Buten was inside a police

      station. (R-XXIV-36) Appellant also stated that he would see his family on the news. (R-

      XXIV-37) The police came up with a plan to try and trick Appellant into thinking that Buten

      was going to meet him at another location. (R-XXIV-38) He made believe that he was

      honking the horn and arguing with other drivers that were around him even though he was

      actually at the police station. (R-XXIV-38) The police went to an area where Appellant was

      supposed to be to meet Buten. (R-XXIV-39) At the scene, the police watched and observed

      somebody they thought was talking on the phone. They gave chase and the person crashed



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      the car. (R-XXIV-40) Appellant had said during conversations with Buten that if he

      continued with his “bullshit” he was going to read about his family in the paper the next

      morning. (R-XXIV-40) A few hours later, the boys were released. (R-XXIV-40) The

      individuals were kidnapped for approximately three days. (R-XXIV-41) Upon their release,

              had marks on his face and Andres’ head was swollen because he had been hit on the

      head with a pipe. (R-XXIV-41)           and Andres’ toes were smashed with a hammer and

      they were taken to the hospital. (R-XXIV-42)

             Sergeant Juan DeJesus Rodriguez from the Puerto Rico Police Department testified

      that he was involved in a kidnapping case involving Appellant in October, 2001. He

      identified Appellant in Court. (R-XXIV-45, 46) DeJesus arranged for Buten to come to his

      office so that they could monitor calls made by Appellant and assist in the apprehension of

      him. (R-XXIV-47) Since there was no technology to trace the calls or record them, Buten

      would explain to the police what was being said. (R-XXIV-48) DeJesus would counsel and

      advise Buten about what to say in response to questions during the conversation . (R-XXIV-

      48) DeJesus had Buten receive “signs of life” indicating that the subjects             and

      Andres were alive by placing them on the phone. (R-XXIV-49) DeJesus then explained the

      scenario that played out involving Buten and Appellant. (R-XXIV-52 - 54) Appellant was

      ultimately found hiding in a tree and was taken into custody by the police. (R-XXIV-54)

      DeJesus saidthathe, along with his partner Melvin Torres, interviewed Appellant. (R-XXIV-

      58) After Appellant was allowed to call the woman he was married to in 2001, both

      individuals were released. (R-XXIV-59) Appellant was filed on for kidnapping, a gun case,



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      and a knife case. Another individual, Pablo Esquivez was implicated in the kidnapping as

      well. (R-XXIV-65) Appellant pled guilty and received a 16 year prison sentence. (R-XXIV-

      65)

            During cross-examination, DeJesus was asked whether or not it seemed odd that an

      individual who owned a small food truck would be asked to supply a $1,000 in cash and

      100 kilos of cocaine to secure the release of these individuals. (R-XXIV-76, 77) He said in

      his training and experience that type of question would be asked to people that might have

      that type of stuff. (R-XXIV-77) He did further investigate to see if these people were

      involved with drugs. (R-XXIV-77) He stated that it turned out that Buten was not involved

      in drugs. (R-XXIV-77)

             Andres Castillo Buten testified that he had a small food truck just like his brother

      Manuel Buten. (R-XXIV-79) Buten identified Appellant as an individual he came into

      contact with on October 11, 2001 at a food truck. (R-XXIV-81) He stated that after eating

      his meal, Appellant came up and produced a weapon and pointed it at his brother. (R-XX3V-

      82) When his brother ran off after Appellant tried to shoot at him, Appellant kept|    and

      this witness. (R-XXIV-83) Buten then described how he and the other were kidnapped. (R-

      XXIV-85) He was thrown to the ground and into a house by Appellant. (R-XXIV-86) He

      was also assaulted by Appellant inside the house. (R-XXIV-86) Buten was able to identify

      Appellant because Appellant had taken the hood off of his head and he observed Appellant’s

      face. (R-XXIV-87) Buten described Appellant having sex with the women he was at the

      food truck with. He stated that he had sex right in front of him. (R-XXIV-90) Buten also



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      described Appellant hitting him with a mallet on his feet. (R-XXIV-91, 92) Buten also

      observed         and that he had been beaten up as well. (R-XXIV-93) He described

      Appellant as being the person in charge while all this was going on. (R-XXIV-94) Buten was

      eventually released and he eventually found a patrol car and told him what happened. (R-

      XXIV-95)

                                      also testified about his kidnapping on October 11, 2001 while

      at the food truck in Puerto Rico. (R-XXIV-99) He testified that after Appellant attempted

      to shoot Manuel and Manuel got away, Appellant told the others to get the two that were up

      there which were this witness and Buten. (R-XXIV-102. 103) He identified Appellant in

      court. (R-XXIV-102) Martinez was taken to a house, along with the other individual who

      had been kidnapped, where he was assaulted. (R-XXIV-106) When Appellant left the room

      momentarily, the other individual did nothing to this witness. (R-XXIV-108) He described

      having been hit by Appellant with a revolver and also being cut by a knife that Appellant had

      with him. He also described other threats made by Appellant. (R-XXIV-109) This witness

      remembered times when Appellant told him that he was going to kill him. (R-XXIV-113)

      This witness again identified Appellant as the person that had kidnapped him. (R-XXIV-116)

             Officer Efrain Hernandez with the Department of Corrections in Puerto Rico testified

      that he has always worked on medical services at the Unit. (R-XXIV-120) On October 10,

      2003, this witness stated that he inspected the cell of Appellant. (R-XXIV-120) When

      Hernandez inspected Appellant’s prison cell, he noticed something irregular. (R-XXIV-123)

      He noticed that window pane fell out of Appellant’s window when touched by a rubber



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      mallet. (R-XXIV-124) Inside Appellant’s cell a rope made up of bed sheets as well as a map

      of Puerto Rico were found. He stated that the space opened by the window was enough for

      an individual to climb out. (R-XXIV-125) He explained that these items were not

      permissible for inmates to have in their cells. (R-XXIV-127) When Appellant was searched

      after being detained in the prison unit, a cell phone was found in his possession. (R-XXIV-

      128) Again, this was a prohibited item. (R-XXIV-128)

             During cross-examination, this witness acknowledged that the main purpose of the

      window which was made of metal was for ventilation. He also noted that if an individual

      jumped out of the window, he would still be in a restricted area within the institution, not the

      free world. (R-XXIV-136)

             James Kennedy with the Houston Police Department that on July 1, 1989, he worked

      in the Crime Scene Unit. (R-XXV-7) He went to the scene at 123 Winkler in Houston, Texas

      on that date. (R-XXV-7) He was investigating a dead body found in an apartment complex

      dumpster at that location. (R-XXV-8) He identified the body as being a Hispanic male. (R-

      XXV-9) State’s Exhibit No. 118 showed three ligature strangulation marks on the

      deceased’s neck on the left side.

             Tina Perez testified that when she was sixteen she got separated from her current

      husband and got involved in some stuff that she was not proud of, notably drugs. (R-XXV-

      23) The individuals she was involved with was Elizabeth Ramos, who was a girlfriend of

      Appellant. (R-XXV-24) She stated that she would get drugs through Ramos who in turn

      received them from Appellant. (R-XXV-24) Perez then identified Appellant in court. (R-



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      XXV-26) In 1989, when she was hanging around with Appellant, she knew some of his

      other friends, including “Shorty,” Rudy, Saul, and a guy named Robert, whose real name was

      Leo. (R-XXV-26) She described Rudy as Appellant’s right hand man and that they were

      inseparable. (R-XXV-27) She described Appellant as being the person of those individuals

      who was kind of in charge or the boss. (R-XXV-28) One time, Perez went to an apartment

      on Winkler and when she went in to buy drugs, she saw a body in the tub of the apartment.

      (R-XXV-30) She noticed when she went into the apartment that stuff was scattered

      everywhere. (R-XXV-31) She remembered seeing the body bound with the hands tied

      behind his head and his feet were also bound and he was face down. (R-XXV-32) She

      identified the body as Saul. (R-XXV-33) She later told the police what she had seen. After

      seeing Saul’s body in the tub, Perez changed and started going back to school. She

      subsequently saw Appellant and he told her not to say anything. (R-XXV-35)

             Johnny Lopez stated he was in a common law relationship with Lupita Marie

      Martinez. (R-XXV-42) After high school, Lopez went into the army for four years. (R-

      XXV-43) Lopez eventually got into drugs and ended up going to jail. (R-XXV-44) In 1989,

      Lopez knew Saul Flores. (R-XXV-45) Lopez learned that Saul had died while Lopez was

      injail. (R-XXV-46) State’s Exhibit No. 122 was identified as apicture of Saul. (R-XXV-48)

      Lopez then identified Appellant in the courtroom. (R-XXV-49) Lopez said that his friend

      Saul would run away whenever he would see Appellant coming towards him. (R-XXV-51)

             During cross-examination, Lopez denied that he told the police in 1989 that he was

      actually running from “Shorty.” (R-XXV-52) Appellant’s counsel then questioned him about



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      the number of times he had met face to face with the prosecutors concerning this case. (R-

      XXV-54, 55) Appellant’s counsel then questioned this witness about his criminal history.

      (R-XXV-55- 57)

             Carmelo Martinez Santana (“Rudy”),who had testified during the guilt phase of the

      trial, testified again on punishment. (R-XXV-60) Rudy again identified Appellant in court.

      (R-XXV-61) He testified about a previous incident when Appellant and Cesar tied him up.

      (R-XXV-61) Appellant and Cesar took Rudy and placed him in a bathtub because Appellant

      thought that Rudy was taking his drug customers away from him. (R-XXV-63) When Rudy

      produced money from his pocket he was released. (R-XXV-64) He testified that he was

      aware of other robberies or burglaries where masks were worn. (R-XXV-65) Rudy described

      a situation where Appellant and he went to an individual’s apartment (Batiko) to break in.

      (R-XXV-66) State’s Exhibit Nos. 126 and 127 were shown to Rudy. He identified them as

      Batiko’s apartment. (R-XXV-68) Rudy explained that Bory also known as Roger went along

      with Appellant. (R-XXV-69) The two came back to Rudy’s car with drugs and money from

      the apartment. (R-XXV-70) When Appellant returned to the car, he stated that he had raped

      Batiko’s woman and he had beaten Batiko up. (R-XXV-70) He went on to say that there

      were other times when apartments were robbed and burglarized. (R-XXV-71) Rudy

      described Saul Flores as an individual who worked with both of them selling drugs. (R-

      XXV-72) He stated that Appellant met Saul through another Mexican named “Shorty.” (R-

      XXV-72) Rudy also described that at one point Saul had taken some drugs to Appellant’s

      girlfriend’s apartment. Appellant’s girlfriend (Elizabeth) called Appellant and told him about



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      the fact that Saul was trying to court her and this made Appellant furious. (R-XXV-75) Rudy

      went to Elizabeth’s apartment, along with Robert and the Appellant. (R-XXV-76) Saul was

      placed in the car and driven to an apartment complex on Winkler. (R-XXV-76) This was an

      apartment there that was used to sell drugs. (R-XXV-77) The group went upstairs into the

      apartment. (R-XXV-77) On the way to the apartment on Winkler, the group picked up

      another individual Richard. (R-XXV-78) Once inside the apartment, Appellant began

      beating Saul. (R-XXV-79) In addition to the beating they were giving Saul, he was also

      injected with drugs. (R-XXV-81) He then stated that Obel Cruz-Garcia broke Saul’s neck.

      (R-XXV-82) Subsequently, Saul’s body was moved and placed in the dumpster outside. (R-

      XXV-85) Rudy said the first time he told anybody about this was when he spoke with his

      attorney, Mr. Castro. (R-XXV-85)

             During cross-examination, Martinez denied reaching out to law enforcement in 2011

      to talk about this case. He stated that they appeared unannounced to discuss the matter with

      him. (R-XXV-87) When asked whether he had any pending cases against him, Martinez

      attempted to sidestep the question by saying he was just there to tell the truth. Martinez

      stated that the incident involving him had occurred prior to the incident involving the death

      of I      [. (R-XXV-89) Martinez described himself as the getaway driver in the case
      involving Batiko. (R-XXV-90) He admitted that it was the same thing he did when baby

              was taken. (R-XXV-90) He acknowledged staying with Appellant even after the

      baby’s case, even helping him to clean up the car that was used to transport the body. (R-

      XXV-91) He stated that he took Appellant to the airport and then resumed his drug business



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      himself. (R-XXV-91, 92)

             On re-direct examination, Martinez said that he had not been promised anything by

      the State to get him to testify against Appellant. (R-XXV-95)

             Dr. Dwayne Wolf, Deputy Chief Medical Examiner for Harris County, testified that

      the Saul Flores autopsy was performed July 1, 1989, Dr. Narnia. (R-XXV-100) Dr. Wolf

      found that the injuries sustained by Saul Flores were consistent with ligature strangulation.

      He also described some contusions around the eyes. (R-XXV-108) Dr. Wolf testified that

      a toxicology test was performed and Saul Flores’ body contained cocaine in his blood. (R-

      XXV-111)

             Micah Webb testified again at the punishment phase of this trial. (R-XXV-116)

      Webb, as part of his investigation in this case, went to the Harris County jail to speak with

      Carmelo Martinez Santana. (R-XXV-117) During the interview, Martinez provided new

      information to the investigator regarding an unrelated murder. (R-XXV-118)

             During cross-examination, Webb confirmed that Martinez had not been charged in any

      of the cases he testified to. (R-XXV-122)

             Darryl Novak with the Harris County Sheriffs Department testified that he was

      employed as a detention officer. (R-XXV-123) On September 23, 2012, this detention

      officer had interaction with Appellant. (R-XXV-126) He identified Appellant in court. (R-

      XXV-127) On September 23, 2012, Appellant was given a razor to use, one the day of the

      week when inmates received razors. (R-XXV-128) After the razors are used, they are

      collected as part of a count. (R-XXV-128) When this witness retrieved Appellant’s razor he



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      noticed that it had been altered. (R-XXV-131) Appellant was brought up on disciplinary

      action of altering the razor. (R-XXV-133)

             David Davis, Jr., with the Harris County Sheriffs Department, testified that he was

      a jailer and a classification supervisor. (R-XXV-144) He testified that Appellant was booked

      into the Harris County Jail on February 12, 2010, and he was assigned as a high risk inmate

      and placed into administrative separation. (R-XXV-145) Davis described the restrictions

      placed on an individual in that type of housing arrangement. (R-XXV-146) This witness then

      testified that a razor blade is a prohibitive weapon in the penal institution. (R-XXV-147) He

      stated that if an individual chose to charge Appellant with something lesser than that it was

      basically an act of kindness on the part of the officer. (R-XXV-147)

             Bonnie Fiveash, testified that she classified inmates and offenders for statewide

      placement. (R-XXV-149) She testified that she had 21 years experience with the Texas

      Department of Criminal Justice, all of which was classifying offenders. (R-XXV-150) She

      testified that while her and her committee make an initial assignment and custody level of

      the offenders, once they reach a particular facility it depends on the behavior where that

      inmate goes from there. (R-XXV-151) She then testified regarding the general categories

      of G-1 through G-5 regarding general prison populations. (R-XXV-154) She stated that most

      inmates convicted of capital murder, and not sentenced death, start out as a G-3 inmate. (R-

      XXV-156) She stated that based on the information sheet, Appellant would be classified as

      a G-3 offender. (R-XXV-157) She testified that Appellant would be with other inmates as

      a G-3 offender. (R-XXV-159)



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             The State pointed out through this witness that Appellant could be housed with

     somebody in prison for a DWI 3rd, as well as a white collar theft case. (R-XXV-160) The

      State then elicited testimony from this witness regarding the ability of the Appellant to be in

      contact with other individuals, including employees ofthe prison system. (R-XXV-161) She

      also brought out that guards within the prison unit do not have weapons and they could be

      in the company of capital murderers and have no way to defend themselves. (R-XXV-166)

      The State made it a point to point out that inmates can buy Blue Bell ice cream while they

      are in prison. (R-XXV-169) The State also referenced a security officer at the Wynn Unit

      named Susan Canfield who was on horseback and when an escaped occurred and her horse

     was hit by a car causing Canefield to be killed. (R-XXV-174)

             During cross-examination, Appellant’s counsel asked the obvious question which was

      “Have we left out any nightmare scenarios in this conversation?” to which the witness

      indicated, “No, sir.” (R-XXV-178) She also acknowledged that in her opinion TDC was

      competent in handling inmates. (R-XXV-179) She did not indicate that she had a reason to

      think that there was anything “wack” in terms of the Texas Department of Criminal Justice’s

      ability to deal with inmates. (R-XXV-179) She indicated that she would have a vote of

      confidence for other individuals who worked at TDC. (R-XXV-179) This witness also

      indicated what would happen to individuals who had disciplinary problems while in prison.

      (R-XXV-180, 181) Ultimately, the witness agreed that if an individual’s conduct was bad

      enough they could be placed in individual segregated units away from everyone else. (R-

      XXV-182) Fiveash stated that TDC was not going to risk the safety of other offenders or



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      staff. (R-XXV-182) She also pointed out that if an individual attempted to escape he would

      be ordered to stop first and then the guards would shoot the individual. This also applied to

      individuals who worked in the field and that was why guards carry rifles on the horses. (R-

      XXV-183) This witness indicated that she was not trying to make any kind of admission to

      the jury that TDC just can’t handle its business or can’t handle the inmates. She indicated

      that she was not there to sway them either way. (R-XXV-186) When asked “I guess the fear

      from our standpoint might be that through your testimony, the jury is getting the impression

      that it’s just too dangerous to send anybody to TDC.” The witness said, “No, sir.” Initially,

      when counsel commented that “These situations that     — these catastrophic situations that
      occur at TDC, even though they have occurred there, these are not the normal things that

      happen at TDC, are they?” To which the witness indicated, “No.” (R-XXV-186)

             The State rested its case at punishment. (R-XXV-202)

             The first witness for Appellant, Mireya Perez-Garcia testified via Skype from the

      Dominican Republic. (R-XXVI-9) She testified that she met Appellant when she was 15 and

      that after dating for several weeks she married him. (R-XXVI-12) She described how

      Appellant would fish with his father for a living at the time. (R-XXVI-13) Appellant left

      about six months after marrying this witness to go to Puerto Rico for a better life. (R-XXVI-

      13) She continued her relationship again with him in 1994 in Puerto Rico. (R-XXVI-13)

      Garcia and Appellant had a family in Rio Pedra, Puerto Rico. (R-XXVI-14) She stated that

      Appellant worked in real estate and was a very hard worker. (R-XXVI-15) She described

      him as sincere and noble and an impeccable person. She stated that he interacted with all of



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      the friends that he had from church. (R-XXVI-15) She described how as a member of the

      church, Appellant would go and do mission work with others at the church. (R-XXVI-16)

      Appellant and his wife owned their own home. (R-XXVI-17) She described Appellant as

      an excellent father because he wanted to be the best he could for his children. (R-XXVI-18)

      Appellant like to read his bible and especially read psalms. (R-XXVI-19)

             When this witness was asked whether she was aware that her son was in prison or not,

      she said “No, no, no.” (R-XXVI-29) She stated that she did not know about his life at that

      time. (R-XXVI-29) This witness indicated that she was aware that Appellant had married

      a woman by the name of Dorka. (R-XXVI-29)

             Joel Cruz-Garcia, Appellant’s brother, testified that his father suffered an injury which

      made him leave the military and become a fisherman. He said that the parents stayed

      together for 17 years and then his mother moved to Venezuela when Obel, the Appellant, was

      about 12 years of age. (R-XXVI-35) He described Appellant as a good brother who cared

      for him and they had a good relationship. (R-XXVI-36) He described his relationship with

      his brother over the years and gave an opinion that Appellant was a good father to his son.

      (R-XXVI-39) During cross-examination, he said that Appellant stayed with his wife Mireya

      for six months and left for Puerto Rico for a better life and when he left his wife was

      pregnant with their first child. (R-XXVI-44) Appellant’s brother explained how Appellant

      came back to Puerto Rico and had a relationship with Angelita. He also testified that later

      he resumed his relationship with his first wife Mireya. He also testified that Appellant who

      left Mireya again and then established a relationship with Dorka. (R-XXVI-49)



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             Appellant called Abel Cruz-Perez. (R-XXVI-66) He testified that Appellant was his

      father. He also stated that he was married and had a little girl of his own. (R-XXVI-68) This

      witness described the relationship he had with his father and the type of work that his father

      did when he was younger. (R-XXVI-69-70) Abel described the house where they grew up

      and the relationship he had with his father and how he helped build a church in town. (R-

      XXVI-73)

             Angel Meza testified that he and Appellant met while in jail. (R-XXVI-81) This

      witness stated that he was a trustee at the jail and would feed Appellant when he was in lock

      down. (R-XXVI-82) When he would visit Appellant in the jail, Appellant was talking about

      his bible. (R-XXVT-83) This witness would have face to face contact for about two months

      with Appellant during which time he described Appellant as a man of God. He stated that

      Appellant tried to help him in eveiy possible way he could. (R-XXVI-85)

             During cross-examination, the witness recognized that there was a difference between

      someone talking a good game versus having lived and made choices. (R-XXVI-87) He

      agreed that was a pretty important distinction. (R-XXVI-87)

             While the jury was deliberating , a juror sent out a note to speak with the Judge

      privately.(R-XXVII-3) The trial court discussed Ms. Bowman’s matter in chambers without

      other parties present. (R-XXVII-4, 5, 6) The juror expressed concern about reaching an

      agreement, stating that she was at a different opinion and that she was not changing her

      stance on that. (R-XXVII-6) The court indicated that she needed to keep deliberating. The

      jury returned a verdict which resulted in the assessment of the death penalty. (R-XXVII-11)



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             The trial court sentenced Appellant to death. (R-XXVIII-4)

                                POINT OF ERROR NUMBER ONE

      THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION TO
      SUPPRESS THE STATE’S DNA EVIDENCE WHERE THE STATE FAILED TO
      ESTABLISH A PROPER CHAIN OF CUSTODY DUE TO THE INVOLVEMENT
      OF THE HOUSTON POLICE DEPARTMENT CRIME LAB WHICH WAS SHUT
      DOWN AND WIDELY CRITICIZED IN THE REPORT OF INDEPENDENT
      INVESTIGATOR MICHAEL R. BROMWICH COMMISSIONED TO REVIEW AND
      EVALUATE THE HOUSTON POLICE DEPARTMENT CRIME LABORATORY
      AND PROPERTY ROOM (CR-III-454)

                                      STATEMENT OF FACTS

             Prior to trial, Appellant filed a Motion to Suppress Results of all DNA Testing. (CR-

      III-454) The Motion, in part, stated that Appellant was anticipating that the State would seek

      to introduce evidence that the Appellant’s DNA was found at the scene of the alleged crime -

      specifically from physical evidence recovered from a witness who claimed to have been

      sexually assaulted and from a cigar allegedly found at the scene of the alleged sexual assault.

      The DNA evidence was submitted to the former, now defunct, HPD Crime Lab for

      processing. The Motion went on to state that this same evidence was later submitted to other

      labs for testing and the State would seek to offer the results of such testing. Appellant

      pointed out that various investigations and reports had been generated over the years as to

      the incompetence of the employees and former, now defunct, HPD Crime Lab itself which

      led to its complete closing. These investigations included the time period that the DNA

      evidence in this case was handled by the now defunct HPD Crime Lab. The investigations

      found rampant false test results, mishandling of evidence, improper police procedure,

      misconduct, criminal activity, and incompetence. Appellant asserted that he would be denied


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      a fair trial and Due Process if any evidence was admitted at his trial that was stored and / or

      processed by the former, now defunct, HPD Crime Lab. (CR-III-454,455)

             A hearing was held on the Motion to Suppress. (R-XVI-17) When the trial court

      inquired as to the scope of the Motion to Suppress, Appellant’s counsel noted that: 1). Some

      of the people that handled the evidence in this case were severely criticized as a result of the

      Houston Police Department Crime Lab Investigation; 2). Although the State had the evidence

      re-examined by an independent lab, he had no confidence in the HPD Crime Lab, and 3).

      Specific evidence consisting of a pair of panties and a cigar from which a DNA profile were

      determined or handled by the HPD Crime lab for latter cuttings or swabs were items

      produced by the HPD Crime Lab or sent to Orchid Cellmark for analysis. (R-XVI-16)

      Appellant urged the trial court to suppress all the DNA results because the HPD Crime Lab

      had been completely closed, and therefore, the court should not have any confidence in any

      items transferred from that now-closed lab to anywhere else for fear of contamination. (R-

      XVI-18) Appellant further argued that no evidence even handled by the HPD Crime Lab

      should be trusted for evaluation, even by an independent crime lab - this would include

      testimony from Orchid Cellmark. (R-XVI-18) The trial court admitted Defense Exhibits 2

      through 9 into evidence on the Motion to Suppress. (R-XVI-21) These exhibits included

      reports from the Bromwich Report and the Houston Police Department Crime Lab

      Investigation. (R-XVI-21) The State responded that it had followed the recommendations of

      the Bromwich Report and had the evidence sent out to an independent lab to do its own

      testing. The prosecutor argued that the lab didn’t have a sample of Appellant’s DNA



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     [because he was in Puerto Rico] and therefore contamination could not have occurred. (R-

     XVI-22)

            Physical evidence, consisting of cuttings from a pair of panties, was recovered by

      Gloria Kologinczok, a nurse at St. Joseph’s Hospital when she performed a sexual assault

      examination on I             on October 1, 1992. (R-XVI-25) This evidence was stored at

     the Houston Police Department Crime Laboratory until 2007, when it was retrieved by HPD

      Cold Case Investigator, Eric Mehl. (R-XVI-30,32,35) Mehl testified that he did not open the

      evidence envelope which contained the cuttings, but rather re-packaged it and sent it to

      Orchid Cellmark for analysis. (R-XVI-35) A cigar which had been recovered at

               residence on October 1, 1992, also remained in storage at the Houston Police

      Department Property Room until its retrieval by Mehl in 2007. (R-XVI-30) Mehl testified

      that by the date a sample of Appellant’s DNA was obtained, all the biological evidence had

      already been in Orchid Cellmark’s possession. (R-XVI-38)

            During cross examination, Mehl acknowledged items extracted from

      had, in fact, been stored by the Houston Police Department Crime Lab, including blood and

      a cutting from her panties. (R-XVI-43,44) Mehl further admitted that at some point the rape

      kit would have gone through the Crime Lab. (R-XVI-44)

             Matt Quartaro from Orchid Cellmark confirmed that HPD sent DNA extractions

      taken in this case to Orchid Cellmark. He testified Orchid took its own cutting from

      the panties which had been through the Houston Police Department Crime Lab. (R-

      XVI-51) On May 28, 2008, Orchid obtained a full DNA profile from Appellant. Quartaro



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      testified that profile of Appellant matched the profile from the sperm fraction of the panties

      and the cigar. (R-XVI-59) Quartaro confirmed that there had been active testing of the

      evidence by the HPD Crime Lab. (R-XVI-68) He went on to note that even if two people

      had come into contact with the cigar, it was possible that only a DNA profile from one

      person would be obtained. He also confirmed that there was no way to establish when a

      sperm cell would have been deposited - only whose DNA it was. (R-XVI-72,73)

             Courtney Head from the Houston Police Department Crime Laboratory testified that

      there was a letter indicating that in 1992 extractions from the evidence of the vaginal swab

      in the crotch panties were sent to Genetic Design Lab. (R-XVI-85) There was no testimony

      from officials at Genetic Design Lab regarding the evidence. Courtney admitted that

      she knew Joseph Chew (HPD Crime Lab) and confirmed that Chew had obtained a

      hair sample from Appellant on October 7, 1992. (R-XVI- 86) Chew did not testify. She

      also stated that another Crime Lab analyst (B. Sharma) performed an analysis on the

      rape kit on October 28, 1992 and found the male fraction of the DNA sample was too

      degraded to form any conclusions. Sharma did not testify. (R-XVI-87) Head testified

      that Appellant could not be excluded as contributor to the DNA on the cigar or the sperm

      fraction from the panties. (R-XVI-92) During cross examination, Head again admitted

      that biological evidence, including a vaginal swab from the crotch of the panties and

      blood from various individuals had been handled by the Houston Police Department

      Crime Laboratory. (R-XVI-95)

             The trial court denied Appellant’s Motion to Suppress. (R-XVII-5,6) (CR-III-


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      456) The court ruled that evidence extracted by the old HPD Crime lab would not be

      admitted, but that testing performed by Orchid Cellmark on those items would be. (R-XVII-

      8) The court precluded Appellant from presenting the Bromwich Reportto the jury - finding

      the report had nothing specific about this case. The court also prevented Appellant from

      impeaching HPD Crime Lab analysts Joseph Chew or B. Sharma because they were not

      going to testify. (R-XVII- 14, 1517, 18) Appellant was also prevented from mentioning the

      closure of the Houston Police Department Crime Lab. (R-XVII-22,23,24)

             Throughout the course of the trial, Appellant relied on his pre-trial Motion to Suppress

      to address physical and testimonial evidence offered by the State. Appellant also relied upon

      his pre-trial Motion to Suppress when he would lodge additional objections concerning the

      admissibility of DNA evidence. The Motion to Suppress and those additional objections are

      grouped together under this Point of Error pursuant to Rule 38.1 (f ) and (i) of the Texas

      Rules of Appellate Procedure to avoid the unnecessary repetition of arguments in support

      of the issues or points presented for review. In addition to the record made during the pre-

      trial Motion to Suppress, the following matters are included under this Point of Error:

             A       Appellant was instructed that he was not allowed to cross examine Detective
                     Eric Mehl concerning the Houston Police Department Crime Lab (R-XX-59)

             B       The trial court ruled that in order to not leave a wrong impression on the jury,
                     Appellant would be allowed to question the officer about the fact that the
                     Crime Lab did process DNA, but he was not allowed to go into any details
                     about the Crime Lab. (R-XX-62,63)

             C       The trial court specifically noted for the record that the prosecutor left the
                     impression with the jury that DNA was not even thought about in 1992 in
                     general, much less this case, and it was submitted to the HPD Crime Lab for
                     DNA analysis. (R-XX-66)

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             D       Appellant’s counsel again reurged his request to go into a more deep
                     evaluation of Genetic Design and the HPD Crime Lab studies which was
                     denied by the trial court. (R-XX-66)

             E       During FBI Agent Griselle Guzman’s testimony, Appellant objected to the
                     introduction of State’s Exhibits 65 and 66 [buccal swabs taken from
                     Appellant] noting that the basis for his objection was covered by his Motion
                     to Suppress - he otherwise had no further objections. (R-XX-77)

             F       Appellant objected to the introduction of State’s Exhibit # 33 [sexual assault
                     kit results] and State’s Exhibit # 95 [cutting of panties] reiterating the issues
                     that were previously stated and made reference to a breach in the chain of
                     custody of the items. (R-XXI-123)

             G       Over Appellant’s objections, the trial court admitted State’s Exhibits 95, 33,
                     33A, 33B, 33C and 33D [panties from the sexual assault kit, the vaginal
                     swabs, and smears from the sexual assault kit, and saliva samples of|
                            and the blood sample of|               [] (R-XXI-124)
             H       The trial court reiterated that certain questions were allowed and others would
                     not be permitted. Specifically, the trial court stated it would not allow in the
                     results of the Houston Crime Lab or any testing that was done by the HPD
                     Crime Lab. (R-XXI-125-127)

             I       Over Appellant’s objections, the trial court admitted State’s Exhibit # 70 - the
                     report from Courtney Head with the Houston Police Department Crime Lab
                     regarding her DNA analysis in this case. (R-XXI-152)

             J       State’s Exhibits # 76 and 77 [buccal swabs collected from Appellant] were
                     admitted when Appellant commented “no additional objections”. (R-XXI-157)

             K       State’s Exhibit # 92 [DNA statistics] State’s Exhibit# 96 [DNA summary on
                     cigar] and State’s Exhibit # 97 [DNA summary on vaginal swabs] were all
                     admitted over Appellant’s objections.

             L       The trial court prevented Appellant from cross examining Head concerning
                     quality control that existed on other things when they ran by the crime lab. (R-
                     XXI-173)




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                                  ARGUMENT AND AUTHORITIES

             The Fourteenth Amendment to the Constitution of the United States provides that

      no State shall deprive any person of life, liberty, or property, without due process of law.

             As noted above, Appellant’s Motion to Suppress contained several sub-parts which

      are addressed herein, beginning with the Chain of Custody Issue.

                                      Chain of Custody Objections

             In the instant “Cold Case” appeal, the State of Texas prosecuted Appellant in 2013

      for a crime alleged to have occurred in 1992. Evidence, consisting of cuttings from a pair

      of women’s panties, a vaginal swab and a cigar, was tested for the presence of biological

      evidence to be compared with people who may have been associated with the evidence.

      Appellant’s counsel urged the trial court to suppress the evidence because, among other

      reasons, there was no showing of a proper and adequate chain of custody. (R-XXI-123)

      Several issues came into play as Appellant sought to exclude evidence allegedly connecting

      Appellant to the crime scene from September 30, 1992, including [1] the fact that the

      Houston Police Department Crime Lab processed evidence recovered from the crime

      scene - sexual assault kit from I          |; a hair sample from Appellant; DNA extractions
      from                 and Arturo Rodriguez [2] Genetic Design which processed some of the

      evidence was no longer in business and there was no evidence offered to explain what had

      been done to the evidence while in the possession of the company. The State was allowed

      to use evidence which had not been shown to have been maintained in a proper and adequate

      chain of custody. Chain of custody complaints are generally viewed as going to the weight,


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      not the admissibility, of the evidence. Norris v. State, 507 SW2d 796 (Tex. Crim. App.

      1974) In the instant appeal, Appellant submits that the trial court abused its discretion in

      allowing the DNA evidence to be admitted at trial. Montgomery v. State, 810 SW2d 372

      (Tex. Crim. App. 1990) The amendments to the Code of Criminal Procedure relating to

      post-conviction DNA testing are instructive. Article 64.03 provides that the trial must find

      that the evidence “has been subjected to a chain of custody sufficient to establish that it has

      not been substituted, tampered with, replaced, or altered in any material respect”. Appellant

      submits that the stringent prerequisite set forth under 64.03 should apply with equal force to

      the State of Texas when it relies upon 21 year-old biological evidence in the prosecution of

      a capital murder case. The State provided no proof concerning what had happened to the

      biological evidence sent to Genetic Design. Likewise, the State failed to offer any proof

      establishing a proper chain of custody of the evidence while in the possession of the Houston

      Crime Lab and Property Room. Numerous individuals, including detective Mehl, had access

      to, and handled, the evidence without being able to provide any meaningful information

      regarding the chain of custody. A complete chain of custody must be maintained in order to

      ensure that biological evidence was collected and preserved properly. Routier v. State, 273

      SW3d 241 (Tex. Crim. App. 2008) Appellant’s efforts to introduce numerous documents

      concerning the Crime Lab fiasco (Def. Ex’s 2-19) is intertwined with this chain of custody

      issue. The second Bromwich Report (5/31/2005) (Def. Ex. 2) noted that it is already clear,

      however, that the circumstances that led to the troubling crisis of confidence in the Crime

      Lab are complex and deeply rooted in the history of the Crime Lab and HPD as a whole over


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      the past two decades. (R-XVI-21)(R-XXXI-15) The third Bromwich Report (6/30/2005)

      Def. Ex. 3) addressed the storage room at the HPD Property Room where high temperatures

      and high humidity created problems. The Bromwich Report also noted that the chain of

      custody forms were cumbersome and archaic and increased the chances of errors and risk of

      misplaced evidence. R-XVI-21)(R-XXXI-59)              Appellant submits that there was a

      insurmountable gap in the chain of custody - so much so that the admission of the evidence

      violated Appellant’s right to due process. The trial court simply excised the HPD Crime Lab

      out of the evidentiary equation in this case. In light of the fact that Mr. Chu at the HPD

      Crime Lab had Appellant’s hair sample from 1992 and the HPD lab did testing on the panties

      before sending them off to other labs, Appellant submits the trial court erred in not granting

      his Motion to Suppress. The question remains: What happened to all the DNA evidence

      during the 15 years it was in HPD’s custody?

             This Court has stated that a trial court has great discretion in the admission of

      evidence at trial, and although the evidentiary rules do not specifically address proper chain

      of custody, they do state that identification for admissibility purposes is satisfied if the

      evidence is sufficient to support a finding that the matter in question is what its proponent

      claims. Absent evidence of tampering or other fraud, problems in the chain of custody do

      not affect the admissibility of evidence. Instead, such problems affect the weight that the fact

      finder should give the evidence, which may be brought out and argued by the parties.

      Druery v. State. 225 SW3d 491 (Tex. Crim. App. 2007) Unfortunately, in the instant case,

      the trial court did not allow the very evidence needed to raise the question of chain of custody



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      in a meaningful way. Therefore, Appellant had no evidence to bring to the attention of the

      jury to argue that point. The trial court abused its discretion in admitting the DNA evidence,

      comparisons and testimony based thereon. Appellant was denied a meaningful opportunity

      to present a complete defense for the jury’s consideration in violation of the Sixth

      Amendment. . Holmes v. South Carolina, 476 U.S. 1 (2006)

                                POINT OF ERROR NUMBER TWO

      THE TRIAL COURT ERRED IN DENYING APPELLANT THE RIGHT TO
      CONFRONT AND CROSS EXAMINE HIS ACCUSERS AND THUS THE
      OPPORTUNITY TO PRESENT A DEFENSE BASED IN PART ON EVIDENCE
      CRITICAL OF THE HOUSTON POLICE DEPARTMENT CRIME LAB AND
      PROPERTY ROOM DURING HIS MOTION TO SUPPRESS AND AT TRIAL (CR-
      III-454-456)(R-XXXI-DX2/3/4)R-XVI-21);(R-XXXII-DX5/6)(R-XVI-21);(R-XXXIII-
      DX6)(R-XVT-21);(R-XXXrV-DX7-19)(R-XVI-21)

                                      STATEMENT OF FACTS

             Pursuant to Rule 38.1 (f ) & (i) of the Texas Rules of Appellate Procedure and to

      avoid repetition, Appellant again incorporates the entirety of the preceding Point of Error for

      this Court’s consideration of this Point of Error.

             During the Motion to Suppress hearing, and subsequently throughout the trial,

      Appellant sought to introduce evidence concerning the Houston Police Department Crime

      Lab and Property Room which were shuttered and closed in the wake of a crime lab scandal

      which first came to light when a Houston television station (KHOU) uncovered wrongdoing.

      Appellant presented significant documentary evidence in the form of independent reports

      which were extremely critical of the HPD Crime Lab to the trial court. (R-XVI-21)

      Appellant complained that the trial court was denying him the right to confront and cross



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      examine his accusers in violation of the Sixth Amendment and his right to a fair trial with

      Due Process . (CR-III-455) In addition to the record made during the pre-trial Motion to

      Suppress, the following matters are again included under this Point of Error:

             A       Appellant was instructed that he was not allowed to cross examine Detective
                     Eric Mehl concerning the Houston Police Department Crime Lab (R-XX-59)

             B       The trial court ruled that in order to not leave a wrong impression on the jury,
                     Appellant would be allowed to question the officer about the fact that the
                     Crime Lab did process DNA, but he was not allowed to go into any details
                     about the Crime Lab. (R-XX-62,63)

             C       The trial court specifically noted for the record that the prosecutor left the
                     impression with the jury that DNA was not even thought about in 1992 in
                     general, much less this case, and it was submitted to the HPD Crime Lab for
                     DNA analysis. (R-XX-66)

             D       Appellant’s counsel again reurged his request to go into a more deep
                     evaluation of Genetic Design and the HPD Crime Lab studies which was
                     denied by the trial court. (R-XX-66)

             E       During FBI Agent Griselle Guzman’s testimony, Appellant objected to the
                     introduction of State’s Exhibits 65 and 66 [buccal swabs taken from
                     Appellant] noting that the basis for his objection was covered by his Motion
                     to Suppress - he otherwise had no further objections. (R-XX-77)

             F       Appellant objected to the introduction of State’s Exhibit # 33 [sexual assault
                     kit results] and State’s Exhibit # 95 [cutting of panties] reiterating the issues
                     that were previously stated and made reference to a breach in the chain of
                     custody of the items. (R-XXI-123)

             G       Over Appellant’s objections, the trial court admitted State’s Exhibits 95, 33,
                     33A, 33B, 33C and 33D [panties from the sexual assault kit, the vaginal
                     swabs, and smears from the sexual assault kit, and saliva samples of |
                            and the blood sample oJ                 \
                                                                   ] (R-XXI-124)

             H       The trial court reiterated that certain questions were allowed and others would
                     not be permitted. Specifically, the trial court stated it would not allow in the
                     results of the Houston Crime Lab or any testing that was done by the HPD
                     Crime Lab. (R-XXI-125-127)

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                I      Over Appellant’s objections, the trial court admitted State’s Exhibit # 70 - the
                       report from Courtney Head with the Houston Police Department Crime Lab
                       regarding her DNA analysis in this case. (R-XXI-152)

                J      State’s Exhibits # 76 and 77 [buccal swabs collected from Appellant] were
                       admitted when Appellant commented “no additional objections”. (R-XXI-157)

                K      State’s Exhibit # 92 [DNA statistics] State’s Exhibit# 96 [DNA summary on
                       cigar] and State’s Exhibit # 97 [DNA summary on vaginal swabs] were all
                       admitted over Appellant’s objections.

                L      The trial court prevented Appellant from cross examining Head concerning
                       quality control that existed on other things when they ran by the crime lab. (R-
                       XXI-173)

                                       THE BROMWICH REPORT

                Michael R. Bromwich was appointed to conduct an independent investigation of the

      Houston Police Department Crime Lab and Property Room stemming from the KHOU

      report.       A sampling of the comments from the various stages of Mr. Bromwich’s

      investigation is included to acquaint this Court with the problems Appellant sought to

      introduce before the jury in this trial.

                In the Second Report on the HPD Crime Lab, dated May 31, 2005, Bromwich’s

      mandate was to conduct a comprehensive and independent investigation of the crime lab. It

      was noted that the problems with the HPD Crime lab first surfaced in 2002, based on a

      KHOU T.V. report. Shortly thereafter, profound deficiencies were found in the operations

      section. As a result, HPD suspended DNA analysis by the crime lab. (R-XXXI-DX2)(R-

      XVI-21) Bromwich concluded that it is already clear, however, that the circumstances that

      led to the troubling crisis of confidence in the Crime Lab are complex and deeply rooted in

      the history of the Crime Lab and HPD as a whole over the past two decades. (R-XXXI-

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      DX2)(R-XVI-21) In the Third Report, dated June 30, 2005, issues were made of the fact that

      high temperatures and high humidity were problems in the HPD Property Room, and the

      chain of custody of custody forms are cumbersome and archaic increasing the chances of

      errors and risk of misplaced evidence. (R-XXXI-DX3)(R-XVI-21) In his Fourth report,

      dated January 4, 2006, Bromwich stated that the review of serology and DNA analysis has

      shown a near total breakdown in the forensic science foundation in those sections for

      at least a 15 year period from 1987-2002. There was a pervasive pattern involving

      repeated failures to report results on scientific testing, including results that were

      exculpatory; general failure to use appropriate scientific controls to ensure reliability of

      reported results. (R-XXXI-DX4)(R-XVI-21) In the Fifth Report, there was a disturbing

      revelation about a Harris County capital murder case. In referencing the capital murder case

      against Derrick Leon Jackson, the report noted that DNA analysts in many cases tended

      toward reporting only those results that, from their perspective, were “safe” in the sense that

      they were consistent with other evidence in the case or with the investigators’ expectations.

      (R-XXXII-DX5)(R-XVI-21) Appellant submits that the existence of this form of “evidence

      shaping” should have been available for the jury to consider in evaluating the integrity and

      veracity ofthe evidence. The Final Report, dated June 13, 2007, included a portion pointing

      out that contamination of a victim’s (DNA) reference sample should have been a pristine

      single-source, yet the victim’s reference sample was contaminated at some point in time in

      the handling of the sample. (R-XXXII-DX6)(R-XVI-21) These are but a few of the

      examples uncovered in Bromwich’s Independent Investigation of the HPD Crime Lab.

      Additional documentation was offered by Appellant all in support of his Motion to Suppress
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      Evidence, including HPD Internal Affairs Investigations; City of Houston internal complaints

      and memos. The trial court refused to allow Appellant to use or make reference to any of

      these matters during trial (CR-III-456)(R-XVII-5,6,14)

                                 ARGUMENT AND AUTHORITIES

             Rule 611(b) of the Texas Rules of Evidence, regarding the scope of cross

      examination, provides that a witness may be cross-examined on any matter relevant to the

      issue in the case, including credibility. Rule 611(b) differs from the federal rule which limits

      cross examination to the scope of direct examination.

             The Sixth Amendment guarantees Appellant the right of confrontation and cross

      examination. The Fourteenth Amendment guarantees Due Process to the accused.

                            LIMITATION OF CROSS EXAMINATION

             In the instant case, Appellant was denied a full and fair opportunity to cross examine

      the State’s witnesses on critically important issues pertaining to DNA scientific evidence.

      Appellant was prohibited from inquiring into the very areas he needed to educate the jury

      about the validity of the scientific evidence relied upon by the State. Appellant was not

      permitted to inquire about any matters relating to the HPD Crime Lab, including quality

      controls or methodology. The Confrontation Clause of the Sixth Amendment, applicable to

      the states by virtue of the Fourteenth Amendment, guarantees the right of the accused to

      be confronted by the witnesses against him. The primary interest secured by the

      Confrontation Clause is the right of cross examination. Douglas v. Alabama, 380 U.S. 415

      (1965) Cross examination is the cornerstone of the criminal trial process and, as such, a



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      defendant must be given wide latitude. Love v. State, 861 SW2d 899 (Tex. Crim. App.

      1993) In the instant case, Appellant was specifically provided with “Brady” material by the

      State, but then denied the opportunity to use that very information during his cross

      examination of the State’s witnesses. In addition to the denial of his right to confront and

      cross examine these witnesses, Appellant was denied the opportunity to present a complete

      and meaningful defense. Holmes v. South Carolina, 476 U.S. 1 (2006)

                          EXCLUSION OF EXCULPATORY EVIDENCE

             The State provided Appellant with a “Brady Notice” which included references to the

      Bromwich Report . (CR-II-447) Appellant’s counsel sought to introduce this exculpatory

      evidence before the jury, but the trial court denied Appellant’s proffer. Before evidence is

      admissible, it must be relevant. Evidence is relevant within the meaning of Rule 401 of the

      Texas Rules of Evidence if it has any tendency to make the existence of any fact that is of

      consequence to the determination of the action more probable or less probable than it would

      be without the evidence. In determining whether evidence is relevant, courts look to the

      purpose for offering the evidence and whether there is a direct or logical connection between

      the offered evidence and the proposition sought to be proved. So long as there is any logical

      nexus, the evidence will pass the relevancy test. Furthermore, evidence merely tending to

      affect the probability of the truth or falsity of a fact in issue is logically relevant. Evidence

      is relevant even if it only provides a small nudge in proving or disproving a fact of

      consequence to the trial. Reed v. State, 59 SW3d 278 (Tex. App. - Fort Worth, 2001)

             Appellant was faced with 16 year-old DNA evidence which began its journey into



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      the courtroom at the Houston Police Department Crime Lab and Property Room. Custody of

      the DNA evidence then went elsewhere (Genetic Design) before returning. The independent

      investigation of the HPD facilities was documented in The Bromwich Report which , along

      with other documentary evidence, Appellant sought to introduce into evidence as part of his

      defense. Defense Exhibits 2-9 were excluded from evidence and were never viewed or

      considered by the jury when it passed on the integrity and validity of the State’s DNA

      evidence used to connect Appellant to this capital murder case. The exclusion of this

      evidence amounted to a violation of Appellant’s right to compel the attendance of witnesses

      in his favor. Potier v. State, 68 SW3d 657 (Tex. Crim. App. 2002)

             The trial court erred when it denied Appellant the opportunity to present affirmative

      exculpatory evidence [Bromwich Report, etc.] in support of his defense. Whether rooted

      directly in the Due Process Clause of the Fourteenth Amendment or in the Compulsory

      Process or Confrontation Clause of the Sixth Amendment, the Constitution guarantees

      criminal defendants “a meaningful opportunity to present a complete defense” Holmes v.

      South Carolina, 547 U.S. (2006); Ray v. State, 178 SW3d 833 (Tex. Crim. App. 2005)

      Appellant submits that he was not afforded these constitutional protections during his trial.

                            POINT OF ERROR NUMBER THREE

      THE EVIDENCE IS INSUFFICIENT AS A MATTER OF LAW TO SUSTAIN
      APPELLANT’S CONVICTION FOR THE OFFENSE OF CAPITAL
      MURDER (CR-I-2)(CR-III-484-507)(CR-III-530)

                                    STATEMENT OF FACTS

             The Statement of Facts appearing at the beginning of this brief, along with those


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      appearing below, will be used in conjunction with this Point of Error.

             Appellant was charged with the offense of capital murder in the death of|

                  The indictment contained two paragraphs alleging that Appellant, while in the

      course of committing or attempting to commit the kidnapping of

      intentionally caused the death oJ                 |., by: [1] stabbingj                    with

      a deadly weapon, namely a sharp instrument, and [2] an unknown manner and means. (CR-I-

      2)

             The jury charge included a “parties” charge, naming Rogelio Aviles and/or Carmelo

      Martinez-Santana, as possible actors. (CR-III-484-507) The jury was instructed on the

      lesser-included offenses of murder and aggravated kidnapping. (CR-III-484-507) Appellant

      was found guilty of capital murder as charged in the indictment. (CR-III-506)

             The State’s witnesses contradicted themselves, and each other, concerning significant

      issues relied upon by the State to secure a conviction for capital murder in this case.

             Identity became an issue from the outset when the first responding officer put out a

      description of two black males. There were no additional comments that the individuals the

      police would be looking for were Hispanic or from the Carribean. (R-XVIII-55) This issue

      was compounded when homicide officer C.E. Elliott confirmed that police were looking for

      two black males, but then tried to explain away the conflict (Appellant is not Black) by

      claiming that the descriptions were a result of “cultural” differences. (R-XVIII-101) Elliott

      finally admitted during cross examination that he never put any information in his offense

      report reflecting about the cultural issue - he did not modify the description of the alleged

      assailants to include any other race or ethnicity. (R-XVIII-105) Elliott confirmed that|

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              did not get a good look at the individuals she claimed assaulted her and Arturo

      Rodriguez. (R-XVIII-118) Sufficiency Issues: The witnesses specifically stated two

      black males were the perpetrators. Although the police could have given more detailed

      descriptors in the offense report, they did not - two black males were always the

      suspects. Arturo Rodriguez told police the man spoke like a black man.

             The truthfulness of I               was immediately cast into doubt when she lied to

      responding officers about her drug dealing from her residence. (R-XVIII-166) This fact was

      obvious the officer Elliott who initially interviewed her about the facts of the case. (R-XVIII-

      109) Elliott stated he knew          was not being truthful with him. (R-XVIII-109) It was

      only later that         would admit that she, and Arturo Rodriguez, made a living selling

      cocaine. (R-XVIII-143) In fact,          later admitted that she knew Arturo Rodriguez (with

      whom she was having an affair) was involved in cocaine and she became involved in drug

      dealing with him. (R-XVIII-126,128)            acknowledged that her drug dealing took place

      at their first residence on Winfrey, as well as the Fairway address. (R-XVIII-130)

      testified that Appellant was a frequent visitor at their apartment (two times a week) and had

      been there earlier in the day on September 30, 1992. (R-XVIII-138,145,179,184)

      knew of no reason why Appellant would be mad at her or Arturo Rodriguez. (R-XVIII-

      179)           claimed that she saw a second man in the doorway of her bedroom, but she was

      unable to identify him. (R-XVIII-156) She could not say whether the second man was black,

      brown or white. (R-XVIII-182)             could not identify who tied her up. (R-XVIII- 153)

      Sufficiency Issue:          lied to the police about her involvement as a drug dealer. Her


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      claim that Appellant was at her apartment weekly, and earlier on that day, provides an

      alternate explanation for the presence of the cigar. As noted during final argument, her

      story about an armed man wearing a mask coming in with a cigar doesn’t make sense.

      Additionally, the presence of spermatozoa, while it may prove sexual contact, doesn’t

      prove sexual assault. The SANE nurse verified that                    sustained no physical

      injuries. Although             personally knew Appellant, she did not allude to him by

      description, or otherwise, as her “attacker”.

             According to officer Elliott, Arturo Rodriguez lied to the police about his drug

      dealing. (R-XVIII-109)           tried to contradict that impression by claiming that he had

      always told the police that he was involved in drugs. (R-XIX-21,24) Although Rodriguez

      told the jury the previous day that he had sold drugs for three years, he tried to claim it was

      only two years when cross examined. (R-XIX-6) Rodriguez then stated that he sold drugs

      for four years. (R-XIX-6) Rodriguez stated that he and|                sold drugs just to have

      a better life. (R-XVIII-198) Rodriguez described his relationship with Appellant as friendly

      and a business relationship. He said he never had any problems with Appellant. (R-XVIII-

      201,204) Rodriguez was contradicted by              concerning several issues:        said her

      son,       |, was aware of what was taking place , while Rodriguez said               was not

      aware at all. (R-XVIII-155) (R-XVIII-215);              admitted the .25 handgun was hers.,

      while Rodriguez tried to claim it may have belonged to the assailants.(R-XVIII-191)(R-XIX-

      9);        claimed that Rodriguez went unconscious, but Rodriguez claimed he had been hit

      in the head three times and never lost consciousness. (R-XVIII-159)(R-XIX-3). Although

             testified that Appellant came to their residence during the afternoon of September 30,

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      1992, Rodriguez denied having seen Appellant earlier that day. (R-XVIII-184)(R-XIX-11)

      Rodriguez claimed he could not remember if he had an argument that same day at a store

      with a tall black man and a Hispanic male. (R-XIX-11,12) Rodriguez said he saw the person

      who was raping his wife, but he did not know who it was. (R-XIX-15) Sufficiency Issues:

      This witness lied to the police about being a drug dealer, then tried telling the jury he

      had been honest with the police and admitted his involvement with drugs. His

      testimony was contradicted by               testimony about how the events allegedly took

      place. Rodriguez never had a problem with Appellant and did not offer any reason

      why Appellant would steal drugs or money from them or take                      or sexually

      assaultl                |. He didn’t recall seeing Appellant at the apartment earlier in the
      day as his wife testified. Curiously, when he was asked if Appellant and               ever

      dated, he paused before stating - not that I know of. Recalling that Rodriguez described

      the intruders as black, it is questionable that he could not remember if he had an

      argument at a store with a tall black man and a Hispanic male earlier that same day.

             SANE nurse, Gloria Kologinczok, who performed a sexual assault examination on

                     [,   found no evidence of physical injury or trauma to         l. (R-XIX-48)
      Sufficiency Issue: No medical verification that a sexual assault occurred.

             HPD officer U.P. Hernandez interviewed Arturo Rodriguez. Hernandez contradicted

      the earlier testimony from Rodriguez when he claimed he had been honest with police about

      his drug dealing. (R-XIX-24,72,72) Hernandez acknowledged that this was a huge

      inconsistency between his testimony and that oJ                 ,who eventually did admit to



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      being a drug dealer. (R-XIX-98) In fact, Hernandez documented in his offense report that

      Rodriguez denied being involved with drugs at all. (R-XIX-101) Sufficiency Issue: The

      police found Rodriguez to be untruthful with them during the investigation.

             Dr. Dwayne Wolf, the deputy chief medical examiner for Harris County, Texas, could

      not state howl                    died. (R-XX-20) Dr. Wolf admitted that he had no medical

      records establishing           earlier health history. He could not even say whether |

      had drowned. (R-XX-20) Wolf ruled                   death a homicide based not on medical

      findings, but rather the investigator’s report of what had allegedly transpired. (R-XX-24,31)

      The State simply did not establish the cause of death through verifiable medical evidence.

      Sufficiency Issue: No proof to establish either of the allegations in the indictment                 !
      concerning how                          supposedly died.

             Eric Mehl, a retired HPD officer, testified that in 2007, he initiated a “cold case” file

      in this matter. (R-XX-43) Mehl testified on direct examination that he never even thought

      of using DNA technology to solve a crime over at HPD back in 1992. (R-XX-40) The trial

      court found that the prosecutor had left the impression with the jury that DNA was not even

      thought about in 1992 in general, much less this case, and it was submitted to the HPD Crime

      Lab for analysis. (R-XX-66) Mehl then admitted that in 1992, HPD did have a crime lab

      that was processing evidence for DNA. He further admitted that in this very case, items were

      submitted to the HPD Crime Lab for processing of DNA. (R-XX-67) Sufficiency Issue:

      Mehl did not offer concrete testimony regarding the previous collection, storage or

      transportation of the biological evidence relating to the HPD Crime Lab prior to him

      sending it to Orchid Cellmark.

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             Angelita Rodriguez, Appellant’s ex-wife, testified that when she went to bed on the

      evening of September 30. 1992, Appellant was at home. She testified he was also home

      when she woke up the next morning. (R-XX-101,102(R-XX-92) Appellant and Rodriguez

      had a fight months before and they no longer shared the same bedroom. (R-XX-102) The

      next morning Appellant told Rodriguez he was leaving her and going to Puerto Rico - never

      to return to Houston. (R-XX-99) When Rodriguez went after Appellant, she claimed that he

      simply confessed that he had killed                     (R-XX-107) Incredibly, Rodriguez

      said she did not remember what else he said. (R-XX-107) Rodriguez conveniently claimed

      that she was scared when defense investigators approached her in 2012 for an interview -

      stating that’s why she forgot to mention that Appellant had confessed to her. (R-XX-112)

      Sufficiency Issues: Appellant’s ex-wife had reason to despise Appellant for his infidelity

      and for leaving her to go to Puerto Rico. Her specific memory that in 1992 Appellant

      only confessed to killing |                    and nothing more, is questionable at best.

      She conveniently forgot to tell defense investigators this “fact” when interviewed.

             Carmelo Martinez Santana “Rudy”, the cousin of Angelita Rodriguez was serving a

      seventeen year federal prison sentence in Pennsylvania for drugs and weapons, when he had

      a visit from the FBI. (R-XX-119) Santana stated that he was not personally aware of a

      romantic relationship between Appellant and|               [. He testified that Appellant did

      not hide the fact that he was unfaithful to Santana’s cousin [Appellant’s wife]. (R-XX-134)

      Santana claimed that he accompanied Appellant and “Roger” to               apartment where

      the other two went in wearing masks. (R-XX-143) Santana went on to share details of what

      Appellant allegedly said when he exited the apartment and got back in the car - claiming that

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      a young boy accompanied Appellant and Roger. Santana was careful to posture himself as

      an unwitting passenger while telling the jury he was so upset by what was happening, that

      he defecated. (R-XX-150) This detail ,which Santana used to exemplify how horrified he

      was, escaped him when he told his story to FBI Agent Ebersol at the federal prison. (R-XXI-

      69) Additional impeachment of Santana included his claim that he had never been to

      Baytown before that night, but was able to provide precise directions how to get there.

      Santana denied selling drugs in Baytown as well. (R-XXI-37,38) This recollection, along

      with his remembrance of how many tires blew out on their car when leaving Baytown, was

      contradicted by the testimony of FBI Agent Ebersol. (R-XXI-69,70,75) Santana’s claim that

      they stayed up all night doing drugs was contradicted again by Agent Ebersol who stated that

      Santana claimed that when he and Appellant returned to Humble, Appellant went to sleep

      with Angelita. (R-XXI-40,77) Throughout cross examination, Santana attempted to avoid

      answering the question about him not being charged with anything as a result of his

      involvement, by saying he just wanted to tell the truth and that he had no “deal” with the

      State to give his testimony. (R-XXI-12,15,16) Santana told the jury that he believed that

      Rogelio was actually the person responsible for killing |                  (R-XXI-57) FBI

      Agent Ebersol would later tell the jury that Santana acknowledged that the boy went off with

      Rogelio and that he recalled Appellant actually being at the front of the car. (R-XXI-71-74)

      Sufficiency Issues: Serving a seventeen year federal prison sentence, this witness was

      contradicted by FBI Agent Ebersol on critical points of his testimony against Appellant.

      He wanted the jury to believe that he had no deal to provide testimony and just wanted



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      to tell the truth. Santana believes Rogelio “Bory” killed|                  I. No evidence
      that Appellant caused the death of|

             Linda Hernandez knew Santana “Rudy” through Bienviendo Melo “Charlie”. She

      described how her own mother didn’t trust Rudy. She was especially bothered by the fact

      that Rudy always wanted to take her son to the store with him. She never allowed this to

      happen. (R-XIX-173) Sufficiency Issue: Hernandez provides insight into Santana’s bad

      character and his interest in being alone with her young son. This further discredits

      Santana’s testimony.

             The State’s DNA evidence offered through Matt Quattaro from Orchid Forensics

      could not exclude Appellant as a possible contributor to the DNA found on a cigar found at

                     apartment and as a major contributor to a mixture found on a cutting from a

      pair of underwear worn by             (R-XXI-112-119) Quattaro admitted during cross

      examination that he had no personal knowledge concerning what, if any, quality controls

      existed at other labs (HPD Crime lab) where the evidence had been previously stored for over

      15 years. (R-XXI-130) He acknowledged that prior to receiving the evidence from the HPD

      Crime Lab, he did not know how it was collected or how or where it was stored - there were

      no notations concerning previous quality control, (R-XXI-134,141) Quattaro certainly could

      not specify that the presence of spermatozoa was a result of consensual sex or assault. (R-

      XXI-134) Courtney Head (HPD Crime Lab) who served as a “reviewer”, testified that

      Appellant could not be excluded as a contributor on the evidence (cigar, vaginal swab and

      cutting from the panties) (R-XXI-161,162) On cross examination, Head admitted that she

      was only a “reviewer” and because she had not performed any testing, her work was not

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      subject to quality control or technical review. (R-XXI-172) Sufficiency Issues: State did not

      establish a proper chain of custody of all the biological evidence in this case. Defense

      evidence was never permitted which would have allowed the jury to consider and

      decide, what part, if any, the HPD Crime Lab played in this case.

               INSUFFICIENT EVIDENCE TO PROVE APPELLANT’S GUILT

             The jury was instructed that it could not convict appellant of capital murder unless it

      found each and every element of the offense charged beyond a reasonable doubt and if the

      State failed to do so, it must acquit the defendant [Appellant]. (CR- III-503)

                                ARGUMENT AND AUTHORITIES

             Section 19.03(2) of the Texas Penal Code, provides that a person commits an offense

      if the person commits murder as defined under Section 19.01(b)(1) and the person

      intentionally commits the murder in the course of committing or attempting to commit

      kidnapping. The State is obligated to prove beyond a reasonable doubt that Appellant had

      the specific intent to cause the death of|

             The burden of proof is on the State to establish beyond a reasonable doubt that

      Appellant committed the offense alleged. Hightower v. State, 389 SW2d 674 (Tex. Crim.

      App. 1965); McCullen v. State, 372 SW2d 693 (Tex. Crim. App. 1964) This burden of

      proof is on the State to prove each and every element of the offense beyond a reasonable

      doubt. Mullaney v. Wilbur, 421 US 684 (1975) In re Winship, 397 US 358 (1970)

             In Texas criminal jurisprudence, the concept of “legal sufficiency” of the evidence is

      based upon the law of due process. See: Gollihar v. State, 46 SW3d 243 (Tex. Crim.



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      App.2001) citing In re Winship , 397 U.S. 358, where the court expressed it as follows: We

      expressly hold that the Due Process Clause protects the accused against conviction except

      upon proof beyond a reasonable doubt of every fact necessary to constitute the crime with

      which he is charged.

             Sufficiency of the evidence is measured by the standard enunciated by the United

      States Supreme Court in Jackson v. Virginia, 443 US 307 (1979): whether, after viewing

      the evidence in the light most favorable to the prosecution, any rational trier of fact could

      have found the essential elements of the crime beyond a reasonable doubt.

             In Brooks v. State, 323 SW3d 893 (Tex .Crim. App. 2010) this Court held there is

      no meaningful distinction between a Clewis v. State, 922 SW2d 126 (Tex. Crim. App.

      1996) factual sufficiency standard and a Jackson v. Virginia, 443 U.S. 307 (1979) legal

      sufficiency standard. This Court announced that the Jackson v. Virginia legal-sufficiency

      standard is the only standard that a reviewing court should apply in determining whether the

      evidence is sufficient to support each element of a criminal offense that the State is required

      to prove beyond a reasonable doubt. The court noted that it bears emphasizing that a

      rigorous and proper application of the Jackson v. Virginia legal-sufficiency standard is as

      exacting a standard as any factual-sufficiency standard (especially one that is “barely

      distinguishable” or indistinguishable from a Jackson v. Virginia legal-sufficiency standard).

      Reversal and acquittal are required under this standard of review, if, after considering all the

      evidence the jury’s finding of guilt is not a rational finding.

              In her concurring opinion in Brooks, Judge Cochran noted that the Jackson Court



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      stated the correct standard must incorporate the prosecution’s burden of proof - beyond a

       reasonable doubt - in a due-process review. The court noted that a reasonable doubt has

       often been described as one based on reason which arises from the evidence of lack thereof.

       A reasonable doubt might arise because the verdict is manifestly against the great weight

       and preponderance of the credible evidence or because there is nothing more than a mere

       scintilla of evidence to support some element of the offense. Judge Cochran, cited Black’s

       Law Dictionary, which states that legal sufficiency of the evidence is a test of adequacy, not

       mere quantity. Sufficient evidence is “such evidence, in character, weight, or amount, as will

       legally justify the judicial or official action demanded.” Judge Cochran went on to state that

       in criminal cases, only that evidence which is sufficient in character, weight, and amount         I:
       to justify a fact finder in concluding that every element of the offense has been proven

       beyond a reasonable doubt is adequate to support a conviction. After giving proper

       deference to the role of the trier of fact, an appellate court must uphold the verdict unless

       a rational fact finder must have had a reasonable doubt as to any essential element. Laster

       v. State, 275 SW3d at 518, citing Narvaiz v. State, 840 SW2d 415 (Tex. Crim. App.

       1992)

               The complete record in this case fails to establish beyond a reasonable doubt that

       Appellant intentionally and knowingly caused the death oJ                        as alleged in

       the indictment. There is no proof in the record to establish that|                    came to

       his death as alleged in the indictment.

               In the absence of proof beyond a reasonable doubt that Appellant was responsible for


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       the death of                       a conviction for the offense of capital murder cannot

       withstand appellate review and the entry of a judgment of acquittal by the reviewing court.

       The evidence offered by the State’s witnesses did not enhance the weight or sufficiency of

       the evidence on this issue. Viewing the evidence in the light most favorable to the verdict,

       the appellate court determines whether any rational trier of fact could have found the

       essential elements of the offense beyond a reasonable doubt.

              An appellate court must always address challenges to the sufficiency of the evidence.

       Garza v. State, 715 SW2d 642 (Tex. Crim. App.) Such a review must be conducted when

       a legal sufficiency challenge is raised, even if the conviction must be reversed on other

       grounds, because a finding that the evidence is legally insufficient to support the conviction

       prevents a retrial under the double jeopardy clause of the Fifth Amendment. Hudson v.

                      .
       U.S., 522 U.S 93 (1977) If this Court finds that the verdict is contrary to the evidence

       presented at trial, this Court can reverse the conviction and enter a judgment of acquittal.

       Texas Code of Criminal Procedure, Art. 44.25; Texas Rules of Appellate procedure

       43.2(c).

              Whether viewed individually, or collectively, the issues addressed in this Point of

       Error require reversal based on legally insufficient evidence. Appellant submits that this

       result will be reached after the Court conducts a rigorous and proper application of Jackson

       and Brooks. The jury’s verdict was not based on a rational review of the evidence. Winn

       v. State, 871 SW2d 756 (Tex. App. - Corpus Christi 1993)

              Appellant submits that even though a jury is charged with the responsibility of

       determining the credibility of witnesses and the weight to be given their testimony, in this

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       case, as a matter of Due-Process, this appellate court should find that the verdict is not right

       or just, and therefore it cannot stand. Appellant submits that when this Court conducts its

       Due-Process review of the sufficiency of the evidence to support the conviction, even when

       viewing the evidence in the light most favorable to the verdict, it must find that no rational

       trier of fact could have found the essential elements of the crime of capital murder in this

       case beyond a reasonable doubt. Stobaugh v. State, 02-11-00157-CR (Tex. App. - Fort

       Worth, January 23, 2014) citing: Jackson v. Virginia.

              Where the evidence is insufficient to sustain a conviction on appeal, double jeopardy

       bars a retrial. Burks v. United States, 437 U.S. 1, 98 S.Ct. 2141, 57 L.Ed.2d 1 (1978);

       Greene v. Massey, 437 U.S. 19, 98 S.Ct. 2151, 57 L.Ed.2d 15 (1978).

                                 POINT OF ERROR NUMBER FOUR

       THE TRIAL COURT ERRED WHEN IT ALLOWED THE STATE TO
       INTRODUCE EVIDENCE OF AN EXTRANEOUS OFFENSE [POSSESSION OF A
       CONTROLLED SUBSTANCE] BY PERMITTING THE STATE SHOW THAT
       APPELLANT FAILED TO APPEAR FOR A COURT SETTING ON OCTOBER 8,
       1992 ON AN UNRELATED FELONY CHARGE AND THAT HIS BOND WAS
       FORFEITED ON THAT CHARGE ALL TO SHOW FLIGHT ON THE PART OF
       APPELLANT AT HIS CAPITAL MURDER TRIAL EVEN THOUGH THERE WAS
       NO CHARGE OF CAPITAL MURDER FILED AGAINST APPELLANT UNTIL
       2008. (R-XIX-111,113,115,119,122-124,126,128,129,141,142)

                                       STATEMENT OF FACTS

              During the guilt / innocence phase of the trial, the State sought to introduce evidence

       showing that on October 8,1992, Appellant failed to appear for a court setting on an

       unrelated felony drug charge which was pending in the 337th District Court of Harris

       County, Texas. (R-XIX-105-120) Appellant’s bond was forfeited on this unrelated case in

       the 337th District Court of Harris County, Texas. (R-XIX-111123,124,126) The State

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       theorized that this evidence established “flight” on the part of Appellant, and was therefore

       relevant to Appellant’s charge of capital murder. (R-XIX-120)

              Appellant objected to the introduction of this extraneous offense as violating Rule

       404(b). (R-XIX-119,124,125,126,128,129,141) Appellant also made a 403 objection that

       the extraneous offense was not relevant and that any probative value was outweighed by its

       prejudice to Appellant. (R-XIX-122,124,129) The trial court found that the proffered

       evidence constituted an extraneous offense - “ So, it’s still an extraneous offense. I think

       it is still prejudicial and it was an unproven offense in that it was still only a charged

       offense. He was not convicted of it or anything. ” (R-XIX-115) The prosecutor conceded

       this fact as well - “ It’s clearly an extraneous offense, which is what 404(b) is for, and it

       creates exceptions outside of character conformity. ” (R-XIX-120)

              The trial court ordered that the docket sheet be redacted to remove any reference to

       the actual felony charge pending against Appellant from 1992. (R-XIX- 123,124). The trial

       court also ordered that the FBI Agent who was testifying when the documents were

       admitted, could not mention the existence of a federal flight to avoid prosecution warrant

       issued after Appellant failed to appear in the 337th District Court on October 8,1992. The

       documents admitted for the jury’s consideration still contained the printed designation

       “337th” at the top of the docket sheet. (R-XIX-123,124,126)(SX #36)(R-XXX-42) Despite

       the trial court’s effort to conceal that fact, the jury, realizing that Appellant’s capital murder

       case was in the 337th District Court, could easily conclude that the offense Appellant bond

       forfeited on was a felony. (R-XXX-42)(SX #36) FBI Agent Eric Johnson was then allowed



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       to discuss the contents of State’s Exhibit #36 before the jury, explaining that Appellant

       failed to appear in court on October 8, 1992 to answer an un-related pending drug charge.

       (R-XIX-141,142)

                                ARGUMENT AND AUTHORITIES

              Rule 404(b) of the Texas Rules of Evidence provides that: “evidence of other

       crimes, wrongs or acts is not admissible to prove the character of a person in order to show

       action in conformity therewith. It may, however, be admissible for other purposes, such as

       proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or absence of

       mistake or accident    ” “Flight” is not listed in Rule 404(b) as an exception to the rule

       prohibiting the admission of extraneous offenses during the State’s case-in-chief.

              The State argued that evidence of Appellant’s failure to appear for an unrelated drug

       charge in 1992 was relevant to show “flight” on the part of Appellant regarding the capital

       murder case on trial. It is critically important to understand the juxtaposition of the 1992

       drug charge and the 2008 capital murder charge. When Appellant did not appear in 1992

       at his court setting in the 337th District Court (where he was charged with possession of a

       controlled substance) there were no pending charges against Appellant for capital murder

       or aggravated kidnapping. When Appellant did not appear in the 337th District Court on

       October 8, 1992, his bond was forfeited and a new bond was set by the court in the amount

       of only $10,000.00. (SX # 36)(R-XXX-42). Appellant was not charged with capital murder

       until September 5,2008. (CR-I-4)

              In Cantrell v. State, 731 SW2d 84 (Tex. Crim. App. 1987) this Court held that the



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       forfeiture of an accused’s bail bond may be proved as tending to show flight, (emphasis

       added) Appellant submits on appeal, as he did in the trial court below, that there is a critical

       distinction between showing an individual bond-forfeited on the very case he is being tried

       for, versus showing an individual bond-forfeited on an unrelated charge, especially where

       the charge for which that person is on trial did not exist at the time of the bond forfeiture -

       and in fact did not exist until 16 years later [ 1992 to 2008]. In Cantrell, this Court went on

       to note that the general rule in all English speaking jurisdictions is that an accused person

       is entitled to be tried on the accusation made in the State’s pleading and not on some

       collateral crime, or for being a criminal generally . The admission of court documents from

       the 1992 case pending in the 337th District Court clearly constituted evidence of a prohibited

       extraneous offense.

              Extraneous transactions must be analyzed for relevance within the context of the facts

       and circumstances of the individual case in order to determine admissibility. Cantrell,

       citing: Brandley v. State, 691 SW2d 699 (Tex. Crim. App. 1985) In the instant appeal,

       Appellant had not been adjudicated on the 1992 drug charge when he went to Puerto Rico.

       Angelita Rodriguez testified that Appellant left for Puerto Rico shortly after the

       disappearance of |                      - her testimony on this point made evidence of the
       extraneous offense completely irrelevant. This Court has long held that to support

       admission of evidence of flight it must appear that the flight has some legal relevance to the

       offense under prosecution. Hicks v. State, 199 SW 487 (Tex. Crim. App. 1917) The

       reasoning from this Court’s opinion in Damron v. State, 125 SW 396 (Tex. Crim. App.



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       1910) is instructive: Evidence of flight is admissible, where one is charged with an offense,

       on the ground, in substance that it is some evidence of guilt, and amounts to a quasi

       admission of guilt of the offense charged. If, however, the flight is in respect to another and

       different offense, it ought not be considered as evidence of the guilt of an offense in which

       there was no flight. Appellant submits the trial court erred in admitting evidence of the

       1992 extraneous offense and bond forfeiture in his capital murder trial.

                                 POINT OF ERROR NUMBER FIVE

       THE TRAIL COURT ERRED WHEN OVER APPELLANT’S OBJECTION IT
       ADMITTED THE EXTRANEOUS OFFENSE EVIDENCE [SET FORTH IN THE
       PREVIOUS POINT OF ERROR] BECAUSE UNDER RULE 403 OF THE TEXAS
       RULES OF EVIDENCE ITS PROBATIVE VALUE, IF ANY, WAS OUTWEIGHED
       BY THE PREJUDICIAL EFFECT OF ITS ADMISSION DURING APPELLANT’S
       CAPITAL MURDER TRIAL . (R - XIX - 111 , 113 , 115 ,119 , 122 - 124, 125 , 126 -
       128,129,141,142)

                                       STATEMENT OF FACTS

              The Statement of Facts appearing in the previous Point of Error are re-incorporated

       for consideration under this Point of error

                                 ARGUMENT AND AUTHORITIES

              Rule 402 of the Texas Rules of Evidence provides, in part, that evidence which is

       not relevant is inadmissible. Rule 403 states that although relevant, evidence may be

       excluded if its probative value is substantially outweighed by the danger of unfair

       prejudice...

              The trial court was obviously concerned, and rightfully so, that the admission of the

       extraneous offense was prejudicial to Appellant. The trial court, in deciding whether to



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      admit the evidence noted: “Because at this point still we may have testimony from the

      complainants that he was involved in drugs. We don’t have any admission from the

      defendant that he was involved in drugs. So, it’s still an extraneous offense. I think it is still

      prejudicial and it was an unproven offense in that it was still only a charged offense. He

      was not convicted of it or anything.” (R-XIX-115) The prejudice to Appellant is

       underscored by the fact that the State had another witness [Angelita Rodriguez] who could

       testify that Appellant went Puerto Rico shortly after                        went missing, but

       without referencing the extraneous offense which the State of Texas fought to have admitted

       before the jury under the theory that it constituted “flight” by Appellant. (R-XIX-117)

              Where an appellant objects based on Rule 403, that the probative value of the

       evidence is substantially outweighed by the danger of unfair prejudice        the trial court has

       no discretion as to whether or not to engage in the balancing process. Mozon v. State, 991

       SW2d 841 (Tex. Crim. App. 1999) Probative value refers to the inherent probative force

       of an item of evidence - that is, how strongly it serves to make more or less probable the

       existence of a fact of consequence to the litigation - coupled with the proponent’s need for

       that item of evidence. Casey v. State, 215 SW3d 870 (Tex. Crim. App. 2007) In the

       instant appeal, the trial court’s initial comments regarding the prejudicial effect of the

       extraneous offense evidence (R-XIX-115) were compounded, not cured, by determining

       the amount of information the jury learned. The probative value [which Appellant asserts

       was non-existent] was clearly outweighed by the admission of the extraneous offense which

       sought to establish that Appellant left Harris County, Texas shortly after|



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       went missing - a fact subject to alternative proof not spotlighting an extraneous offense.

              Appellant submits that he is entitled to relief under both Points of Error addressing

       the admission of evidence of an the extraneous offense.

                                  POINT OF ERROR NUMBER SIX

       THE TRIAL COURT ERRED WHEN IT PROHIBITED APPELLANT FROM
       INTRODUCING MITIGATING EVIDENCE INCLUDING BIBLE STUDY
       CERTIFICATES DURING THE PUNISHMENT PHASE OF THE TRIAL THUS
       PREVENTING APPELLANT FROM PRESENTING A COMPLETE DEFENSE (R-
       XXVI-55-58)(R-XXXIV-DX48-55)

                                       STATEMENT OF FACTS

              During the punishment phase of the trial, Appellant sought to introduce Bible

       certificates he had earned while incarcerated in a Puerto Rican prison. (R-XXVI-55-58)(R-

       XXXIV-DX48-55) These certificates were offered as mitigating evidence for the jury’s

       consideration of the Special Issues they were called upon to answer. The State objected that

       the Bible certificates constituted hearsay. (R-XXVT-58) Appellant’s counsel urged the trial

       court to admit the Bible certificates because there was no suggestion that they were not

       Appellant’s certificates and, given that it was the punishment phase of a capital murder trial,

       the court should view it as a question of weight, not admissibility. (R-XXVI-57) The trial

       court found the Bible certificates to be relevant, but excluded them on hearsay grounds. (R-

       XXVI-58)

                                 ARGUMENT AND AUTHORITIES

              Article 37.071 of the Texas Code of Criminal Procedure requires the jury to

       answer Special Issues at the conclusion of the punishment phase of a capital murder trial

       where the death penalty is in issue. Article 37.071 instructs the jury that in deliberating on

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       the issues submitted      it shall consider all evidence admitted at the guilt or innocence

      stage and the punishment stage, including evidence of the defendant’s background or

       character or the circumstances of the offense that militates for or mitigates against the

       imposition of the death penalty. Concerning “mitigation”, the jury is asked: Whether,

       taking into consideration all of the evidence, including the circumstances of the offense,

      the defendant’s character and background, and the personal moral culpability of the

       defendant there is a sufficient mitigating circumstance or circumstances to warrant

      that a sentence of life imprisonment          be imposed. The jury is further charged that it

       shall consider mitigating evidence to be evidence that a juror might regard as reducing

       the defendant’s moral blameworthiness.

              In the instant appeal, Appellant sought to introduce mitigating evidence in the form

       of Bible certificates. Rule 102 of the Texas Rules of Evidence - Purpose & Construction

       states: These rules shall be construed to secure fairness in administration, elimination of

       unjustifiable expense and delay, and promotion of growth and development of the law of

       evidence to the end that the truth may be ascertained and proceedings justly determined.

       Appellant submits that the Bible certificates were admissible under the following Rules:

       Rule 803(11) - the Bible certificates contained facts relating to Appellant’s personal or

       family history maintained by the religious organization providing spiritual guidance to

       incarcerated individuals ; Rule 803(13) - the Bible certificates also provided a statement of

       fact concerning Appellant’s personal or family history even if not “contained” in any

       particular format.     Rule 803(19)   -   Appellant’s brother was aware of his brother’s



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      involvement in Bible classes which formed part of Appellant’s reputation concerning

      personal or family history. The Bible certificates could also have been admitted pursuant

      to Rule 804(3) as statements of personal or family history.

              The State’s hearsay objection should have been overruled. The State would have

      been free to address the weight and credibility of the Bible certificates before the jury

      pursuant to Rule 104(e) The exclusion of the Bible certificates preventing Appellant from

      giving meaningful context to the testimony of Angel Meza. Meza was a trustee at the Harris

      County Jail while Appellant was awaiting trial on this capital murder charge. Appellant

      would meet with Meza and talk about his Bible. Meza described Appellant as a “Man of

      God” who tried to help him in every way he could. (R-XXVI-81-85) In the absence of the

      Bible certificates showing that Appellant was immersed in religious study after 1992, but

      before being charged with capital murder, the jury had no meaningful way to consider the

      limited testimony of Meza as a mitigating factor. Appellant submits that the Bible

      certificates were improperly excluded in violation of the Eighth and Fourteenth

       Amendments by preventing him from presenting mitigation evidence as recognized in

      Skipper v. South Carolina, 476 U.S. 1 (1986) The Eighth and Fourteenth Amendments

       require that the sentencer not be precluded from considering, as a mitigating factor, any

       aspect of the defendant’s character or record     that the defendant proffers as a basis for

       a sentence less than death. Lockett v. Ohio, 438 U.S. 586 (1978) Appellant further urges

       this Court to find that in the instant case the hearsay rule (if found to apply) must yield,

       because the State had no sufficient basis for doubting the reliability of the hearsay and it


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       could have aided the jury in its determination of a material issue. Chambers v. Mississippi,

       410 U.S. 284 (1972) In disallowing the introduction of the Bible certificates, especially in

       light of Meza’s testimony, the trial court violated Appellant’s Sixth Amendment by not

       affording him a “meaningful opportunity to present a complete defense”. Holmes v. South

       Carolina, 547 U.S. 319 (2006)

                                 POINT OF ERROR NUMBER SEVEN

       THE TRIAL COURT ERRED WHEN IT PREVENTED APPELLANT FROM
       INTRODUCING MITIGATING EVIDENCE THAT HE WAS AN INFORMANT
       FOR THE FBI, DEA OR INS (R-XXIV-70-74)

                                        STATEMENT OF FACTS

              The State presented testimony from Agent Juan DeJesus Rodriguez (hereinafter

       Agent DeJesus) with the Police of Puerto Rico. (R-XXI-44) After testifying about an

       investigation he conducted which involved Appellant as a suspect in the kidnapping of

       Andres Buten and                    |. (R-XXIV-46) The details of the investigation are set

       forth in the Statement of Facts in this Brief.

              At the commencement of his cross examination of Agent DeJesus, Appellant’s

       counsel asked the witness about his knowledge of Appellant’s role as an informant for the

       FBI, DEA or INS. (R-XXIV-69) The State objected that the this evidence was irrelevant.

       (R-XXIV-69) The trial court called the parties to the bench and stated: Does it have to do

       with the fact that   —   I can see some relevance, but not getting into anything that he is not

       supposed to get into. (R-XXIV-69) The trial court conducted a hearing into the matter

       outside the presence of the jury. (R-XXIV-70,71)



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             Mr. C:        Okay. Did you have a conversation with my client after he was in
                           custody wherein he informed you that he was some sort of informant
                           for either the FBI, the DEA, or INS?

             DeJesus:      Yes.

             Mr. C:        And did you attempt to confirm whether that was true or not?

             DeJesus:      Yes.

             Mr. C:        Were you able to confirm that it was true?

             DeJesus:      The agents said that he cooperated with the agency, but it was never
                           confirmed in writing.

             Mr. C:        So, it was confirmed, but you didn’t get anything in writing?

             DeJesus:      Yes.

             Mr. C:        Was the defendant claiming that he was acting in this capacity when
                           these events occurred for which he got convicted in Puerto Rico?

             DeJesus:      Yes.

             Mr. C:         But that was never confirmed to you; is that what you’re saying?

             DeJesus:      No.

              Mr. C:        Not orally or in writing, or was it confirmed orally but not in writing?

             DeJesus:       Orally that he had cooperated with them, but not in writing.

              Mr. C:        Okay . Let me see if I can be certain of this. Orally that he had
                            cooperated  —                          —
                                            strike that. Orally that   somebody from the United
                            States government confirmed that he was cooperating with them
                            during the course of these events for which he was arrested and got
                            convicted or just that he cooperated with them in the past?

              DeJesus:      That he had cooperated previously.

              The State renewed its objection that the testimony was irrelevant hearsay.


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                The trial court asked: Do you find it mitigating in any way? We’re here for

       punishment. Is that mitigation punishment
                                                     —     is that mitigation evidence?

                Although the trial court found that the evidence may be relevant to mitigation in

       some form or fashion in this case, it sustained the State’s objection on the basis that the

       proffered evidence was hearsay. (R-XXIV-71-74)

                                   ARGUMENT AND AUTHORITIES

                In addition to the Argument and Authorities supplied below, Appellant incorporates

       the Argument and Authorities relied upon in the previous Point of Error for this Court’s

       consideration of this Point of Error pursuant to Rule 38.1(f) & (i) of the Texas Rules of

       Appellate Procedure to avoid duplication and repetition of argument.

                Rule 803(21) of the Texas Rules of Evidence allows for testimony concerning

       reputation of a person’s character among associates or in the community. This Court has

       held that discussions with other police officers are sufficient to qualify a witness on

       reputation. Turner v. State, 810 SW2d 423 (Tex. Crim. App. 1991) citing: Martin v.

       State, 449 SW2d 257 (Tex. Crim. App. 1970) Reputation must at least partially based on

       a discussion of matters other than the actions or offenses for which the defendant is being

       tried.

                The trial court clearly recognized that Appellant’s proffered evidence was mitigating.

       (R-XXIV-71-74)

                Appellant submits that the relationship between fellow law enforcement officials

       cooperating in an investigation establishes the reliability of the information needed to


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       overcome any concern the State might have concerning the reliability of that very

       information. The confirmation provided to Agent DeJesus in the instant appeal is not the

       sort of information that would be disseminated to others outside the law enforcement

       community. Keeping in mind that this evidence was offered during the punishment phase

       of Appellant’s death penalty trial, the trial court’s refusal to admit this evidence was, at the

       very least, an abuse of discretion. Appellant submits that prohibiting Agent DeJesus from

       testifying that he had confirmed Appellant’s role as a law enforcement informer violated the

       Sixth, Eighth and Fourteenth Amendments by preventing Appellant from presenting

       mitigation evidence to the jury tasked with answering the Special Issues presented to it in

       accordance with Article 37.071. As noted in the preceding Point of Error , Appellant again

       relies upon the Supreme Court’s holdings in Lockett v. Ohio; Chambers v. Mississippi;

       and Holmes v. South Carolina to show he was not afforded a “meaningful opportunity to

       present a complete defense.

                                POINT OF ERROR NUMBER EIGHT

       THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
       OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT INJECTING
       FACTS OUTSIDE THE RECORD (R-XXIII-80)

                                       STATEMENT OF FACTS

              During her final summation to the jury, the prosecutor assailed Appellant’s defense

       by claiming that it had only given “ half truths” when presenting its case. (R-XXIII-80)

              The prosecutor stated: “I’m responsible for the whole story and you hold me

       accountable. I will tell you the whole story. And I’m not going to leave out and talk about


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       half of what a witness said and not talk about the whole thing, I promise you that. That’s

       my job. Let me give you another example, another example of half the story . The SANE

       nurse. She came here and she said: Well, there were no injuries. Wow, that must mean

       Obel Cruz-Garcia is guilty— is not guilty of capital murder according to the defense

       attorneys. No. Let’s talk about what else the SANE nurse said. And I want to say she said

       95%           it is a very high percentage- of rape cases that she does SANE nurse

       examinations on— “ (R-XXIII-80)

             Appellant objected that the prosecutor’s argument was outside the record. (R-XXIII-

       80)The trial court overruled Appellant’s objection. (R-XXIII-80)

                                 ARGUMENT AND AUTHORITIES

              Permissible jury argument falls into one of four areas. Cannady v. State, 11 SW3d

       205 (Tex. Crim. App. 2000) The four areas of proper argument are:

              1.       Summation of the evidence;

              2.       Reasonable deduction from the evidence;

              3.       An answer to the argument of opposing counsel; or

              4.       A plea for law enforcement.

              In the instant appeal, the prosecutor’s comments fell outside the permissible scope

       of final argument set out above. The Prosecutor’s comments were outside the record and

       amounted to unsworn testimony being provided to the jury. The testimony of the SANE

       nurse was critically important to the State’s case because she was the individual who began

       the evidentiary chain of custody of by performing a sexual assault examination on



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               The evidence, including all results of testing on items taken by the SANE nurse,

      were contested throughout trial. The State obviously felt compelled to try and dispel any

      doubt created by the absence of “injuries” found by the SANE nurse when she examined

             [. In asserting that 95% of the SANE examinations do not reveal injuries, the
      prosecutor misstated the testimony and went outside the record. The SANE nurse actually

      stated that: “I mean, it doesn’t have to be physical injury or bruising or anything to say that

      there was a sexual assault. I mean, that doesn’t mean that there’s not going to be some

      assault. I mean, the crime lab will analyze the evidence that I have collected otherwise.”

      When asked if it was common for her not to find physical injury or trauma in the

      examinations that she performs, Kologinczok stated that most of the sexual assault exams

      that she performed didn’t find bruising or other injuries. She did not further quantify her

       response. (R-XIX-49) Appellant submits that the State’s comments fell outside the accepted

      scope of final argument. Cannady v. State, 11 SW3d 205 (Tex. Crim. App. 2000);

       Garrison v. State, 528 SW2d 837 (Tex. Crim. App. 1975)

                                POINT OF ERROR NUMBER NINE

       THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
       OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT ASKING THE
       JURY TO CONVICT APPELLANT OF CAPITAL MURDER AS A PARTY
       BECAUSE THAT WAS WHAT THE STATE BELIEVED ACTUALLY HAPPENED
       - THAT APPELLANT DIRECTED AND ENCOURAGED. (R-XXIII-92)

                                      STATEMENT OF FACTS

              During her continuing summation to the jury, the Prosecutor discussed all the

       different ways the jury could find Appellant guilty of capital murder as set forth in the



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       court’s jury charge. The Prosecutor then stated that what “we” believe happened is the

       defendant directed and encouraged. (R-XXIII-92) The trial court overruled Appellant’s

       objection that this argument was improper because it put the beliefs of the prosecutors into

       the argument. The trial court overruled Appellant’s objection and made no further comment

       to the jury. (R-XXIII-92)

                                  ARGUMENT AND AUTHORITIES

               The purpose of closing argument is to facilitate the jury in properly analyzing the

       evidence presented at the trial so that it may arrive at a just and reasonable conclusion based

       on the evidence alone, and not on any fact not admitted in evidence. Stearn v. State, 487

       SW2d 734 (Tex. Crim. App. 1972)

               As noted in the preceding Point of Error, to receive the stamp of approval of this

       Court, jury arguments must be within the four areas set forth in Cannady v. State, 11

       SW3d 205 (Tex. Crim. App. 2000); Campbell v. State, 610 SW2d 754 (Tex. Crim. App.

       1980)

               It is not proper for the personal beliefs of the prosecutor (individually or collectively)

       to be presented to the jury as part of its consideration of the case. A prosecutor may not

       inject personal opinion of guilt into the jury argument. Williams v. State, 1989 WL 97549

       (Tex. App. [14th Dist.] 1989) not designated for publication. The State’s argument went

       outside the record and invited the jury to consider and weigh the prosecutor’s unique

       knowledge and evaluation of the evidence in rendering its verdict. Appellant submits that

       the trial court erred when it failed to sustain Appellant’s objection. Garrison v. State, 528



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      SW2d 837 (Tex. Crim. App. 1975)

             Unlike Cannady, where the trial court gave an instruction to disregard, in the instant

       appeal the jury was allowed unfettered consideration of the State’s argument. Cannady v.

      State, 11 SW3d 205 (Tex. Crim. App. 2000) In the absence of an instruction to disregard

       the improper argument, the error asserted under this Point of Error was not cured. Ramson

      v. State, 920 SW2d 288 (Tex. Crim. App. 1996)

                                POINT OF ERROR NUMBER TEN

      THE TRIAL COURT ERRED WHEN IT OVERRULED APPELLANT’S
      OBJECTION TO THE PROSECUTOR’S IMPROPER ARGUMENT WHICH WAS
      OUTSIDE THE RECORD AND INJECTED HER PERSONAL BELIEF THAT IF
      IT HAD BEEN UP TO THE CO-DEFENDANT,            WOULD STILL                                         I
      BE ALIVE (R-XXVI-163-165)

                                     STATEMENT OF FACTS

             During her punishment summation, the prosecutor argued:

              “Because I will tell you right now, if it were up to Roger alone,         would still

       be alive. ” (R-XXVI-163,164) Appellant objected that the comments were outside the

       record and there was no evidence to support it. (R-XXVI-164) The trial court overruled

       Appellant’s objection. (RE-XXVI-164,165)

                                ARGUMENT AND AUTHORITIES

              As noted in Point of Error Number Eight above, there are four recognized and

       permissible areas of final argument. Error is found when facts not supported by the record

       are injected in the argument. Reversal will follow if the complained-of argument is extreme

       or manifestly improper. Brown v. State, 270 SW3d 564 (Tex. Crim. App. 2008) When



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       the prosecutor made the factual statement set forth above, she injected evidence outside the

       record into the jury deliberation process. In Stearn v. State, 487 SW2d 734 (Tex. Crim.

       App. 1972) this Court reversed a conviction when the prosecutor stated in his argument to

       the jury that “we couldn’t bring you all the circumstances surrounding the arrest”. In that

       case, the Court concluded that the jury would logically surmise from the complained of

       argument that there was inadmissible evidence which, if revealed, would show them other

       acts committed by the appellant during the arrest that they should know about. Similarly,

       in the instant case, the prosecutor left the distinct impression that she knew “Roger” never

       intended to cause the death of I                   This constituted an improper argument

       that went outside the record. This punishment phase argument was extreme and manifestly

       improper requiring reversal.

                              POINT OF ERROR NUMBER ELEVEN

       THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION
       FOR MISTRIAL BASED UPON THE IMPROPER JURY ARGUMENT OF THE
       PROSECUTOR WHEN SHE WENT OUTSIDE THE RECORD (R-XXVI-171,172)

                                      STATEMENT OF FACTS

              Continuing with her punishment summation to the jury, the prosecutor said:

              “What else? They want to minimize the escape attempt. Justin talked to you about

       that. What do you think happened after he attempted to escape? You think he might have

       wound up in administrative segregation. I bet he did (R-XXVI-171)

              Appellant objected this argument was outside the record. (R-XXVI-171,172) When

       the prosecutor responded that it was invited argument, the trial court sustained Appellant’s



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      objection and admonished the prosecutor to stay within the record. (R-XXVI-172)

      Appellant asked for an instruction to the jury to disregard the prosecutor’s comment. The

       trial court granted the instruction, but denied Appellant’s Motion for Mistrial. (R-XXVI-

       172)

                                 ARGUMENT AND AUTHORITIES

              Appellant incorporates the Argument and Authorities set forth in the preceding Point

       of Error in support of this Point of Error again complaining of the State’s improper jury

       argument. The sarcasm inherent in the prosecutor’s comment constituted an argument

       outside the record. While the trial court recognized this fact and admonished the prosecutor,

       it did not go far enough in providing relief to Appellant. A prosecutor may not use final

       argument to invite the juiy to speculate about matters that are outside of or unsupported by

       the record. See: Borjan v. State, 787 SW2d 53 (Tex. Crim. App. 1990)

                              POINT OF ERROR NUMBER TWELVE

       THE TRIAL COURT ERRED WHEN IT DENIED APPELLANT’S MOTION FOR
       NEW TRIAL BASED UPON JURY MISCONDUCT DURING THE PUNISHMENT
       DELIBERATIONS WHERE THE JURY FOREMAN INFLUENCED THE
       DELIBERATION BY QUOTING FROM HIS BIBLE ABOUT THE CORRECTNESS
       OF THE DEATH PENALTY THUS CONSTITUTING AN IMPERMISSIBLE
       OUTSIDE INFLUENCE (CR-III-522,538)

                                      STATEMENT OF FACTS

              The jury charge at the punishment phase of the trial included the following

       instructions:

              “During your deliberations upon the “Special Issues”, you must not consider,

       discuss, nor relate any matters not in evidence before you. You should not consider nor


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       mention any personal knowledge or information you may have about any fact or person

      connected with this case which is not shown by the evidence.” (CR-III-522)

              “In arriving at the answers to the “Special Issues” submitted, it will not be proper

      for you to fix the same by lot, chance, or any other method than by a full, fair and free

       exchange of the opinion of each individual juror.” (CR-III-522)

              “You are the exclusive judges of the facts proved and the credibility of the witnesses

       and the weight to be given to their testimony, but you are bound to receive the law from the

       Court which has been given to you and you are bound thereby.” (CR-III-522)

              After the jury began its deliberations at the punishment phase of the trial, the court

       received a note indicating that one of the jurors needed to speak with the judge. (CR-III-

       512) The note stated: “ May I please speak to judge” . The Note was signed by Angela

       Bowman and the Foreman of the Jury. The Clerk’s file stamp reflects the date of July 19,

       2013 at 3:20 p.m. (CR-III-512) In response to the note, the trial court summoned the parties

       to the bench and announced that she would visit with Ms. Bowman in her chambers to find

       out what Bowman wanted to discuss. (R-XXVII-4) The court interviewed Ms. Bowman

       outside the presence of the other jurors. Bowman expressed her concerns to the court by

       relating that she was the only juror who could not agree with th questions - that she couldn’t

       answer the same questions with everyone else and that she felt pressured. Bowman stated

       that she didn’t want to hold the jury up and asked whether she could be replaced by one of

       the alternates. (R-XXVII-5) The trial court acknowledged that Bowman’s answers were

       different from the rest of the jury, but indicated to her that her situation didn’t qualify for

       replacing her with an alternate. (R-XXVII-5) When the court told Bowman she would not

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       be replaced and would have to continue deliberating with the others, Bowman said she

       didn’t think she would ever come to an agreement - we’re never coming to an agreement.

       (R-XXVII-6) Bowman told the court that she was not in agreement with the other jurors

       concerning Special Issues 1 & 3. Bowman confirmed that she was the only one with the

       different opinion. She told the court that she was not changing her stance and neither were

       the remaining jurors. (R-XXVII-6) The court again told Bowman that she would have to

       continue deliberating and it could take a pretty long period of time. (R-XXVII-6) Bowman

       was told that if no verdict was reached that day, she and the other jurors would be staying

       again that night and the next. (R-XXVII-6) At that juncture, the court made comments to

       Bowman that the jury is not being asked to vote to give the death penalty or not give the

       death penalty. When Bowman was told to continue her deliberations, she said didn’t want

       to have to stay another night. The court again told Bowman she had to continue deliberating.

       (R-XXVII-8)

              The Clerk’s record reflects that the jury returned its punishment verdict on July 19,

       2013 at 4:30 p.m. a little more than one hour after the court received the note from the juror.

       (CR-III-663) The jury’s answers to the Special Issues resulted in the trial court sentencing

       Appellant to DEATH. Formal sentencing took place on July 22, 2013. (R-XXVIII-4)

              On the evening of July 19, 2013 (the same day that the jury returned its punishment

       verdict) Mario Madrid, one of Appellant’s trial attorneys, received a phone call from Angela

       Bowman - the juror who had expressed her concerns to the trial court judge earlier that day.

       In an Affidavit provided by Mr. Madrid, he related how Ms. Bowman told him that she was

       distraught over her decision to capitulate during the punishment phase deliberations by

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       changing her vote from life in prison to the death penalty. Bowman stated that she had been

       pressured to change her position on the life vs. death decision. She said her decision was

       especially complicated by virtue of the fact that her daughter was suffering from a fever and

       she (Bowman) was unable to attend to her because of being sequestered. Bowman went on

       to complain that the jury Foreman improperly influenced the jury by quoting from his Bible

       during the decision-making process. Bowman believed the Foreman’s introduction of the

       Bible into the process ended up swaying other jurors toward death rather than life in prison.

       (CR-III-541,542) Mr. Madrid also provided his professional opinion that a new trial or new

       trial on punishment was mandated because the death verdict returned in this matter was

       decided in a manner other than the fair expression of the juror’s opinion. Madrid further

       noted, that in his opinion, the jury had received other evidence in the form of Biblical

       passages (not evidence admitted at trial) and that this constituted jury misconduct requiring

       relief. (CR-III-541,542)

              On August 19, 2013, Appellant filed a Motion for New Trial. (CR-III-538) The

       Motion for New Trial included the Affidavits of Mario Madrid [referenced above] and

       private investigator, J.J. Gradoni who interviewed Angela Bowman as well as jury Foreman,

       Matthew Clinger. Gradoni’s Affidavit noted that when speaking with the Foreman, Clinger

       readily admitted that he had read Romans 13, Genesis 9 and from Deuteronomy while other

       jurors were present. When Gradoni asked Clinger if he felt that his Bible verses changed

       a juror’s vote, Clinger responded that he thought the Bible verses were contributing factors.

       (CR-III-554) Angela Bowman’s Affidavit included in the Motion for New Trial, reaffirmed

       that her punishment vote was not her true and honest verdict. (CR-III-555) Bowman stated

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       that Clinger’s use of his Bible did influence other jurors. She explained how exasperated

       she became over her inability to know the current status of her daughter’s health - concerned

       that she might have had pneumonia. Bowman noted that as soon as she left court, she took

       her daughter to the emergency room. Ultimately, Bowman said she was unduly pressured

       by other members of the jury to change her vote because she was taking too long and

       holding up the process and wasting their time. Bowman stated that her verdict was not a

       true and honest expression of her belief in the evidence supporting the special issues that

       called for the death penalty. She believed that jury misconduct deprived Appellant of a fair

       and impartial trial.

              After the Motion for New Trial was filed, Appellant requested a live hearing to

       present live testimony in support of his Motion for New Trial. (CR-III-580)(R-XXIX-3)

       The trial court denied Appellant’s request for a live hearing. (CR-III-584)(R-XXIX-3-4)

       The State of Texas opposed Appellant’s Motion for New Trial. (CR-III-585) In compliance

       with the trial court’s prior ruling, Appellant filed Affidavits in support of his Motion for

       New Trial and Supplement to his Motion for New Trial. (CR-III-602) The affidavits

       submitted by Appellant included: 1). A certified copy of Mario Madrid’s Affidavit; 2). A

       certified copy of the first affidavit from JJ. Gradoni; 3). A certified copy of Angela

       Bowman’s affidavit; and 4) A second affidavit from J.J. Gradoni with a transcript of his

       interview of jury Foreman, Matthew Clinger, accompanied by the compact disc [CD] of that

       interview. (CR-III-603)

              The trial court conducted a hearing (restricted to affidavits) on Appellant’s Motion

       for New Trial and Supplement to the Motion for New Trial. (R-XXIX-3-33)

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              During the hearing, the court admitted the State’s affidavits in opposition to

      Appellant’s request for a new trial. (R-XXIX-16,28) (R-XXXV) (SX#1 & 2) When

      Appellant sought to introduce affidavits in support of his Motion for New Trial, the trial

      court admitted the affidavits of Mario Madrid (Def #1); J.J. Gradoni (Def # 2) and Angela

      Bowman (Def # 3) (R-XXIX-26) The second affidavit of J.J. Gradoni (Def # 4) which

      included the authenticated transcript of Gradoni’s entire taped interview of jury foreman,

      Matthew Clinger, was not admitted. (R-XXIX-26) This exhibit (Def # 4) is before this

      Court on the Bill of Exception made in the trial court below.(R-XXIX-26-32) Appellant

      urges this Court to review and compare the sworn affidavit of Matthew Clinger prepared on

      behalf of the State (R-XXXV/SX#2) with the content of his recorded statement give to

       investigator, J.J. Gradoni. (R-XXXV/Def # 4) Clinger’s written affidavit asserting he did

       not read his Bible out loud and the Bible did not influence other jurors, appears to be

       contradicted by his own words beginning on page 22 of the transcript of that interview:

              MC: Yeah, but I had my Bible there too. I had it in my overnight bag.
              JJ: So did you read the Bible or did you quote it from memory?
              MC: No, I read it.
              JJ: Read it from the Bible?
              MC: Yeah
              JJ: Did it offend anybody?
              MC: Uh, no one said that, no.
              MC: And as I..I kind of qualified it by saying, you know, I’m not trying...as I
                  said, Im not trying to be offensive. I just think, I think this will be helpful
                  to Casey [referring to Casey Guillotte] and so, I just want to share it.
              JJ: So, after you read that was Casey able to say death?
              MC: Uh, after I read that she was able to move, that was, we were finishing up
                  talking about the first question and she was able to move on from the first
                  question. Uh, we still talked about a lot more stuff throughout the course of
                  the day, but she was able to move on...
              JJ: No, no, that helped her to move on to question number two?

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              MC: Correct. (Page 22)

                CK: And the people were listening, I guess, when you were saying this, and did
                    it help them to understand? You think it made a difference to them?
                MC: It made a difference to Casey. I don’t know if it made a difference with
                    anyone else.
                CK: Did it make a difference to you?
                MC: Uh, it felt good to be able to kind of share what I had, you know, what I
                    had researched and spent time processing. I, I had already, that was a path
                    I’d been down a number of times already (Page 23)

                JJ: So, but in your opinion, Cas, it is Casey?
                MC: Casey.
                JJ: Casey was able to come to peace with the first question after the
                    scriptures?
                MC: Not just that, I mean, there were probably nine of the twelve that shared
                    something during that time. And she, it was not just the scriptures. (Page
                    27)

                As JJ. Gradoni is finishing his conversation with Matthew Clinger, the following
                       concern is expressed by Clinger:

                MC: Alright, thank ya’ll. Pleasure to meet you. Just curious if, I mean was the,
                    you asked me about the scripture thing (unintelligible) Was that a problem
                    at all of just kind of a...? (Page 33)

                The trial court denied Appellant’s Motion for New Trial. (CR-III-665)(R-XXIX-
       31-33)

                                   ARGUMENT AND AUTHORITIES

                Rule 21.3 of the Texas Rules of Evidence provides that a defendant must be granted

       a new trial, or a new trial on punishment, for any of the following reasons:

                Rule 21.3(c) - when the verdict has been decided by lot or in any manner other than

       the fair expression of the juror’s opinion;

                Rule 21.3(f ) - when, after retiring to deliberate, the jury has received other evidence;

       when a juror has talked with anyone about the case.

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             Rule 21.3(h) - when the verdict is contrary to the law and evidence.

             Rule 21.7 of the Texas Rules of Appellate Procedure states that the court may

      receive evidence by affidavit or otherwise.

             Rule 606(b) of the Texas Rules of Evidence provides that upon inquiry into the

      validity of a verdict   a juror may not testify as to any matter or statement occurrinbg during

      the jury’s deliberation      However, a juror may testify: (1) whether an outside influence

      was improperly brought to bear upon any juror.

                     FAILURE TO PROVIDE A LIVE WITNESS HEARING

             This court has held that it would not apply a per se rule that a trial court must hear

      live testimony whenever there is a factual dispute in affidavits and a party asks for

      testimony. Holden v. State, 201 SW3d 761 (Tex. Crim. App. 2006) However, this court

      has also held that a trial court abuses its discretion in failing to hold a hearing when a

      defendant presents a motion for new trial raising matters not determinable from the record.

      Reyes v. State, 849 SW2d 812 (Tex. Crim. App. 1993 ) In the instant appeal, a juror came

      forward during guilt / innocence deliberations to notify the court of problems inside the jury

      room. In response, the trial court focused on the need for the jury to continue its

      deliberations - sending Ms. Bowman back into the jury room. Appellant submits that this

      “early warning signal” should have prompted the trial court to hold a live hearing on

      Appellant’s Motion for New Trial to determine the cause of the problems Ms. Bowman tried

      to express to the court. The trial court abused its discretion in failing to provide a full and

      complete “live” hearing to Appellant so that all the issues raised in the Motion for New Trial


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       could be addressed through the testimony of live witnesses subject to contemporaneous

       cross examination. Reyes v. State, 849 SW2d 812 (Tex. Crim. App. 1993)

              On numerous occasions, Appellant requested a live hearing to decide the merits of

       his Motion for New Trial. The trial court denied Appellant’s requests, instead Ordering that

       Appellant and the State of Texas prepare affidavits to be submitted to the court for its

       consideration of the Motion for New Trial. (R-XXIX-4,6) Appellant’s investigator, J.J.

       Gradoni. Conducted post-trial interviews with the jurors. Ms. Bowman, who came forward

       to speak with the trial judge during guilt/innocence deliberations, provided an affidavit.

       Jury Foreman, Matthew Clinger had a lengthy recorded conversation with Mr. Gradoni.

       During the interview, Clinger was asked whether he felt that his Bible verses changed a

       juror’s vote. Clinger responded that he thought the Bible verses were contributing factors.

       (CR-III-554) When Mr. Gradoni subsequently contacted Mr. Clinger to obtain a sworn

       affidavit from him in accordance with his interview, Clinger told Gradoni that his corporate

       counsel advised him against signing an affidavit, but to appear live in front of the court. (R-

       XXIX-8)

              Appellant objected to the court’s failure to provide Appellant with a live hearing on

       his Motion for New Trial at which witnesses would testify under oath as violating his Sixth

       Amendment right to confrontation. (R-XXIX-9) Appellant also objected that he was denied

       Due Process when the jury ignored the trial court’s instructions set out above. (R-XXIX-9)

       The trial court erred and abused its discretion in failing to provide a full and complete

       hearing on Appellant’s Motion for New Trial. McQuarrie v. State, 380 SW3d 145 (Tex.


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      Crim. App. 2012) Appellant submits that in the interest of justice, this Court should abate

      the appeal and order the trial court to conduct a supplemental hearing at which sworn

      testimony from in-person witnesses would be received and made part of this record.

          OUTSIDE INFLUENCE IMPROPERLY BROUGHT TO BEAR ON JURY

             A review of the documentation in support of Appellant’s Motion for New Trial

      supports a finding that an outside influence was introduced before the jury when the

      foreman shared Bible scripture with the jury during punishment deliberations.

             In Oliver v. Quarterman, 541 F3d 329 (C.A. 5th Cir.) The court noted that the

      Sixth Amendment forbids a jury from being exposed to external influences during its

      deliberations. In Oliver, the court held that the jury’s consultation of Bible passages was

       external influence on the jury’s deliberation. In the instant appeal, the trial court was

      presented with more than adequate evidence to establish that an outside influence [Bible

       scripture] during the jury’s deliberation. (R-XXIX-3-33)(R-XXXV) In Colyer v. State,

       428 SW3d 117 (Tex. Crim. App. 2014) this Court defined the permissible areas of inquiry

       pursuant to Rule 606(b) of the Texas Rules of Evidence . The Court reaffirmed that juror

       testimony regarding an outside influence was a proper area for post-trial consideration by

       the court. Appellant sought to further develop his complaint at a Motion for New Trial, but

       was prevented from doing so when the trial court both limited the hearing to affidavits and

       refused to admit the affidavit of J.J. Gradoni along with the un-edited tape recording of his

       interview of jury foreman, Matthew Clinger. (See original CD presented on Appellant’s Bill

       of Exception)(R-XXXV) The evidence developed against a defendant shall come from the


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       witness stand in a public courtroom where there is full judicial protection of the defendant’s

       right of confrontation and cross examination. The requirement that a jury’s verdict must be

       based upon the evidence developed at the trial goes to the integrity of all that is embraced

       in the constitutional concept of trial by jury. Oliver, citing: Parker v. Gladden, 385 US

       363 (1966) and Turner v. Louisiana, 379 US 466 (1965) The Supreme Court has held that

       in a criminal case, any private communication, contact, or tampering directly or indirectly,

       with a juror during a trial about a matter pending before the jury is, for obvious reasons,

       deemed presumptively prejudicial. Remmer v. US, 347 US 227 (1954) A juror is exposed

       to an external influence when the juror reads information not admitted into evidence, such

       as....prejudicial statements from others. This issue has even been addressed in a sister state

       when the Supreme Court of Tennessee found a constitutional error when the jury foreman

       buttressed his argument for imposition of the death penalty by reading to the jury selected

       Bible passages. See: State v. Harrington, 627 SE2d 345 (Tenn. 1981)

                                        PRAYER FOR RELIEF

              Appellant prays this Court will review each Point of Error raised herein and grant

       him relief as follows: Appellant prays the Court set aside the jury’s verdict on the charge of

       capital murder and enter a judgment of acquittal . In the alternative, without waiving the

       foregoing prayer for relief, Appellant prays the Court enter an Order remanding this case

       to the trial court for a new trial. Further in the alternative, without waiving any of the

       foregoing prayers for relief, Appellant prays the Court enter an Order remanding this case

       to the trial court for a new trial on the issue of punishment. Without waiving the foregoing,


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       Appellant prays this Court remand this case to the trial court for a new hearing on

       Appellant’s Motion for New Trial with instructions to receive live testimony.

                                                        Respectfully submitted,



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                                CERTIFICATE OF COMPLIANCE

             This Brief is in compliance with Rule 9.4(2)(a) & (3jy>f the Texas Rules of Appellate
       Procedure. The total word count shown in the comi               pgram used to prepare this
       document is 35,103..

                                                        Wayne T. Hi!


                                   CERTIFICATE OF SERVICE

              On this 12TH day of September, a true and correct copy of this Brief was mailed to
       the Harris County District Attorney’s Office - AppellateOiyiS?on, 1201 FrankUn, 6tMpeor,
       Houston, Texas 77027.

                                                        Wayne T. HM1




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                     IN THE COURT OF CRIMINAL APPEALS
                                 OF TEXAS
                                             NO. AP-77,025



                                 OBEL CRUZ-GARCIA, Appellant

                                                    v.

                                       THE STATE OF TEXAS

                                ON DIRECT APPEAL
                 FROM CAUSE NO. 1384794 IN THE 337th DISTRICT COURT
                                 HARRIS COUNTY


            K ELLER , P.J., delivered the opinion of the Court in which M EYERS, J OHNSON,
      K EASLER, A LCALA, R ICHARDSON and Y EARY, JJ., joined. HERVEY and NEWELL, JJ.,
      concurred.


             In June 2013, appellant was convicted of capital murder and sentenced to death.1 Direct




             1
                TEX . PENAL CODE § 19.03(a)(2); TEX . CODE CRIM . PROC. art. 37.071. Unless otherwise
      indicated, all future references to articles refer to the Code of Criminal Procedure.



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                                                                                       CRUZ-GARCIA–2

      appeal to this Court is automatic.2 Appellant raises twelve points of error. Finding no reversible

      error, we affirm the conviction and sentence.

                                                   I. Background

               On September 30, 1992, two masked intruders broke into an apartment shared by Arturo

      Rodriguez, Diana Garcia, and Diana Garcia’s six-year-old son,                            . Diana was

      awakened by a loud sound coming from her living room. Her husband, Arturo, walked toward the

      sound but was quickly met by a large male wearing a mask and pointing a gun at him. Both Diana

      and Arturo testified that this man spoke to them, but neither could understand him because he spoke

      in an unknown accent. Additionally, they both described the man as “black” or dark-complexioned.

      When the initial responding officer made his report about this case, he described Diana’s and

      Arturo’s assailants as “black” but testified at trial that he meant “black Hispanics.”

               The masked man instructed Diana to turn face down on her bed and then began beating

      Arturo. After Diana complied with the instruction to lie face down, a second man entered the room

      holding a gun, and one of the intruders tied up Diana. Arturo was tied up with the cord from his

      alarm clock, a rag was put in his mouth, and he was beaten on his head with a gun while he knelt by

      his bed. At this point,             who had been sleeping on a pallet by the bed, began crying out for

      Diana.

               The second intruder then started touching Diana on her buttocks, turned her over so that she

      was lying on her back, and put a blanket over her face. The second intruder removed Diana’s panties

      and sexually assaulted her. Diana testified that the assailant ejaculated during the sexual assault.

      Arturo testified that he saw an unknown male sexually assaulting his wife before the other assailant


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                   Art. 37.071, § 2(h).



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                                                                                      CRUZ-GARCIA–3

      placed a pillowcase over his head. All the while,          was present in the room and crying.

             Once the sexual assault ended, the two men ransacked the bedroom and then left. Arturo

      testified that his passport and a bracelet were missing after the incident. After the men left, Diana

      got up and untied Arturo’s hands. Diana and Arturo then noticed that                was missing and

      walked into their living room to look for him. Upon entering their living room, they saw the first,

      tall, masked intruder returning to the apartment. When Diana and Arturo saw this man, they turned

      and walked back into their bedroom, and the masked man turned and left the apartment.

             After both intruders left, Diana and Arturo left their apartment and began looking for

      They called out his name at their own apartment complex and across the street but received no

      response. At some point, Diana’s neighbor called 911. Houston Police Department (“HPD”)

      responded to a 911 call claiming that a child had been kidnapped from Diana and Arturo’s

      apartment. Upon arriving, officers found Arturo injured and Diana distraught. An inspection of the

      apartment revealed the bedroom to be in disarray, with drawers pulled out of dressers and items of

      clothing strewn about. Officers found a cigar in the living room, although at trial both Diana and

      Arturo testified that neither one of them smoked.

             Police officers interviewed Diana and Arturo on-scene and asked them whether they sold

      drugs. Both were untruthful. Diana was transported to a hospital for a sexual assault examination.

      A Sexual Assault Nurse Examiner (SANE), Gloria Kologinczok, testified that she performed a

      sexual assault examination on Diana Garcia during the early morning hours of October 1 and

      produced a sexual assault kit containing evidence from Diana.

             On October 1, 1992, police interviewed Diana at the police station, and she came clean about

      her and Arturo’s drug dealing. She also told police that appellant was her drug supplier until




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                                                                                       CRUZ-GARCIA–4

      recently, when she and Arturo had told appellant that they no longer wanted to sell drugs for him.

      Officer U.P. Hernandez interviewed both Diana and Arturo. Arturo testified that, when he spoke to

      police, he never lied about his drug dealing, but Officer Hernandez testified to the contrary.

              During their investigation, officers also met with or interviewed Leonardo German (friend

      of Diana and Arturo), Rogelio Rendon, Carmelo Martinez Santana3 (also known as “Rudy;” friend

      of appellant), and Angelita Rodriguez (appellant’s wife).

              At trial, Diana and Arturo both testified about their relationship with appellant. Arturo and

      Diana sold cocaine for appellant for several years when all three lived in Houston. They also

      associated socially with appellant and his wife, Angelita, on several occasions. Arturo testified that

      he considered his relationship with appellant to be a friendly one, and Diana testified that Angelita

      was her friend. A few months prior to               kidnapping, Arturo and Diana told appellant they

      no longer wanted to sell drugs for him, and Arturo testified that this upset appellant.

              Angelita also testified about her relationship with appellant. Her cousin, Rudy, was good

      friends with appellant, and the three of them moved to Houston from Puerto Rico around the same

      time in 1989. Angelita and appellant shared an apartment in Humble, a suburb of Houston. Angelita

      testified that appellant smoked both cigarettes and cigars and that he owned a gold Oldsmobile and

      a blue Thunderbird. Angelita met Diana and Arturo through appellant because of appellant’s drug

      dealing.

              Angelita learned of              disappearance on the news on the afternoon of October 1.

      Upon hearing of his disappearance, she immediately approached appellant in their apartment and told



              3
                  Several witnesses are referred to throughout the record by their nicknames. We will do the
      same.



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      him that        had gone missing. Angelita told appellant she wanted to go see Diana and Arturo,

      but he refused to go with her. Angelita testified that appellant seemed calm and “normal” upon

      hearing the news that          had disappeared, despite the fact that Diana and Arturo were their

      friends and their child had gone missing. Appellant then told Angelita that he was leaving Houston

      for Puerto Rico immediately and began to pack his bags.

             Angelita testified that, due to his sudden departure from Houston, appellant missed a

      scheduled court date. He had never missed one prior to that. After appellant left for Puerto Rico,

      Angelita could not afford to continue paying rent in their Humble apartment, so she moved to a hotel

      in Pasadena. Some time later, Angelita went to the Dominican Republic, where appellant was then

      living, to ask him for a divorce. Appellant refused. Angelita then asked him about              and

      appellant confessed to her that he had killed him.

             Rudy, Angelita’s cousin, testified that he met appellant when they were both living in Puerto

      Rico, prior to their initial move to Houston. Both are originally from the Dominican Republic. Rudy

      and appellant moved to Houston to sell drugs in the late 1980s, and Angelita followed them shortly

      thereafter. Rudy and appellant worked together selling drugs until Rudy’s drug addiction became

      too severe for him to continue dealing. At that point, appellant took over the operation. Rudy

      testified that appellant was a violent, angry, and controlling person. Once when appellant thought

      Rudy was stealing drug customers from him, he assaulted Rudy and threatened to kill him.

             Rudy testified that appellant owned three cars: a blue Chevrolet, a blue Thunderbird, and a

      gold Oldsmobile. Appellant routinely lent the Oldsmobile to Bienviendo Melo (also known as

      “Charlie”). On September 30, appellant drove his blue Chevrolet to Diana and Arturo’s apartment

      to collect his drugs and money. Rudy and Rogelio Aviles (also known as “Roger”) went with him.




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      Rudy described Roger as tall, strongly built, and dark-complexioned. Appellant parked his car

      behind Diana and Arturo’s apartment complex and instructed Rudy to sit in the passenger seat while

      he and Roger went inside. Appellant took a .45 caliber pistol with him, Roger carried a knife, and

      both appellant and Roger wore black stocking masks.

              Approximately thirty minutes after appellant and Roger left the car, appellant came back with

      a child in his arms. Rudy recognized the child as                          . When Rudy asked why

      appellant was carrying              appellant responded, “He saw me.”

              Rudy tried to persuade appellant to retrieve Diana to care for           Appellant left the car

      for the apartment again, leaving           with Rudy, but returned with Roger instead of Diana. When

      appellant returned, he told Rudy to sit in the back seat with           Appellant maintained a grip on

      his gun while he drove Rudy,              and Roger to Baytown. Appellant stopped the car not far into

      Baytown, and all three men exited the car. Rudy testified that by this time he was very scared and

      had grown convinced appellant was going to kill

              Appellant told Roger, “You already know what you have to do.” Rudy testified that he

      walked away from the two other men and then became ill, defecating nearby. As Rudy was walking

      away, he heard              scream. Rudy returned to the car where he saw           with blood on his

      chest. Appellant ordered Rudy and Roger to put             ’s body in the backseat, and they complied.

              Appellant drove them to another location in Baytown near a waterway and ordered Rudy and

      Roger to put               body in the water. The two men once again complied. Rudy and Roger piled

      rocks on top of               body to make it sink. Rudy testified that appellant had his gun with him

      the entire time. The three men then left Baytown and drove to Pasadena. On their way there, several

      of their tires blew out.




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             They managed to make it to a hotel where appellant made Rudy and Roger swear they would

      never tell what had happened to                 At the hotel, the men attempted to make other

      transportation arrangements by calling Charlie. Appellant, Rudy, and Roger eventually went to

      Charlie’s apartment in a taxi, where they retrieved appellant’s car. There, Rudy saw Charlie and his

      girlfriend, Linda.

             Linda also testified about appellant’s phone call to Charlie. In the early morning hours of

      October 1, 1992, Linda and Charlie were staying together at Linda’s mother’s house when they

      received several phone calls from appellant. Linda and Charlie were both familiar with appellant

      because Charlie sold drugs for appellant. Linda described appellant as controlling.

             When Charlie finally answered the phone around 2:00 a.m., appellant asked Charlie to pick

      him up. Charlie declined. Approximately thirty minutes later, appellant and Rudy appeared at

      Charlie’s house to borrow a car. Linda testified that, while Rudy appeared nervous, appellant did

      not. After October 1, 1992, Linda never saw appellant again. Prior to that date, appellant visited

      Linda and Charlie’s residence several times a week.

             Later in the day on October 1, Rudy and appellant took appellant’s blue Chevrolet to

      Rendon’s Garage to have the tires changed. At this time, appellant told Rudy that appellant was

      leaving Houston. Rudy helped appellant wash             blood and vomit from the interior of the car.

      Appellant then sold the car and used the money to buy a plane ticket to Puerto Rico. Rudy drove

      appellant to the airport the following day, October 2, 1992, and he did not see appellant again until

      they both returned to Houston for appellant’s capital murder trial.

             Agent William Ebersole testified that he interviewed Rudy while Rudy was in a federal

      prison in Pennsylvania. Agent Ebersole obtained a statement from Rudy about what happened the




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      night of September 30, 1992, and about appellant’s involvement in                 murder.

             On cross-examination of both Rudy and Agent Ebersole, defense counsel highlighted

      inconsistencies between Rudy’s trial testimony and the statement he gave to Agent Ebersole while

      imprisoned. Rudy omitted from his story to Agent Ebersole any reference to him defecating while

              was being killed. Rudy told Agent Ebersole that he was familiar with the Baytown area

      because he had sold drugs there prior to September 30, 1992, but Rudy denied this at trial. Rudy told

      Agent Ebersole that Roger took             to the rear of the driver’s side of the car and that is where

      he killed him while appellant stood near the front of the car, but this did not exactly comport with

      Rudy’s trial testimony.

             While Rudy testified at trial that appellant threatened him and ordered him not to tell anyone

      what the three of them did to            Agent Ebersole’s notes reflected that the three merely made

      a pact to keep their secret. Additionally, Rudy’s recollection of how long appellant and Roger were

      in Diana and Arturo’s apartment and how many tires blew out on their car once they left Baytown

      was inconsistent with the recollection given to Agent Ebersole.

             During their investigation into            kidnapping, local police officials learned that Diana

      and Arturo had rented an apartment in Humble for appellant and his wife. When HPD officers went

      to that apartment to look for appellant on October 5, 1992, they found it vacated. Additionally,

      officers learned that, prior to it being vacated, the apartment had been occupied by two “black-

      Hispanic males” and one light-skinned Hispanic female.

             One of the men who had occupied the Humble apartment had been seen wearing a shirt from

      Rendon’s Garage with the name Luis on it. Upon learning this, officers went to Rendon’s Garage

      where they met with Juanita Rendon, the wife of the owner, Rogelio Rendon. Rogelio was initially




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      unavailable to speak with officers. Officer Hernandez returned to the garage and observed Rogelio

      driving up in a blue Thunderbird. Rogelio was accompanied by a man who identified himself as

      Candido Lebron. While Officer Hernandez was speaking with Rogelio, Angelita and Rudy came

      to the garage to claim the blue Thunderbird.

             The next day, on October 6, HPD received a tip that a Hispanic male was seen at the Humble

      apartment. HPD officers returned to the apartment, knocked on the door, and were met by an

      individual who again identified himself as Candido Lebron. They later learned his true name was

      Rogelio Aviles (also known as “Roger,” the third adult male with appellant and Rudy on the night

      of September 30, 1992). HPD officers continued to look for appellant in Houston and surrounding

      cities but were unable to locate him.

             FBI Agent Eric Johnson testified that he became involved in the current case in 1992 because

      it involved the kidnapping of a child under the age of twelve. The FBI worked in conjunction with

      local authorities in an attempt to locate           Appellant was a suspect early on in the FBI’s

      investigation. During his investigation, Agent Johnson learned that on October 8, 1992, appellant

      was set to appear in a Harris County district court on an unrelated felony drug case.

             Agent Johnson testified from court documents that reflected that appellant was scheduled to

      appear in court on October 8, 1992, that appellant failed to appear in court on that date, and that his

      bond was subsequently forfeited for this failure to appear.

             On the afternoon of November 4, 1992, a fisherman walking the banks of Goose Creek in

      Baytown discovered              body. Because of a cold front that had blown through the area, eight

      to ten feet of beach that was normally submerged was exposed; this is where                 body was

      found. Baytown Police Corporal Randy Rhodes was dispatched to the waterway.




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             Upon arriving, he observed the skeletal remains of a small child on the sandy part of the

      beach. The skeleton was mostly intact, but the skull had disconnected from the torso, and some rib

      bones and vertebrae had been disturbed. From the same area, officers also recovered a pair of shorts

      with a Batman logo and a t-shirt. Diana testified that          had been wearing Batman pajamas on

      the night he was kidnapped.

             An autopsy was performed on                 remains in 1992 by Dr. Vladimir Parungao. Dr.

      Parungao was no longer employed by the Harris County Institute of Forensic Sciences at the time

      of trial, so Harris County Deputy Chief Medical Examiner, Dr. Dwayne Wolf, testified at trial. After

      reviewing photographs and                autopsy report, Dr. Wolf testified that          manner of

      death was homicide and that his body appeared in a state that was consistent with it having been

      submerged for several weeks. The fact that               was abducted, that his body was found in an

      advanced state of decomposition, and that his body was found many miles from his home all

      contributed to Dr. Wolf’s opinion that           was murdered.

             Dr. Wolf also examined the clothing found near               body and testified that any blood

      that may have been on the clothing would have washed away after the clothing was submerged in

      water. On cross-examination, Dr. Wolf confirmed that he did not find any injuries to any of

                 bones and that he could not rule out drowning as a cause of death.

             DNA evidence was also presented at trial. Sergeant Eric Mehl worked in the cold case

      division of HPD in 2007 when this case was reopened. As part of his investigation, Sergeant Mehl

      submitted several pieces of evidence to a private forensics lab called Orchid Cellmark4 for DNA

      testing. Sergeant Mehl sent the cigar that was collected from the crime scene, Diana’s sexual assault


             4
                 Orchid Cellmark was called “Cellmark Forensics” at the time of trial.



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      kit, and a cutting from the pair of panties Diana was wearing the night of her sexual assault. The

      cutting from Diana’s panties was a cutting from the crotch area. From that cutting, Orchid Cellmark

      cut away a small piece on which they performed their testing. Orchid Cellmark developed an

      unidentified male DNA profile from these pieces of evidence.

             Matt Quartaro, a supervisor of forensics at Orchid Cellmark, testified about the DNA testing

      his lab performed after it received evidence from Sergeant Mehl. After testing the cigar, Orchid

      Cellmark was able to generate a full DNA profile of an unknown male. This profile was compared

      to the profiles of Diana and Arturo, but it did not match either of them.

             Orchid Cellmark also tested vaginal swabs from the sexual assault kit. The vaginal swabs

      contained a mixture of epithelial cells and sperm cells. The epithelial cells belonged to Diana, and

      the sperm cells belonged to more than one male individual. Arturo could not be excluded as a

      contributor to the sperm-cell fraction from the vaginal swab. Additionally, the unknown male whose

      DNA was found on the cigar could not be excluded as a contributor to the sperm-cell fraction from

      the vaginal swab.

             When Orchid Cellmark tested the portion of the panties they had received, they once again

      found Diana’s epithelial cells and a sperm-cell fraction with more than one contributor. The

      unknown male from the cigar DNA sample could not be excluded as a major contributor to the

      sperm sample in the panties. Additionally, Arturo could not be excluded as a contributor to that

      sperm sample.

             Later, in December 2007, Orchid Cellmark received DNA samples from Roger, Charlie,

      Leonardo German, and Rudy to compare to the DNA profiles they had obtained from the cigar,

      sexual assault kit, and panties. Roger, Charlie, and Leonardo were all excluded as contributors to




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      any of the DNA evidence found on the cigar, sexual assault kit, and panties.

             The first sample received from Rudy was not sufficient to compare to the DNA profiles

      Orchid Cellmark had obtained. In June of 2011, Orchid Cellmark received a second DNA sample

      from Rudy and at that time was able to exclude him as a contributor to any of the DNA on the

      evidence that Orchid Cellmark tested.

             In early 2008, Sergeant Mehl learned that appellant was in Puerto Rico. Sergeant Mehl,

      working in conjunction with the FBI in Puerto Rico, obtained a DNA sample from appellant on May

      23, 2008. He then sent that DNA sample to Orchid Cellmark. On May 28, 2008, Orchid Cellmark

      received a sample of appellant’s DNA. The sample arrived in a sealed envelope with appellant’s

      name written on it.

             Appellant’s DNA matched the profile that had been obtained from the cigar found in Diana

      and Arturo’s apartment in September of 1992. Additionally, appellant’s DNA could not be excluded

      as a contributor to the unknown male profile found on the vaginal swabs from Diana’s sexual assault

      kit. Lastly, appellant’s DNA matched the unknown male profile that was the major contributor to

      the DNA in the sperm-cell fraction from Diana’s panties.

             Quartaro also discussed the quality-control procedures in place at Orchid Cellmark to prevent

      contamination of the evidence they receive and the profiles they obtain. Quartaro acknowledged that

      Orchid Cellmark cannot implement or monitor quality-control procedures at other labs. But on

      redirect, Quartaro testified that none of the evidence that he received appeared to be contaminated.

      All the evidence appeared to be in good condition; it was packaged separately to prevent cross-

      contamination, and all containers were sealed. Quartaro also testified that it would be impossible

      to contaminate a sample in such a way that appellant’s DNA would appear on that sample unless the




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      contaminator had some of appellant’s DNA.

              Moreover, Quartaro testified that cross-contamination between the cigar and the sexual

      assault kit or panties was not possible because appellant’s epithelial cells were found on the cigar,

      while appellant’s sperm cells were found on the swabs from the sexual assault kit and the panties.

      Additionally, no epithelial cells belonging to appellant were found in the samples from the sexual

      assault kit or panties.

              The Houston Police Department Crime Lab was also involved in DNA analysis in the instant

      case. Courtney Head, an analyst from the crime lab, testified that in February 2010 she received a

      known DNA sample from appellant. This sample was collected separately from the sample collected

      and sent to Orchid Cellmark in 2008. From this sample, Head performed her own DNA extraction

      to create a DNA profile. She then compared that profile to the profiles obtained by Orchid Cellmark

      from the cigar, the sexual assault kit, and the panties.

              Appellant could not be excluded as a contributor to the male DNA profile found on the cigar

      and the vaginal swabs from the sexual assault kit. Additionally, appellant could not be excluded as

      the major contributor to a male DNA profile in the sperm-cell fraction obtained from Diana’s

      panties. Head testified that, to a reasonable degree of scientific certainty, appellant was the source

      of the DNA profile on the cigar and the panties.

              Pursuant to his cold case investigation, Sergeant Mehl interviewed Diana, Arturo, Linda

      Hernandez, and Angelita Rodriguez. A Spanish-speaking officer interviewed Rudy. Sergeant Mehl

      attempted to locate Charlie for an interview but was unable to find him. At the conclusion of his

      investigation, Sergeant Mehl filed charges against appellant. Appellant was later tried and convicted

      of capital murder and sentenced to death.




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                                                    II. Guilt

      A. Sufficiency of the Evidence

             In his third point of error, appellant challenges the sufficiency of the evidence to support his

      conviction for capital murder. Appellant highlights the following areas in which he claims the

      evidence is insufficient: Rudy’s credibility and motive to testify, Diana’s and Arturo’s descriptions

      of their intruders, Diana’s and Arturo’s dishonesty about their drug dealing, Angelita’s potential

      ulterior motive to testify against appellant, whether a sexual assault or consensual sexual encounter

      occurred, the chain of custody for the forensic evidence, and             cause of death. We review

      these complaints specifically, in addition to reviewing the totality of the evidence supporting

      appellant’s conviction.

             This Court does not engage in a factual-sufficiency review. Instead, we engage only in the

      legal-sufficiency review enunciated in Jackson v. Virginia.5 In so doing, we review the entire record

      in the light most favorable to the verdict to determine whether any rational fact-finder could have

      found the elements of the offense beyond a reasonable doubt.6 If a rational fact-finder could have

      so found, the verdict will not be disturbed on appeal.7

             Here, appellant was convicted of capital murder, having intentionally or knowingly caused


             5
                Brooks v. State, 323 S.W.3d 893, 912 (Tex. Crim. App. 2010). See also Jackson v.
      Virginia, 443 U.S. 307, 318-19 (1979) (holding that the relevant inquiry for appellate courts
      reviewing the sufficiency of the evidence to support a conviction is “whether, after viewing the
      evidence in the light most favorable to the prosecution, any rational trier of fact could have found
      the essential elements of the crime beyond a reasonable doubt.” (emphasis in original)).
             6
                 Jackson, 443 U.S. at 319.
             7
                 See id. at 319 (upholding conviction where evidence was legally sufficient). See Temple
      v. State, 390 S.W.3d 341, 363 (Tex. Crim. App. 2013) (affirming judgment because evidence was
      legally sufficient to support a conviction).



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      the death of another during the course of committing a kidnapping.8 Circumstantial evidence is just

      as probative as direct evidence in establishing guilt.9 Every piece of circumstantial evidence need

      not point directly to appellant’s guilt.10 Instead, we examine the cumulative effect of all the evidence

      when determining whether such evidence is sufficient to sustain a conviction.11

              Further, we permit juries to draw reasonable inferences from the facts they are presented, so

      long as their inferences are supported by the evidence adduced at trial.12 After a thorough review of

      the record, we conclude that the evidence is sufficient to support appellant’s conviction.

      1. Appellant’s Specific Sufficiency Complaints

              The jury heard testimony from twenty witnesses, including Diana Garcia, Arturo Rodriguez,

      and Rudy. Although appellant attacks the credibility of these three witnesses in particular, all

      credibility determinations are solely within the province of the jury.13 The jury is the sole judge of

      credibility and of the weight to be attached to the testimony of witnesses.14

              The jury was free to believe Rudy’s account of September 30, 1992, at trial and disregard any

      inconsistencies with previously-made statements. Rudy’s testimony presented compelling evidence

      of appellant’s direct involvement in the kidnapping and killing of            Rudy’s testimony about

              8
                   See TEX . PENAL CODE § 19.03(a)(2).
             9
               Winfrey v. State, 393 S.W.3d 763, 771 (Tex. Crim. App. 2013); Hooper v. State, 214
      S.W.3d 9, 13 (Tex. Crim. App. 2007).
             10
                   Hooper, 214 S.W.3d at 13.
              11
                   Id.
              12
                   Temple, 390 S.W.3d at 360; Hooper, 214 S.W.3d at 15.
              13
                   Temple, 390 S.W.3d at 363.
              14
                   Id. at 360.



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      the events of September 30, 1992, was corroborated by Diana’s and Arturo’s accounts that two

      masked men entered their apartment and left with their child and by the location where

      body was discovered. Appellant also highlights the fact that Rudy was in federal prison when he was

      first approached by law enforcement officers during their cold case investigation into         death.

      This fact goes to Rudy’s credibility, a determination left to the jury.

             Additionally, the jury was free to find credible Diana’s and Arturo’s testimony, despite

      evidence of previous dishonesty or inconsistent testimony about the disclosure of their drug dealing.

      Diana testified that two masked men broke into her apartment, that one sexually assaulted her, and

      that when they left, her child was gone. Diana’s testimony was corroborated by Rudy’s testimony

      that appellant and Roger, while wearing masks, went to Diana and Arturo’s apartment to retrieve

      their drugs and money and left that apartment with

             Further, Diana’s claim that she was sexually assaulted on the night in question is

      corroborated by the DNA results from the evidence in her sexual assault kit. Diana testified that she

      and appellant had never had a consensual sexual relationship, yet appellant’s DNA was found in

      sperm from vaginal swabs obtained the night that Diana claims she was sexually assaulted.

             Appellant also complains that the evidence is insufficient to support his conviction because

      of the descriptions Diana and Arturo gave the police of their intruders. Diana, Arturo, and various

      police officers testified that Diana and Arturo both described their intruders as “black.” Appellant

      is not African-American and therefore contests the applicability of this description to him.

             At trial, however, numerous witnesses testified that Mexican Hispanics routinely use the

      descriptor “black” to describe dark-complexioned Hispanics who are not from Mexico. The jury was

      free to believe this explanation and could reasonably infer from the testimony they heard that Diana




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      and Arturo were describing dark-complexioned Hispanic males, not African-American males.

             Appellant also contests Angelita’s motive to testify and claims her testimony was

      untrustworthy. But Angelita’s credibility was for the jury alone to decide. Angelita testified that

      appellant was a drug dealer who sold drugs to Diana and Arturo. On October 1, 1992, the night after

              was abducted, appellant abruptly told Angelita he was moving back to Puerto Rico and

      expressed no concern over         s abduction, despite appellant’s friendship with Diana and Arturo.

      Angelita’s testimony as to appellant’s flight presented circumstantial evidence of appellant’s guilt,

      and the jury was free to believe that testimony and draw reasonable inferences regarding appellant’s

      guilt therefrom.

             Appellant complains that there was insufficient evidence of the chain of custody of the

      forensic evidence admitted by the State. Absent a showing of tampering, discrepancies in the chain

      of custody go to the weight to be given a piece of evidence, not its admissibility.15 The jury is the

      sole decider of the weight to be given a piece of evidence.

             Here, the jury heard testimony that the forensic evidence at issue was stored in sealed plastic

      bags. Quartaro testified that, when he received the evidence for testing, he observed no signs of

      tampering or contamination. The jury was free to lend credence to Quartaro’s examination of the

      evidence and the state it was in based on his training and experience and disregard implications from

      defense counsel that the evidence had been compromised.

             Lastly, appellant complains of insufficient evidence to support a determination that

      was murdered. But the jury heard evidence from Dr. Wolf, the Deputy Chief Medical Examiner in

      Harris County, that, based on all the circumstances surrounding the case, he believed           death


             15
                  Lagrone v. State, 942 S.W.2d 602, 617 (Tex. Crim. App. 1997).



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      to be a homicide. Dr. Wolf’s testimony, combined with the circumstances surrounding

      kidnapping and the discovery of his body, was sufficient for a rational juror to determine that

      had been murdered. The jury was free to believe Dr. Wolf’s testimony and disregard evidence to the

      contrary.

              Appellant also alludes to an argument that there was insufficient evidence for a fact-finder

      to determine           came to his death “as alleged in the indictment.” But here, the State alleged

      two separate manner and means for how              died: first, that        was stabbed to death, and

      second, that           died by unknown means. Rudy’s testimony provided sufficient evidence, if

      believed, that          was stabbed to death. Dr. Wolf’s testimony provided sufficient evidence, if

      believed, that at the very least,       was murdered, even if the particular manner and means were

      unknown.

              It was within the purview of the jury to lend credence to the testimony of Rudy and Dr. Wolf

      about how           died. Viewing the evidence in the light most favorable to the verdict, there was

      sufficient evidence to support the jury’s verdict that            died at the behest of appellant, in a

      manner alleged in the indictment.

      2. Other Evidence Supporting Appellant’s Conviction

              Beyond appellant’s specific sufficiency complaints, we hold that there is sufficient evidence

      in the record for a rational trier of fact to find every element of capital murder beyond a reasonable

      doubt. Appellant knew Diana and Arturo through his drug business. When Diana and Arturo

      withdrew from appellant’s drug business, appellant became upset with them. Shortly thereafter, two

      dark-complexioned males broke into Diana and Arturo’s apartment on the night of September 30,

      1992, and assaulted Arturo and sexually assaulted Diana. A sexual assault examination was




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      performed on Diana that very night and a sexual assault kit was created with the biological material

      collected. Subsequent DNA testing revealed that that evidence contained sperm from appellant.

             Rudy testified that he saw appellant carry         from Diana and Arturo’s apartment to their

      car on the night of September 30, 1992. Appellant then drove to a remote area of Baytown where

      he ordered Roger to kill         Rudy saw            body lifeless and covered in blood immediately

      after this order and helped Roger dispose of the body in a nearby waterway while appellant looked

      on.

             One day later, on October 1, 1992, appellant told his wife, Angelita, that he was leaving

      Houston to return to Puerto Rico. Angelita testified that this trip was sudden and unplanned.

      Appellant cleaned out the interior of the car he had been driving on September 30, sold the car, and

      used the proceeds to purchase a plane ticket to Puerto Rico. The next time Angelita saw appellant

      was in the Dominican Republic, when he confessed to her that he had killed

             Appellant was scheduled to appear in a Harris County district court on October 8, 1992, on

      a pending drug case. Appellant failed to appear on that date and subsequently forfeited his bond.

      Appellant had been present at every court setting prior to the October 8 setting. In November 1992,

                body was found in a waterway in Baytown, and Rudy testified that he and Roger had left

                body in a Baytown waterway a month prior. We conclude that the evidence is sufficient

      to support appellant’s conviction for capital murder. Appellant’s third point of error is overruled.

      B. Motion to Suppress

             In his first point of error, appellant contends that the trial court denied him due process when

      it denied his motion to suppress DNA and other forensic evidence that had been stored by the “old”

      Houston Police Department Crime Lab (“old HPD crime lab”). We review a trial court’s ruling on




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      a motion to suppress under a bifurcated standard of review.16 We afford almost total deference to

      the trial court’s determination of historical facts and mixed questions of law and fact that turn on the

      evaluation of credibility and demeanor.17 Questions of law and mixed questions of law and fact not

      turning on credibility are reviewed de novo.18 We will not disturb the trial court’s ruling if it is

      supported by the record and correct under any theory of law applicable to the case.19

              At the hearing on appellant’s motion to suppress, appellant argued against the admission of

      forensic evidence that had been stored by the old HPD crime lab. Specifically, the pieces of

      evidence to which appellant objected were (1) a cigar found at the crime scene, (2) a sexual assault

      kit performed on Diana Garcia on the morning after               was kidnapped, and (3) a cutting from

      the pair of panties Diana wore the night of the instant offense.

              Appellant also argued against the admission of results from DNA testing performed on the

      cigar, sexual assault kit, and panties, despite the fact that the proffered test results were not generated

      by the old HPD crime lab. In support of his motion, appellant argued that the mere fact that the

      forensic evidence at issue had been stored by HPD, and subsequent to that storage the old HPD crime

      lab was shut down because of quality-control problems, provided sufficient indicia that the evidence

      had been contaminated and was therefore untrustworthy to put before a jury.

              The State countered with testimony from three witnesses. First, Eric Mehl, a retired police

      sergeant, testified that he had worked on appellant’s case as a member of the cold case squad in the


              16
                   Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997).
              17
                   Id.
              18
                   Id.
              19
                   State v. Ross, 32 S.W.3d 853, 855-56. (Tex. Crim. App. 2000).



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      homicide division of the Houston Police Department. Pursuant to that role, in October 2007,

      Sergeant Mehl obtained the cigar and sexual assault kit that had been collected as evidence in 1992.

      At the time it was retrieved, the cigar was being stored in the HPD property room on Goliad Street.

      The sexual assault kit was being stored in the property room annex on the 24th floor on Travis Street.

      Both the cigar and the sexual assault kit were sealed in separate plastic bags. Sergeant Mehl testified

      that both pieces of evidence appeared to be in good condition and neither appeared to have been

      damaged.

             On October 2, 2007, Sergeant Mehl shipped the cigar and sexual assault kit to Orchid

      Cellmark, a private forensics lab that contracted with HPD, for testing. Subsequently, Sergeant Mehl

      obtained the cutting of the crotch from the panties that had belonged to Diana, a biological sample

      from Diana, and a biological sample from Arturo, that had all been stored in the crime lab. Each

      piece of evidence was stored separately in its own sealed plastic bag. Additionally, Sergeant Mehl

      obtained stored blood samples of various known associates of appellant.

             On May 23, 2008, Sergeant Mehl received a sample of appellant’s DNA after Mehl’s

      colleague, Sergeant Stephens, informed Mehl that appellant was in custody in Puerto Rico. An FBI

      agent in Puerto Rico obtained appellant’s DNA sample and sent that sample to Sergeant Mehl.

      Sergeant Mehl did not open the package containing appellant’s DNA sample but instead repackaged

      it and shipped it to Orchid Cellmark for comparison with the evidence already in its possession.20

             At the time Sergeant Mehl sent appellant’s DNA sample to Orchid Cellmark, Orchid


             20
                 While the record is clear that Sergeant Mehl sent the cigar and sexual assault kit to Orchid
      Cellmark on October 2, 2007, the record is unclear as to when Sergeant Mehl sent the panties and
      the known DNA samples from Diana, Arturo, and appellant’s associates. Sergeant Mehl testified
      only that, by the time he obtained appellant’s DNA sample from Puerto Rico (May 23, 2008), he had
      already sent “all of the original evidence that might contain biological material” to Orchid Cellmark.



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      Cellmark already had all the original evidence that potentially contained biological material. Later,

      Sergeant Mehl received the results of Orchid Cellmark’s testing and comparison. After learning of

      Orchid Cellmark’s results, Sergeant Mehl arrested appellant for capital murder.

             Second, the State called Matt Quartaro, a supervisor at Orchid Cellmark. Quartaro testified

      to his qualifications and to the procedures he employs when he analyzes DNA evidence. Orchid

      Cellmark received evidence connected to appellant’s case on October 3, 2007. The evidence arrived

      in a sealed box. Within the box were several manilla envelopes and within those envelopes were

      sealed plastic bags, each containing an individual piece of evidence. Quartaro testified that nothing

      appeared to have been tampered with or contaminated.

             Ultimately, Orchid Cellmark took possession of the cigar, the sexual assault kit, Diana’s

      panties, DNA extractions that had already been performed on several pieces of evidence, and the

      known DNA samples from                 family and appellant’s associates. Instead of relying on the

      existing DNA extractions it received, that were generated by the old HPD crime lab, Orchid

      Cellmark performed its own DNA extractions and analyses on the panties, the cigar, and the vaginal

      swabs from the sexual assault kit.

             An unknown male DNA profile was found on the cigar. That DNA profile could not be

      excluded as a contributor to an unknown male DNA profile from sperm found on a vaginal swab in

      the sexual assault kit. Additionally, an unknown male DNA profile was discovered on the panties

      that was consistent with the unknown male DNA profile found on the cigar and the vaginal swab.

             The DNA on the cigar was single-source; only one individual’s DNA was present. The

      vaginal swab contained Diana’s epithelial cells, Arturo’s DNA in the form of sperm cells, and an

      unknown male contributor’s DNA, also in the form of sperm cells. This unknown male profile




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      matched the profile obtained from the cigar. Diana’s epithelial cells were also found on her panties

      along with sperm from two contributors. The major contributor to the sperm-cell fraction in the

      panties matched the unknown male DNA profile found on the cigar. Arturo, Diana’s husband, could

      not be excluded as the minor contributor to the sperm-cell fraction in the panties.

             On May 28, 2008, Orchid Cellmark received a sample of appellant’s DNA. From that

      sample, it obtained a full DNA profile for appellant, which matched the DNA profile found on the

      cigar and the major contributor profile obtained from the sperm-cell fraction of the panties.

      Appellant could not be excluded as a contributor to the sperm-cell fraction from the vaginal swabs

      in the sexual assault kit. Orchid Cellmark eliminated as contributors all of appellant’s associates for

      whom they had known DNA samples.

             On the topic of contamination, Quartaro testified that without a sample of appellant’s DNA

      in the crime lab where the evidence at issue was stored, it would be difficult to contaminate the

      evidence with appellant’s DNA. Put another way, it is highly unlikely under existing circumstances

      that appellant’s DNA would appear on the evidence at issue if he did not put it there himself.

      Quartaro also quelled fears regarding cross-contamination between the cigar and the panties or

      sexual assault kit because the cells containing appellant’s DNA on the cigar were saliva and skin

      cells, while the cells on the panties and vaginal swabs were sperm cells.

             Finally, Quartaro noted that contamination from excess moisture, heat, or other

      environmental factors would manifest itself as a degradation of the biological sample found on a

      particular piece of evidence. Such contamination would not result in the manifestation of an

      otherwise-absent DNA profile.

             Third, the State called Courtney Head, a criminalist specialist with the “new” Houston Police




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      Department crime lab (“new HPD crime lab”).21 Head testified to her qualifications as a DNA

      analyst and then testified about the involvement of Genetic Design Lab in the instant case. Genetic

      Design Lab is an independent, California-based lab that received DNA extractions from evidence

      in appellant’s case in the 1990s. Head testified that her notes indicated that in 1992 the old HPD

      crime lab extracted DNA from evidentiary samples and sent those extractions to Genetic Design Lab

      for testing. There is no indication that any pieces of actual evidence, as opposed to mere extractions,

      were sent to Genetic Design Lab.

             Head also testified to analyses she performed at the new HPD crime lab. After receiving a

      buccal swab from appellant, Head extracted appellant’s DNA and obtained his DNA profile. Head

      then compared that profile to the profiles that had been generated by Orchid Cellmark from the cigar,

      the panties, and the vaginal swab. According to Head’s tests, appellant could not be excluded as the

      contributor to the DNA on the cigar, appellant could not be excluded as the contributor to the major

      DNA profile on the panties, and appellant could not be excluded as a contributor to the DNA found

      on the vaginal swab in the sexual assault kit.

             Appellant cross-examined all three of the State’s witnesses, focusing on the time each piece

      of evidence spent at the old HPD crime lab. Appellant also emphasized the fact that some of the

      evidence at issue had even been tested by the old HPD crime lab when it first reached the lab in

      1992, including one of the vaginal swabs from the sexual assault kit. Appellant argued to the trial

      court that the evidence was contaminated as a result of the time it spent at the old HPD crime lab.

             Absent evidence of tampering, allegations or questions regarding the care and custody of a




             21
                  Some years after the closure of the old HPD Crime Lab, HPD opened a new crime lab.



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      piece of evidence go to the weight to be given that evidence, not its admissibility.22 Here, the only

      evidence appellant put forth regarding contamination of the evidence is the fact that it was stored by

      the old HPD crime lab. Although appellant offered evidence challenging the reliability of the old

      HPD crime lab as a whole, he offered no evidence that the particular evidence at issue in the instant

      case had been tampered with or contaminated. In response to appellant’s claims, the State

      introduced testimony to support the reliability of the evidence at issue.

              The trial court made oral findings of fact on the record.23 The court found Mehl, Quartaro,

      and Head to be credible witnesses, qualified to testify in their areas of expertise. The trial court then

      recited findings of fact adopting the testimony of the State’s witnesses as it is summarized above.

      The court explicitly found that there was no indication that any of the evidence at issue in appellant’s

      case had been contaminated or mishandled during the time it was stored by the old HPD crime lab.

              Ultimately, the court ruled the cigar, sexual assault kit, and panties admissible as reliable and

      relevant evidence. The court determined that the results of the DNA tests performed by Orchid

      Cellmark on the cigar, sexual assault kit, and panties were also admissible as reliable and relevant

      evidence. Lastly, the court ruled that the DNA comparison performed by Head at the new HPD

      crime lab was admissible.

              The record supports the trial court’s conclusion that the DNA evidence was reliable. The

      trial court heard evidence about how and where each piece of evidence at issue was stored. Quartaro

      and Sergeant Mehl both testified that the evidence appeared to have been stored appropriately,


              22
                   Lagrone, 942 S.W.2d at 617.
              23
                 See State v. Cullen, 195 S.W.3d 696, 699 (Tex. Crim. App. 2006) (stating that findings
      of fact rendered after a ruling on a motion to suppress can be in written form or stated orally on the
      record).



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      separated and sealed in individual containers. Additionally, the trial court found that the locations

      where the evidence in this case was stored were not the locations described as being deficient in any

      of the reports critical of the old HPD crime lab.

              The record also supports the trial court’s conclusion that the DNA evidence was relevant.

      Evidence is relevant if it makes any fact of consequence more or less probable than it would be

      without the evidence.24 Here, the DNA evidence makes appellant’s presence at Diana and Arturo’s

      apartment the night           was kidnapped more probable.

              Because we defer to the trial court’s factual determinations so long as those determinations

      are supported by the record, we will not disturb the trial court’s findings on appeal. The trial court

      did not abuse its discretion in admitting the forensic evidence, and appellant’s due process rights

      have not been violated. Appellant’s first point of error is overruled.

              In his second point of error, appellant contends that the trial court erred when it limited his

      ability to present a defense by excluding evidence critical of the old HPD crime lab and limiting his

      cross-examination of witnesses with respect to testimony critical of the old HPD crime lab. We will

      address each complaint in turn.

              Although defense exhibits 2-9 were offered into evidence at the motion-to-suppress hearing,

      they were not the subject of the defense’s motion to suppress. Instead, they were offered in support

      of the defense’s motion to suppress, and the trial court included a ruling on their admissibility at trial

      in its findings of fact. Because the trial court’s ruling on defense exhibits 2-9 was an evidentiary

      ruling, separate from its ruling on the defense’s motion to suppress the State’s evidence, we review


              24
                 TEX . R. EVID . 401 (West 2014). We cite to the version of the Rules of Evidence that was
      in effect at the time of appellant’s trial. Although the Rules of Evidence have been amended,
      effective April 1, 2015, we note no substantive changes to the rules pertinent to this case.



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      the denial of exhibits 2-9 for an abuse of discretion only.25

             First, appellant complains of the trial court’s exclusion of defense exhibits 2-9 as a violation

      of his right to compel the attendance of witnesses in his favor and a limitation on his ability to

      present a defense. Absent an abuse of discretion, a trial court’s evidentiary ruling will not be

      disturbed on appeal.26 A trial court abuses its discretion only if its ruling lies outside the zone of

      reasonable disagreement.27

             Defense exhibits 2-9 were offered at the hearing on the motion to suppress the State’s DNA

      evidence. At that hearing, the trial court ruled that defense exhibits 2-9 were inadmissible at trial.

      Defense exhibits 2-7 consisted of a report termed the “Bromwich Report.” The Bromwich Report

      was initiated in response to the closure of the old HPD crime lab in 2003 and heavily criticized the

      lab in the areas of quality assurance, internal auditing, training, and standard operating procedure.

             The trial court determined that nothing in the Bromwich Report related to the specific

      evidence being offered by the State and, as such, was irrelevant under Rule 401 and inadmissible

      under Rule 402. Alternatively, the court held that, even if some portions were relevant, the probative

      value substantially outweighed the danger of unfair prejudice, confusion of the issues, and the

      misleading of the jury under Rule 403.

             Defense exhibits 8 and 9 consisted of misconduct reports and criminal histories for three

      former HPD crime lab employees, J. Chu, B. Sharma, and D. Wallace, who dealt with the forensic


             25
                Weatherred v. State, 15 S.W.3d 540, 542 (Tex. Crim. App. 2000) (“An appellate court
      reviewing a trial court’s ruling on the admissibility of evidence must utilize an abuse-of-discretion
      standard of review.”); Prystash v. State, 3 S.W.3d 522, 527 (Tex. Crim. App. 1999).
             26
                  Weatherred, 15 S.W.3d at 542.
             27
                  Id.



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      evidence offered by the State when it was first collected and sent to HPD in 1992. None of these

      employees were called to testify in appellant’s trial. Additionally, none of the results of tests

      performed by any old HPD crime lab employees were offered into evidence. That being true, the

      trial court determined that evidence concerning any misconduct on the part of Chu, Sharma, or

      Wallace was irrelevant under Rule 401 and inadmissible under Rules 402, 403, 404, 608, and 609.

              Evidence is relevant only if it tends to make a fact of consequence more or less probable than

      it would be without the evidence.28 Based on the fact that none of the old HPD crime lab employees

      were called to testify for the State, coupled with the fact that results from the tests each performed

      were not offered into evidence, it was not outside the zone of reasonable disagreement to determine

      that evidence regarding these witnesses was irrelevant. Additionally, because these exhibits did not

      comprise the entire substance of appellant’s defense, we cannot say that their exclusion prevented

      him from presenting a defense.29 Finding support in the record for the trial court’s ruling, we hold

      that the trial court did not abuse its discretion in refusing to admit defense exhibits 2-9.

              Appellant also complains in his second point of error that the trial court erred when it limited

      his cross-examination as it related to the State’s DNA evidence and the old HPD crime lab.

      Specifically, appellant complains that his cross-examination of Sergeant Mehl, FBI Agent Griselle

      Guzman, Matt Quartaro, and Courtney Head was impermissibly limited. Appellant’s claim in this

      Court is grounded in the Confrontation Clause of the Sixth Amendment. As a threshold matter, the

      State asserts that appellant has not preserved a confrontation objection for review. A party must

      object in the trial court, and obtain a ruling on his objection, before he can present his complaint for


             28
                   TEX . R. EVID . 401 (West 2014).
              29
                   See infra Part III.A.



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                                                                                     CRUZ-GARCIA–29

      appellate review.30 Because appellant did not object in the trial court on Confrontation Clause

      grounds, he has not preserved that claim for review in this Court.

             At the hearing on the motion to suppress, the trial court ruled that appellant would not be

      permitted to go into the Bromwich Report, the closure of the old HPD crime lab, the reasons for that

      closure, or the misconduct of former HPD crime lab employees who were not going to testify. The

      trial court explicitly stated it would allow cross-examination on the issues of where the evidence was

      stored, whether those locations were proper, to whom the evidence was taken, and whether the

      storage conditions were proper for reducing or preventing contamination.

             At trial, on direct examination, Sergeant Mehl testified that law enforcement officers did not

      consider the presence of DNA as evidence when they investigated crimes in 1992, the year of the

      instant offense. In order to correct the impression that DNA evidence and analysis was not utilized

      by law enforcement in 1992, the trial court permitted appellant to cross-examine Sergeant Mehl on

      the fact that the existence of DNA testing was known by police agencies in 1992 and that some of

      the evidence relevant to the case at bar had been submitted to the old HPD crime lab for DNA

      analysis.

             Prior to beginning his cross-examination, defense counsel attempted to re-urge his objection

      to the trial court’s ruling at the hearing on his motion to suppress limiting his cross-examination on

      the topics of the Bromwich Report and the old HPD crime lab’s closure. Specifically, defense

      counsel stated:

             [Defense counsel]: Yes, Your Honor. You know I want to go into all that other stuff?

             [The court]: I understand that.


             30
                  TEX . R. APP . P. 33.1.



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              [Defense counsel]: Just so my record is clear, I’m not withdrawing my attempt to go
              into it. I’m just–

              [The court]: I’m not allowing you to go into the other stuff. Genetic Design, any of
              the HPD crime lab studies or anything that’s contained in that study or anything
              about its closure. Okay?

              [Defense counsel]: Yes ma’am.

              Appellant’s objection does not in fact make his record clear. “[T]o preserve an issue for

      appeal, a timely objection must be made that states the specific ground for the objection, if the

      specific ground is not apparent from the context.”31 An objection must be sufficiently specific to tell

      the trial court what a party wants and why he feels himself entitled to it. The trial colloquy excerpted

      above does not specifically indicate the legal basis for appellant’s objection to the trial court’s

      limitation on his cross-examination. Indeed, appellant specifies no grounds for his objection.

              Even without a specific objection, error may be preserved if the grounds for the objection are

      apparent from its context, such that context can save an otherwise ambiguous objection.32 But even

      when the above exchange is read in the context of the motion to suppress, we cannot discern a

      Confrontation Clause objection. In his written motion to suppress, appellant contests the admission

      of the State’s forensic evidence and related testimony on Fourth Amendment grounds. Then, at the

      hearing on the motion to suppress, where the trial court first ruled on the extent of appellant’s cross-

      examination, the focus was on the relevance of the testimony sought to be elicited, not on the

      Confrontation Clause.      Because appellant did not specifically state he was objecting on



             31
                   Buchanan v. State, 207 S.W.3d 772, 775 (Tex. Crim. App. 2006).
              32
                  Id. See Layton v. State, 280 S.W.3d 235, 240 (Tex. Crim. App. 2009) (holding that the
      circumstances surrounding the defendant’s objection and the trial court’s ruling made it clear that
      the trial court was aware of the basis of the defendant’s objection).



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      Confrontation Clause grounds at the hearing on the motion to suppress or at trial, an objection on

      that basis with regard to Sergeant Mehl’s cross-examination is not preserved for our review.33

                Second, appellant complains that his cross-examination of FBI Agent Griselle Guzman was

      erroneously limited. During the State’s direct examination of Agent Guzman, the State introduced

      two buccal swabs taken from appellant. In response to the State’s offer, appellant informed the court

      that the swabs were covered by his motion to suppress and indicated that he had no “further

      objections.” When given the opportunity to cross-examine Agent Guzman, appellant declined, and

      Guzman was released. Appellant lodged no Confrontation Clause objection to the trial court’s

      limitation on his cross-examination at trial or during the hearing on his motion to suppress, so his

      Confrontation Clause claim as it relates to the cross-examination of Agent Guzman is not preserved

      for our review.

                Third, appellant complains that his cross-examination of Matt Quartaro was limited. During

      the State’s direct examination of Quartaro, it offered the cigar, sexual assault kit, and panties into

      evidence. Appellant objected to the admission of this evidence on chain of custody grounds. The

      trial court overruled appellant’s objection and at the same time reiterated its limitation on appellant’s

      cross-examination to questions about apparent contamination or degradation. At no point did

      appellant object on the basis of the Confrontation Clause. Appellant made no Confrontation Clause

      objection during the hearing on his motion to suppress either. Again, because appellant did not

      specifically state an objection based on the Confrontation Clause, this claim is not preserved for our

      review.



                33
                Cf. Wright v. State, 28 S.W.3d 526, 536 (Tex. Crim. App. 2000) (holding that a hearsay
      objection does not preserve a Confrontation Clause objection for appellate review).



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             Lastly, appellant complains of the limitations placed on his cross-examination of Courtney

      Head. During Head’s direct examination the State offered several items into evidence. Each time

      appellant said, “No additional objections,” and the State’s evidence was admitted. During his cross-

      examination, defense counsel approached the trial court and asked to expand the scope of his cross-

      examination to include quality-control issues at the old HPD crime lab. The following colloquy

      ensued:

             [Defense counsel]: I’m thinking, if you’ll allow me to go into the quality control that
             existed on other things when they were ran by the crime lab because of what–she
             didn’t work there, number one. And, number two, the old crime lab–I want to do
             that, but I don’t want to do it if you’ve told me not to.

             [The court]: Do not go into that.

             [Defense counsel]: Okay.

      Nothing further was said on the subject, and Head was released. Appellant lodged no Confrontation

      Clause objection to the trial court’s limitation of his cross-examination of Head at trial or at the

      hearing on his motion to suppress. Accordingly, his Confrontation Clause claim has not been

      preserved for our review.

             An appellant forfeits his confrontation complaint if he fails to object at trial.34 In this case,

      appellant never objected on the basis of the Confrontation Clause at trial or during his pretrial

      motion-to-suppress hearing.     We have previously emphasized the importance of specifying



             34
                 Briggs v. State, 789 S.W.2d 918, 924 (Tex. Crim. App. 1990) (“We hold that in failing
      to object at trial, appellant waived any claim that admission of the videotape violated his rights to
      confrontation and due process/due course of law.”); Fuller v. State, 253 S.W.3d 220, 232 (Tex.
      Crim. App. 2008) (“[A]lmost all error–even constitutional error–may be forfeited if the appellant
      failed to object. We have consistently held that the failure to object in a timely manner during trial
      forfeits complaints about the admissibility of evidence. This is true even though the error may
      concern a constitutional right of the defendant.”).



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      constitutional bases for objections because of the stricter harm analysis performed on appeal.35

      Because appellant failed to lodge a Confrontation Clause objection in the trial court, this claim has

      not been preserved and we do not reach the merits of appellant’s Confrontation Clause complaint

      as it relates to the limitations placed on his cross-examination. Appellant’s second point of error is

      overruled.

      C. Extraneous Offense Evidence

             In his fourth and fifth points of error, appellant complains that the trial court erred when it

      admitted evidence of an extraneous offense. Appellant’s objection is two-fold: the actual extraneous

      offense appellant complains of is a drug charge, unrelated to the capital murder, but his objection

      encompasses the admission of the fact of the drug charge along with the admission of the fact of his

      subsequent bond forfeiture on that charge when he failed to appear at a scheduled court date.

             We note at the outset that the trial court did not admit any evidence as to the character of the

      underlying offense for which appellant was on bond. Instead, the trial court limited the evidence to

      the mere fact that appellant forfeited a bond by failing to appear on an unrelated criminal offense.

      Therefore, our analysis will address only the admission of evidence of appellant’s bond forfeiture

      and flight as shown by appellant’s failure to appear in an unrelated, unnamed criminal case.

             In his fourth point of error, appellant contends this evidence was inadmissible under Rule

      404(b). In his fifth point of error, appellant contends the evidence was inadmissible under Rule 403.

      Because our analysis is the same for both complaints, we will address them together.36 We review




             35
                   Clark v. State, 365 S.W.3d 333, 340 (Tex. Crim. App. 2012).
             36
                   Montgomery v. State, 810 S.W.2d 372, 391 (Tex. Crim. App. 1991) (op. on reh’g).



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      a trial court’s evidentiary ruling for an abuse of discretion.37 We will affirm an evidentiary ruling

      unless it lies outside the zone of reasonable disagreement.38

                During trial, the State sought to introduce evidence that appellant failed to appear at a

      scheduled court date on an unrelated drug charge approximately one week after the instant offense

      occurred. Through FBI Agent Eric Johnson, the State attempted to introduce testimony that, at the

      time of              kidnapping, appellant had a pending felony drug case in Harris County for which

      he had posted a bond, that appellant forfeited that bond when he failed to appear for a scheduled

      court date, and that, subsequent to his failure to appear, a federal warrant for unlawful flight to avoid

      prosecution was issued.

                Appellant objected to the admission of Agent Johnson’s testimony on Rule 404(b), Rule 403,

      and hearsay grounds. Ultimately, the trial court allowed Agent Johnson to testify to the fact that

      appellant had a pending criminal case in Harris County at the time of the commission of the instant

      offense and that, approximately one week after the instant offense took place, appellant failed to

      show up at a scheduled appearance for his pending case. Agent Johnson also testified that, at the

      time of his flight, appellant was a suspect in               kidnapping. The trial court specifically

      excluded evidence about the federal flight warrant and about the type of case for which appellant

      failed to appear.

                Additionally, the court admitted a docket sheet that indicated appellant had been present at

      all of his previous court appearances in his pending drug case–approximately twelve settings over


                37
                     Id; Prible v. State, 175 S.W.3d 724, 731 (Tex. Crim. App. 2005).
                38
                Montgomery, 810 S.W.2d at 391; Cantrell v. State, 731 S.W.2d 84, 90 (Tex. Crim. App.
      1987) (“[T]he trial judge’s discretion in admitting an extraneous offense is to be given due
      deference.”).



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      fifteen months. The trial court found consciousness of guilt as indicated by flight to be a permissible

      use for the extraneous offense evidence under Rule 404(b) and found that the probative value of the

      evidence was not outweighed by its prejudicial effect.

              “Extraneous-offense evidence is admissible under both Rules 403 and 404(b) if that evidence

      satisfies a two-pronged test: (1) whether the extraneous-offense evidence is relevant to a fact of

      consequence in the case aside from its tendency to show action in conformity with character; and (2)

      whether the probative value of the evidence is not substantially outweighed by unfair prejudice.”39

      The first prong of this test requires us to determine (a) whether the evidence is relevant at all and (b)

      whether the evidence is relevant to something other than a showing of character conformity.

              Rule 401 governs relevance and provides, “‘Relevant evidence’ means evidence having any

      tendency to make the existence of any fact that is of consequence to the determination of the action

      more probable or less probable than it would be without the evidence.”40 Generally, evidence of

      flight is a relevant circumstance from which a jury can infer guilt.41 This is true specifically in the

      context of bail-jumping.42 Indeed, flight is admissible “even though it may show the commission


              39
               Page v. State, 213 S.W.3d 332, 336 (Tex. Crim. App. 2006); Johnston v. State, 145
      S.W.3d 215, 220 (Tex. Crim. App. 2004).
              40
                   TEX . R. EVID . 401 (West 2014).
              41
                 Bigby v. State, 892 S.W.2d 864, 883 (Tex. Crim. App. 1994) (“Evidence of flight or
      escape is admissible as a circumstance from which an inference of guilt may be drawn.”); Burks v.
      State, 876 S.W.2d 877, 903 (Tex. Crim. App. 1994) (same); Foster v. State, 779 S.W.2d 845, 859
      (Tex. Crim. App. 1989) (same).
              42
                 Cantrell, 731 S.W.2d at 93 (“The forfeiture of an accused’s bail bond may be proved as
      tending to show flight....And flight, in the context of bail-jumping, may be construed as evidence of
      guilt.”). See Wockenfuss v. State, 521 S.W.2d 630, 632 (Tex. Crim. App. 1975) (holding that
      evidence of defendant’s bond forfeiture was admissible absent the defendant showing the bond
                                                                                              (continued...)



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      of other crimes.”43 But before evidence of flight can be admitted, it must appear the flight has some

      legal relevance to the case being prosecuted.44

             Here, the timing of appellant’s flight from prosecution on his drug case is a relevant

      circumstance of guilt in the instant case. Appellant fled the jurisdiction only one week after

      was kidnapped and killed. The docket sheet for appellant’s drug offense indicated appellant had

      never missed a court date until the court date immediately following the date of the instant offense

      and that appellant forfeited his bond when he fled. The trial court did not abuse its discretion in

      finding that appellant’s flight one week after         was kidnapped and killed was relevant.

             After relevance has been established, the burden shifts to appellant to make an affirmative

      showing that the flight is not connected with the offense on trial and is instead connected to some

      other transaction.45

             Appellant argues that any evidence of flight from the drug prosecution was unrelated to the

      capital murder prosecution and showed only consciousness of guilt as to the drug charge. Further,

      appellant argues that, because he was not yet charged in the instant case at the time he forfeited his

      bond on the drug case, such forfeiture cannot be construed as an act designed to avoid prosecution




      (...continued)
      forfeiture was related to another offense).
             43
                Cantrell, 731 S.W.2d at 92; McWherter v. State, 607 S.W.2d 531, 534-35 (Tex. Crim.
      App. 1980) (“The fact that circumstances of flight incidentally show the commission of another
      crime does not render the evidence inadmissible.”).
             44
                Hodge v. State, 506 S.W.2d 870, 873 (Tex. Crim. App. 1974) (op. on reh’g). See
      Wockenfuss, 521 S.W.2d at 632.
             45
                  Burks, 876 S.W.2d at 904; Hodge, 506 S.W.2d at 873. See Wockenfuss, 521 S.W.2d at
      632.



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      in the instant case. We disagree.

              While appellant’s failure to appear for his drug case could have been motivated by his desire

      to avoid prosecution in that case alone, there is evidence to support the trial court’s conclusion that

      appellant’s failure to appear related to the instant capital murder prosecution. The timing of

      appellant’s absence, combined with his status as a suspect in              kidnapping and the fact that

      he had been present at all prior court dates, supports the finding that appellant’s failure was, at least

      in part, motivated by a desire to avoid arrest and prosecution for              murder.46

              Evidence of appellant’s absence from court one week after the commission of the capital

      murder meets the low threshold for relevance imposed by Rule 401, but this is not the end of our

      inquiry, because Rule 401 is limited by Rule 404(b). Rule 404(b) provides:

              Evidence of other crimes, wrongs or acts is not admissible to prove the character of
              a person in order to show action in conformity therewith. It may, however, be
              admissible for other purposes, such as proof of motive, opportunity, intent,
              preparation, plan, knowledge, identity, or absence of mistake or accident, provided
              that upon timely request by the accused in a criminal case, reasonable notice is given
              in advance of trial of intent to introduce in the State’s case-in-chief such evidence
              other than that arising in the same transaction.47

      Therefore, Rule 404(b) tempers what would otherwise be admissible under Rule 401 by

      distinguishing between acceptable and unacceptable uses of relevant extraneous-offense evidence.

      Rule 404(b) prohibits the use of extraneous-offense evidence to show character conformity. And

      while the latter half of Rule 404(b) provides a list of potential permissible uses of extraneous-offense

      evidence, it does not contain an exhaustive list of the “other purposes” for which extraneous-offense


              46
                 In Burks, we stated, “Since appellant was already identified as a suspect in the case, his
      flight when confronted by the police was relevant to the issue of whether or not he committed the
      instant crime.” Burks, 876 S.W.2d at 903-04.
              47
                   TEX . R. EVID . 404(b) (West 2014).



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      evidence can be used.48

              It follows, then, that once extraneous-offense evidence meets Rule 401’s test, it will be

      admitted if it serves any relevant purpose–whether listed in 404(b) or not–other than showing

      character conformity.

              “[C]riminal acts that are designed to reduce the likelihood of prosecution, conviction, or

      incarceration for the offense on trial are admissible under Rule 404(b) as showing ‘consciousness

      of guilt.’”49 Here, appellant failed to appear in court on an unrelated drug charge. Failure to appear

      at a scheduled court date is a criminal act.50 Based on the timing of appellant’s bond forfeiture, there

      is evidence to support the trial court’s conclusion that such forfeiture was motivated by a desire to

      reduce the likelihood of arrest and prosecution for                 murder, making evidence of the

      forfeiture admissible under Rule 404(b).

              Furthermore, evidence of appellant’s flight was not used to show conformity with a general

      criminal disposition. Instead, the evidence of appellant’s failure to appear was used to show a

      disruption in appellant’s normal course of attending his scheduled court dates after the commission

      of the offense in this case. The trial court did not abuse its discretion in finding that evidence of

      appellant’s bond forfeiture was admissible under Rule 404(b).

              Next, we determine whether the extraneous-offense evidence was barred by Rule 403. Rule



              48
                  Banda v. State, 768 S.W.2d 294, 296 (Tex. Crim. App. 1989) (“Whether or not it neatly
      fits one of [the 404(b)] categories, an extraneous transaction will be admissible so long as it logically
      tends to make the existence of some fact of consequence more or less probable.”); Johnston, 145
      S.W.3d at 220 (“This list is illustrative, not exhaustive.”).
              49
                   Ransom v. State, 920 S.W.2d 288, 299 (Tex. Crim. App. 1996) (op. on reh’g).
              50
                   TEX . PENAL CODE § 38.10(a).



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      403 provides, “Although relevant, evidence may be excluded if its probative value is substantially

      outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury, or by

      considerations of undue delay, or needless presentation of cumulative evidence.”51

              Rule 403’s prohibition against the admission of evidence whose probative value is

      substantially outweighed by the danger of unfair prejudice is not intended to keep out all evidence

      that tends to prejudice the opponent’s case.52 Instead, it aims to prevent only the admission of

      evidence that promotes a jury decision on an improper basis.53

              Here, the court determined that the probative value of the extraneous-offense evidence was

      that it made a showing of flight and potentially provided evidence of guilt. Additionally, the court

      took steps to ameliorate the prejudicial effect of the extraneous-offense evidence by redacting the

      name of the offense. We cannot say that the prejudicial effect of the extraneous-offense evidence

      substantially outweighed its probative value. The trial court did not err in finding that this evidence

      was admissible under Rule 403.

              The trial court’s decision to admit Agent Johnson’s testimony concerning appellant’s bond

      forfeiture does not lie outside the zone of reasonable disagreement as to its admissibility, so the trial

      court did not abuse its discretion in admitting the evidence under Rule 404(b) or Rule 403.

      Appellant’s fourth and fifth points of error are overruled.



              51
                   TEX . R. EVID . 403 (West 2014).
              52
                  See Davis v. State, 329 S.W.3d 798, 806 (Tex. Crim. App. 2010) (“All testimony and
      physical evidence are likely to be prejudicial to one party or the other. It is only when there exists
      a clear disparity between the degree of prejudice of the offered evidence and its probative value that
      Rule 403 is applicable.”) (internal citations omitted).
              53
                   Montgomery, 810 S.W.2d at 389. See Davis, 329 S.W.3d at 806.



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      D. Improper Jury Argument

             In points of error eight and nine appellant contends that the State engaged in improper jury

      argument during the guilt phase of trial. In his eighth point of error, appellant complains of the

      following statements made by the prosecutor as being outside the record:

             [The State]: Let me give you another example, another example of half the story.
             The SANE nurse. She came here and she said: Well there were no injuries. Wow,
             that must mean Obel Cruz-Garcia is guilty–is not guilty of capital murder according
             to the defense attorneys. No. Let’s talk about what else the SANE nurse said. And
             I want to say she said 95%–it is a very high percentage–of rape cases that she does
             SANE nurse examinations on–

             [Defense counsel]: Objection. Outside the record.

             [The State]: –do not have any injuries.

      The trial court overruled appellant’s objection and stated, “But I will remind the jury that you recall

      the testimony from the witness stand and that is–that will be your guide in your deliberations.

      Arguments of counsel is not evidence.”

             The State concedes that the prosecutor mischaracterized the SANE nurse’s testimony. At

      trial Gloria Kologinczok, the SANE nurse who examined Diana, testified that she does not see

      physical injuries resulting from sexual assaults in most of the sexual assault exams she performs.

      Kologinczok did not further quantify how often she sees physical injuries during sexual assault

      exams, as the prosecutor did during her closing argument.

             Jury argument generally serves at least four permissible purposes: summation of the

      evidence, reasonable deductions from the evidence, answers to arguments of opposing counsel, and

      pleas for law enforcement.54 It is error to insert facts into closing argument that are not supported



             54
                  Davis, 329 S.W.3d at 821.



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      by the record.55      Because her statement was not supported by the record, the prosecutor’s

      quantification of Kologinczok’s testimony was improper, and the trial court erred when it overruled

      appellant’s objection.

              “However, every inappropriate remark made during closing arguments does not require the

      reversal of a conviction.”56 A reversal will be required only if the improper argument is harmful.57

       To determine whether the argument was harmful, we must engage in a harm analysis.58 The Rules

      of Appellate Procedure provide two avenues for harm analysis, depending upon the type of error

      committed: constitutional or nonconstitutional.59

              We have held that jury argument that injects facts outside the record is nonconstitutional

      error.60 As such, it is governed by Texas Rule of Appellate Procedure 44.2(b).61 Rule 44.2(b)

      provides, “Any other error, defect, irregularity, or variance that does not affect substantial rights must



              55
               Guidry v. State, 9 S.W.3d 133, 154 (Tex. Crim. App. 1999) (“Error exists when facts not
      supported by the record are injected in the argument....”); Freeman v. State, 340 S.W.3d 717, 728
      (Tex. Crim. App. 2011).
              56
              Lagrone, 942 S.W.2d at 619 (citing Hernandez v. State, 819 S.W.2d 806, 820 (Tex. Crim.
      App. 1991)).
              57
                   Mosley v. State, 983 S.W.2d 249, 259 (Tex. Crim. App. 1998).
              58
                   Id.
              59
                   Compare TEX . R. APP . P. 44.2(a) and TEX . R. APP . P. 44.2(b).
              60
                Martinez v. State, 17 S.W.3d 677, 692 (Tex. Crim. App. 2000) (“Comments upon matters
      outside the record, while outside the permissible areas of jury argument, do not appear to raise any
      unique concerns that would require us to assign constitutional status. We shall therefore apply the
      standard of harm for nonconstitutional error.”). See Brown v. State, 270 S.W.3d 564, 572 (Tex.
      Crim. App. 2008) (stating improper-argument error that arose when prosecutor “delved into matters
      that were well outside the record” was nonconstitutional in nature).
              61
                   Martinez, 17 S.W.3d at 692.



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      be disregarded.”62 Therefore, unless the State’s improper jury argument error affected appellant’s

      substantial rights, it will not call for a reversal of appellant’s conviction.63

              To determine whether the error affected a substantial right, and was therefore harmful, this

      Court looks at three factors: (1) the severity of the misconduct, (2) any curative measures employed

      to correct the misconduct, and (3) the certainty of conviction without the misconduct.64

              First, we examine the severity of the misconduct. The error arose during the State’s final

      closing argument in the guilt phase of trial. After objection, the prosecutor immediately moved on

      from the topic of the SANE nurse. The error did not relate directly to the act of kidnapping or killing

               but instead related only to the sexual assault alleged to have taken place prior to the

      kidnapping. The SANE nurse did indeed testify that, in most of the sexual assault exams that she

      performs, she does not see injuries, so the prosecutor erred only in assigning a numerical value to

      the nurse’s testimony.

              Additionally, viewing the misconduct in light of the entire record of jury arguments, the

      statement was not extreme or manifestly improper. The statement was made in the middle of a

      closing argument that spans twenty-one pages of the record, and the prosecutor never emphasized

      the statement or returned to the topic of the sexual assault after appellant’s objection. We find the

      severity of the misconduct to be slight.

              With respect to curative measures, the trial court immediately reminded the jury that

      statements made in closing arguments are not evidence, decreasing the likelihood that jurors would


              62
                   TEX . R. APP . P. 44.2(b).
              63
                   Id.; Martinez, 17 S.W.3d at 692.
              64
                   Mosley, 983 S.W.2d at 259; Martinez, 17 S.W.3d at 692-93.



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      attach significance to the improper statement. Although this does not amount to a curative

      instruction, it weighs in favor of the error being harmless.65

             Lastly, appellant’s conviction was relatively certain, even without the misconduct. As

      discussed extensively above, there was direct and circumstantial evidence connecting appellant to

                  kidnapping and murder. Based upon the evidence before the jury, it is highly unlikely that

      the prosecutor’s misstatement impacted appellant’s conviction. Appellant’s eighth point of error is

      overruled.

             In his ninth point of error, appellant complains that the prosecutor injected her personal

      beliefs into her closing argument. Appellant contends that the following argument was improper:

             [The State]: We ask you to find him guilty as a party because what we believed
             happened is the defendant directed and encouraged–

             [Defense counsel]: Objection to putting beliefs into argument, Your Honor. It’s
             improper.

             [The court]: That will be overruled.

      It is improper for a prosecutor to inject her opinion into statements made before the jury.66 However,

      it is proper for a prosecutor to argue her opinion where that opinion is based upon evidence in the

      record.67

             As stated above, permissible jury argument generally falls into one of four categories:

      summation of the evidence, reasonable deductions from the evidence, answers to arguments of



             65
                   Freeman, 340 S.W.3d at 728-29.
             66
                   Johnson v. State, 698 S.W.2d 154, 167 (Tex. Crim. App. 1985).
             67
              Wolfe v. State, 917 S.W.2d 270, 281 (Tex. Crim. App. 1996) (quoting McKay v. State, 707
      S.W.2d 23, 37 (Tex. Crim. App. 1985)).



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      opposing counsel, and pleas for law enforcement.68

             We conclude that the prosecutor’s discussion of what the State believed happened was a

      summation of the evidence presented at trial. Rudy testified that appellant kidnapped            drove

      him to Baytown, and then ordered Roger to kill to him. After                 death, appellant ordered

      Rudy and Roger to submerge               body. Even if the prosecutor’s statement injected her opinion

      into her argument, her opinion was sufficiently supported by the evidence presented at trial.

             Even assuming arguendo that the prosecutor’s argument was improper, it was harmless. Jury

      argument error is analyzed for harm under Texas Rule of Appellate Procedure 44.2(b).69 Under the

      44.2(b) standard, error will not require reversal unless it affects a substantial right.70 To determine

      whether error affects a substantial right in the improper-jury-argument realm, we weigh the three

      factors discussed above: the severity of the misconduct, any curative measures taken, and the

      likelihood of conviction absent the misconduct.71

             Here, any possible misconduct was not severe. After reading the prosecutor’s statement in

      the context of the entire record of jury arguments, we conclude the prosecutor was merely

      summarizing the State’s theory of the case and not suggesting to the jury that she had outside

      knowledge about contested facts.

             Further, while the trial court did not take any steps to cure the error, the prosecutor

      immediately rephrased her statement and said, “What the evidence supports is that the defendant


             68
                  Davis, 329 S.W.3d at 821.
             69
                  Martinez, 17 S.W.3d at 692.
             70
                  TEX . R. APP . P. 44.2(b).
             71
                  Mosley, 983 S.W.2d at 259.



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      directed and encouraged Roger to kill the little boy.” This quasi-curative measure works in favor

      of the error being harmless.72

              Additionally, appellant’s conviction was relatively certain, even absent the prosecutor’s

      statement. Appellant’s ninth point of error is overruled.

                                                III. Punishment

      A. Mitigating Evidence in Punishment

              In his sixth and seventh points of error, appellant complains that the trial court erred when

      it sustained the State’s hearsay objections to two items of evidence he offered during the punishment

      phase of trial. The first piece of evidence, complained of in point of error six, was a series of Bible

      study certificates that appellant earned while incarcerated in Puerto Rico. The second piece of

      evidence, complained of in point of error seven, was testimony that appellant worked as an informant

      for several American federal agencies. Appellant now complains that the trial court’s exclusion of

      these pieces of evidence violated his right to put forth a complete defense. Assuming without

      deciding that appellant preserved this complaint, we overrule appellant’s sixth and seventh points

      of error.

              We review a trial court’s evidentiary ruling for an abuse of discretion.73 So, if the trial

      court’s determination falls within the zone of reasonable disagreement, we will not disturb it on



              72
                 Hawkins v. State, 135 S.W.3d 72, 85 (Tex. Crim. App. 2004) (“Although a prosecutor’s
      self-corrective action might not carry the same weight as a trial court’s instruction to disregard, it
      is nevertheless a relevant consideration in determining harm and can, in the appropriate
      circumstances, render an improper comment harmless.”). See Canales v. State, 98 S.W.3d 690, 695-
      96 (Tex. Crim. App. 2003) (holding that a prosecutor’s misstatement of the law was harmless when,
      immediately following the misstatement, the prosecutor corrected his mistake).
              73
                   Weatherred, 15 S.W.3d at 542.



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      appeal.74 We begin with appellant’s sixth point of error. Appellant attempted to offer his own Bible

      study certificates through his brother, Joel Cruz-Garcia. The State objected that the certificates were

      hearsay, and the trial court sustained the objection. Appellant now complains that the trial court’s

      ruling excluding the certificates from evidence violated his right to put forth a complete defense.

              A criminal defendant’s right to present relevant evidence is not absolute.75 Instead, it is

      subject to reasonable restrictions that accommodate other legitimate interests in the criminal trial

      process.76 Where mitigating evidence comes in an objectionable form, neither the Texas nor the

      United States Constitutions require its admission.77 The Constitution is implicated only if the

      evidentiary rule being employed to exclude evidence is applied arbitrarily or unjustly and its

      application effectively precludes a defendant from putting forth a defense.78

              Here, appellant’s proffered evidence was limited by the application of the hearsay rule. The

      rule against hearsay prohibits the admission of out-of-court statements offered to prove their truth.79




              74
                   Id.
             75
                 United States v. Scheffer, 523 U.S. 303, 308 (1998) (“A defendant’s right to present
      relevant evidence is not unlimited, but rather is subject to reasonable restrictions.”); Lewis v. State,
      815 S.W.2d 560, 568 (Tex. Crim. App. 1991) (“Although the Eighth Amendment to the United
      States Constitution assures that no person shall be put to death without the opportunity to bring
      before the sentencing authority all evidence of mitigating circumstances, the Constitution does not
      assure that the evidence be received in a form which is otherwise objectionable.”).
              76
                   Scheffer, 523 U.S. at 308.
             77
                 Id.; See Renteria v. State, 206 S.W.3d 689, 697 (Tex. Crim. App. 2006) (concluding that
      admission of constitutionally relevant evidence is not required if it is otherwise objectionable under
      state law).
              78
                   Potier v. State, 68 S.W.3d 657, 662 (Tex. Crim. App. 2002).
             79
                   TEX . R. EVID . 801(d) (West 2014).



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      Appellant’s certificates were indeed hearsay because they each contained out-of-court statements that

      appellant was offering for their truth. As hearsay, the evidence was inadmissible unless it fit within

      an exception or exclusion.80 Appellant, as the proponent of the evidence, bore the burden of

      articulating an exception or exclusion under which the Bible study certificates would be properly

      admissible.81 Appellant offered no such exceptions.

               Appellant now asserts that the Bible study certificates were admissible under Texas Rules

      of Evidence 803(11), 803(13), 803(19), and 804(3). Without deciding whether appellant has

      forfeited his error by failing to allege his hearsay exceptions in the trial court, we hold that none have

      merit.

               First, appellant’s certificates do not qualify as Records of a Religious Organization under

      Rule 803(11) because they are not statements of birth, marriage, divorce, death, legitimacy, ancestry,

      relationship, or other fact of personal history. Second, appellant’s certificates do not qualify as

      Family Records under Rule 803(13) because they are not statements of fact concerning personal or

      family history, nor are they contained in any of the documents listed in Rule 803(13). Third,

      appellant’s certificates do not meet the requirements in Rule 803(19) because they do not concern

      a person’s birth, adoption, marriage, divorce, death, legitimacy, relationship, ancestry, or other fact

      of personal or family history. Lastly, appellant’s certificates do not qualify under Rule 804(b)(3)

      because appellant has failed to establish the unavailability of the certificates’ declarant. Further, the

      certificates do not contain any statements about the declarant’s own birth, adoption, marriage,


               80
                    Valle v. State, 109 S.W.3d 500, 505 (Tex. Crim. App. 2003).
               81
                Martinez v. State, 178 S.W.3d 806, 815 (Tex. Crim. App. 2005) (“The State, as the
      proponent of the evidence, had the burden of demonstrating the applicability of that exemption or
      exception.”).



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      ancestry, or fact of personal or family history, nor do they contain statements about any of the

      foregoing with respect to a person related to or intimately associated with the declarant.

      Additionally, appellant’s Bible study certificates do not bear “persuasive assurances of

      trustworthiness,” which weighs in favor of the trial court’s exclusion.82

              The rule excluding hearsay that does not fit within an exception or exclusion is not an

      arbitrary rule, nor was it arbitrarily or unjustly applied to appellant.83 Instead, the rule represents a

      reasonable restriction on the admission of evidence that accommodates other legitimate criminal-trial

       interests, namely, ensuring the reliability of evidence.84

              While appellant contends that the hearsay rule should give way in favor of his right to put

      on a defense, “[t]he fact that appellant was not able to present his case in the form he desired does

      not amount to constitutional error when he was not prevented from presenting the substance of his




              82
                See Valle, 109 S.W.3d at 506 (affirming the exclusion of hearsay evidence because it did
      not meet an exception to the hearsay rule and did not bear persuasive assurances of trustworthiness).
              83
                 Potier, 68 S.W.3d at 662 (“These cases show that the exclusion of relevant, material,
      important evidence by the application of particular rules that are arbitrary or disproportionate to their
      purposes may offend the Constitution. They also show that courts are free to apply evidentiary rules
      that are not arbitrary and unjustified.”).
              84
                  Id. at 666 (holding that the hearsay rule, when properly applied, is a valid limitation on
      a defendant’s evidence). See Renteria, 206 S.W.3d at 697. (“[S]tate and federal rulemakers have
      broad latitude under the Constitution to establish rules excluding evidence from criminal trials. Such
      rules do not abridge an accused’s right to present a defense so long as they are not ‘arbitrary’ or
      ‘disproportionate to the purposes they are designed to serve.’ Moreover, we have found the
      exclusion of evidence to be unconstitutionally arbitrary only where it has infringed upon a weighty
      interest of the accused.”). See Valle, 109 S.W.3d at 506 (holding that defendant’s hearsay evidence
      that was not within an exception and that did not bear “persuasive assurances of trustworthiness” was
      properly excluded).



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      defense to the jury.”85 Because appellant was not prevented from presenting the substance of his

      defense, the trial court did not abuse its discretion when it sustained the State’s hearsay objection and

      excluded appellant’s Bible study certificates. Appellant’s sixth point of error is overruled.

              Turning now to appellant’s seventh point of error, appellant once again contends that the trial

      court violated his right to put forth a meaningful defense when it sustained the State’s hearsay

      objection to testimony about whether appellant worked as an informant for various federal law

      enforcement agencies in the United States. But again, appellant’s right to the admission of evidence

      in his defense is not absolute.86 If defense evidence is presented in a form that violates the rules of

      evidence, and those rules are not being arbitrarily applied, it is not properly admissible.87

              The testimony appellant attempted to elicit through Puerto Rican police officer, Agent Juan

      DeJesus Rodriguez, about appellant’s work as a federal informant was hearsay because Agent

      Rodriguez had no personal knowledge of appellant’s work and had learned about this alleged work

      only through conversations with other agents. Because the testimony about what other agents told

      Agent Rodriguez was an out-of-court statement being offered for its truth, the State’s hearsay

      objection was proper.88

              In response to the State’s objection, appellant offered no applicable exceptions or exclusions



              85
                 Valle, 109 S.W.3d at 507; See Potier, 68 S.W.3d at 665 (“We hold that the exclusion of
      a defendant’s evidence will be constitutional error only if the evidence forms such a vital portion of
      the case that exclusion effectively precludes the defendant from presenting a defense.”).
              86
                   Scheffer, 523 U.S. at 308; Lewis, 815 S.W.2d at 568.
              87
                See Potier, 68 S.W.3d at 666 (holding that the hearsay rule is a valid limitation on a
      defendant’s evidence when it is correctly applied).
              88
                   TEX . R. EVID . 801 (West 2014).



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      to the hearsay rule. Appellant now asserts that Agent Rodriguez’s testimony was admissible under

      Texas Rule of Evidence 803(21). Again, without deciding whether appellant has forfeited this claim,

      we hold that it lacks merit. Agent Rodriguez’s testimony did not concern appellant’s character

      among appellant’s associates or within his community, so it does not meet the requirements of Rule

      803(21).

              The exclusion of Agent Rodriguez’s testimony as hearsay did not effectively preclude

      appellant from putting on a defense, and the application of the hearsay rule was not arbitrary or

      unjust. Consequently, the trial court did not abuse its discretion when it sustained the State’s

      objection and excluded appellant’s evidence. Appellant’s seventh point of error is overruled.

      B. Improper Jury Argument

             In his tenth and eleventh points of error, appellant complains of improper jury argument

      during the punishment phase of trial. In point of error ten, appellant complains that the trial court

      erred when it overruled his objection to part of the State’s argument, which he contends went outside

      the record. During her punishment summation, the prosecutor stated:

             Who is orchestrating this deal? Who is orchestrating all the criminal conduct that
             he’s involved in from all the evidence that you’ve heard? Him. He is the boss. And
             that’s why when he told Roger to stab that little boy, he did. And Roger will pay the
             price for that when his turn comes, but don’t take the blame off of the man who told
             him to do it. Don’t excuse him. Because I will tell you right now, if it were up to
             Roger alone,          would still be alive.

      Appellant objected that the last sentence was outside the record. The trial court overruled the

      objection and instructed the jury that the arguments of counsel are not evidence. Appellant now

      complains of this ruling on appeal. In response, the State contends appellant forfeited his error with

      respect to this argument, or alternatively, that the statement was a proper deduction from the




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      evidence.

             Assuming without deciding that error was preserved, we agree with the State’s contention

      that the statement was a proper deduction from the evidence. Throughout trial, the jury heard ample

      evidence of appellant’s role as the ringleader of the violence that unfolded on the night         died.

      Rudy testified that appellant was in charge and ordered                   death because            saw

      appellant sexually assaulting Diana. The prosecutor’s statement that, if it were up to Roger,

      would still be alive, was merely a restatement of what was already before the jury as the State’s

      theory of its case and was a proper deduction from the evidence presented at trial. Appellant’s tenth

      point of error is overruled.

             In his eleventh point of error, appellant complains that the trial court erred when it denied his

      motion for a mistrial after improper jury argument from the State during closing arguments in the

      punishment phase of trial. Appellant complains that the State went outside the record when it

      argued, “What else? They want to minimize the escape attempt. Justin talked to you about that.

      What do you think happened after he attempted to escape? You think he might have wound up in

      administrative segregation? I bet he did.”

             Appellant objected, and the trial court sustained his objection. The trial court instructed the

      jury to “disregard the last comment by [the prosecutor] and not consider it for any reason.”

      Appellant then moved for a mistrial, which was denied. Appellant now complains of this denial.

      We review a trial court’s refusal to grant a mistrial for an abuse of discretion.89 Unless the trial




             89
                  Hawkins, 135 S.W.3d at 77.



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      court’s ruling was outside the zone of reasonable disagreement, it will not be disturbed on appeal.90

             A mistrial will be required only in extreme circumstances where the improper conduct is so

      harmful that continuing with the trial would be wasteful and futile.91 We apply the same three-factor

      test articulated in Mosley92 and extended in Martinez93 to evaluate “whether the trial court abused

      its discretion in denying a mistrial for improper argument.”94

             The first factor examines the severity of the misconduct. When determining the severity of

      the misconduct, we look at the magnitude of the prejudicial effect and whether the misconduct was

      extreme or manifestly improper.95 The misconduct here was slight, and its prejudicial effect was

      minimal. The State’s reference to administrative segregation was brief and was perhaps the most

      benign evidence offered against appellant during the punishment phase.

             Second, we examine curative measures taken by the trial court. Here, the trial court sustained

      appellant’s objection and instructed the jury to disregard the prosecutor’s statement. Ordinarily, an

      instruction to disregard will sufficiently relieve harm, except with respect to the most inflammatory




             90
                  Archie v. State, 221 S.W.3d 695, 699 (Tex. Crim. App. 2007).
             91
                  Hawkins, 135 S.W.3d at 77.
             92
                Mosley, 983 S.W.2d at 259 (establishing the three-factor test for determining when
      improper jury argument during the guilt phase is harmful).
             93
                Martinez, 17 S.W.3d at 693 (extending the Mosley three-factor test to apply to improper
      jury argument during the punishment phase of trial).
             94
                  Hawkins, 135 S.W.3d at 77.
             95
                  Mosley, 983 S.W.2d at 259; Brown, 270 S.W.3d at 573.



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      statements.96 The statement at issue was not so inflammatory,97 and the trial court’s actions

      “sufficiently ameliorated any potential harm.”98

              Lastly, we examine the certainty of the punishment assessed, absent the improper argument.

      During the punishment phase of trial, the jury heard evidence that appellant murdered another

      individual for flirting with appellant’s girlfriend, and that appellant kidnapped, tortured, and held for

      ransom two teenagers in Puerto Rico. Given the severity of the punishment evidence, we cannot say

      that, absent the State’s reference to administrative segregation, appellant would have received a

      different sentence. The trial court did not abuse its discretion when it denied appellant’s motion for

      a mistrial. Appellant’s eleventh point of error is overruled.

      C. Motion for New Trial

              In his twelfth and final point of error, appellant asserts that the trial court erred when it denied

      his motion for a new trial based on alleged jury misconduct during the punishment phase. Appellant

      also contends that the trial court erred when it refused his request for an evidentiary hearing on his

      motion. Although the trial court heard argument on appellant’s motion for new trial, testimony at

      the hearing was restricted to affidavits. We review a trial court’s decision to hold a live hearing on

      a motion for new trial, as well as the ruling on such motion, for an abuse of discretion.99 A trial court


              96
                   Long v. State, 823 S.W.2d 259, 269 (Tex. Crim. App. 1991).
              97
                 See Martinez, 17 S.W.3d at 691 (holding that the prosecutor’s statement about facts
      outside the record was not so extreme that it could not be cured by an instruction to disregard).
              98
                  Archie, 221 S.W.3d at 700 (holding that sustaining an objection to the prosecutor’s
      comment on the defendant’s failure to testify combined with an instruction to disregard was
      sufficiently ameliorative of any potential harm such that the error did not require reversal).
              99
                   Holden v. State, 201 S.W.3d 761, 763 (Tex. Crim. App. 2006); State v. Zalman, 400
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      abuses its discretion in denying a motion for new trial only if no reasonable view of the record could

      support the trial court’s ruling.100

              The jury began its punishment deliberations on the afternoon of Thursday, July 18, 2013.

      The following morning, Friday, July 19, the jurors resumed their punishment deliberations. At some

      point during their discussion, juror Casey Guillotte asked her fellow jurors how they were going to

      emotionally cope with their verdict. Ms. Guillotte testified by way of affidavit that her inquiry came

      after the jury had already agreed on each of the special issues. The other affidavits received by the

      trial court are ambiguous as to when her question was posed.

              In response to this inquiry, several jurors offered words of encouragement. Then, jury

      foreman Matthew Clinger pulled his Bible from his overnight bag and directed Ms. Guillotte to

      several passages. Mr. Clinger told Ms. Guillotte that he felt comforted by passages in the book of

      Romans. Both Mr. Clinger and Ms. Guillotte testified through their affidavits that Mr. Clinger never

      read aloud from his Bible. Juror Angela Bowman’s affidavit indicates that Mr. Clinger “read

      scriptures from the Bible,” but she does not indicate those scriptures were read aloud to the entire

      jury.

              At approximately 3:20 p.m., Ms. Bowman sent a note to the judge asking to speak with her

      privately. After discussing the request with the attorneys for the State and defense, the judge spoke

      with Ms. Bowman on the record in her chambers. During this conversation, Ms. Bowman expressed

      her desire to be replaced with an alternate juror because she could not come to an agreement with



      (...continued)
      S.W.3d 590, 593 (Tex. Crim. App. 2013).
              100
                    Holden, 201 S.W.3d at 763.



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      the remaining eleven jurors. Ms. Bowman also expressed hesitancy at the idea of having to be

      sequestered over the weekend. The trial judge told Ms. Bowman that she was unable to replace her

      with an alternate simply because she was disagreeing with the other jurors and urged Ms. Bowman

      to continue deliberating.

             Approximately one hour later, the jury returned its punishment verdict in such a way that the

      trial court would sentence appellant to death. The trial court polled the jury, and each juror

      confirmed that the verdict rendered was his or her true and correct verdict.

             Later that evening, Mario Madrid, one of appellant’s trial attorneys, received a phone call

      from Ms. Bowman in which she told him that she had been pressured by the other jurors to return

      a verdict that would result in a death sentence and that the verdict actually rendered was not her

      personal verdict. Mr. Madrid brought this to the attention of the trial court by way of an affidavit

      attached to appellant’s motion for new trial.

             Appellant complains that alleged jury misconduct tainted the verdict on punishment because

      of the foreman’s Bible reading during deliberations. Appellant asserts that this reading was an

      outside influence that inappropriately impacted the verdicts of jurors Angela Bowman and Casey

      Guillotte, so affidavits to that effect were admissible under Rule 606(b). At the hearing on the

      motion for new trial, the State objected to the admission of any affidavits regarding jury

      deliberations, but prepared affidavits from Mr. Clinger and Ms. Guillotte should the trial court

      choose to admit affidavits.

             Inquiring into the deliberative processes of a jury to ferret out misconduct has been prohibited




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      in this country, save for a few, narrow exceptions.101 This state currently recognizes only two

      exceptions to this general rule.102 First, jurors may testify about their deliberations to rebut an

      accusation that a juror was unqualified to serve, and second, jurors may testify about whether an

      outside influence was improperly brought to bear upon their deliberations.103

             This Court has never determined whether reference to the Bible during jury deliberations is

      an outside influence. Today we hold that it is not.

             This Court first explained in McQuarrie v. State that an outside influence is one that

      originates “from a source outside of the jury room and other than from the jurors themselves.”104

      But, as we later explained in Colyer v. State, this does not necessarily encompass every influence

      originating from outside the physical jury deliberation room.105 “The ‘outside influence’ exception

      to Rule 606(b) does not include influences or information that are unrelated to trial issues.”106

             Here, the alleged “outside influence” that appellant complains of is a scripture from the Bible




             101
                 FED . R. EVID . 606(b)(2) (“A juror may testify about whether: (A) extraneous prejudicial
      information was improperly brought to the jury’s attention; (B) an outside influence was improperly
      brought to bear on any juror; or (C) a mistake was made in entering the verdict form.”); TEX . R.
      EVID . 606(b)(2) (“A juror may testify: (A) about whether an outside influence was improperly
      brought to bear on any juror; or (B) to rebut a claim that a juror was not qualified to serve.”).
             102
                   TEX . R. EVID . 606(b)(2).
             103
                   Id.
             104
                   McQuarrie v. State, 380 S.W.3d 145, 154 (Tex. Crim. App. 2012).
             105
                 Colyer v. State, 428 S.W.3d 117, 127 (Tex. Crim. App. 2014) (holding that a telephone
      call from a juror’s physician that the juror’s daughter was sick did not qualify as an “outside
      influence” for the purposes of Rule 606(b) despite the fact that it did indeed originate from a source
      outside the jury room).
             106
                   Id.



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      that the jury foreman recommended to another juror in an effort to comfort her. While this scripture

      did literally come from outside the jury room, as neither the Bible nor any of its contents were ever

      offered into evidence, we cannot say that it meets the definition of “outside influence” this Court

      established in McQuarrie.

             When a jury has before it evidence that was not offered at trial, or subject to cross-

      examination, a defendant’s right to a fair and impartial jury may be compromised. This compromise

      occurs, however, only when the outside evidence or influence relates directly to a question of fact

      left to the jury’s determination and improperly influences their verdict.

             Referring to the Bible did not directly relate to a fact at issue before the jury in appellant’s

      case, and the jury was not called upon to decide a fact issue based on anything other than the

      evidence properly admitted before it. Had the foreman merely recited a Bible verse from memory,

      we could not consider it an outside influence. Indeed, evidence of such a recitation would not have

      even been admissible per the constraints of Rule 606(b).107

             The fact that the foreman in this instance referred a juror to the Bible verse instead of quoting

      it from memory is a distinction without a difference. Either way, there is no evidence that the

      biblical reference related to the facts at issue in this case, and it was therefore not an outside

      influence under Rule 606(b) and as interpreted by this Court in McQuarrie and Colyer.108



             107
                  Our analysis is guided by the 4th Circuit’s analysis in Robinson v. Polk, where the court
      was presented with a factually analogous situation and determined that, because the Bible reading
      did not go to a fact at issue in the case, and because a juror merely quoting the Bible from memory
      “assuredly would not be considered an improper influence,” there was no improper outside influence
      in violation of Rule 606(b). Robinson v. Polk, 438 F.3d 350 (4th Cir. 2006).
             108
                 We are mindful of the fact that the 5th Circuit has held that the Bible can be an external
      influence on the jury, but the facts of that case distinguish it from this one.



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             Because the Bible was not an outside influence, the trial court erred when it admitted State

      and defense affidavits describing jury deliberations. Additionally, because the affidavits describing

      the inner goings-on of the jury’s deliberations were improperly admitted, any live testimony to that

      effect would have been inadmissible under Rule 606(b) as well. Even had the affidavits been

      admissible, it was within the trial court’s discretion to rule on a motion for new trial on affidavits

      without oral testimony.109 Either way, the trial court did not abuse its discretion when it denied

      appellant’s request for an evidentiary hearing on his motion for new trial.

             When citizens are selected for jury service, the law does not ask them to set aside every

      personal or moral directive to which they adhere, nor will this Court do the same by holding that

      reference to such a directive during jury deliberations is improper. If trial attorneys are troubled by

      jurors who call upon such beliefs during their deliberations, this trouble is better addressed in voir

      dire than it is in by way of a motion for new trial.

             The jury foreman’s reference to his Bible in an attempt to comfort his fellow juror was not

      an outside influence improperly brought to bear on the jury’s deliberations, and affidavits to that

      effect were not properly admissible under Rule 606(b). Regardless, although the trial court erred

      in admitting the affidavits, the trial court did not abuse its discretion when it overruled appellant’s

      motion for new trial. Appellant’s twelfth point of error is overruled.

             We affirm the judgment of the trial court.

      Delivered: October 28, 2015
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             109
                   Holden, 201 S.W.3d at 763.



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                              IN THE 337 th DISTRICT COURT
                                 HARRIS COUNTY, TEXAS



                                             )     Trial Cause No.
         EX PARTE                            )     1384794   -A
         Obel Cruz-Garcia ,                  )
                   APPLICANT                 )
                                             )
                                             )


                 INITIAL APPLICATION FOR WRIT OF HABEAS CORPUS
               (FILED PURSUANT TO TEX. CODE CRIM. PROC. ART. 11.071)



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                      APPLICATION FOR A WRIT OF HABEAS CORPUS
                                       This is a Capital Case
                The maxim that “death is different” has become a standing principle in our
        law that capital cases require the utmost care and scrutiny to ensure a defendant’s
        rights have not been infringed before imposing a sentence of death. The need for
        such attention is never more true than in the case of a foreign national, unable to
        speak English and unfamiliar with the rights and privileges afforded to defendants
        in the United State justice system. Reading nothing but the cold record of Obel
        Cruz-Garcia’s trial, one might presume that despite his position as a foreign
        national who could not speak English, his rights were still fully honored and
        safeguarded.     That presumption falls away, however, as post-conviction
        investigation has revealed numerous instances in which Cruz-Garcia was denied
        his constitutional rights to consular assistance, effective legal representation, and a
        fair trial.
                                                                                   —
               First, Cruz-Garcia’s conviction rests on faulty DNA evidence the only
        physical evidence tying him to a more than twenty-year-old crime        —that should
        have been suppressed. The prosecution presented evidence that Cruz-Garcia’s
        DNA was found on a sexual assault kit taken from one of the surviving victims,
        Diana Garcia. Trial counsel moved to suppress this evidence, citing as grounds the
        fact that the Houston Police Department (HPD) crime lab, which originally stored
        and handled the evidence in Cruz-Garcia’s case, was later found to have had
        widespread and serious problems in storage and analysis of DNA evidence during
        the time that evidence in Cruz-Garcia’s case was in its possession. However,
        because counsel could point to no evidence that any of the systemic problems at
        the HPD lab had occurred with respect to any of the evidence in Cruz-Garcia ’s
        case, the trial court ruled the DNA evidence admissible.


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               Yet Cruz-Garcia’s trial counsel failed to develop and present evidence that
        the very errors in storage and analysis of DNA evidence endemic to the HPD crime
        lab were, in fact, present in Cruz-Garcia’s case, including alarmingly improper
        storage of the two key pieces of evidence and erroneous statistical calculations in
        analyzing the evidence. Had trial counsel presented evidence of these errors in
        support of their motion to suppress, the DNA evidence would likely have been
        suppressed, obliterating the State’s case against Cruz-Garcia. Even if the DNA
        evidence had still been admitted at trial, evidence from a DNA expert that there
        was a second unknown contributor to the DNA evidence and testimony that Cruz-
        Garcia had an ongoing consensual sexual relationship with Diana Garcia could
        have persuaded the jury there was an innocent explanation for the presence of
        Cruz-Garcia’s DNA and that the unknown second contributor was the true
        assailant. But the jury never heard this evidence.
               Additionally, the jury never heard evidence that would have undermined the
        .State’s   theory of Cruz-Garcia’s motive.     The State argued that Cruz-Garcia
        abducted and killed Diana Garcia’s son, Angelo, in retaliation after she and her
        husband stopped selling drugs for him. Yet the jury did not hear evidence that
        Diana Garcia and her husband never stopped selling drugs   —that, in fact, they were
        selling drugs on the day of the crime.         This evidence would have directly
        contradicted the State’s theory of motive. Given his admitted friendship with the
        victims, without prescribing a motive for Cruz-Garcia to commit the crime the
        State’s theory of his guilt would have made no sense.
               All of this evidence taken together at the guilt/innocence phase would have
        presented an entirely different evidentiary picture and created a reasonable doubt in
        the minds of the jurors.
               Counsel ’s lack of effective assistance also extended to their presentation at
        the penalty phase of trial. At punishment, the jury heard from just three of Cruz-
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            Garcia’s family members, who provided basic details about his family background,
            and a fourth witness who had met Cruz-Garcia in the Harris County jail and came
            to court on his own initiative to testify. However, significantly more evidence was
                                                    —
            available that the jurors never heard evidence that would likely have changed
            their verdict from death to life in prison.
                   Inexplicably, trial counsel declined to review the District Attorney’s file,
            which remained open to them throughout the course of their representation. Had
            they done so, they would have discovered records of Cruz-Garcia’s time in prison
            in Puerto Rico. These records indicated that Cruz-Garcia had an impeccable
            disciplinary record over the nearly ten years he spent there and could have been
            presented to the jury to strongly support an answer of “No” to the first Special
            Issue. The jurors also never heard from prison personnel who knew Cruz-Garcia
            well and would have spoken glowingly of him as one of the most trusted and well-
r           respected inmates they had ever encountered. Such testimony would surely have
            made a difference to the jury’s assessment of whether Cruz-Garcia would present a
            risk of committing future acts of violence if sentenced to life in prison.
                   Trial counsel also failed to retain a mitigation specialist, who could have
            provided invaluable assistance in investigating and preparing mitigation evidence.
            The jury thus never heard from myriad family members who could have provided
            them with a more complete picture of who Cruz-Garcia was. Nor did the jury hear
            expert testimony that could have explained Cruz-Garcia’s life history in the context
            of his cultural background
                   Finally, Cruz-Garcia, a citizen of the Dominican Republic who can neither
            speak nor understand English, was deprived of due process when the State failed to
            properly inform him of his right to seek consular assistance, in violation of the
            Vienna Convention on Consular Relations.


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                 These and other constitutional errors rendered Cruz-Garcia’s trial
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        fundamentally unfair. Because of these errors, Cruz-Garcia must be granted a new
        trial.
                                                  I.
                                      PROCEDURAL HISTORY
                 Obel Cruz-Garcia is confined under a sentence of death pursuant to the
        judgment of the 337th District Court, Harris County, Texas, case number 1384794,
        which was rendered on July 19, 2013 (3 CR at 104) and entered on July 22, 2013
        (28 RR at 3-6). i
            A. Trial Court Proceedings
                 Cruz-Garcia was indicted on November 20, 2008, on the charge of capital
        murder for intentionally and knowingly causing the death of Angelo Garcia while
        in the course of committing kidnapping. ( 1 CR at 6.) Cruz-Garcia was extradited
        from Puerto Rico in early 2010 to stand trial in Houston, Texas. Initially, attorneys
        Mike Fosher and Mario Madrid were selected as appointed counsel in February
        2010. (1 CR at 8, 11.) About a month later, in April 2010, Cruz-Garcia’s family
        retained Steven Shellist and Christian Capitaine as counsel for Cruz-Garcia, and
        Mr. Fosher and Mr. Madrid were removed. ( 1 CR at 19-21.)
                 However, the State later determined that it would seek death against Cruz-
        Garcia. ( 4 RR at 9.) Neither Mr. Shellist nor Mr. Capitaine were on the approved
        list of capital counsel and withdrew from the case on August 31 , 2011 . (2 CR at
        326; 4 RR at 6-7.) Attorney Skip Cornelius was appointed as first chair and
        attorney Mario Madrid was appointed as second chair counsel that same day. ( I
        CR at 57-58.) Cruz-Garcia was represented at trial by Mr. Cornelius and Mr.
        Madrid . ( 1 RRat 3.)

        ’ “CR” refers to the Clerk’s Record in Cruz-Garcia’s trial . “RR” refers to the
        Reporter’s Record in Cruz-Garcia ’s trial .
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               Voir dire commenced on June 3, 2013, with the general panel and individual
        voir dire, and concluded on June 17, 2013. (5 RR; 15 RR.) On June 19, 2013, the
        Court held a hearing on the defense’s motion to suppress DNA evidence. ( 16 RR
        at 16.) The defense presented argument, and the State presented witness testimony
        and argument. (16 RR at 16-21, 26-99.) After consideration, the Court denied the
        defense’s motion to suppress. (17 RR at 5.)
               The guilt/innocence phase of trial began on July 8, 2013, with Cruz-Garcia
        entering a plea of not guilty. ( 18 RR.) After four days of testimony, the State
        rested its case. (21 RR at 174.) The defense rested without presenting any
        witnesses or testimony of its own. { Id. at 175.) Both sides presented closing
        arguments, and the jury returned with a verdict finding Cruz-Garcia guilty of
        capital murder on July 15, 2013. (23 RR at 101.)
               The punishment phase of Cruz-Garcia’s trial began on July 16, 2013. (24
        RR at 7.) The State presented its case for punishment and rested on July 17, 2013.
        (25 RR at 202.) The defense presented its punishment case through the testimony
        of four witnesses on July 18, 2013. (26 RR at8-93.) The same day, both sides
        rested and presented closing argument. { Id. at 105, 141.) Jury deliberations
        commenced , with the jury being sequestered that evening. The next day, the jury
        returned with a verdict, and Cruz-Garcia was formally sentenced to death on July
        22, 2015. (27 RR at 9; 28 RR at 3.)
           B. State Appellate Proceedings
               On July 22, 2013, this Court appointed attorney Wayne Hill to represent
        Cruz-Garcia for purposes of the direct appeal . (3 CR at 536.) Hill filed a motion
        for new trial on August 19, 2013, and argument was heard on the motion on
        September 20, 2013. The Court denied the defendant ’s request for live testimony
        in support of his motion and denied the motion . { Id. at 28.) An appellate brief was
        filed with the Court of Criminal Appeals (CCA ) on September 15, 2014. The State
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        filed its response on April 15, 2015. Oral argument was waived. At the filing of
        this Application, the appeal continues to be under consideration by the CCA.
            C. State Habeas Proceedings
               On July 22, 2013, this Court appointed the Office of Capital Writs (OCW) to
        represent Cruz-Garcia in his post-conviction habeas litigation, pursuant to Article
        11.071, section 2 of the Code of Criminal Procedure. (3 CR at 535.) In order to
        facilitate the investigation into Cruz-Garcia’s case, the trial court granted OCW
        motions: ( 1 ) to receive access to items sealed in the clerk’s record; (2) to be
        allowed to inspect physical exhibits offered at trial; (3) to receive copies of all
        sealed materials and juror questionnaires; and ( 4) for the disclosure of certain
        potentially exculpatory or mitigating materials from the District Attorney’s file.
        The trial court also granted a single ninety-day extension of time for Cruz-Garcia
        to file his application.
               This Application follows.
                                                  II.
                                      STATEMENT OF FACTS

               Cruz-Garcia was indicted on November 20, 2008, for the 1992 murder of
        Angelo Garcia. ( 1 CR at 6.) In early 2010, he was extradited from Puerto Rico to
        face trial for capital murder. Trial presentations began on July 8, 2013, more than
        twenty years after the crime and nearly five years after the indictment. ( 18 RR at
        29.)
           A. Guilt/Innocence Phase of Trial
               During the guilt/innocence phase of trial, the State presented testimony from
        Angelo Garcia’s mother, Diana Garcia. ( 18 RR at 120.) Diana testified that on the
        night of September 30, 1992, two men entered the bedroom where she, her
        common- law husband, Arturo Rodriguez, and her six-year-old son , Angelo, were
        sleeping.    { Id. at 144-53. )   Diana testified that one of the men beat Arturo
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        unconscious while the other one sexually assaulted her. ( Id. at 153-58.) She stated
        that when the men then left, she discovered that Angelo was gone. ( Id. at 162-63.)
        Arturo Rodriguez testified to the incident as well. ( Id. at 205-219. ) Diana and
        Arturo testified that Cruz-Garcia was a friend of theirs for whom they had sold
        drugs, but that they had stopped selling a few weeks before the crime occurred.
        ( Id. at 129-38, 199-205.) They testified that the men who assaulted them     were
        wearing masks and that they were unable to identify them. ( Id. at 151-62, 208-15.)
               The State also presented the testimony of several law enforcement officers
        who participated in the initial investigation into the crime as well as a nurse who
        performed a sexual assault exam of Diana Garcia the night of the crime. ( See
        generally 18 RR-19 RR.)        The investigation led to the discovery of Angelo
        Garcia’s remains on the shore of Goose Creek in Baytown on November 4, 1992.
        ( 19 RR at 191-92.) The State also presented the testimony of Eric Mehl, a former
        HPD sergeant who reopened the investigation in 2007 while working in the cold
        case unit. (20 RR at 42-43.)
               The State presented the testimony of an alleged co-conspirator named
        Carmelo Martinez Santana, who went by the name Rudy. (20 RR at 116.) Rudy
        claimed that on the night of the incident, he, Cruz-Garcia, and a third man named
        Roger drove to Diana Garcia’s apartment and that Cruz-Garcia and Roger entered
        the apartment while he waited in the car. ( Id. at 135-41 .) Rudy testified that after
        about thirty minutes, Cruz-Garcia and Roger came back to the car and that Cruz-
        Garcia was carrying Angelo Garcia. ( Id. at 143-44. ) Rudy stated that they drove
        to Baytown , where Cruz-Garcia ordered Roger to kill Angelo, which he did. ( Id. at
        148-51.) Rudy testified that they then drove to another location close to a river,
        where Cruz-Garcia ordered him and Roger to dump Angelo’s body into the river.
        ( Id. at 152-53. )


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               Angelita Rodriguez, Cruz-Garcia’s wife at the time of the incident, also
        testified that Cruz-Garcia confessed the crime to her a few months after it
        occurred. (20 RR at 107.)
               Finally, the State presented the testimony of two DNA analysts who testified
        that Cruz-Garcia’s DNA was present on items of evidence recovered from the
        crime scene, including the sexual assault kit of Diana Garcia. (21 RR at 103-73.)
               The defense did not present any affirmative evidence at the guilt/innocence
        phase. (21 RRat 173.)
            B. Punishment Phase of Trial
               At punishment, the State presented evidence of an extraneous kidnapping in
        Puerto Rico for which Cruz-Garcia was convicted in 2002. (24 RR at 14-117.)
        The State also presented evidence of an uncharged extraneous murder in Houston
        in 1989. (25 RRat 4-122.)
               In addition, the State presented testimony from a correctional officer from
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        the Puerto Rican prison where Cruz-Garcia was previously held. (24 RR at 118.)
        He testified that Cruz-Garcia was reprimanded for possessing a cell phone, rope,
        and a map, which the officer believed he planned to use for an escape attempt. { Id.
        at 124-28.) The State also presented testimony from a Harris County jail guard,
        who testified that Cruz-Garcia once failed to promptly return a razor blade that was
        checked out to him. (25 RR at 130-36.) The State additionally presented the
        testimony of a Texas Department of Criminal Justice (TDCJ ) employee, who
        testified generally about the inmate classification system . { Id. at 149-89.)
               Finally, the State presented victim impact testimony from Diana Garcia. (25
        RRat 190-201.)
               The defense presented the testimony of Cruz-Garcia’s wife Mirella, brother
        Joel , and son Abel. (26 RR at 8-79.) These witnesses provided basic information
        about Cruz-Garcia’s background     —that he grew up in the Dominican Republic,
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        moved to Puerto Rico as a young man, and later immigrated to the United States.
        ( Id. ) They testified that Cruz-Garcia was loving, generous, and hard-working, and
        that he was a good father. ( Id. )
               Finally, Angel Meza, a young man who met Cruz-Garcia while incarcerated
        at the Harris County Jail, testified that Cruz-Garcia had had a positive impact on
        him. (26 RR at 81-92.)
           C. Information Uncovered in Post- Conviction Investigation
              Post-conviction counsel have uncovered significant evidence that was not
        presented at Cruz-Garcia’s trial: Consultation with an independent DNA expert
        has revealed that numerous errors occurred in the handling and analysis of the
        DNA evidence in Cruz-Garcia’s case      —information which could have led to the
        suppression of the DNA evidence altogether or to an entirely different theory being
        presented to the jury at the guilt/innocence phase. Additionally, several witnesses
        were available who could have testified to Cruz-Garcia’s ongoing sexual
        relationship with Diana Garcia, which would have provided the jury with an
        alternative explanation for the presence of his DNA on the sexual assault kit.
               Post-conviction investigation has also uncovered substantial information that
        could have been presented at the punishment phase to sway the jury in favor of a
        life sentence. This includes voluminous records from Cruz-Garcia’s time in prison
        in Puerto Rico indicating that Cruz-Garcia had an impeccable disciplinary record
        during his nearly ten years there, as well as testimony from personnel who worked
        in the prison that Cruz-Garcia was a model inmate. Additionally, many of Cruz-
        Garcia’s family members in both the Dominican Republic and Puerto Rico were
        never interviewed by the defense team, but could have provided the jury with a
        much more robust picture of Cruz-Garcia’s life history and his role in their family.
        Additionally, expert witness testimony was available to explain the relevance of
        Cruz-Garcia’s life story to the mitigation question .
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               Finally, post-conviction investigation has uncovered numerous instances of
        juror misconduct that infringed upon Cruz-Garcia’s right to a fair trial .
                                                 III.
                                      STANDARD OF CARE
            A . Ineffective Assistance of Trial Counsel
               A criminal defendant is guaranteed the right to trial representation. This
        Sixth Amendment right to counsel “preserves the fairness, consistency, and
        reliability of criminal proceedings by ensuring that the process is an adversarial
        one.” Ex parte Flores , 387 S.W.3d 626, 633 (Tex. Crim. App. 2012).
               An ineffective assistance of counsel claim has two components: Cruz-Garcia
        must show that counsel’s performance was deficient, and that the deficiency
        prejudiced the defense. Strickland v. Washington , 466 U.S. 668, 687 ( 1984);
        Porter v. McCollum , 558 U.S. 30, 38-39 (2009); Wiggins v. Smith , 539 U.S. 510,
        521 (2003); Virgil v. Dretke , 446 F.3d 598, 608 (5th Cir. 2006); Ex parte Bryant ,
        448 S.W.3d 29, 39 (Tex. Crim . App. 2014); Ex parte Overton , 444 S.W. 3 d 632,
        640 (Tex. Crim. App. 2014) (granting habeas relief pursuant to Strickland), Ex      -
        parte Jimenez , 364 S.W.3d 866, 883 (Tex. Crim. App. 2012); Thompson v. State , 9
        S.W.3d 808, 812 (Tex. Crim . App. 1999) (“[Ajppellant must show a reasonable
        probability that, but for counsel’s unprofessional errors, the result of the
        proceeding would have been different.” ).

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               To establish deficiency, Cruz-Garcia must show his counsel ’s representation
        fell below an objective standard of reasonableness. Porter , 558 U.S. at 38-39
        ( quoting Strickland , 466 U.S. at 688); Ex parte Bryant , 448 S.W.3d at 39. A
        defendant need only prove ineffective assistance of counsel by a preponderance of
        the evidence. Thompson , 9 S.W.3 d at 813. This standard governs the claim as a
        whole, and does not replace the more lenient “ reasonable probability” standard for
        the prejudice prong.
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               The Supreme Court has reiterated that it applies a “case-by-case approach to
        determining whether an attorney’s performance was unconstitutionally deficient
        under Strickland." Rompilla v. Beard , 545 U.S. 374, 393-94 (2005) (O’Connor, J.,
        concurring) (citing Strickland , 466 U.S. 668).
               Deficient performance is performance that is “ inconsistent with the standard
        of professional competence in capital cases that prevailed [at the time of the trial].”
        Cullen v. Pinholster , 131 S. Ct. 1388, 1407 (2011). The Supreme Court has
        repeatedly assessed the reasonableness of counsel’s performance by looking to
        “[prevailing norms of practice as reflected in [the] American Bar Association
        standards.” Strickland , 466 U.S. at 688; see also Padilla v. Kentucky , 559 U.S.
        356, 367 (2010) (noting that the ABA Standards “may be valuable measures of the
        prevailing professional norms of effective representation”); Rompilla , 545 U.S. at
        387 (“‘[W]e long have referred [to the ABA Standards for Criminal Justice] as
        “guides to determining what is reasonable.’” ” (quoting Wiggins , 539 U.S. at 524)).
        Because adequacy is based upon “counsel’s perspective at the time,” Strickland,
        466 U.S. at 689, courts must look to the guidelines then in effect. See Bobby v.
        Van Hook , 558 U.S. 4 (2009).
               At the time of Cruz-Garcia’s trial, his attorneys’ obligations were governed
        by “ prevailing professional norms,” even if those norms did not align with a less
        rigorous defense based on “ most common custom[s].” Harrington v. Richter , 562
        U.S. 86, 88 ( 2011 ). The Supreme Court instructs courts to look at the “norms of
        practice as reflected in the American Bar Association and the like” and to consider
        “all the circumstances” of a case. Strickland , 466 U.S. at 688. These sources of
        norms include the ABA Guidelines for the Appointment and Performance of
        Defense Counsel in Death Penalty Cases , 31 HOFSTRA L. REV. 913 (2003 ) ( UABA
        Guidelines ” ), the ABA Standards for Criminal Justice (3d ed . 1993 ) ( UABA




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        Standards”), and the State Bar of Texas Guidelines and Standards for Texas
        Capital Counsel , 69 TEX . B.J. 966 (2006) (“ Texas Guidelines”).
               Trial counsel have a duty to undertake reasonable investigation or to make a
        reasonable decision that makes particular investigations unnecessary. Wiggins ,
        539 U.S. at 521; Strickland , 466 U.S. at 690-91. “[The] Guidelines applied the
        clear requirements for investigation set forth in the earlier Standards to death
        penalty cases and imposed . . . similarly forceful directive[s].” Rompilla , 545 U.S.
        at 387 n.7.        Once capital trial counsel completes the necessary pretrial
        investigation, he or she must then formulate a defense theory “that will be effective
        in connection with both guilt and penalty, and should seek to minimize any
        inconsistencies.” ABA Guidelines , Guideline 10.10.1. The Court of Criminal
        Appeals holds capital counsel to an even higher standard: “It is not sufficient to
        inquire generally and leave it up to the defendant to raise topics or respond to
        open-ended questions. Like a doctor, [capital] defense counsel must be armed with
        a comprehensive check-list of possibilities, and forcefully inquire about each
        topic.”      Ex parte Gonzales , 204 S.W.3d 391, 400-01 (Tex. Crim. App. 2006)
        (Cochran, J ., concurring).
               To establish prejudice, Cruz-Garcia “ must show that there is a reasonable
        probability that, but for counsel ’s unprofessional errors, the result of the
        proceeding would have been different.” Strickland , 466 U.S. at 694. A reasonable
        probability is “a probability sufficient to undermine confidence in [the] outcome.”
        Porter , 558 U.S. at 44 (quoting Strickland , 466 U.S. at 693-94). Cruz-Garcia need
        not show that counsel’s deficient conduct “ more likely than not altered the
        outcome” in his case, Strickland , 466 U.S. at 693, but he must demonstrate that
        “the likelihood of a different result [is] substantial, not just conceivable.” Richter ,
        562 U.S. at 112.       State courts “ must decide whether the undiscovered and
        unoffered evidence would have created a reasonable probability that, had the jury
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             heard it, the jury’s verdict would have been different.” Ex parte Martinez , 195
             S.W.3d 713, 731 (Tex. Crim. App. 2006).
                    State post-conviction courts must analyze a capital punishment phase
              ineffectiveness claim by “reweigh[ing] the evidence in aggravation against the
             totality of available mitigating evidence.” Wiggins , 539 U.S. at 534. It is not
             necessary for the petitioner to demonstrate that the newly presented mitigation
             evidence would necessarily overcome the aggravating circumstances. Williams v.
             Taylor , 529 U.S. 362, 394-98 (2000). The Constitution requires that state post-
             conviction courts “engage with what [a defendant] actually went through,” as
             expressed in mitigating evidence. Porter , 558 U.S. at 44. It is not only incorrect
             but “unreasonable to discount to irrelevance [mitigating] evidence . . . [or] to
             conclude that [certain mitigating evidence] would be reduced to inconsequential
             proportions simply because the jury would also have learned [of related
             aggravating evidence].” Id. at 43. The Court of Criminal Appeals has “adapted
i.           the Supreme Court’s prejudice test to require a showing that there is a reasonable
             probability that, absent the errors, the jury would have answered the mitigation
             issue differently.” Ex parte Gonzales , 204 S.W.3d at 394.
                 B . Ineffective Assistance of Appellate Counsel
                    Ineffective assistance of appellate counsel claims are governed by
             Strickland. Smith v. Robbins , 528 U.S. 259, 285 (2000) (“[T]he proper standard
             for evaluating [a petitioner’s] claim that appellate counsel was ineffective . . . is
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             that enunciated in Strickland v. Washington.” ) , Evitts v. Lucey , 469 U.S. 387, 396-
             97 ( 1985 ) (holding the Fourteenth Amendment requires the assistance of counsel to
             appellants for their first appeal as of right); accord Ries v. Quarterman , 522 F.3d
             517, 531-32 (5th Cir. 2008); Ex parte Santana , 227 S.W.3d 700, 704-05 (Tex.
             Crim . App. 2007). Appellate counsel has a duty to review the record and present
             any potentially meritorious claims. Meza v. State , 206 S.W.3d 684, 689 (Tex.
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        Crim. App. 2006) (noting appellate counsel’s “constitutional duty to review the
        record for any arguable error”).
           C. Scope of the Waiver of Attorney-Client Privilege
               Cruz-Garcia recognizes that raising specific issues of ineffective assistance
        of counsel as developed in this Application operates as a limited waiver of
        privileged information; however, he asserts his right to have all privileged
        information not directly relevant to his claims remain privileged.
                 Under the Texas Rules of Evidence, confidential communications between a
        client and his attorney are privileged. TEX . R. EVID. 503( b)(1 )(A) (“A client has a
        privilege to refuse to disclose and to prevent any other person from disclosing
        Confidential communications made for the purpose of facilitating the rendition of           ,

        professional legal services to the client . . . between the client . . . and the client’s
        lawyer.” ). The privileged nature of communications between client and attorney
        remains intact, even upon the termination of the attorney-client relationship. See
        Maryland Am. Gen. Ins. Co. v. Blackmon, 639 S.W.2d 455, 458 (Tex. 1982).
               The privilege between attorney and client is not absolute.           It is “well-
        established . . . that when an attorney’s professional conduct is challenged by the
        client, the privilege is waived so far as necessary to defend the attorney’s
        character.” Westv. Solito , 563 S.W.2d 240, 245 n.3 (Tex. 1978). In the context of
        criminal law, courts across the nation have consistently “held that a claim of
        ineffective assistance of counsel by a defendant against a former attorney waives
        the attorney-client privilege.” Joseph v. State , 3 S. W.3d 627, 637 (Tex. App.       —
        Houston [14th Dist.] 1999) ( citing Laughner v. United States , 373 F.2d 326, 327
        (5th Cir. 1967)); see also United States v. Pinson, 584 F.3d 972, 978 ( 10th Cir.
        2009).
               However, any waiver of the attorney-client privilege only applies to
        communications relevant to the claim of ineffective assistance of counsel.
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        Laughner , 373 F.2d at 327 (noting where “the client alleges a breach of duty to
        him by the attorney, . . . he thereby waives the privilege as to all communications
        relevant to that issue” (emphasis added )). Courts have consistently limited the
        scope of these waivers, permitting disclosure of only those confidential
        communications that are “necessary to prove or disprove [the client’s] claims.”
        Pinson, 584 F.3d at 978 (emphasis added ).2

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          See also Bittaker v. Woodford , 331 F.3d 715, 720 (9th Cir. 2003) (“Because a
        waiver is required so as to be fair to the opposing side, the rationale only supports a
        waiver broad enough to serve that purpose. Courts, including ours, that have
        imposed waivers under the fairness principle have therefore closely tailored the
        scope of the waiver to the needs of the opposing party in litigating the claim in
        question.” ); Johnson v. Alabama , 256 F.3d 1156, 1179 ( 11th Cir. 2001) (“[A]
        habeas petitioner alleging that his counsel made unreasonable strategic decisions
        waives any claim of privilege over the contents of communications with counsel
        relevant to assessing the reasonableness of those decisions in the circumstances.”
        (emphasis added )); United States v. Basham , Cr. No. 4:02-992-JFA, 2012 WL
        1130657 at *6 (D.S.C. Apr. 4, 2012) (unpublished ) (“[T]he Government will not
        use and will not make copies of any material or information in trial counsel’s files
        that is not related or relevant to a claim in Basham’s § 2255 Motion.” (emphasis
        added)); In re Nat’l Mortg. Equity Corp. Mortg. Pool Certificates Sec. Litig., 120
        F.R .D. 687, 692 (C.D. Cal. 1988) (rejecting “the suggestion made by some parties
        that ‘selective’ disclosure should not be allowed , that if the exception is permitted
        to be invoked, all attorney-client communications should be disclosed” as “directly
        contrary to the reasonable necessity standard” ); Levin v. Ripple Twist Mills, Inc.,
        416 F. Supp. 876, 886-87 (E.D. Pa. 1976) (“ In almost any case when an attorney
        and a former client are adversaries in the courtroom, there will be a credibility
        contest between them. This does not entitle the attorney to rummage through
        every file he has on that particular client ( regardless of its relatedness to the subject
        matter of the present case) and to publicize any confidential communication he
        comes across which may tend to impeach his former client. At the very least, the
        word ‘ necessary’ in the disciplinary rule requires that the probative value of the
        disclosed material be great enough to outweigh the potential damage the disclosure
        will cause to the client and the legal profession .” ); Alabama v. Lewis , 36 So. 3d 72,
        77-78 (Ala. Crim. App. 2008) ( noting that, by alleging “ ineffective assistance of
        counsel during the trial and direct appeal of these cases, the defendant waived the
        benefits of both the attorney-client privilege and the work product privilege, but
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               Predecessor counsel’s duty to limit disclosure to information relevant to the
        claim of ineffective assistance also flows from counsel ’s continuing duty to the
        former client. Both the ABA Guidelines and the Texas Guidelines stipulate that,
        “[i]n accordance with professional norms, all persons who are or have been
        members of the defense team have a continuing duty to safeguard the interests of
        the client.” ABA Guidelines , Guideline 10.13; Texas Guidelines , Guideline 11.8.
        ABA Formal Opinion 10-456 states that, in the context of an ineffective assistance
        of counsel claim, lawyers may disclose information “reasonably necessary” for
        resolution of the ineffectiveness claim. ABA Standing Comm , on Ethics & Prof 1
        Responsibility, Formal Opinion 10-456 , at 5 (2010). However, the opinion further
        states that it is “highly unlikely that a disclosure in response to a prosecution
        request, prior to a court-supervised response by way of testimony or otherwise,
        will be justifiable.” Id.




        only with respect to matters relevant to his allegations of ineffective assistance of
        counsel ” (second emphasis added )); Waldrip v. Head , 532 S.E.2 d 380, 387 (Ga.
        2000) (“[W]e hold that a habeas petitioner who asserts a claim of ineffective
        assistance of counsel makes a limited waiver of the attorney-client privilege and
        work product doctrine and the state is entitled only to counsel’s documents and
        files relevant to the specific allegations of ineffectiveness.” (emphasis added )); In
        re Dean , 711 A.2 d 257, 258-59 (N.H. 1998) (“ We hold that claims of ineffective
        assistance of counsel , whether brought in a motion for new trial or in a habeas
        corpus proceeding, constitute a waiver of the attorney-client privilege to the extent
        relevant to the ineffectiveness claim; the waiver is a limited one.” (emphasis
        added)).
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                                          ARGUMENT
                                          CLAIM ONE
            TRIAL COUNSEL WERE INEFFECTIVE WHEN THEY FAILED TO
           PRESENT EVIDENCE FROM A DNA EXPERT TO CHALLENGE THE
                     DNA EVIDENCE PRESENTED AT TRIAL
               The State’s case against Cruz-Garcia at the guilt/innocence phase rested
        largely on DNA evidence, the only physical evidence linking Cruz-Garcia to the
        crime. Indeed, the State presented evidence that Angelo Garcia’s 1992 murder had
        remained unsolved until 2008, when the HPD obtained a DNA sample from Cruz-
        Garcia and compared it to evidence collected at the time of the crime. Recognizing
        the importance of the DNA evidence to the State’s case for guilt, trial counsel filed
        a pretrial motion to suppress the DNA evidence. In support of this motion, counsel
        cited to the fact that, through multiple investigations, the “now defunct HPD crime
        lab” had been found to have engaged in improper handling and testing of DNA
        evidence during the time that that lab was in possession of the DNA evidence in
        Cruz-Garcia’s case.
               After a hearing, the trial court denied counsel’s motion to suppress the DNA
        evidence, finding that counsel had presented no evidence that the general issues of
        malfeasance at the HPD crime lab had affected the lab’s handling of evidence in
        this case. Had trial counsel retained an independent DNA analyst to review the
        DNA testing performed by the State, they could have presented testimony at the
        suppression hearing that, in fact, the very issues endemic to the HPD crime lab in
        the early 1990s were present here. Moreover, such a review also would have
        revealed problems in the DNA testing and analysis performed later by Orchid
        Cellmark, calling into question the statistical and scientific validity of the DNA
        evidence presented by the State. Had trial counsel presented this testimony at the

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        suppression hearing, there is a reasonable probability that the DNA evidence
        would have been suppressed.
               Furthermore, even if the DNA evidence had not been suppressed, trial
        counsel could have presented this testimony to substantially undermine the State’s
        case for guilt. Trial counsel performed ineffectively by failing to present a DNA
        expert to challenge the DNA evidence presented in Cruz-Garcia’s case. Thus,
        Cruz-Garcia’s conviction was unlawfully and unconstitutionally imposed in
        violation of his applicable state and federal Constitutional rights, state statutory
        law, and United States Supreme Court and state case law, and the appropriate
        remedy is a new trial.
            A . DNA Evidence and Trial Counsel ’s Attempt to Suppress
               Cruz-Garcia was indicted in November 2008 after HPD obtained a DNA
        sample from him and compared it to the DNA profile obtained from the sexual
        assault kit of Diana Garcia and from a cigar that was found at her house after          ,



        Angelo Garcia was kidnapped. ( 1 CR at 6; 20 RR at 51, 55-56.) Prior counsel for
        Cruz-Garcia, Mr. Shellist and Mr. Capitaine, filed a Motion for Continuance in
        January 2011 to allow time for an independent DNA expert to review the State’s
        DNA evidence. (2 CR at 221 ; Ex. 4 [Aff. of Steven Shellist] at ][4.) Mr. Shellist
        and Mr. Capitaine recognized that because DNA evidence was the only physical
        evidence linking Cruz-Garcia to the crime, “evaluating the integrity of the DNA
        evidence would be crucial in determining whether or not Cruz-Garcia could be
        connected to the sexual assault of Diana Garcia and the kidnapping and subsequent
        death of her son.” (Ex. 4 at 3 [Aff. of Shellist]; 2 CR at 227.) Mr. Shellist and
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        Mr. Capitaine were also aware that specific employees of the HPD crime lab who
        had handled evidence in Cruz-Garcia ’s case had since been found to have engaged
        in serious, and in some cases criminal , misconduct. (2 CR at 227-28; Ex. 4 at [3
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        [Aff. of Shellist]. ) Mr. Shellist and Mr. Capitaine therefore knew that retaining an
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        independent forensic DNA expert to review the State’s handling and processing of
        the DNA evidence would be necessary to render effective assistance of counsel
        and guarantee Cruz-Garcia a fair trial. (Ex. 4 [Aff. of Shellist at 3.)
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               To that end, Mr. Shellist and Mr. Capitaine contacted Dr. Elizabeth Johnson,
        a private forensic scientist and DNA analyst, to consult with them about the DNA
        evidence in the case. (2 CR at 229; Ex. 4 at |4 [Aff. of Shellist]; Ex. 32 at p. 2
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        [Trial Affidavit of DNA Expert Johnson].) Dr. Johnson provided an affidavit in
        support of the Motion for Continuance detailing the amount of time she would
        need to review the DNA evidence in the case. (Ex. 4 at |4 [Aff. of Shellist]; Ex.
        32 at p. 2 [Trial Affidavit of DNA Expert Johnson].)
                                                                    ^   Mr. Shellist and Mr.
        Capitaine intended to have Dr. Johnson review the DNA testing performed by the
        State. (2 CR at 229; Ex. 4 at 4 [Aff. of Shellist].) Had that review produced
                                          ^
        helpful results, they intended to use that information to suppress the DNA
        evidence. Alternatively, they intended to present Dr. Johnson as a witness at trial
        or to consult with her for assistance in cross-examining the State’s witnesses
        pertaining to DNA. (Ex. 4 at jf 5 [Aff. of Shellist].)
               When Mr. Shellist and Mr. Capitaine withdrew from Cruz-Garcia’s case,
        they told new counsel that they would be happy to consult with him about the case
        and share their thoughts and ideas for Cruz-Garcia’s defense. (Ex. 4 at 1J6 [Aff. of
        Shellist].) Trial counsel declined to consult with them about the case. ( Id. ) Trial
        counsel did not retain Dr. Johnson or any other DNA expert to review the DNA
        testing performed in Cruz-Garcia’s case.
               On June 14, 2013, trial counsel filed a Motion to Suppress Results of All
        DNA Testing. (3 CR at 454-456.) A suppression hearing was held on June 19,
        2013. ( 16 RRat 1.)




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             1. Suppression Hearing
               At the suppression hearing, the State presented testimony from Eric Mehl, a
        retired HPD sergeant. (16 RR at 26.) Sgt. Mehl testified that while working in the
        HPD cold case squad in 2007, he decided to reinvestigate the death of Angelo
        Garcia fifteen years earlier. { Id. at 29-30). Sgt. Mehl retrieved several items of
        evidence from storage that had been collected at the time of the crime, including a
        cigar that had been recovered at the scene of the crime, a sexual assault kit that was
        taken from Diana Garcia the night of the assault, a cutting from Diana Garcia’s
        panties, and blood samples taken from Diana Garcia and Arturo Rodriguez. Sgt.
        Mehl sent these items to forensic testing lab Orchid Cellmark for analysis. { Id. at
        30-35.) Sgt. Mehl testified that the cigar had been stored at the HPD property
        room and that the sexual assault kit had been stored in the property room annex.
        { Id. at 30-32.) According to Sgt. Mehl , the sexual assault kit was sealed in a
        plastic bag, and there did not appear to be any problems with the storage of this
        item of evidence, nor with the storage of the cigar. { Id. at 30-33.) Sgt. Mehl also
        stated that the cutting from the panties and the blood samples from Diana Garcia
        and Arturo Rodriguez had been stored at the HPD crime lab and that each of these
        items was in individually sealed plastic bags and stored together in a larger bag.
        { Id. at 33-35.)
               Sgt. Mehl further testified that in 2008, he obtained a DNA sample from
        Cruz-Garcia and also sent it to Orchid Cellmark for analysis and comparison to the
        DNA profiles obtained from the items of evidence. ( 16 RR at 38-39.) After
        performing this analysis, Orchid Cellmark reported back to Sgt. Mehl that the
        DNA profile obtained from the cigar matched that of Cruz-Garcia , that the major
        component of the DNA mixture obtained from the cutting of the panties belonged
        to Cruz-Garcia, and that Cruz-Garcia could not be excluded as a contributor to the
        DNA mixture found on the vaginal swab. { Id. at 39. )
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                   The State then presented the testimony of Matt Quartaro, a DNA analyst at
            Orchid Cellmark. ( 16 RR at 49.) Quartaro testified that when he received the
            evidence in this case from Sgt. Mehl , there did not appear to be any problems in
            the packaging of the evidence. { Id. at 49-50, 60.) Orchid Cellmark’s analysis of
            the DNA evidence provided by Sgt. Mehl resulted in a finding that Cruz-Garcia’s
            DNA profile matched the profile obtained from the cigar; that the sperm cell
            fraction obtained from the vaginal swabs was a mixture of multiple individuals, to
            which Cruz-Garcia and Arturo Rodriguez could not be excluded as contributors;
            and that the sperm cell fraction obtained from the cutting of the panties was a
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            mixture of at least two individuals, to which Cruz-Garcia was a major contributor
            and Arturo Rodriguez could not be excluded as a minor contributor. { Id. at 54-60.)
                   Finally, the State presented testimony from Courtney Head, a criminalist
            with the HPD crime lab. Head testified that in 1992, the HPD crime lab had
            performed DNA extractions on the evidence and reference samples collected in the
            case and that those extractions were sent to Genetic Design Lab in California for
            testing. (16 RR at 84.) In 2010, Head performed a DNA extraction on a buccal
            swab taken from Cruz-Garcia. { Id. at 89-90.) Head then compared the DNA
            profile she obtained of Cruz-Garcia to the DNA profiles that Orchid Cellmark had
            obtained from the evidentiary samples. { Id. at 91.) Head did not herself perform
            any DNA testing on the items of evidence; rather, she relied solely on the DNA
            profiles obtained by Orchid Cellmark. { Id. ) Based on her comparison of Cruz-
            Garcia’s DNA profile to Orchid Cellmark’s findings, Head found that Cruz-Garcia
            could not be excluded as a contributor to the DNA on the cigar; that Cruz-Garcia
            could not be excluded as a contributor to the mixture DNA profile obtained from
           the sperm cell fraction of the vaginal swabs; and that the DNA profile obtained
            from the sperm cell fraction of the panties was a mixture of at least two


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        individuals, to which Cruz-Garcia could not be excluded as a contributor to the
        major component. ( Id. at 91-92.)
               Head also testified to the involvement of several specific HPD crime lab
        analysts in the handling of DNA evidence in Cruz-Garcia’s case. Head testified
        that a criminalist named Joseph Chu had obtained a hair sample from a suspect in
        1992 and also had received buccal swabs from Cruz-Garcia in 2010. (16 RR at 85-
        86.) Head also testified that a former HPD crime lab employee named B. Sharma
        was the main DNA analyst on the extractions taken from the sexual assault kit in
        1992. ( Id. at 86-87, 97.) Head further testified that another HPD crime lab
        employee named Deetrice Wallace initially received the sexual assault kit and did
        some screening to detect blood or semen. ( Id. at 98.)
               In response to this testimony, the defense argued that investigations into the
        workings of the HPD crime lab over the time period that the lab was in possession
        of evidence in Cruz-Garcia’s case had resulted in scathing reports of malfeasance
        at the lab, including contamination of evidence and incorrect analyses, and the
        eventual closure of the lab. ( 16 RR at 16-18.) Additionally, trial counsel argued
        that specific individuals who had handled evidence in Cruz-Garcia’s case were
        found through these investigations to have committed misconduct in their work at
        the lab. ( Id. at 17, 108.) In support of their motion, trial counsel also submitted
        several reports of the Independent Investigator for the Houston Police Department
        Crime Laboratory and Property Room, Michael Bromwich; the HPD Internal
        Affairs Division investigation summary ; employee complaint histories of Joseph
        Chu and Baldev Sharma; and judgments of conviction of Deetrice Wallace. ( Id. at
        21; 18 RR at 28.) These records demonstrated that Joseph Chu had received nine
        allegations of misconduct as an employee of the HPD crime lab and that he had on
        several occasions failed to report DNA statistics properly. ( Defense Ex. 8-9; 17
        RR at 14- 15.) The records also showed that Baldev Sharma had received five
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        allegations of misconduct as an employee of the HPD crime lab, including an
        allegation of criminal activity; that he had been cited for violations of competence
        and truthfulness; and that the DNA/Serology Section of the lab was a “total
        disaster” under his management. (Defense Ex. 2-3, 8-9; 17 RR at 15-16.) The
        records further demonstrated that, as an employee with the Department of Public
        Safety, Deetrice Wallace had been convicted of three counts of tampering with a
        governmental record. (Defense Ex. 17; 17 RR at 16.) Nevertheless, trial counsel
        conceded they could not show that the type of mishandling of evidence detailed in
        the investigative reports and employee records occurred with respect to any of the
        evidence in Cruz-Garcia’s case. (16 RR at 18, 107.)
               In ruling on counsel’s Motion to Suppress, the trial court held that “the DNA
        evidence as it relates to Orchid Cellmark testing is sufficiently reliable and relevant
        and is admissible.” (17 RR at 4.) Specifically, the court found that the sexual
        assault kit was sealed when Sgt. Mehl retrieved it from the HPD property room
        annex and sent it to Orchid Cellmark in 2007 and that “there is no evidence in this
        case that any of the ...DNA evidence in question was stored in a manner or placed
        in a location that is alleged to be subject to contamination, mishandling, or
        malfeasance by the HPD property room or the old HPD Crime Lab.” { Id. at 7, 12.)
        The court found that the Bromwich Report submitted by trial counsel detailed
        myriad issues with the DNA serology section of the old HPD crime lab, including
        “deficiency in documentation of procedures, mistakes in performing analysis of
        samples containing mixtures of more than one person’s DNA, errors in calculating
        statistical probabilities, mischaracterization of DNA results and testimony, lack of
        established quality assurance and internal auditing systems, inadequate resources, a
        technical leader with inadequate qualifications, inadequate training program,
        insufficient educational background for analysts, and inadequate standard of
        operating procedures.” { Id. at 13. ) However, the court held that “[n]o issues have
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        been identified in the Bromwich Report or in this hearing or in any discovery that
        the Court has been made aware of that there were any concerns addressed in those
        items regarding the evidence in this case.” ( Id. )
             2 . Trial
             The State again presented the testimony of Sgt. Mehl, Quartaro, and Head at
        trial. Their testimony largely mirrored the testimony they gave at the suppression
        hearing. (20 RR at 33-68; 21 RR at 103-73.)
            B. Findings of Post-Conviction Review by DNA Expert
               Daniel Hell wig is the Laboratory Director of Sorenson Forensics, a private
         forensic lab in Salt Lake City, Utah, that provides forensic DNA casework
         services for entities including crime labs, law enforcement agencies, and courts
         throughout the country. (Ex. 2 at fl [Aff. of Daniel Hellwig].) Had trial counsel
         retained an independent DNA analyst such as Mr. Hellwig to review the results of
         the DNA testing performed in Cruz-Garcia’s case, they would have discovered
         that the same issues detailed in the Bromwich Report   —including improper storage
         of evidence and errors in analyzing mixture DNA profiles and calculating
                                 —were, in fact, present in Cruz-Garcia’s case, not only with
         statistical probabilities
         regard to the HPD crime lab’s initial handling of the evidence, but with regard to
         the testing performed later by Orchid Cellmark as well.
             1. Chain of Custody
               Mr. Hellwig’s review of the chain of custody documentation uncovered
        serious concerns about the integrity of the probative pieces of evidence in Cruz-
        Garcia’s case—specifically, the sexual assault kit and the cutting of the panties
        from which incriminating DNA evidence was later discovered. Contrary to the
        testimony of Sgt. Mehl and Matt Quartaro at the suppression hearing and trial , the
        Orchid Cellmark chain of custody documentation revealed that the evidence bag
        containing the sexual assault kit that housed the vaginal swabs was unsealed prior

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        to laboratory processing. While the outer FedEx box in which Orchid Cellmark
        received the sexual assault kit was sealed, the sexual assault kit itself was unsealed
        when it was received by Orchid Cellmark. This sexual assault kit was in the
        custody of HPD for approximately fifteen years before it was sent to Orchid
        Cellmark. Furthermore, although the manila envelope containing the cutting from
        the panties was identified as a sealed container, two integral pieces within that
        sealed package were noted as unsealed. The unsealed envelopes contained within
        this package housed the cutting from the panties and the known blood sample from
        Arturo Rodriguez. (Ex. 2 at       10 [Aff. of Hellwig].)
               The fact that key pieces of evidence —including the sexual assault kit—were
        received unsealed by Orchid Cellmark undoubtedly calls into question the integrity
        of the physical evidence in Cruz-Garcia’s case.         Moreover, the fact that an ,




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        unsealed known sample the blood of Arturo Rodriguez was housed together                   ,

        with an unsealed piece of evidence  —the cutting from the panties—is also alarming
        and against best scientific practice. Ultimately, this failure to adhere to basic chain
        of custody protocols calls into doubt the overall reliability of the evidence handling
        in Cruz-Garcia’s case. (Ex. 2 at fflflO, 23 [Aff. of Hellwig].)
             2. The Mixture DNA Profile
               Mr. Hellwig further found that the comparison between Arturo Rodriguez
        and the mixture DNA profile obtained from the cutting of the panties should have
        been deemed inconclusive and that, therefore, the second contributor to this
        mixture should correctly have been described as “unknown.” Orchid Cellmark
        failed to follow prevailing guidelines with regard to its inclusion of Arturo
        Rodriguez in the mixture DNA profile obtained from the cutting of the panties.
        Furthermore, Orchid Cellmark failed to report any statistical evaluation with
        respect to the inclusion of Arturo Rodriguez in the mixture DNA profile. This
        failure directly contradicts the Scientific Working Group on DNA Analysis
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        Methods (SWGDAM) guidelines, which state that any inclusion (or non-exclusion)
        must be reported along with a statistical weight to aid the trier of fact in the
        strength of the inclusion.     Because Orchid Cellmark did not do a statistical
        calculation on this DNA mixture, they should not have included Arturo Rodriguez
        as a possible contributor to this mixture. (Ex. 2 at   12-14 [Aff. of Hellwig].)
               Furthermore, the DNA mixture obtained from the cutting of the panties was
        only detected in four of fifteen DNA loci and at very low levels. It is, therefore,
        very unlikely that any of these loci would be deemed suitable for statistical
        analysis, and, thus, it would be impossible to obtain the required statistical weight.
        The comparison between the cutting of the panties and Arturo Rodriguez should,
        therefore, have been deemed inconclusive. (Ex. 2 at ]fl 3 [Aff. of Hellwig].)
               Testimony at trial that Arturo Rodriguez was the second contributor to. the
        mixture DNA profile obtained from the sperm cell fraction from the cutting of the
        red panties was, therefore, misleading. The second contributor to this mixture
        should correctly have been described as an unknown source. Based on the genetic
        material recovered, there is insufficient information for a laboratory to conclude
        that Arturo Rodriguez, rather than an unknown contributor, was the second source
        of the male DNA present in this mixture. (Ex. 2 at ffl[14, 24 [Aff. of Hellwig].)
             3. The Vaginal Swabs
               Mr. Hellwig also found that Orchid Cellmark failed to follow the SWGDAM
        guidelines with regard to the lab’s statistical analysis of the sperm cell fraction of
        the vaginal swab. When utilizing the statistical method used in this analysis, called
        the Combined Probability of Inclusion (CPI), it is essential to evaluate the DNA
        profile obtained to ensure that no allelic dropout has occurred —that is, that no

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        DNA information s “ missing” from the profile due to minute amounts of input
        DNA or DNA degradation—as this will invalidate the CPI statistic. With regards
        to the sperm cell fraction of the vaginal swab, there are several DNA loci that

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        appear to be at a low enough level that the Orchid Cellmark laboratory should have
        precluded them from statistical analysis. There are even indications of missing
        alleles where the laboratory still improperly utilized this DNA locus for statistical
        analysis, raising concerns of allelic dropout. (Ex. 2 at fflfl 5-16 [Aff. of Hellwig].)
               The SWGDAM guidelines recommend incorporation of a stochastic
        threshold to ensure that no allelic dropout is occurring. However, Orchid Cellmark
        apparently failed to utilize a stochastic threshold in this case.          In fact, the
        laboratory chose to preclude the use of only one DNA locus from the statistical
        calculation when there are definite questions as to the allelic dropout at several
        other DNA loci. (Ex. 2 at If 16 [Aff. of Hellwig].)
               Additionally, Orchid Cellmark violated fundamental principles of forensic
        analysis by providing two separate statistical analyses for the DNA profile
        obtained from the vaginal swab, one for the inclusion of Arturo Rodriguez and
        another for the inclusion of Cruz-Garcia. It is essential that evaluation of the.
        unknown, evidentiary DNA profile occur with no bias from the known samples
        that will be compared. Essentially, an unknown evidentiary profile should be
        evaluated for suitability for comparison as well as statistical analysis before
        introducing the known, potential suspect samples. Conversely, in this case, the
        statistics were changed for the subsequent inclusion of Cruz-Garcia. This practice
        is a violation of both SWGDAM guidelines as well as fundamental principles of
        forensic analysis.      It is essential to do everything possible to remove
        interpretational bias toward any individual by analyzing the evidentiary DNA
        profiles previous to and blind to the analysis and subsequent comparison to the
        known sample.        Orchid Cellmark ’s failure to do so calls into question the
        comparison as well as the statistics generated as a result of this comparison. (Ex. 2
        at UU17, 25 [Aff. of Hellwig].)


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              4. The HPD Crime Lab’s Reinterpretation of the Orchid Cellmark Data
               HPD criminalist Courtney Head testified that she compared Cruz-Garcia’s
        DNA profile to the DNA profiles that Orchid Cellmark had obtained from the
        evidentiary samples, rather than performing DNA testing on the evidentiary items
        herself. (21 RR at 91.) The HPD crime lab’s reinterpretation of data and DNA
        profiles that were generated by Orchid Cellmark approximately three years prior to
        the issuing of the HPD report presents a further problem in the DNA analysis
        performed in Cruz-Garcia’s case. A laboratory’s reanalysis of the work of another
        forensic DNA laboratory runs counter to best scientific practice. The analysis and
        interpretation of forensic DNA profiles should be done utilizing the procedures,
        protocols, and interpretation thresholds of the laboratory that originally processed
        and created the profiles. (Ex. 2 at [18 [Aff. of Hellwig].)
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               In addition to the problems in Orchid Cellmark’s initial interpretation and
        reporting of the DNA profile from the sperm cell fraction of the vaginal swab,
        HPD’s reinterpretation of this profile is itself problematic. It would be impossible
        for the HPD laboratory to evaluate for stochastic dropout when Orchid Cellmark
        did not appear to use a stochastic threshold in its original interpretation.
        Furthermore, the HPD laboratory could not have a thorough understanding of the
        validation documentation, procedures, and thresholds specific to the Orchid
        Cellmark laboratory processing necessary to accurately reinterpret this profile.
        Without intimate knowledge of and proper adherence to the validated procedures,
        thresholds, and specifications of the Orchid Cellmark laboratory at the time of its
        interpretation, the HPD laboratory would not be utilizing the interpretation that is
        unique to the laboratory that the data was created in and interpreted under. (Ex. 2
        at 19 [Aff. of Hellwig].)
          ^    Additionally, in its reinterpretation of the DNA mixture obtained from the
        vaginal swab, the HPD laboratory excluded a DNA marker in its statistical
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        calculations that was originally included by the Orchid Cellmark interpretation and
        included a DNA marker that was originally excluded by the Orchid Cellmark
        interpretation. There is no documentation that explains the reason behind this
        interpretation decision by the HPD laboratory. Such an action is another example
        of the problems that stem from HPD’s reinterpreting data that was not generated at
        its own laboratory. (Ex. 2 at      [Aff. of Hellwig].)
                Furthermore, while reinterpreting the two single source profiles (the cigar
        and the major component of the sperm cell fraction from the panties), the HPD
        laboratory increased the rarity of the profile by including two DNA loci in its
        statistical calculations that were previously not reported in the Orchid Cellmark
        report. It is problematic that the original laboratory that created the profile did not
        denote these two markers as suitable for comparison (and thus suitable for
        statistical calculation) in any way. It is impossible to be sure that the use of these
        two markers in the statistical calculation was proper since Orchid Cellmark
        originally interpreted the profiles in question and did not sufficiently document the
        suitability of these markers for comparison to remove any doubt. This practice
        further illustrates the problems with HPD’s interpreting data that was not generated
        by its own laboratory . (Ex. 2 at ffl[21, 26 [Aff. of Hellwig].)
                The findings of Mr. Hellwig’s review indicate that the very types of issues
                                      —and in the disciplinary reports of specific HPD
        detailed in the Bromwich Report
        crime lab employees who handled evidence in this case—did exist with regard to
        the handling and testing of DNA evidence in this case. The failure of HPD and
        Orchid Cellmark to adhere to basic best practices and prevailing guidelines calls
        into question the entirety of the handling and analysis of DNA evidence in this
        case.




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           C. Trial Counsel Performed Ineffectively by Failing to Retain an
              Independent DNA Expert
              Trail counsel’s failure to retain an independent DNA expert to review the
        DNA testing performed in this cas<     -a case in which the State’s case for guilt
        rested primarily on DNA evidence and in which counsel were aware of myriad
        problems at the lab that initially handled the evidenci           -was   objectively
        unreasonable. Moreover, counsel’s failure to retain a DNA expert prejudiced
        Cruz-Garcia. Had the problems in the handling and analysis of the DNA evidence
        in this case been presented at the suppression hearing, there is a reasonable
        probability that the evidence would not have been admitted at trial. Even had the
        evidence still been admitted, counsel could have presented this evidence to
        effectively undermine the State’s theory at the guilt/innocence phase. There is,
        therefore, a reasonable probability that, had trial counsel retained an independent
        DNA expert, the outcome of Cruz-Garcia’s trial would have been different.
             1. Deficient Performance
               Investigation and preparation are the keys to effective representation.
        Counsel must engage in a reasonable amount of pretrial investigation and make an
        independent investigation of the facts and circumstances involved in the case.
        Rummell v. Estelle , 590 F.2d 103, 104 (5th Cir. 1979); Bryant v. Scott , 28 F.3d
        1411, 1415 (5th Cir. 1994). Trial counsel have a duty “to conduct thorough and
        independent investigations relating to the issues of both guilt and penalty.” ABA
        Guidelines , Guideline 10.7(A); see also id. at cmt. (noting the “ importance of
       defense counsel’s duty to take seriously the possibility of the client’s innocence, to
       scrutinize carefully the quality of the state’s case, and to investigate and re      -
        investigate all possible defenses”). From the fruits of that investigation , counsel
       also must present all possible legal claims and defenses and, in doing so, present
       them as forcefully as possible. ABA Guidelines , Guideline 10.8; see also id. at

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        cmt. (“Because of the possibility that the client will be sentenced to death, counsel
        must be significantly more vigilant about litigating all potential issues at all levels
        in a capital case than in any other case.”).
               Here, the State’s case rested largely on DNA evidence.          Counsel were
        clearly aware of the myriad problems that existed in the HPD crime lab’s storing,
        handling, and testing of DNA evidence during the time period that the lab
        possessed the DNA evidence in this case. Trial counsel were also aware that
        specific individuals at the HPD crime lab who handled the DNA evidence in this
        case had histories of serious misconduct and malfeasance. Moreover, the need for
        an independent DNA analyst had already been flagged by prior counsel, and an
        available expert already had been identified. In light of these facts, trial counsel
        could have had no strategic reason for failing to retain an independent DNA
        analyst.
               Significantly, the Court of Criminal Appeals has previously found counsel
        performed deficiently when they failed to retain an independent DNA expert. See
        Ex parte Napper , 322 S.W.3d 202, 247-48 (Tex. Crim. App. 2010). That case
        similarly involved problematic DNA testing by the HPD crime lab. Id. at 224.
        The Court found deficient performance for counsel’s failure to retain an
        independent DNA expert, even though the problems with the crime lab had not
        become public knowledge at the time of the defendant’s 2001 trial. Id. at 246. In
        that case, the Court found that, had trial counsel retained an independent DNA
        expert, “ he would have known that the HPD Crime Lab failed to adhere to
        accepted practices... , and he would have understood that [the] statistical frequency
        estimate was probably incorrect.” Id. at 247. The same is true in this case with
        respect to the handling and analysis of the DNA evidence both by the HPD crime
        lab and by Orchid Cellmark. Counsel ’s failure to present a DNA expert thus
        constituted deficient performance under prevailing professional norms.
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             2. Prejudice
               There can be no doubt that trial counsel’s failure to retain a forensic DNA
        analyst to review the State’s DNA evidence prejudiced Cruz-Garcia. An expert
        like Mr. Hellwig could have provided relevant, persuasive testimony to challenge
        the reliability of the State’s DNA evidence. Indeed, expert witness testimony is
        one of the most powerful tools at an attorney’s disposal to present a compelling
        claim. Coble v. State , 330 S.W.3d 253, 281 (Tex. Crim. App. 2010).
               In denying trial counsel’s motion to suppress the DNA evidence, the trial
        court pointed to the fact that, although counsel had presented substantial evidence
        of the many problems that existed at the HPD crime lab at the time the lab was in
        possession of evidence in Cruz-Garcia’s case, as well as evidence of misconduct
        by specific HPD crime lab employees who had handled evidence in this case,
        counsel presented no evidence that any of those problems actually existed with
        respect to the DNA evidence in this case ,             Had trial counsel retained an
        independent DNA expert, they could have presented testimony at the suppression
        hearing that, in fact, some of the very issues flagged by the independent              ..


        investigation of the lab were present in the handling and analysis of DNA evidence
        in Cruz-Garcia’s case.
               Specifically, such an expert could have testified to serious problems in the
        chain of custody of two key pieces of evidence in this case. An expert would have
        informed the court that the sexual assault kit was unsealed when it was received by
        Orchid Cellmark and that the cutting from the panties was housed unsealed
        together with the unsealed reference sample of Arturo Rodriguez. Moreover, these
        key pieces of evidence had potentially been stored in this state for roughly fifteen
        years. Given the significance of the DNA evidence in this case, identifying such
        basic problems in its storage and handling necessarily would have called into
        question its reliability in inculpating Cruz-Garcia.
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               Furthermore, an expert also could have testified that Orchid Cellmark
        improperly included Arturo Rodriguez as a second contributor to the mixture DNA
        profile obtained from the cutting of the panties and that, instead, this second
        contributor profile should have properly been described as coming from an
        unknown source. This information would have been crucial for the Court to
        consider, as an unknown contributor to the DNA mixture in the sexual assault kit
        opens the door to the possibility that this unknown contributor was, in fact, the true
        perpetrator of the assault against Diana Garcia. By identifying Arturo Rodriguez
        as the second male contributor to the genetic material obtained from the physical
        evidence, the lab not only flouted best scientific practices, it also removed the
                     —
        possibility which based on a correct interpretation of the DNA testing exists        —
        that an unknown male contributed to the DNA present in the sexual assault testing.
        In ignoring this possibility, the lab’s actions call into question the overall integrity
        of the DNA test results that incriminate Cruz-Garcia. This is precisely the sort of
        information that the Court concluded had not been presented in ruling that none of
        the clearly identified problems with the HPD crime lab appeared to have tainted
        the evidence involved in Cruz-Garcia’s case.
               A DNA expert could have testified further to the fact that Orchid Cellmark
        violated SWGDAM guidelines in its calculation of statistical conclusions regarding
        the mixture DNA sample obtained from the vaginal swabs and that the HPD crime
        lab violated best scientific practice by reinterpreting the data obtained by Orchid
        Cellmark, rendering its results unreliable. • This testimony also would have called
        into serious doubt the integrity of the evidence itself and the competence of the
        analysis performed by HPD and Orchid Cellmark. Had trial counsel presented this
        testimony, there is a reasonable probability that the trial court would have granted
        their Motion to Suppress the DNA evidence.


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               Without the DNA evidence, the State’s case for guilt would have rested
        entirely on the testimony of Carmelo Martinez Santana (Rudy ) and Angelita
        Rodriguez, both of whom had substantial credibility issues. Rudy was a convicted
        felon serving a seventeen-year federal prison sentence for possession of drugs and
        a firearm, who also had a prior conviction for assault in the early 1990s, and whose
        testimony at trial conflicted in many respects from the statement he gave to FBI
        agents. ( See, e.g. , 21 RR at 29-31, 45-57, 68-72.) Rudy placed himself at the
        scene, yet he was never charged with anything in relation to the crime and had an
        obvious incentive to point the finger at Cruz-Garcia. Moreover, without the DNA
        evidence, Rudy’s testimony itself would likely have been inadmissible as
        accomplice-witness testimony under Article 38.14 of the Texas Code of Criminal
        Procedure.
               Likewise, Angelita Rodriguez, Cruz-Garcia’s ex-wife, gave testimony that
        departed significantly from the statement she gave to police. (20 RR at 110-13.)
        Notably, Angelita Rodriguez admitted to having been involved in the drug-dealing
        activities of Cruz-Garcia, Diana Garcia, and Arturo Rodriguez; as such, she could
        have had any number of motives to testify against Cruz-Garcia. Therefore, had the
        trial court suppressed the results of the DNA testing in this case, there is a
        reasonable probability that the result of Cruz-Garcia’s trial would have been
        different. Indeed, had this evidence been suppressed, it is likely that the charges
        against Cruz-Garcia would have been dropped. At trial, the DNA evidence           —
                           —was the only compelling evidence implicating Cruz-Garcia in
        problematic as it is
        this more than twenty-year-old crime.
               Furthermore, even if the Court had still ruled the DNA evidence admissible,
        defense counsel could have presented a DNA expert at trial to substantially
        undermine the State’s theory. Specifically, trial counsel could have presented such
        an expert to contest the inclusion of Arturo Rodriguez as the second contributor to
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        the mixture DNA profile obtained from the cutting of the panties and to testify that
        this second contributor should properly be described as unknown.               Had trial
        counsel simultaneously presented available testimony from friends of Cruz-Garcia,
        Diana Garcia, and Arturo Rodriguez to confirm that Cruz-Garcia had an ongoing
        consensual sexual relationship with Diana Garcia to explain the presence of Cruz-
        Garcia’s DNA on the evidentiary items,3 the presence of an unknown contributor
        to the DNA mixture found on the cutting of the panties would have entirely
        “alter[ed] the entire evidentiary picture” presented at trial. See Strickland , 466 at
        695. Counsel could have argued to the jury that this second unknown contributor,
        and not Cruz-Garcia, was the perpetrator of the sexual assault and, thereby, the
        kidnapping and murder of Angelo Garcia. There is a reasonable probability that,
        had trial counsel presented this testimony, the result at trial would have been
        different.    Because Cruz-Garcia was prejudiced by trial counsel’s deficient
        performance, he must be granted a new trial.
                                           CLAIM TWO
             TRIAL COUNSEL PERFORMED INEFFECTIVELY BY FAILING TO
               INVESTIGATE AND PRESENT REASONABLE DOUBT AT THE
                        GUILT/INNOCENCE PHASE OF TRIAL
                The State’s theory at the guilt/innocence phase of trial was that Cruz-Garcia
        had sexually assaulted Diana Garcia and kidnapped Angelo Garcia in retaliation
        for Diana and Arturo Rodriguez having recently stopped selling drugs for him. In
        support of this theory, the State presented DNA evidence that linked Cruz-Garcia
        to the scene of the crime, as well as testimony from Diana and Arturo that they had
        stopped selling drugs for Cruz-Garcia shortly before the crime occurred . Evidence
        was available at the time of trial that would have effectively countered the State’s
        theory that Cruz-Garcia was the perpetrator of the sexual assault and , thereby, the

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            See Claim Two, post .
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        kidnapping of Angelo.      Additional evidence was available that would have
        substantially undermined the State’s theory of Cruz-Garcia’s motive for
        committing the crime. This evidence would have established reasonable doubt for
        the jury as to Cruz-Garcia’s guilt, yet trial counsel failed to conduct a reasonable
        investigation to uncover and utilize this evidence.     Trial counsel’s failure to
        investigate and present evidence creating a reasonable doubt at the guilt/innocence
        phase constituted ineffective assistance of counsel ,        Thus, Cruz-Garcia’s
        conviction was unlawfully and unconstitutionally imposed in violation of his
        applicable state and federal Constitutional rights, state statutory law, and United
        States Supreme Court and state case law, and the appropriate remedy is a new trial.
           A. Cruz-Garcia Had an Ongoing Consensual Sexual Relationship with
              Diana Garcia
               At trial, the State argued the presence of Cruz-Garcia’s DNA in the sexual
        assault kit was evidence that he raped Diana Garcia and committed the kidnapping
        and murder of Angelo Garcia. Though lacking any evidence to support their
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        argument, counsel attempted to suggest that the presence of Cruz Garcia’s DNA
        on the cutting of the panties and the vaginal swabs was the result of a consensual
        sexual encounter with Diana. On cross-examination, trial counsel asked Arturo
        whether Diana had a dating relationship with Cruz-Garcia. ( 19 RR at 21.) Arturo
        answered, “That I know of, no.” { Id. ) In crossing Orchid Cellmark DNA analyst
        Matt Quartaro, trial counsel established that the witness could not tell whether
        sperm ended up on the pieces of evidence through consensual sex or sexual assault
        or how long the sperm cells had been there. (21 RR at 134-35.) In closing
        argument, trial counsel again suggested that Cruz-Garcia and Diana could have had
        a consensual sexual relationship. (23 RR at 48-50.)
               Trial counsel did not, however, present any evidence to support their
        suggestion that Cruz-Garcia had a consensual sexual relationship with Diana. In

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         closing argument, the State easily dismissed trial counsel’s suggestion of a
         consensual relationship between Cruz-Garcia and Diana. The State asked,
                [I]f Obel Cruz-Garcia was not the one, if his DNA was there from
                some consensual sexual encounter that they made up out of whole
                     —                                —
                cloth and there is no evidence of that where is the DNA of the guy
                who raped Diana? Where is it? Why don’t we have it? If at some
                unknown time Obel Cruz-Garcia had a consensual relationship with
                Diana, again, that there is no evidence of, where is the DNA of the
                guy who raped her?
        (23 RR at 82.)
                While a DNA expert could have testified to the presence of an unknown
        contributor in the mixture DNA profile obtained from the cutting of the panties in
        support of the theory that an unknown male was “the guy who raped Diana,”4 other
        witnesses available at the time of trial could have testified that Cruz-Garcia had an
        ongoing consensual sexual relationship with Diana at the time to explain the
        presence of his DNA on the items of evidence. Brothers Cesar Rios, Jose Valdez,
        and Hector Saavedra were friends of Cruz-Garcia, whom they called Chico, as well
        as Diana and Arturo. (Ex. 20 at      [Aff. of Cesar Rios]; Ex. 24 at   Tfif 2-3 [Aff. of
        Jose Valdez]; Ex. 21 at ]HJ2, 6 [Aff. of Hector Saavedra].) In fact, Valdez was
        friends with Diana and Arturo before he met Cruz-Garcia. (Ex. 24 at f 3 [Aff. of
        Valdez].) Around the time that Angelo was kidnapped, Valdez was himself having
        a sexual relationship with Diana. ( Id. at [4; Ex. 21 at ]6 [Aff. of Saavedra].) The
                                                  ^             ^
        three brothers were aware that, during this time period, Cruz-Garcia was also
        having an ongoing sexual relationship with Diana. (Ex. 24 at |4 [Aff. of Valdez]
                                                                        ^
        (“To my knowledge, Diana was also messing around with other guys, including
        Chico. ...The time period that Chico and Diana were having sex was around the
        same time Angelo was kidnapped.” ); Ex. 20 at [3 [Aff. of Rios] ( “ Around the time
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            See Claim One, ante.
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        Angelo was kidnapped, Chico was having an ongoing sexual relationship with
        Diana.”); Ex. 21 at 6 [Aff. of Saavedra] ( “I knew that Diana was sleeping with my
                            ^
        brother, Joe, and also that she was sleeping with Obel.”).) Rios was also aware
        that Cruz-Garcia had been at Diana’s apartment earlier on the day that Angelo was
        kidnapped. (Ex. 20 at ]f3 [Aff. of Rios].) Although Rios was interviewed by HPD
        detectives and identified in police reports, neither he nor his two brothers were
        ever properly interviewed by trial counsel. (Ex. 20 at 1J8 [Aff. of Rios]; Ex. 24 at
         6 [Aff. of Valdez]; Ex. 21 at f 7 [Aff. of Saavedra].)
        ^   B. Diana Garcia and Arturo Rodriguez Had Not Stopped Selling Drugs for
               Cruz-Garcia
               The only motive that the State provided for its theory that Cruz-Garcia
         sexually assaulted Diana and kidnapped Angelo was that Diana and Arturo had
         recently stopped selling drugs for him.       In its opening statement, the State
         suggested that it was after Diana and Arturo informed investigators that they had
         recently stopped selling drugs for Cruz-Garcia that investigators initially began to
         consider him a suspect. ( 18 RR at 33.) Diana testified that she and Arturo had
         sold drugs for Cruz-Garcia but had decided to stop shortly before the incident
         occurred. { Id. at 133.) She stated that in fact, two or three weeks before Angelo
         was kidnapped, Cruz-Garcia brought drugs to their house even though they had
         told him they wanted to stop dealing, and Arturo called him and told him to take
         the drugs back. { Id. at 133-34.)
               Arturo also testified that he and Diana had stopped selling drugs for Cruz-
         Garcia. (18 RR at 203.) Arturo testified that Cruz-Garcia “didn’t like it very
         much” when he told him he was going to stop selling drugs for him and that he
         knew this because he “could see it in his face” even though Cruz-Garcia never
         said anything to him about it. { Id. at 204.) Arturo testified that it had been “about


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         a month to a month-and-a-half ’ prior to the incident that he had stopped selling
         drugs. ( 19 RRat 33.)
                This testimony was the only evidence the State presented to explain why
         Cruz-Garcia would have committed a crime of this nature against people who
         were close friends and business associates of his. Yet evidence was available that
         Diana and Arturo had not, in fact, stopped selling drugs for Cruz-Garcia at the
         time Angelo was kidnapped. Police reports that trial counsel obtained from the
         State through discovery indicated that Diana and Arturo were still selling drugs as
         of the day of the incident. (Ex. 33 at pp. 1-2 , 4 [Excerpts of   Police Reports].)
         These police reports indicate that a man named Thomas Thoms and his girlfriend,
         Tracy Pressly, bought cocaine from Diana Garcia on the night Angelo Garcia was
         kidnapped. ( Id. at p. 1.) Pressly described the transaction to detectives, and her
         statement was corroborated by Anita Dorr, a relative who was at Diana and
         Arturo’s house until approximately 9:00 p.m. on the night Angelo was kidnapped.
         ( Id. ) Furthermore, detectives received a call from an anonymous woman who
         stated that she was close to the family and informed the detectives that Diana and
         Arturo were selling drugs out of their apartment up until the night of the incident.
        ( Id. at p. 4.)
           C. Trial Counsel Performed Ineffectively by Failing to Investigate and
              Present this Evidence at Trial
                                                            ^
                Counsel’s failure to sufficiently investigate and present evidence to counter
        the State’s theory at the guilt/innocence phase of trial was objectively unreasonable
        and prejudiced Cruz-Garcia.
             1. Deficient Performance
                Counsel must engage in a reasonable amount of pretrial investigation and
        make an independent investigation of the facts and circumstances involved in the
        case.   Rummell , 590 F.2 d at 104; Bryant , 28 F.3d at 1415. The 2003 ABA

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        Guidelines the prevailing professional norms at the time of Cruz-Garcia’s trial      —
        instruct counsel “to conduct thorough and independent investigations relating to
        the issues of both guilt and penalty.”         ABA Guidelines, Guideline 10.7(A).
        Specifically, counsel must “investigate all sources of possible impeachment of
        defense and prosecution witness.” Id. at cmt. Counsel also must present all
        possible legal claims and defenses and, in doing so, present them as forcefully as
        possible. ABA Guidelines , Guideline 10.8; see also id. at cmt. (“Because of the
        possibility that the client will be sentenced to death, counsel must be significantly
        more vigilant about litigating all potential issues at all levels in a capital case than
        in any other case.” ).
               While trial counsel attempted to suggest that Cruz-Garcia had a consensual
        sexual relationship with Diana, they failed to present readily-available testimony
        from Rios, Valdez, and Saavedra that in fact he did. Counsel could have had no
        strategic reason for failing to present this testimony, as it would have supported a
        theory they themselves attempted to advance at trial. Moreover, counsel never
        even interviewed these witnesses.         Counsel ’s failure to interview available
        witnesses who were known associates of Cruz-Garcia, Diana, and Arturo, was
        objectively unreasonable.
               Similarly, trial counsel ’s failure to impeach Diana and Arturo with evidence
        that they continued to deal drugs up to the time of Angelo’s kidnapping was also
        unreasonable. This evidence was in trial counsel’s possession, as it was in the
        discovery materials counsel obtained from the State, and was admissible at trial as
        impeachment evidence. TEX . R. EVID. 801. Trial counsel ’s failure to use this
        readily-available evidence to counter the State’s motive theory was objectively
        unreasonable.




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                2. Prejudice
                 Had trial counsel conducted a reasonable investigation, they would have
        uncovered evidence that would have substantially undermined the State’s theory at
        the guilt/innocence phase. Testimony of Cruz-Garcia’s ongoing consensual sexual
        relationship with Diana would have provided an innocent explanation for the
        presence of his DNA on the items of evidence collected from the crime. Had trial
        counsel also presented the testimony of a DNA expert at trial to show that the
        second contributor to the mixture DNA profile obtained from the cutting of the
        panties was in fact an unknown contributor,5 trial counsel could have pointed to
        this unknown contributor as the actual perpetrator of the sexual assault and
        kidnapping. This evidence would have thus created reasonable doubt in the minds
        of the jurors and would have changed the outcome of the trial.
                 Moreover, evidence that Diana and Arturo were still actively selling drugs at
            the time of the crime would have substantially undermined the State’s only theory
            of motive. Without the testimony that Diana and Arturo had stopped selling drugs
            for Cruz-Garcia, the State would have had no theory to explain why Cruz-Garcia
            would have committed the charged offense against his close friends.
                 Had trial counsel presented evidence of Cruz-Garcia’s consensual sexual
        relationship with Diana and of the fact that Diana and Arturo were still selling
        drugs at the time of the crime, there is a reasonable probability that the result of
        Cruz-Garcia’s trial would have been different. Because trial counsel rendered
        ineffective assistance during the guilt/innocence phase, Cruz-Garcia’s sentence
        must be vacated.




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            See Claim One, ante.
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                                         CLAIM THREE
               TRIAL COUNSEL WERE INEFFECTIVE FOR FAILING TO
            INVESTIGATE AND PRESENT EVIDENCE THAT CRUZ-GARCIA
                       WOULD NOT BE A FUTURE DANGER
               Texas’s unique sentencing scheme requires the jury to predict “ whether
        there is a probability that the defendant would commit criminal acts of violence
        that would constitute a continuing threat to society.” TEX . CODE CRIM. PROC. art.
        37.071 § 2( b)(1).6 Unlike in most other states where jurors weigh aggravating and
        mitigating circumstances to determine whether a sentence of death is appropriate,
        Texas juries must unanimously find a probability that a defendant will commit
        future acts of violence before reaching the question of mitigation. Id. at § 2(b)-(e).
        The sentencing structure consequently places the first special issue of future
        dangerousness “at the center of the jury’s punishment decision.” See Jurek v.
        Texas , 428 U.S. 262, 274-75 ( 1976) (reviewing Texas’s first special issue and
        stating that “prediction of future criminal conduct is an essential element in many
        of the decisions rendered throughout our criminal justice system” ); American Bar
        Association Death Penalty Due Process Review Project, Evaluating Fairness and
        Accuracy in State Death Penalty Systems: The Texas Capital Punishment
        Assessment Report , at 307 (Sept. 2013) (“ABA Texas Assessment Report”).
               Because of the importance of the first special issue, it is incumbent upon
        trial counsel to present a rebuttal to the State’s case. However, Cruz-Garcia’s trial
        counsel failed to conduct a reasonable investigation that would have led to
        evidence vital to rebut the State’s assertion that Cruz-Garcia would be a future
        danger. Counsel committed deficient performance first in failing to review the
        District Attorney’s file relating to Cruz-Garcia’s case and second in failing to
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         If jurors answer this question , referred to as Special Issue One, with a “ Yes,”
       jurors are asked to answer another Special Issue. If the jurors answer “ No” to this
       question , the defendant is automatically sentenced to a life sentence.
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        conduct any investigation in Puerto Rico, where Cruz-Garcia had lived and had
        been imprisoned for nearly a decade. Because of this failure, substantial evidence
        was not presented to Cruz-Garcia’s jury that would have led to a finding that the
        State had not met their burden under the first special issue. Counsel’s ineffective
        assistance in this regard violated Cruz-Garcia’s rights under the state and federal
        Constitutions, Texas criminal law, and United States Supreme Court and Texas
        case law. Accordingly, his sentence must be reversed.
            A. Trial Counsel Performed Ineffectively in Failing to Review the District
               Attorney’s File and Identify Evidence that Cruz-Garcia Would Not Be a
               Future Danger
               At the time of Cruz-Garcia’s capital murder trial in Harris County, the
        District Attorney’s Office maintained an “open-file” policy, meaning that the
        defense had the opportunity to review all non-privileged files in the State’s
        possession. Despite this policy, trial counsel refused to review those files. Trial
        counsel asserted on the record that they believed the prosecution had a duty to
        deliver any relevant files to the defense under Brady v. Maryland. 373 U.S. 83
        (1963). This, however, was an incorrect understanding of the law.
               Because of this mistake, counsel failed to review the files in the possession
        of the State. Had counsel done so, they would have discovered records in the
        State’s possession pertaining to Cruz-Garcia’s incarceration in Puerto Rico. These
        records establish that Cruz-Garcia had significant good behavior in his near decade
        in prison there   —a fact especially relevant to the jury’s determination of Cruz-
        Garcia’s likelihood of committing acts of violence if sentenced to life in prison.
                                                                    —
        Counsel ’s failure to review the District Attorney’s file or to independently
        investigate Cruz-Garcia’s incarceration in Puerto Rico—constituted deficient
        performance. This deficiency led to the absence of compelling evidence to refute



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        the State’s argument that Cruz-Garcia would be a future danger, prejudicing Cruz-
        Garcia’s trial.
             1. Relevant Facts
               During the investigation of Cruz-Garcia’s case and through trial, the District
        Attorney ’s office held open their file to defense counsel for inspection. (Ex. 30
        [DA Open File Notice].) Although the District Attorney did make copies and
        deliver certain materials it believed necessary under Brady v. Maryland , as well as
        any materials specifically requested by counsel, the District Attorney otherwise
        required counsel to come review the materials in their offices. (Ex. 31 [Emails
        between DA Tise and Defense Counsel].)
               Cruz-Garcia’s trial counsel, Mr. Cornelius and Mr. Madrid, regularly
        practice in Harris County and were familiar with this policy by the Harris County
        District Attorney’s office. Even if they were not already aware of the policy,
        however, the policy had been made known to their predecessor counsel , Mr.
        Shellist and Mr. Capitaine. (Ex. 31 at 9-10, 12 [Emails between DA Tise and
        Defense Counsel].) Further, it appears that the policy was communicated directly
        to Mr. Cornelius and Mr. Madrid. (20 RR 186 (“Tise: I have e-mail after e-mail to
        you, Skip, that I can print out saying: Please come by and see my file. It’s open to
        you. . . . I told you, Skip, you need to come by and see my file.”).) The District
        Attorney took the step of placing in her file multiple copies of a note stating:
               Obel Cruz Garcia and Rogelio Aviles Barroso are co-defendants. My
               file on both cases remained open to defense counsel up to and during
               the trial. Photos, witness statements, evidentiary items, lab reports,
               and other items were all stored together in my office and were
               available for review before and during the trial.
        (Ex. 30 [DA Open File Notice].)
               Trial counsel made no objection to the open file policy or being required to
        travel to the District Attorney’s offices to review their file. As late as the day

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        before trial began , at a pretrial setting, counsel communicated to the court that they
        were happy with the discovery process that had being occurring.
               I’m very convinced that there isn't anything left for the defendant to
              discover. I believe that I have been given access to every piece of
              evidence the State has, everything in their file other than work
              product. So, I' m not feeling the need to have any testimony or any
              hearing on discovery . . . . I know the State has some continuing
              responsibility to turn things over to us, but I think they are complying
              with that.
       (16 RR 4-5 ). At no point before trial did counsel object or inform the court that the
        open file policy was unacceptable. Yet, counsel also continued to decline to
        review the District Attorney’s files in Cruz-Garcia’s case (making their assertions
        that they believed there was nothing left to discover without foundation).
        Ultimately, despite the District Attorney’s clear statements that it was not
        delivering the entire file and that trial counsel needed to review the file, it appears
        counsel believed they were under no duty to review the prosecution’s file and that
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        it was incumbent on the prosecution to deliver any relevant materials to them.
        Mid-trial, an argument arose about whether a particular FBI report had been
        provided to the defense. Counsel stated “I don’t have a responsibility to go
        through your file and figure out what’s in your file. I don’t have to do that . . . . I’m
        not going to go try to figure out what’s in your file . . . . I’m not going to go
        through 20 boxes of DNA records.” (20 RR 186.) At this point, the court went off
        the record, ending the discussion. In post-conviction investigation, counsel were
        asked about the statements made on the record and why they had not reviewed the
        open file. Counsel Skip Cornelius responded by email:
               I remember being pissed that Ms. Tise attempted to make it my
               responsibility to come to her office and go through her file and figure
               out what I was entitled to. I told her I want what I am entitled to and
               it is up to her to figure that out and give it to me. She said that every
               lawyer in town comes to her office and figures out what they want and

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                 she gives it to them. I said I was not letting her off the hook by her
                 reversing the responsibility, it is her responsibility to give me the
                 discovery that I am entitled to, not up to me to be smart enough to ask
                 for the right things. . . . In the past some DAs have had an “open file”
                 policy which puts the burden on you to figure out what you are
                 entitled to, however how do you know if you are seeing all they have,
                 or what comes in later? If they say they had an open file policy and
                 showed you everything and would have copied anything you wanted
                 they can then claim it is your fault if you don’t have something. I
                 don’t play that game and, as I told you in our meeting, received full
                 support by the Michael Morton Act which was passed a very short
                 time after our trial.
                 While counsel’s statements explain his belief that the State was required to
        disclose evidence to the defense, it does not address counsel’s failure to object to
        the open file policy prior to trial or their failure to accept the policy and make
        reasonable effort to review the District Attorney’s file. This failure is all the more
        strange, as counsel did in fact go to the District Attorney’s offices and review some
        files relating to their presentation in this case. Despite counsel’s statement on the
        record of “I’ m not going to go through 20 boxes of DNA records” (20 RR at 186),
        according to counsel in their post-conviction interview, they had actually done just
        that   —they went to the District Attorney’s office to review the dozens of boxes held
        relating to the investigation of the HPD Crime Lab’s DNA testing in the 1980s and
        1990s.
                 However, counsel did not then or at any other time review the six or seven
        boxes of materials in Cruz-Garcia’s case. Counsel has stated in post-conviction
        that the only documents they reviewed from the State were the ones provided to
        them and that all of those materials are in their trial file of this case. Specifically,
        counsel did not recall being provided or reviewing any substantial documents
        written in Spanish.



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               Post-conviction counsel for Cruz-Garcia were afforded the same open file
        policy by the District Attorney’s office.      Counsel traveled to that office and
        reviewed the file boxes associated with Cruz-Garcia’s case. Upon inspection,
        counsel discover a full banker’s box worth of documents in Spanish that appeared
        to be records from Cruz-Garcia’s incarceration in Puerto Rico in the decade before
        he was extradited to Houston for his capital trial . Review of those records has
        revealed significant evidence of Cruz-Garcia’s positive behavior while in prison
        which would have been instrumental in rebutting the State’s argument that Cruz-
        Garcia would constitute a future danger under the first special issue.
               First, the records indicate that numerous institutions where Cruz-Garcia was
        housed in Puerto Rico reported finding no instances of disciplinary actions or
        grievances filed against Cruz-Garcia.      (Ex. 34 [Excerpts of Puerto Rico Jail
        Records] at 8 ( no disciplinary complaints from October 31, 2005 to November, 3,
        2008), 9 (no grievances from 2005 to 2010), 10 (no disciplinary complaints), 11
        (same). ) Next, the records reflect that rather than being a disciplinary problem,
        Cruz-Garcia was the opposite. Cruz-Garcia earned numerous recommendations
        for good time credit based on his behavior and hard work. ( Id. at 1 , 4, 6, 7, 12, 14,
        16, 18, 20, 21.) From October 2005 to July 2009, Cruz-Garcia received frequent ,
        commendation for his hard work at the prison. ( Id. ) In total , Cruz-Garcia received
        204 days of credit for his behavior. One notation specifically observed that:
               This prison performs risky jobs and for this reason we are asking for
               this good conduct time to compensate him for the effort that he makes
               and by this means help create an example so that other prisoners will
               give their best.
        ( Id. at 6.) None of the records discussed above appear in Cruz-Garcia’s trial file.
        Nor does it appear that trial counsel made any attempts to get these records
        independently from the Puerto Rico Department of Corrections.


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               At trial , the State presented testimony from a Puerto Rican Department of
        Corrections official, who stated that on one occasion Cruz-Garcia received
        discipline for possession of a cell phone, a homemade rope, and a map of Puerto
        Rico. (24 RR at 118-29.) The official testified that he believed Cruz-Garcia was
        attempting to escape through a broken window in his prison cell. ( Id. ) No other
        testimony was given about Cruz-Garcia’s conduct while incarcerated in Puerto
        Rico, either to dispute the statements made by the State’s witness or to offer
        evidence of Cruz-Garcia’s good conduct while in prison as reflected in his records.
             2. Trial Counsel’s Failure to Review the District Attorney’s File
                Constitutes Deficient Performance and Should Not Be Afforded
                Deference Because It Was Based on a Misunderstanding of the Law
              Trial counsel committed deficient performance by misunderstanding the law
        relating to the State’s disclosure requirement under Brady , believing that the
        prosecution had to go further than merely make available its files to the defense
        and to actually deliver them. This is an incorrect understanding of the law, both
        because an open-file policy has repeatedly been held to comport with the strictures
        of Brady, and also because trial counsel could not assume that all relevant
        information would necessarily constitute materials required to be disclosed under
        Brady.
               First, “an open-file policy . . . generally satisfies the prosecution’s duty to
        disclose exculpatory evidence.” Harm v. State , 183 S.W.3d 403, 406 (Tex. Crim.
        App. 2006).7 “[I]f the prosecutor opens his files for examination by defense

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           Cruz-Garcia believes the holding in Harm v. State continues to be good law.
        However, should an open file policy be found to not fulfill the requirements of
        Brady , Cruz-Garcia asserts that the Harris County District Attorney’s Office
        committed constitutional error when it failed to provide his trial counsel with the
        entirety of the Puerto Rican prison records and all other records the District
        Attorney ’s office believed it had sufficiently disclosed through the use of an open
        file policy.
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        counsel, he fulfills his duty to disclose exculpatory evidence.” Givens v. State , 749
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        S.W.2d 954, 957 (Tex. App. Fort Worth 1988, pet. ref d); see also, e.g., United
        States v. Bagley, 473 U.S. 667, 675 ( 1985) ( noting “[t]he prosecutor is not required
        to deliver his entire file to defense counsel ,” and suggesting that an open-file
        policy goes above and beyond a prosecutor’s legal obligations (emphasis added )).
               To provide objectively reasonable assistance, trial counsel must have a firm
        and consistent understanding of relevant legal standards. Hinton v. Alabama , 134
        S. Ct. 1081, 1089 (2014) (per curiam) (“An attorney’s ignorance of a point of law
        that is fundamental to his case combined with his failure to perform basic research
        on that point is a quintessential example of unreasonable performance under
        Strickland.”); see also Williams v. Taylor , 529 U.S. 362, 395 (2000); Kimmelman
        v. Morrison, 477 U.S. 365, 385 (1986); Hardwick v. Crosby, 320 F.3d 1127, 1163
        ( 11 th Cir. 2003) (“[A] tactical or strategic decision is unreasonable,” for the
        purposes of establishing an ineffective assistance of counsel claim, “ if it is based
        on a failure to understand the law.”).
               In this case, trial counsel incorrectly believed that the District Attorney’s
        office was required to deliver its files to the defense. This belief, however, was not
        based on reasonable interpretation of the law as it existed at the time of Cruz-
        Garcia’s trial. Trial counsel indicate that they were justified in their position that
        they had no duty to inspect the District Attorney’s file by pointing to the passage of
        the Michael Morton Act. However, that act was enacted after Cruz-Garcia’s trial.
        Thus, the change in Texas law created by the act to require the kind of disclosure
        envisioned by trial counsel did not take effect until after Cruz-Garcia ’s trial.
        Instead of supporting counsel’s conduct, the passage of the Michael Morton Act
        further explains why counsel was unreasonable in believing prior to that change in
        law that the District Attorney was under a duty to disclose their entire file. It is
        also telling that trial counsel failed to object to the District Attorney’s open file
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        policy during pretrial proceedings when the issue of discovery arose, waiting
        instead to complain about the policy mid-trial, only after the time for a prudent
        review of relevant materials had long passed.
               Next, trial counsel ’s misunderstanding of the law was itself no justification
        to refuse to inspect the District Attorney’s file. It is unlikely, even under trial
        counsel’s misinterpretation of Brady , that the District Attorney would have been
        required to deliver all the materials it had chosen to make available for counsel’s
        inspection. Under Brady , the prosecutor is only required to disclose evidence that     ,



        is “favorable to an accused,” otherwise defined by the courts as evidence that is
        exculpatory, impeaching, or mitigating. Ex Parte Miles , 359 S.W.3d 647, 665
        (Tex. Crim. App. 2012) (“Favorable evidence includes exculpatory evidence and
        impeachment evidence. Exculpatory evidence is that which may justify, excuse, or
        clear the defendant from fault , and impeachment evidence is that which disputes,
        disparages, denies, or contradicts other evidence.”) (citing Harm , 183 S.W.3d at V
        408); Thomas v. State , 841 S.W.2d 399, 404 (Tex. Crim. App. 1992). While this
        might include some portions of the District Attorney’s file, courts have frequently
        held that evidence that does not fit neatly into these categories need not be
        disclosed. See, e.g ., Moore v. Illinois , 408 U.S. 786, 795 (1972) (“We know of no
        constitutional requirement that the prosecution make a complete and detailed            ,




        accounting to the defense of all police investigatory work on a case.”); Smith v.
        Secretary of New Mexico Dept, of Corrections , 50 F.3d 801, 824 (11th Cir. 1995)
        (“The Constitution, as interpreted in Brady, does not require the prosecution to
        divulge every possible shred of evidence that could conceivably benefit the
        defendant.”); United States v. Comosona , 848 F.2d 1110, 1115 ( 10th Cir. 1988)
        ( “The Government has no obligation to disclose possible theories of the defense to
        a defendant.”); United States v. Rhodes , 569 F.2 d 384, 388 ( 5th Cir. 1978) (The
        “inability of certain eyewitnesses to positively identify [the defendant]” is neither
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            “obviously exculpatory” nor “clearly supportive of a claim of innocence,” and the
            prosecution has no duty to disclose it.).
                   Without already knowing the full contents of the District Attorney’s file, it
            would have been impossible for trial counsel to ensure there was no potentially
            beneficial information within that file that had not been disclosed to them. Thus,
            even under counsel’s misinterpretation of Brady , it was unreasonable and not
            strategic to refuse to travel to the District Attorney’s offices in the Harris County
            courthouse to inspect the entire file held open for counsel. Specifically, while the
            Puerto Rican prison records contained in the State’s files are unquestionably
            favorable to Cruz-Garcia, it would be purely speculative to assume the District
            Attorney would have recognized that fact and provided copies to the defense. It
            was incumbent upon Cruz-Garcia’s trial counsel, as experienced capital attorneys,
            both to know the strictures of Brady and to otherwise make diligent investigation
            of all information available to them.            ABA Guidelines , Guideline 10.7(A)

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            (“[cjounsel at every stage have an obligation to conduct thorough and independent
            investigations relating to the issues of both guilt and penalty”).
                  Trial counsel’s insistence that the prosecutor deliver her files to the defense
            revealed a flawed understanding of Brady and is especially inconsistent with what
            is expected of trial counsel in a death penalty case.         By not having a firm
            understanding of relevant legal standards, trial counsel failed to provide objectively
            reasonable assistance. Under these circumstances, trial counsel’s performance was
            deficient and should be afforded no deference.
                 3. Trial Counsel ’s Failure to Review the District Attorney ’s File
                    Constitutes Deficient Performance Because Trial Counsel Has an
                    Affirmative Duty to Investigate in Preparation for Trial
                  Regardless of the issue of disclosure of materials under Brady , trial counsel
            have a “general duty to investigate [that] takes on supreme importance to a


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        defendant in the context of developing mitigating evidence to present to a judge or
        jury considering the sentence of death.” Strickland, 466 U.S. at 706. This duty to
        investigate is independent of a prosecutor’s disclosure obligations under Brady ,
        and it is certainly not lessened in the context of an open-file policy.            “ In
        determining whether counsel conducted a reasonable investigation, an appellate
        court’s initial inquiry is whether a reasonable investigation should have uncovered
        the mitigating evidence.” Ex parte Gonzales , 204 S.W.3d at 396 (citing Baxter v.
        Thomas , 45 F.3d 1501, 1513 (11th Cir. 1995)).          At minimum, a reasonable
        investigation would have involved reviewing the evidence in the files that the
        prosecution expressly made available. Rompilla , 545 U.S. at 387 n.6 (“Any
        investigation should include efforts to secure information in the possession of the
        prosecution and law enforcement authorities.”) (quoting ABA Standards for
        Criminal Justice , Prosecution Function and Defense Function 4-4.1 (3d ed. 1993)).
        If they had done so, trial counsel would have uncovered valuable evidence to
        present to the jury, including Cruz-Garcia’s Puerto Rico prison records, which
        reveal an image of Cruz-Garcia sharply , different than that painted by the
        prosecution.   Under these circumstances; trial counsel’s failure to review the
        prosecution’s file on Cruz-Garcia was unreasonable.
               Thus, trial counsel’s failure to investigate and present evidence from the
        prosecution ’s file, including the Puerto Rican prison records, was not a strategic
        decision and should not be accorded deference. Compare Baxter , 45 F.3d at 1513
        ( if “the failure to put this evidence before the jury was a tactical choice by trial
        counsel . . . . that decision is afforded a ‘strong presumption of correctness’” )
        (emphasis in original ). Trial counsel’s failure to review the State’s file constitutes
        deficient performance that prejudiced Cruz-Garcia.




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              4. Trial Counsel’s Failure to Inspect the District Attorney’s File
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                 Prejudiced Cruz-Garcia
               Counsel ’s failure to inspect the file held open by the District Attorney, or to
        independently secure Cruz-Garcia’s Puerto Rico prison records through reasonable
        investigation, prejudiced the presentation at Cruz-Garcia’s penalty phase of trial.
        In the absence of the information uncovered in those files, the State was able to
        present the testimony of the Puerto Rican prison official largely unchallenged. As
        discussed more fully below, had counsel obtained Cruz-Garcia’s prison records,
        they could have used the records to present the jury with a competing account of
        Cruz-Garcia’s time in prison. Counsel might have used them to cross-examine the
        prison official to show that he was not familiar with Cruz-Garcia’s record and to
        discredit his belief that Cruz-Garcia had planned an escape. Or counsel might have
        presented the records through the testimony of an expert witness who could have
        used the information therein to draw an opinion about Cruz-Garcia’s lack of future
        danger in prison. Had such information been presented to the jury, there is a
        reasonable probability that at least one juror would have voted for a life sentence
        instead of death.
            B. Trial Counsel Were Ineffective for Failing to Investigate and Present
               Testimony from Puerto Rican Prison Officials and Other Witnesses To
               Rebut the State’s Case
               Trial counsel were aware that Cruz-Garcia had spent seven years prior to his
        extradition to Houston in 2008 in Puerto Rico serving a sentence of sixteen years
        for a kidnapping conviction.      In addition, counsel were aware that the State
        intended to use evidence relating to this conviction and an alleged escape attempt
        while in jail in Puerto Rico as aggravating evidence during the punishment phase
        of his capital trial . Despite this knowledge, counsel failed to conduct a sufficient
        investigation into available witnesses and records relating to Cruz-Garcia’s time in
        Puerto Rico.    And as discussed above, had counsel performed effectively in

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        reviewing the files held by the District Attorney’s office, they would have learned,
        at a minimum, that there was potential positive information regarding Cruz-

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        Garcia’s time in prison in Puerto Rico information that could have rebutted the
        State’s aggravating evidence and provided reasonable doubt as to Cruz-Garcia’s
        likelihood of future danger.
               1. Trial Counsel ’s Investigation
                During the punishment phase, the prosecution presented testimony that
        Cruz-Garcia had been convicted of a kidnapping in 2001 in San Juan, Puerto Rico,
        for which he was sentenced to sixteen years in prison. (24 RR at 19-26, 64-68.)
        As early as December 2010, the State had notified the defense that it intended tp
        use this conviction as aggravating evidence at trial. (1 CR at 71; see also 1 CR at    !




        196.) The State also presented testimony at trial from a Puerto Rican Department
        of Corrections official, who stated that Cruz-Garcia received discipline for
        possession of a cell phone, a homemade rope, and a map of Puerto Rico. (24 RR at
        .118-29.) The official testified that he believed Cruz-Garcia was attempting to
        escape through a broken window in his prison cell. ( Id. ) The State had notified
        the defense in January 2011 (more than two years before trial) that it intended to
        use this information as aggravating evidence at trial. (2 CR at 283.) The State
        again notified the defense of its intent to use the extraneous conviction and bad
        acts evidence on May 15, 2013. (2 CR at 413.)
                Despite this information, trial counsel failed to conduct any meaningful
        investigation in Puerto Rico. Trial counsel retained investigators J.J. Gradoni and
        Edna Velez, who started working on the case in May 2012. (Ex. 28 at 6 [Cornelius
        Billing Voucher].) Based on review of the billing records and interviews memos
        created by the investigators, it appears their investigation was focused almost
        exclusively on interviewing family and friends in the Dominican Republic and


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        witnesses in Houston.8 Although the investigators traveled to the Dominican
        Republic for on-the-ground investigation, no similar trip was made to Puerto Rico.
        The only interviews listed in the investigation files as being conducted of Puerto
        Rican witnesses were phone calls with Cruz-Garcia’s brother Joel     —once in June
        2012 and again in July 2013, shortly before trial   —and with Dorca Capellan, Cruz-
        Garcia’s common law wife
                                    — on July 5, 2013, days before trial began. There is no
        indication in the investigation files that any attempts were made to contact officials
        or other witnesses from the Puerto Rican prison where Cruz-Garcia was held.
        Likewise, there is no indication that any attempts were made to request records
        from Cruz-Garcia’s time in Puerto Rico (in or out of prison), except for a May 17,
        2013, request for copies of Cruz-Garcia’s kidnapping conviction.
               Yet counsel were clearly aware of the potential importance of Puerto Rico as
        a source of information about Cruz-Garcia. Counsel knew that Cruz-Garcia had
        spent much of the 1990s residing both in Puerto Rico and the Dominican Republic.
        He had a partner and child in Puerto Rico and his brother lived there as well.
        Further, counsel knew that from 2001 until being extradited to Houston, Cruz-
        Garcia has been imprisoned in Puerto Rico.
               In their motion to the Court to justify investigation expenses, filed in July
        2012, counsel stated: “[Ijnvestigators will in all likelihood be required to go to
        Puerto Rico to properly investigate this case. Defendant’s family lives in Puerto
        Rico and there are alleged extraneous offenses in Puerto Rico that the State intends
        to attempt to prove at punishment in this case.” (2 CR at 384-85.) Counsel were
        thus aware not only of potential mitigating family witnesses in Puerto Rico but also
        of the need to investigate Cruz-Garcia’s time in prison while in Puerto Rico.

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         The instructions given to the investigators and the timeline of when and which
       witnesses were contacted are factual issues best resolved through live testimony of
       trial counsel and the investigators at an evidentiary hearing.
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        Further, as previously discussed , had counsel performed effectively by inspecting
        the file held at the District Attorney’s office, they would have had access to Puerto
        Rican prison records that indicated Cruz-Garcia had a history of positive,
        productive behavior while in prison.
               Armed with this knowledge, reasonable capital counsel would have seen the
        potential opportunity for mitigating evidence arising from Cruz-Garcia’s time in
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        Puerto Rico, and investigated accordingly.         By failing to conduct any such
        investigation, counsel missed a clear opening to pursue favorable evidence on
        behalf of their client, failing to meet professional norms for capital counsel. See
        ABA Guidelines , Guideline 10.7, 10.11.
             2. Available Evidence to Rebut Future Danger
               Had even a cursory investigation taken place in Puerto Rico, counsel would
        have discovered numerous officials and employees within the Puerto Rican justice
        system willing to speak on Cruz-Garcia’s behalf. The picture this testimony would
        have painted for the jury would have directly refuted the State’s argument that
        Cruz-Garcia would be likely to commit future acts of violence if given a life
        sentence.

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          There is no reason to believe that counsel had a strategic reason for their failure to
        investigate in Puerto Rico. Following the conclusion of the case, counsel
        submitted a motion and memo in support of being paid twice the usual capital
        defense flat fee rate. (Ex. 28 at 1, 13- 1 6 [Cornelius Billing Records].) In the
                                                    ,



        motion, counsel reiterated that the case “involves numerous extraneous offense
        [sic], both in Texas and in Puerto Rico. Defendant’s family lives in Puerto Rico
        and he has witnesses in Puerto Rico, as well as in Texas and other cities.” { Id. at
        13 .) In the memo supporting the motion, counsel again noted that witness were to
        be found in both the Dominican Republic and Puerto Rico, that Cruz-Garcia had
        been in prison in Puerto Rico, and that prison officials from Puerto Rico testified at
        his trial. { Id. at 16.) Despite using these facts as justification for why additional
        fees were warranted for such a complex case, counsel failed to ensure that any
        investigation of Puerto Rican witnesses , prison officials, or other evidence was
        conducted.
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               For example, multiple witnesses who work as chaplains at the facilities
        where Cruz-Garcia was housed were available to testify regarding Cruz-Garcia’s
        positive behavior in prison and the resulting trust and freedoms that were bestowed
        upon him. Chaplain Irma Iglesias Cruz has worked in the Puerto Rico Department
        of Correction for roughly forty years. She supervises about sixty other prison
        workers, including chaplains in other facilities, and oversees the orientation of new
        chaplains coming in to work in an institutional setting for the first time. (Ex. 15 at
        Tfl [Aff. of Irma Iglesias Cruz].)   Ivan Negron Vera has worked as a chaplain for
        the Department of Correction for seventeen years,               From 2000 to 2012, he
        supervised roughly two thousand chaplains serving the various facilities run by the
        Department. He regularly counsels both inmates and correctional facility staff and
        guards. (Ex. 18 at   fflfl -2 [Aff. of Ivan Negron Vera].)      Jimmy Osorio has been a
        pastor for thirty years and has volunteered as a chaplain with the Department of
        Correction for about twenty-two years. (Ex. 19 at [1 [Aff. of Jimmy Osorio].)
                                                                ^
        And Luis Gonzales Martinez has volunteered as a chaplain at multiple facilities in
        San Juan for about twenty-eight years. (Ex. 17 at [1 [Aff. of Luis Gonzales
        Martinez].)
                                                                    ^
               These four chaplains each got to know Cruz-Garcia as a volunteer helping
        with religious services and taking care of the chapel. Each agrees that in the many
        years they have worked in the criminal justice system, Cruz-Garcia stands out to
        them as one of the best behaved, most trusted , and well-respected inmates they
        recall. (Ex. 15 at ][10 [Aff. of Iglesias Cruz]; Ex. 17 at 5 [Aff. of Gonzales
        Martinez]; Ex. 18 at [14 [Aff. of Negron Vera]; Ex. 19 at |
                                                                           ^
                                                                  T 6 [Aff. of Osorio].)
                             ^
               As experienced chaplains, they had witnessed other inmates trying to con
        their way into positions of trust or pretend to be religious. But each believes
        through their experiences with Cruz-Garcia that he is a genuine and honest person .
        To them , Cruz-Garcia ’s faith is real , as was the encouragement and support he
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        gave to other inmates. At the time, the chaplains noted Cruz-Garcia’s leadership
        skills and how he worked hard to help others become better people and productive
        inmates. He got along well with other inmates and staff. He seemed to be a loving
        and caring person. (Ex. 15 at [5 [Aff. of Iglesias Cruz]; Ex. 17 at [2 [Aff. of
                                            ^                                      ^
        Gonzales Martinez]; Ex. 18 at J4 [Aff. of Negron Vera]; Ex. 19 at ffl[2, 6 [Aff. of
        Osorio].)
                                        ^
               Because of Cruz-Garcia’s good behavior, he earned the respect of guards,
        staff, and other inmates. He was given a significant role in the church services of
        the prison. He was the most trusted inmate in the chapel and would assist in all
        matters dealing with the prison’s religious services. Cruz-Garcia would help get
        the chapel ready for worship services and clean up after, moving about freely. He
        took part in music services and led Bible studies. (Ex. 15 at 3 [Aff. of Iglesias
                                                                          ^
        Cruz]; Ex. 18 at [4 [Aff. of Negron Vera]; Ex. 19 at ffl[2, 6 [Aff. of Osorio].)
                         ^
               None of the chaplains remember Cruz-Garcia being written up for discipline
        problems or being considered dangerous. None ever witnessed or heard of him
        committing any violence; he would not have been given so much freedom if he
        had. And this was not due to the lack of opportunity     —while in prison in Puerto
        Rico, Cruz-Garcia was housed in general population and he was frequently left
        alone outside his cell. (Ex. 15 at [6 [Aff. of Iglesias Cruz]; Ex. 17 at [3 [Aff. of
                                                ^                                   ^
        Gonzales Martinez]; Ex. 18 at 1J5 [Aff. of Negron Vera]; Ex. 19 at [3 [Aff. of
        Osorio].)
                                                                                   ^
               Cruz-Garcia was given tremendous privileges and trust in the prison not
        conferred on most other inmates. For example, multiple chaplains at various times
        gave Cruz-Garcia the keys to the chapel or their offices and allowed him to move
        around unsupervised. As one chaplain noted:
               Let me be clear, not everyone is given these types of duties. We only
               gave them to the people we truly trusted and confided in because they

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               were given important keys. I can count on my hand the number of
               individuals that I have given this level of responsibility, the level of
               responsibility that I gave Obel , and I would still have fingers left over.
               That is how much I trusted him .
        (Ex. 18 at [6 [Aff. of Negron Vera]; see also Ex. 15 at ]f5 [Aff. of Iglesias Cruz];
                     ^
        Ex. 17 at f 3 [Aff. of Gonzales Martinez]; Ex. 19 at T[3 (Aff. of Osorio].) Cruz-
        Garcia was also allowed to work in the “corporation” area, which allowed inmates
        access to power tools and other potentially dangerous objects that were used for
        making furniture. Only inmates who were well-behaved, hard-working, and had
        earned trust were permitted to work there.           (Ex. 17 at [3 [Aff. of Gonzales
                                                                         ^
        Martinez]; Ex. 18 at |7 [Aff. of Negron Vera]; Ex. 19 at ffl[3, 4 [Aff. of Osorio].)
                                  ^
               In fact, if anything, Cruz-Garcia was seen as a calming influence who helped
        to maintain order.            He would convince other inmates to pay attention to
        correctional staff and to follow the rules. Correctional staff felt Cruz-Garcia made
        their jobs easier through his influence on other inmates. (Ex. 18 at [8 [Aff. of
        Negron Vera].) When Cruz-Garcia was moved into segregation because he was
                                                                                    ^
        being extradited to Texas, he maintained this attitude:
              I thought that Obel would find it very difficult to maintain his faith
              and conviction after he was moved into segregation. To the contrary,
              even after Obel was transferred into a segregated cell, we could hear
              him, from our chapel, giving sermons to the other inmates in
              segregation. He took the initiative to lead services. His faith never
              failed him. We were all so proud of him. Everyone would listen to
              him. I knew his faith and beliefs were strong.
        (Ex. 15 at [8 [Aff. of Iglesias Cruz].)
                     ^
               Overall, these chaplains would have testified that Cruz-Garcia had a
        tremendous, positive impact on the lives of other inmates and of correctional staff
        while in prison in Puerto Rico. In addition to being a trustworthy and hard worker,
        Cruz-Garcia acted as a leader and a counselor to help other inmates obey prison
        rules. ( Ex. 18 at       10, 12 [Aff. of Negron Vera].) As one chaplain stated:
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                  I have to stress the he gained tremendous trust and confidence from
                  the jail staff and the chaplains. During my time working at the
                  [prison], I never heard any complaints about Obel or knew him to
                  have any disciplinary problems. Obel was well respected by everyone
                  in the facility, including jail administrators, guards, and other inmates.
           (Ex. 17 at p [Aff. of Gonzales Martinez].)
                  None of the chaplains were contacted by anyone on Cruz-Garcia’s defense             .

           team . Had they been, each would have been willing to come to Houston as a
           witness on Cruz-Garcia’s behalf. One would have raised his own money to fly to
           Houston if the defense could not afford the ticket. (Ex. 15 at ]11 [Aff. of Iglesias
                                                                              ^
           Cruz]; Ex. 17 at ]6 [Aff. of Gonzales Martinez]; Ex. 18 at [15 [Aff. of Negron
           Vera]; Ex. 19 at
                              ^   [Aff. of Osorio].) Further, the
                                                                             ^
                                                                    seriousness   of the charges he
           faced would not have deterred their speaking about the person they knew he had
           become. They could have talked about conversations they had had with Cruz-
           Garcia where he indicated remorse for the bad decisions he had made in his life
       * prior
       j
                 to being in prison. And they could have told the jury about the depth of his
           faith and the way he had touched their lives. (Ex. 15 at [9 [Aff. of Iglesias Cruz];
           Ex. 17 at [4 [Aff. of Gonzales Martinez]; Ex. 18 at
                                                                         ^
                                                                        9, 12, 13 [Aff. of Negron
           Vera]. )
                        ^                                            ^
                  Had an investigation been conducted in Puerto Rico, counsel also could have
           secured the testimony of Dr. Alejandro Lebron, a clinical psychologist who
           counseled Cruz-Garcia while he was in prison there. Dr. Lebron has worked in the
           field for roughly forty years and, at the time he knew Cruz-Garcia, was providing
           mental health support and assistance to inmates. Cruz-Garcia began seeing Dr.
           Lebron by choice. That is, he was not ordered to receive counseling, but instead
           had sought out therapy on his own . (Ex. 16 at            fl -2   [Aff. of Dr. Alejandro
           Lebron]. )
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               Like the chaplains, Dr. Lebron observed that Cruz-Garcia’s faith was
        genuine and thoughtful. He also felt that his dealings with Cruz-Garcia gave him a
        new perspective on the Bible and using religion as a common ground to connect
        with patients. (Ex. 16 at   ffl[3-4 [Aff. of Dr. Lebron].) Dr. Lebron’s experience in
        dealing with Cruz-Garcia was that he was open and honest and was not a
        troublemaker. He witnessed Cruz-Garcia have access to other prison staff and
        civilians, and never felt he posed a danger to anyone. He never knew of Cruz-
        Garcia to cause any trouble. ( Id. at |5.)
                                             ^
               Dr. Lebron was never contacted by anyone on Cruz-Garcia’s defense team.
        Had he been, he would have testified at Cruz-Garcia’s capital trial. Even knowing
        the charge of capital murder, Dr. Lebron would have told the jury about the Cruz     -
        Garcia he knew: “a deeply spiritual man, who believed that doing good work and
        living a good Christian life was the most important thing he could do.” Having
        worked with prison populations, and knowing Cruz-Garcia in the years after the
        crime occurred, Dr. Lebron would have communicated that he had witnessed
        inmates change and that, even if guilty, he believed Cruz-Garcia was no longer the
        same individual. (Ex. 16 atffl[7-8 [Aff. of Dr. Lebron].)
                                                                       —
               With sufficient investigation, these potential witnesses and likely others-—
        could have been located in the Puerto Rico prison system to speak about Cruz-
        Garcia’s good behavior and likelihood that he would not commit future acts of
        violence. Moreover, one of the witnesses that was interviewed—Cruz-Garcia’s
                                    —
        common law wife Dorca could have provided helpful information in this regard
        had she been interviewed earlier than the eve of trial . Dorca had been with Cruz-
        Garcia during the time he was in prison and had visited him there frequently with
        their daughter. (Ex. 12 at fflfl 1-12 [Aff. of Maria Capellain Romero].) She recalls
        the jail guards were friendly with Cruz-Garcia. Specifically, she remembers that
        the guards trusted Cruz-Garcia enough to bend the rules for him , allowing the two
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        of them to hug when she would go to visit him. ( Id. at ]fl 1.) She also remembers
        that Cruz-Garcia worked hard to continue to provide as much as he could for his
        family, even though he was in prison. He would make hammocks, key chains, and
        other items to sell and then send the money to Dorca and their daughter. ( Id. at
        1f4. )
                 None of this information about Cruz-Garcia’s conduct and life in prison in
        Puerto Rico was presented to his capital jury. In failing to conduct an investigation
        into a clear avenue of potentially beneficial information, counsel’s performance
        under the standards for capital counsel was deficient. ABA Guidelines , Guideline
        10.7(A) (“[cjounsel at every stage have an obligation to conduct thorough and
        independent investigations relating to the issues of both guilt and penalty”).
        Further, the resulting absence of this information to be considered by the jury
        prejudiced Cruz-Garcia’s trial.
            C. Trial Counsel’s Failure to Review the Prosecution’s File and
               Sufficiently Investigate Prejudiced the Defense
               In combination, trial counsel’s failure to review the District Attorney’s file
        and their failure to independently investigate potential witnesses and evidence in
        Puerto Rico significantly prejudiced the punishment phase of Cruz-Garcia’s trial .
        Substantial evidence existed that, had it been presented, would have likely changed
        at least one juror’s vote to life.
                 During the State’s case at punishment, the prosecution put forward evidence
        that Cruz-Garcia committed an extraneous, uncharged murder; was convicted of
        kidnapping in Puerto Rico; and had commit other assaults and violent behavior
        toward individuals before and after the capital murder. ( See 24 RR at 64-68; 25
        RR at 32-36, 59-71.) However, all of these incidents occurred a decade or more
        before his trial and while he was not in prison . Following his conviction for
        kidnapping, Cruz-Garcia spent nearly a decade in prison in Puerto Rico, and then

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        spent time awaiting his trial in the Harris County jail. From that period, the
        prosecution offered only two incidents of negative conduct.
              First, an official from the Puerto Rico Department of Correction testified
        that Cruz-Garcia was written up for possession of a cell phone, rope, and a map,
        which the official believed was an escape attempt. (24 RR at 124-28.) However,
        while Cruz-Garcia’s classification was changed due to the incident, there was no
        evidence that any other disciplinary action resulted. (24 RR at 128.) Next, the
        State presented testimony from a Harris County jail corrections officer. (25 RR at
        122.) The officer testified that Cruz-Garcia had been written up once during his
        more than three years in Harris County jail because Cruz-Garcia tried to keep a
        razor blade he had checked out instead of returning it.       (25 RR at 130-36.)
        However, it was common for inmates to get in trouble for this and Cruz-Garcia
        was simply charged thirteen cents for the cost of the razor and lost seven days ofr
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        commissary and visitation. (25 RR at 136 39.)
               Yet, despite the limited evidence presented regarding Cruz-Garcia’s
        likelihood of committing violence while in prison with a life sentence, the State
        was able to argue the point largely uncontested by evidence from the defense. In
        the absence of evidence regarding Cruz-Garcia’s decade of good behavior and
        earning the trust of prison officials in Puerto Rico, the State was able to put
        significant weight on the two incidents they had presented.        At closing, the
        prosecution argued:
               They were sheets that had been designed in a way to form a rope that
               you could get down from the second floor of that prison cell. And
               what else did they find? A map of Puerto Rico and a cell phone on the
               defendant’s person.
               Ladies and gentleman, this is not a man who just has been sitting in
               prison leading Bible study and finding God . This was a man , back in
               2001, that was trying to find a way to get out of there. And they want


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               you to think that that’s not a factor in considering whether Obel Cruz-
               Garcia will be a continuing threat to society.
        (26 RR at 155 .) The prosecution stated further:
             You know all about Obel Cruz-Garcia’s history. Knowing him ,
             knowing that he is the kind of man who will kill you for the smallest
             thing, like flirting with his girlfriend. Why do you think he was
             hoarding razor blades? You can make your own conclusion.
        (26 RR at 173.) Ultimately, the prosecution stated to the jury that the evidence
        they presented was uncontroverted and proved beyond a reasonable doubt that
        Cruz-Garcia was likely to commit future acts of violence, meeting the burden for
        the first special issue.
               Had counsel performed a reasonable investigation by reviewing the District
        Attorney’s file and conducting an investigation into witnesses and evidence in
        Puerto Rico, the jury would have heard evidence directly refuting the State’s case
        in the first special issue. ABA Guidelines , Guideline 10.7(A) (“[cjounsel at every
        stage have an obligation to conduct thorough and independent investigations
                                                                 —
        relating to the issues of both guilt and penalty.”). First and most significantly   —
        the testimony of witnesses from the Puerto Rican prison system and the records
        from Cruz-Garcia’s time there would have provided clear and convincing evidence
        that Cruz-Garcia was unlikely to be a danger of violence if given a life sentence.
        This evidence would have established for the jury that Cruz-Garcia had not
        engaged in any violence with other inmates or jail staff in the decade he was in
        prison. It would have shown that besides the alleged escape attempt, Cruz-Garcia
        had received no other disciplinary actions or grievances. The jury would have
        been able to compare the State’s allegations with the fact that Cruz-Garcia was
        given liberal access to the prison and to power tools and other dangerous objects,
        and that Cruz-Garcia had not acted out or abused these privileges. This evidence
        would have directly rebutted the State’s assertion that if Cruz-Garcia were housed

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        in the general population, he would have a dangerous level of access to visitors,
        other inmates, and potential weapons. (25 RR 157-78).
               Next, this evidence would have specifically helped to mitigate and rebut the
        State’s argument that Cruz-Garcia was attempting to escape when he was found
        with a rope and map in his cell. Though counsel cross-examined the prison official
        regarding flaws in his account of Cruz-Garcia’s alleged escape plan, a more
        compelling indictment of the incident would have been for the jury to learn that
        Cruz-Garcia was not only granted more access to prison areas than other prisoners,
        he even had earned the privilege of possessing the chaplains’ keys. With this
        information, it is likely that at least one juror would have found it improbable that
        Cruz-Garcia would have plotted an escape through his cell window when he
        literally possessed keys that likely provided an easier means to attempt an escape.
               Ultimately, all the evidence available regarding Cruz-Garcia’s time spent in
        the Puerto Rico prison system would have painted a far different picture than the
        jury heard about Cruz-Garcia’s likelihood of conforming to a positive role in
        prison.      The jury would have heard direct evidence of the type of positive
        contributions Cruz-Garcia was capable of toward other inmates, prison staff, and
        the prison system as a whole. As a result of trial counsel’s deficient performance,
        the resulting presentation of evidence to the jury during Cruz-Garcia’s capital trial
        bore little resemblance to Cruz-Garcia’s true behavior while incarcerated. Under
        these circumstances, there is “a reasonable probability that, absent the errors, the
        jury would have concluded that the balance of the aggravating and mitigating
        circumstances did not warrant death.” Ex parte Gonzales, 204 S.W.3d at 393-94.




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                            #)
                                          CLAIM FOUR
            TRIAL COUNSEL PERFORMED INEFFECTIVELY IN FAILING TO
              SUFFICIENTLY INVESTIGATE AND PRESENT MITIGATION
                                  EVIDENCE
               Capital counsel are required to conduct a far-reaching, exhaustive
        investigation into their client’s life history for potential mitigation evidence that
        will motivate a jury to vote for life over death. ABA Guidelines , Guideline 10.7
        cmt. (describing the “extensive and generally unparalleled investigation” required
        of capital counsel ). Indeed, mitigating evidence can be any evidence that “ might
        serve ‘as a basis for a sentence less than death.’” Tennard v. Dretke, 542 U.S. 274,
        287 (2004) (quoting Skipper v. South Carolina, 476 U.S. 1, 5 ( 1986)) (emphasis
        added). To accomplish this task, professional norms for capital counsel have come
        to recognize it as standard practice to retain the use of a mitigation specialist. ABA
        Guidelines , Guideline 4.1.     In addition, when considering how to present
        mitigating information to the jury, counsel must consult with and present testimony
        from any expert witnesses necessary to explain “ medical, psychological,
        sociological, cultural” or other mitigating themes. ABA Guidelines , Guideline
        10.11(F).
               In Cruz-Garcia’s case, counsel failed to sufficiently conduct the required
        comprehensive investigation into potential mitigation evidence on Cruz-Garcia’s
        behalf. As an initial matter, counsel failed to retain the assistance of a qualified
        mitigation specialist. Additionally, the investigation that was conducted failed to
        explore any available mitigation evidence in Puerto Rico, where Cruz-Garcia had
        lived at various points in his life and had been imprisoned in the decade before
        being brought to Houston for trial. Counsel also failed to interview numerous
        family members in the Dominican Republic who could have provided the jury with
        a more robust picture of Cruz-Garcia ’s life history and his role in their family.

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        Furthermore, counsel failed to consult with potential expert witnesses, beyond a
        single psychological evaluation, who might have shed light for the jury on the
        reason the information from his life history was mitigating. For all these reasons,
        counsel ’s performance in investigating Cruz-Garcia’s case was deficient. Cruz-
        Garcia’s punishment phase of trial was prejudiced by the absence of significant
        mitigating information. Had that information been presented , there is a reasonable
        probability that at least one juror would have voted for life instead of death.
        Because of counsel ’s ineffective assistance, Cruz-Garcia’s rights under the state
        and federal Constitutions, Texas criminal law, and United States Supreme Court
        and Texas case law were violated. Accordingly, his sentence must be reversed.
            A. Trial Counsel ’s Investigation
               In early 2010, after Cruz-Garcia was indicted for capital murder and
        extradited from Puerto Rico but before the State had decided to seek the death
        penalty, attorneys Mike Fosher and Mario Madrid were selected as appointed
        counsel. ( 1 CR at 8, 11.) About a month later, in April 2010, Cruz-Garcia’s
        family retained Steven Shellist and Christian Capitaine as counsel for Cruz-Garcia,
        and Mr. Fosher and Mr. Madrid were removed. ( 1 CR at 19-21.) From April 2010
        to August 2011, Mr. Shellist and Mr. Capitaine focused their investigation of the
        case on the DNA testing they believed would be the focus of the State’s case.
        Because the State had not indicated it would seek death, Mr. Shellist and Mr.
        Capitaine conducted no punishment-phase investigation whatsoever and did not
        hire a mitigation specialist. (Ex. 4 [Affidavit of Steven Shellist].)
               At some point, however, the State determined that it would seek death
        against Cruz-Garcia. (4 RR at 9.) Because neither Mr. Shellist nor Mr. Capitaine
        were on the approved list of capital counsel , they withdrew from the case on
        August 31, 2011. ( 2 CR at 326; 4 RR at 6-7.) That same day, attorney Skip


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        Cornelius was appointed as first chair and attorney Mario Madrid was appointed as
        second chair counsel. ( 1 CR at 57-58.)
             1. Fact Investigation
               Despite being appointed to a case that had already been pending for over a
        year and a half and whose crime had occurred twenty years earlier, it does not
        appear counsel made efforts to begin investigating the case until May 2012. (Ex.
        28 at 6 [Cornelius Billing Records].) That month, counsel retained the Houston-
        based private investigation firm of J.J. Gradoni and Associates, who had a licensed
        investigator named Edna Velez who could speak Spanish.                 Though the
        investigators were tasked with interviewing family, friends, and other witnesses
        that could provide mitigation information, it does not appear the investigators were
        qualified as mitigation specialists or that counsel believed they were operating as
        mitigation specialists for the defense team. The Gradoni and Associates website
        regarding their capital murder defense services makes no mention of mitigation,
        focusing instead on elements of fact-based investigation. See Capital Murder
        Defense, at http://www.gradoni.com/capital-murder-defense.html (last visited on
        August 12, 2015). Further, Gradoni’s responses to post-conviction inquiry make
        clear their many years of experience in guilt/innocence investigations meant they
        were not given much direction in that regard from counsel. (Ex. 35 at 2 [Letter
                                                                                  ^
        from Gradoni & Associates].) Mitigation investigation appears to have been a
        secondary assignment, as they were instructed merely “to get as much beneficial
        information that we could about the defendant’s upbringing, family members, etc.”
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               During the remaining seven months of 2012, the investigators worked a total
        of only fifty-six hours on Cruz-Garcia’s case. (Ex. 28 at 6-7 [Cornelius Billing
        Records].) This included only twenty-five hours of interviews of Cruz-Garcia and
        family members in the Dominican Republic and Venezuela. ( Id. ) Regarding
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         witnesses in Puerto Rico, the interviews conducted included a single phone
        interview with Cruz-Garcia’s brother, Joel , in June 2012.
                During 2013, the investigators conducted numerous witness interviews in
        and around the Houston area, primarily between April and the start of trial in July
        2013.        (Ex. 28 at 10-11, 46-49 [Cornelius Billing Records].)      In addition,
        investigators conducted phone interviews of family witnesses in the Dominican
        Republic and traveled to the Dominican Republic from May 5-9, 2013, for in-
        person interviews. ( Id at 26.)
                In contrast, investigators performed virtually no investigation into family
        and other witnesses or other evidence in Puerto Rico.         After the June 2012
        interview of Cruz-Garcia’s brother Joel, investigators only record two follow-up
        conversations with him in June and July 2013 in preparation for him to be a
        witness at trial . Cruz-Garcia’s common law partner, Dorca, was interviewed by
        phone on July 5, 2013, just days before trial began. The investigators state they
        have no recollection of counsel suggesting they travel to Puerto Rico. (Ex. 35 at
        ffl}4-5 [Letter   from Gradoni & Associates].) There are no records or memos to
        indicate that other witnesses from Puerto Rico were contacted or that attempts
        were made to collect records relating to Cruz-Garcia’s life history in Puerto Rico.
                Yet counsel were clearly aware of the potential importance of Puerto Rico as
        a source of information about Cruz-Garcia. In their motion to justify investigation
        expenses, counsel stated that “investigators will in all likelihood be required to go
        to Puerto Rico to properly investigate this case. Defendant ’s family lives in Puerto
        Rico and there are alleged extraneous offenses in Puerto Rico that the State intends
        to attempt to prove at punishment in this case.” (2 CR at 384-85.) As discussed
        more fully in Claim Three, ante , counsel were thus aware not only of potential
        mitigating family witnesses in Puerto Rico but also of the need to investigate Cruz-
        Garcia’s time in prison while in Puerto Rico, as the State had already indicated
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        their intent to use what it alleged to be an escape attempt against Cruz-Garcia at the
        punishment phase of trial.
             2. Mitigation Specialist and Expert Witnesses
               Around the same time that investigators were retained and began work on
        the case in mid-2012, counsel submitted motions to the Court asking for out-of-
        court expenses for “ investigation” and for “ mental health and mitigation.” (2 CR
        at 384, 387.) The “investigation” motion requested funds for using Gradoni and
        Associates. (2 CR at 384.) The “ mental health and mitigation” motion sought
        funds for an expert witness related to mental health and mitigation issues. (2 CR at
        387.) Trial counsel has indicated that they were aware of the need to retain a
        mitigation specialist as part of the defense team on Cruz-Garcia’s case. However,    '




        counsel stated they were unable to find a mitigation specialist who both spoke
        Spanish and was willing to work at the fee rate typically approved by Harris
        County courts.    Instead, counsel indicated that they retained psychologist Dr.
        Susana Rosin to provide essentially the same function as a mitigation specialist.
               Counsel ’s “ mental health and mitigation” motion supports this fact, as
        counsel states in the motion that Dr. Rosin had been retained to do “ testing, review
        of documents, consultation, and possible testimony” relating to “issues of mental
        health and mitigation.” (2 CR at 387.) In support of the motion, counsel attached
        a letter from Dr. Rosin in which she stated that based on her understanding of her
        role on the case and its complexity, her work would involve approximately sixty to
        seventy hours of work. (2 CR at 390.) The Court approved funds up to $17,400
        for this purpose. (2 CR at 389.) It appears that because the atypical use of a Ph.D.
        psychologist in the role of mitigation specialist would mean a significantly higher
        hourly rate, special approval was sought from presiding Judge Belinda Hill before
        the Court authorized the expense. ( Id. )


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               However, whatever counsel’s original intent, the work performed by Dr.
         Rosin on Cruz-Garcia’s case makes clear she did not serve the function of
         mitigation specialist for the defense team, and counsel did not attempt to use her as
        such. After receiving approval for expenses for Dr. Rosin in July 2012, counsel
         did not have her perform any work on the case until May 2013. Other than a
        phone call with the investigators on January 6, 2013 (for which Dr. Rosin did not
         bill time), Dr. Rosin reviewed records for two hours on May 9, 2013, and
        evaluated Cruz-Garcia for three hours on May 15, 2013.             (Ex. 28 at 7, 21
        [Cornelius Billing Records].) She then spoke with counsel for an hour on June 27,
        2013 and prepared an expert report in an hour on July 1, 2013. { Id. at 21.) Thus,
        in total , Dr. Rosin performed only seven hours of work on Cruz-Garcia’s case. Her
        role appears to have been that of providing a standard psychological evaluation of
        the client   —a   relatively narrow and defined task   —and   not the broad-reaching
        investigative role of a mitigation specialist.
               It is unclear why counsel failed to use Dr. Rosin as a mitigation specialist or
        when that decision was made. However, what is clear is that at no time did
        counsel hire any other mitigation specialist for the defense. Nor does it appear
        counsel consulted with any other potential expert witnesses for Cruz-Garcia’s case.
        Nor did counsel at any time return to the Court to express inability to find a
        suitable mitigation specialist, to ask the Court to appoint a mitigation specialist, or
        to ask for extra funding to secure a mitigation specialist outside the normal Harris
        County-approved fee structure. As a result, when Cruz-Garcia’s trial began, the
        investigation of his case had been done without the assistance of a mitigation
        specialist or of any expert consultation beyond a single psychological evaluation.




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           B. Counsel’s Failure to Retain a Mitigation Specialist, Ensure a Sufficient
              Investigation of Lay Witnesses, or Consult with Necessary Expert
              Witnesses Constitutes Deficient Performance
               To provide effective assistance, trial counsel must conduct a reasonable
        investigation into potential mitigating evidence. Wiggins , 539 U.S. at 522-23.
        This reasonable investigation must occur prior to deciding on a punishment phase
        strategy:
               [Sjtrategic choices made after less than complete investigation are
               reasonable precisely to the extent that reasonable professional
               judgments support the limitations on investigation. In other words,
               counsel has a duty to make reasonable investigations or to make a
               reasonable decision that makes particular investigations unnecessary.
           /
               In any ineffectiveness case, a particular decision not to investigate
               must be directly assessed for reasonableness in all the circumstances,
               applying a heavy measure of deference to counsel’s judgments.
        Strickland , 466 U.S. at 690-91. Trial counsel cannot insulate their decision from
        collateral attack by claiming that it was a strategic choice not to pursue or present
        mitigating evidence if they did not first complete a reasonable investigation. Sears
        v. Upton, 130 S. Ct. 3259, 3265 (2010) (per curiam); Williams v. Taylor , 529 U.S.
        at 396.
               Counsel’s failure to retain a qualified mitigation specialist to assist in the
        investigation of Cruz-Garcia’s case falls below standard professional norms for
        capital counsel in Texas. The use of a mitigation specialist as part of the defense
        team is a particularly indispensable piece of their duty to investigate.         The
        commentary to the ABA Guidelines explains both the function of a mitigation
        specialist and why that role must be filled by someone qualified to undertake that
        function. The length of the discussion of this role is itself notable and worth
        recounting to underscore the significance the mitigation specialist role has on the
        defense team .


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               A mitigation specialist is also an indispensable member of the defense
               team throughout all capital proceedings. Mitigation specialists
               possess clinical and information-gathering skills and training that
               most lawyers simply do not have. They have the time and the ability
               to elicit sensitive, embarrassing and often humiliating evidence (e.g.,
               family sexual abuse) that the defendant may have never disclosed.
               They have the clinical skills to recognize such things as congenital,
               mental or neurological conditions, to understand how these conditions
               may have affected the defendant’s development and behavior, and to
               identify the most appropriate experts to examine the defendant or
               testify on his behalf.
               Perhaps most critically, having a qualified mitigation specialist
               assigned to every capital case as an integral part of the defense team
               insures that the presentation to be made at the penalty phase is
               integrated into the overall preparation of the case rather than being
               hurriedly thrown together by defense counsel still in shock at the
               guilty verdict.
               The mitigation specialist compiles a comprehensive and well-
               documented psycho-social history of the client based on an exhaustive
               investigation; analyzes the significance of the information in terms of
               impact on development, including effect on personality and behavior;      ,


               finds mitigating themes in the client’s life history; identifies the need
               for expert assistance; assists in locating appropriate experts; provides
               social history information to experts to enable them to conduct
               competent and reliable evaluations; and works with the defense team
               and experts to develop a comprehensive and cohesive case in
               mitigation.
               The mitigation specialist often plays an important role as well in
               maintaining close contact with the client and his family while the case
               is pending. The rapport developed in this process can be the key to
               persuading a client to accept a plea to a sentence less than death.
               For all of these reasons the use of mitigation specialists has become
               “part of the existing ‘standard of care’” in capital cases, ensuring
               “ high quality investigation and preparation of the penalty phase.”
        ABA Guidelines, Guideline 4.1 cmt. (footnotes omitted ) (emphasis added ).
        Particularly in Cruz-Garcia’s case, given his Dominican nationality and history of
        living there and in Puerto Rico, a mitigation specialist would have been helpful to
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            identify and interview witnesses in a culturally competent manner, and to be able
            to recognize information relevant to Cruz-Garcia’s particular life history. See State
            Bar of Tex., Supplementary Guidelines and Standards for the Mitigation Function
            of Defense Teams in Texas Capital Cases, Guideline 5.1(B)-(C) (June 2015)
            {“Texas Supplementary Guidelines”).
                   Yet trial counsel failed to retain a mitigation specialist as part of their
            defense team, despite understanding the importance of having one. Counsel went
            so far as to retain a psychologist, ostensibly to fill this role, and to get special
            permission from the presiding judge to cover the expense. Instead of seventy
            hours of work, however, the defense psychologist performed only seven. While
            counsel may have had a strategic reason to limit the psychologist’s actual work on
            the case to only seven hours rather than use her as a mitigation specialist, that
            reason does not explain counsel’s failure to secure an actual qualified mitigation
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            specialist. Though counsel indicate in post conviction that they were unable to
;           find someone willing to work for the hourly rate typically approved by Harris
            County courts, this is not a strategic reason justifying failure to retain a mitigation
            specialist. First, counsel were able to obtain special permission from the presiding
            judge for the increased expense of using a psychologist. Thus, they should have
            had every reason to believe similar permission could have been obtained to pay for
            a mitigation specialist. Yet counsel did not ever request such funding. Nor did
            counsel ever file a motion with the Court explaining their inability to retain a
            mitigation specialist and asking the Court to intervene or assist. Next, when the
            decision was made to not use Dr. Rosin beyond her single evaluation, counsel
            neither asked for a continuance nor asked for assistance in finding a mitigation
            specialist at that point.
                   These actions resulted in the failure of counsel to retain the assistance of an
            integral part of the defense team . As will be discussed below, the absence of a
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        mitigation specialist likely contributed to the fact that several areas of mitigation
        evidence were not investigated by counsel. Indeed , the full extent of the prejudice
        caused to Cruz-Garcia by the absence of a mitigation specialist can only be
        estimated. Because counsel were aware of their professional obligation to retain a
        mitigation specialist but failed to do so, counsel’s performance in the investigation
        of this case was deficient.
               Separate from the issue of a mitigation specialist, counsel is nonetheless
        required to conduct a thorough investigation into their client’s background. Porter ,
        558 U.S. at 39; Williams , 529 U.S. at 396.         The ABA Guidelines echo this
        constitutional requirement. They direct that “[cjounsel at every stage have an
        obligation to conduct thorough and independent investigations relating to the
        issues of both guilt and penalty.”            ABA Guidelines , Guideline 10.7(A).
        Furthermore, the commentary instructs counsel that investigation regarding
        potential punishment phase issues “requires extensive and generally unparalleled
        investigation into personal and family history.” Id. at cmt. When trial counsel’s
        initial investigation provides beneficial mitigating evidence, professional norms
        require that they follow up on those leads. Wiggins , 539 U.S. at 524, 527 (“[A]
        court must consider not only the quantum of evidence already known to counsel,
        but also whether the known evidence would lead a reasonable attorney to
        investigate further.”); Ex parte Woods , \16 S.W.3d 224, 226 (Tex. Crim. App.
        2005 ) (“While Strickland does not require defense counsel to investigate each and
        every potential lead , or present any mitigating evidence at all, it does require
        attorneys to put forth enough investigative efforts to base their decision not to
        present a mitigating case on a thorough understanding of the available evidence.”).
               In this case, counsel knew (or should have known ) that Cruz-Garcia spent
        significant time in Puerto Rico, both living there and being incarcerated there prior
        to trial . Given this knowledge, counsel should have had every reason to believe
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        some investigation in Puerto Rico, beyond the two individuals interviewed by
        phone, would be necessary.       Further, nothing in counsel ’s files indicate they
        learned something to justify a decision not to investigate in Puerto Rico. Certainly,
        capital counsel must make strategic decisions regarding resources and how to
        allocate investigation efforts. However, counsel knew as early as July 2012 that
        investigation in Puerto Rico was necessary.         ( See 2 CR at 384.)      Counsel’s
        investigators did not travel to the Dominican Republic until May 2013. (Ex. 28 at
        26 [Cornelius Billing Records].) There was significant time in between those two
        dates to facilitate investigation in Puerto Rico. Further, counsel did not spend the
        entirety of the investigation funds for which they had gotten pre-approval, nor did
        they seek extra funds from the Court to fund a trip to Puerto Rico. For these
        reasons, counsel’s failure to investigate thoroughly, particularly in Puerto Rico,
        was not based on any strategic decisions, but was instead deficient performance
        failing to meet the prevailing standards for capital counsel.
               Finally, counsel performed deficiently in failing to consult with potential
        expert witnesses, beyond a single psychological evaluation, who might have
        provided compelling testimony regarding the mitigation themes investigation into
        Cruz-Garcia’s life history uncovered. Professional norms at the time of Cruz-
        Garcia’s trial instructed capital counsel that they should consider retaining experts
        to provide “ medical, psychological , sociological, cultural, or other insights into the
        client’s mental and/or emotional state and life history that may explain or lessen
        the client’s culpability for the underlying offense.” ABA Guidelines, Guideline
        10.11(F)(2 ); Texas Supplementary Guidelines , Guideline 5.1(B), 10.11.
               It is not enough to simply gather the facts of a defendant’s life story and then
        present it through lay witness testimony .      An expert must also be retained to
        synthesize that information into a coherent psycho-social narrative for presentation
        to the jury.   See ABA Guidelines , Guideline 10.11 ( commentary) ( noting the
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                   importance of presenting “the client’s complete social history” at punishment ).
                   Such an expert uses his or her particularized expertise relevant to the defendant to
                   present the social history developed by a mitigation specialist in a cohesive
                   narrative. John Blume, Mental Health Issues in Criminal Cases: The Elements of a
                   Competent and Reliable Mental Health Examination , 17 THE ADVOCATE 4, 10
                   (Aug. 1995) (“[P]ersuasive expert testimony must . . . enable the jury to see the
                   world from your client’s perspective, i.e., to appreciate his subjective
                   experience.” ).
                          In Cruz-Garcia’s case, counsel failed to consult with any expert witnesses
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                   besides Dr. Rosin. While the decision not to use Dr. Rosin any further, or even to
                   cease investigation into potential mental health evidence based on her evaluation,
                   may be the type of decision based on investigation that is considered strategic, no
                   reasonable or strategic grounds serve as a basis for counsel’s failure to consult with
                   any other potentially valuable expert witnesses. Mental health evidence is not the
                   only area of mitigation capital counsel is expected to investigate and about which
                   to retain an expert for assistance. See Texas Guidelines , Guideline 11.7 (requiring
                   counsel to consider expert witnesses relating to “ medical, psychological ,
                   sociological, cultural,” or other potential mitigation topics). As will be discussed ,
                   expert testimony could have assisted Cruz-Garcia’s jury with understanding the
                   mitigating impact of his life history. Counsel’s failure to investigate potential
                   expert testimony therefore fell short of the prevailing standards for capital counsel
                   and constituted deficient performance.
                      C. Counsel ’s      Deficient    Investigation     Prejudiced      Cruz-Garcia ’s
                          Presentation of Mitigation Evidence Regarding His Early Life History
                          Counsel ’s deficient performance in their investigation of Cruz-Garcia’s case
                   for mitigation information particularly prejudiced his opportunity to explain to the
                   jury why Cruz-Garcia’s early life history warranted a life sentence over death.

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            Whether through the absence of a mitigation specialist or thorough investigation,
            the defense ultimately only presented the live testimony of Cruz-Garcia’s brother
            Joel and son Abel and the testimony of Cruz-Garcia’s wife Mirella via internet
            video feed during the punishment phase of trial.10 (26 RR at 8, 32, 66.) While
            their testimony touched on Cruz-Garcia’s life history and character, the
            presentation fell far short of the kind of robust mitigation presentation anticipated
            in a capital case.
                   Possibly the most important duty of capital trial counsel is to present
            evidence to explain how their client’s life story explains and mitigates what led the
            client to the present scenario. See Wiggins , 539 U.S. at 523-24 (recognizing the
            importance of social history presentations in capital cases); ABA Guidelines ,
            Guideline    10.11(F)(2);    Texas   Guidelines ,   Guideline   11.7(F)(2);    Texas
            Supplementary Guidelines , Guideline 5.1(B), 10.11. Presentation of this evidence
            educates the jury and allows it to make an informed decision when determining
i           which punishment to assess in a capital case. See ABA Guidelines , Guideline 4.1
            cmt. (“[T]he defendant’s psychological and social history and his emotional and
            mental health are often of vital importance to a jury’s decision at the punishment
            phase.”).
                                            —
                   Numerous lay witnesses some who had been interviewed by counsel and
            some who had not     —were available to explain how Cruz-Garcia had gone from a
            poor child in the Dominican Republic to being involved in the drug trade in the


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              In addition to these three witnesses, counsel presented testimony from a young
            man who had known Cruz-Garcia in the Harris County jail. ( 26 RR at 80.)
            However, this young man literally walked off the street and introduced himself to
            counsel on the morning of his testimony. (26 RR at 81.) While fortuitous, his
            presence as a witness was not due to any planning or investigation by trial counsel
            and, thus, should not be weighed in considering the punishment phase investigation
            and presentation they put forward .
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        United States.    Expert testimony was also available to explain how this life
        trajectory was not unique to Cruz-Garcia, but was explainable by an understanding
        of the culture and historical setting in which Cruz-Garcia developed. All of this
        evidence would have presented a significantly more complete and compelling
        explanation of Cruz-Garcia’s life story than the presentation of Cruz-Garcia’s
        brother, wife, and son offered by trial counsel. ( See 26 RR at 8, 32, 66.)
             1. Available Lay Witness Testimony 11
               Although defense investigators had traveled to the Dominican Republic and
        interviewed some of Cruz-Garcia’s family members, the defense presentation at
        punishment was largely absent of the many family members willing to testify on
        Cruz-Garcia’s behalf and who could speak of his early life. For example, Cruz-
        Garcia’s father and step-mother, Valerio and Dorcas, had spoken with defense
        investigators and were willing to come testify. (Ex. 10 at [13 [Aff. of Valerio
                                                                        ^
        Julian de la Cruz Santos]; Ex. 6 at 1fl 2 [Aff. of Dorcas Noelia de la Cruz Fana].)
                                    -
        So was Cruz-Garcia’s half brother Menagen, who had spoken with an investigator
        by phone. (Ex. 8 at |6 [Aff. of Menagen Valerio de la Cruz].) Cruz-Garcia’s half-
                             ^
        sister Yeli and his uncle Jose were also available and willing to testify for Cruz-
        Garcia, and neither were interviewed prior to trial. (Ex. 7 at 1J8 [Aff. of Dorcas
        Yelietza de la Cruz]; Ex. 9 at   IflO [Aff. of Jose de la Cruz].)   Finally, two of the
        three defense witnesses who did testify     —Cruz-Garcia’s brother Joel and wife
        Mirella—were only interviewed briefly and could have provided more information
        about Cruz-Garcia’s origins. (Ex. 5 at ffl[3-5 [Aff. of Joel Cruz-Garcia]; Ex. 11 at
        ffl[3-4 [Aff. of Mirella Perez Garcia].)



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          For ease of reference, these witnesses will typically be referred to by their first
        name.
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               Had these individuals testified, the jury would have learned substantially
        more information about the good son , brother, and father he was, and how the
        circumstances of his early life shaped who he would become.
               Cruz-Garcia was bom to Valerio de la Cruz Santos and his wife Dahlia in
        the Dominican Republic. Like many in the Dominican Republic, the men in Cruz-
        Garcia’s family had numerous children with multiple women. Valerio was trained
        as- a paramedic in the military and then worked as a civilian medic, which is how
        he met Cruz-Garcia’s mother. They married, had Cruz-Garcia, his sisters Noemi
        and Natalia, and his brother Joel, and lived in Santo Domingo. (Ex. 10 at             [2-6
        [Aff. of Valerio]; Ex. 9 at f 2 [Aff. of Jose].)
                                                                                             ^
               When Cruz-Garcia was ten years old, his father and mother separated.
        Valerio had been hurt in a car accident, and Dahlia’s family convinced her he
        would not be able to support the family anymore. They decided to separate, and
        Dahlia moved back to Venezuela where her family was. (Ex. 10 at \1 [Aff. of
        Valerio].) When Cruz-Garcia’s father and mother separated, Cruz-Garcia and his
        siblings moved with their father from Santo Domingo to a small village on the
        northern coast where his father’s family lived. There they lived with uncles, aunts,
        grandparents, and numerous other family members. (Ex. 5 at             [Aff. of Joel]; Ex.
        10 at T[8 [Aff. of Valerio]; Ex. 9 at [4 [Aff. of Jose].)
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               Cruz-Garcia was a hard worker and was loved by his family and friends. He
        was a happy youth, respectful, and well-behaved. He was hard working, but laid
        back. His uncle remembers fondly how they would pick mangos together or work
        in the rice fields. Cruz-Garcia went to church often. He got along with friends and
        neighbors, who to this day remember him fondly. (Ex. 10 at [8 [Aff. of Valerio];
        Ex. 6 at ffl[6, 9 [Aff. of Noelia]; Ex. 9 at [6 [Aff. of Jose].)
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               The loss of his mother impacted the way Cruz-Garcia approached the world .
        He became more serious, keeping his feelings hidden, and focusing instead on
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        always providing for his family. His brother felt that Cruz-Garcia grew up very
        fast to act like a parent to him and the other siblings. His wife could later tell that
        it left an emptiness in Cruz-Garcia, driving him to value family. When his father
        took interest in his stepmother, Cruz-Garcia encouraged their romance and ultimate
        marriage, taking messages back and forth between them. (Ex. 5 at          [Aff. of Joel];
        Ex. 6 at ]f5 [Aff. of Noelia]; Ex. 11 at 6 [Aff. of Mirella].)
                                                  ^
               When Cruz-Garcia’s mother left, he took on a share of his father’s
        responsibility to raise and provide for the rest of the family. (Ex. 11 at [7 [Aff. of
                                                                                     ^
        Mirella].) Both he and his father would work and fish to take care of everyone.
        The family subsisted on fishing and growing rice and fresh foods, which they also
        sold. Cruz-Garcia would get up early in the morning to go fishing before school
        and then again after school until dark. When he was not working, he would help
        around the house, cooking and taking care of the other children. He would make
        them hammocks or take them fishing. To them, he was a very loving older brother
        who gave them good memories of their childhood. (Ex. 5 at f 7 [Aff. of Joel]; Ex.
        6 at f 7 [Aff. of Noelia]; Ex. 9 at
                                         |  5 [Aff. of Jose]; Ex. 7 at lf 4 [Aff. of Yeli]; Ex. 8
        at    [Aff. of Menagen]; Ex. 11 at ffl[5, 8 [Aff. of Mirella].)
               Cruz-Garcia was caring and protective. He had a reputation in the family as
        being the one who would help you if you needed it. He would stand up for his
        younger siblings to other kids, or give his siblings the best food because they were
        younger. He was also brave. One time when he was out fishing with his father,
        the boat turned over, trapping Valerio. Cruz-Garcia pulled his father to safety even
        though he was only nine years old . (Ex . 5 at ]}8 [Aff. of Joel]; Ex. 10 at [9 [Aff. of
        Valerio]; Ex. 9 at f 7 [Aff. of Jose].)
                                                                                     ^
               Cruz-Garcia left the Dominican Republic when he was nineteen and
        immigrated to Puerto Rico to work for a better life for him and his family. Around
        that time, a lot of people were going to Puerto Rico for the opportunity to find
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        better work and to eventually get to the United States. His family missed him, but
        understood that Cruz-Garcia would be able to make a better life in the United
        States. Cruz-Garcia’s brother Joel also moved to Puerto Rico a few years later, as
        did his half-brother Menagen. Even after leaving for Puerto Rico, though, Cruz-
        Garcia continued to always send money back for his family. (Ex. 5 at fflf 9-10 [Aff.
        of Joel]; Ex. 10 at 10 [Aff. of Valerio]; Ex. 6 at 1fl 0 [Aff. of Noelia]; Ex. 8 at 1f2 .
                            ^
        [Aff. of Menagen]; Ex. 11 at 1flf 9- l 0 [Aff. of Mirella].)
               It was in Puerto Rico that Cruz-Garcia met Angelita Rodriguez and her
        cousin Rudy. They introduced him into the world of selling drugs and eventually
        took him with them to the United States. Drugs were ubiquitous in Puerto Rico in
        the 1980s, and Cruz-Garcia saw it as the only way someone from a rural fishing
        village in the Dominican Republic would become successful. (Ex. 5 at          fflflO, 14
        [Aff. of Joel].)
               Despite getting involved in criminal activity and the drug trade, Cruz-Garcia
        continued to also maintain the side of himself that was the protective, hard-
        working, caregiver of his family. Over the years he would travel often to the
        Dominican Republic and Puerto Rico to see family. He worked multiple jobs to
        earn money for them. No job was too small; family remembers him collecting
        cans to trade in for money. Even while in prison, Cruz-Garcia used his time to
        make hammocks and other items to sell to provide for his family. He worked in
        his local community, giving to churches or people who needed money for food or
        medical care. He continued to encourage his other siblings to work hard and live
        good lives. One time, Cruz-Garcia jumped in when a boy was hit by a car and ran
        the boy to a hospital, saving his life. He continued to be loved and respected by
        the people who knew him , who saw him as a happy, genuine person. (Ex. 5 at [11
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        [Aff. of Joel]; Ex. 12 at 4 [Aff. of Dorca]; Ex. 10 at jl 1 [Aff. of Valerio]; Ex. 7 at
       HH5-6 [Aff. of Yeli]; Ex . 8 at   4 [Aff. of Menagen].)
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              It was this side of Cruz-Garcia that his family members would have shared
        with his capital jury. Each would have shared their disbelief that the man they
        knew could have been involved in the crime        —not to question the jury’s guilty
        verdict but rather to explain that there was another side to Cruz-Garcia that was
        completely different than the picture being portrayed by the State. (Ex. 10 at 112
        [Aff. of Valerio]; Ex. 6 at 111 [AfF. of Noelia]; Ex. 9 at TflO [Aff. of Jose]; Ex. 8 at
       17 [Aff.      of Yeli]; Ex. 7 at   H4,   6 [Aff. of Menagen]; Ex. 11 at   114   [Aff. of
        Mirella].)
             2. Available Expert Witness Testimony
               Just as Cruz-Garcia’s punishment phase of trial was prejudiced by the
        absence of the testimony discussed above, his capital trial was also prejudiced by
        counsel’s failure to consult with and present the testimony of an expert witness to
        explain the relevance of Cruz-Garcia’s life story to the mitigation question the jury
        was being asked to answer. Like any subject matter that is not immediately
        intuitive, a defendant’s life story must be explained to the jury in a way that
        illuminates why it is relevant to moral culpability. It is not sufficient to present a
        parade of witnesses discussing the defendant’s history     —an expert must also be
        hired to give that life history context.
               In other words, you have to give the fact-finder a view of the crime
               from the defendant’s perspective. If you don’t, you run the risk of
               making your client seem “otherly,” frightening and thus expendable.
               What you strive for is to enable the fact-finder to look through your
               client ’s eyes and to walk, at least for a few minutes, in his shoes.

        Blume, supra at 10.
               For example, trial counsel might have consulted with an expert familiar with
        the history of migration from the Dominican Republic to Puerto Rico, and the
        connection between that migration and the drug trade. It is likely that an average
        juror, without any other information , would consider Cruz-Garcia’s decision to

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        leave the Dominican Republic and travel to Puerto Rico and the United States,
        where he became involved in selling drugs, as an aggravating fact about him. In
        actuality, Cruz-Garcia’s journey was part of a well-recognized pattern that was
        influenced by a desire for a better life and struggling with poor economic
        conditions. An anthropologist or sociologist familiar with this topic could have
        provided the jury of wealth of information to put Cruz-Garcia’s life story into
        context and to better understand why that story mitigated against the death
        penalty.12
               a . Cruz-Garcia ’s Early Life in the Dominican Republic
               Raised in a rural area of the Northeastern region of the Dominican Republic
        in the early 1960s, Cruz-Garcia’s kin network and household was large, fluid, and
        included extended family members. Like much of the Dominican population at the
        time, Cruz-Garcia’s family was involved in agricultural work. They owned a
        modest plot of land where they raised food for their families and to sell to earn
        money. The men in Cruz-Garcia’s family were also fishermen, an important
        economic activity that fed their family and provided reliable income. The family’s
        economic security through the early 1960s reflects not only the industriousness of
        the family, but also national political economic policies that characterized the
        Dominican economy under the Dictator Rafael Trujillo from 1930-1961 that
        supported small -scale agricultural production by family farmers and limited the
        mobility of rural workers to ensure a robust supply of agricultural labor. At a very
        early age, Cruz-Garcia was expected to and actively participated in agricultural

        12
         For example, Dr. Gina Perez is a professor of anthropology at Oberlin College in
       Ohio. Dr. Perez’s research focus includes substantial work on the issue of
       migration in and around Puerto Rico. She is particularly familiar with the
       experience of Dominican migrants coming to Puerto Rico in the 1980s and 1990s.
       She was available to testify at Cruz-Garcia’s trial had she been contacted by trial
       counsel . ( Ex. 3 at ]flfl -5, 32 [Aff. of Dr. Gina Perez].)
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        work , fishing, and helping to care for younger relatives. (Ex. 3 at f 10 [Aff. of Dr.
        Perez].)
               Cruz-Garcia’s childhood and development were particularly distinguished
        by the separation of his parents and his mother leaving to return to Venezuela.
        From the time that Cruz-Garcia’s father returned to live with his extended family
        with Cruz-Garcia and his siblings, it was clear that Cruz-Garcia took on an
        important role of caring for his brother and sisters by cooking, babysitting, making
        useful items for the household, fishing, and working with his father and uncle. He
        was a good and hard worker helping his father provide for the family. Cruz-Garcia .
        was someone who protected his family, helped others, and from a very early age
        took on roles that exceeded his age. (Ex. 3 at Ifl 1 [Aff. of Dr. Perez].)
               In addition, Cruz-Garcia’s view of what constituted family and family
        relationships was also impacted by his native country.            While having large
        families, multiple partners, and households headed by one parent is not unusual
        throughout Latin America and the Caribbean , the Dominican Republic has a
        particularly unique history of family size. Indeed, throughout his thirty-one year
        dictatorship, Rafael Trujillo implemented policies to encourage population growth
        by enforcing strict controls of emigration from the Dominican Republic,
        encouraging European immigration to the island, and “systematic encouragement
        of childbirth” and, consequently, large families to ensure a large and available
        labor pool for agricultural and industrial work. The existence of large families
        with a range of household arrangements, therefore, was both state-sanctioned and
        culturally acceptable in the Dominican Republic and throughout the Caribbean.
        Although by Dominican standards, Cruz-Garcia was from a small family (one of
        four full siblings), he was surrounded by a large extended family of aunts, uncles,
        cousins, and grandparents. His father was one of twenty-four children. Further, it
        was not uncommon for men to have large families with more than one woman.
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        His uncle, for example, described having eight children with four different women.
        (Ex. 3 at f 12 [Aff. of Dr. Perez].)
               Cruz-Garcia was raised within this rich extended family, and his relatives
        described him as helpful, loving, responsible, and industrious. With his uncle and
        father, Cruz-Garcia fished, helped with farm animals, and helped with agricultural
        work. In 1980, Cruz-Garcia’s father met and eventually married Dorcas Noelia de
        la Cruz Fana. Once Dorcas and Valerio married, they had two daughters, who
        described Cruz-Garcia as someone who was a caretaker and who was loving and
        generous with them as they were growing up in the Dominican Republic. His
        willingness to care for his siblings and to use his hands to make things for others
        and cook for them define Cruz-Garcia’s childhood as someone who from early on
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        cared for people in the ways he could. (Ex. 3 at ffl[13 14 [Aff. of Dr. Perez].)
               However, as a young man in his late teenage years in the Dominican
        Republic, Cruz-Garcia was like many young men struggling to work in a changing
        economy. While the Dominican economy in the 1960s and early 1970s was still
        largely defined by large numbers of workers in agricultural labor and subsistence
        economy, the late 1970s and 1980s witnessed unprecedented economic changes
        that had a dramatic impact on the economic, social , and cultural lives of residents
        on the island and throughout the Caribbean. Foreign investment in the Dominican
        Republic, robust foreign aid, expansion of the island’s industrialization program,
        and high commodity prices for Dominican goods meant that the economy
        expanded at unprecedented rates. But economic growth was also accompanied by
        growing unemployment caused , in part, by the rising number of uprooted rural
        workers unable to rely on past economic strategies of subsistence agriculture and
        agricultural production for their wages and incomes.             Economic hardship
        increasingly defined life in the Dominican Republic in the late 1970s and 1980s.
        According to anthropologist Jorge Duany, “employment and underemployment,
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        the rising cost of living, a chaotic transportation system, near collapse of basic
         public service like electricity, running water, housing, health care and education”
        made life very difficult for Dominicans in general, and those residing in rural areas
        in particular.13 (Ex. 3 at [16 [Aff. of Dr. Perez].)
                                  ^
               b. Emigration in the Dominican Republic
               In addition to deteriorating economic and social conditions, changes in
        Dominican migration also define the decades of the 1960s, 1970s, and 1980s.
        From 1930-1961, movement within the Dominican Republic and emigration were
        severely restricted under Rafael Trujillo.       Beginning in 1966, however, these
        restrictions were lifted, and Dominicans increasingly engaged in internal and
        international migration. According to Ramona Hernandez, while it was virtually
        impossible for Dominicans to apply for a passport for more than thirty years, by
        the late 1960s, anyone who wanted a passport could apply and acquire one. In
        fact, she writes, “The granting of passports made concrete the opening of the door
        and, through the opening of the door, emigration was tacitly encouraged by the
        ruling structure of the Dominican Republic.” 14 These changes led to significant
        internal migration with those residing in rural areas often moving to urban centers
        like Santo Domingo. It also led to substantial emigration, legally and illegally. By
        the 1980s, migration was such a defining feature of Dominican life that
        Dominicans refer to this massive movement and displacement as “irse para los
        paises” (literally “ moving to the countries” ). (Ex. 3 at ]fl 7 [Aff. of Dr. Perez].)
               While New York City was and continues to be the principal destination for
        Dominican migrants, Puerto Rico is the second largest destination for Dominican


        13
           Jorge Duany, Dominican Migration to Puerto Rico: A Transnational Perspective
        ( 2005 ).
        14
            Ramona Hernandez, The Mobility of Workers Under Advanced Capitalism:
        Dominican Migration to the United States (2002 ).
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        migrants. Between 1966-2002, nearly 119,000 Dominicans were legally admitted
        to San Juan, constituting 12% of Dominican migration to the US between 1961-
        2002. This substantial growth of the Dominican population in Puerto Rico reached
        an apex in 1991 and 1996 with more than 9,000 Dominicans legally migrating to
        the island. Dominicans were the largest and most visible minority on the island.
        Notably, these numbers do not include the thousands of undocumented
        Dominicans who arrived on the island, either by overstaying a tourist visa or by
        entering illegally by boat, crossing the forty-five mile Mona Passage separating the
        Eastern Dominican Republic from Western Puerto Rico. Both documented and
        undocumented Dominican migration to Puerto Rico has made San Juan the city
        with the largest number of Dominicans outside of the Dominican Republic and
        second only to New York City. (Ex. 3 at ]fl 8 [Aff. of Dr. Perez].)
               By the mid-1980s when Cruz-Garcia began to court Mirella Perez Garcia, he
        was one of many young Dominicans engaged in internal migration in search of
        work, unsuccessfully seeking employment in an economy that increasingly
        employed women more than men , and considering migration as a way to mejorarse
        la vida, or to search for a better life. In 1986, like thousands of other Dominicans,
        Cruz-Garcia traveled on a yola (a makeshift raft/boat ) to Puerto Rico. Not only
        was Puerto Rico an increasingly popular destination for Dominican migrants, it
        also held the possibility of getting legal documents that would allow him to travel
        to and live legally in the United States. These ideas of a better a life and the
        possibility of regularizing one’s status to go to the United States circulated widely
        in the Dominican Republic in the 1980s and led Cruz-Garcia and tens of thousands
        of others to leave the Dominican Republic for Puerto Rico. (Ex. 3 at |19 [Aff. of
        Dr. Perez].)
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               c. Life and Work in Puerto Rico
               While Puerto Rico was often regarded as “a springboard for the U.S.,” the
        cultural , linguistic, and historical ties between Puerto Rico and the Dominican
        Republic make it attractive and reasonable for Dominicans to remain and reside
        there. Undocumented Dominicans arriving to the island often entered through
        rural areas of Western Puerto Rico but eventually made their way to urban areas
        like San Juan. This is precisely what Cruz-Garcia did as he and others made their
        way to neighborhoods in Rio Piedras and Santurce, which experienced significant
        population growth during the 1980s as increasing numbers of Dominican
        emigrants arrived seeking work in the formal and informal economy to support
        themselves and their families in the Dominican Republic. (Ex. 3 at f 21 [Aff. of
        Dr. Perez].)
               One element that was especially notable about Cruz-Garcia’s migration
        experience was the degree to which he maintained connection with his family in
        the Dominican Republic.      While migration is a feature that defines human
        experiences across millennia, since the 1990s, migration scholars have identified a
        distinctiveness of migration patterns in the late 20th century that is not about
        uprooting and leaving one’s home behind. Instead, new migration patterns are
        increasingly transnational in character, meaning they involve the development,
        maintenance, and reproduction of migrant networks, households, economic, and
        affective ties across time and space. According to Jorge Duany, “Dominican
        transnationalism is most forcefully expressed through long-distance kinship
        networks, households and child-rearing practices,” a phenomena that has been
        well-documented by many scholars. 15 These transnational practices are not unique
        to Dominican migrants, but the particular experiences, hardships, and opportunities

        13
          Jorge Duany, Quisqueya on the Hudson: The Transnational Identity of
        Dominicans in Washington Heights (1994).
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        of Dominican migrants in Puerto Rico is one that many scholars, writers,
        politicians, and journalists have explored in great detail . (Ex. 3 at 22 [Aff. of Dr.
        Perez].)
                                                                             ^
               Although Dominican migrants began to arrive in Puerto Rico in significant
        numbers in the 1980s and 1990s seeking a better life, Puerto Rico also was
        experiencing significant economic, social, and political problems that constrained
        migrants’ experiences.      Beginning in the mid-late 1970s, Puerto Rico was in
        economic crisis. The impact of the oil crisis on the island and the devaluation of
        the American dollar in the early 1970s, as well as the failure of Puerto Rico’s
        industrialization program to provide adequate jobs for its growing population, led
        to increased unemployment and underemployment. In response to the deepening
        economic crisis, the island and U.S. federal government developed specific
        economic policies in Puerto Rico in order to attract high tech and capital-intensive
        industries to the island. And while this strategy did, indeed, create new jobs and .
        possibilities for Puerto Rican workers, these jobs required high levels of education
        and failed to generate enough jobs for the large numbers of unskilled workers and
        the unemployed. In response, the local Puerto Rican government focused on
        expanding employment opportunities in the public sector to compensate for
        diminishing employment opportunities in the private sector. Thus by 1992, one-
        third of the island ’s labor force was employed in the public sector. (Ex. 3 at f 23
        [Aff. of Dr. Perez].)
               As many scholars have noted, the failure of the formal economy to provide
        jobs for its population, and the social and economic marginalization that ensues,
        leads to the development and growth of the informal or underground economy.
        This is certainly the case in Puerto Rico.        According to sociologist Sudhir
        Venkatesh, “ At its core, the underground economy is a widespread set of activities,
        usually scattered and not well -integrated , through which people earn money that is
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        not reported to the government and that, in some cases, may entail criminal
        behavior.” 16 According to historian Marisol LeBron, “The informal economy
        encompasses semi-legal activities such as unlicensed day cares, food peddlers or
        car repair operations operating out of someone’s home to illicit organizations
        dedicated to drugs, robbery, sex work and gambling. In Puerto Rico, high levels of
        unemployment combined with low labor force participation rates indicate that the
        informal economy, alongside migration and federal assistance, played a key role in
        absorbing surplus laborers and stabilizing the Puerto Rican economy.” (Ex. 3 at
        H24 [Aff. of Dr. Perez].)
               Beginning in the 1980s and 1990s, Dominican migrants increasingly
        comprised a large number of surplus laborers involved in the informal economy in
        Puerto Rico.     Often they worked off the books as domestic workers, in
        construction, landscaping and gardening, and providing childcare. When Cruz-
        Garcia’s wife arrived in Puerto Rico to join him in 1994, she worked cleaning
        houses. Cruz-Garcia worked in a range of jobs in the informal economy, including
        working as a gardener and even collecting cans to trade in for money when times
        were hard. These economic activities, however, are often concomitant with illicit
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        economic strategies, and the growth of the drug based informal economy became a
        source of income for a number of Puerto Ricans, much to the consternation of
        Puerto Rican and American officials. It also became a source of income for some
        Dominican residents on the island who, like poor, socially, racially, and politically-
        marginalized Puerto Rican residents on the island , faced significant resentment,
        discrimination and isolation from mainstream Puerto Rican society. (Ex. 3 at [25
        [Aff. of Dr. Perez].)
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        16
          Sudhir Alladi Venkatesh , Off the Books: The Underground Economy of the
        Urban Poor (2009).
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               The existence of underground economies is not new. In fact, as sociologist
        Sudhir Venkatesh notes, they are a familiar feature of many communities, and their
        participants span the race, class, and gender spectrum, seeking to make ends meet.
        The dominant perception circulating in mainstream society, however, focuses on
        some underground economic activities as aberrant, anti-social, and diametrically
        opposed to mainstream values. Researchers have tackled this question and many
        have demonstrated how “hustling,” “getting paid,” and making ends meet are all
        survival strategies for people to address their individual and collective needs.
        Sudhir Venkatesh writes, “Gangs and mafias anchor our popular imagination of
        underground trading, but the reality is far more complicated.” Some activities, he
        continues, “such as snow shoveling or weekend poker games are so ingrained that
        they are not really perceived as ‘ underground economic activity’ even though
        participants can make substantial earning from them and they might produce some
        financial gain for a wider circle of families, friends and neighbors.” Yet other
        underground activities are readily stigmatized and are the objects of police
        surveillance and repression. This is certainly the case of the underground drug
        economies. And the response by local law enforcement in Puerto Rico and U.S.
        federal officials had a dramatic impact on the lives of poor communities on the
        island, many of whom were Dominican and who were increasingly stigmatized by
        mainstream Puerto Rican society as being the source of all social and economic ills
        facing the island in the 1980s and 1990s. (Ex. 3 at [26 [Aff. of Dr. Perez].)
                                                            ^
               According to Jorge Duany, Dominican immigration in the 1980s and 1990s
        generated significant hostility and contributed to the development of anti-
        Dominican    discourse.                                           —
                                    “The figure of the Dominican especially the
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        undocumented immigrant appears as the Other par excellence: a strange,
        dangerous, and incomprehensible character who occupies a marginal and
        clandestine status.” This perception and stigmatization of Dominican immigrants
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        continues into the present, with recent investigative reports documenting on the
        ways these perceptions have contributed to employment discrimination, economic
        and social marginalization, and isolation among Dominicans in Puerto Rico. (Ex.
        3 at Tf27 [Aff. of Dr. Perez].)
               For Cruz-Garcia, seeking employment as an undocumented Dominican in
        the late 1980s and 1990s in Puerto Rico was no small matter. He managed to find
        a range of jobs as a gardener, collecting and recycling cans, and working as a real
        estate agent   —all jobs that were part of the informal economy and paid very little.
        Like so many Dominican migrants, Cruz-Garcia lived in low-rent neighborhoods
        like Barrio Obrero, where he could draw on networks with other co-nationals and
        managed to send money back to the Dominican Republic to help support his wife
        and their son.      Given Cruz-Garcia’s demonstrated commitment to financially
        provide for his extensive families, both in the Dominican and in Puerto Rico, it is
        not surprising that turning to the drug economy became yet another source of
        generating income. As the possibilities for formal employment diminished for all
        residents on the island, the drug economy grew in Puerto Rico, the Dominican
        Republic, and the United States. And like many with experiences in the informal
        economy and limited economic possibilities, selling drugs seemed like a
        reasonable strategy. Indeed, this was and continues to be a gamble many take in
        spite of the dangers involved. “If we look beyond the surface, we find an element
        of necessity, of pragmatic logic, even while laws are broken and even while the
        standards of a just life are constantly changing.” (Ex. 3 at    ffif 28-29 [Aff. of Dr.
        Perez].)
               d . Conclusions Regarding Cruz-Garcia ’s Life Trajectory
               Given the background and historical context of Cruz-Garcia’s life story, a
        suitable expert could have provided compelling information to explain why his
        emigration to Puerto Rico and the United States, and his involvement in the drug
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         trade, were mitigating rather than aggravating. For example, on its face the fact
         that Cruz-Garcia had multiple children with multiple partners, and was maintaining
         those relationships at the same time, would likely have seemed to average
        American jurors as an aggravating fact. Indeed, the State argued as much to the
        jury at closing argument during the punishment phase. (26 RR at 171.) In
        contrast, an expert could have explained that having large extensive families with
        multiple partners was not culturally unusual. What’s more, the fact that Cruz-
        Garcia maintained these relationships in multiple countries while often traveling
        and/or living elsewhere, was not a sign that he disregarded his family but was the
        opposite. Transnational migration patterns mean that families can still keep strong,
        loving bonds despite being great distances apart. Indeed, Cruz-Garcia’s family
        members recalled how he was an excellent provider, never forgetting his family
        back at home. When he was with his family, his wife in the Dominican Republic
        recalled that he was an excellent father, participating in school and homework,
        taking his children to church and parks, and cooking for his family. Similarly,
        Cruz-Garcia’s partner in Puerto Rico also noted how dedicated Cruz-Garcia was as
        a provider and father. This was even true while Cruz-Garcia was in jail, where he
        would make hammocks, key chains, and other items to sell in order to make money
        for his family. This transnational strategy is a familiar one for many migrants: they
        are sometimes part of multiple households with multiple partners. And while they
        are not physically present, they remain integral parts of family life through the
        remittances they send to their households. While not necessarily typical American
        traits of a good spouse and father, these efforts by Cruz-Garcia to provide for all of
        his family exhibit a very recognizable pattern of responsible and positive behavior
        when viewed in the appropriate culture context. (Ex. 3 at        f 28, 30 [Aff. of Dr.
        Perez].)
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               Next, an expert could have explained why Cruz-Garcia’s entrance into the
        drug trade in Puerto Rico was more akin to earning money under the table for
        gardening work or manual labor than to joining the mafia. Being a migrant is
        never easy. To be poor, undocumented, socially-marginalized, and regarded as the
        source of economic and social problems while one struggles to meet one’s familial
        responsibilities is even more difficult. These are precisely the conditions in which
        Cruz-Garcia found himself in Puerto Rico in the late 1980s and 1990s. Like
        thousands of Dominicans seeking a better life in Puerto Rico, Cruz-Garcia arrived
        by boat in Puerto Rico and successfully found jobs that paid little and had little
        social status, jobs in the informal economy that employed thousands of
        undocumented immigrants in Puerto Rico. As Puerto Rico’s economy continued
        to experience uncertainty, the informal drug economy provided some certainty and
        economic security for many already on the economic margins. Cruz-Garcia’s
        income-generating activities certainly fall outside what mainstream society regards
        as legitimate work. But upon closer examination, they also reflect the strategies
        people often turn to in order to meet their obligations as a father, son, brother,
        uncle, and community member in severely constrained circumstances. Rather than
        aberrations or pathology * these actions suggest the lengths people often go to in
        order to provide a decent life for themselves and their families. And given the
        constrained conditions in which he lived and worked , it is notable how all of Cruz-
        Garcia’s family members praise him for his industriousness, his ability to meet his
        responsibilities as a father and a provider, and his generosity to family, church , and
        community across borders. (Ex. 3 at ffl|29-31 [Aff. of Dr. Perez].)
               Such testimony is substantially different and more compelling . that the brief
        life history details provided by Cruz-Garcia ’s trial counsel through the testimony
        of Cruz-Garcia’s brother, wife, and son.         While counsel did present some
        mitigation evidence, their failure to conduct a reasonable and thorough
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        investigation into Cruz-Garcia ’s life history and to consult with an appropriate
        expert witness meant that ample information was left out of the punishment phase
        presentation heard by the jury.     This absence impaired the jury’s ability to
        effectively weigh the presence of mitigation warranting a life sentence and
        prejudiced Cruz-Garcia’s capital punishment trial. See Sears , 130 S. Ct. at 3266
        (“ We have certainly never held that counsel’s effort to present some mitigation
        evidence should foreclose an inquiry into whether a facially deficient mitigation
        investigation might have prejudiced the defendant.”).
            D. Counsel’s    Deficient   Investigation    Prejudiced     Cruz-Garcia’s
               Presentation of Mitigation Evidence to Rebut the Prosecution’s
               Aggravating Evidence
               Likely due to the absence of a qualified mitigation specialist, counsel’s
        investigation into potential witnesses who could shed light on Cruz-Garcia’s time
        in the United States was also deficient and prejudiced the punishment phase of
        trial. As previously discussed, the investigators selected by counsel appear to have
        a background in fact investigation. Because of this, though their investigation
        included interviewing numerous witnesses in and around the Houston area, those
        interviews largely focused on investigating the details of the crime or other bad
        acts alleged by the State. Few witnesses were asked about their overall experience
        with Cruz-Garcia, and no witnesses from Cruz-Garcia’s time in Houston were
        presented during the punishment phase of trial . As a result, the narrative put
        forward by the State of Cruz-Garcia being an evil drug king-pin who committed
        violent acts went almost completely unchallenged . Counsel missed an opportunity
        to rebut the State’s narrative by presenting testimony from witnesses of their own ,
        who could have offered a strikingly different impression of Cruz-Garcia.
               For example, counsel could have offered the testimony of three brothers who
        knew Cruz-Garcia and had very positive dealings with him while he lived in


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        Houston. Cesar Rios, Jose Valdez, and Hector Saavedra remember Cruz-Garcia as
        being a good friend with a big heart. (Ex. 20 at 16 [Aff. of Cesar Rios]; Ex. 24 at
       15 [Aff. of Jose Valdez]; Ex. 21 at H4-5 [Aff. of Hector Saavedra].)     Cruz-Garcia
        was close to the brothers’ parents, and they remember him helping their family out
        often. Cruz-Garcia would bring the family groceries or buy clothes and books for
        the brothers for school . He would ask Hector, who was younger, about his grades
        and encourage him to study. When Hector did well in school, Cruz-Garcia would
        give him pocket money or a small gift. ( Id. )
                Cruz-Garcia treated Cesar, Jose, Hector, and their parents like family. They
        remember Cruz-Garcia sharing meals with them and being part of their lives, much
        in the way they themselves would bring food and support to their relatives in
        Mexico. His generosity struck them, both for the size (he gave Cesar his first car)
        and because he never asked for anything in return. (Ex. 20 at 16 [Aff. of Rios]; Ex.
        24 at   15 [Aff.   of Valdez; Ex. 21 at   H4-5   [Aff. of Saavedra].)   Particularly
        memorable for the brothers was the time that Cruz-Garcia helped Cesar get proper
        medical attention for a gunshot wound , saving Cesar’s arm. Cesar had been shot,
        and his family took him to a nearby hospital. Cruz-Garcia joined the family there,
        and the hospital intended to amputate the arm. Cruz-Garcia helped get the family
        to a different hospital, where Cesar was able to receive treatment that saved his
        arm . Cruz-Garcia even paid for the medical treatment because Cesar did not have
        any insurance. This was just another example of how the brothers felt that Cruz-
        Garcia treated them like family. (Ex. 20 at 17 [Aff. of Rios]; Ex. 21 at 13 [Aff. of
        Saavedra].)
                Testimony like this would have provided meaningful mitigation evidence at
        Cruz-Garcia’ s punishment phase.      Such testimony would benefit from a live
        evidentiary hearing to fully develop the available witnesses and evidence on Cruz-
        Garcia’s behalf. Rather than attempting to rebut the State’s evidence regarding the
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        crime or other extraneous acts, such witnesses could have been employed to divert
        the jury’s focus from the State’s argument in aggravation to an argument of why
        Cruz-Garcia’s    character    and      background    exhibit   sufficiently   mitigating
        circumstances to warrant a life sentence. The development of these types of
        witnesses and punishment phase themes is precisely the role undertaken by a
        qualified mitigation specialist, and its importance to a capital case is precisely why
        having a mitigation specialist as part of the defense team is now part of the
        standard of care for capital defense.           ABA Guidelines , Guideline 4.1 cmt.
        Counsel’s failure to develop any testimony along these lines prejudiced Cruz-
        Garcia’s trial, and his sentence should therefore be reversed.
            E. Counsel ’s    Deficient    Investigation    Prejudiced      Cruz-Garcia’s
               Presentation of Mitigation Evidence Regarding His Ability to
               Contribute Productively in Prison
               Lastly, as discussed in Claim Three, ante , counsel’s failure to conduct a
        reasonable investigation in Puerto Rico meant that substantial evidence that would
        have led the jury to answer the first special issue negatively was never presented to
        the jury. That same evidence would have been compelling from a mitigation
        perspective as well.      Had the various prison staff testified regarding their
        interactions with Cruz-Garcia, the jury would have learned that Cruz-Garcia had
        been a model inmate for nearly a decade in the Puerto Rican prison system. (Ex.
        19 at 6 [Aff. of Jimmy Osorio]; Ex. 18 at 1[14 [Aff. of Ivan Negron Vera]; Ex. 17
              ^
        at If 5 [Aff. of Luis Gonzales Martinez]; Ex. 15 at |
                                                            T 10 [Aff. of Irma Iglesias Cruz];
        Ex. 16 at 1J4 [Aff. of Dr. Lebron].)
               The witnesses would have testified that Cruz-Garcia had been a positive
        influence on other inmates’ behavior, encouraging them to follow rules and even
        leading them in religious services. (Ex. 18 at 1f1[8, 10, 12 [Aff. of Negron Vera],
        Ex . 15 at 1f8 [Aff. of Iglesias Cruz].) Cruz-Garcia made a positive contribution to

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       the daily workings of the prison, helping with church services and working in the
        prison factory. (Ex. 19 at ]fl}3, 4, 6 [Aff. of Osorio]; Ex. 18 at    ffl[4,   7 [Aff. of
        Negron Vera]; Ex. 15 at 3 [Aff. of Iglesias Cruz]; Ex. 17 at Tf3 [Aff. of Gonzales
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        Martinez].) Finally, Cruz-Garcia continued to contribute to his family even though
        he was in prison, maintaining relationships with his children and trying to provide
        for them by making goods to sell. Ex. 12 at Tflf 4, 11-12 [Aff. of Dorca].
               In addition to being significant evidence on the question of future
        dangerousness, this evidence is mitigating in its own right. Had the jury heard this
        evidence, there is a reasonable probability that at least one juror would have been
        found mitigating the positive acts Cruz-Garcia had accomplished while in prison.
        Rather than believing his crimes warranted the death penalty, that juror might have
        been persuaded that a life sentence would allow Cruz-Garcia to continue
        contributing to society through positive behavior in prison. Because counsel failed
        to develop this evidence, Cruz-Garcia lost the opportunity to present that argument
        to the jury, prejudicing his trial .
           F. Conclusion
              Trial counsel’s presentation of some mitigating evidence does not
        automatically mean that they provided Cruz-Garcia with effective assistance. See
        Sears , 130 S. Ct. at 3266. Instead, that presentation must be judged by counsel’s
        investigation and their failure to investigate where evidence would have motivated
        objectively reasonable counsel to investigate. Cruz-Garcia’s counsel failed to
        conduct the thorough, searching inquiry into his background that is mandated by
        relevant case law and the ABA and Texas Guidelines. See Porter , 558 U.S. at 39;
        Williams , 529 U.S. at 396; ABA Guidelines , Guideline 10.7(A); Texas Guidelines ,
        Guideline 11.1 ( A)(3 )( b). As a result, substantial evidence was missing from Cruz-
        Garica’s punishment phase of trial . See Walbey v. Quarterman , 309 Fed. App’ x
        795, 802 ( 5 th Cir. 2009) ( not published ) (“This standard clearly contemplates that
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         even when some mitigating evidence is presented at trial, prejudice is still possible
         if that evidence is substantially incomplete.” (emphasis in original)). Had that
        evidence been presented, when compared with the testimony the jury did hear,
        there is a reasonable probability that a least one juror would have voted for a life
        sentence. See Strickland, 466 U.S. at 694; Ex parte Ellis , 233 S.W.3d 324, 329-30
        (Tex. Crim. App. 2007); Ex parte Chandler , 182 S.W.3d 350, 353 (Tex. Crim.
        App. 2005).
                                           CLAIM FIVE
             CRUZ-GARCIA’S CONVICTION AND DEATH SENTENCE ARE
           UNLAWFUL BECAUSE THEY WERE OBTAINED IN VIOLATION OF
           THE PROVISIONS OF THE VIENNA CONVENTION ON CONSULAR
                                 RELATIONS

                                                —
               State authorities and their agents unreasonably and in violation of state law
                                                         —
        and state and federal constitutional mandates failed to properly inform Cruz-
        Garcia during and after his arrest of his right to seek the assistance of the
        Dominican Consulate as required by Article 36( 1 )( b) of the Vienna Convention on
        Consular Relations, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261 ( VCCR). Law
        enforcement agents and the prosecution were aware at the time of Cruz-Garcia’s
        arrest and throughout his prosecution for capital murder that Cruz-Garcia is a
        Dominican national who had not been naturalized.           Yet instead of correctly
        providing Cruz-Garcia the opportunity to contact his country’s consulate, the State
        instead notified a different, incorrect country of Cruz-Garcia’s arrest . As a result,
        Cruz-Garcia was led to incorrectly believe his home country had been notified and
        was thus prejudiced by state authorities’ unlawful acts. Had Cruz-Garcia been
        properly provided his right to alert the Dominican consulate of his arrest , the
        Dominican government would have offered Cruz-Garcia support and assistance,
        and there is a reasonable probability he would have received a sentence other than
        death . As a result of state authorities’ failure to properly apprise Cruz-Garcia of
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        his right to consular notification, and the prejudice stemming therefrom, Cruz-
        Garcia’s conviction and sentence of death were rendered in violation of his rights
        to equal protection , due process, and the effective assistance of counsel as
        guaranteed by the Fourth, Fifth, Sixth, and Fourteenth Amendments to the United
        States Constitution. Consequently, Cruz-Garcia’s conviction and sentence of death
        are unlawful and should be overturned.
           A. As A Foreign National Detained and On Trial for a Capital Offense in
              the United States, Cruz-Garcia Had a Right to Be Notified of His Right
              to Consular Access under the Vienna Convention on Consular Relations
               The Vienna Convention is an international treaty that governs the
        relationship between individual nations and foreign consular officials. Among its
        primary purposes is to ensure that foreign nationals facing prosecution outside of
        their countries of citizenship are advised of the right to communicate with
        representatives from their home countries. In 1963, the United States and several
        other nations entered into an agreement about this basic right. This agreement was
        codified in Article 36 of the Vienna Convention on Consular Relations. Vienna
        Convention on Consular Relations, April 24, 1963, TIAS 6820, 21 U.S.T. 77.
               Article 36 of the Vienna Convention requires that when a foreign national is
        arrested, the country detaining him must: ( 1 ) inform the consulate of the foreign
        national’s arrest or detention without delay; (2 ) forward communications from a
        detained national to the consulate without delay; and (3) inform a detained foreign
        national of his rights under Article 36 without delay.        Vienna Convention on
        Consular Relations, Article 36( 1 )( b), April 24, 1963, 21 U.S.T. 77. In addition , the
        United States Department of State has recognized that:
               The Vienna Convention contains obligations of the highest order and
               should not be dealt with lightly. Article 36, paragraph 1 ( b), requires
               the authorities of the receiving state to notify the consular post of the
               sending state without delay of the arrest or commitment of a national
               of the sending state, if that national so requests. While there is no
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                   precise definition of delay, it is the Department’s view that such
                   notification should take place as quickly as possible, and , in any
                   event, no later than the passage of a few days.
            Heman de J . Ruiz-Bravo, Suspicious Capital Punishment, 3 SAN DIEGO JUST. J .
            396-97 (1995) (quoting Department of State File L/M/SCA: Department of State
            Digest, October 24, 1973, p. 161).
                 B. In Texas, the Vienna Convention Conveys an Individually Enforceable
                    Right
                   While the Supreme Court has not yet ruled definitively as to whether the
            Vienna Convention, on the whole, is self-executing,17 all lower courts that have
            examined the issue have responded in the affirmative. See Cindy Galway Buys et.
y
            al ., Do Unto Others: The Importance of Better Compliance with Consular
            Notification Rights , 21 DUKE J. COMP . & INT' L L. 461, 480 (2011) (“every lower
            court that has considered the issue has expressly held that the VCCR is self-
            executing”); see also Cornejo v. County of San Diego, 504 F.3d 853, 856 (9th Cir.
            2007); Gandara v. Bennett , 528 F.3d 823, 828 (11th Cir. 2008).
                   In Texas, the fact that the Vienna Convention conveys binding obligations
            onto state actors in their dealings with foreign nationals does not appear to be in
            dispute.     See, e.g. , Attorney General of Texas, Summary of Requirements
            Pertaining to Foreign Nationals , Magistrate’s Guide to Consular Notification
            Under the Vienna Convention , at 6 (advising state actors that “when foreign
            nationals are arrested or detained, they must be advised of the right to have their
            consular officials notified”); see also Attorney General of Texas, Detained Foreign
            Nationals         and        Consular         Notification,        available         at

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              A treaty is self-executing if it is directly enforceable in the United States without
            the need for additional legislation to ensure implementation. See Foster v. Neilson ,
            27 U.S. 253, 314 ( 1829). “ What we mean by ‘self-executing’ is that the treaty has
            automatic domestic effect as federal law upon ratification.” Medellin v. Texas , 552
            U.S. 491 , 505 n .2 (2008).
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        https://www.texasattomeygeneral.gov/cj/detained-foreign-nationals-and-consular-
        notification ( last visited August 23, 2015 ).
               But while Texas state actors and courts appear to recognize the treaty to be
        self-executing, the Court of Criminal Appeals has not yet explicitly stated whether
        a violation of the Vienna Convention creates an individually enforceable legal
        right. In Ex Parte Medellin , the CCA deliberately sidestepped the question, stating
        “[a]s an initial matter, while we recognize the competing arguments before us
        concerning whether Article 36 confers privately enforceable rights, a resolution to
        that issue is not required for our determination of whether Avena is enforceable in
        this Court.” Ex parte Medellin , 223 S.W.3d 315, 330 (Tex. Crim. App. 2006) aff’d
        sub nom. Medellin v. Texas , 552 U.S. 491 (2008).
               In that case, the CCA examined whether a judgment from the International
        Court of Justice (ICJ) concerning the Vienna Convention constituted binding
        federal law. There, the Court found that it did not, and found that an ICJ judgment
        stating that claims under the Vienna Convention were not intended to be subject to
        state procedural default had no effect on Texas state habeas procedure.
        Correspondingly, the Court found that a claim under the Vienna convention can be
        waived on state habeas. For a claim to be waived , it must necessarily exist. Thus
        precedent suggests that, while subject to waiver, the Vienna convention may create
        individually enforceable legal rights.
           C. The State Violated the Vienna Convention in Cruz-Garcia’s Case
              The State violated the Vienna Convention in Cruz-Garcia’s case, as Cruz-
        Garcia was never properly informed of his rights under the Convention . Although
        state authorities knew that Cruz-Garcia was a foreign national and a citizen of the
        Dominican Republic, they did not properly inform him that he had the right to seek
        consular assistance. Instead , the State acted erroneously by informing Cruz-Garcia


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        that his home country had been contacted , when in fact the State informed a
        different, incorrect country.
               On February 12, 2010, shortly after Cruz-Garcia’s extradition to the United
        States, the State of Texas issued a finding of Probable Cause for further detention
        of Cruz-Garcia on the charge of capital murder. (Ex. 26 [Probable Cause Finding
        and Warnings].) This same document also contained “Statutory Warnings by
        Magistrate,” relating specifically to the magistrate’s duty, under the Vienna
        Convention, to advise non-nationals of their constitutional rights. As Cruz-Garcia
        does not speak English, this document was also signed by interpreter Manuel
        Barrios. Id. When asked by the Court, Cruz-Garcia affirmed that he wanted the
        State to notify his country’s consular officials. ( Id. )
               However, on the section of the form detailing warnings under the Vienna
        Convention, the box next to “ mandatory notification” is checked , and the court
        clerk is advised to notify “Dominica.” 18




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           Dominica, an island nation in the Caribbean, is one of several countries that the
        State Department requires be notified automatically when a foreign national is
        arrested , detained, or taken into custody. See Bureau of Consular Affairs, U.S.
        Department of State, Countries and Jurisdictions with Mandatory Notifications,
        available at http://travel.state.gov/content/travel/english/consulamotification/
        countries-and-jurisdictions-with-mandatory- notifications.html ( last visited July 31,
        2015). The Dominican Republic, on the other hand , of which Cruz-Garcia is in
        fact a citizen, does not require mandatory notification . Rather, a Dominican
        Republic citizen must be advised of his rights to have his consulate notified on his
        behalf, and then United States actors must facilitate access to the consulate if the
        individual so requests.
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                        If you are not a United States citizen, you may
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                                                                        be entitled to have us notify your country
                       representative here in the United States. Do you want us to notify your                     's consular
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            Id.
                   As a result, a notification was sent to the Commonwealth of Dominica on
            February 12, 2010. (Ex. 26 at 2 [Probable Cause Findings and Warnings].) It
            appears Cruz-Garcia received a second set of magistrate warnings on February 16,
            2010, in which the court again included the notification warning that Cruz-Garcia
            had a right to contact his consulate for assistance. (Ex. 27 [Second Magistrate
            Warning].) Although signed by Cruz-Garcia, there is no indication whether and
            how these warnings were translated to him. Further, as he had just days before
            been told that a notice was being sent to his country, it is reasonable to conclude
            that at this second magistrate warning Cruz-Garcia already believed his consulate
            was being contacted for him. He therefore had no reason to again request that his
            consulate be contacted.
                   The Court’s error in not correctly identifying Cruz-Garcia’s country of
            origin and advising him of his right to contact his consulate was compounded when
            the Court received notice back from the Commonwealth of Dominica that it was
            the incorrect country to be contacted. (Ex. 26 at 4 [Probable Cause Findings and
            Warnings].) On September 12, 2010, a notation was made that the notification had
            been sent to the “ wrong embassy.”                                     { Id. )    Yet there is no evidence that the
            discovery of this error led to either notifying the Dominican Republic of Cruz-
            Garcia’s arrest or notifying Cruz-Garcia that he could request assistance from his
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        consulate. ( See Ex. 25 at 1 [DR Consulate letter] “[T]his office has no records
        whatsoever of a consular notification of Mr. Cruz-Garcia’s arrest”).
               Because of this error, Cruz-Garcia was not properly notified of his right to
        communicate with the Dominican Republic consulate. Rather than accurately
        determine Cruz-Garcia’s citizenship  —which would have been a simple matter of
        communicating with law enforcement and prosecutors who were aware that Cruz-
        Garcia was bom in the Dominican Republic       —the Court instead relied on what
        must have been an improper translation by the interpreter assigned to communicate
        for Cruz-Garcia. As a result, Cruz-Garcia likely believed that his consulate had
        been notified but declined to become involved in his case.          The mistake in
        identifying Cruz-Garcia’s correct country and the resulting incorrect consular
        notification worked to deprive Cruz-Garcia of his rights under the Vienna
        Convention.19
               Given that Cruz-Garcia never properly received his rightful statutory
        warnings, his failure to raise this claim at trial or in direct appeal proceedings
        should not be held against him.       Indeed, Cruz-Garcia was likely under the
        impression that his home consulate had been notified of his arrest and detention.
        As the court apparently thought that Cruz-Garcia was from Dominica, and as
        Dominica requires automatic notification from the United States when one of its
        citizens is arrested, Cruz-Garcia was likely led incorrectly to believe that his home

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          Importantly, this circumstance distinguishes Cruz-Garcia’s case from other
       Vienna Convention violations. Whereas courts have previously held in some cases
       that the mere failure to inform a defendant of his consular notification rights does
       not rise to reversible error, in Cruz-Garcia’s case the State took the affirmative step
       of informing Cruz-Garcia that they were notifying his consulate and then
       erroneously failed to do so. The error caused by the State’s action ( as opposed to
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       inaction ) leading to Cruz-Garcia’s lack of consular notification notification that
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       would very likely have resulted in consular assistance demands the reversal of
       Cruz-Garcia’s conviction and sentence.
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        country was notified of his arrest. Given the court’s error in determining his
        country of origin, however, Cruz-Garcia could not have known that his rights
        under the Vienna Convention had been violated. Thus, this Court should find this
        claim not to be waived.
               Further, this Court should find that Cruz-Garcia’s rights under the Vienna
        Convention were violated, and his conviction and sentence of death should be
        vacated , without a showing of harm, given the serious nature of the constitutional
        violation.   However, should a harm showing be required, Cruz-Garcia was
        substantially prejudiced by the violation of his right to consular notification on the
        Vienna convention.
           D. Cruz-Garcia was Prejudiced as a Result of the Violation of His Rights
              under the Vienna Convention
              Had Cruz-Garcia been properly apprised of his rights, he immediately would
        have sought counsel and assistance from the Dominican Republic consulate in
        defending his capital case. Indeed, had Dominican consular officials known that
        one of their nationals was facing a death sentence in the United States, they would
        have provided considerable assistance to Cruz-Garcia throughout both the pretrial
        and trial process.    (Ex. 25 [Dominican Republic Consulate Letter].)            The
        Dominican Republic has been previously involved in providing various kinds of
        assistance in criminal cases, ranging from ensuring proper legal representation and
        contacting family members, to assistance in the judicial process, to assisting
        defense counsel directly in the development of the case by helping to locate
        witnesses or records in the Dominican Republic. ( Id. ) Given the absence of a
        mitigation specialist on the defense team , as discussed in Claim Four, ante,
        consular assistance could have potentially corrected some of the deficiency in
        investigation that occurred as a result. Indeed, there is every reason to believe
        Cruz-Garcia suffered prejudice purely on account of his inability to speak English

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        and the failure to receive robust translation and interpretation services throughout
        the judicial process, as evidenced by the communication failure during the
        probable cause hearing.
               Further, had the Dominican Republic been notified at the time of Cruz-
        Garcia’s arrest in 2010 and become involved in assisting on his case, its consulate
        could have influenced the State’s willingness to accept a guilty plea in exchange
        for a life sentence or to have foregone seeking the death penalty at all. Consular
        officials are often successful in persuading prosecutors to seek a life sentence. (Ex.
        1 at 1J15 [Aff. of Sandra Babcock].)
               Even had the State still chosen to seek death in spite of the consulate’s
        involvement, the consulate nevertheless could have provided Cruz-Garcia with
        invaluable support throughout his confinement and trial ,          For example, the
        consulate could have helped Cruz-Garcia to make informed choices about how to
        proceed, both by explaining the intricacies of local criminal procedure and by
        providing information necessary to help prepare his defense. [Ex. 25 [Dominican
        Republic Consulate Letter].) In addition, they could have assisted trial counsel in
        obtaining mitigating information from Cruz-Garcia’s family and friends and served
        as a necessary Spanish-speaking liaison to assist in the investigative process. ( Id. )
        Consular agents could have helped the defense investigators locate witnesses in the
        Dominican Republic who were not interviewed , or assist in travel arrangement for
        witnesses the defense wished to testify at trial . ( Id. ) Or, as discussed in Claim
        Three, ante , had counsel reasonably made efforts to procure the records from Cruz-
        Garcia’s time in prison in Puerto Rico, which are in Spanish, a consular agent
        could have assistance in reviewing or translating these documents. ( Id. )
           E. Conclusion
               If not for the violation of Cruz-Garcia’s rights under the Vienna Convention,
        there is a reasonable likelihood that the outcome of his proceedings would have
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        been different. Because Cruz-Garcia was never afforded his proper notification, he
        should not be required to show specific harm , as the violation of the Vienna
        Convention itself constitutes a fundamental error. If a harm analysis is warranted,
        given the State conduct in creating the error, the violation should be considered the
        type of constitutional error that presumes harm in the absence of showing harmless
        error by the State. In this case, because Cruz-Garcia’s rights were violated from
        the time of his extradition in 2010   —meaning that he lost the opportunity for
        assistance from his home country in securing adequate legal representation early in
        the process, assistance in persuading the State not to seek the death penalty, and
        assistance in investigating and presenting his defense at trial   —the State cannot
        prove beyond a reasonable doubt that he was not harmed by the deprivation of his
        Vienna Convention rights. Rather, the violation substantially and injuriously
        affected the fairness of the proceedings and prejudiced Cruz-Garcia. Even should
        .Cruz-Garcia be required to affirmatively show harm, the circumstances in this case
        clearly establish that prejudice.
               Under international law, the recognized remedy for a treaty violation is to.
        restore the status quo ante, and return the parties to the position they would have
        occupied had the violation not taken place. Cruz-Garcia should be restored to the
        position he occupied before the State failed to properly inform him of his rights
        under the Vienna Convention. As a result, his conviction and sentence of death
        must be reversed.
                                            CLAIM SIX
              TRIAL COUNSEL WERE INEFFECTIVE FOR FAILING TO
           RECOGNIZE THE SIGNIFICANCE OF CRUZ-GARCIA’S FOREIGN
             NATIONALITY AND SEEK THE HELP OF THE DOMINICAN
                REPUBLIC CONSULATE IN DEFENDING THIS CASE

               Cruz-Garcia, the defendant in the instant case, is a citizen of the Dominican
        Republic.     As such , Cruz-Garcia is entitled to certain protections under
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        international law, namely the Vienna Convention on Consular Relations ( VCCR).20
        In addition , Cruz-Garcia is entitled to the effective assistance of counsel in
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        defending his capital case. Strickland, 466 U.S. at 694. Here, both of these rights
        were violated. First, Cruz-Garcia received inadequate warning regarding his rights
        to consular access under the VCCR, which itself is a violation of his rights under
        international law. { See Claim Five, ante.) Second, Cruz-Garcia was denied the
        effective assistance of counsel in this case when his trial attorneys failed to contact
        the Dominican Republic consulate concerning his prosecution, thereby depriving
        him of all the benefits that consular involvement would have accrued. In addition,
        trial counsel were ineffective in that they made no effort to remedy the State’s
        violation of Cruz-Garcia’s rights under the VCCR, thereby failing to raise this
        significant issue at trial to preserve it for appeal .
               There is no doubt that consular involvement would have greatly benefited
        Cruz-Garcia’s defense. Indeed , had trial counsel involved the Dominican Republic
        consulate in their defense of this case from the start , there is a significant
        possibility that the outcome of this proceeding would have been different. As
        such, trial counsel’s failure to involve the Dominican Republic in Cruz-Garcia’s
        defense was prejudicial. Therefore, Cruz-Garcia’s rights under the United States
        and Texas Constitutions, as well as international , federal, and state law, were
        violated, and his conviction and sentence of death must be overturned.



        20
          Specifically, Cruz-Garcia is entitled to be apprised of his right to contact
        authorities from his home country if he has been arrested, detained , or indicted.
        Vienna Convention on Consular Relations, April 24, 1963, TIAS 6820, 21 U.S.T.
        77, Art. 36( 1 )( b). Ensuring that this right is properly enforced is crucial in
        ensuring that foreigners of any nationality, including United States citizens, receive
        fair treatment when detained outside of their home countries.

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                A. Trial Counsel ’s Failure to Apprise Cruz-Garcia of His Right to
                   Consular Access and To Seek Assistance from the Dominican Republic
                   in Defending His Case Was Objectively Unreasonable and Constitutes
                   Deficient Performance
                                       -
                  At the time of Cruz Garcia’s capital trial in 2013, reasonably competent
           counsel should have known the significance of Cruz-Garcia’s foreign nationality,
           ensured that Cruz-Garcia was apprised of his rights under the VCCR, and made
           every effort to involve the Dominican Republican consulate in defending his case.
                 1. Trial Counsel Knew that Cruz-Garcia Is a Citizen of the Dominican
                    Republic
                  In addition to the information available to trial counsel through Cruz-Garcia
           himself   —who speaks no English and has a foreign passport—trial counsel had
           objective information in their possession confirming that Cruz-Garcia was a
           foreign national.
                  In particular, counsel had a copy of Cruz-Garcia’s 2010 Probable Cause
       •
           Order, which states that Cruz-Garcia is not a United States citizen.21 (Ex. 26
           [Probable Cause Findings and Warnings].) Furthermore, through discovery, trial
           counsel had access to numerous police and other state-issued reports indicating that
           Cruz-Garcia is a citizen of the Dominican Republic.
                  A supplemental police report drafted by Officer E.S. Mehl on October
                  8, 2008 identifies Mr. Cruz Garcia as a national of the Dominican
                  Republic. . .. On June 19, 2013, the prosecution filed a Notice to
                  Defendant of State’s Intent to Use Extraneous Offenses and Prior
                  Conviction. This notice indicates that “[t]he defendant is a citizen of
                  the Dominican Republic who entered the United States as well as the
                  Commonwealth of Puerto Rico on multiple occasions since the late
           21
             As discussed at length in Claim Five, ante, this Order incorrectly identified
           Cruz-Garcia as being from Dominica rather than the Dominican Republic.
           Nevertheless, this Order provides evidence of Cruz-Garcia ’s foreign nationality.
           Furthermore, given trial counsel ’s later efforts to locate and speak with family
           members of Cruz-Garcia’s in the Dominican Republic, it is clear that counsel knew
           where their client was from .
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               1980s illegally and remained in both locations for periods of time as
               an undocumented alien .”
        (Ex. 1 at 1J9 [Aff. of Sandra Babcock].)
               This information would have been sufficient to place counsel on notice that
        they were defending a non-United States citizen. Consequently, prevailing norms
        of professional practice dictated that trial counsel take certain steps in their
        representation of Cruz-Garcia.
             2. Both National and State Bar Guidelines Highlight the Steps That Need
                to Be Taken in Representing a Foreign National in a Capital Case
               According to Sandra Babcock, a clinical professor of law at Cornell
        University and a licensed attorney in Texas with over twenty years of capital
        defense experience, by 2013 it was standard practice within the capital defense
        community to enlist the help of a foreign consulate in defending a foreign national
        in a capital case. (Ex. 1 at J8 [Aff. of Babcock].) Indeed, this practice was so well
                                   ^
        accepted that by the mid-2000s, the steps that would need to be taken in
        representing a foreign national in a capital case were codified in both the ABA
        Guidelines for the Appointment and Performance of Defense Counsel in Death
        Penalty Cases, as well as in the guidelines governing the obligations of counsel in
        capital cases promulgated by the State Bar of Texas in 2006.             See Texas
        Guidelines , Guideline 10.3.
               a . The American Bar Association Guidelines Highlight the Professional
                   Obligations that Attach When Representing a Foreign National
               The starting point for any inquiry into the reasonableness and quality of
        legal representation in a capital case is the American Bar Association ’s Guidelines
        for the Appointment and Performance of Defense Counsel in Death Penalty Cases.
        ( Ex. 1 at [10 [Aff. of Babcock]; Strickland , 466 U.S. at 688.) As soon as trial
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        counsel were aware that Cruz-Garcia was bom in the Dominican Republic to
        parents also from the Dominican Republic, they incurred an obligation under the

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       ABA Guidelines to seek consular assistance on his behalf.            The Guidelines
       specifically state:
              A. Counsel at every stage of the case should make appropriate efforts
              to determine whether any foreign country might consider the client to
              be one of its nationals.
              B . Unless predecessor counsel has already done so, counsel
              representing a foreign national should:
              1 . immediately advise the client of his or her right to communicate
              with the relevant consular office; and
              2. obtain the consent of the client to contact the consular office. After
              obtaining consent, counsel should immediately contact the client’s
              consular office and inform it of the client’s detention or arrest.
        ABA Guidelines , Guideline 10.6 (emphasis added).
              These additional obligations would have attached as soon as trial counsel
        suspected Cruz-Garcia’s Dominican Republic nationality based on his family
        background and birthplace. Even in cases where nationality is in dispute, counsel
        incur an obligation to try to determine nationality in order to assess whether
        additional steps must be taken to appropriately represent the individual. The ABA
        Guidelines explain:
               Subsection A is included in the Guideline to emphasize that the
               determination of nationality may require some effort by counsel. A
               foreign government might recognize an American citizen as one of its
               nationals on the basis of an affiliation (e.g. one grandparent of that
               nationality) that would not be apparent at first glance.

        ABA Guidelines , Guideline 10.6. The fact that the ABA Guidelines suggest that
        counsel has an obligation to determine nationality in cases where it is not
        immediately apparent only further emphasizes the significance of recognizing a
        defendant’s foreign nationality in a capital case.




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               b. Guidelines Adopted by the State Bar of Texas in 2006 Emphasize the
                  Significance of Taking Certain Additional Steps in Representing a
                  Foreign National in a Capital Case
               In addition to the ABA, the State Bar of Texas has also adopted guidelines
        highlighting trial counsel’s additional obligations in defending a foreign national in
        a capital case. Texas Guidelines , Guideline 10.3. These guidelines are specifically
        tailored to the representation of capital defendants in Texas, thus embodying the
                 - -
        most up to date norms of professional practice in this state. The section of the
        Texas Guidelines specifically concerned with the representation of a foreign
        national is in fact more extensive than the corresponding section within the ABA
        Guidelines. This section reads as follows:
               GUIDELINE 10.3 Additional Obligations of Counsel
               Representing a Foreign National
               A. Counsel at every stage of the case should make appropriate efforts
               to determine whether any foreign country might consider the client to
               be one of its nationals.
               B. Counsel representing a foreign national should:
               1. Immediately determine if the client’s ability to communicate with
               counsel, in English, is sufficient to allow counsel and the client to
               adequately communicate. Counsel must recognize that some foreign
               nationals speak in dialects of which counsel may be unfamiliar,
               resulting in unintended miscommunication .
               2. If there are any language conflicts, counsel should immediately
               request the court to appoint an appropriate interpreter to assist the
               defense in all stages of the proceeding, or counsel may request
               permission to withdraw due to language problems. It is highly
               recommended that both lead and associate counsel have adequate
               communication with the defendant, rather than just one of counsel .
               3. Immediately advise the client of his or her right to communicate
               with the relevant consular office; and
               4. Obtain the consent of the client to contact the consular office. After
               obtaining consent, counsel should immediately contact the client’s
               consular office and inform it of the client’s detention or arrest.

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             Counsel who is unable to obtain consent should exercise his or her
             best professional judgment under the circumstances.
        Id. As the above text makes clear, prevailing norms of professional practice in
        Texas recognize that it is incumbent on trial counsel to take certain steps in
        representing a foreign national in a capital case. Accordingly, failure to take such
        steps falls below the threshold of reasonable professional practice and is
        objectively unreasonable.
               c. Basic Legal Research Would Have Revealed the Significance of
                  Taking Additional Steps in the Representation of a Foreign National
                  in a Capital Case
               Finally, basic legal research would have quickly revealed the importance of
        seeking consular assistance.      By the time trial counsel were preparing Cruz-
        Garcia’s defense, it had already been established in neighboring jurisdictions that
        the failure to seek consular assistance on behalf of a foreign national facing the
        death penalty can fall below minimum standards of legal representation. See
        Valdez v. State , 46 P.3d 703, 710 (Okla. Crim. App. 2002) (granting post-
        conviction relief because it was ineffective assistance for trial counsel not to
        “inform Petitioner he could have obtained financial, legal and investigative
        assistance from his consulate”); cf Deitz v. Money, 391 F.3d 804 (6th Cir. 2004)
        (remanding non-capital case to determine if trial attorney’s failure to “notify Deitz
        of his right to contact the Mexican consulate . ..deprived him of the effective
        assistance of counsel” ); see also Murphy v. Netherland , 116 F.3d 97, 100 (4th Cir.
        1997) (in capital cases, treaties such as the VCCR “are one of the first sources that
        would be consulted by a reasonably diligent counsel representing a foreign
        national ”); Ledezma v. State , 626 NW. 2d 134, 152 (Iowa 2001) (observing that “all
        criminal defense attorneys representing foreign nationals should be aware of the
        right to consular access . . . and should advise their clients of this right” ).


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               By the time of Cruz-Garcia ’s capital trial , therefore, there was a well-
         developed and readily accessible body of legal materials emphasizing the
         indispensable significance of consular assistance in capital cases.
              3. Trial Counsel Failed to Act in Accordance with the Recommendations
                 of the ABA Guidelines, the Texas State Bar Guidelines, and Other
                 Available Legal Materials in Representing Cruz-Garcia , Which
                 Constitutes Deficient Performance Under Strickland v. Washington
               There is no indication in trial counsel ’s records that Cruz-Garcia was ever
        informed of his right to communicate with the Dominican Republic Consulate,
        even though “Guideline 10.6 unequivocally states that counsel should advise a
        foreign national client of her right to communicate with consular officials.” (Ex. 1
        at ]fl 0 [Aff. of Babcock].) Despite the myriad professional guidelines clearly
        outlining counsel’s obligations in representing a foreign national, trial counsel’s
        post-conviction representations confirm that they never made an attempt to
        communicate with the Dominican Republic Consulate on Cruz-Garcia’s behalf.
        Indeed, trial counsel believed that the Dominican Republic was “aware” of this
        case because, prior to trial, one of Cruz-Garcia’s ex-wives was involved in trying
        to procure a visa from the Dominican Republic to come and testify on Cruz-
        Garcia’s behalf.
               Upon learning that Cruz-Garcia was a citizen of the Dominican Republic,
        reasonably diligent counsel would have contacted the nearest consulate in order to
        confirm his citizenship status and eligibility for consular assistance.         The
        Dominican Republic Consulate would have offered services and means of support
        had they known Cruz-Garcia was facing the death penalty. (Ex. 25 [Dominican
        Republic Consulate Letter].) Officers of the Dominican Republic Consulate were
        available to assist, but trial counsel never contacted the consulate, in clear
        contravention of the ABA Guidelines.


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                   Under the ABA Guidelines for the Appointment and Performance of
                   Defense Counsel in Death Penalty Cases and prevailing Texas
                   practice, competent defense counsel would have notified Mr. Cruz
                  Garcia of his rights under Article 36 of the Vienna Convention. After
                  obtaining Mr. Cruz Garcia’s consent, they would have notified
                   consular officials of his detention and sought assistance from the
                   consulate. If Mr. Cruz Garcia’s trial counsel failed to take these
                   actions, that failure was objectively unreasonable.
            (Ex. 1 at
                   |   8 [Aff. of Babcock] (emphasis added ).)
                   Particularly here, where multiple sources articulate the obligations that
            competent counsel ought to take in representing a foreign national, trial counsel’s
            failure to undertake any of these vital steps must be viewed as meeting the first
            prong of the ineffectiveness enquiry under Strickland.
                B. Trial Counsel ’s Failure to Involve the Dominican Republic Consulate in
                   This Case Prejudiced Cruz-Garcia ’s Defense
                   Had trial counsel acted in accordance with their professional obligations and
            sought to notify and involve the Dominican Republic consulate in Cruz-Garcia’s
            defense, there is a reasonable likelihood that the outcome of the proceeding would
            have been different.
                   Post-conviction counsel for Cruz-Garcia contacted the Dominican Republic
            and learned that the consulate was unaware of Cruz-Garcia’s arrest, prosecution,
            and death sentence. In a letter written on Cruz-Garcia’s behalf, dated August 13,
!
            2015, the consulate states, “In the case of Mr. Obel Cruz-Garcia, this office has no
            records whatsoever of a consular notification of Mr. Cruz-Garcia’s arrest, in
            accordance to Vienna Convention stipulations.” (Ex. 25 [Dominican Republic
            Consulate Letter].) The letter goes on to explain the significance of consular
            notification under the Vienna Conventions, and highlights the fact that the
            consulate could have been of great assistance had it been contacted by Cruz-
            Garcia’s trial counsel in a timely fashion.


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               The Vienna Convention .. .[helps to guarantee foreign nationals]. .. the
               protection of their rights, proper legal representation and the
               opportunity to contact family members who can participate in the
               judicial procedure and aid in the investigations; the consular agents
               can also work with the defendant’s lawyers to locate witnesses or
               records in the Dominican Republic. The [VCCR] also allows the
               Consulate to send documents and letters to the court, and to be present
               in court, to support the foreign national and protect the rights of the
               defendant.
               . . . If Mr. Cruz-Garcia had contacted our offices and requested our
               help, this consulate general would have provided Mr. Cruz-Garcia
               with whatever partial or total assistance it could [provide], at that
               moment, as stated above.
               According to our experience, consular intervention can make the
               difference in a legal procedure. There are many examples of cases to
               prove the big difference such assistance can make in the fate of a
               person accused of committing a crime.
        (Ex. 25 [Dominican Republic Consulate Letter].)
               Had it been contacted by the defense team, the Dominican Republic
        consulate would have sought to assist trial counsel in its representation of Cruz-
        Garcia in whatever way possible. Specifically, the consulate could have been of
        significant assistance in facilitating trial counsel’s mitigation investigation in the
        Dominican Republic, and could have helped to ensure that counsel could gain
        access to records, individuals, and facilities in the Dominican Republic that may
        have assisted in Cruz-Garcia ’s defense—assistance particularly needed by the
        defense in the absence of a qualified mitigation specialist. ( See Claim Four, ante.)
               In addition, had the consulate been involved in this case from the start, they
        could have sought to use their political influence to negotiate with the State to seek
        a life sentence for Cruz-Garcia.       Consular officials are often successful in
        persuading prosecutors to waive the death penalty in exchange for a guilty plea.
        ( Ex. 1 at ][15 [Aff. of Babcock].)


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               Furthermore, consular involvement would have made a significant impact on
        the mitigation investigation in this case. Had counsel been working with the
        consulate from the start, they could have received considerable help in locating
        witnesses in the Dominican Republic; securing statements from said witnesses; and
        bringing them to the United States to testify on Cruz-Garcia’s behalf at trial. ( See
        Claim Four, ante , for the many available mitigation witnesses in the Dominican
        Republic that trial counsel failed to locate and interview.)
               Indeed, had the Consulate been involved, it is highly likely that trial counsel
        would have been able to present a far more robust punishment-phase case than they
        ultimately brought before the jury. Had the jury had the opportunity to see and
        hear from more members of Cruz-Garcia’s family in the Dominican Republic, a
        reasonable likelihood exists that they would have voted for life rather than death.
        Without consular assistance in securing and presenting these witnesses, however,
        the jury was left with an incomplete picture of Cruz-Garcia’s many family
        connections within the Dominican Republic.
               Ultimately, it is difficult to know exactly what shape consular involvement
        may take in assisting in the defense of a capital case. Nevertheless, what is clear is
        that consular involvement can have a decisive positive impact on a case’s outcome.
               The assistance provided by consular officials varies from case to case.
                I have been involved in at least two-dozen cases in which consular
                officials have interceded with prosecutors prior to trial to persuade
                them not to seek the death penalty. In most of these cases, the
                prosecution decided to waive the death penalty in exchange for a
               guilty plea. In other cases, consular officials have been instrumental
                in obtaining mitigating evidence from the national ’s home country
                that has a decisive impact on the penalty phase defense. Consular
                officials have also recruited legal counsel to represent foreign
                nationals facing the death penalty where trial counsel lacks the
                requisite experience or competence to defend a capital case.
        ( Ex. 1 at [15 [Aff. of Babcock].)
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               Given the significant ways consular assistance can positively impact a
        defendant’s capital case, there is little doubt that failure to seek such assistanci
        especially when the obligation to do so is codified by various professional

                     —
        guidelines is prejudicial. Had the consulate been involved in the defense of
        Cruz-Garcia’s case, there is a reasonable likelihood that at least one juror would
        have been moved to vote for life rather than death. As such, Cruz-Garcia received
        ineffective assistance of counsel in the defense of his capital case, and his
        conviction and death sentence should be overturned.
            C. Trial Counsel Were Ineffective for Failing to Ensure That Cruz-
               Garcia’s VCCR Rights Were Protected by the State and for Failing to
               Raise This Issue at Trial
               Upon appointment to this case, trial counsel should have immediately
        ensured that Cruz-Garcia’s rights under the VCCR were protected during his arrest
        and detainment. See Osagiede v. United States, 543 F.3d 399 (7th Cir. 2008)
        (finding trial counsel ineffective for failing to seek a remedy for an Article 36
        violation and remanding for prejudice determination). Had trial counsel been
        diligent in their pretrial review of Cruz-Garcia’s case, they would have realized
        that the State of Texas mistakenly listed Cruz-Garcia as coming from the country
        of Dominica on his probable cause form. { See Claim Five, ante\ Ex. 25 [Probable
        Cause Findings and Warnings].) Had trial counsel caught this obvious error, they
        could have informed the Court during Cruz-Garcia’s trial that his rights under the
        Vienna Convention were violated. In raising the issue before the court, trial
        counsel not only would have preserved the issue on direct appeal, but also would
        have given the Court the opportunity to correct the error. In so doing, the Court
        could have ordered the Dominican Republic Consulate contacted and ordered a
        continuance of the proceeding until such time as Cruz-Garcia had the opportunity
        to communicate with them and receive any assistance they were able to offer. In


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        failing to both preserve this issue and notify the Court about this error, counsel
        were ineffective.
           D. Conclusion
               Trial counsel wholly failed their obligations under prevailing norms of both
        national and state professional practice in failing to advise Cruz-Garcia of his right
        to consular access; seek out consular assistance in the defense of his case; and
        communicate to the Court that the State failed to properly warn Cruz-Garcia of his
        rights under the Vienna Conventions. Such failures on the part of trial counsel
        deprived Cruz-Garcia of his right to effective representation under the Sixth
        Amendment to the United States Constitution and necessarily impacted the
        outcome of his capital case. As a result, his conviction and sentence of death were
        rendered in violation of state, federal, and international law, and should be
        overturned.
                                          CLAIM SEVEN
           CRUZ-GARCIA’S DUE PROCESS RIGHTS TO A FAIR TRIAL WERE
            VIOLATED BY CONSTITUTIONAL ERRORS RELATING TO THE
              COURT’S EX PARTE DISCUSSION WITH A SINGLE JUROR

               The right to an impartial and fair jury is paramount in a capital case.
        Morgan v. Illinois , 504 U.S. 719, 727 ( 1992). Yet in Cruz-Garcia’s case, error by
        the trial court invaded the sanctity of the jury’s deliberations and placed a thumb
        on the scale for a death verdict. During punishment phase deliberations, Juror
        Bowman was a lone holdout for a life sentence and sent a note requesting to speak
        with the Court. During that conversation , which was on the record but happened
        privately in the judge’ s chambers without counsel present, the Court effectively
        gave Juror Bowman supplemental instructions telling her to attempt to agree with
        the rest of the jury. This information was never communicated to trial counsel,
        who lost the opportunity to object or ask for an end to deliberations. As a result,

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         Cruz-Garcia’s due process rights were violated under the state and federal
         Constitutions, Texas criminal law, and United States Supreme Court and Texas
         case law. Accordingly, his sentence must be reversed.
            A. Relevant Facts
               On July 19, 2013, on the second day of the jury’s deliberations at the
         punishment phase of trial, the Court received a note from Juror Bowman asking to
         speak with the judge. (27 RR at 3.) The note did not give any indication of what
         the juror wished to speak about. After showing the note to both the State and
        defense counsel, the Court asked either party if they objected to her speaking with
        Juror Bowman in private in her chambers. Both sides agreed that was the proper
        way to determine what the juror needed to speak about. { Id. ) However, neither
        side discussed what the Court should do once she learned what the issue was.
               The Court brought Juror Bowman to her chambers and halted deliberations.
        (27 RR at 4.) Juror Bowman then explained to the judge:
               I’m sorry. I don’t mean to waste your time. You are important, Judge,

               —                                —
               and everything like that. I just I am the only juror that's completely
                 I can’t agree. I can’t agree with the questions. I can’t answer the
               same questions with everyone else and I feel pressured. And I don’t
               want to hold them up. So, I feel like maybe they can exchange me out
               with one of the alternates.
        { Id. at 4-5.) The Court explained to the juror that having a different opinion than
        the other jurors did not disqualify her as a juror and that she would essentially have
        to become disabled to be replaced by an alternate.         { Id. at 5-6.)       The juror
        continued , though:
               Here’s my thing. I don’t think I ’ll ever come to an agreement. We’re
               never going to come to an agreement. They all have the same
                                            —
               answers. The only question the only answer I’ m in agreement with
               them is No. 2. No. 1 and 3, they’ re all    — you know, they are all
               different. I am the only one with the different opinion . And I am not
               changing my stance on that. I ’m not. And they are not.

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               So, I mean, if we keep on going to deliberations, it could be years, I
               mean, because I’m not the type of person  —
        (27 RR at 6.) The Court interrupted, instructing Juror Bowman that she needed to
        continue deliberating until the Court told her to stop. The Court explained that
        multiple nights of hotel lodging had been booked in case the jury needed to be
        sequestered more than the night they had already been sequestered. ( Id. at 6-7.)
        The Court further instructed:
             If the evidence leads you to a certain way, that’s the way you should
             answer it, even though it might result in something that bothers you.
             That’s why we don’t ask you to vote to give the death penalty or to
             not give the death penalty.
             So, I’d like you to go back and continue your deliberations with the
             jury and continue trying to reach an agreement with the jury, if you
             can.
        (27 RR at 7.) Juror Bowman closed the conversation by stating: “Judge, I don’t
        want to have to stay another night. I really don ’t know.” ( Id. at 8.) The Court
        replied: “That’s completely in the hands of the entire jury. You have to deliberate
        back there and try to find out whether you can reach a verdict or not. Okay?” ( Id. ) ,
               After indicating that Juror Bowman was sent back to deliberations, the
        record is silent, resuming after deliberations have concluded and the jury is brought
        back with their verdict later that same day. (27 RR at 8.) There is no indication in
        the record that the Court informed either the State or defense counsel about the
        content of the conversation with Juror Bowman. Nor is there any indication in the
        record of objections by defense counsel, asking the Court to put on record what
        Juror Bowman had said and what the Court had instructed her.
               In post-conviction investigation, trial counsel was asked to review the
        transcript of the in-chambers conversation with Juror Bowman . Trial counsel have
        stated that they were not told by the Court that Juror Bowman was a holdout vote
        and wanted to stop deliberating. Trial counsel recalls an informal conversation

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         with the judge outside the courtroom, in which the judge stated that Juror Bowman
         was having a hard time. In his affidavit filed with the motion for new trial, counsel
         Mario Madrid stated the court only informed them that Juror Bowman “questioned
         how long deliberations would last.” (35 RR at 28 (Def Ex. 1).) Counsel were not
         given the specifics that Juror Bowman stated she could not come to an agreement
         with the other jurors, was not going to change her opinion, and wanted to stop
         deliberating for that reason. Both counsel state that if they had known Juror
         Bowman was a holdout juror who desired to stop deliberations, they would have
        asked the court to end deliberations and enter a life sentence.
            B. Cruz-Garcia’s Due Process Rights Were Violated When the Trial Court
               Failed to Inform Trial Counsel of the Details of Its Conversation with
               Juror Bowman and Instead Instructed Her to Resume Deliberations
               The Court’s failure to inform defense counsel about the content of the
        conversation with Juror Bowman prejudiced Cruz-Garcia’s right to a fair trial in
        two ways. First, this failure prevented counsel from being able to object to the
        Court’s private instructions to Juror Bowman, which operated essentially as an
        impermissible coercive Allen charge. Next, the failure to inform counsel denied
        them the opportunity to request that the Court end deliberations based on Juror
        Bowman’ s holdout vote.
               Article 37.071(e) of the Texas Code of Criminal Procedure states that a court
        shall enter a life sentence if the jury is unable to answer one of the special issues.
        TEX . CODE CRIM. PROC. art. 37.071; Montoya v. State , 810 S. W.2 d 160, 166 (Tex.
        Crim. App. 1989). The court may do so when it determines a jury has been
        deliberating “for such a time as to render it altogether improbable that it can
        agree.” Howard v. State , 941 S.W.2d 102, 121 (Tex. Crim. App. 1996). There is
        no set time for deliberations, though . Id.; Green v. State , 840 S.W.2d 394, 407
        (Tex. Crim . App. 1992). It is within the court ’s discretion to continue deliberations


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        if it believes it could be productive. It may also issue a supplemental charge to the
        jury known as an Allen or “dynamite” charge. See Allen v. United States , 164 U.S.
        492 (1896).      Such a charge essentially reminds jurors of the object of
        deliberations—to come to an agreement if possible       —,   and that jurors should be
        open to being persuaded to change their vote. Howard 941 S.W.2d at 123.
               As the term “dynamite” suggests, however, an Allen charge carries the risk
        of coercing jurors into changing their vote not based on deliberation or
        consideration of the evidence, but instead based on the court instructing them to do
        so. See Jenkins v. United States , 380 U.S. 445, 446 ( 1965) ( reversing a conviction
        where the court, after two hours of deliberations, instructed the jury: “ You have got
        to reach a decision in this case.”); Barnett v. State , 189 S. W.3d 272, 277 n.13 (Tex.
        Crim. App. 2006) (“While such a charge is permissible in both the federal system
        and Texas courts, trial courts must be careful to word it and administer it in a non-
        coercive manner.”). This has been found particularly true for Allen charges that
        single out the fewer holdout jurors in the instruction. See Lowenfield v. Phelps ,
        484 U.S. 231, 238 ( 1988); Barnett , 189 S.W.2 d at 278 ( reversing a conviction
        where the trial court singled out two holdout jurors and asked them if they would
        be able to change their vote). It is for this reason that proper supplemental charges
        have focused on instructing all jurors to reevaluate their opinions based on the
        divided deliberations. Howard , 941 S. W.2d at 123.
               In the present case, the Court’s discussion with Juror Bowman and
        instructions to her to return to the deliberation room created a situation where the
                                                       —
        Court was essentially giving Juror Bowman and only Juror Bowman a coercive—
        Allen charge.   By instructing Juror Bowman to “continue trying to reach an
        agreement with the jury,” the Court singled Juror Bowman out as being the juror
        that needed to consider changing her vote. Indeed , this was the message that was
        received by Juror Bowman from her conversation with the Court. (Ex. 14 at [4
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        [Aff. of Juror Bowman] (“I do not remember her exact words to me, but I
        understood that she was telling me I had to go back into deliberations and see
        whether I could find it within myself to vote with the other jurors, without
        violating my conscience.” ).) Juror Bowman was sent back to deliberations with
        this instruction, and the rest of the jury did not receive any supplemental
        instructions. Juror Bowman’s subsequent change of her vote to agree with the
        other jurors in assigning the death penalty is directly linked to the Court’s
        instruction to her. ( Id. (“ Ultimately, I went back to deliberations like the judge
        instructed me to and thought about whether I could find a way to agree with the
        rest of the jurors. Because of all the pressure from other jurors and my daughter
        being sick, I decided to change my vote to death.”).)
               The instruction given to Juror Bowman was, therefore, independently an
        error by the Court.      In addition, the Court gave the instructions outside the
        presence of the State and defense counsel and failed to report the entire
        conversation and instructions back to the defense.          The U.S. Supreme Court
        reversed a case under strikingly similar circumstances. The gravity of the error
        expressed in the Supreme Court opinion bears repeating at length.
               The District Judge suggested that he meet alone with the jury foreman
               and counsel acquiesced. The transcript of the meeting, which was
               initially impounded but released for purposes of the appeal , contained
               several references by the foreman to the jury’s deadlock, as well as an
               exchange suggesting the strong likelihood that the foreman carried
               away from the meeting the impression that the judge wanted a verdict
               “one way or the other.” The judge’s report to counsel summarizing
               the discussion made no reference to either of these matters.
               We find this sequence of events disturbing for a number of reasons.
               Any ex parte meeting or communication between the judge and the
               foreman of a deliberating jury is pregnant with possibilities for error.
               This record amply demonstrates that even an experienced trial judge
               cannot be certain to avoid all the pitfalls inherent in such an
               enterprise. First, it is difficult to contain , much less to anticipate, the
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               direction the conversation will take at such a meeting. Unexpected
               questions or comments can generate unintended and misleading
               impressions of the judge’s subjective personal views which have no
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               place in his instruction to the jury all the more so when counsel are
               not present to challenge the statements. Second, any occasion which
               leads to communication with the whole jury panel through one juror
               inevitably risks innocent misstatements of the law and
               misinterpretations despite the undisputed good faith of the
               participants. Here, there developed a set of circumstances in which it
               can fairly be assumed that the foreman undertook to restate to his
               fellow jurors what he understood the judge to have implied regarding
               the resolution of the case in a definite verdict “one way or the other.”
               There is, of course, no way to determine precisely what the foreman
               said when he returned to the jury room.
               Finally, the absence of counsel from the meeting and the
               unavailability of a transcript or full report of the meeting aggravate
               the problems of having one juror serve as a conduit for
               communicating instructions to the whole panel. While all counsel
               acquiesced to the judge’s ex parte conference with the jury foreman,
               they did so on the express understanding that the judge merely
               intended  —  as no doubt at the time he did       — to receive from the
               foreman a report on the state of affairs in the jury room and the
               prospects for a verdict. Certainly none of the parties waived the right
               to a full and accurate report of what transpired at the meeting nor did
               they agree that the judge was to repeat the instructions as to his
               understandable reluctance to accept the jury’s inability to reach a
               verdict. Because neither counsel received a full report from the judge,
               they were not aware of the scope of the conversation between the
               foreman and the judge, of the judge’s statement that the jury should
               continue to deliberate in order to reach a verdict, or of the real risk
               that the foreman's impression was that a verdict “one way or the
               other” was required. Counsel were thus denied any opportunity to
               clear up the confusion regarding the judge’s direction to the foreman,
               which could readily have been accomplished by requesting that the
               whole jury be called into the courtroom for a clarifying instruction.
               Thus, it is not simply the action of the judge in having the private
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               meeting with the jury foreman , standing alone undesirable as that
               procedure is -- which constitutes the error; rather, it is the fact that the
               ex parte discussion was inadvertently allowed to drift into what

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               amounted to a supplemental instruction to the foreman relating to the
               jury ’s obligation to return a verdict, coupled with the fact that counsel
               were denied any chance to correct whatever mistaken impression the
               foreman might have taken from this conversation, that we find most
               troubling.
        United States v. United States Gypsum Co. , 438 U.S. 422, 460-62 (1978) (internal
        citations omitted ).   For the same reasons expressed in the Supreme Court’s
        opinion, the trial court’s private meeting with Juror Bowman in Cruz-Garcia’s
        case, and her instructions to return to deliberations in an attempt to agree with the
        other jurors, constitute error. The instructions, though almost certainly given with
        the benign purpose of encouraging Juror Bowman to continue deliberations,
        instead likely caused a coercive effect on her vote. Howard , 941 S.W.2d at 124
        ( noting that, even if unintended, “a trial court might engender coercion by actively
        identifying jurors with minority viewpoints and tacitly instructing them to
        reexamine their perspectives.”). In her affidavit filed with the motion for new trial,
        Juror Bowman’s description of feeling like the “last holdout” and that she was
        “ holding up the process” is indicative that her mindset during the end of
        deliberations was the she was the one who was required to change her vote. (35
        RR at 36 (Def. Ex. 3).) The other jurors “weren’t changing their minds” and,
        significantly, had not been asked to reconsider their votes as Juror Bowman had.
        { Id. ) Like the juror in United State Gypsum Co., there is a real risk that Juror
        Bowman left the judge’s chambers believing that she had to come to agreement
        with the other jurors. 438 U.S. at 461.
               Further, by conducting the conversation in private and not reporting back the
        language of her instruction to Juror Bowman, the Court prevented trial counsel
        from having the opportunity to weigh in on those instructions or request to correct
        any mistaken impression about what she was required to do. And this was not the
        only opportunity lost to counsel .

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               In failing to report to counsel that Juror Bowman was a holdout juror who
        did not wish to continue deliberating, the Court deprived counsel of the
        opportunity to ask the Court to end deliberations. Unlike most cases, the failure of
        the jury to reach a unanimous sentencing verdict in a capital case does not result in
        a mistrial. Rather, the Court is instructed by statute to enter a life sentence. TEX.
        CODE. CRIM . PROC. art. 37.071. While a court has broad discretion to continue
        deliberations, that necessarily means the court has discretion to end deliberations
        where called for. See Green , 840 S.W.2d at 407. In the present case, trial counsel
        have stated they would have asked the Court to end deliberations had they known
        the details of the conversation with Juror Bowman. Because a juror’s decision
        regarding the special issues in a death penalty case necessary impact an individual*
        moral judgment of the evidence (particularly regarding mitigation), the Court
        might have been amenable to argument from counsel regarding the need to avoid
        undue pressure on the jury to come to unanimity and that ending deliberations was
        the appropriate step given Juror Bowman’s comments. We cannot presently know
        how the Court would have ruled, had such arguments been presented to it, because
        trial counsel were never given the opportunity.
               For both the error in the instructions given to Juror Bowman—substantively
        and by being done in private, individually   —and the missed opportunity of counsel
        to object and to request an end to deliberations, Cruz-Garica’s due process rights to
        a fair trial proceeding were infringed. As such, his sentence should be vacated and
        his case remanded for a new trial.
           C. Appellate Counsel Provided Ineffective Assistance in Failing to Raise
              the Foregoing Errors on Direct Appeal
               It is well established that criminal defendants are entitled to effective
        assistance of counsel during their direct appeals. The effectiveness of appellate
        counsel is determined using the two-prong Strickland standard. See Robbins , 528

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        U.S. at 285; Ries v. Quarterman , 522 F.3d 517, 531 ( 5 th Cir. 2008); Amador v.
        Quarterman , 458 F.3d 397, 411 (5th Cir. 2006); Ex parte Santana , 221 S.W.3d at
        704-05. Appellate counsel is considered ineffective if counsel’s performance was
        objectively unreasonable, and this deficient performance prejudiced the defendant.
        See Ries , 522 F.3d at 531; Amador , 458 F.3d at 411.
               Appellate counsel has an obligation to research relevant facts and law, so as
        to raise “solid, meritorious arguments” based on controlling precedent in an
        appellate brief. United States v. Williamson , 183 F.3d 458, 462 (5th Cir. 1999);
        accord Ries , 522 F.3d at 531-32; see Ex parte Santana , 227 S.W.3d at 704-05
        ( Strickland standard controls ineffective assistance of appellate counsel claims).
        Section 12.2( A) of the Texas Guidelines outlines the duties of appellate counsel,
        stating that counsel must “ review the appellate record for all reviewable errors”
        and prepare “a well-researched and drafted appellate brief.” Texas Guidelines ,
        Guideline 12.2(A )(8).
               In the present case, full development and litigation of the foregoing errors
        regarding Juror Bowman’s instructions will require an evidentiary hearing with
        live testimony from trial counsel concerning what information they received from
        the Court regarding the conversation with Juror Bowman and what they would
        have done had they been provided the complete transcript. Thus, these issues are
        properly raised and preserved for review in this Application and collateral
        proceeding. See Ex parte Torres , 943 S.W.2 d 469, 475 (Tex. Crim. App. 1997)
        ( noting that claims relying on outside-the-record evidence are best raised on
        habeas).     However, certain information forming the basis of this claim was
        available in the record of trial. Should the issues herein be found to have been
        waived by not having been pled in Cruz-Garcia’s direct appeal proceedings, he
        should be found to have received ineffective assistance of appellate counsel .


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               First, the transcript of the conversation between the Court and Juror
        Bowman was part of the trial record and had even been included in the motion for
        new trial proceedings shortly after trial. (35 RR at 11 (State’s Ex. 3).) It was clear
        from that record that trial counsel had not been made part of the conversation and
        that the contents of the conversation had not been reported back to counsel on the
        record. Further, trial counsel Mr. Madrid referenced the incident in his affidavit,
        filed with the motion for new trial by direct appeal counsel. In that affidavit, Mr.
        Madrid stated that the Court had only informed counsel that Juror Bowman
        “questioned how long deliberations would last.” (35 RR at 28 (Def Ex. 1).) Thus,
        it would have been reasonable to assume from this notation that counsel had not
        been informed of the full extent of Juror Bowman’s conversation with the Court.
               Based on this information, direct appeal counsel knew or should have known
        of the Court error in its instructions to Juror Bowman and the failure to disclose the
        conversation to trial counsel . There is no reasonable, strategic ground to have
        failed to raise this meritorious issue on appeal .        Thus, appellate counsel’s
        performance fell below the reasonable standards of professional conduct and
        prejudiced Cruz-Garcia’s appeal . Lucey , 469 U.S. at 394 n .6 (“In a situation like
        that here, counsel’s failure was particularly egregious in that it essentially waived
        respondent’s opportunity to make a case on the merits; in this sense, it is difficult
        to distinguish respondent’s situation from that of someone who had no counsel at
        all.”) As a result, Cruz-Garcia’s must be granted a new direct appeal process.
           D. Trial Counsel Provided Ineffective Assistance of Counsel in Failing to
              Object or Request the Trial Court Report Its Conversation with Juror
              Bowman on the Record
              Trial counsel has a duty to object to trial errors and establish a record
        reflecting adverse rulings by the court. See ABA Guidelines , Guideline 10.8, cmt.
       ( “One of the most fundamental duties of an attorney defending a capital case at


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        trial is the preservation of any and all conceivable errors for each stage of appellate
        and post-conviction review.” ) ( internal citation omitted ); ABA Standards , Standard
        4-7.1(d ) (defense counsel “has a duty to have the record reflect adverse rulings”). -
        In a capital trial, trial counsel has a duty to “protectf ] the client’s rights against
        later contentions by the government that the claim has been waived, defaulted, not
        exhausted, or otherwise forfeited.” ABA Guidelines , Guideline 10.8(A )(3)(c). The
        ABA Guidelines advise that trial counsel in a capital case should “know and follow
        the procedural requirements for issue preservation and act with the understanding
        that the failure to raise an issue by motion, objection or other appropriate
        procedure may well forfeit the ability of the client to obtain relief on that issue in
        subsequent proceedings.” Id. at cmt.
               As discussed above, trial counsel were not told of the Court’s full
        conversation with Juror Bowman . At an evidentiary hearing on this Application, it
        is anticipated that counsel will state that the Court informally told them after the
        conversation with Juror Bowman that she was having a hard time and asked how
        long deliberations would last. In light of that explanation from the Court, it is
        likely counsel did not believe any formal recitation of these facts on the record was
        necessary by the Court.
               However, should it be determined that the errors herein complained of were
        not properly preserved by trial counsel, it should be found that Cruz-Garcia
        received ineffective assistance of trial counsel through their failure to request to be
        present at the meeting with Juror Bowman or a recitation of the conversation on
        the record. Counsel knew that Juror Bowman had some issue sufficient to warrant
        sending a note to speak with the Court. Upon learning that Juror Bowman was
        having a hard time with deliberations, counsel should have exercised all due
        diligence to preserve the rights of their client. Following the guidelines and norms
        for capital counsel , Cruz-Garcia ’s trial counsel should have requested the Court
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        give a full accounting of the conversation on the record in order to determine
        whether any error existed that might prejudice Cruz-Garcia’s case.           Because
        counsel failed to do so, and no reasonable, strategic grounds exist to have done so,
        they provided ineffective assistance of counsel. Cruz-Garcia’s sentence should be
        reversed and his case remanded for a new trial.
                                          CLAIM EIGHT
           CRUZ-GARCIA’S RIGHTS TO A FAIR TRIAL WERE VIOLATED BY
               TRIAL COUNSEL’S FAILURE TO INVESTIGATE JUROR
                                MISCONDUCT
               In a capital case, a defendant’s right to a fair and impartial jury is
        paramount. See Morgan , 504 U.S. at 727. This fairness is not only necessary in
        the selection of the jury, but also in a requirement that they do not receive outside
        information or make decisions about the case outside of the deliberation room. “A
        juror must make decisions at the guilt and punishment phases using information
        obtained in the courtroom: the law, the evidence, and the trial court’s mandates.”
        Ocon v. State , 284 S.W.3d 880, 884 (Tex. Crim . App. 2009). Notably, during
        Cruz-Garcia’s trial, it came to light that two jurors had a discussion outside of
        deliberations about the case. This was reported to the Court by an attorney not
        connected to the proceedings. Yet trial counsel did not investigate this event
        further, neither speaking with the attorney nor requesting the jurors themselves be
        questioned. Counsel also did not raise any objections or request for mistrial based
        on the jurors’ misconduct. This failure constitutes deficient performance that
        prejudiced Cruz-Garcia’s right to a fair trial. His rights under the state and federal
        Constitutions, Texas criminal law, and United States Supreme Court and Texas
        case law were violated .     Accordingly, his conviction and sentence must be
        reversed .



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             A. Relevant Facts
                  On the morning of July 16, 2013, during Cruz-Garcia’s capital trial, an
        attorney unrelated to the case named Michael Casaretto came to the 337th District
        Court and asked to speak with the Court in chambers. (24 RR at 3.) Casaretto
        reported to the Court that he had seen and heard two jurors in Cruz-Garcia’s case
        talking to each other that same morning, and felt he should report it to the Court.
        ( Id. )
                  After speaking with Casaretto in chambers, the Court put a summary of the
        conversation on the record, with both the State and defense counsel present. (24
        RR at 3.) The Court reported that Casaretto had described the two jurors and what
        they were wearing that day. However, the description the Court gave minimized
        the seriousness of the conversation between the jurors, reporting that Casaretto had
        “said they were having what was possibly an innocuous conversation .” ( Id. ) The
        Court reported that Casaretto had heard the jurors speaking about other jurors
        struggling with the case and about words of encouragement from the older of the
        two jurors. ( Id. at 3-4.) Any implication of seriousness was minimized, though,
        when the Court stated that Casaretto had said: “There was nothing specific about
        the issues discussed and they did not seem to be conspiring. He said he could not
        tell if they were actually talking about evidence.” ( Id. at 4.)
                  The Court stated that it was notifying the State and defense counsel “to do
        whatever you want with the information and make them available. [Casaretto] is
        obviously available if you need to speak to him further.” (24 RR at 3.) The Court
        was satisfied that was all the information Casaretto had , but gave both parties
        Casaretto’s name and phone number if they wished to speak with him. ( Id. at 5.)
        The Court again stated “ he said it probably or possibly was innocuous and he
        wanted to report it just because . . .” ( Id. ) Trial counsel then stated : “I will call
        him just to make sure and put whatever he tells me on the record .” ( Id. )
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                  At no time did counsel ask to poll the jury, interview the individual jurors,
        remove the individual jurors, or for a mistrial. Nor did counsel ask for a brief
        continuance in order to speak with Casaretto before continuing the trial. Nor did
        the Court independently interview the two jurors identified by Casaretto to
        determine whether the conversation was a more serious case of juror misconduct.
        Instead, the Court simply re-issued the usual warning to the entire jury at the
        beginning of that morning’s presentation that the jury was not to speak amongst
        themselves or to anyone else about the evidence or any other matter relating to the
        case. (24 RR at 6-7.)
                  Trial counsel ultimately failed to do the one thing they said they would      —1

        contact Casaretto directly. After leaving the court that day, Casaretto was not
        contacted again by the Court, the State, or defense counsel. (Ex. 36 at         ffl[6, 10
        [Aff. of Michael Casaretto].) Had counsel spoken with him, they would haye
        learned that, contrary to the innocuous conversation the Court understood had
        occurred, Casaretto believed the jurors’ conversation was serious misconduct. { Id.
        at 17.)
                  When Casaretto encountered the jurors coming to court that day, they were
        already in conversation, so Casaretto could not have known how long they had
        been speaking. But he could hear them clearly and it was evident they were
        discussing the case for which they were jurors. Though he did not know the case,
        and thus did not understand what exactly the jurors were talking about, it was
        unmistakably about the merits of the case. They were speaking about evidence
        they had heard , including how they felt about it.         (Ex. 36 at   ffl[2-3 [Aff.   of
        Casaretto].)
                  While the Court’s recounting of how Casaretto came to the Court to inform
        it of the jurors’ conduct was mostly accurate, the way the Court explained it left
        the impression on the record that Casaretto was not particularly concerned about
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        the conversation but was simply exercising all due diligence. Had counsel spoken
        with Casaretto directly as they said they would , rather than relying on the Court’s
        recounting, they would have learned the opposite was true. Casaretto would have
        stated that he was “immediately troubled by the possibility that two jurors were
        discussing an ongoing case publicly and outside the presence of the other jurors.”
        (Ex. 36 at 1f4 [Aff. of Casaretto].) Indeed, he had told the Court that , as an officer
        of the court, he felt it necessary to report conduct that appeared to reach the level
        of juror misconduct. { Id. at |5.)
                                     ^
               Before this occurrence, Casaretto had never before had to report juror
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        misconduct, nor has he since highlighting the significance of his actions in this
        case and how blatant he must have considered the misconduct. (Ex. 36 at f 7 [Aff.
        of Casaretto].)    Indeed, when interviewed in post-conviction, Casaretto was
        shocked to learn that these were jurors serving on a capital trial, that there was no
        motion for a mistrial by the defense, and that the judge did not remove the jurors.
        (MatlfB . )
            B. Trial Counsel Provided Ineffective Assistance of Counsel in Failing to
               Interview Casaretto or Take Other Action
               Trial counsel has a duty to object to trial errors. See ABA Guidelines ,
        Guideline 10.8, cmt.; ABA Standards , Standard 4-7.1(d). Moreover, trial counsel
        has a duty to “protect[] the client’s rights against later contentions by the
        government that the claim has been waived, defaulted, not exhausted , or otherwise
        forfeited .” ABA Guidelines , Guideline 10.8(A )(3)(c).
               It is well understood that jurors are prohibited from discussing the facts of a
        case or their opinions outside of deliberations. Ocon , 284 S. W.3d at 884; Golden
        Eagle Archery, Inc. v. Jackson, 24 S. W.3d 362, 371 (Tex. 2000) ( “None of the
        rules contemplate that the jury may begin deliberating during a trial break. On the
        contrary , the approved jury instructions direct courts to admonish the jury against

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        informal discussions of the case.”). Such conversations are especially concerning
        because “where a sitting juror makes statements outside of deliberations that
        indicate bias or partiality, such bias can constitute jury misconduct that prohibits
        the accused from receiving a fair and impartial trial .” Granados v. State , 85
        S.W.3d 217, 235 (Tex. Crim. App. 2002). Should such conversations occur, the
        trial court is authorized to make an inquiry of the juror as to his or her intent or
        bias and to grant a motion for mistrial based on the allegations of misconduct. Id.
        at 236.
               In the present case, trial counsel acted unreasonably and failed to meet
        prevailing standards for capital counsel by failing to either interview Casaretto or
        take other action when they learned that two jurors had been speaking about the
        case outside of deliberations. Professional standards required that capital counsel
        at a minimum interview a fellow attorney held out to them as availabli   -they   were

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        even given Casaretto’s phone number and who they were told observed possible
        juror misconduct. See Texas Guidelines , Guideline 11.2 (A)(2) (requiring counsel
        to “thoroughly investigate the basis for each potential claim before reaching a
        conclusion as to whether it should be asserted”). Counsel seemed to know this was
        required on their part when they indicated to the Court they would contact
        Casaretto, but they then failed to do so.
               Had counsel interviewed Casaretto, they would have learned how serious
        Casaretto (as the direct observer of the conversation ) felt the jurors’ misconduct
        was. At that point, they could have requested a mistrial or other remedial action to
        protect their client’s rights to a fair and impartial verdict. Even with just the
        information learned from the Court’s description of its conversation with
        Casaretto, counsel could have requested a mistrial or to remove the two jurors. At
        a minimum, counsel should have requested the Court interview the two jurors in
        question to determine if more action was necessary. See Ocon , 284 S.w.3d at 886
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        ( noting that it is incumbent upon the party alleging juror misconduct to request an
        inquiry of the jury).
               Cruz-Garcia’s right to a fair trial was prejudiced by counsel’s deficient
        performance in multiple ways. First, Cruz-Garcia lost the opportunity to complain
        of error related to the two jurors’ conversation and the impact that had on their
        verdict. See Ocon, 284 S. W.3d at 885 (“Though requesting lesser remedies is not a
        prerequisite to a motion for mistrial, when the movant does not first request a
        lesser remedy, we will not reverse the court’s judgment if the problem could have
        been cured by the less drastic alternative.”).       Second, Cruz-Garcia lost the
        opportunity to investigate whether jurors were impacted by that discussion or other
        discussions outside of deliberations. In the conversation as noted by the Court, the
        younger of the two jurors thanked the older of the two for providing “words of
        encouragement” the day before. (24 RR at 4.) No investigation occurred into
        whether the referenced conversation the day before happened in or out of
        deliberations, or how it impacted the jurors.
               Finally, the overall failure to investigate this issue prevented counsel from
        evaluating the incident as part of a broader issue of jury misconduct in this case. In
        the motion for new trial, Cruz-Garcia identified misconduct on the part of the jury
        foreman for improperly reading Bible passages to influence jury deliberations. (3
        CR at 549, 555.)        In post-conviction, Cruz-Garcia has learned that jurors
        impermissibly discussed deliberations with an alternate juror outside the
        deliberation room. ( See Claim Nine, /?as^.)
               When viewed alongside these other incidents of jury misconduct, the
        conversation between jurors outside of deliberations observed by Casaretto takes
        on even more significance. With reasonable investigation , counsel might have
        developed the pattern of juror misconduct and brought it to the Court’s attention ,


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        requiring a mistrial.22 Instead , counsel failed to investigate the jurors’ discussion
        of the case outside of deliberations and object to the potential negative impact to
        Cruz-Garcia’s right to a fair trial. Because of this ineffective assistance of counsel,
        Cruz-Garcia ’s conviction and sentence should be reversed.
                                           CLAIM NINE
             JURORS IN CRUZ-GARCIA’S TRIAL COMMITTED MISCONDUCT
               THAT VIOLATED CRUZ-GARCIA’S RIGHT TO A FAIR TRIAL
               Jurors in Cruz-Garcia’s trial committed serious misconduct that violated
        Cruz-Garcia’s right to a fair trial.    Specifically, the jury foreman read Bible
        passages commanding the death penalty for murderers during the punishment
        phase deliberations, and he and another juror indicated that his reading of scripture
        made the difference in changing another juror’s vote from life to death. Moreover,
        jurors violated the trial court’s instructions by discussing the case outside of
        deliberations on multiple occasions. These incidents of misconduct impacted the
        jurors’ deliberations and, thereby, prejudiced Cruz-Garcia.       Due to the jurors’
        misconduct, Cruz-Garcia’s conviction and death sentence were unlawfully and
        unconstitutionally imposed in violation of his applicable state and federal



        22
            In the present case, full and fair litigation of the foregoing errors must
        necessarily include testimony from trial counsel regarding their failure to contact
        Casaretto. Thus, it is more appropriate that this claim of ineffective assistance be
        raised on habeas proceedings rather than on direct appeal . Ex parte Torres , 943
        S.W.2 d at 475. However, direct appeal counsel was, or should have been, aware of
        the record of the failure of counsel to request a mistrial or other remedial action by
        the Court after having been informed of Casaretto’s report to the Court. { See 24
        RR at 3-6.) Should it be determined that appellate counsel caused this error to be
        waived by failing to raise the issue on direct appeal , that failure constitutes
        deficient performance that prejudiced Cruz-Garcia ’s rights. Ex parte Santana , 227
        S. W.3d at 704-05 { Strickland standard controls ineffective assistance of appellate
        counsel claims). This ineffective assistance warrants a new direct appeal process.
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        Constitutional rights, state statutory law, and United States Supreme Court and
        state case law. Therefore, his conviction and sentence must be vacated.
            A . Scripture Reading During Punishment-Phase Deliberations
               On the afternoon of Friday, July 19, 2013, the jury returned a verdict of
        death. (3 CR at 523-27.) Later that evening, Juror Bowman contacted trial counsel
        Mr. Madrid and informed him, among other things, that the jury foreman had
        quoted from the Bible during the punishment-phase deliberations and that the
        reading of scripture had appeared to sway other jurors in favor of a death verdict.
        ( Id. at 541.) Juror Bowman repeated this information in an interview with defense
        investigator J.J. Gradoni and also attested to these facts in an affidavit provided to
        appellate counsel and submitted in support of a Motion for New Trial. ( Id. at 553-
        56.)
               Mr. Gradoni and defense investigator Cindy Klein conducted a recorded
        interview of the foreman , Juror Clinger. In that interview, Juror Clinger stated that
        he brought out his Bible during punishment-phase deliberations on Friday
        morning. (3 CR at 633.) Juror Clinger stated that he read from Romans 13,
        Genesis 9, and “a lot of places in Deuteronomy.” ( Id. at 634.) Juror Clinger stated
        that he read these passages as the jurors were finishing up their deliberation on the
        first special issue. ( Id. at 635.) Juror Clinger explained that another juror who
        went to his church , Juror Guillote, had been struggling in deliberations and that
        after he read from the Bible, Juror Guillote was able to answer the first special
        issue and move on to the second . ( Id. at 633, 635.) Juror Clinger stated that his
        reading of scripture “made a difference with [Juror Guillote].” ( Id. at 636.)
               Romans 13 reads:
               Let everyone be subject to the governing authorities, for there is no
               authority except that which God has established . The authorities that
               exist have been established by God . Consequently, whoever rebels
               against the authority is rebelling against what God has instituted , and
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               those who do so will bring judgment on themselves. For rulers hold
               no terror for those who do right, but for those who do wrong. Do you
               want to be free from fear of the one in authority? Then do what is
               right and you will be commended. For the one in authority is God’s
               servant for your good. But if you do wrong, be afraid, for rulers do
               not bear the sword for no reason . They are God’s servants, agents of
               wrath to bring punishment on the wrongdoer. Therefore, it is
               necessary to submit to the authorities, not only because of possible
               punishment but also as a matter of conscience.
               This is also why you pay taxes, for the authorities are God’s servants,
               who give their full time to governing. Give to everyone what you owe
               them: If you owe taxes, pay taxes; if revenue, then revenue; if respect,
               then respect; if honor, then honor.
               Let no debt remain outstanding, except the continuing debt to love one
               another, for whoever loves others has fulfilled the law. The
               commandments, “ You shall not commit adultery,” “You shall not
               murder,” “You shall not steal,” “You shall not covet,” and whatever
               other command there may be, are summed up in this one command:
               “Love your neighbor as yourself.” Love does no harm to a neighbor.
               Therefore love is the fulfillment of the law.
               And do this, understanding the present time: The hour has already
               come for you to wake up from your slumber, because our salvation is
               nearer now than when we first believed. The night is nearly over; the
               day is almost here. So let us put aside the deeds of darkness and put
               on the armor of light. Let us behave decently, as in the daytime, not
               in carousing and drunkenness, not in sexual immorality and
               debauchery, not in dissension and jealousy. Rather, clothe yourselves
               with the Lord Jesus Christ, and do not think about how to gratify the
               desires of the flesh.
        Romans 13 (New International Version ).
               Genesis 9 reads:
               Then God blessed Noah and his sons, saying to them, “Be fruitful and
               increase in number and fill the earth. The fear and dread of you will
               fall on all the beasts of the earth, and on all the birds in the sky, on
               every creature that moves along the ground , and on all the fish in the
               sea; they are given into your hands. Everything that lives and moves


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               about will be food for you . Just as I gave you the green plants, I now
               give you everything.
               “But you must not eat meat that has its lifeblood still in it. And for
               your lifeblood I will surely demand an accounting. I will demand an
               accounting from every animal . And from each human being, too, I
               will demand an accounting for the life of another human being.

                     “ Whoever sheds human blood,
                        by humans shall their blood be shed;
                     for in the image of God
                        has God made mankind.

               As for you, be fruitful and increase in number; multiply on the earth
               and increase upon it.”
               Then God said to Noah and to his sons with him: “I now establish my
               covenant with you and with your descendants after you and with
                                                         —
               every living creature that was with you the birds, the livestock and
               all the wild animals, all those that came out of the ark with you
               every living creature on earth. I establish my covenant with you:
                                                                                     —
               Never again will all life be destroyed by the waters of a flood; never
               again will there be a flood to destroy the earth.”
               And God said, “This is the sign of the covenant I am making between
               me and you and every living creature with you, a covenant for all
               generations to come: I have set my rainbow in the clouds, and it will
               be the sign of the covenant between me and the earth. Whenever I
               bring clouds over the earth and the rainbow appears in the clouds, I
               will remember my covenant between me and you and all living
               creatures of every kind. Never again will the waters become a flood
               to destroy all life. Whenever the rainbow appears in the clouds, I will
               see it and remember the everlasting covenant between God and all
               living creatures of every kind on the earth.”
               So God said to Noah, “This is the sign of the covenant I have
               established between me and all life on the earth.”
               The sons of Noah who came out of the ark were Shem , Ham and
               Japheth. ( Ham was the father of Canaan.) These were the three sons
               of Noah, and from them came the people who were scattered over the
               whole earth .


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              Noah, a man of the soil, proceeded to plant a vineyard. When he
              drank some of its wine, he became drunk and lay uncovered inside his
              tent. Ham, the father of Canaan, saw his father naked and told his two
              brothers outside. But Shem and Japheth took a garment and laid it
              across their shoulders; then they walked in backward and covered
              their father’s naked body. Their faces were turned the other way so
              that they would not see their father naked.
              When Noah awoke from his wine and found out what his youngest
              son had done to him, he said,

                     “Cursed be Canaan!
                       The lowest of slaves
                       will he be to his brothers.”

               He also said,

                     “Praise be to the LORD, the God of Shem!
                       May Canaan be the slave of Shem.
                       May God extend Japheth’s territory;
                       may Japheth live in the tents of Shem,
                       and may Canaan be the slave of Japheth.”

               After the flood Noah lived 350 years. Noah lived a total of 950 years,
               and then he died.
        Genesis 9 (New International Version ) (emphasis added).
               Juror Clinger agreed to sign an affidavit memorializing his statements to the
        defense investigators. (3 CR at 612. ) However, when Mr. Gradoni attempted to
        arrange to have Juror Clinger sign the affidavit , Juror Clinger informed him that
        his corporate counsel at work had advised him not to sign the affidavit and to
        instead give live testimony before the court. ( Id. ) After refusing to sign an
        affidavit for the defense for this stated reason , Juror Clinger instead signed an
        affidavit for the State that was submitted in support of the State’s Reply to
        Defendant ’s Motion for New Trial. ( Id. at 599-601.)
               The affidavit Juror Clinger provided to the State directly contradicts his
        statements made to the defense investigators. ( Compare 3 CR at 635 (“JJ : So did
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        you read from the Bible or did you quote it from memory? MC: No, I read . JJ:
        Read it from the Bible. MC: Yeah . . ..After I read that .. .she was able to move on
        from the first question.” ) with id. at 600 ( “At no point did I read directly from the
        Bible.”) and id. at 635-36 (“JJ: So, after you read that was [Juror Guillote] able to
        say Death? MC: Uh, after I read that she was able to move, that was, we were
        finishing up talking about the first question and she was able to move on from the
        first question. Uh, we still talked about a lot more stuff throughout the course of
        the day, but she was able to move on... JJ: No, no, that helped her move on to
        question number two. MC: Correct . . ..CK: And the people were listening, I guess,
        when you were saying this, and did it help them understand? You think it made a
        difference to them? MC: It made a difference with [Juror Guillote] I don’t know
                                                                               ,



        if it made a difference with anyone else.” ) with id. at 600 (“I do not believe [Juror
        Guillote] or any other juror changed their answers to the Special Issues based on
        this brief exchange.”).) Given Juror Clinger’s about-face in his description of
        these events between his candid conversation with the defense investigators and his
        providing an affidavit to the State, and the fact that his explanation for not signing
        an affidavit for the defense is belied by his signing an affidavit for the State, the
        statements in his affidavit that he did not read from the Bible and that the
        discussion of scripture did not impact Juror Guillote’s verdict are not credible.
               Juror Guillote also provided an affidavit to the State in support of its Reply
        to Defendant’s Motion for New Trial. Juror Guillote’s affidavit also contradicted
        both Juror Clinger’s statements made to the defense investigators and the affidavit
        he provided to the State. Juror Guillote stated that Juror Clinger opened his Bible
        “[a]fter we had come to a unanimous decision on all three special issue questions
        and before the jury foreman , [] Clinger, signed the verdict form .” (3 CR at 597. )
        Conversely, Juror Clinger told investigators that after he read from the Bible, “we
        still talked about a lot more stuff throughout the course of the day.” { Id. at 635.)
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        Likewise, his affidavit stated that after this exchange took place, “we went back to
        discussing the facts of the case and deliberating the answers to the Special Issues
        presented to us.” { Id. at 600.) Juror Clinger stated in his affidavit that this
        exchange took place “[a]t one point during the discussion Friday morning”;
        likewise, he told the investigator that he brought out his Bible “about 10:00 AM
        Friday morning.” { Id. at 599, 633.) The jury’s verdict form was not signed and
        filed with the clerk until 4:30 p.m. on Friday, July 19, 2013. { Id. at 523-27.) Juror
        Guillote’s claim that the discussion of the Bible verses took place “[ajfter we had
        come to a unanimous decision on all three special issue questions” is, therefore, not
        credible. { Id. at 597.)
             1. Juror Clinger’s Reading of Scripture During Punishment- Phase
                Deliberations Constitutes an Improper Outside Influence
               Jurors must only “use the law, the evidence, and the trial court’s mandates as
        [their] ultimate guides in arriving at decisions as to guilt or innocence and as to
        punishment.” McQuarrie v. State, 380 S.W.3d 145, 153 (Tex. Crim. App. 2012)
        ( quoting Granados , 85 S.W.3d at 235). “The Sixth Amendment right to a trial by
        jury . . . implies at the very least that the ‘evidence developed’ against a defendant
        shall come from the witness stand in a public courtroom where there is full judicial
        protection of the defendant ’s right of confrontation, of cross-examination, and of
        counsel.” Id. (quoting Pyles v. Johnson , 136 F.3d 986 (5th Cir. 1998)) (internal
        quotations omitted). Texas courts have found improper outside influence where
        jurors have brought outside-the-record information to bear on their deliberations.
        See, e.g. , id. at 154 (holding that a juror’s internet research of the effects of date
        rape drugs constituted an outside influence); Ryser v. State , 453 S.W.3d 17 (Tex.
             —
        App. Houston [ 1 st Dist.] 2014) (holding that a juror’s consultation of a dictionary
        to obtain definitions of a word contained in the jury instructions constituted an



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            outside influence). Before the jurors retired to deliberate at the punishment phase,
            the trial court instructed them:
                   During your deliberations upon the Special Issues, you must not
                   consider, discuss, nor relate any matters not in evidence before you.
                   You should not consider nor mention any personal knowledge or
                   information you may have about any fact or person connected with
                   this case which is not shown by the evidence. . . . You are the
                   exclusive judges of the facts proved and the credibility of the
                   witnesses and the weight to be given their testimony, but you are
                   bound to receive the law from the Court which has been given you
                   and you are bound thereby.
            (26 RR at 101.) Juror Clinger’s reading of scripture constituted an improper
            outside influence, as it violated the trial court’s charge to not consider, discuss, nor
            relate matters not in evidence and to be bound only by the law of the court.
                 2. Juror Clinger’s Reading of Scripture During Punishment-Phase
                    Deliberations Prejudiced Cruz-Garcia
                   In Lucero v. State , the court declined to decide whether the jury foreman’s
            Bible reading constituted an “outside influence” because it found that the Bible
            reading did not affect the jury’s verdict. 246 S.W.3d 86, 95 (Tex. Crim. App.
            2008). The jury foreman in that case read only from Romans 13. Id. at n.4. The
            court found this passage of Biblical scripture to be “essentially an admonishment
            to follow man’s law.” Id. at 95. In finding that the scripture reading was harmless,
            the court relied on an affidavit provided by one of the jurors stating that “[tjhere
            was no passage read suggesting that a murderer should be executed under Biblical
            law. There was no Bible passage read about the principal of a limb for a limb or an
            eye for an eye or tooth for a tooth.” Id. at 93 . Conversely, in this case, just such a
            passage was read: “ Whoever sheds human blood , by humans shall their blood be
            shed .” (3 CR at 634; Genesis 9:6.)
                   In finding the Biblical scripture reading harmless, the Lucero court also
            relied on the fact that the reading occurred near the beginning of jury deliberations .

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        246 S.W.3d at 95. Conversely, in this case, the scripture reading occurred not at
        the outset of deliberations but on the second day of deliberations, after the jury had
        been sequestered overnight and, specifically, while the jurors “were finishing up
        talking about the first question.” (3 CR at 522, 599, 633.)
               Finally, in finding the Biblical scripture reading harmless, the Lucero court
        relied on the fact that affidavits submitted by the jurors in the case indicated that
        the scripture had no effect on the jury’s verdict. 246 S.W.3d at 95. In this case,
        the opposite is true. Juror Clinger told the defense investigator that after he read
        from the Bible, Juror Guillote “was able to move on from the first question” to
        answer special issue number two and that the scripture reading “ made a difference
        with [Juror Guillote].” (3 CR at 635-36.)
               Courts throughout the country have found prejudice where jurors have
        consulted Biblical scripture during deliberations. See, e.g., Jones v. Kemp, 706
        F.Supp. 1534, 1559-60 (N.D. Ga. 1989) (reversing death sentence where jurors
        brought Bible into deliberations); Ex Parte Troha, 462 So.2d 953, 954 (Ala. 1984)
        (reversing rape conviction where juror consulted with his minister brother for
        scripture references during deliberations); People v. Harlan , 109 P.3d 616, 622,
        634 (Colo. 2005) (vacating death sentence where jurors researched Bible verses,
        brought a Bible into the jury room during deliberations, and shared a verse stating
        that “whoever kills a man shall be put to death” ); State v. Harrington , 627 S.W.2d
        345 (Term. 1981), cert denied , 457 U.S. 1110 (1982) (new sentencing hearing
                                ,



        required where jury foreman read Biblical passages during punishment- phase
        deliberations). In this case, the jury foreman read from a passage of scripture that
        commands the death penalty for murderers and candidly told the defense
        investigators that his reading of scripture made a difference to another juror in her
        deliberation of the special issues. It is thus clear that Juror Clinger’s reading of
        scripture prejudiced Cruz-Garcia, and the proper remedy is a new punishment trial .
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             B. Jurors Committed Misconduct by Discussing the Case Outside of
                Deliberations
                Jurors at Cruz-Garcia’s trial were instructed on the first day of trial that they
        were not to discuss amongst themselves or with anyone else any subject connected
        with the trial or to form or express any opinion about the trial until the end of trial.
        ( 18 RR at 96.) Jurors were reminded of this instruction throughout the course of
        the trial, before retiring to deliberate at each phase, and before being sequestered
        overnight at the punishment phase. (18 RR at 146-47, 194; 19 RR at 206; 20 RR at
        187; 21 RR at 176-77; 22 RR at 14; 23 RR at 28, 105; 24 RR at 6-7; 25 RR at 86
        202; 26 RR at 101, 177.) Jurors violated these instructions by discussing the case
        outside of deliberations on multiple occasions.
                 On the morning of the first day of the punishment phase, Michael Casaretto,
        a defense attorney not connected to Cruz-Garcia’s case, overheard two members of
        Cruz-Garcia’s jury discussing the case in the elevator lobby of the Harris County
        District Courthouse.23      (Ex. 36 at   ffif 2-3   [Aff. of Casaretto]; 24 RR at 3-4.)
        Although Casaretto was not familiar with the facts of Cruz-Garcia’s case, it was
        apparent to him that the jurors were discussing the case itself and their thoughts
        about the evidence. { Id. ) Casaretto approached the trial court that same morning
        to report the incident. (24 RR at 3.) Casaretto was deeply troubled by what he
        perceived to be an obvious violation of the jurors’ obligations during trial and
        blatant misconduct. (Ex. 36 at 4 [Aff. of Casaretto].)
                                           ^
                 Following this incident, the trial court again admonished the jurors not to
        discuss anything about the trial amongst themselves or with anyone else prior to
        deliberations. (24 RR at 6-7.) Yet jurors continued to discuss the case outside of
                          (Ex. 13 at |4 [Aff. of Juror Alexander].)         According to Juror
        deliberations.
                                       ^
        Alexander, an alternate juror in Cruz-Garcia’s case, they “ would talk as a jury

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             For a more extended discussion of this incident , see Claim 8, ante.
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            about the case and what was going on, some during the trial and some after the trial
            was over. We would talk during breaks, when we were in the jury room waiting.”
            ( Id. ) Juror Alexander
                   leam[ed] from the other jurors that one of the jurors in particular was
                   having a hard time voting for the death penalty. That was one of the
                   things we talked about during the trial when we were together. The
                   rest of the jurors had to work really hard to convince her. I remember
                   her struggle was something that the jurors talked about during the trial
i                  because we knew the decision had to be unanimous.
            (Id. at TJ5.) Because Juror Alexander was an alternate and did not participate in
            deliberations, she could only have known the details of those deliberations as they
            were going on through discussions with the other jurors outside of deliberations.
                 1. Jurors’ Conversations with an Unauthorized Person Raise a
                    Presumption of Prejudice to Cruz- Garcia
                   The seated jurors’ conversations with an alternate juror about the case and
            about the deliberative process violate Article 36.22 of the Texas Code of Criminal
            Procedure, which states, “No person shall be permitted to converse with a juror
            about the case on trial except in the presence and by the permission of the court.”
            When a juror communicates with an unauthorized person about the case at trial,
            there is a presumption of injury to the defendant. Ocon , 284 S.W.3d at 884; Quinn
            v. State , 958 S.W.2d 395, 401 (Tex. Crim. App. 1997). Juror Alexander, as an
            alternate, was an unauthorized person and was not permitted to participate in
            deliberations. Because seated jurors discussed the case and their deliberations with
            Juror Alexander during trial, prejudice to Cruz-Garcia is presumed. Moreover, in
            this case, the jurors’ discussion of their deliberations outside the deliberation room
            was particularly prejudicial. Juror Bowman discussed both with the trial court and
            in the affidavit she supplied to appellate counsel post-trial the fact that she was the
            lone holdout juror for a life verdict and felt pressured to agree with the other jurors.
            ( 27 RR at 5-6; 3 CR at 555-56.) Discussion of Juror Bowman ’s status as a holdout

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        juror with persons outside the seated jury during the deliberation process would
        only have added to the pressure she faced as a holdout. Thus, the State cannot
        overcome the presumption that Cruz-Garcia was prejudiced by the jurors’
        discussion of the case with an unauthorized person.
            C. Conclusion
                Misconduct committed by jurors in Cruz-Garcia’s case, individually and
        cumulatively, violated his right to a fair trial. Juror Clinger’s reading of scripture
        during the punishment-phase deliberations constituted an improper outside
        influence and impacted the verdict of at least one of the other jurors. The jurors’
        discussion of the case and of deliberations with an alternate juror outside of
        deliberations violated the Court’s repeated instructions and Texas law and raises a
        presumption of prejudice.     Because Cruz-Garcia was prejudiced by multiple
        instances of juror misconduct, he must be granted a new trial .
                                           CLAIM TEN
        TRIAL COUNSEL’S CUMULATIVE DEFICIENT PERFORMANCE OVER
               THE COURSE OF TRIAL PREJUDICED CRUZ-GARCIA
               Instances of ineffective assistance of counsel should not only be individually
        analyzed under Strickland , but also evaluated cumulatively with other instances
        where counsel’s performance was deficient and prejudiced the defendant’s case.
        See United States v. Cervantes , 706 F.3d 603, 619 (5th Cir. 2013 ) (“The
        cumulative error doctrine provides for reversal when an aggregation of non-
        reversible errors, i. e., plain and harmless errors that do not individually warrant
        reversal , cumulatively deny a defendant’s constitutional right to a fair trial.”);
        Richards v. Quarterman , 566 F.3d 553 , 564 (5th Cir. 2009) (“ We will address each
        aspect of Davis’s performance the district court found deficient before considering
        whether Richards was cumulatively prejudiced thereby ” ); Ex parte Welborn , 785
        S.W.2d 391 , 396 (Tex. Crim. App. 1990) (en banc) (“ Although, no one instance in

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        the present case standing alone is sufficient proof of ineffective assistance of
        counsel , counsel ’s performance taken as a whole does compel such a holding.”).
               As noted in the preceding claims, trial counsel performed deficiently in
        investigating and presenting evidence at both the pre-trial and the guilt/innocence
        phases of trial, as well as failing to sufficiently investigate and present vital
        evidence to support a sentence of life in prison for Cruz-Garcia during the
        punishment phase. Each instance of deficient performance individually prejudiced
        Cruz-Garcia at trial. Moreover, when viewed collectively, these errors create a
        cumulative effect that deprived Cruz-Garcia of a constitutionally sound trial. See
        Strickland , 466 U.S. at 686. The cumulative prejudice of counsel’s deficiencies
        during pre-trial proceedings, the guilt/innocence phase, and the punishment phase
        of Cruz-Garcia’s trial violated Cruz-Garcia’s rights under the state and federal
        Constitutions, state statutory law, and United States Supreme Court and state case
        law. Considering these instances of deficient performance in conjunction, there is
        a reasonable probability that taken as a whole they affected the outcome of Cruz-
        Garcia’s trial . See Strickland , 466 U.S. at 686. Thus, even if the court were to
        determine that Cruz-Garcia was not prejudiced by any of these failures
        individually, their combined effect requires a new trial. Accordingly, Cruz-
        Garcia’s conviction and sentence must be reversed.
                                       CLAIM ELEVEN
           CRUZ-GARCIA’S DEATH SENTENCE SHOULD BE VACATED
            BECAUSE THE PUNISHMENT PHASE JURY INSTRUCTION
        RESTRICTED THE EVIDENCE THAT THE JURY COULD DETERMINE
                            WAS MITIGATING

               “[T]he Eighth and Fourteenth Amendments require that the sentencer, in all
        but the rarest kind of capital case, not be precluded from considering, as a
        mitigating factor , any aspect of a defendant ’s character or record and any of the
        circumstances of the offense that the defendant proffers as a basis for a sentence
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        less than death.” Lockett v. Ohio, 438 U.S. 586, 604 (1978) (plurality opinion)
        (emphasis in original). The Lockett Court’s decision was animated by “the risk
        that the death penalty will be imposed in spite of factors which may call for a less
        severe penalty,” and it accordingly found unconstitutional a state statute that
        “prevent[ed] the sentencer in all capital cases from giving independent mitigating
        weight to aspects of the defendant’s character and record and to circumstances of
        the offense proffered in mitigation.” Id. at 605. Texas’s statute governing capital
        trials gives rise to this risk by expressly limiting the evidence that a jury may
        consider mitigating, in violation of the Eighth and Fourteenth Amendments. Cruz-
        Garcia’s sentence therefore violates his applicable rights under the Texas and    ;




        United States Constitutions, as well as state statutory law and United Staies
        Supreme Court case law and state case law. Accordingly, Cruz-Garcia’s sentence
        should be vacated.
           A. Tlie Texas Statute and Cruz-Garcia’s Jury Instructions
               Article 37.071 of the Texas Code of Criminal Procedure governs the
        instructions given to Texas capital juries.         With respect to the mitigating
        circumstances special issue, the court must instruct the jury that, if it answers that a
        circumstance warrants a sentence of life imprisonment rather than a sentence of
        death, the defendant will receive a life sentence. TEX. CODE CRIM. PROC. art.
        37.071 § 2(e)(2)( A)-(B). Furthermore, the court must instruct the jury to answer
        this special issue “Yes” or “ No,” that it may not answer “No” unless by unanimous
        agreement, that it may not answer “ Yes” unless ten or more jurors agree, and that
        the jurors need not agree on which evidence in particular is mitigating. Id. at §
        2( f )( l )-(3). In addition to these procedural instructions, Texas law requires the
        court to instruct the jury that it “shall consider mitigating evidence to be evidence
        that a juror might regard as reducing the defendant’s moral blameworthiness.'’         '




        TEX . CODE CRIM . PROC. art. 37.071 , § 2( f )( 4) (emphasis added ). No definition of
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        “ moral blameworthiness” is provided, nor are additional instructions given as to
        the relationship between this instruction and the demands of the special issue itself.
               As directed by the statute, the trial court in Cruz-Garcia’s case gave the
        statutorily required instructions during the punishment phase of trial and before the
        jury retired to deliberate. (See 3 CR at 513.) In particular, the Court’s charge
        included the following:

               In deliberating on Special Issue No. 3 you shall consider all the
               evidence admitted at the trial, including but not limited to evidence of
               the defendant’s background, character, or the circumstances of the
               offense that militates for or mitigates against the imposition of the
                                                                    ,

               death penalty.”
        ( Id. at 516-517.) In addition, tracking Article 37.071, the charge immediately
        instructed further: “You shall consider mitigating evidence to be evidence that you
        might regard as reducing as reducing the Defendant’s moral blameworthiness.”




                              —
        ( Id. (emphasis added).) The State then emphasized this definition in closing
        argument at punishment , stating:
               Mr. Cornelius I’m sorry I have to differ with him -- is incorrect
               when he says mitigation is not defined. It says right here in the
                                                             —
               charge: Mitigation is anything that removes I’m sorry -- the moral
               blameworthiness of the defendant. Removes or alleviates his moral
                                                               ,



               blameworthiness. For what? For murdering Angelo Garcia. That’s
               what mitigation is. And I’m not just making it up. It’s in your charge.
        (26 RR at 169-170.)
            B. Texas’s Statute Unconstitutionally Limits the Categories of Evidence a
               Capita ] Jury May Find Mitigating and to Warrant a Life Sentence
               The Supreme Court requires that a jury “ be permitted to ‘consider fully’ []
        mitigating evidence” that provides a basis for a sentence of life rather than death.”
        Abdul-Kabir v. Quarterman , 550 U.S. 233, 260 (2007). “[Sjuch consideration ,”
        the Court has explained , “ would be meaningless unless the jury not only [has] such
        evidence available to it, but also [is] permitted to give that evidence meaningful,
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        mitigating effect in imposing the ultimate sentence.”
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                                                                     Id. ( internal quotations
        omitted ). Each juror is entitled to broad discretion in assessing the import of that
        mitigating evidence which the defense proffers; at the same time, the State may not
        limit this evidence to those categories which the State deems as mitigating. As the
        Court said in Termard v. Dretke: “[A] State cannot bar the consideration of . . .
        evidence if the sentencer could reasonably find that it warrants a sentence less than
        death.” 542 U.S. at 285 (internal quotations omitted); see also McCleskey v.
        Kemp , 481 U.S. 279, 304 ( 1987) (“[T]he Constitution limits a State’s ability to
        narrow a sentencer’s discretion to consider relevant evidence that might cause it to
        decline to impose the death sentence.”).
               Consistent with this jurisprudence, the avenues of mitigation open to a
        capital jury cannot be limited to evidence that relates solely to the defendant’s
        culpability, the nature of his crime, or what the crime says about that individual
        defendant. See Abdul-Kabir, 550 U.S. at 246 (establishing a low threshold for
        what constitutes “ mitigating evidence,” viz. , that which “ might provide a basis for
        refusing to impose the death penalty on a particular individual , notwithstanding the
        severity of his crime or his potential to commit similar offenses in the future”).
        For example, evidence that a defendant has adjusted well in prison prior to his trial
        qualifies as mitigating evidence because “there is no question but that [inferences
        drawn from the evidence] would be ‘mitigating’ in the sense that they might serve
        ‘as a basis for a sentence less than death.’” Skipper v. South Carolina, 476 U.S. 1 ,
        4-5 (1986) (quoting Lockett , 438 U.S. at 604). Importantly, the Skipper Court
        observed that the proffered evidence   —the testimony of two guards and a prison
               —
        visitor “ would not relate specifically to petitioner’s culpability for the crime he
        committed .” Id. at 4 . Even still , it could “ hardly be disputed” that the evidence’s
        exclusion “deprived petitioner of his right to place before the sentencer relevant
        evidence in mitigation of punishment .” Id. at 4; see also Abdul- Kabir , 550 U.S. at
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        259 (“Like Penry’s evidence, Cole’s evidence of childhood deprivation and lack of
        self-control did not rebut either deliberateness or future dangerousness but was
        intended to provide the jury with an entirely different reason for not imposing a
        death sentence.”).
                At the punishment phase, Cruz-Garcia presented evidence that, while
        mitigating in nature, could have yet been considered by the jury to bear no
        relationship to his legal or moral blameworthiness for the capital crime. For
        example, evidence that Cruz-Garcia was a loving brother, husband, and father, who
        had done charitable works while living in the Dominican Republic, could
        reasonably have been discounted by the jury as not having any relationship to his
        culpability for the crime.      This evidence, though unrelated to Cruz-Garcia’s
        blameworthiness, bolstered the argument that Cruz-Garcia nevertheless was a
        worthwhile person , undeserving of a death sentence. Such evidence is meaningful
        for jurors when deciding whether to impose a sentence of death. See Penry v.
        Lynaugh, 492 U.S. 302, 327 ( 1989) (Penry I ) (“[S]o long as the class of murderers
        subject to capital punishment is narrowed, there is no constitutional infirmity in a
        procedure that allows a jury to recommend mercy based on the mitigating evidence
        introduced by a defendant.”).
                Texas’s statutorily-mandated instruction fatally undermines the jury’s
        capacity to give effect to this broader type of mitigating evidence by calling upon
        jurors to “consider mitigating evidence to be evidence that a juror might regard as
        reducing the defendant’s moral blameworthiness '' TEX. CODE CRIM. PROC. art.
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        37.071 , § 2(f )( 4) (emphasis added). In Cruz-Garcia’s case, this error was made
        even more prejudicial by the prosecution ’s reliance on the truncated definition of
        mitigation evidence in their closing argument. ( 26 RR at 171 (“Happy birthday
        pictures do not take away his moral blameworthiness for killing Angelo Garcia, do
        they ?” ). )
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               Texas ’s instruction precluded jurors from considering mitigating evidence
        unrelated to Cruz-Garcia’s “ moral blameworthiness,” a limitation wholly at odds
        with three decades of Supreme Court precedent. Were any of Cruz-Garcia’s jurors
        to credit such evidence—that is, evidence they found to warrant a life sentence but
        that did not reduce Cruz-Garcia’s moral blameworthiness for the crime—that juror
        necessarily and untenably would violate the Court’s instructions.             Penry v.
        Johnson, 532 U.S. 782, 800 (2001 ) { Penry II ). Because “[w]e generally presume
        that jurors follow their instructions,” there exists a reasonable probability that the
        result of Cruz-Garcia’s trial would have been different had a constitutionally
        adequate instruction been given. Id. at 799.
            C. Conclusion
               “[ Wjhen the jury is not permitted to give meaningful effect or a ‘reasoned
        moral response’ to a defendant’s mitigating evidence    —because it is forbidden
        from doing so by statute or a judicial interpretation of a statute—the sentencing
        process is fatally flawed.” Abdul-Kabir , 550 U.S. at 264. At Cruz-Garcia’s trial,
        the jury was prohibited from giving effect          —meaningful     or otherwise to
        mitigating evidence falling outside the boundaries specified in their instructions,
                                                                                            —
        and this prohibition thereby unconstitutionally limited the jury’s ability to give
        their “reasoned moral response.” See also Skipper , 476 U.S. at 8 (“The exclusion
        by the state trial court of relevant mitigating evidence impeded the sentencing
        jury’s ability to carry out its task of considering all relevant facets of the character
        and record of the individual offender.” ).
               Although the Supreme Court has upheld Texas’s capital punishment statute,
        it did so “on the basis of assurances that the special issues would be interpreted
        broadly enough to enable sentencing juries to consider all of the relevant
        mitigating evidence a defendant might present.” Penry I , 492 U.S . at 318. Since
        then , the Court has repeatedly expressed its concerns “ regarding the extent to
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        which the jury must be allowed not only to consider such evidence, or to have such
        evidence before it, but to respond to it in a reasoned, moral manner and to weigh
        such evidence in its calculus of deciding whether a defendant is truly deserving of
        death.” Brewer v. Quarterman, 550 U.S. 286, 296 (2007). In this case, application
        of the Texas capital punishment statute impaired Cruz-Garcia’s right to have all
        mitigating evidence considered by the jurors as they assessed whether he deserved
        a life or death sentence. Penry /, 492 U.S. at 320 (“[T]he Texas death penalty
        statute was applied in an unconstitutional manner by precluding the jury from
        acting upon the particular mitigating evidence [the defendant] introduced.”).
        Therefore, Cruz-Garcia’s death sentence should be reversed.
                                             CLAIM TWELVE
          CRUZ-GARCIA ’S CONSTITUTIONAL RIGHTS WERE VIOLATED
         WHEN THE TRIAL COURT WAS PROHIBITED FROM INSTRUCTING
        THE JURY THAT A VOTE BY ONE JUROR WOULD RESULT IN A LIFE
                                SENTENCE
                     Under Texas law, up to three special issues are submitted to the jury during
        the sentencing phase of a capital trial: ( 1) whether there is a probability that the
        defendant constitutes a continuing threat to society [hereinafter “first special
        issue”]; (2 ) whether the defendant actually caused, intended, or anticipated the
        death of the deceased [hereinafter “party complicity special issue”]; (3) and
        whether, considering all the evidence, there are sufficient mitigating circumstances          '

        to warrant a sentence of life imprisonment without parole [hereinafter “mitigating
        circumstances special issue”]. TEX . CODE CRIM . PROC. art. 37.071, § 2(b)( l )-(2 ),
        (e)( 1 ) -
                     The court must sentence a defendant to death if the jury unanimously
        answers “ Yes” to the first two special issues and “ No” to the third special issue.
        Furthermore, the jury must be instructed as to these unanimity requirements. TEX .
        CODE CRIM . PROC . art. 37.071 , § 2( d )( 2 ), ( f )( 2). By contrast, if the jury answers
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        “No” to either of the first two special issues or a “ Yes” to the third special issue,
        then the court must sentence the defendant to life imprisonment. TEX . CODE CRIM .
        PROC. art. 37.071, § 2(g). These answers need not be unanimous; instead, the jury
        may find against the first special issue or party complicity or in favor of mitigating
        circumstances so long as ten or more jurors agree. TEX. CODE CRIM. PROC. art.
        37.071, § 2(d)(2), (f )(2). This contrast is generally known as the 10-12 Rule.
               In addition to these circumstances, the court also must sentence the
        defendant to life imprisonment without parole if the jury is unable to answer any of
        the special issues consistent with these guidelines. TEX. CODE CRIM. PROC. art.
        37.071, § 2(g). Under Texas law, however, the jury cannot be informed of the
        consequences should it fail to answer a special issue: “The court, the attorney
        representing the state, the defendant , or the defendant’s counsel may not inform a
        juror or a prospective juror of the effect of a failure of a jury to agree on [the
        special ] issues.” TEX. CODE CRIM. PROC. art. 37.071, § 2(a)(1 ). Jurors thus remain
        free to speculate
                         —  or to be persuaded to make assumptions by their peers equally
        ignorant as to the law’s requirements —that a failure to answer a special issue will
        produce a mistrial . As Texas’s capital sentencing scheme misinforms the jury by
        bringing outside, impermissible considerations to bear on the verdict, Texas’s
        statute deprived Cruz-Garcia of his constitutional rights under the principles of the
        Eighth and Fourteenth Amendments, the tenets of the federal and state
        Constitutions, and the holdings of applicable state and federal case law.24



        24
          The defense filed a pretrial motion objecting to the statutory scheme of the 10-12
        Rule. ( 1 CR at 43.) The Court denied the defense’s motion and all objections
        were overruled. ( 4 RR at 19.) Appellate counsel appealed the trial court’s error in
        denying the defense motion. ( See Appellate Opening Brief, Issue No. 47, at 131 .)
        This claim is therefore raised here in order to further preserve review of this
        constitutional error at Cruz-Garcia’s trial .
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            A. The Supreme Court Has Invalidated Jury Instructions That Place an
               Undue Burden on the Sentencer Before Finding Mitigating
               Circumstances
                                          —
               Two Supreme Court cases Mills v. Maryland , 486 U.S. 367 (1988), and
                                                          —
        McKoy v. North Carolina , 494 U.S. 433 ( 1990) stand for the proposition that a
        capital sentencing scheme cannot unduly burden a sentencer before he finds the
        presence of a mitigating circumstance.
               In Mills , the Court considered a capital sentencing scheme that required
        jurors to unanimously agree on mitigating factors.          The Maryland scheme
        consisted of a verdict form in three sections: In Section I, the jury was asked
        whether it found unanimously one or more aggravating factors (out of ten
        aggravating factors listed), Mills , 486 U.S. at 385-86; in Section II, the jury was
        asked whether it found unanimously one or more mitigating factors, id. at 386-88;
        in Section III, the jury was asked to balance the aggravating factor(s) it found
                                                              -
        against the mitigating factor(s) it found, id. at 388 89. To proceed to Section II,
        the jury had to find unanimously one or more aggravating factors; if not, a life
        sentence would result. Id. at 386-88. To proceed to Section III upon completing
        Section II, the jury had to find unanimously one or more mitigating factors; if not,
        a death sentence would result. Id. at 389. Because a reasonable juror could have
        interpreted the instruction and accompanying verdict form as requiring unanimous
        agreement respecting each mitigating circumstance, the Mills Court adjudged this
        scheme unconstitutional . Id. at 384 (“ Under our cases, the sentencer must be
        permitted to consider all mitigating evidence. The possibility that a single juror
        could block such consideration , and consequently require the jury to impose the
        death penalty, is one we dare not risk.”). Indeed , the Maryland scheme bore the
        additional risk that, even if all twelve jurors believed some mitigating circumstance



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        existed, the jury would be prevented from giving effect to any such circumstance
        unless they unanimously agreed on which circumstance(s) existed.
               In McKoy, the Court likewise confronted a sentencing scheme that unduly
        burdened the jury’s ability to reach a life sentence. The North Carolina sentencing

                —
        scheme more so than the Maryland one at issue in Mills          — explicitly required the
        jury to find unanimously the presence of a mitigating factor. Id. at 435. This
        unanimity “requirement prevent[ed] the jury from considering, in deciding whether
        to impose the death penalty, any mitigating factor that the jury does not
        unanimously find,” violating the Eighth and Fourteenth Amendments “by
        preventing the sentencer from considering all mitigating evidence.” Id.
            B . Texas’s 10-12 Sentencing Scheme Impairs the Ability of a Majority of
                Jurors to Reach a Life Sentence
                Inconsistent with Mills and McKoy, Texas’s 10-12 Rule permits a minority
        of a capital jury to impermissibly sway the verdict toward a sentence of death. It is
        perfectly within the realm of possibility that a majority of Cruz-Garcia’s twelve
        jurors would have, at some point in the penalty phase deliberations, voted for a life
        sentence, but that a death sentence would have resulted by operation of the 10-12
        Rule. Consider the following hypothetical: Jurors 1 through 5 initially would
        answer “No” to the future dangerousness special issue but, fearing a mistrial, they
        change their votes to “Yes,” while Jurors 6 through 10 initially would answer
        “Yes” to the mitigating circumstances special issue but, also fearing a mistrial,
        they change their votes to “No.”         At each stage of the deliberations, both
        minorities-of-five are well short of the ten votes needed to reach a life sentence, yet
        together they constitute ten votes in favor of a life sentence.
               One might suppose that jurors would surmise the actual outcome in the
        event that they fail to agree to an extent necessary to conclude their deliberations  —
        that is, twelve votes for death or ten or more votes for life—but this supposition is
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        belied by ample evidence collected by the Capital Jury Project in its interviews
        with capital jurors. As summarized in a 2003 article by that Project’s principal
        investigator, 66% of interviewed Texas capital jurors incorrectly thought that they
        had to be convinced beyond a reasonable doubt on findings of mitigation ; 73%
        incorrectly assumed that any findings on mitigation had to be unanimous; and 68%
        incorrectly believed that death was required if the defendant was determined to be
        dangerous in the future—the highest level of misunderstanding among the fourteen
        jurisdictions surveyed by the Capital Jury Project. William J. Bowers & Wanda D.
        Foglia, Still Singularly Agonizing: Law’s Failure to Purge Arbitrariness from
        Capital Sentencing, 39 CRIM. L. BULL. 51, 68, 71 , 72-73 (2003). That Cruz-
        Garcia’s jurors would presume a mistrial upon their failure to agree at sentencing is
        not merely thinkable, it is probable. The Texas sentencing scheme, by hiding from,




        the jury the consequences of falling short of ten and twelve votes, gives rise to the
        very risk which animated the Court in Mills and McKoy. The 10-12 Rule, then,
        serves as an impediment to even a majority of jurors who desire a life sentence for
        the defendant, and it thereby tramples upon the protections of the Eight and
        Fourteenth Amendments. As the 10-12 Rule is an integral part to Texas’s capital
        sentencing scheme, the scheme itself cannot withstand constitutional scrutiny.
           C. The 10-12 Rule Constitutes an Impermissible Outside Influence on Jury
              Deliberations
               In addition to violating Supreme Court precedent in Mills and McKoy by
        giving improper weight to a minority voice among the jurors, Texas’s 10-12 Rule
        functions as an impermissible outside influence which acts upon the jury as they
        deliberate. The rule misleads jurors as to the result of their failure to reach a
        statutorily-prescribed agreement and coerces them to favor a death sentence on the
        basis of considerations independent of a case’s merits.



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                 A feature of American jurisprudence one broadly understood by the
        public   —is that when a jury is unable to agree, a mistrial may be declared and a
        new trial held. Arizona v. Washington , 434 U.S . 497, 509 ( 1978); Downum v.
        United States , 372 U.S. 734, 736 ( 1963 ). Because this option is both costly and
        cumbersome, the law expects that jurors will enter into their deliberations able to
        be swayed in their opinions. Allen , 164 U.S. at 501        .   A reasonable juror should
        feel the weight of the instructions from the trial court and, consistent with their
        convictions, attempt to avoid an impasse.
                 In a capital case, the shadow of a mistrial understandably looms larger.
        Jurors cannot help but be aware of those cases’ more involved procedures,
        improved safeguards, and greater expense. They experience first-hand the care
        taken by the State and the defense to select from the venire twelve jurors suitable

                                                                            —
        for the high stakes of a capital trial. They are told to expect and they usually sit
        through   —a long trial with copious amounts of evidence and lengthy testimony
        from lay and expert witnesses alike. They are led to believe that distinguished and
        doubtlessly high-priced experts from a wide range of disciplines are not only
        available to testify but relevant to the trial’s outcome.
               In this setting a reasonable juror would be reluctant to force a mistrial,
        especially at that stage of the proceedings when the defendant’s culpability already
        has been unanimously agreed to. But while the guilt/innocence phase of a capital
        trial tracks the public ’s understanding of the criminal law        —viz., acquittals and
        convictions must be unanimous      —the penalty phase does not.          Moreover, after
        being informed by the court that ten votes are necessary to answer the special
        issues in a way that favors a life sentence, it would be strange for a juror to
        conclude that fewer than ten such votes would achieve the very same result .
               In Cruz-Garcia ’s case in particular, this scheme worked to deceive the jurors
        about the true nature of their deliberations and to influence their ultimate verdict
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        based on something other than a true deliberation on the evidence. The jurors
        noted the expense and effort that had gone into the trial, and assumed that the
        absence of a verdict would jeopardize all that work, causing a mistrial. (Ex. 23 at
        Tf 5 [Aff. of Juror Torres] (“I think we all felt strongly that we had invested so much
        time and effort, and that it was our civic duty to support the process through to the
        final conclusion . There was, from what it appeared, no expense spared by the
        court to reach a conclusion.”); Ex. 13 at [5 [Aff. of Juror Alexander].) The jurors
                                                   ^
        did not know how long deliberations would last, but assumed it could take days or
        weeks if an agreement was not reached. (Ex. 14 at 5 [Aff. of Juror Bowman]; Ex.
                                                              ^
        22 at TJ3 [Aff. of Juror Sanchez].) For the juror who wished to vote for life without
        parole rather than death, the instructions created an untenable position where she
        believed her choice was to agree with the other jurors or to cause a mistrial. (Ex.
        14 at ffl[5, 7 [Aff. of Juror Bowman].) Rather than a debate about the merits of the
        evidence, in which each juror understood they were allowed to vote their
        conscience without interfering with the judicial system , Cruz-Garcia’s punishment
        verdict ultimately rested on the jurors’ discussion about how long one juror would
        continue to assert her opinion and the believed negative consequences if she did so.
        (Ex. 14 at TJ5 [Aff. of Juror Bowman]; Ex. 22 at f 3 [Aff. of Juror Sanchez]; Ex. 23
        at 1f5 [Aff. of Juror Torres].)
               Texas’s sentencing scheme not only denies jurors information about the
        effect of their vote but, by omission , invites them to assume that the consequence
        for failure to reach agreement pursuant to the 10-12 Rule is a costly mistrial,
        regardless of any one juror’s belief that a life sentence is appropriate. For such a
        juror not to labor under this misapprehension demands a counter-intuition both
        unreasonable and nowhere else presumed in the law. Thus, rather than operate as
        an incentive to reach a verdict in a capital case, the 10- 12 Rule functions as an
        outside influence against a juror’s vote for mercy.
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            D. Conclusion
               For the reasons stated above, the Texas death penalty scheme violates the
        principles of the Eighth and Fourteenth Amendments, the tenets of the federal and
        state Constitutions, and the holdings of applicable state and federal case law.
        Accordingly, Cruz-Garcia’s death sentence was impermissibly imposed and should
        be vacated.
                                      CLAIM THIRTEEN
            CRUZ-GARCIA’S DEATH SENTENCE WAS ARBITARILY AND
         CAPRICIOUSLY ASSIGNED BASED ON THE JURY’S ANSWER TO THE
              UNCONSTITUTIONALLY VAGUE FIRST SPECIAL ISSUE
               Texas employs a unique sentencing scheme which requires the jury to
        predict “whether there is a probability that the defendant would commit criminal
        acts of violence that would constitute a continuing threat to society.” TEX. CODE
        CRJM. PROC. art. 37.071 § 2(b)( 1 ). The ABA has long recognized the problems
        with this first special issue. See Barefoot v. Estelle , 463 U.S. 880, 930 ( 1983)
        (Blackmun, J., dissenting) (citing the ABA amicus brief for the claim that jurors
        are not well suited to predict the probability of a defendant committing criminal
        acts of violence in the future). Most recently, the ABA released The Texas Capital
        Punishment Assessment Report , which called on Texas to “abandon altogether the
        use of the ‘future dangerousness’ special issue” as it and other aspects of the Texas
        sentencing scheme “place limits on a juror’s ability to give full consideration to
        any evidence that might serve as a basis for a sentence less than death.” ABA
        Texas Assessment Report at viii, xxxix (“ABA Texas Assessment Report”).
               Among the ABA’s concerns with the Texas scheme is that the key terms of
        the first special issue are undefined. See ABA Texas Assessment Report at 308.
        Additionally, the ABA notes that juries must unanimously find a probability that a
        defendant will commit future acts of violence before reaching the question of

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             mitigation, thus placing the first special issue “at the center of the jury’s
             punishment decision.” ABA Texas Assessment Report at 307.
                      The concerns raised by the ABA are consistent with violations of Cruz       -
             Garcia’s Eighth and Fourteenth Amendment rights as articulated in Supreme Court
             doctrine. The first special issue is unconstitutionally vague, fails to narrow the
             class of death-eligible defendants, leads to the arbitrary and capricious imposition
             of the death penalty, and limits the jury’s ability to give full consideration to

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             evidence that may      serve as a basis for a sentence less than death. As such, Cruz-
             Garcia’s death sentence was unlawfully and unconstitutionally imposed in
             violation of his applicable state and federal Constitutional rights and United States
             Supreme Court and state case law, and must therefore be reversed.
                  .
                 A The First Special Issue is Unconstitutionally Vague and Fails to Narrow
                   the Class of Death -Eligible Defendants
                      Article 37.071, section 2(b)(1 ) of the Texas Code of Criminal Procedure is
             unconstitutionally vague in that it fails to define any of the key terms in the first
             special issue. TEX . CODE CRIM. PROC. art. 37.071. As a result, “[jjurors are left to
             comprehend [these terms] so broadly that a death sentence would be deemed
             warranted in virtually every capital murder case.” ABA Texas Assessment Report
             at viii.
                        The Supreme Court has long held that juror discretion must be channeled in
             capital cases. Gregg v. Georgia, 428 U.S. 153, 189 (1976) (citing Furman v.
             Georgia, 408 U.S. 238 (1972 ) (per curiam ) (“ Where discretion is afforded a
             sentencing body on a matter so grave as the determination of whether a human life
             should be taken or spared, that discretion must be suitably directed and limited so
             as to minimize the risk of wholly arbitrary and capricious action .”). In Godfrey v.
             Georgia, the Court held that a state’s aggravating factors must not be defined in
             such a way that people of ordinary sensibilities could find that nearly every murder

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        met the stated criteria. 446 U.S. 420, 428-29 ( 1980). In order to avoid the
        arbitrary and capricious imposition of the death penalty struck down in Furman,
        states must narrow the class of death-eligible defendants “ by providing specific
        and detailed guidance to the sentencer.” McCleskey , 481 U.S. at 303 (internal
        citations and quotation omitted); see also Maynard v. Cartwright , 486 U.S. 356,
        362 (1988) (“Since Furman, our cases have insisted that the channeling and
        limiting of the sentencer’s discretion in imposing the death penalty is a
        fundamental constitutional requirement for sufficiently minimizing the risk of
        wholly arbitrary and capricious action.”).
               While the first special issue is not presented to the jury until the punishment
        phase of trial, it must be found beyond a reasonable doubt before mitigating
        evidence may be considered. TEX . CODE CRIM . PROC. art. 37.071 § 2(b)-(e).
        Accordingly, it acts as a de facto determinant of death-eligibility and therefore
        must meaningfully narrow the class of death-eligible defendants.
               Texas does not statutorily define the key terms in the first special issue.
        Rather, the terms are left to be interpreted according to their ordinary meaning.
        See Druery v. State , 225 S.W.3d 491 , 509 (Tex. Crim. App. 2007). Absent a
        statutory definition to the contrary, the term “probability” is reasonably understood
        to mean some “likelihood of the occurrence of any particular form of an event.”
        Granviel v. State , 552 S.W.2d 107, 117 n. 6 (Tex. Crim. App. 1976); see also
        Jurekv. State , 522 S.W.2 d 934, 945 (Tex. Crim. App. 1975) (Odom, J., dissenting)
        aff’dsub nom. Jurekv. Texas , 428 U.S. 262 ( 1976) (“The statute does not require a
        particular degree of probability but only directs that some probability need be
        found.” ).
               Neither is the degree of violence specified. “Criminal acts of violence”
        could reasonably range from capital murder all the way down to simple assault.
        See Christopher Slobogin, Capital Punishment and Dangerousness , in MENTAL
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            DISORDER     AND   CRIMINAL LAW: RESPONSIBILITY     AND   COMPETENCE 119, 121 , 125
            (Robert F. Schopp et al . eds., 2009) ( questioning what qualifies as “dangerousness”
            and “criminal acts of violence” ). Essentially, the jury charged with determining
            Cruz-Garcia’s fate was asked to determine whether there is any likelihood that
            Cruz-Garcia might commit any act of violence in the future that poses a continuing
            threat to society. Professionals, however, are unable to completely rule out the
            possibility of any person committing future acts of violence, much less a person
            that was just convicted of a violent crime. See Michael L. Radelet & James W.
            Marquart , Assessing Nondangerousness During Penalty Phases of Capital Trials,
            54 ALB. L. REV. 845, 849 ( 1989-1990) (“Predictions of violent behavior are
            difficult because the probabilities considered in the prediction are conditional .
            That is, each of us, given certain circumstances, might engage in violent behavior
            in the future; thus, each of us has a non-zero probability of killing another.” ). Even
            when predictions are based on actuarial data, which are now considered to be
?           slightly more accurate than clinical determinations, a defendant ’s risk of
            committing future acts of criminal violence is phrased in terms of non-zero
            probabilities. See, e.g. , Laura S. Guy, et al., Assessing Risk of Violence Using
            Structured Professional Judgment Guidelines , J. FORENSIC PSYCHOL. PRAC ., May
            2012, at 272 ( “[Mental Ffealth Professionals] are encouraged to communicate level
            of risk using categorical levels of low, moderate, and high .”).
                   The fact that every person has a non-zero probability of committing future
            acts of violence shows that the first special issue fails to narrow the class of death-
            eligible defendants. Moreover, the fact that any capital defendant is found not to
            be a future danger is evidence that the determination is based on caprice rather than
            reason. In Cruz-Garcia ’s case, the fact that this dubious determination had to be
            made beyond a reasonable doubt before the jury was presented with the mitigation
            special issue limited the jury’s ability to give full consideration to evidence that
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        might serve as a basis for a sentence less than death. See Tennard, 542 U.S. at 278
        (“It is not enough simply to allow the defendant to present mitigating evidence to
        the sentencer. The sentencer must also be able to consider and give effect to that
        evidence in imposing the sentence.”).
               As    a   result,    Cruz-Garcia’s death    sentence   was unlawfully and
        unconstitutionally imposed in violation of his applicable state and federal
        Constitutional rights, and therefore must be reversed.
                                         CLAIM FOURTEEN
             CRUZ-GARCIA’S DEATH SENTENCE IS UNCONSTITUTIONAL
             BECAUSE IT WAS ASSIGNED BASED ON TEXAS’S ARBITRARY
                SYSTEM OF ADMINISTERING THE DEATH PENALTY
               As actors within Texas’s criminal justice system, prosecutors exercise ,
        considerable discretion.       Partly as a consequence of this discretion, a small
        minority of Texas’s counties are responsible for an overwhelming majority of the
        death sentences that have been assessed in the past thirty-nine years. In addition to
        this geographic disparity   —a disparity that cannot be explained merely by reference
        to county populations      —Texas’s system of administering the death penalty also
        reflects disparities based on race and ethnicity, particularly in Harris County where
        Cruz-Garcia was convicted.         Thus, whereas sentences of death are perforce
        reserved only for the most egregious offenses, in Texas this determination is, to a
        degree both substantial and improper, an arbitrary one. As Cruz-Garcia received
        his capital sentence by operation of this arbitrary system, he has been denied his
        rights under the Sixth , Eighth, and Fourteenth Amendments to the United States
        Constitution. Cruz-Garcia’s sentence therefore violates his applicable rights under
        the Texas and United States Constitutions, just as it violates Texas statutory law
        and United States Supreme Court and Texas case law. Accordingly, Cruz-Garcia’s
        sentence should be reversed .

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            A. Supreme Court Precedent Mandates That the Death Penalty Not Be
               Applied Arbitrarily
               Over forty years ago, the Supreme Court briefly suspended imposition of the
        death penalty throughout the United States. See Furman v. Georgia, 408 U.S. 238,
        239 ( 1972 ) (per curiam). Four years later, the Court validated newly-enacted
        capital punishment statutes which included safeguards against the “arbitrariness
        and caprice” that had animated the Court in Furman. Gregg , 428 U.S. at 189
        ( plurality opinion) (“Furman mandates that where discretion is afforded a
        sentencing body on a matter so grave as the determination of whether a human life
        should be taken or spared, that discretion must be suitably directed and limited so
        as to minimize the risk of wholly arbitrary and capricious action.”). While capital
        juries would enjoy some discretion in reaching their determinations regarding
        sentencing, their discretion under the new statutes would be “‘controlled by clear
        and objective standards so as to produce non-discriminatory application .’” Id. at
        196 (quoting Coley v. State , 204 S.E.2d 612, 615 ( Ga. 1974)). Accordingly, the
        plurality in Gregg supposed , juries ’ decisions no longer would suffer from a lack
        of guidance and narrowing considerations as to who should receive the death
        penalty, and this, in turn , would do away with the arbitrariness which Furman
        found constitutionally intolerable. Id. at 309 (Stewart, J., concurring) (likening
        imposition of a death sentence to “ being struck by lightning”); see also Jurek , 522
        S.W.2d at 940 (“If discretion in the assessment of punishment under a statute can
        be shown to be reasonable and controlled , rather than capricious and
        discriminatory, the test of Furman will be met.” ), aff’d sub nom. Jurek v. Texas ,
        428 U.S. 262 (1976).
               In the intervening decades, the Supreme Court has continued to examine
        capital sentencing schemes to determine whether they include suitable safeguards
        to prevent the arbitrary assignment of death sentences. See, e. g. , California v.

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        Brown , 479 U.S. 538, 541 ( 1987); Mills, 486 U.S. at 374. At the same time, the
        Court has rejected mandatory sentencing determinations in capital cases because
        “the fundamental respect for humanity underlying the Eighth Amendment requires
        consideration of the character and record of the individual offender and the
        circumstances of the particular offense.”     Woodson v. North Carolina, 428 U.S.
        280, 304 (1976) ( internal citations omitted ); see also Penry I , 492 U.S. at 319
        ( '‘ Eddings [v. Oklahoma] makes clear that it is not enough simply to allow the
        defendant to present mitigating evidence to the sentencer. The sentencer must also
        be able to consider and give effect to that evidence in imposing sentence.
        Hitchcock v. Dugger , [481 U.S. 393 (1987)].”). Far from being contradictory, the
        simultaneous pursuit of these objectives ensures that death is a penalty neither
        wanton nor freakish. And while certain procedural reforms       —bifurcated capital
        trials, a narrowing of death-eligible crimes, appellate review for sentencing
                      —
        proportionality continue to pass constitutional muster, others have proven
        themselves inadequate to the task of “minimizing] the risk of wholly arbitrary and
        capricious action.” Gregg , 428 U.S. at 189. Compare Jurek , 428 U.S. at 275
        (approving Texas’s guided-discretion statute), with Penry I , 492 U.S. at 328
        (disapproving same); compare Gregg, 428 U.S. at 189 (approving Georgia’s
        guided-discretion statute), with Godfrey, 446 U.S. at 432-33 (plurality opinion)
        (disapproving same).
               In a nutshell , then , capital punishment schemes must have “objective
        standards to guide, regularize, and make rationally reviewable the process for
        imposing a sentence of death.” Woodson, 428 U.S. at 303. When these schemes
        lack such standards, or when such standards fail in their application, or when
        “[t]here is no principled way to distinguish [a] case, in which the death penalty was
        imposed , from the many cases in which it was not ,” it cannot be maintained that
        the imposition of a death sentence was “ based on reason rather than caprice or
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        emotion.” Godfrey , 446 U.S. at 433.
             B. Texas’s Death Penalty Scheme Is Unconstitutional
               The Supreme Court upheld Texas’s death penalty statute in Jurek v. Texas in
        1976, having concluded that the state’s bifurcation of the guilt/innocence and
        penalty phases and narrowing of death-eligible crimes “provided a means to
        promote the evenhanded, rational, and consistent imposition of death sentences
        under law.” Jurek , 428 U.S. at 276. This judgment has not withstood the scrutiny
        of later cases. See, e.g. , Penry I , 492 U.S. at 302 (invalidating Texas’s statute for
        failing to instruct juries that they may consider mitigating evidence); Penry II , 532
        U.S. at 782 (invalidating Texas’s supplemental instruction on mitigation for failing
        to provide the jury with a sufficient mechanism to consider mitigating evidence).
        Were a court to review the current operation of Texas’s capital punishment system,
        it would find the same “struck by lightning” phenomenon which so troubled the
        Court in Furman.
               In 2013, 1,151 murders were committed in Texas. Tex. Dep’t Pub. Safety,
        Index Crime Analysis 2013 , http://dps.texas.gov/crimereports/13/citCh3.pdf ( last
        visited August 19, 2015). And yet, only nine death sentences were assessed by
        Texas juries in that same year.25 Tex. Dep’t Crim. Just., Offenders on Death Row ,
                                          _        _          _ _
        https://www.tdcj.state.tx.us/death row/dr offenders on dr.html         ( last     visited
        August 19, 2015). The number of death sentences assessed throughout the state
        has declined significantly in the past three decades. See id. Within these statistics,
        however, one finds at work factors that have no place in the “evenhanded, rational,
        and consistent imposition of death .” Jurek , 428 U.S. at 276.
              1 . Geography
               Since 1976, 1 ,092 defendants have been sentenced to death in Texas. Tex.

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          Similarly disparate statistics are expected for 2014 and 2015. As of this filing,
        however, crime statistics for 2014 have not yet been published.
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                 Dep’t Crim. Justice, Total Number of Offenders Sentenced to Death from Each
                 County ,
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                 http://www.tdcj.state.tx.us/death row/dr number sentenced death county.html _
                 ( last visited August 19, 2015 ). Collectively, less than half of Texas’s 254 counties
                 account for these 1,092 sentences.            Id. ( listing 120 Texas counties).         Four
                 counties   —Harris, Dallas    , Bexar, and Tarrant     —account for over 50% of these
                 defendants, as well as for almost 49% of those who have been executed. Tex.
                 Dep’t      Crim.   Justice,    County    of       Conviction   for     Executed     Offenders ,
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                 https://www.tdcj.state.tx.us/death row/dr county conviction executed.html                 ( last
                 visited June 15, 2015 ) (257 out of 526). In the past thirty-nine years, 214 of
                 Texas’s 254 counties (84%) have sentenced someone to death three times or less,
                 or not at all. Tex. Dep’t Crim . Justice, Total Number of Offenders Sentenced to
                 Death                         from                          Each                      County,
                                                      _        _         _            _
                 http:// www.tdcj.state.tx.us/death row/dr number sentenced death county.html_
i                (last visited August 19, 2015).
                         Texas is not alone in this phenomenon.                 Multiple studies conducted
                 throughout the country have identified intra-state geographic discrepancies in the
                 imposition of the death penalty.26 See, e.g., Jules Epstein , Death-Worthiness and
                 Prosecutorial Discretion in Capital Case Charging , 19 TEMPLE POL. & ClV. RTS.
                 L . REV. 389 (2010) (discussing studies in Arizona, Missouri, Pennsylvania, and
                 South Carolina); Adam Gershowitz, Statewide Capital Punishment: The Case For

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                     These observations are, of course, distinct from the inter-state geographic
                 discrepancies in the imposition of the death penalty. See Jeffrey Kirchmeier,
                 Aggravating and Mitigating Factors: The Paradox of Today’s Arbitrary and
                 Mandatory Capital Punishment Scheme , 6 WM. & MARY BILL RTS. J. 345, 386-87
                 ( 1998) (“ Because each jurisdiction creates its own death penalty statute, each
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                 statute is unique. The result is that not only does punishment differ between
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                 death penalty jurisdictions and jurisdictions without the death penalty significant
                 discrepancies exist among the death penalty jurisdictions.” ).
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        Eliminating Counties’ Role in the Death Penalty , http://works.bepress.com/
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        adam gershowitz/5 (2009). In one study, the researchers found that, over a four-
        year period in Missouri, 76% of cases charged as either first-degree murder,
        second-degree murder, or involuntary manslaughter met that State’s statutory
        definition to be eligible for the death penalty. Katherine Barnes, et al., Place
        Matters (Most): An Empirical Study of Prosecutorial Decision- Making in Death-
        Eligible Cases , 51 ARIZ. L. REV . 305, 309-11 (2009). However, only 5% of those
        cases occasioned a death penalty trial.      Id. at 309.   As a result, prosecutors
        throughout the state made the decision not to seek death in 95% of death-eligible
        cases. Id. This discretion was not spread evenly, however, as prosecutors in the
        City of St. Louis and Jackson County ( where Kansas City is located) charged
        capital cases far less frequently (6.5%) than prosecutors in the rest of the state
        (20%).27 Id. at 344.
               In Jurek and in Gregg , the Supreme Court considered whether impermissible
        arbitrariness in capital sentencing resulted from prosecutorial discretion to choose
        those cases in which a death sentence would be sought. Gregg , 428 U.S. at 199;
        Jurek , 428 U.S. at 274. The Court determined that this decision-making served to
        remove defendants from the risk of death and did not violate the U.S. Constitution,
        provided the “decision to impose [a death sentence was] guided by standards so
        that the sentencing authority would focus on the particularized circumstances of
        the crime and the defendant.” Gregg , 428 U.S. at 199. Justice White, in his
        concurrence, noted that the decision of prosecutors would likely reflect that of
        juries and be rooted in the seriousness of the offense:

        27
           A commission created to examine the fairness of New Jersey’s capital
        punishment system likewise noted its concerns regarding “the existence of
        variability among counties in the application of the death penalty.” N.J . Death
        Penalty Study Comm ., New Jersey Death Penalty Commission Report 43 (2007),
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        available at http://www.njleg.state.nj. us/ committees/dpsc final .pdf.
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               Absent facts to the contrary, it cannot be assumed that prosecutors
               will be motivated in their charging decision by factors other than the
               strength of their case and the likelihood that a jury would impose the
               death penalty if it convicts. Unless prosecutors are incompetent in
               their judgments, the standards by which they decide whether to charge
               a capital felony will be the same as those by which the jury will
               decide the questions of guilt and sentence.
        Id. at 225 ( White, J., concurring).
               The experience of the last thirty-nine years has shown that the practical
        consequence of prosecutorial discretion has not been to narrow the field of death-
        eligible defendants to the most serious and heinous cases. It strains credulity to
        believe that Texas’s four most populous counties    —where 50% of Texas’     s post-
        1976 death-row cases originated    —have had as many heinous crimes within their
        geographical limits as have Texas’s 250 remaining counties. Far more likely,
        factors such as ideology, experience litigating capital cases, and resource
        availability exert significant influence on prosecutors’ decisions to seek the death
        penalty.     See Gershowitz, supra at 11-15 (noting several instances in which
        prosecutors have declined to pursue the death penalty based on resource
        limitations).
               The influence of these factors within Texas’s capital punishment system has
        undermined the Supreme Court’s expectations, voiced in Jurek , that this system
        would be an “evenhanded, rational, and consistent” one. Jurek , 428 U.S. at 276.
        Thirteen years after Jurek , the Court began to recognize the error in its assumption
        that Texas’s system would , in practice, answer the several concerns expressed by a
        majority of the justices in Furman. Compare Jurek , 428 U.S. at 272 (expressing
        confidence that the Texas Court of Criminal Appeals would “interpret [the
        statutory special issue] so as to allow a defendant to bring to the jury’s attention
        whatever mitigating circumstances he may be able to show” ), with Penry /, 492
        U.S. at 318 ( finding inadequate and therefore unconstitutional the statutory special
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        issues). The geographic disparities in the imposition of the death penalty in Texas
        offer equally compelling grounds to abandon the belief that prosecutorial
        discretion will produce a consistent application of the law.
             2. Race
               In addition to geography, studies continue to show that race is a motivating
        factor both behind the seeking of death sentences and behind jury verdicts in
        capital cases. See, e.g. , David Baldus, et al., Race and Proportionality Since
        McCleskey v. Kemp (1987): Different Actors with Mixed Strategies of Denial and
        Avoidance , 39 COLUM. HUM. RTS. L. REV. 143 (2007); Isaac Unah, Choosing
        Those Who Will Die: The Effect of Race, Gender, and Law in Prosecutorial
        Decision to Seek the Death Penalty in Durham County, North Carolina, 15 MICH.
        J. RACE & L. 135 (2009) (finding that prosecutors were more likely to pursue
        capital cases for white victims than black victims).
               This fact is especially evident in the application of the death penalty in
        Harris County, where Cruz-Garcia was convicted. In the last decade, the only
        defendants sentenced to death in Harris County have been of non-white races,
        except for white defendants already on death row receiving a re-trial. What’s
        more, preliminary analysis of TDCJ data suggests that Harris County did not even
        choose to seek a new death sentence against a white defendant in the past decade.
        Given that in that same decade there were over 1,300 convictions for murder and
        capital murder, it raises a reasonable inference that the complete absence of
        seeking and/or receiving a death sentence for white defendants in Harris is
        attributable in some manner to race-based decision-making.
               This improper decision-making extends to juries in Harris County as well.
        One study specific to Texas examined the influence of race in Harris County
        capital cases from 1992 to 1999. Scott Phillips, Racial Disparities in the Capital
        of Capital Punishment , 45 HOUS. L. REV. 807 (2008). Using statistical techniques
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        to control for potential confounders,28 the study showed that “ black defendants
        who committed crimes less likely to lead to a death trial tended to face a capital
        trial more frequently than their white and Hispanic counterparts.” ABA Texas
        Assessment Report (citing Phillips, 45 Hous. L. REV. at 830). A defendant also
        faced increased odds of receiving a death sentence if he was black than if he was
        white or Hispanic. Phillips, 45 Hous. L. REV. at 834. The study also confirmed
        that , in Harris County within the eight-year period, those convicted of killing a
        white victim were more likely to receive a death sentence than those convicted of
        killing a black victim. Id.
               A subsequent study conducted largely the same analysis for the period
        beginning January 1, 2001, and ending February 15, 2008.               Scott Phillips,
        Continued Racial Disparities in the Capital of Capital Punishment: The Rosenthal
        Era, 50 HOUS. L. REV. 131, 134 (2012). While the race of the defendant no longer
        appeared to influence the prosecution ’s charging decisions and the juries’
        sentencing decisions, the race of the victim still proved to be a controlling factor.
        Id. at 148. Specifically, this study found that “the death penalty was imposed on
        behalf of white victims at more than twice the rate one would expect if the system
        were blind to race, and . . . on behalf of white female victims at more than five
        times the rate one would expect if the system were blind to race and gender.” Id. at
        150.
                                        —
               In a third, national study one that used a controlled experiment to examine
                                                                       —
        the subtle influence of race on juror decision-making researchers at the
        University of California at Berkeley found that members of a random sample of
        276 adults were more inclined, after reviewing a file summary of a triple-murder

        28
          Potential confounders include “the social characteristics of the defendant , the
        social characteristics of the victim , and the legal dimensions of the case.” Phillips,
        45 Hous. L . REV . at 822-27.
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        case and being told that the maximum punishment was death, to find a defendant
        guilty based on the evidence provided if the defendant had a name traditionally
        associated with minorities (e.g., Darnel, Lamar, Terrell ) than if he had a more race-
        neutral name (e.g., Andrew, Frank, Peter). Jack Glaser, et al., Possibility of Death
        Sentence Has Divergent Effect on Verdicts for Black and White Defendants 5-6
        (June               24,               2009),               available               at
                                                        _
        http://papers.ssm.com/sol3/papers.cfm?abstract id=1428943.        By contrast, other
        members of that same random sample were no more likely, after reviewing that
        same file and being told that the maximum punishment was life without possibility
        of parole, to find a defendant guilty if his name happened to be one traditionally
        associated with minorities. Id.
                Although the precise causal mechanism at work only could be guessed at,
        the researchers nevertheless postulated that “a more severe penalty raises the
        juror’s estimated ‘cost’ of a wrongful conviction.” Id. (citing N. Kerr, Severity of
        Prescribed Penalty and Mock Jurors’ Verdicts , 36 J. PERSONALITY & Soc. PSYCH.
        1431 (1978)). Or, perhaps, “for participants with Black defendants, wrongful
        conviction was a lesser concern, and instead the death penalty reinforced the
        brutality of the crime.” Id. at 6. Still more perverse, “capital punishment may feel
        more appropriate for Black defendants, given that they are overrepresented on
        death row, and [] research has    indicated] that convicted   capital defendants who
        look more stereotypically Black are more likely to be given a death sentence.” Id.
        ( citing Jennifer L. Eberhardt, et al ., Looking Deathworthy , 17 PSYCH . Sci. 383
        (2006 )).
                Whatever the participants’ motivation , the conclusion compelled by these
        statistics and studies is inescapable: Race continues to influence the imposition of
        the death penalty, regardless of whether that influence is conscious or unconscious.
        When a law is applied in such a way that it becomes more directed at a “particular
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        class of persons”   —particularly when that class of persons is distinguished by
            —
        race the application of that law violates an individual’s right to equal protection
        under the law. See Yick Wo v. Hopkins , 118 U.S. 356, 373 (1886).
           C. Conclusion
              For the foregoing reasons, Texas’s death penalty scheme is unconstitutional.
        Therefore, Cruz-Garcia’s sentence of death should be vacated.




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                                                      V.
                                           PRAYER FOR RELIEF
            WHEREFORE, Obel Cruz-Garcia prays that this Court:
                   1. Order an evidentiary hearing for the purpose of examining the merits of
                         his claims;
                   2. Vacate his death sentence and conviction;
                   3. Grant any other relief that law or justice may require.


r
                                                           Respectfully submitted,29


            DATED:          August 27, 2015                By
                                                           Robert Romig
                                                           Post-Conviction Attorney


                                                           By
                                                           Joanne Heis|by
                                                           Post-Convi <ttion Attorney




            29
              The OCW wishes to acknowledge post-conviction fellow Laura Schaefer for her
            contribution to this pleading.
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                 STATE OF TEXAS                          §
                 COUNTY OF DALLAS                        §

                 VERIFICATION

                        BEFORE ME, the undersigned authority, on this day personally appeared
                        Robert Romig, who upon being duly sworn by me testified as follows:


                              1.        I am a member of the State Bar of Texas.

                              2.    Iam the duly authorized attorney for Obel Cruz-Garcia , having
t: - -
                              the authority to prepare and to verify Obel Cruz-Garcia’s Application
                              for Post-Conviction Writ of Habeas Corpus.

                              3.      I have prepared and have read the foregoing Application for
                              Post-Conviction Writ of Habeas Corpus, and I believe all allegations
                              in it to be true.



                                                                   Robert Romig

                      SUBSCRIBED AND SWORN TO BEFORE ME on this 27th day of
                 August, 2015.




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                                                                       J^kffary Public, State ( Texas
                                   Notary without Bond




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                                 CERTIFICATE OF SERVICE

        I, the undersigned, declare and certify that I have served the foregoing Application
        for Writ of Habeas Corpus to:

        Paula Gibson                                       Judge Renee Magee
        Criminal Post-Trial                                337th District Court
        Harris County District Clerk                       1201 Franklin Street
        1201 Franklin Street, 3rd Floor                    15th Floor
        Suite 3180                                         Houston, TX 77002
        Houston, TX 77002

        Harris County District Attorney
        c/o Lynn Hardaway
        1201 Franklin
        Suite 600
        Houston , TX 77002

        Obel Cruz-Garcia
        TDCJ # 999584
        TDCJ Polunsky Unit
        3872 FM 350 South
        Livingston, TX 77351


           This certification is executed on August 27, 2015, at Austin, Texas.
           I declare under penalty of perjury that the foregoing is true and correct to the
        best of my knowledge.


                                              Robert Romig




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                         IN THE 337 th JUDICIAL DISTRICT COURT
                                HARRIS COUNTY , TEXAS

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                     IN THE TEXAS COURT OF CRIMINAL APf ®$fi®e of imaging
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                                                                           RECEIVED IN
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                                              )      Trial Cause No.
         EX PARTE                             )      1384794
         Obel Cruz-Garcia,                    )                               NAY 04 2016
                    APPLICANT                 )
                                              )
                                              )                            Abei Acosta, Clerk


           SUBSEQUENT APPLICATION FOR A WRIT OF HABEAS CORPUS
            FILED PURSUANT TO ART. 11.071 , § 5, AND ART. 11.073 OF THE
                    TEXAS CODE OF CRIMINAL PROCEDURE

                                  This is a death penalty case.



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          SUBSEQUENT APPLICATION FOR A WRIT OF HABEAS CORPUS

                                        This is a death penalty case.


                                   I.       INTRODUCTION
             The case against Obel Cruz-Garcia was a cold case that was ostensibly

      “cracked” in reliance on DNA evidence that has now been debunked. Without that

      false, scientifically unreliable evidence, the State’s case against Mr. Cruz-Garcia

      collapses.

            Twenty-two years after the fact, on July 15, 2013, Mr. Cruz-Garcia was

     convicted of the 1992 capital murder of Angelo Garcia. 23 RR at 101.1 The State’s

     DNA evidence was the only physical evidence purportedly linking Mr. Cruz-Garcia

     to the crime. Indeed, the State presented evidence that Angelo Garcia’s 1992 murder

     had gone unsolved until 2008, when the Houston Police Department (“HPD”)

     obtained a DNA sample from Mr. Cruz-Garcia and compared it to evidence collected

     years ago at the crime scene. 20 RR at 51, 55-56.

            The reputedly inculpatory DNA evidence that the State relied upon at trial

     has, however, proven to be false. Mr. Cruz-Garcia’s conviction reflects widespread

     problems with the way labs nationwide had been making “DNA mixture”

     interpretations until recently. After the FBI blew the whistle with respect to these



             “RR” refers to the Reporter’s Record in Mr. Cruz- Garcia’s trial .
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      serious flaws in methodology , the Texas Forensic Science Commission (“FSC ” )

      took up the issue. See Ex. A at 1 . The FSC ’s attention then prompted labs to revisit

      their calculations; in many instances, amended lab reports followed. For instance,

      we now know that the DNA evidence used to convict Mr. Cruz-Garcia was false.

      See Ex. B [Email from Harris County ADA Lori DeAngelo (Nov. 3, 2015 )]; Ex. C

      at 1 [Amended Laboratory Rpt, (Nov. 3, 2015 )].

             According to the amended lab report at issue here, no conclusions can now be

     drawn with respect to one of the two reputedly inculpatory items of DNA evidence

     presented at trial. With respect to the second item , the amended lab report now

     points to a second unknown contributor to the DNA mixture—most likely belonging

     to the actual perpetrator. This new evidence casts considerable doubt on Mr. Cruz-

     Garcia’s guilt and wholly undermines any confidence in the result of his capital

     murder trial . The amended lab report was not provided to Mr. Cruz-Garcia’s counsel

     until after his Initial Application was filed.

            This Subsequent Application raises two distinct constitutional and statutory

     claims for relief based on the newly available scientific evidence as follows:

        • New scientific evidence establishes by a preponderance of the evidence under
            Article 11.073 that Mr. Cruz- Garcia would not have been convicted.

        •   Additionally, because the State relied on false, misleading, and scientifically
            invalid testimony , Mr. Cruz-Garcia’s right to due process under Ex parte
            Chabot and Ex parte Chavez was violated.

     Each of these claims entitles Mr. Cruz-Garcia to a new trial .
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                              II.   FACTUAL BACKGROUND
          A . The State ’s Evidence at Trial
             At trial , the State presented both eyewitness testimony that tended to

      exculpate Mr. Cruz-Garcia and DNA evidence that was characterized as inculpatory.

           1 . The State ’s eyewitness testimony exculpates Mr. Cruz- Garcia
             The State presented evidence from the two surviving eyewitnesses/crime

      victims. First, the decedent’s mother, Diana Garcia, testified that, on the night of

      September 30, 1992, two men entered the bedroom where she, her common- law

      husband, Arturo Rodriguez, and her son, Angelo, were sleeping. 18 RR at 120, 144-

      53. Ms. Garcia testified that one of the men beat Mr. Rodriguez unconscious while

      the other one sexually assaulted her. Id. at 153-58. Second, Mr. Rodriguez testified

      about the incident. Id. at 205-219. Both Ms. Garcia and Mr. Rodriguez testified that

      Mr. Cruz-Garcia was a friend of theirs for whom they had sold drugs. Id. at 129-38,

      199-205 . Both testified that Mr. Cruz-Garcia frequently visited their apartment, and

     Ms. Garcia testified that, according to Mr. Rodriguez, Mr. Cruz-Garcia had been at

     their apartment earlier that day. Id. at 138, 144-45, 201 .

            Ms. Garcia and Mr. Rodriguez further testified that the men who assaulted

     them were wearing masks and that they were unable to identify them . Id. at 151-

     62, 208-15.

            Moreover, two HPD officers who responded to the scene testified that Ms.

     Garcia and Mr. Rodriguez described their attackers as two black males. Id. at 54,


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      102. Yet Mr. Cruz-Garcia is a light-skinned Latino from the Dominican Republic.

      3 RR at 76 .

             In sum, the testimony of the eyewitnesses did not inculpate Mr. Cruz-Garcia;

      that evidence did the opposite. Therefore, that evidence had to be countered by other

      evidence to suggest any basis for convicting Mr. Cruz-Garcia.

           2. The State’ s DNA evidence seemed to inculpate Mr. Cruz-Garcia
             The State also presented the testimony of Matt Quartaro, a DNA analyst at

      forensic testing lab Orchid Cellmark, which conducted the DNA analysis in this case

      in 2007 and 2008. Mr. Quartaro testified to Orchid Cellmark’s analysis of items of

      evidence that had been collected during the criminal investigation, including a cigar

      that had been recovered from Ms. Garcia and Mr. Rodriguez’s apartment, vaginal

      swabs from a sexual assault kit that was taken from Ms. Garcia the night of the

      assault, and a cutting from Ms. Garcia’s panties. 21 RR at 105-20. Mr. Quartaro

      testified that Orchid Cellmark ’s analysis resulted in a finding that Mr. Cruz-Garcia’s

      DNA profile matched the profile obtained from the cigar; that the sperm cell fraction

      obtained from the vaginal swabs was a mixture of multiple individuals, from which

     neither Mr. Cruz-Garcia nor Mr. Rodriguez could be excluded as contributors; and

     that the sperm cell fraction obtained from the cutting of the panties was a mixture of

     at least two individuals, to which Mr. Cruz-Garcia was a major contributor and Mr.

     Rodriguez could not be excluded as a minor contributor. Id. at 119-20.


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             The State then presented the testimony of Courtney Head, a criminalist with

      the HPD crime lab. Ms. Head testified that in 2010 she had performed a DNA

      extraction on a buccal swab taken from Mr. Cruz-Garcia and compared the DNA

      profile she obtained of Mr. Cruz-Garcia to the DNA profiles that Orchid Cellmark

      had obtained from the - cigar, the vaginal swabs, and the panties. 21 RR at 156-59.       .




      Ms. Head testified that based on her comparisons, Mr. Cruz-Garcia could not be

      excluded as a contributor to the DNA found on the cigar; that Mr. Cruz-Garcia could

      not be excluded as a contributor to fhe mixture DNA profile obtained from the sperm

     cell fraction of the vaginal swabs; and that the DNA profile obtained from the sperm

     cell fraction of the panties was a mixture of at least two individuals, to which Mr.

     Cruz-Garcia could not be excluded as a contributor to the major component. 21 RR.

     at 161-62.

            At trial, defense counsel suggested (but failed to substantiate) that Ms. Garcia

     had had a consensual sexual relationship with Mr. Cruz-Garcia; this theory was

     offered as an alternative explanation for the presence of his DNA on the vaginal

     swabs and the panties. See, e.g. , 19 RR at 21; 21 RR at 134-35; 23 RR at 48-50.

     However, the State’s experts had testified that the second contributor to the DNA

     mixtures on these two items was Ms. Garcia’s husband, Mr. Rodriguez, leaving no

     alternative party to point to as the actual perpetrator of the sexual assault other than

     Mr. Cruz-Garcia. Therefore , defense counsel ’s argument did not substantiate the

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      position that he was not guilty. In closing argument, the State emphasized this ipse

      dixit, invoking its DNA evidence as the necessary link in the chain supporting the

      State ’s version of events:

             [I]f Obel Cruz-Garcia was not the one, if his DNA was there from some
             consensual sexual encounter that they made up out of whole cloth—
             and there is no evidence of that—where is the DNA of the guy who
             raped Diana? Where is it? Why don’t we have it? If at some unknown
             time Obel Cruz-Garcia had a consensual relationship with Diana, again,
             that there is no evidence of, where is the DNA of the guy who raped
             her?

      The only physical evidence that seemed to connect Mr. Cruz-Garcia to the crime

      was the DNA evidence.

         B . Evidence Uncovered in Post- Conviction
           1. The new scientific evidence supports the defense’s theory
                                           ,



            The DNA evidence that was used to convict Mr. Cruz-Garcia has now been

     superseded by new DNA evidence.

            On August 21 , 2015, it became generally known in Texas that the

     methodology Texas labs had been using to calculate DNA mixtures might be

     problematic. On that day, the FSC announced to members of the Texas criminal

     justice community its “concerns involving] the interpretation of DNA results where

     multiple contributors may be present, commonly referred to as DNA mixture

     interpretation .” Ex. A at 1 . Specifically, these concerns involved the widespread

     failure of Texas labs to calculate the “Combined Probability of Inclusion ” using the

     current consensus methodology so as to detennine the odds that a particular person

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      had left DNA at a crime scene. Id. The muted announcement has since led to a

      scandal—and the need to revisit thousands of convictions that had hinged on DNA

      evidence.2

                In the wake of the announcement, the Houston Forensic Science Center

      (formerly the HPD crime lab ) revisited the DNA analysis that had been performed

      before Mr. Cruz-Garcia’s trial . That query resulted in an amended laboratory report,

      which was sent to post-conviction counsel on November 3, 2015. See Ex. B; Ex. C

      at 1. That is, news that the specific evidence used to convict Mr. Cruz-Garcia was

      false reached his post-conviction attorneys over two months after his Initial

      Application under Article 11.071 had been filed .

            The amended lab report that post-conviction counsel received reveals serious

     issues with the two seemingly inculpatory pieces of DNA evidence upon which the

     State’s case depends. The amended lab report notes that, with respect to the vaginal

     swabs taken from Ms. Garcia, “No conclusions will be made given the excessive

     number of contributors to this DNA mixture.” Ex. C at 2 (emphasis added). As

     for the sperm cell fraction of the DNA mixture taken from her panties, the amended

     lab report notes that, while Mr. Cruz-Garcia cannot be excluded as a possible



            2
             See, e.g . , Texas reviewing thousands of DNA cases that used outdated
     method for calculating odds , Dallas Morning News (Jan . 31, 2016), available at
     http://www. dallasnews. com/news/crime/headlines/ 20160131 -texas-reviewing-
     thousands -of-dna-cases-that-used-outdated-method-for-calculating-odds . ece.
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      contributor to the major component of the DNA mixture, “/n]o conclusions will be

      made regarding the minor component of this DNA mixture due to insufficient

      data ” Id. (emphasis added).3

           2. The new scientific evidence bolsters other evidence only uncovered
              during the post-conviction investigation
             Before receiving the amended lab report, Mr. Cruz-Garcia had uncovered new

      evidence during the post-conviction investigation that supports the theory that the

      defense had offered at trial regarding the appropriate inference suggested by the

     DNA evidence. New evidence, presented in his Initial Application, shows that Ms.

     Garcia had , in fact, been having an ongoing consensual sexual relationship with Mr.

     Cruz-Garcia before the crime occurred . Several lay witnesses who knew both Ms.

     Garcia (“Diana” ) and Mr. Cruz-Garcia (“Chico” )4 at the time of the crime have

     attested to the affair:



            3
              As to the DNA profile obtained from the cigar that was recovered from Ms.
     Garcia and Mr. Rodriguez’s apartment, the amended lab report is consistent with the
     DNA analysts’ trial testimony that Mr. Cruz-Garcia cannot be excluded as a
     contributor. Because testimony at trial established that Mr. Cruz-Garcia was a
                                         ,


     frequent visitor to the apartment and had , in fact, visited the apartment earlier on the
     day of the crime , this evidence is neither inculpatory nor exculpatory. Moreover,
     there is no tie between the cigar and the crimes charged: neither Ms. Garcia nor Mr.
     Rodriguez suggested, for instance, that one of the two assailants smoked a cigar
     before, during, or after the assaults. In other words, that evidence is not relevant to
     the identity of the masked individual who sexually assaulted Ms. Garcia.
            4
              Throughout trial , starting with the State’s opening statement, Mr. Cruz-
     Garcia was referred to as “Chico.” See, e.g. , 18 RR at 33 (“sitting in that interview
     room , Diana Garcia told the officers: We sold drugs for that man , Obel Cruz-Garcia;
     Chico, as he was known by many of his friends and associates.” )
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          •    “Diana was also. messing around with other guys, including Chico . . . .The time
               period that Chico and Diana were having sex was around the same time
               Angelo was kidnapped.” Ex. D at [4.
                                                   ^
          •   “Around the time Angelo was kidnapped , Chico was having an ongoing
              sexual relationship with Diana.” Ex. E at f 3;

          •   “I knew that Diana was sleeping with my brother, Joe, and also that she was
              sleeping with Obel .” Ex. F at [6.
                                              ^
      This evidence is now corroborated by the new DNA evidence.

              Although Mr. Cruz-Garcia’ s counsel had argued at trial that Mr. Cruz-

      Garcia’s DNA was left during a consensual sexual encounter, the jury could not have

      credited this theory at trial in the face of the State’s unrebutted testimony that the

      DNA of only two men was found in Ms. Garcia’s panties—the other being her

      husband, Mr. Rodriguez, who was allegedly being beaten during the sexual assault.

      Therefore, the jury could only draw one reasonable conclusion from that evidence:

      since, under the circumstances, Mr. Rodriguez could not have perpetrated the sexual

     assault, the likely perpetrator of the sexual assault was Mr. Cruz-Garcia. But that

     reasonable inference becomes wholly unreasonable in light of the amended lab

     report that suggests an unknown third-party was the rapist.

                                  III.   LEGAL STANDARDS
              Under Article 11.071, of the Texas Code of Criminal Procedure, a court can

     consider the merits of a subsequent application for habeas relief if:

              the current claims and issues have not been and could not have been
              presented previously in a timely initial application or in a previously

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                considered application filed under this article or Article 11.07 because
                the factual or legal basis for the claim was unavailable on the date the
                applicant filed the previous application

      TEX. CODE CRIM . PROC. art. 11.071, § 5 ( a)( 1 ).

                Article 11.073 also provides a new legal basis for habeas relief “ where the

      applicant can show by the preponderance of the evidence that he or she would not

      have been convicted if the newly available scientific evidence had been presented at

      trial .” Ex parte Robbins , 478 S.W.3d 678, 690 (Tex. Crim. App. 2015). The

      applicant must also establish “that the facts he alleges are at least minimally

      sufficient to bring him within the ambit of the new legal basis for relief.” Ex parte

      Oranday-Garcia , 410 S.W.3d 865, 867 (Tex. Crim. App. 2013).

            .   Article 11.073 provides for a procedure related to certain scientific evidence

      that “( 1 ) was not available to be offered by a convicted person at the convicted

     person’s trial ; or ( 2) contradicts scientific evidence relied on by the state at trial.”

     TEX. CODE        OF   CRIM. PRO. art. 11.073(a).      The Court may grant relief on an

     application for a writ of habeas corpus filed in the manner provided for by, inter alia ,

     Article 11.071 . The application must contain specific facts indicating that:

                   (A) relevant scientific evidence is currently available and was
            not available at the time of the convicted person’s trial because the
            evidence was not ascertainable through the exercise of reasonable
            diligence by the convicted person before the date of or during the
            convicted person ’ s trial; and

                  ( B ) the scientific evidence would be admissible under the Texas
                                                                      ,


            Rules of Evidence at a trial held on the date of the application ; and

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             (2) the court makes the findings described by Subdivisions ( 1 )( A ) and
             (B) and also finds that, had the scientific evidence been presented at
             trial , on the preponderance of the evidence the person would not have
             been convicted .

      Id. art. 11.073( b ).

             Because this is a subsequent application, Mr. Cruz-Garcia must also show that

      “a claim or issue could not have been presented previously in an original application”

      because it is “based on relevant scientific evidence that was not ascertainable

      through the exercise of reasonable diligence by the convicted person on or before

      the date on which the original application[.]” Id. (c). In making the determination

             as to whether relevant scientific evidence was not ascertainable through
             the exercise of reasonable diligence on or before a specific date, the
             court shall consider whether the field of scientific knowledge, a
             testifying expert’s scientific knowledge, or a scientific method on
             which the relevant scientific evidence is based has changed since :
                                                               '
                   (1 ) the applicable trial date or dates, for a determination made
             with respect to an original application; or

                   (2) the date on which the original application or a previously
             considered application, as applicable, was filed, for a determination
             made with respect to a subsequent application .

     Id art. 11.073(d ).

            The inquiry focuses on “the State’s evidence” at trial . Ex parte Robbins, 478

     S. W.3d at 690.




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                                  IV.    CLAIMS FOR RELIEF
             Mr. Cruz- Garcia is entitled to relief on the following claims:

                •    New scientific evidence establishes by a preponderance of the evidence
                     under Article 11.073 that Mr. Cruz-Garcia would not have been
                     convicted.

                •    Because the State relied on false, misleading, and scientifically invalid
                     testimony, Mr. Cruz-Garcia’s right to due process under Ex Parte
                     Chabot and Ex Parte Chavez was violated.

         A . Mr. Cruz-Garcia Is Entitled to Relief under Article 11.073
         Mr. Cruz- Garcia easily satisfies the prerequisites for relief under Article 11.073 .

           1. The amended lab report was not available to Mr. Cruz-Garcia at trial ,
              and it also contradicts scientific evidence the State relied on at trial
           The scientific evidence at issue here “was not available to be offered by a

      convicted person at the convicted person’s trial” and it “contradicts scientific

      evidence relied on by the state at trial.” TEX. CODE OF CRIM. PRO. art. 11.073(a).

     Either of these facts are a basis for granting relief. Mr. Cruz-Garcia’s trial began in

     June 2013, and the amended lab report was not even generated until November 2015.

     See Ex. B .

          Moreover, the findings contained in the amended lab report clearly contradict

     the scientific evidence the State relied on at trial . At trial , the State presented

     testimony that Mr. Cruz-Garcia and Ms. Garcia’s husband, Mr. Rodriguez, were the

     two contributors to the sperm cell DNA mixtures found on the vaginal swabs and on

     the cutting from the panties. The HPD lab has now amended its findings to state that


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      no conclusions can be made with respect to the DNA mixture found on the vaginal

      swabs and that the DNA mixture found on the cutting from the panties contains a

      second unknown contributor, rather than the victim’s husband , Mr. Rodriguez.

      Accordingly, Mr. Cruz-Garcia has met the requirements of Article 11.073 (a)(2). See

      Ex parte Robbins, 478 S . W.3d at 690 (finding that the requirements of Article

      11.073(a)(2) were met where the medical examiner had testified for the State that

      the complainant’s cause of death was homicide by asphyxiation but later reevaluated

      her opinion and found the cause of death to be undetermined ).

           2. The relevant scientific evidence was not ascertainable through the
              exercise of reasonable diligence as of the date Mr. Cruz-Garcia filed his
              Initial Application
           The new scientific evidence presented in this Subsequent Application was not

     ascertainable through the exercise of reasonable diligence as of the date Mr. Cruz-

     Garcia filed his Initial Application . Mr. Cruz-Garcia filed his Initial Application on

     August 28 , 2015; the amended lab report was not issued and sent to post-conviction

     counsel until November 3, 2015 . Ex. B; Ex. C at 1 .

          In his Initial Application, Mr. Cruz-Garcia alleged that his trial counsel were

     ineffective for failing to retain an independent DNA expert to review the State ’s

     DNA evidence. In support of this allegation, Mr. Cruz-Garcia filed an affidavit from

     DNA analyst Daniel Hellwig, who attested that the second contributor to the DNA

     mixture found on the panties should properly have been described as unknown . The


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      fact that Mr. Cruz- Garcia presented this evidence from his own retained expert in

      support of a claim raised in his Initial Application does not mean that the findings

      contained in the amended lab report were “ascertainable through the exercise of

      reasonable diligence” at the time he filed his Initial Application. This Court recently

      construed Article 11.073 for the first time in Ex parte Robbins . The Court held that

      the medical examiner’s changed opinion was not ascertainable for the purposes of

      the statute even though similar testimony was actually before the jury at trial through

      a retained defense expert. Id. , 478 S.W.3d at 692 (“The State argues Moore’s re-

      evaluated opinion was available at trial because the same information was presented

      by the defense through Dr. Bux. We disagree. The relevant evidence is the State’s

     evidence on Tristen’s cause of death. It has changed.” ). Accordingly, the findings

     contained in the amended lab report were not “ascertainable through the exercise of

     reasonable diligence” at the time Mr. Cruz-Garcia filed his Initial Application even

     though he presented similar findings from his own expert in support of his Initial

     Application .    Mr. Cruz-Garcia has thus satisfied the requirements of Article

     11.073( b)( 1 )(A).

          3. The new scientific evidence would be admissible under the Texas Rules
             of Evidence
            Just as Mr. Quartaro’s and Ms. Head ’ s original findings as to the DNA

     analysis were admissible at Mr. Cruz-Garcia’s trial , the findings contained in the

     amended lab report would be equally admissible, thus satisfying Article

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      11.073( b)(1 )( B). See TEX . R. EVID. 703 (permitting qualified experts to “ base an

      opinion on facts or data in the case that the expert has been made aware of, reviewed ,

      or personally observed ” ).

           4. Had the new scientific evidence been presented at trial , Mr. Cruz-
              Garcia would not have been convicted

             The new scientific evidence in the amended lab report goes to the very heart

      of the sufficiency of the evidence used to convict Mr. Cruz-Garcia.

             There can be little doubt that, had the findings contained in the amended lab

      report been presented at Mr. Cruz-Garcia’.s trial, he would not have been convicted.

      The false DNA evidence the State presented at trial was the only physical evidence

      linking Mr. Cruz-Garcia to the crime. More specifically, the State’s case for guilt

      was based on a nexus among Mr. Cruz-Garcia’s semen, a sexual assault, and the

      murder. Although Mr. Cruz-Garcia’s trial counsel suggested that Mr. Cruz-Garcia’s

     DNA was left during a consensual sexual encounter, the jury could not have credited

     this defense at trial in the face of unrebutted testimony by the State’s expert that the

     two contributors to the sperm cell DNA mixture found on the vaginal swabs and the

     cutting of the panties were Mr. Cruz-Garcia and Ms. Garcia’s husband , Mr.

     Rodriguez. Mr. Quartaro ’s false testimony at trial rendered the defense theory of a

     consensual relationship impossible. But if the jury had been told that the sperm cell




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      DNA mixture found on the cutting from the panties contained a second unknown

      contributor, Mr. Cruz-Garcia would not have been convicted.3

           The State relied heavily on the DNA evidence    —or, more accurately, it relied
      on the lack of evidence of an unknown contributor to the DNA mixture—to argue

      that Mr. Cruz-Garcia must be guilty :

             [I]f Obel Cruz-Garcia was not the one, if his DNA was there from some
             consensual sexual encounter that they made up out of whole cloth—
                                              —
             and there is no evidence of that where is the DNA of the guy who
             raped Diana? Where is it? Why don’t we have it? If at some unknown
             time Obel Cruz-Garcia had a consensual relationship with Diana, again,
             that there is no evidence of, where is the DNA of the guy who raped
             her?

      23 RR at 82. The State’s argument rested squarely on the testimony of Mr. Quartaro,

      who told the jury that the second contributor to the sperm cell DNA mixture found

      on the vaginal swabs and on the panties was Ms. Garcia’s husband, Mr. Rodriguez.

     The amended lab report has belied this testimony. According to the amended lab

     report, the second contributor to the DNA mixture found on the panties is not the

     victim’s husband but rather an unknown person, which supports the theory that an
                                                              ,




     unknown male raped Diana Garcia, as the defense had argued at trial.6



            5
              This new evidence must be evaluated in tandem with the new evidence
     presented in Mr. Cruz-Garcia’s Initial Application that Mr. Cruz-Garcia had an
     ongoing consensual sexual relationship with Ms. Garcia. See p. 9, supra .
            6
              Moreover, in light of the fact that Ms. Garcia was having a consensual affair
     with Mr. Cruz-Garcia at the time, as is now confirmed by mutual acquaintances, it
     defies the imagination to suggest that Ms. Garcia would have failed to recognize him
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               Aside from the false testimony of Mr. Quartaro and Ms. Head, the State relied

        on scant corroboration . The only other evidence of Mr. Cruz-Garcia ’s guilt came by

        way of testimony from an alleged co-conspirator and convicted felon named

        Carmelo Martinez Santana and Mr. Cruz-Garcia’s ex-wife, Angelita Rodriguez.7

        Both of these individuals were known drug dealers with substantial credibility

        issues. And the testimony of both of these individuals departed significantly from

        their prior statements to law enforcement.

              These witnesses were repeatedly impeached with prior inconsistent

        statements and impeached by omission . For example, Ms. Rodriguez testified on

        direct as to a purported inculpatory statement by Mr. Cruz-Garcia, but on cross-

        examination she was devastatingly impeached by her complete failure to mention

    .   this purported confession in a 2008 interview with investigating police officers and

        an Assistant District Attorney, during which she was accompanied by her lawyer.

        See 20 RR at 110-13.

              Mr. Santana, the alleged accomplice—also a convicted violent felon and

        unrepentant drug trafficker—did not fare any better on the witness stand . See 21 RR


        as the assailant- wen if he had been wearing a mask during the sexual assault. See
        Exs. D-F.
               7
                 The only other allegedly corroborating evidence to which the State cited in
        its Closing was the testimony of Linda Hernandez; she only claimed that she had
        received a call from Mr. Cruz-Garcia from Baytown , and the State argued that this
        occurred after Angelo Garcia, Jr. had been killed in Baytown . 23 RR 36-37. Such
        evidence is not fairly characterized as “corroborating.”
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      at 16 ( Mr. Santana implicated himself in a capital murder while acknowledging that

      he had not been charged with anything in relation to the offense); id. at 29-31 (Mr .

      Santana was impeached with prior federal drug and weapons convictions for which

      he was serving a sentence of over seventeen years, as well as a Harris County assault

      conviction.).8 Mr. Santana was also repeatedly impeached with prior inconsistent

      statements to law enforcement about material details about the crime. See, e.g., id.

      at 45-57, 68-75.

             Moreover, the testimony of Mr. Santana was inconsistent with that of Ms.

      Garcia as to material details. Compare 18 RR at 151 with 21 RR at 48-49 (Mr.

      Santana described masks worn by the perpetrators as being women’s stockings,

      while Ms. Garcia described ski masks). Thus, the DNA evidence was the only

      credible evidence implicating Mr. Cruz-Garcia in this twenty-two-year-old crime.

      The State most likely recognized this fact, which is why it expressly emphasized the

     significance of the DNA as corroborating evidence in its closing:

            Probably the most damning corroboration for the defendant in this
            case is the DNA evidence . You know that there is DNA evidence that
            the defendant ’s DNA was on the panties of Diana Garcia ’s the night of
            that sexual assault, the defendant ’s DNA is on the vaginal swabs taken
            after the rape of Diana Garcia on September 30th, 1992, the same time
            the kidnapping of Angelo Garcia, Jr. taking place and ultimately his
            death . That is corroboration that tends to connect the defendant to the
            commission of the offense.

            8
             As the CCA has emphasized , the “testimony of an accomplice is inherently
     untrustworthy and should . be viewed with caution .” Blake v. State, 971 S.W.2d 451,
     463 (Tex. Crim . App. 1998).
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      23 RR at 36 (emphasis added ).

             If the jurors, however, had heard the new evidence contained in the amended

      lab report—showing that the DNA mixture found in the vaginal swab could not be

      associated with any particular contributor and that the DNA mixture found on the

      panties contained a second unknown contributor—they almost certainly would have

      found at least a reasonable doubt as to Mr. Cruz-Garcia’s guilt. Therefore, Mr . Cruz-

      Garcia is entitled to relief under Article 11.073.

         B. Mr. Cruz-Garcia Is Entitled to a New Trial Because His Conviction Was
            Based on False, Misleading, and Scientifically Invalid Testimony
             Additionally, Mr. Cruz-Garcia is entitled to a new trial under Ex parte Chabot ,

     300 S.W.3d 768, 770-71 (Tex. Crim. App. 2009) and Ex parte Chavez , 371 S.W.3d

     200, 207-08 (Tex. Crim. App. 2012 ). Specifically, the State violated Mr. Cruz-

     Garcia’s rights to a fair trial, to due process, and to avoid cruel and unusual

     punishment when it used false DNA evidence to secure his conviction and death

     sentence. Id. Because the factual basis—i. e. , the amended lab report   —under which
     Mr. Cruz-Garcia raises this claim was unavailable at the time he filed his Initial

     Application, this claim meets the strictures of Article 11.071, § 5 ( a)(1).

          1 . The Chabot/Chavez standard
            The Chabot/Chavez standard does not require proof that the State knew that

     the testimony at issue was false.      An applicant must only show “ whether the

     testimony, taken as a whole, gives the jury a false impression.” Chavez , 371 S. W.3d


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      at 208. The State denies due process where, as here, the State uses false testimony

      to obtain a particular sentence, regardless of the State ’ s intent. Estrada v. State, 313

      S. W.3d 274, 287-88 (Tex. Crim . App. 2010) ( citing, inter alia, Johnson v.

      Mississippi, 486 U.S. 578, 590 (1988) (finding death sentence based on “ materially

      inaccurate” evidence violates Eighth Amendment ); Townsend v. Burke , 334 U.S.

      736, 740-41 ( 1948) (finding conviction based on “materially untrue” information

      violates due process “ whether caused by carelessness or design”)); see also Chabot ,

     300 S. W.3d at 771. To be entitled to habeas relief on the basis of false evidence, an

     applicant must show that (1) false evidence was presented at trial; and (2) the false

     evidence was material to the jury’s verdict. Ex parte Weinstein , 421 S. W.3d 656,

     665 (Tex. Crim. App. 2014).

            When evaluating claims of false evidence in the post-conviction context, the

     Court of Criminal Appeals has, in two scenarios both inapplicable here, required that

     the defendant establish an additional burden—that the error was not harmless. See

     Ex parte Ghahremani, 332 S .W.3 d 470, 481 (Tex. Crim. App. 2011) ( describing the

     two scenarios). If the habeas applicant was unable to raise the issue at trial or on

     direct appeal , this additional burden does not apply. Id. at 481-82; Chabot , 300

     S . W.3d at 770-71 ; Ex parte Fierro , 934 S.W.2d 370, 374-75 (Tex. Crim . App. 1996).




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           2. Chabot/Chavez standard is satisfied
             a . The State relied on false testimony
             The primary evidence against Mr. Cruz-Garcia was the testimony of the

      State’s experts linking Mr. Cruz-Garcia’s sperm to a sexual assault and then to the

      murder. Mr. Cruz-Garcia has now shown that the testimony the State relied on to

      establish this vital link was false, misleading, and scientifically invalid.

             First, the State’s witnesses misled the jury by claiming that Mr. Cruz-Garcia

      was a contributor to the DNA mixture found on the vaginal swabs. Second, Mr.

      Quartaro misled the jury by claiming that Mr. Rodriguez, instead of an unknown

      assailant, must have been the second contributor to the DNA mixture found on the

      cutting of the panties. This testimony was false.

             In short, the DNA evidence that was reputedly inculpatory has since been

      amended and corrected , thereby rendering Mr. Quartaro’s and Ms. Head’s germane

     trial testimony false.

            b. False evidence was material to the jury’s verdict
            The false evidence was material to the State’s case, which resulted in the

     jury ’s guilty verdict. To show that the State’s presentation of false testimony is

     material, an “applicant has the burden to prove by a preponderance of the evidence

     that the error contributed to his conviction or punishment.” Chabot , 300 S.W.3d at

     771 ( quoting Fierro , 934 S. W. 2 d at 374-75 ). False testimony is material if there is

     a “ reasonable likelihood ” that it affected the judgment of the jury. “[A]n applicant

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      who proves, by a preponderance of the evidence, a due-process violation stemming

      from a use of material false testimony necessarily proves harm because a false

      statement is material only if there is a reasonable likelihood that the false testimony

      affected the judgment of the jury.” Weinstein; 421 S.W. at 665 (emphasis in

      original). The standard of materiality is the same for knowing and unknowing use

      of false testimony. See Chavez , 371 S.W.3d at 207.9 Thus, the question is whether

      it was reasonably likely that the DNA evidence affected the judgment of the jury.

      That effect was reasonably likely here.




             9
               Some opinions of this Court have questioned whether this materiality
      standard is too lenient on the petitioner for unknowing use of false testimony claims.
      See Weinstein , 421 S.W.3d at 669 (Keller, P.J., concurring); see also Ex parte
      Henderson , 384 S .W.3d 833, 835 (Tex. Crim. App. 2012) (Price, J., concurring)
      (agreeing with Presiding Judge Keller that “unknowing use of . . . false testimony”
     should have a “mid-level standard” of materiality, between the lenient standard for
     knowing use of false testimony and the “Herculean task” of proving bare actual
     innocence claims). This view, if adopted by a majority of this Court, would make
     the materiality standard for unknowing use of false testimony akin to the Brady
     standard. Under Brady , “the State violates a defendant’s right to due process if it
     withholds evidence that is favorable to the defense and material to the defendant’s
     guilt or punishment.” Smith v. Cain , 132 S. Ct. 627, 630 (2012) (citing Brady , 373
     U.S. 83, 87 ( 1963)). “[Ejvidence is ‘material ’ within the meaning of Brady when
     there is a reasonable probability that, had the evidence been disclosed, the result of
     the proceeding would have been different.” Id. “A reasonable. probability does not
     mean that the defendant ‘would more likely than not have received a different verdict
     with the evidence,’ only that the likelihood of a different result is great enough to
     ‘ undermine[ ] confidence in the outcome of the trial .’” Id. ( quoting Kyles v. Whitley ,
     514 U.S. 419, 434 ( 1995 )). Under either materiality standard , Mr. Cruz-Garcia was
     denied due process, as falsely inculpatory evidence certainly undermines confidence
     in the outcome of his trial .
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             As discussed above, the DNA evidence was the only physical , and only

      compelling, evidence linking Mr. Cruz-Garcia to the crime. There is a reasonable

      likelihood that the false DNA evidence affected the jury because that evidence

      suggested a degree of certainty about guilt that was otherwise absent. The false

      DNA evidence plainly contributed to the jury’s verdict.

             The Court of Criminal Appeals has found it proper to reverse convictions

      when a jury was misled because an expert espoused an unreliable scientific theory

      or other factors rendered the expert’s testimony unreliable. See, e.g., Ex parte Graf ,

      AP-77003, 2013 WL 1232197 (Tex. Crim. App. Mar. 27, 2013) (expert testimony

      is deemed false where critical aspects of the testimony are disproven); Ex parte

      Henderson , 384 S.W.3d 833, 835 (Tex. Crim. App. 2012) (Price, J., concurring)

     (stating that due process is violated where a critical part of an expert’s testimony is

     shown to be “highly questionable” ); id. at 849-50 (Cochran, J., concurring) (stating

     that due process is violated where expert opinion on critical disputed issue is shown

     to be unreliable).

            Where false testimony essentially cut off Mr. Cruz-Garcia’s only defense to

     the murder, there is a reasonable likelihood that the false testimony could have

     affected the judgment of the jury, and a new trial should be granted. See Ex parte

     Robbins , 360 S. W.3d 446, 459 (Tex. Crim. App. 2011 ).




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             c. Mr. Cruz- Garcia need not prove the error was “ not harmless” because
                this Chabot claim could not have been made at trial or on direct appeal
             Mr. Cruz-Garcia has no obligation to prove that the error in using the false

      DNA evidence was not harmless because he had no means to raise this claim in the

      trial court or on direct appeal . See Ghahremani , 332 S. W.3d at 481-82; cf Fierro ,

      934 S.W.2 d at 375 (expressly limiting holding to situations where the habeas

      applicant could have raised the issue on direct appeal because he knew about the

      false testimony from the outset).

             Mr. Cruz-Garcia had no way of knowing at trial or during his direct appeal

     that the DNA evidence about which Mr. Quartaro and Ms. Head testified at trial was

     false. He only obtained this information when post-conviction counsel received an

     amended lab report from the Harris County District Attorney’s Office on November

     3, 2015—over two years after sentencing and over a year after the brief was filed in

     his direct appeal. Ex. B; Ex. C at 1 .

            Here, as in Ghahremani , Mr. Cruz-Garcia could not have raised the matter at

     trial or on appeal . Therefore, he need only show materiality, not that the error was

     harmful . And because Mr. Cruz-Garcia has established that ( 1 ) the State relied on

     false evidence to obtain his conviction ; and (2) the false evidence was material , he

     is entitled to habeas relief under Chabot .




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                                   V.   PRAYER FOR RELIEF
             For the foregoing reasons, Mr. Cruz-Garcia prays that this Court:

             1 . Find that the requirements of Section 5 of Article 11.071 have been

                satisfied;

             2. Issue an order remanding the case to the convicting court for an evidentiary

                hearing for the purpose of examining the merits of these claims; and

             3. Grant any other relief that law or justice requires.

                                                     Respectfully submitted,


      DATED:         May 2, 2016                                  /s/ Benjamin Wolff
                                                                    Benjamin Wolff




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      STATE OF TEXAS                    §
      COUNTY OF TRAVIS                  §

      VERIFICATION

             BEFORE ME, the undersigned authority, on this day personally appeared
             Gretchen Sween , who upon being duly sworn by me testified as follows:


                     1.    I am a member of the State Bar of Texas.

                     2.    I am the duly authorized attorney for Obel Cruz-Garcia, having
                     the authority to prepare and to verify Mr. Cruz-Garcia’s Subsequent
                     Application for Post-Conviction Writ of Habeas Corpus.

                     3.      I have prepared and have read the foregoing Subsequent
                     Application for Post-Conviction Writ of Habeas Corpus, and I believe
                     all allegations in it to be true to the best of my knowledge.

                     Signed under penalty of perjury:


                                                      Gretchen S. Sween

            SUBSCRIBED AND SWORN TO BEFORE ME on May 2, 2016.




                                                  —   NCtary Public, Stab of Texas



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                                                                 ADRIAN DCUNOtA

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                             CERTIFICATE OF COMPLIANCE
             This pleading complies with Tex. R. App. P. 9.4 . According to the word count
      function of the computer program used to prepare the document, the brief contains
      6, 181 words excluding the items not to be included within the word count limit.

                                                                     /s/ Gretchen S. Sween
                                                                         Gretchen S. Sween

                                CERTIFICATE OF SERVICE
      I, the undersigned, declare and certify that I have served the foregoing Subsequent
      Application for a Writ of Habeas Corpus to:

      Paula Gibson
      Criminal Post-Trial
      Harris County District Clerk
      1201 Franklin Street, 3 rd Floor
      Suite 3180
      Houston, TX 77002

     Harris County District Attorney
     c/o Lori DeAngelo
     1201 Franklin
     Suite 600
     Houston, TX 77002

     Court of Criminal Appeals
     201 W. 14th Street
     Austin, Texas 78701

     Obel Cruz-Garcia
     TDCJ # 999584
     TDCJ Polunsky Unit
     3872 FM 350 South
     Livingston , TX 77351

         This certification is executed on May 2, 2016, at Austin , Texas.

                                                                    /s/ Gretchen S. Sween
                                                                        Gretchen S. Sween
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               TEXAS FORENSIC
                 SCIENCE COMMISSION
           |Justice Through Science
                 1700 North Congress Ave., Suite 445
                 '




                 Austin , Texas 78701



      August 21, 2015


             Members of the Texas Criminal Justice Community:

             This letter provides notification to the community regarding an issue of potential concern
      to judges, criminal prosecutors, criminal defense lawyers, victims and defendants in the Texas
      criminal justice system. The concerns involve the interpretation of DNA results where multiple
      contributors may be present, commonly referred to as DNA mixture interpretation. The attached
      document details tire origin and scope of the concerns.

              While the Commission assesses the issues described in the attached document, we
      recommend any prosecutor, defendant or defense attorney with a currently pending case
      involving a DNA mixture in which the results could impact the conviction consider requesting
      confirmation that Combined Probability of Inclusion/Exclusion (referred to as “CPI” or “CPE”)
      was calculated by the laboratory using current and proper mixture interpretation protocols. If the
      laboratory is unable to confirm the use of currently accepted protocols for the results provided,
                                              -
      counsel should consider requesting a re calculation of CPI/CPE.

           The extent to which any closed criminal cases may require re-analysis will be a subject of
      Commission review and subsequent notification to the stakeholder community.

             If you have any questions regarding these issues, please contact the Commission’s
      general counsel, Lynn Garcia, at 512-936-0649 or lynn.garcia@fsc.texas. gov.


                                                          Sincerely,



                                                          Vincent J.MrDi Maio, Ml
                                                          Presiding Officer




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                    Unintended Catalyst: the Effects of 1999 and 2001 FBI STR Population Data
                      Corrections on an Evaluation of DNA Mixture Interpretation in Texas

               1 . FBI Data Corrections: What Do They Mean?

              In May 2015, the Federal Bureau of Investigation (“FBI”) notified all CODIS laboratories it
      had identified minor discrepancies in its 1999 and 2001 STR Population Database. Laboratories across
      the country have used this database since 1999 to calculate DNA match statistics in criminal cases and
      other types of human identification . The FBI attributed the discrepancies to two main causes: (a)
      human error, typically due to manual data editing and recording; and ( b) technological limitations (e.g
      insufficient resolution for distinguishing microvariants using polyacrylamide gel electrophoresis), both
      of which were known limitations of the technology. The FBI has provided corrected allele frequency
      data to all CODIS laboratories .

             In May and June 2015, Texas laboratories notified stakeholders (including prosecutors, the
      criminal defense bar and the Texas Forensic Science Commission) that the FBI allele frequency data
      discrepancies were corrected . The immediate and obvious question for the criminal justice community
      was whether these discrepancies could have impacted the outcome of any criminal cases. The widely
      accepted consensus among forensic DNA experts is the database corrections have no impact on the
      threshold question of whether a victim or defendant was included or excluded in any result. The next
      questions were whether and to what extent the probabilities associated with any particular inclusion
      changed because of the database errors.

           The FBI conducted empirical testing to assess the statistical impact of the corrected data. This
   testing concluded the difference between profile probabilities using the original data and the corrected
   data is less than a two-fold difference in a full and partial profile. Testing performed by Texas
   laboratories also supports the conclusion the difference is less than two-fold. For example, in an
   assessment performed by one Texas laboratory, the maximum factor was determined to be 1.2 fold. In
   other words, after recalculating cases using the amended data, the case with the most substantially
   affected Combined Probability of Inclusion/Exclusion (“CPI”) 1 statistical calculation (evaluated for a
   mixed sample) changed from a 1 in 260, 900,000 expression of probability to a 1 in 225,300,000
   expression of probability.

        Amended allele frequency tables are publicly available for anyone to compare the calculations
  made using the previously published data and the amended allele frequencies, though expert assistance
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  may be required to ensure effective use of the tables.

              2. The Impact of FBI Database Errors on DNA Mixture Interpretation Using CPI

        —As part of their ongoing commitment to accuracy, integrity and transparency, many Texas
  laboratories offered to issue amended reports to any stakeholder requesting a report using the corrected
  FBI allele frequency data . Some prosecutors have submitted such requests to laboratories, particularly
  for pending criminal cases. As expected, the FBI corrected data have not had an impact exceeding the

  1
    The Combined Probability of Inclusion/Exclusion is commonly referred to as either “ CPI ” or “ CPE.” They are referred to
  jointly in this document as “CPI ” for ease of reference .
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      https : / /www. fbi . gov/about - us/lab/biometric-analysis/codis/amended - fbi str-final -6- 16- 15. pdf




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   two- fold difference discussed above. However, because analysts must issue signed amended reports
   with the new corrected data, they may only issue such reports if they believe the analyses and
   conclusions in the report comply with laboratory standard operating procedures. For cases involving
   DNA mixtures, many laboratories have changed their interpretation protocols and related procedures
   using CPI . To reiterate, changes in mixture interpretation protocols are unrelated to the FBI allele
   frequency data corrections discussed above. However, when issuing new reports requested because of
   the FBI data corrections, the laboratory ’s use of current mixture protocols may lead to different results
   if the laboratory had a different protocol in place when the report was originally issued. Changes in
   mixture interpretation have occurred primarily over the last 5- 10 years and were prompted by several
   factors, including but not limited to mixture interpretation guidance issued in 2010 by the Scientific
   Working Group on DNA Analysis (“SWGDAM”) .

            The forensic DNA community has been aware of substantial variance in mixture interpretation
   among laboratories since at least 2005 when the National Institute of Standards and Technology
   (“NIST”) first described the issue in an international study called MIX05. Though NIST did not
   expressly flag which interpretation approaches were considered scientifically acceptable and which
   were not as a result of the study, it has made significant efforts to improve the integrity and reliability
   of DNA mixture interpretation through various national training initiatives. These efforts have
   ultimately worked their way into revised standard operating procedures at laboratories, including
   laboratories in Texas. Based on the MIX05 study, we know there is variation among laboratories in
   Texas and nationwide, including differences in standards for calculation of CPI that could be
   considered scientifically acceptable. However, we also know based on a recent audit of the
   Department of Forensic Sciences (“DFS”) in Washington, DC that some of the “variation” simply does
   not fall within the range of scientifically acceptable interpretation. This finding does not mean
   laboratories or individual analysts did anything wrong intentionally or even knew the approaches fell
   outside the bounds of scientific acceptability, but rather the community has progressed over time in its
   ability to understand and implement this complex area of DNA interpretation appropriately.

          While in many cases the changed protocols may have no effect, it is also possible changes to
  results may be considered material by the criminal justice system, either in terms of revisions to the
  population statistics associated with the case or to the determination of inclusion, exclusion or an
  inconclusive result. The potential range of interpretive issues has yet to be assessed, but the potential
  impact on criminal cases raises concerns for both scientists and lawyers. We therefore recommend any
  prosecutor, defendant or defense attorney with a currently pending case involving a DNA mixture in
  which the results could impact the conviction consider requesting confirmation that CPI was calculated
  by the laboratory using current and proper mixture interpretation protocols. If the laboratory is unable
  to confirm the use of currently accepted protocols for the results provided, counsel should consider
  requesting a re -analysis of CPI.

          The Texas Forensic Science Commission is currently in the process of assembling a panel of
  experts and criminal justice stakeholders to determine what guidance and support may be provided to
  assist Texas laboratories in addressing the challenging area of DNA mixture interpretation. In
  particular, a distinction must be made between acceptable variance in laboratory interpretation policies
  and protocols and those approaches that do not meet scientifically acceptable standards. An emphasis
  on statewide collaboration and stakeholder involvement will be critical if Texas is to continue to lead
  the nation in tackling challenging forensic problems such as those inherent in DNA mixture
  interpretation.



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Joanne Heisey

From:                              DeAngelo, Lori < DEANGELO_ LORI@ dao.hctx.net >
Sent:                              Tuesday, November 03, 2015 10:02 AM
To:                                Joanne Heisey
Attachments:                       105758592 - 2010-11899 - 5 - DNA.PDF


Hi Joanne. The trial prosecutor in Obel Cruz -Garcia received the attached amended DNA report earlier this morning and
asked that I get it to his writ attorney.

Also, I eventually plan on filing an extension for my answer - the 120 days is up New Year's Eve. I will be asking for a 60-
day extension, which would be February 29, 2016. Please let me know if you have any objection to this.

And while I'm thinking about it, our phone numbers changed office wide. My direct line is 713 -274-5986.

Thank you,
Lori




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                                         Houston Forensic Science Center
                                                      Forensic Analysis Division
                                                            Biology Section
                                                1200 Travis Street, Houston, Texas 77002
                                                             (713) 308-2600
                                                                                                                                       FORENSICTESTING
                                                                                                                                         ISO/1EC 17025

             Incident Number:               105758592
                                                                                       Report Date :                             November 03, 2015
  Forensic Case Number:                      2010- 11899


                                                   Amended Laboratory Report #5
The report dated October 18, 2010 (OLO Supplement #84) has been amended with corrections and/or
additions. Under Results and Interpretations, the statistics fontem HP07-0014-01 and HP07-0014-07 (sperm
fraction) have been changed to reflect an update to the FBI Popstats database, and the source statement has
been removed. The conclusion for Item HP07 -0014-02 (sperm fraction) has changed to reflect current
interpretation guidelines. A conclusion for item 3.1 has been added. The note statement for loci D2S1338 and
D19S433 has been removed. The assigned analyst has changed from Courtney Head to Robin Guidry. The
original report is available at the Houston Forensic Science Center upon request.



                   Offense: Murder                     Previous Analysis:             Genetic Design DNA Report dated February 4,
                                                                                      1993; Genetic Design DNA Report dated February
                                                                                      23, 1994; Orchid Cellmark DNA Report HP07 -
                                                                                      0014, dated November 27, 2007; Orchid Cellmark
                                                                                      DNA Report HP07-0014-A, dated December 31,
                                                                                      2007; Orchid Cellmark DNA Report HP07-0014-B,
                                                                                      dated July 25, 2008; Orchid Cellmark DNA Report
                                                                                      HP07-0014-C, dated April 20, 2011; Orchid
                                                                                      Cellmark DNA Report HP07-0014-D, dated June
                                                                                      15, 2011; Laboratory Reports dated November 16,
                                                                                      1992 (OLO Supplement #28), December 1 , 1992
                                                                                      (OLO Supplement #31), May 13, 1993 (OLO
                                                                                 ,    Supplement #33) , February 24, 1994 (OLO
                                                                                      Supplement #37), December 10, 2007 (OLO
                                                                                      Supplement #48) , October 18, 2010 ( OLO
                                                                                      Supplement #84) , January 13, 2011 , and June 25,
                                                                                      2013
   Requesting Officer: R . W.
                       Chappell
                                                                         Lab #:      L92-10367

ITEMS OF EVIDENCE:

       3                   Known buccal swabs - Obel Cruz-Garcia

       3.1                 Portion of known buccal swabs - Obel Criz-Garcia




   The Houston Forensic Science Center is accredited by ANSI-ASQ National Accreditation Board/FQS in the following forensic testing categories: Drugs ,
                                                          Toxicology , Biology and Firearms.
                                                                      Page 1 of 3
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        Incident Number:    105758592                                           Houston Forensic Science Center

   Forensic Case Number:    2010-11899 (5)                                      Report Date:       November 03 , 2015

    Item 3.1 was compared to the following DNA profiles previously reported by Orchid Cellmark in Report
    HP07-0014, dated November 27, 2007:

    HP07-0014-01: Cigar
    HP07-0014-02: Vaginal swabs from Diana Garcia (sperm fraction)
    HP07-0014-07: Panties: crotch - red from Diana Garcia (sperm fraction)
RESULTS AND INTERPRETATIONS:
The DNA was extracted and amplified using polymerase chain reaction (PCR) . The following STR loci were
analyzed: D8S1179, D21S11, D7S820, CSF1PO, D3S1358, TH01, D13S317, D16S539, D2S1338 , D19S433,
vWA, TPOX, D18S51, D5S818, and FGA, along with the sex determining marker Amelogenin.

 HP07- 0014-01 ( Cigar)
 A full, single-source male DNA profile was obtained from this item. OBEL CRUZ-GARCIA cannot be excluded
 as a possible contributor to the DNA profile obtained from this item. The probability that a randomly chosen
 unrelated individual would be included as a possible contributor to this DNA profile is approximately 1 in 6.0
 quintillion for Caucasians, 1 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest
 Flispanics.

 HP07-0014-02 ( Vaginal swabs from Diana Garcia ( sperm fraction ) )
 A mixture of DNA from at least three individuals, at least one of whom is male, was obtained from this item.
 No conclusions will be made given the excessive number of contributors to this DNA mixture.

 HP07-0014-07 (Panties: crotch - red from Diana Garcia ( sperm fraction))
 A mixture of DNA from at least two individuals, at least one of whom is male, was obtained from this item.
 OBEL CRUZ-GARCIA cannot be excluded as a possible contributor to the major component of this DNA
 mixture. The probability that a randomly chosen unrelated individual would be included as a possible
 contributor to the major component of this DNA mixture is approximately 1 in 6.0 quintillion for Caucasians, 1
 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest Flispanics. No conclusions will
 be made regarding the minor component of this DNA mixture due to insufficient data.

 Item 3.1 ( Portion of known buccal swabs - Obel Cruz-Garcia)
 A full, single-source male DNA profile was obtained from this item.

DISPOSITION:
All DNA extracts and any remaining portions are being retained in the laboratory. Any other items will be returned
to the submitting agency.




 Robin Guidry
 Supervisor - Forensic Biology
 Assigned Analyst
                                              The prosecutor and defense counsel may obtain additional
documents related to this case by submitting  a request to Triaqe@FloustonForensicScience.orq . Requests
should state the requestor’s connection to the case and include full contact information.




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                   Incident Number:            105758592                                                                Houston Forensic Science Center

         Forensic Case Number:                 2010-11899 (5)                                                           Report Date:             November 03 , 201, 5



           Case
                      D8S1 I 79     D 21S1 I     D7S820      CSF 1 PO       D3S 1358       TH01     D13S317   D16S539       D 2S1338   D19S433    vWA      TPOX   DI 8S51   Amel   D 5S8 I 8   FGA
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          Obel
          Cruz-
          Garcia

     SF=Sperm Fraction; EF=Epithelial Fraction,
      NR = No interpretable result ; ( ) = Minor allele; A = Allele below stochastic threshold
     - = Allele below stochastic threshold, but suitable for statistics, assuming single - source
     INC = Inconclusive/activity that could not be confirmed as real or artifactual




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                           AFFIDAVIT OF JOSE MARTIN VALDEZ

       I , Jose Martin Valdez, state and declare as follows:

           1. My name is Jose “Joe” Valdez. I have known Obel Cruz-Garcia since
               around 1989. I have always known Obel by his nickname, Chico .
           2 . I was the first one in my family to meet Chico. I met him through another
               friend when we all went out to eat. That first time we hung out, we just
               really got along. After that we started hanging out often. I would say we
               hung out almost every day. After I got locked up, Chico started talking to
              my brother Cesar.
          3. In the years leading up to the kidnapping of Angelo Garcia, I was friends
              with Diana Garcia and Arturo Rodriguez. I actually knew them before I
              met Chico. We lived in the same apartment complex for a while. Cesar and
              I would go over there sometimes and Diana would cook for us. She’d make
              us breakfast, lunch, and dinner sometimes. I did not know Chico at this
              time. I met him later.
          4. Diana and I would have sex together sometimes.         When I first started
              messing around with Diana, she was with Arturo. What happened was that
              she caught him messing around with another woman. She came to me and
              wanted to have sex, so we did . After that, we would have sex any chance
              we got, though it was hard because Arturo was around sometimes. Diana
              and I would often have sex, even though she was with Arturo . To my
              knowledge, Diana was also messing around with other guys, including
              Chico. I was not surprised that she was messing around with other guys. I
              found out about Chico and Diana messing around from my family. The
              time period that Chico and Diana were having sex was around the same
              time Angelo was kidnapped .


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               5. Chico was a good friend to me and my family . Back in those days, we
                   would not like to bring our friends around our family, but Chico was
                   different. He would come around. He treated my mom and dad with the
                   utmost respect . I remember he would come over and tell my parents, “Let ’s
                   go out to eat somewhere nice.” He would take them out to eat at these nice
                   restaurants. He would buy them gifts for Christmas. He treated my parents
                   like they were his parents. He was really good to them and very respectful.
                   He would tell us to be respectful to them . Whenever I was in prison, Chico
                   would send me money for commissary. He was generous like that with
                  everyone. I believe he paid for Diana and Arturo’s phone.
              6. After Angelo was kidnapped, I was interviewed by some detectives from
                  the Houston Police Department, but I was never contacted or interviewed by
                  anyone on Chico’s defense team .       Had I been interviewed by Chico’s
                  defense team , I would have told them everything that I have stated in this
                  affidavit and would have testified if they had asked me to be a witness.
              7. I have read and reviewed this two- page affidavit.


              I declare under penalty of perjury under the laws of the State of Texas that the
              foregoing is true and correct to the best of my knowledge and that this affidavit
              was executed  onOjQj &f 2o , 2015 in mrfyk
                                                                      ^
                                                                        Houston , Texas.


                                                    jtiJL
                                                    se Martin Valdez

          Subscribed and sworn to before me on                   , 2015.




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C_^  _    Notary Public, State       exas
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                           AFFIDAVIT OF CESAR AMADO RIOS

      I, Cesar Amado Rios, state and declare as follows:

         1. My name is Cesar Amado Rios. I have known Obel Cruz-Garcia since
             around 1990 or so. We got to know each other through mutual friends. I
             have always known Obel by his nickname, Chico.
         2. At the time that Angelo Garcia was kidnapped, I knew Chico well. I had
             lived with him and his wife, Angelita, when they lived in an apartment
             called the Willow Creek Apartments. I lived there for a year or two around
             1992. I also knew Diana Garcia and Arturo Rodriguez and Diana's son ,
             Angelo.
         3. Around the time Angelo was kidnapped, Chico was having an ongoing
             sexual relationship with Diana. Other people knew about it as well. On the
             day Angelo was kidnapped, Chico was over at Diana’s apartment earlier in
             the day.
         4. I remember I saw Chico that morning, the day it all happened. Later that
             night, Chico called me and asked me to go to Diana 's house. This happened
             before the kidnapping occurred. Chico told me to go get some stuff out of a
            safe and take it to a motel off of 225. When I got back to the apartment, the
            cops were there. Diana told me later that the kidnapping happened right
            after 1 left, because she thought it was me at the door, like I had walked out
            and was trying to coming back inside.
        5. I heard that the people who did this ransacked Diana and Arturo’s
            apartment, like they were looking for something.        That’s why I never
            understood why people thought Chico was involved. He knew I had already
            gone over and moved the stuff from the safe, so if it were him he would not
            have had any reason to look for something else.



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          6. Chico had a big heart and was a good friend to me. He was close to my
              parents and would do anything to help them out. He was really respectful
              and treated us like family. He bought me my first car. It was a 1983 Buick
              Regal that he gave me as a gift.
          7. I was shot three times with a twelve gauge shotgun in 1991. I was shot in
              the arm and the back. I called Diana, and Diana called Chico. Diana came
              to pick me up at my friend ’s place where I had run after I got shot. Diana
             drove me to the hospital and Chico met us at the hospital . The first hospital
             said they had to amputate my arm, but Chico said no . We ended up going
             to Southeast Memorial Hospital, and they said they could save my arm . But
             I did not have insurance. Chico said he would take care of it. He put down
             the title of his car and went and got some money, and he told the hospital to
             operate.
         8. After Angelo was kidnapped, I was interviewed by some detectives from
             the Houston Police Department. I remember talking to one person on the
             defense team briefly, but I never spoke with them again after that. I was
             around and would have been happy to help Chico. I was available to testify
             during Chico’s trial in July 2013.      Had I been interviewed by Chico’s
             defense team, I would have told them everything that I have stated in this
             affidavit and would have testified to the same had I been called as a witness.




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         9. I have read and reviewed this three- page affidavit .


         I declare under penalty of perjury under the laws of the State of Texas that the
         foregoing is true and correct to the best of my knowledge and that this affidavit
         was executed on ( XoyA g - \ . 2015 in
                                                  ^              , Houston, Texas.




                                             Cesar Amado Rios




     Subscribed and sworn to before me on                      2015.



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                              AFFIDAVIT OF HECTOR SAAVEDRA

      I, Hector Saavedra, state and declare as follows:

          1 . My name is Hector Saavedra. I was bom                         |. I am thirty-
              seven years old. I currently work at Pioneer Waste Services. I have been
              working there for about three years.
          2. I knew Obel Cruz-Garcia through my brother, Cesar. Rios. I first met Obel
              in or around 1990 when I was about thirteen years old. My brother and I
             always called Obel by his nickname, “Chico.” I knew Obel well when I
             was thirteen to fifteen years old .
         3. When I was about fourteen years old, in 1991, my brother Cesar got shot in
             the arm. I was asleep when it happened because I had school the next day.
             Obel was not with Cesar when he got shot, but he came with us when we
             took him to the hospital. At the first hospital we went to, they told us that
             they probably would have to amputate Cesar’s arm. Obel was shocked and
             told us that we needed to go to a different hospital for a second opinion .
             Cesar and I both told Obel that, either way, we did not have the money to
             pay for Cesar’s treatment. Obel told us not to worry about it. We went to
             another hospital , Memorial Hermann Southeast Hospital , off of Scarsdale
             Boulevard , where they were able to treat Cesar without needing to
             amputate. As he promised , Obel paid for Cesar’s treatment and hospital
             bills.   It was not even that he had that much money lying around - I
             remember Obel saying that he would sell one of his cars, if he had to, to pay
             for Cesar ’s medical bills. He just treated us like family. I remember seeing
             all this firsthand , as a child , in the hospital.
        4. Obel was really good about helping out with our parents. For example,
            sometimes when Obel would go to the grocery store, he would pick up milk


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              and food to drop off with my family . It was a way of showing respect for
              our parents because we were so close, like family, in the same way that my
              family would bring food when we would go to visit our relatives in Mexico.
              Obel was like a family member. He would come over and eat with us. He
              was very respectful and very supportive of me and my family.
          5. Obel also seemed to take a personal interest in me and my wellbeing, like a
              little brother. He would ask me about school and football. I know he didn’t
              have family here, so I think we were like his family while he was here.
             Obel would always tell me to study, and he stressed how important it was
             for me to pay attention and do well in school. When I got a report card,
             Obel would want to see it to make sure I had good grades. If I earned good
             grades, Obel would reward me with pocket-money or a gift. If I ever
             needed anything for school, like clothes or books, Obel would make sure to
             get it for me. Overall, I just knew Obel to be a great and generous person.
             He never asked for anything in return for all the good deeds he did for me
             and my family.
         6. Also around this time, I knew of Diana Garcia, her boyfriend Arturo, and
             her son Angelo. I knew that Diana was sleeping with my brother, Joe, and
             also that she was sleeping with Obel . Diana would come see Joe at the
             house where I lived, and I knew they were sleeping together. When Joe .
             went to jail, I knew that Diana and Obel were together.
         7. No one from Obel’s defense team ever contacted me to ask me about Obel.
             If they had , I gladly would have told them everything I know about what a
             good guy Obel was. I happily would have testified at trial, had I been
             asked.
         8. I have read and reviewed this three- page affidavit.



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          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on               2015 in VirCurCf, Cg  ,   , Houston, Texas .




                                             Hector Sevaadra




      Subscribed and sworn to before me ondiKKftA-     \3 . 2015.
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                   EXHIBIT 5




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                     IN THE COURT OF CRIMINAL APPEALS
                                 OF TEXAS
                               NOS. WR-85,051-02 AND WR-85,051-03 1



                           EX PARTE OBEL CRUZ-GARCIA, Applicant



         ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS
              FROM CAUSE NO. 1384794 IN THE 337 TH DISTRICT COURT
                              HARRIS COUNTY

             Per curiam.

                                                 ORDER

             These are post conviction applications for writs of habeas corpus filed pursuant to the

      provisions of Texas Code of Criminal Procedure article 11.071.2

             On September 30, 1992, applicant and Rogelio Aviles-Barroso (a.k.a. “Roger”),




             1
               WR-85,051-01 was a petition for writ of mandamus which we denied leave to
      file. Ex parte Cruz-Garcia, WR-85,051-01 (Tex. Crim. App. July 27, 2016)(not
      designated for publication).
             2
               Unless otherwise indicated, all future references to Articles refer to the Code of
      Criminal Procedure.



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                                                                                      Cruz-Garcia - 2


      donned masks and broke into the apartment of Diana Garcia and Arturo Rodriguez. Garcia

      and Rodriguez had recently informed applicant that they no longer wished to sell drugs for

      him. Applicant and Roger assaulted Rodriguez and sexually assaulted Garcia. Garcia’s six-

      year-old son            witnessed the assaults. Applicant grabbed             and took him to his

      car where Carmelo Martinez Santana (a.k.a. “Rudy”) was awaiting applicant’s and Roger’s

      return.

                Applicant drove Roger, Rudy, and             to a remote area in Baytown. Applicant

      then ordered Roger to kill               Roger and Rudy then hid                body in a nearby

      waterway while applicant looked on.

                The next day, on October 1, 1992, applicant cleaned out the interior of his car and then

      sold it to purchase an airline ticket to Puerto Rico. Applicant’s wife Angelita said that this

      trip was sudden and unplanned. Rudy drove applicant to the airport on October 2, 1992.

      Applicant was scheduled to appear in a Harris County District Court on October 8, 1992 on

      a pending case. Applicant failed to return for his court date and forfeited his bond.

      Applicant had never missed a court date before this time. The next time Angelita saw

      applicant was in the Dominican Republic when he confessed to her that he had killed

                   body was recovered in November 1992.

                In June 2013, a jury found applicant guilty of the offense of capital murder committed

      in the course of committing or attempting to commit kidnapping. At punishment, the jury

      answered the special issues submitted pursuant to Article 37.071, and the trial court,



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                                                                                   Cruz-Garcia - 3


      accordingly, set applicant’s punishment at death. This Court affirmed applicant’s conviction

      and sentence on direct appeal. Cruz-Garcia v. State, No. AP-77,025 (Tex. Crim. App. Oct.

      28, 2015)(not designated for publication). On August 28, 2015, applicant timely filed his

      initial writ in the convicting court.

             Applicant presents fourteen allegations in his application in which he challenges the

      validity of his conviction and resulting sentence. The trial court did not hold an evidentiary

      hearing, and it entered findings of fact and conclusions of law and recommended that the

      relief sought be denied.

             This Court has reviewed the record with respect to the allegations made by applicant.

      Claims 5 and 7 are procedurally barred because habeas is not a substitute for matters which

      should have been raised at trial or on direct appeal. Ex parte De La Cruz, 466 S.W.3d 855,

      864 (Tex. Crim. App. 2015); see also Ex parte Townsend, 137 S.W.3d 79, 81 (Tex. Crim.

      App. 2004) (holding that even a constitutional claim is forfeited if the applicant had an

      opportunity to raise the issue on appeal). Claim 9 is procedurally barred as it was raised and

      rejected on direct appeal. See Cruz-Garcia, slip op. at 53-58. Ex parte Acosta, 672 S.W.2d

      470, 472 (Tex. Crim. App. 1984).

             In the following claims, applicant contends that his trial counsel were ineffective for:

      (claim 1) failing to present evidence from a DNA expert to challenge the DNA evidence

      presented at trial; (claim 2) failing to investigate and present reasonable doubt at the

      guilt/innocence phase of trial regarding a consensual sexual relationship between applicant



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                                                                                     Cruz-Garcia - 4


      and Garcia, and whether Garcia and Rodriguez continued to sell drugs for applicant; (claim

      3) failing to investigate and present evidence that applicant would not be a future danger;

      (claim 4) failing to investigate and present mitigation evidence; (claim 6) failing to recognize

      the significance of applicant’s foreign nationality and seek the help of the Dominican

      Republic consulate in defending applicant’s case; and (claim 8) failing to investigate juror

      misconduct. In claim 7, as the underlying issue was procedurally barred, applicant contends

      that his appellate counsel was ineffective for failing to assert that his due process rights were

      violated by constitutional errors relating to the trial court’s ex parte discussion with a single

      juror. Applicant fails to meet his burden under Strickland v. Washington, 466 U.S. 668

      (1984). He fails to show by a preponderance of the evidence that his counsel’s representation

      fell below an objective standard of reasonableness and that the deficient performance

      prejudiced the defense. Id. at 689. In claim 10, applicant contends that trial counsels’

      cumulative deficient performance over the course of the trial prejudiced him. We have found

      no errors on the part of counsel. Rayford v. State, 125 S.W.3d 521, 534 (Tex. Crim. App.

      2003)(holding non-errors may not in cumulative effect cause errors).

             In claims 11 through 14, applicant challenges the constitutionality of various aspects

      of Article 37.071: that the punishment phase jury instructions restricted the evidence the jury

      could determine as mitigating, that the “10-12” rule is unconstitutional, that the first special

      issue is unconstitutionally vague, and that Texas’s capital punishment scheme is arbitrarily

      imposed. These claims have been repeatedly rejected by this Court and applicant raises




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                                                                                     Cruz-Garcia - 5


      nothing new to persuade us to reconsider those holdings. See Davis v. State, 313 S.W.3d

      317, 354-55 (Tex. Crim. App. 2010)(“10-12” rule, arbitrarily imposed capital punishment

      scheme); Coble v.State, 330 S.W.3d 253, 297 (Tex. Crim. App. 2010)(vague first special

      issue, restriction of evidence that can be considered mitigating).

                Based upon the trial court’s findings and conclusions and our own review, we deny

      relief.

                Applicant’s May 2, 2016 filing is a subsequent application that must be reviewed

      under Article 11.071, § 5(a). In his first claim, applicant argues that he is entitled to relief

      under Article 11.073 because the now-revised DNA results were not previously available to

      him. Article 11.073 §(b) provides (1) that applicant must show that (A) the relevant

      scientific evidence was not previously available, and (B) the evidence would be admissible

      at trial, and (2) had the evidence been presented at trial, on the preponderance of the evidence

      the person would not have been convicted. We have reviewed the claim. Applicant fails to

      meet the dictates of Article 11.073 §(b)(2).

                In his second claim, applicant contends that he is entitled to a new trial because his

      conviction was based on false, misleading, and scientifically invalid testimony. Under

      “Article 11.071, an original or subsequent application for a writ of habeas corpus must state

      specific, particularized facts which, if proven true, would entitle him to habeas relief.” Ex

      parte Staley, 160 S.W.3d 56, 63 (Tex. Crim. App. 2005). Here, to be entitled to due process

      relief on the basis of false evidence, applicant must show that the new evidence is material—




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                                                                                Cruz-Garcia - 6


      that there is a “reasonable likelihood that the false testimony affected the applicant’s

      conviction or sentence.” Ex parte Chavez, 371 S.W.3d 200, 207 (Tex. Crim. App. 2012).

      Applicant fails to make a prima facie showing that the new evidence is material to the

      outcome of his case.

             Accordingly, we dismiss applicant’s subsequent application as an abuse of the writ

      under Article 11.071 §5(a)(1) without reviewing the merits of the claims raised.

             IT IS SO ORDERED THIS THE 1st DAY OF NOVEMBER, 2017.


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                   EXHIBIT 6




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                              AFFIDAVIT OF STEVEN SHELLIST

       I , Steven Shellist, state and declare as follows:

           1.   My name is Steven Shellist. I graduated from the South Texas College of
                Law in 2002 and was admitted to the State Bar of Texas in 2003. My
                Texas State Bar number is 24039172. I worked in Harris County as an
                Assistant District Attorney for just shy of three years. I have practiced as a
                criminal defense attorney in private practice since 2006. My practice
                consists of handling both misdemeanor and felony, state and federal
                criminal cases. To date, I have taken over one hundred cases to trial,
                including several murder and capital murder cases.
           2.   In April 2010, Christian Capitaine and I were retained as counsel by Obel
                Cruz-Garcia to represent him in a prosecution for capital murder. Mr.
                Capitaine and I ultimately withdrew from the case in August 2011 after the
                State announced its intent to seek the death penalty, as Mr. Capitaine and I
                were not qualified to serve as counsel in a death penalty case.
          3.    In my representation of Cruz-Garcia, it became apparent immediately that
                DNA was the State’s key piece of evidence in this case. DNA evidence
                was the only physical evidence linking Cruz-Garcia to the crime.
                Therefore, we knew that evaluating the integrity of the DNA evidence
                would be crucial in determining whether or not Cruz-Garcia could be
                connected to the sexual assault of Diana Garcia and the kidnapping and
                subsequent death of her son . We learned from our investigation that when
                the DNA was initially handled by the Houston Police Department, a
                woman by the name of Dee Wallace had been involved in the process.
                Years later, Ms. Wallace was not only terminated from DPS, but also, I
                believe, sent to prison for tampering. We believed that a review       of   the




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                State’s handling and processing of the DNA evidence by an independent
                forensic DNA expert was necessary to render effective assistance of
                                              -
                counsel and to guarantee Cruz Garcia a fair trial.
           4.   To that end, Mr. Capitaine and I reached out to Dr. Elizabeth Johnson, a
                forensic scientist and DNA analyst, to consult with us about the DNA
                evidence in the case. Our intention was to have Dr. Johnson perform a
                review of the DNA testing already done and, if necessary, have the DNA
                evidence retested. We alerted the Court that we would be pursuing this
                angle and requested time to allow this investigation to take place. Dr.
                Johnson provided an affidavit in support of our Motion for Continuance,
                filed in January 2011, setting out the time that she herself would need to
                perform that work.
           5.   Mr. Capitaine and I withdrew from the case before Dr. Johnson had an
                opportunity to perform a review of the DNA evidence. Had we remained
                on the case, and had Dr. Johnson conducted a review that produced helpful
                results, we would have used that information to attempt to suppress the
                DNA evidence.        Alternatively, we would have either presented Dr.
                Johnson as a witness at trial or continued to consult with her for assistance
                in our cross-examination of the State’s witnesses pertaining to DNA.
          6.    When Mr. Capitaine and I withdrew from the case, we told Cruz-Garcia’s
                new counsel, Skip Cornelius, that we would be happy to consult with him
                about the case and share our thoughts and ideas for Cruz-Garcia’s defense.
                However, Mr. Cornelius only wanted our files and declined to consult with
                us about the case.
           7.                                         -
                I have read and reviewed this three page affidavit.




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             I declare under penalty of perjury under the laws of the State of Texas that the
             foregoing is true and correct to the best of my knowledge and that this affidavit
             was executed on July                ,   2015 in Houston , Harris County, Texas.




                                                           Steven/SheUist




          Subscribed and sworn to before me on July              3l   ,   2015.




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                         December 26 , 2016




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                   EXHIBIT 7




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                                                                                      Show only one defendant per claim.                                         U X
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                      UNDER ARTICLE 26 05, CODE OF CRIMINAL PROCEDURE
                                                                                      Before payment can be authorized, each item must be completed JcMbly
                                                                                      For iuvesligatiujiS, paid bills must be submitted by the attorney for expenses
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                                                                                        - C/Mz^ LM^Ai
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              that he may rely upon the information contained above make payment according to the fee schedule adopted by the    '




              Board of District Judges Trying Criminal Cases pursuant to Article 26.05 Code of Criminal Procedure effective
              January 1, 2002 . I further swear or affirm that I have not received nor will receive any money or anything else of
              value for representing the accused, except as otherwise disclosed to the Court in writing.

              SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE                                                           iQ-       AY OF                 .                A. D. 20


              Approved                                $Md
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                                                                   Judge, Presiding                                                                         Attorney at Law (Signature)

                                             District Clerk Deputy (Signature)                               7                                            Attorney Name ( print legibly)

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EXHIBIT 7 Page001
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                                                                        Page   of 52
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                                                             IN CAMERA
                                                                                             »   r
                                                              NO. 1384794

       THE STATE OF TEXAS                                        §               IN THE DISTRICT COURT OF
                                                                 §
       V.S,                                                      §               HARRIS COUNTY , TEXAS
                                                                 §
       OBEL CRUZ-GARCIA                                          §               337TH JUDICIAL DISTRICT
                                                                         /
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                                                                             -

               DEFENDANT’S MEMORANDUM FOROUT OF COURT EXPENSE OF

                                                CRIMINAL INVESTIGATION

      TO THE HONORABLE JUDGE OF SAID COURT:
                                                               0 >!
                                                                 ’


       Please find the following:
                                                           & % mitigation investigation.             $3,194.76
              1.      Invoice from investiggftoyifor

              2.      Second invoice frorn investigator for mitigation investigation.                $4.174,83
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       purposes of mitigation);;
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      (These are separate invo | for expenses incurred investigating the crimes only and not for
                                        r




                                                                                 RespectfullyjiubmiUed,




                                                                                 R.P. CORNELIUS
                                                                                 2028 Buffalo Terrace
                                                                                 Houston, Texas 77019
                                                                                 (713) 237-8547
                                                                                 State Bar No. 04831500

                                                                                 COURT APPOINTED
                                                                                 ATTORNEY FOR DEFENDANT




EXHIBIT 7 Page003
                                                                                                                 000842
      Case 4:17-cv-03621
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                             Document 18-7Filed onon
                                             Filed 01/05/23 in TXSD
                                                     07/01/19  in TXSDPage 847
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                                                                             4 of 1028




                                                   NO. 1384794

       THE STATE OF TEXAS                             §                     IN THE DISTRICT COURT OF
                                                      §
       v.s.                                           §                     HARRIS COUNTY, TEXAS
                                                      §
       OBEL CRUZ-GARCIA                               §                     337TH JUDICIAL DISTRICT
                                                ORDER                       #
               On this           day of                    201
                                                            |       |
                                                               r « Mhe on to be heard DEFENDANT’S IN
       CAMERA MOTION FOR OUT OF COURT EXPENSE FOR CRIMINAL INVESTIGATION and




                                                                                    —
                                                                '

                                                                    S'
       it is the Order of the Court that said motion shoulcfbe granted.

               It is the Order of the Court that an amount of            AvG?   /       ~LTis approved for out of court

                                                    m
       expenses consistent with this motion. If additional funds are needed trial counsel is directed to make

       an additional request ,




                                                                    Judge, 337th District Court*
                                                                    of Harris County, Texas




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EXHIBIT 7 Page004
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      Case 4:17-cv-03621
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                                                                        Page   of 52
                                                                             5 of 1028
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    Gradoni & ..                                                                   Professional Investigative Services
  Associates                                                                                       Sr/i re License AS 741




       BILL TO
     Skip Cornelius                                                       -   4'
     2028 Buffalo Terrace
     Houston, Texas 77019                                           0
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                                                                                             Invoice

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                                  DESCRIPTION                                                   AMOUNT
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   FOR PROFESSIONAL SERVICES

 Re: State of Texas vs. Obel Cruz-Garcia
     Cause #1289189, 1289188, 1181910|   ,|7th District Court
     Our File #12 05 -
                 - 0266, Statement #1 J 1
                                           AT
 Description of Activity:
 See Attached Affidavit
                                  >
                                  r
                                      0'
 Services:                       &    T
 71.60 hours @ $40.00 per hour ,                                                                            2, 864.00
                            rv:
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 Expenses:
 278 miles @ . 555 per mile                                                                                    154.29
 Clerical                                                                                                       12.90
 Long distance                                                                                                  59.47
 Word Processing                                                                                                63.10
 Computerized searches                                                                                          41.00

    Subtotal                                                                                                3,194.76
 Tax Exempt                                                                                                     0.00




 Payment due upon receipt . Thank you !
                                                                                   Total                 $3, 194.76


 2611 Cypress Creek Pkwy, Suite C100 • Houston , Texas 77068             • (281) 440-0800     • Fax (281) 440-0208



EXHIBIT 7 Page005
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      Case 4:17-cv-03621
        Case  4:17-cv-03621Document 89-4
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                                             Filed 01/05/23 in TXSD
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                                                                             6 of 1028




                          HARRIS COUNTY CRIMINAL APPOINTMENT "
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          Attorney: R.P. Cornelius

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          Defendant: Obel Cruz Garcia

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                     Prepare for Jail Interview witH Defendant        2.90
                                                   o
          5/30/12    Jail Interview with Defendant), Compile Report   3.25       46      5.00
                                            feP
          6/1 /12    Phone Briefing with Attorney Regarding
                     Investigation                                    .50
          6/4/12     Conduct Interviews- with Defendant’s Relatives
                     in the Dominican Republic, Compile Reports       5.25

          6/6/12     Review Offense Report, Compile Case
                     Overview
                               ^  Attorney Detailing Witness
                     Statements and Evidence                          5.30

          6/6/12     Conflict Interviews with Defendant’s Relatives
                       Venezuela, Compile Reports
                     in                                               4.70

          6/8/12     Conduct Interviews with Defendant’s Relatives
                     in the Dominican Republic, Compile Reports       4.30

          6/11/ 12   Attempts to Make Phone Contact with
                     Defendant’s Relatives in the Dominican
                     Republic, Start Documentation of Defendant’s
                     Family Tree, Compile Reports                     3.90

          6/12 /12   Conduct Interview with Defendant’s Father in
                     the Dominican Republic, Compile Report           3.10

          6/16/12    Jail Interview with Defendant, Compile Report    4.75       46      5.00




EXHIBIT 7 Page006
                                                                                                  000845
      Case 4:17-cv-03621
        Case  4:17-cv-03621Document 89-4
                             Document 18-7Filed onon
                                             Filed 01/05/23 in TXSD
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                                                                        Page   of 52
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                                                                                    \-
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          6/17/12     Review Offense Report, Conduct Database
                      Searches to Identify Current Addresses for State
                      Witnesses, Update Reports                        4.00 ' : }

          8/2/12      Telephone Conference with Medical Expert            u

                      Regarding Investigation, Compile Report            ;i5o
          8/25/12     Review Extraneous Offense Report, Compile
                      Case Overview for Attorney Detailing Witness
                      Statements and Evidence                  >
                                                                     -   4.25

          12/31/ 12   Review Work Product Provided by Fcfmi r
                                                               ^
                      Attorney in Order to Identify Investigative
                      Assignments, Update Reports for Trial              3.25

          1/1 /13     Field Work, Attempts to Make Contact with
                      Witnesses, Update Reports )V    .                  4.60       98

          1 /6/13     Phone Briefings with Defett$mt’s Psychologist      .75
          1 /14/13    Conduct Phone Interviews with Defendant’s
                      Relatives in the Dominican Republic, Compile
                      Reports                                            3.75

          2/12/13     Field Work, Attempt to Make Contact with
                      Witnesses                                          2.75       48

          3/24/13     Review All 'Reports for Trial Preparation , Make
                      Investighffyfe Assignments to Investigators for
                      Interviews                                         4.30

          Totals                                                         71.60 / 278/       10.0(P

                                                AFFIDAVIT

                  I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
          investigative firm, State License #A05741, do swear to and affirm, that the attached
          invoice/invoices, for services rendered are true and correct to the best of my belief and
          knowledge.




EXHIBIT 7 Page007
                                                                                                       000846
      Case 4:17-cv-03621 Document 89-4 Filed on 01/05/23 in TXSD Page      851 of 1028
               -cv-0 3621 Doc ume nt 18-7 Filed on 07/0 1/19 in TXSD Page 8 of 52
     Case 4:17



                                                                            •  4-
                                                                          authority, on this
                  SWORN TO AND SUBSCRIBED before me, the undersigned nd and seal of
                                                                       |
                                  , 2013, to certify, .which witness my;
       jggj
       office.^   day of
                                                                        h


                                                                      -
                           KAYLA KOENIG
                        My Commission Expires
                         September 13, 2016
                                                     NOTA
                                                     THES  m   EOI
                                                                  EIC INLAND FOR
                                                                       :AS
                                                     My Commission Expires :
                                                                                      ^




EXHIBIT 7 Page008                                                                              000847
      Case 4:17-cv-03621
        Case  4:17-cv-03621Document 89-4
                             Document 18-7Filed onon
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                                                                        Page   of 52
                                                                             9 of 1028
                                                                                                                                           z.


     Gradoni &.
   Associates
                                                                                                Pryf
                                                                                                       ^   ional Investigative Services
                                                                                                                    Stare License AS 741




       BILL TO
     Skip Cornelius
     2028 Buffalo Terrace
     Houston, Texas 77019
                                                                                                             Invoice

                                                                                                 DATE              INVOICE #

                                                                                               5/22/2013               17585


                                              DESCRIPTION                                                        AMOUNT
   FOR PROFESSIONAL SERVICES                               TINj

 Re: State of Texas vs. Obel Cruz-Garcia ( )
     Cause #1289189, 1289188, 1181910, 337th District Court
                     -
     Our File #12-05 0266, Statement #3
                                                       '



 Description of Activity:                          )


 See Attached Affidavit

 Services:                                  £f :
 87.70 hours @ $40.00 per hopr :                                                                                            3,508.00
                             •i (   "   :

 Expenses:
 916 miles @ .555 per mile                                                                                                     508.38
 Parking                                                                                                                        11.00
 Tolls                                                                                                                           4.10
 Word Processing                                                                                                                43.10
 Clerical                                                                                                                       14.25
 Computerized searches                                                                                                          86.00

   Subtotal                                                                                                                 4,174.83
 Tax Exempt                                                                                                                      0.00



 Payment due upon receipt. Thank you !                                                                                                7
                                                                                               Total                     $4, 174.83


  3611 Cypress Creek Pkwy, Suite ClOO                       Houston , Texas 77068   •   ( 281) 440-0800       • Fax (281) 440-0208


EXHIBIT 7 Page009
                                                                                                                                 000848
      Case
       Case4:17-cv-03621
             4:17-cv-03621Document
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                                                                      Page853
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                                                                                     '




                          HARRIS COUNTY CRIMINAL APPOINTMENT
                                  TIME & MILEAGE LOG
                                                         !
                                                           >                    ^        *


                                      Invoice #17585

          Attorney: R.P. Cornelius
                                                                           Vi
                                                                     A.

          Defendant: Obel Cruz-Garcia

          Cause #: 1289189. 1289188. 1181910 Court:337lh Statement #:           3

              Date                     Activity                      Time           Miles    Park   Tolls
          4 /7/13    Review Offense Report to Identify State \
                     Witnesses, Conduct Database Searches to
                     Obtain Current Address & Identify
                                                     | |
                                                         ^
                     History Backgrounds, Initiate Reports
                                                           ininal
                                                                     6.00

          4/8/ 13    Contacts with U .S. Marshall Service, Federal
                     Databases, Attempts to LocatfeWitness, Update
                     Report                    Ml                    1.75

          4/8/13     Meeting with Attomeylfo!' Updates Regarding
                     Guilt/Innocence & Mitigation investigations for
                     Trial Preparation (T&P Investigators)           3.80           40

          4/9/ 13    Phone Attempt feMake Contact with
                                     ^
                     Witnesses front Information
                                        <        Previously
                     Developed, Ifpdate Reports                      2.75

          4/11 /13   Contact tp Arrange Trip to Dominican
                     Republic ^^
                              fefake Reservations                    .80

          4/12/13    Review Extraneous Offenses, Identify
                     Witnesses, Conduct Database Searches to
                     Locate Current Address & Criminal History,      3.10
                     Update Reports

          4/ 17/13   Field Work, Attempts to Locate Witnesses,
                     Conduct 1 Interview, Compile Report             4.25           41

          4/19/13    Field Work, Attempts to Make Contact with
                     Witnesses, Conduct 2 Interviews, Compile
                     Reports                                         5.30           69

          5/ 1 /13   Field Work , Attempt to Locate Witnesses,
                     Update Reports                                  3.00           63




EXHIBIT 7 Paged 0
                                                                                                       000849
      Case
       Case4:17-cv-03621
             4:17-cv-03621Document
                           Document89-4
                                     18-7Filed onon
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                                                                 TXSDPage
                                                                      Page854
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                                                                                    Os
                                                                                    ll
          5/2/13      Meeting with Staff to Develop New Addresses
                      for Local Mitigation Witnesses                         U0 *   #
          5/2/13      Field Work, Attempts to Contact & Interview             m
                      Witnesses, Conduct Two Interviews, Compile
                      Reports                                               -6.30   88

          5/2/13      Jail Interview with Defendant, Compile Report         3.25    46            5.00

          5/3/13
                                                                   m
                      Field Work, Conduct Interview with Translator,
                                                                        .

                      Compile Report (Two Investigators)    4
                                                                ^,          6.40    51
                                                                   "




          5/6/13      Field Work, Attempts to Locate Witnesses
                      Update Reports                                        2.70    59

          5/15/13     Field Work, Attempts to Locate' Witnesses,
                      Compile Reports            '
                                                                            6.10    84
                                                 tyr
          5/16/ 13                           .
                      Conduct One Interview Compile Report                   1.60

          5/17/13     Field Work, Attempts Locate Witnesses,
                      Conduct 2 Interviews, Compile Reports                 6.15    70

          5/18/13     Field Work, Attempts to Locate Witnesses,
                      Update Reports  3
                                                                             2.25   80

           5/20/13    Field Work,Attempts to Locate Witnesses,
                      Conduct Two Interviews, Compile Report
                              ,                                              6.90   126
                                  C


          5/20/13     Jail IntCo/ iew with Defendant, Compile Report         2.90

          5/20/13     Visit District Clerk, Review Five Files, Obtain
                      Copies, Compile Reports                                3.75   46            6.00   4.10

           5/21/13    Review 17 Guilt/Innocence Reports for
                      Attorney, Organize for Trial Preparation
                      Meeting, Meeting with 2 Investigators to
                      Discuss Locating Remaining Witnesses not
                      Interviewed                                            5.30

           5 /22/13   Field Work, Attempts to Locate Witnesses,
                      Update Reports                                         2.25   53
                                                                                              /
                                                                                          ~
           Totals                                                            87.70 / 916 7        T\7    4.10




EXHIBIT 7 Page011
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                                                    AFFIDAVIT

                  I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
          investigative firm, State License # A 05741, do swear to and affirrrfTthat the attached
          invoice/invoices, for services rendered are true and correct to thf ibjst of my belief and
          knowledge.




                                                               |
                     SWORN TO AND SUBSCRIBED before gp me undersigned authority, on this
                    day of HV\       , 2013, to certify, which witness my hand and seal of
          office.                               )          fe
                                                          if

                                                      frNOTARY PUBLRMN XfvnD FOR
                           KAYLA KOENIG
                        My Commission Expiras            THE ^STATE OF TEXAS-3
                         September 13 , 2016
                                                        My Commission Expires: *? / / B // L
                                                                                    /




EXHIBIT 7 Page012
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      Case
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                                          IN CAMERA MOTION
                                                         l 38 +71i
                                                 NO . WM9W-

       THE STATE OF TEXAS                            §              IN THE DISTRICT COURT OF
                                                     §                  )
       V.S.                                          §              HARRIS COUNTY, TEXAS
                                                     §              !



       OBEL CRUZ-GARCIA                              §              33TI11 JUDICIAL DISTRICT
                                                               J0
                       CONTRACT FOR EMPLOYMENT OF R P. CORNELIUS

       TO THE HONORABLE JUDGE OF SAID COpRf :




                                                     ^^
                      COMES NOW, OBEL CRU GARCIA, the Defendant in the above-styled and

       numbered cause, by and through his attorney f record, R. P. CORNELIUS, and respectfully requests

       the Court to approve the following Confect For Employment of R. P. Cornelius and order payment

       by the State of same.

                                                          I.

              Defendant is charged With capital murder. The State is seeking the death penalty.

                                                         n.
              R. P. Conielius, an attorney approved and qualified, and in good standing, by the Second

       Administrative Judicial Region of Texas, to represent defendants charged with capital murder where

       the State is seeking the death penalty has been appointed by the Court.

                                                         ra.
              The case is more than 19 years old and is very complex. It involves numerous extraneous

       offenses, both in Texas and in Puerto Rico.

              Defendant’s family lives in Puerto Rico and he has witnesses in Puerto Rico, as well as in

       Texas and other cities.




EXHIBIT 7 Page013
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      Case
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              In all likelihood there will be a multitude of expert witnesses on many di fferen t elements of

       the various cases.

                                                        rv.
              Appointed counsel is requesting a flat fee of $65,000.00 as reasonable attorney fees to handle

       this matter and is requesting this Court to order payment.   ,
                                                                    ,   "   T
              WHEREFORE, PREMISES CONSIDERS, Defendant, OBEL CRUZ-GARCIA , prays that

       the Court approve this Contract For Employment in qanaera and order payment consistent with this

       motion.
                                                           )

                                                                        Respectfully submitted,




                                                                        R .P. CORNELIUS
                                                                        2028 Buffalo Terrace
                                                                        Houston, Texas 77019
                                                                        (713) 237-8547
                                                                        State Bar No. 04831500

                                                                        COURT APPOINTED
                                                                        ATTORNEY FOR DEFENDANT




EXHIBIT 7 Page014
                                                                                                                000853
      Case
       Case4:17-cv-03621
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                                                NO.-eaMse        —
       THE STATE OF TEXAS                         §                  IN THE DISTRICT COURT OF
                                                  §
       V.S.                                       §                  HARRIS COT INI’Y, TEXAS
                                                  §
                     -
       OREL CRUZ GARCIA                           §                  337TH JUDICIAL DISTRICT

                                             ORDER

              On this          day of                  2012$ diSne on to be heard CONTRACT FOR
                                                            ..




       EMPLOYMENT OF R. P. CORNELIUS, and aftejr considering same, it is the Order of the Court

       that the Contract For Employment Of R. P. Corhdlitts is approved by the Court and an amount of
                                                        ij
       $65,000.00 is to be paid by the State as reasotiable attorney fees in this matter.
                         fo             4                                    Jytu/ d' .
         Phs*      <
                h 3*                -o -

                                                                              WlateJU -
                                                          Judge, 337th District Court 0
                                                          of Harris County, Texas




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EXHIBIT 7 Page015
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                                                                                    l   r
                                                                               /f
                                                                                '




                                                                           j


                                                  MEMORANDUM



       The primary allegation is a 1992 capital murder involving numerous Spanish speaking witnesses
       from the Dominican Republic and Puerto RicpfThe defendant is from the Dominican Republic and
       Puerto Rico and does not speak English.
                                                       ip
       It was a cold case with DNA, both skin cell and sperm cell , handled originally by the old HPD Crime
       Lab which was problematic.              H   '
                                              (   4}

       There were numerous extraneous ofipfises including a capital murder from 1989, a number sexual
       assaults, home invasions, and drug dealing.
       At the time defendant was firsfeharged in 2008 he was incarcerated in a Puerto Rican prison for
       numerous offenses, principal ly a double kidnaping and torture of two young victims, both of whom
       testified at trial, along with <mer Puerto Rican witnesses. Prison officials from Puerto Rico also
       testified as to significant jafiftifractions as well as Harris County jail officials and TDC officials.
       It was a complex and complicated case which required work and time commitment well in excess
       of any normal capital murder appointment.



                                                       Special Note


       The clerk’s file should contain ORDERS for payment of all attorney fees and expenses but
       additional ORDERS are contained herein for convenience and the Court can modify the
       ORDERS as the Court sees fit.




EXHIBIT 7 Page016
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                                                   IN CAMERA

                                                    NO. 1384794
                                                                                  !




       THE STATE OF TEXAS                              §                         |
                                                                              IN TI i DISTRICT COURT OF
                                                                               4 .)
                                                                                      •
                                                       §
       V.S.                                            §                      HARRIS COUNTY, TEXAS
                                                       §              ;   !   p
                     -
       OBEL CRUZ GARCIA                                §              <337TH JUDICIAL DISTRICT
                                                                          '

                                                                  '
                                                                      A

               DEFENDANTS MEMORANDUM FOR OUT OF COURT EXPENSE OF

                                     MITIGATION INVESTIGATION

       TO THE HONORABLE JUDGE OF SAID QtjURT:

       Please find the following:                   A*
                                               ,   AV
                                                   '

                                           A
              1.      ORDER providing mitigation expenses not to exceed $17,400.00. Signed by Judge

                      Jay Burnett, approvedby Judge Belinda Hill, Presiding Judge at the time, (and Judge
                                        t1 J

                      Mike MeSpaddeti). This to include consultation and evaluation by mitigation

                      consultant anff psychologist and all investigation of mitigation.            $17,400.00

              2.      Invoice from mitigation consultant and psychologist Susana A. Rosen, Ph. D. To be

                      paid directly to Dr. Rosen or to Mr. Cornelius who will reimburse her. $1,750.00

              3.      Invoice from investigator for travel to the Dominican Republic.              $6,732.69

              4.      Invoice from investigator for mitigation investigation .                     $6,107.23

              5.                      -
                      Receipt for out of-pocket expense of Mr. Cornelius to provide airline ticket for

                      defendant’s son who testified as a mitigation witness. To be reimbursed to Mr.

                      Cornelius along with payment for court appointment.                          $1,306.90

                                                                                          TOTAL            ^
                                                                                                  $15,896.82




EXHIBIT 7 Page017
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      Case
       Case4:17-cv-03621
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                                                                    ^
                                                       Respectfully s mitted,




                                                     R . P,..CORNELIUS
                                                     202l liiiffalo Terrace
                                                        |
                                                     Houston, Texas 77019
                                                   •
                                                                -
                                                          3) 237 8547
                                                  ^C'ltate   Bar No. 04831500
                                                  m
                                                       COURT APPOINTED
                                                       ATTORNEY FOR DEFENDANT




EXHIBIT 7 Page018
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      Case
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                                                   NO. 1384794
                                                                                       M
                                                                                           '


                                                                                               -
       THE STATE OF TEXAS                             §                     IN THE , DISTRICT COURT OF
                                                      §
       VS..                                           §                     HARRIS COUNTY, TEXAS
                                                      §
       OBEL CRUZ-GARCIA                               §                     337TH JUDICIAL DISTRICT

                                                ORDER
                                                                    A:C"
                                                                        ;
                                                                        •




                                           4
                                              ^
               On this     jj\   day of                   , 2012v-dime on to be      heard DEFENDANT’S IN
                                                                    )
       CAMERA MOTION FOR OUT OF COURT EXPANSE FOR MITIGATION INVESTIGATION

       and it is the Order of the Court that said motioiyshpuld be granted ,
                                                                                ^^
               It is the Order of the Court that an amount of                      is approved for out of court

       expenses consistent with this motion. If additional funds are needed trial counsel is directed to make

       an additional request ,




                                                                Judge, 337th District Cer
                                                                of Harris County, Texas




                                                          3




EXHIBIT 7 Page019
                                                                                                                  000858
      Case
       Case4:17-cv-03621
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                                                           ) 3W £!f
                                                                                          A,,,
                                                       .
                                                    NO 1289189

         THE STATE OF TEXAS                           §                    IN THE DISTRICT COURT OF
                                                      §                           (tj
         V.S.                                         §                    HARRIS COUNTY, TEXAS
                                                      §
         OBELCRUZ-GARCIA                                                   337TH JUDICIAL DISTRICT

                                                   ORDER               . vS'
                                                                      O?
                On this    t1         day of               , 2012, Same on to be heard DEFENDANT’S IN
         CAMERA MOTION FOR                         COURT EXPENSE FOR MENTAL HEALTH AND

         MITIGATION and it is the Order of the Courfthat said motion should be granted.

                It is the Order of the Court that an amount of $17.400.00. is approved for additional

                                                               .
         out of court expenses consistent with tjiis motion If additional funds are needed trial counsel is
                                                                                               '
                                                                                     (jz o ttf Dispcro
        directed to make an additional request ?
                                                                                        ^
                                                                   Judge, 337th District jCohrt
                                  O                                of Harris County, Texas «o

                                  '
                                                                                            iS
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                           OT
                            y                                                                             /




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                                                            SUSANA A. ROSIN, PH.D .
                                                                 CUHICAL PSYCHOLOGIST
                                                                 3730 KIRBY DR., SUITE 825
                                                                  HOUSTON , TEXAS 77098

                                                                                   -
                                                                  TUOHONE (713) 523 0000




       July 1, 2013

       Mr. R.P . Skip Cornelius
       2028 Buffalo Terrace
       Houston, Texas 77010

       Re : Obel Cruz Garcia
           SPN 01134368
           Statement for Services Rendered


       Service                                                                               Amount
       Review of Collateral/Background
       Information reg. Mr. Cruz-Garcia
       ( 2 hours @ $ 250.00/ hr )                       5 -6B-2013                           $500.00
                                                             j

       Psychological Evaluation of                  :4
       Mr. Cruz-Garcia at Harris County Jail            /
                                                        •


                                                (<; T
       ( 3 hrs @ $ 250.00/hr )                          5 -15 - 2013                         $ 750.00
                                            7   J
       Meeting with Mr , Cornelius      /fe'
                                       ",
       (1hr <§> $250.00/ hr )                           6- 27 - 2013                         $ 250.00
                                  .(
       Preparation of Expert Report
       (1hr @ $250.00/hr )                              7-01- 201.3                          $ 250.00


       Amount Charged and Due                                                                $1750.00   ^
       Dr. Rosin' s Federal Tax ID
       Dr. Rosin's Psychologist License # 2 - 2995 ( Texas)




EXHIBIT 7 Page021
                                                                                                            000860
      Case
       Case4:17-cv-03621
             4:17-cv-03621Document
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     Gradoni & _                                                                Professional   Investigative Services

   Associates                                                                    <??   '
                                                                                                  Stare License A574 1
                                                                                                                    '




                                                                              ( J


                                                           May 23, 2013


              Skip Cornelius
              2028 Buffalo Terrace
              Houston, Texas 77019


              Re:               -
                     Obel Cruz Garcia

              Dear Skip,

              Please find attached the invoice for fiifi trip to the Dominican Republic. We did
              exceed the budget approved by the court . I have attached an itemized list of all of
              the expenses, along with receipt .copies.

              I also cut about half of the travel time it took us to get there and back. On the
              return trip, we left the hotefkt 10:00 AM in the morning and did not return to
                           '



              Houston until 3:00 AM thf; following day.
                                     if %
              Pm sure the court wouldn’t pay for the time we spent, although I believe it was
              legitimate time spent o.ii the case.

              Pve also  attachAa  second invoice, for all the investigative work that we have
              performed sincd Wtay 7, 2013.

              I have now given you three invoices for work on this case. The invoices include
              both Mitigation and Investigative efforts. I’m aware that you probably will not
              submit these invoices until trial is over, but I’d like to keep everything organized
              so we don’t miss anything. I believe it also gives us the ability to actually know
              how much we’ve spent to date.

              If there is a way you could present these invoices for payment that would be fine
              with me. Possibly you could just submit the one for the trip to the Dominican,
              since we had to outlay over $3,000 in expenses. However you decide to handle
              this is fine with me.

              Although the Defendant has been no help whatsoever , we have developed some
              information that you could utilize to discredit some of the witnesses at trial .



  2611 Cypress Creek Pkwy, Suite ClOO    • Houston , Texas 77068     *   (281) 440-0800    *     Pax (281) 440-0208



EXHIBIT 7 Page022
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              We certainly have more work that could be performed on this case, ;C   -
             I think it is imperative that you consider bringing to Houston’ the; mother of his
             two sons, for the Mitigation phase of the trial . She is more 0ian willing to come
                                                                             (

             and may make a good witness. 1 know if you decide to p this, a great deal of
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             planning must be done in advance.

             I will await your reply.

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                                                             W?
                                                          Sincerely,


                                                    v   J JJ Uradoni


              JJG/kk




EXHIBIT 7 Page023
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     Gradoni &                                                                         Professional Investigative Services
   Associates                                                                           Cy
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     Skip Cornelius
     2028 Buffalo Terrace
     Houston, Texas 77019                                              p   "




                                                                                                      Invoice
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                                                                                               DATE       INVOICE #

                                                         AV                            5/22/2013                17584

                                                    TP
                                DESCRIPTION                                                              AMOUNT
    FOR PROFESSIONAL SERVICES                 TIN

  Re: State of Texas vs. Obel Cruz-Garcia '( J
      Cause #1289189, 1289188, 1181910, 337th District Court
      Our File #12-05-0266, Statement #2'4-
  Description of Activity:           CJ
  See Attached Affidavit
                                  B' -
  Services:
                                e
                              if *
                             A
  90.00 hours @ $40.00 per hour                                                                                     3,600.00

 Expenses:
 Travel - .Airfare                                                                                                  2,005.87
 Meals                                                                                                                228.97
 Gas                                                                                                                   63.00
 Parking                                                                                                               85.00
 Hotel Miscellaneous                                                                                                   72.49
 Car Rental                                                                                                           313.86
 Visitor Registration                                                                                                  20.00
 Tolls                                                                                                                 10.00
 Long Distance                                                                                                         93.50
 Guide                                                                                                                240.00


 Payment due upon receipt . Thank you !
                                                                                       Total


  2611 Cypress Creek Pkwy, Suite ClOO • Houston , Texas 77068          • (281) 440-0800               • Fax (281) 440-0208


EXHIBIT 7 Page024
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     Gradoni                                                                  Professional   Invesrigative Services

   Associates                                                                    S
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     2028 Buffalo Terrace
     Houston, Texas 77019
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  Payment due upon receipt . Thank you!                                                                            /
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                              HARRIS COUNTY CRIMINAL APPOINTMENT                        .
                                                                                            '

                                      TIME & MILEAGE LOG
                                          Invoice #17584

           Attorney: R..P. Cornelius

          Defendant: Obel Cruz-Garcia

           Cause #: 1289189. 1289188. 1181910 Court:337th Statprnent #:             2

             Date                           Activity                        Time        Miles   Park   Tolls
          5/5/13         Travel from Houston to Miami to Dominican
                         Republic for Mitigation Investigation ^ ,          17.10
                                                            . ..... .
          5/6/13         Work with Guide, Conduct 5 Interviews
                         (Two Investigators)                                18.10
                                                       K.
          5/7/13         Work with Guide, Conduct 5'iiiterviews
                         (Two Investigators)   Jifa                         14.30

          5/8/13         Work with Guide, Conduct 3 Interviews, Photo
                         & Inspect Areas of Interest


          5/9/13
                                            ^
                         (Two Investigators) ,
                                         JD) V
                         Travel from Dominican Republic to Miami to
                                                                            12.40


                         Houston        J                                   17.10

          5/11/13        Compile 15 Reports                                 11.00

          Totals              ill                                           90.00

                                                 AFFIDAVIT

                  I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
          investigative firm, State License #A05741, do swear to and affirm, that the attached
          invoice/invoices, for services rendered are true and correct to the best of my belief and
          knowledge.


                                                              fes Gradoni


                     SWORN TO AND SUBSCRIBED before me, the undersigned authority, on this
          jjj)   -   day of WVi       2013, to certify, which witness my hand and seal of
          office.




EXHIBIT 7 Page026
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                              EXPENSES/TRIP TO DOMINICAN REPUBLIC "
                                                                              .. vs
                                             5/5/13 to 5/9/13
                               Mitigation Investigation (Two Investigators)
                                                                            r

                       Airfare/Hotel                                        2 r0O5.87

                           Food                 35.82 (2 People)
                                                29.15 (2 People)
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                                                80.00 (4 People) , A'
                                                29.00 (2 People) 4 ;
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                Pre-trip planning indicated that the most convenient and safest place for lodging
         was the Bahia Principe Cayaco Hotel , The hotel was actually situated a 2 hour drive from
         the main area of investigation.

                 In order to facilitate making contact with the potential mitigation witnesses
         Investigators contracted the services of a guide, who actually drove the rental car, taking
         Investigators to all of the locations where Investigators met people to be interviewed . The
         guide also took Investigators to the areas of interest which were examined and
         photographed .

                The guide was paid $80.00 per day for the three days he assisted.




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 jj@gradoni.com
 From:                             Travelocity Customer Support < travelocity@travelocity.com>
 Sent:                             Wednesday, April 17, 2013 5:11 PM
 To:                               jj@gradoni.com                                           (f j
 Subject:                          Travelocity Confirmation - Santo Domingo Las Americas Airport




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i                                                                                                                     .
I   ** travelocity               I Travel Confirmation
    James ,

    Thank you for booking your travel with Travelocity    .
    Your Travelocity Trip ID is: 4310 7170 0000

    You can view your Trip Details by logging onto
    Travelocitv.com
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    If any issues arise with your reservation before or during
    your trip , please contact us immediately .
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     In the US                1.888.872.8356         24 hours/7 days a week               How to change mv trip
     Outside the US           1,210.521.5871         24 hQurd/7 days a week               How to cancel my trip
     En Espaffol              1.866.828.3933         7am - 10pm CST                       Email Travelocity



     Flights
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     2 Round-Trip Tickets                       W
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     All flight times are local to each city;


     Sun , May 5, 2013                                                               Online check-in code: HAHXKW

    Depart: 07:25 am                    Houston, TX (IAH)                        Aiy American Airlines, Flight 1312
    Arrive: 10:45 am                    Miami, FL (MIA)                              Economy Class


                                        1 Stop - change planes in Miami ,
                                        (MIA)                                                                         !
                                        Connection Time: 2 hrs 5 mins

     Travel time: ${airSegment.totalTravelTime)
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     Seat request: 22D, 22C

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     Depart: 12:50 pm
     Arrive: 03:00 pm
                                        Miami, FL (MIA)
                                        Santo Domingo, Dominican Republic
                                        (SDQ)
                                                                                 ^   American Airlines, Flight 1481
                                                                                     Economy Class                        I




     Total Travel Time: 6 hrs 35 mins




     Thu , May 9 , 2013                                                              Online check -in code: HAHXKW

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    I   Depart: 04:10 pm                          Santo Domingo, Dominican Republic A»A American Airlines, Flight 1138
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                                                  Miami, FL (MIA )

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        Baggage fees: In most cases, the applicable baggage fees arid           allowances  for the entire trip will be ihose
        of the first earner listed on your itinerary, American Airlines . Hpyyever, in a limited number of multiple
        carrier itineraries for international travel, the first carrier may (apply the fees arid allowances of another
        carrier listed on your itinerary. For more information, including detailed baggage allowances and fees by
        carrier, please click here, if you need additional Informaticfe(regarding baggage allowance and fees, please            !
        contact the first carrier listed on your itinerary.          . yi -?
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        Passengers                                                                   Frequent Flier Information
        edna velez                                               .                   Add your number at the airport.
        james gradoni                                                                Add your number at the airport .
                                                              (< J
        Flight policies



        Hotel
                                                         #
        2 Rooms , 4 Nights
        Confirmation number:              ,   T    y

        Room 1: 10178481468           ,       c, ’                               Contact: james gradoni
        Room 2: 10178481468
        Grand Bahia Principe Cavacoa All -Inclusive Resort                       Check in: Sun, May 5, 2013
        Loma Puerto Excondido SN                                                                                                !
        Samana, 32000                                                            Check out: Thu, May 9, 2013
        1.809.538 ,3131
                                                                                 Room 1: Standard Room All Inclusive
        Hotel policies | important Information                                   Single Adult (0 senior)
                                                                                 Room 2: Standard Room All Inclusive
                                                                                 Single Adult (1 adult)

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        Attention - Hotel Front Desk
        This is a pre-paid reservation. Please check your reservation system for payment information
        Pre-paid amount may not include extra fees payable to the hotel at check out.


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          Flight + Hotel                                      $1,697.87
     i    Taxes, Tax Recovery Charge ± Airline & Agency
 !        Fees:                                                   $ 308.00   Additional baggage fees,may apply
          Total:                                              $ 2, 005.87

         We charged a total of $2 , 005.87 to your MasterCard®|
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 I       Complete Your Travel Plans for Santo Domingo
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         The Travelocity Guarantee
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         We look out for you ail trip long, and even
         before you go.

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         Online Support
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          How can I change or cancel mv trip?
          View all Travel Alerts
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Bahia Principe Cayacoa                                                                                           NH:CAYACOA
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Bahia Principe Cayacoa                                                                                          NH:CAYACOA
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  2 AT &T Rest of World Travel Minutes 40                    60,00            J   V            Surcharges and other Fees
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                                                                                               14 Federal Universal Service Charge
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  4. International Dialing Allowed                            $00                                 .
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  6 Mobile Protection Pack Enhanced Support                 if 3,00                               .
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     and Mobile Locate                                                                         Total Surcharges and Other Fees                                                              16.68
  7.   Mobile Insurance Premium                            A‘ /6.99
  8. Data Unlimited for IPhone 4S                        %/:, 30.00                            Government Fees and Taxes
Total Monthly Charges                                      109.98                                 .
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Other Charges and Credits                    ,                                                 21. TX State Sales Tax                                                                        2.08
Plan Changes                                                                                   22. TX State Sales Tax Telecom -                                                              9.45
Added 05 / 04                              k:k                                                 Total Government Fees and Taxes                                                              12.42
  9. AT &T Rest of World Travel Minutes H 6              14.00
     This plan Is $ 60.00 per month. Yon added this plan
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                                                                                               Total Other Charges & Credits                                                               102.55
     on 05 / 04. You are charged at the flew plan rate
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     from 05 / 04 - 05 /10.            /                                                       Total for 713 306 - 4116                                                                    212.53
Voice Usage Summary
FamilyTalk Nation 1400 with Rollover                                                           Roaming Call Detail
     Total Minutes Used                           693                                          Stoatsing Cull charges reflected In Other Charges S Credits ( page 3 )
       Plan Minutes                             1,400                                                     Place                       Rate Feature           Airtime                           LD / Addl
     Mobile to Mobile Minutes                Unlimited                                         Time      Called      Wuiaber Called   Code Code H1n Charges                                    Charges
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       Minutes Used                                 0
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     Night & Weekend Minutes                 Unlimited                                         06 :30p BLOCKED       000- 000 - 0000  IRRO               1        0.00                                0.00
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Directory Assistance                                                                           Honday , 05 / 08
10.     Calls Billed at $1.99                       5         9.95                             10:10a DOHEST CL                       IRRO               1        0.00                                0.00
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Unlimited Mobile to Any Mobile               Unlimited                                         12:21p DOHEST CL                       IRRO               2        0 , 00                              0.00
        Minutes Used                             1,820                                         08 :01p DOHEST CL                      IRRO               1        0.00                                0 , 00
                                                                                               08:12p DOHEST CL                       IRRO               3        0.00                                0 , 00
                                                                                               08 : 53p DOHEST a                       IRRO              3        0.00                                0.00
Roaming                                                                                        Tuesday , 05 / 07
11 .  Minutes Billed                               48        16.00                             09 : 48a DOHEST CL                      IRRO              2        0.00                                0.00
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                                                                                                   Prqffes&Sotial Investigative Services
   Associates                                                                                      m                Stare License AS741

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                                                                                        A
       BILL TO
     Skip Cornelius                                                             /   ;
     2028 Buffalo Terrace
     Houston, Texas 77019                                                   -
                                                                                                              Invoice

                                                                    .
                                                                    M
                                                                        1                            DATE          INVOICE #

                                                                                                   7/19/2013            17658

                                                              <y>
                                    DESCRIPTION                                                                   AMOUNT
   FOR PROFESSIONAL SERVICES                            TLN«HVBfc
 Re: State of Texas vs. Obel Cruz-Garcia   fjl
     Cause #1289189, 1289188, 1181910, 3f 7th District Court
     Our File #12-05-0266, Statement #4 A > ^
                                              it   "

                                                       % v>
 Description of Activity:
 See Attached Affidavit
                                    ,
                                        /TF

 Services:
 119.75 hours @ $40.00 per liour                                                                                             4, 790.00

 Expenses:
                           .. A
                            .
                                -
 1,119 miles @ . 555 per mile                                                                                                   621.05
 Parking                                                                                                                         48.00
 Word Processing                                                                                                                 47.20
 Computerized Searches                                                                                                          118.00
 Translator                                                                                                                     350.40
 Messenger Fee (Fed-Ex 6/15/13)                                                                                                  36.13
 Messenger Fee (Fed -Ex 6/24/13)                                                                                                 39.62
                     -
 Messenger Fee (Fed Ex 6/28/ 13)                                                                                                 36.13
 Messenger Fee (7/8/13)                                                                                                          20.70



 Payment due upon receipt . Thank you!
                                                                                                   Total


  2611 Cypress Creek Pkwy Suite ClOO               • Houston, Texas 77068       •   ( 281) 440-0800           *    Fax (281) 440-0208



EXHIBIT 7 Page044
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       BILL TO
      Skip Cornelius                                   >
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     2028 Buffalo Terrace
     Houston, Texas 77019
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                                                                         DATE        INVOICE #

                                                                       7/ 19/2013         17658


                                   DESCRIPTION                                      AMOUNT
    FOR PROFESSIONAL SERVICES

     Subtotal                                                                                 6, 107.23
  Tax Exempt                                                                                      0.00




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  Payment due upon receipt . Thank you !                                                                 /
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                           HARRIS COUNTY CRIMINAL APPOINTMENT
                                   TIME & MILEAGE LOG      0                         "




                                       Invoice #17658       '
                                                                                O
           Attorney: R.P. Cornelius                                        p
           Defendant : Obel Cruz-Garcia

           Cause #: 1289189.1289188. 1181910 Court : 337th      Stagjrnent #:    4

             Date                          Activity                       Time       Miles   Park   Copies
                                                        A
           5/23/13    Field Work, Attempt to Locate WitnesP              1.75        66

           5/24/13    Identify Potential Extraneous Offense
                      Witnesses, Conduct Database Seajjehes to
                      Locate Current Addresses, Update Reports            5.50

           5/28/13    Attempt to Contact
                                                      5
                                           Witnesses by Phone             1.20
                                              '




           5/30/13    Jail Visit with Attorney; Compile Report            3.00       46      5.00
                                           TJ
           5/30/13    Field Work, Conduct,lnterview, Compile
                      Report             |"                               4.10       58

           6/3/13     Conduct Two interviews, Compile Reports             4.30
                                 ,
                                     P
                                     /
           6/6/13     Field Worp - Attempt to Locate Witness, Update
                      Reports, '                                     2.30            42

           6/7/13     FiekTWbrk , Attempt to Locate Witness, Update
                      Report s                                            2.90       37

           6/8/13     Field Work, Conduct One Interview, Compile
                      Report                                              3.25       51

           6/10/13    Field Work , Attempt to Locate Witnesses,
                      Update Reports                                      2.00       41

           6/10/13    Interview State Witness at 701 N. San Jacinto,
                      Compile Report                                      3.60       46      5.00

           6/10/13    Interview Possible Witness at 701 N . San
                      Jacinto, Compile Report                             1.20




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           6/11/13       Field Work, Conduct 2 Interviews, Compile


           6/12/13
                         Reports                                   '




                         Deliver Reports to Attorney in Jury Selection
                                                                                              4.75

                                                                                              1.58«
                                                                                                     ^ 62

                                                                                                       46          5.00

           6/13/13       Briefing with Attorney in Jury Selection, Pick                   -
           6/14/13
                         up Subpoenas to Serve, State Witness List

                         Conduct Database Searches on 9 State                     ,
                                                                                          ^   1.30     46          5.00


                         Witnesses to Locate Current Addresses, Se\ i                 '



                         Investigative Assignments, Briefing with , .
                         Investigators                        /  C'          ,                7.25

           6/15/13       Field Work, Attempts to Locate Witnesses,
                         Compile Reports                r*
                                                         : ;             J
                                                                                              3.80     51

           6/16/13       Field Work, Conduct Two Interviews, Compile
                         Reports                                                              4.10     39
                                                     .     M
           6/15/13                           -
                         Prepare Fed ex for Witness Subpoenas to
                         Puerto Rico & Dominican- Republic, Phone


           6/19/13
                         Contact with Witness
                                                     ^
                         Attempts to Contafet'Witnesses by Phone,
                                                                                              1.30


                         Update Reports ]                                                     1.25

           6/20/13       Briefing witliAttomey, Obtain Offense Report
                         Regarding Spate Witness Prior Conviction,
                                         ,




                         Conduc
                              |   f )atabase Searches to Locate
                                     '


                         Witnesses, Set Investigative Assignments                             4.25                            2.62

           6/21/13       Contacts with Public Defender’s Office
                         Regarding Witness Travel Plans                                       1.00

           6/24/13       Prepare Fed-ex of Travel Documents to
                         Witnesses in Puerto Rico & Dominican
                         Republic, Contacts with Witnesses                                    1.20

           6/24/13       Jail Interview with Defendant & Bench
                         Warranted State Witness, Compile Reports                             3.90     46          5.00 .

           6/27/13       Meeting with Attorney - Trial Preparation                            1.60     40


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                                                            License HA - 5741 .

                         Complaints may be directed io P. O. Box 4087, A ustin, Texas 78773-0001 or emailed to
                                                    _
                                              RSD CustomerJlelations@dps. texas. gov



EXHIBIT 7 Page047
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          6/28/13        Field Work, Conduct One Interview, Compile


          6/28/13
                         Report

                         Prepare Fed-ex Package to Witness in Puerto
                                                                                             4.50
                                                                                                     ^   - 69


                         Rico                                                                t<# >



          7/1/13         Attempts to Contact Witnesses by Phone,
                                                                                         II
                                                                                         <
                                                                                         '
                                                                                             d>
                         Update Reports                                             x        1.80
                                                                                 A
          7/2/13         Jail Interview with Defendant, Trial
                         Preparation, Compile Report                                         2.75         46       5.00

          7/3/13         Conduct Two Phone Interviews, Compile
                         Reports                                                             3.10

          7/8/13         Field Work, Conduct 3 Interviews}) Compile
                         Reports                     %           ”
                                                                                             5.25         61
                                                                     ,




          7/8/13         Review Witness Reports, Messenger to
                         Attorney for Trial Prep ? -   ,
                                                             J
                                                                                             1.90

          7/9/13         Conduct Two IntervlkvyS, Compile Reports                            3.40

          7/5/13
                                                 A
                         Contacts with Dominican Republic
                         Immigration, thWTJepartment , US
          To
          7/10/13
                         Visa
                                       ^
                                        ^
                         Immigration, in Attempt to Expedite Witness
                                                                                             2.30

          7/ 10/13       Monitor ' Triai Testimony, Meet with Attorney
                         Regarding Visa Problems with Witness                                3.75         46       5.00

          7/14/13        Pieiy&p Witness at Airport, Briefing with
                         Witness with Translator, Drop Witness to
                         Hotel, Numerous Calls to Dominican Republic
                         to Arrange Travel with New Witness, Complete
                         Travel Plans with Airline                    5.10                                66       4.00

           7/15/ 13      Briefing with Attorneys, Contacts with
                         Dominican Republic                                                  1.20

          7/16/ 13       Pick up Witness at Airport, Brief Witness with
                         Translator, Drop Witness to Hotel                                   3.90         68       7.00



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                                                            License UA 5741 .

                                                                 _                           -
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                                                                                                             is.
             7/ /13           Transport Two Punishment Witnesses to Court,
                              Identify New Witness, Briefing with Attorney,
                              Transport Witnesses Back to Hotel                                7.50     )'   46        7.00

             Totals                                                                                                     48.00
                                                                                               J
                                                                  AFFIDAVIT

                     I, James Gradoni, President of Gradoni & Associates, Inc., State of Texas licensed
             investigative firm, State License #A05741, do swear to and affirm, that the attached
             invoice/invoices, for services rendered are true and correct to the best of my belief and
             knowledge.

                                                                                                              Opu.
                                                                        Sinks Gradoni


                         SWORN TO AND SUBSCRIBED before me, the undersigned authority, on this
              n    ^
             office.
                     '
                         day of           2013,:to certify, which witness my hand and seal of



         <
             ^            -                                             NOTARY PUBLIC IN AND FOR
                                      KAYLA KOENIG                      THE STATE oXjEXAS
                                                          ,
         <
                                  My Commission Expires
                                                              1

                                   September 13, 2016         1
         *                                                              My Commission Expires:


                                            r
                                                r
                                        ;




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                                                                           -
                                                                 License HA 5741.

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                              Complaints may be directed to P.O. Box 4087, Austin, Texas 78773 -0001 or emailed to
                                                   RSD Customer Relations@dps.texas.gov



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           Skip:
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           Receipt for Abel’s flight charged on yoyr card.

           Amount was $1,306.90
                                                                            /

           JJ
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                iRecord
                Locator



        Itinerary
        Carrier           Flight #                       Departing                             Arriving                      Fare Code


        X.                                               SANTIAGO DO                           MIAMI INTERt
                                                                                                         *
                                                                                                            > ‘NL  h
          V.              834                            TUE 16JUL                             TUE 16JUI       .             V
        American                                         8:10 AM                               10:25 Aia£f:
        Abel Perez        Seat 28E                       Economy                                       £                     Food For Purchase
                                                                                                  Jp       1




                          2245
                                                         MIAMI INTERNTNL
                                                         TUE 16JUL
                                                                                                   I16JUL
                                                                                               HOD TON GEO BUSH
                                                                                                   '




                                                                                                                             V
        American                                         3:25 PM                          «'   5:05 PM
        Abel Perez        Seat 26E                       Economy                   V ’!                                      Food For Purchase



        Y                                                HOUSTON GEO BUSft       V             MIAMI INTERNTNL
                                                                             '




                          1314                           SAT 20JUL                             SAT 20JUL                     A
        American                                         1:35 PM                               5:10 PM
        Abel Perez        Seat 3E                        First Cl                                                            Snack


                                                         MIAMI INTERNTNL                       SANTIAGO DO

        American
                          613                            SAT 20JUf .
                                                         6:40       ^                          SAT 20JUL
                                                                                               8:40 PM
                                                                                                                             D

        Abel Perez        Seat 4B                                                                                            Dinner
                                                             ^
                                                         Busii|es

                                                           mY .f



                                                 #;O
       Receipt                                  !,   p
                                       /f   '
                                                 •   •
                                                                                                               Taxes and Carrier-
        Passenger                Ticket #                               Fare-USD                                                      Ticket Total
                                                                                                                   Imposed Fees

        n
        H Abel Perez             0012380824959                                   977.00                                    329.90           1306.90
                                                                                                  V
        IS Arillrieair E)< 1j ress . XHXXXXXXXX;
                                   :
                                                                                                                                           $ 1306,90



       Baggage Intonination

       Baggage charges for your itinerary will be governed by American Airlines BAG ALLOWANCE -STIIAH-01 Piece/ American Airlines /UP TO 50
       LB/ 23 KG AND UP TO 62 LINEAR IN/158 LINEAR CM BAG ALLOWANCE -IAHSTI- 03 Pieces/ American Airlines /UP TO 70 LB/32 KG AND UP
       TO 62 LINEAR IN/158 LINEAR CM 1STCHECKED BAG FEE - STIIAH-USDO 00/ American Airlines /UP TO 50 LB/ 23 KG AND UP TO 62
       LINEAR IN/158 LINEAR CM 1STCHECKED BAG FEE-IAHSTI- USDO.OO/ American Airlines /UP TO 70 LB/32 KG AND UP TO 62 LINEAR
       IN/15 e LINEAR CM 2NDCHECKED BAG FEE-STIIAH-USD40 00/ American Airlines /UP TO 50 LB/ 23 KG AND UP TO 62 LINEAR IN/158
       LINEAR CM" 2 NDCHECKED BAG FEE - IAHSTI-USDO.OO / American Airlines /UP TO 70 LB/32 KG AND UP TO 62 LINEAR IN/ 158 LINEAR CM
       ADDITIONAL ALLOWANCES AND/OR DISCOUNTS MAY APPLY

       You have purchased a NON-REFUNDABLE fare . The Itinerary must be canceled before the ticketed departure time ol the first unused coupon or
       the ticket has no value If the fare allows changes, a tee may be assessed for changes and restrictions may apply

       Electronic tickets are NOT TRANSFERABLE. Tickets with nonreslriclive fares are valid for one year from original date o( issue. If you have
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        questions regarding our refund policy, please visit www . aa .com/refunds

        To ch.ange'your reservation , please call 1-800- 433 -7300 and refer to your record locator

        ChecfHfi times will vary by departure location In order to determine Ihe time you need ID check in at
             .
        www aa . coin /air portexpectations
                                                                                                                     -      the atrpbr ’t . please visit
                                                                                                                                    .

        AA GARRY - ON BAGGAGE
                                                                                                                                 m
        American Airlines does not impose Carry-On bag fees however, restrictions do apply fo view cnreyron baggage restrictions for American
        Atriines or American Eagle, please visit. Carry-On luggage Passengers who originate flights on omapan American Alrltnes/ Ameriesn Eagle
        and need to determine applicable carry- on fees or restrictions specific to other air carriers in youfiiiirierary, please visit INTERLINE PARTNER
        BAG CHARGES.                                                                                             >
                                                                                                                     '



        AA CHECKED BAGGAGE Ct lARGtiS

        For travel within and between the US/PR/USVI anti Canada the first checked bag will be ihargiid 2!> USD/25 CAD. The second checked pact
        will be charged at 35 USD/ 35 CAD


                                    .                                                    .   fi/A'C’
        For travel between Mexico, Caribbean and Central America and the US/PR/USVI CiMftiaf. Mexico and Cemral America there will be no charge
                                                                                                                       .
        for the first checked bap The second checked bag will be charged at 40 USD/ 40 Qrosf &r local currency equivalent!

        For travel from the US PR USVI, Mexico, Caribbean. Central America, South A/neill (excluding Brazil Chile and Peru /through/ from Europe
                                /       /
                                                  '

                                                                                                                                                  ) to
        there will be no charge for the first checked hag rite second checked bag wtilTje charged at 100
                                                                    ,
                                                                                                             .           USD
                                                                                                         / 100 CAD/ 75 EUR            (               / 65 GBP dr local
        currency equivalent).
                                                                               , I;'-??
                                                                                                  N/
                                                                                                     *
        For travel between Mexico, Caribbean , Central America and South Airier# (£ diiding Brazil, Chile and Peru) there will be no charge for the first
                                                                                                 *
        checked bag . The second checked bag will be charged at 70 USD/ 70 <j:AS5. (oflocal currency equivalent) .

        For travel between South America ( except Brazil, Chile and Peru) ai) |         fu
                                                                                /PR/USVI and Canada there will be no charge for Ihe first checked
        bag . The second checked bag will be charged at 70 USD/ 70 CAf)( (dr local currency equivalent )

        For travel to / from/ through Brazil. Chile Peru. China Japan and Korea there will be no charge for the first or second checked bags


                                                                                 jp
        When your itinerary includes any carrier other than AmeqfiBr).Airlines, baggage charges of the various airlines may apply to the flights they
        operate Please visit INTERLINE PARTNER BAG              $       CHAf
                                                                |£ £> for applicable baggage allowances and charges specific to the interline partner in
        your itinerary                                       (
        Air transportation on American Airlines and the             Ambpjpp Eagle carriers© is subject to American's     conditions of carriage ..

        NOTICE OF INCORPORATED TERMS OF                         CONJBA&T
       Air Transportation, whether It is domestic             otiffifenkioiial
                                                                      (including domestic portions of international journeys), is subject to the Individual terms
       of the transporting air carriers, which are bdigip/rtieqtparated by reference and marie pad of the contract of carriage. Other carriers on which
       you may be ticketed may have different conditions of carriage . International air transportation, including the carrier's liability, may also be
       governed by applicable tariffs on file witlritpejU.S. and other governments and by Ihe Warsaw Convention , as amended, or by the Montreal
                   .
       Convention Incorporated terms may (ftjjprae, bul are not restricted to: 1. Rules and limits on liability for personal Injury or death, 2, Rules and
                                            .
       contract . 5 . Rules on reconfirmaticfrf
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       limits on liability for baggage tnclurijDj ifragile or perishable goods, and availability of excess valuation charges . 3. Claim restrictions, including
       time periods in which passengers liftfaflfita a claim or bring an action against the air carrier , 4 Rights on the air carrier to change terms of the
                                                                                                         .
                                                 f reservations, check -in limes and refusal to carry 6 , Rights of the air carrier and limits on liability for delay
                                                                                                                                              .
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       or failure to perform service , incl dirjg schedule changes, substitution o( alternate air carriers or aircraft and rerouting

       You can obtain additional ihfert         -nafibn
                                                  on items 1 through 6 above at any U.S. location where the transporting aircairiet ’s tickets are sold You
       have the right lo Inspect trip fufijtext of each transporting ait carrieris temis at its airport and city ticket offices. You also have the right , upon
       request , to receive (free of charge) the full text oi the applicable terms incorporated by reference from each cl the transporting air
       carriers. Information on ordering the full text of each air carrier 's temis is available at any U S location where the air carrier 's tickets are sold or
       you can click on the Conditions of Carriage button below

       If you have a customer service issue, please Contact AA .

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       promptly delete this messge and its attachments from your computer




       if    DeaiFinder " ®

       Conditions of Carriage                                 Special Assistance                 Flight Check -in
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                   EXHIBIT 8




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  Gradoni & _                                                                ProfcssionaFInvestigatlve Services

Associates                                                                                  State License AS741




                                                          August 14, 2015


             Adrian de la Rosa
             Post-Conviction Investigator
             Office of Capital Writs
             1700 N. Congress Ave, Suite 460
             Austin, TX 78701


             Re: Obel Cruz-Garcia

             Dear Mr. de la Rosa,

             Please allow this letter to serve as my response to your email dated July 29, 2015,
             regarding our firm’s efforts in the defense of Obel Cruz-Garcia.

                     1. The investigative work was not divided in any particular way. Polly
                        Korzekwa, our background coordinator, did all the background research
                        outlined in our investigative reports.

                        Whoever authored the investigative report was the obvious Investigator
                        involved. On some occasions Edna Velez interviewed Spanish speakers
                        by herself. On other occasions we conducted the interviews together.
                        An example of these interviews would be the ones we did in the
                        Dominican Republic, the interviews at the jail with the defendant and
                        the State’s Spanish speaking cooperating witness, who testified at the
                        trial.

                     2. The attorneys provided us with all of the offense reports and asked that
                        we background and interview all of witnesses outlined in the reports.
                        We also utilized the State’s witness list to identify witnesses that
                        needed to be interviewed. Since our firm has been in business for 26
                        years we were not informed what to look for since the subject areas on
                        the guilt/innocence witnesses were obvious. As far as the mitigation
                        witnesses were concerned, we were told to get as much beneficial
                        information that we could about the defendant’s upbringing, family
                        members, etc.

                     3. Interaction with the defendant’s family members was very cordial. Most
                        of the family members provided as much information as they could to
                        the best of their ability.

2611 Cypress Creek Pkwy, Suite C100 • Houston, Texas 77068        • (281) 440-0800      • Fax (281) 440-0208

                                                                                                     000893
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                      4.1 have no recollection of suggesting that we travel to Puerto Rico.

                      5. We did not consider interviewing personnel from the prisons in Puerto
                         Rico since we did not have any specifics on who to interview, nor the
                         content of the information they may possess.

                      6.1 do not remember encountering any challenges in interviewing Houston
                        area witnesses that we could locate.


             If you should have any additional questions please feel free to email me.


                                                            Sincerely,

                                                                                OVL*
                                                           i f Gradoni



             JJG/kk




             Re: 12-05-0266




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                           CAUSE NOS. 1181910, 1289188, 1289189



THE STATE OF TEXAS                              §       IN THE 337th DISTRICT COURT
                                                §
V.                                               §      OF
                                                 §
OREL JULIAN CRUZ-GARCIA                                 HARRIS COUNTY, TEXAS



                          AFFIDAVIT OF ELIZABETH JOHNSON


        “I, ELIZABETH JOHNSON, do solemnly say under oath that the following statements
are true. I am also a witness in this matter and affirm that the statement provided below is based
on my personal knowledge of the facts referred to:


                                     Personal Background:

     1. My name is Elizabeth Johnson   .
     2. I am of sound mind, over the age of 18, and capable of making this affidavit.

     3. I received a B.S. degree in chemistry in 1982 from Wofford College in Spartanburg, SC
        and a Ph.D. degree in immunology in 1987 from the Medical University of South
        Carolina. My formal education also includes four years of post-doctoral training in the
        field of molecular biology and DNA analysis at the Medical University of SC and at MD
        Anderson Cancer Center in Houston, Texas.

     4. I have been a forensic scientist for over nineteen years. I was hired to establish the DNA
        laboratory within the Harris County Medical Examiners Office in Houston, Texas in
        1991, and I was the director of that laboratory. I also assumed supervision of their
        serology laboratory in 1996. I personally implemented and validated both RFLP            -
                                                -
        (chemiluminescent detection) and PCR based DNA analysis in this laboratory. I was a
        Senior Forensic Scientist at Technical Associates, Inc., Ventura, California from
        February 1997 until May 2003 and performed and supervised both RFLP and PCR-based
        testing including DQA1, Polymarker, D1S80 and various STR multiplex systems. I have
        performed evidence examinations in hundreds of cases and performed DNA analyses on
        several thousand samples. I am currently in private practice performing forensic science
        consultation.
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                                        Statement of Facts:


     1. Obel Cruz Garcia is charged with capital murder and aggravated sexual assault.

     2. I have been communicated with defense attorney Steve Shellist about the facts of the
        case.

     3. I have asked Mr. Shellist for specific DNA discovery in order to properly consult. He
        included my discovery language in a Motion requesting said DNA discovery from the
        State.

     4. It is my understanding that Mr. Shellist has not yet received from the State what was
        requested.

     5. Once it is received by me, I will need 8 weeks from the time of receiving all discoveries
        to work in a review and consultation. If I see a need for retesting that will take additional
        time as we will have to contract separately with a DNA testing lab.

     6. Contingent upon prompt production of discovery from the State, I will be available to
        consult and testify for file Defendant beginning in May of 2011.


I declare under penalty of peijury that the foregoing is true and correct and that those matters

stated upon information and belief are true to the best of my knowledge.


Executed on this 10th day of January, 2011, at Ventura County, California


                j


Elizaroeth A. Johpron, Ph.D.




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                             AFFIDAVIT OF DANIEL HELL WIG
       I, Daniel Hellwig, state and declare as follows:
    1 . My name is Daniel Hellwig. I am the Laboratory Director of Sorenson Forensics,
       a private forensic laboratory providing forensic DNA casework services for
       federal, state, and local crime laboratories, law enforcement agencies, and courts.
       Sorenson Forensics is an Internationally Accredited ASCLD/LAB (ISO/IEC
       17025:2005) commercial forensic DNA laboratory.
       Education and Experience
    2. I earned a B.S. in biology and chemistry from Viterbo University in La Crosse,
       Wisconsin, in 1997 and a Master’s degree in forensic science from Marshall
       University in Huntington, West Virginia, in 2003. I have twelve years of forensic
       DNA experience and have conducted DNA analysis in approximately 300 cases. I
       have also served as the Forensic DNA Technical Leader of Sorenson Forensics for
       two and a half years, supervising the technical operations of the DNA laboratory.
    3. As the Laboratory Director of Sorenson Forensics, I direct the supervision of
                                                              -
       senior DNA staff members, overseeing a team of thirty six people. Prior to joining
       Sorenson Forensics in 2009, I worked for several years as a forensic scientist
       performing DNA analysis for both the New Mexico Department of Public Safety
       and the Minnesota Bureau of Criminal Apprehension. I have also worked as an
       instructor of forensic science coursework at New Mexico Highlands University
       and at Santa Fe Community College.
    4. I am a member of the American Academy of Forensic Sciences and the American
       Society of Crime Laboratory Directors. I also previously held membership with
       the International Association for Identification, and as a panel review member of
       the National DNA Identification System . I am certified as an FBI DNA Quality
       Assurance Auditor and as an ASCLD/LAB-International Assessor.               I have


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       presented at numerous conferences and workshops on forensic DNA analysis
       throughout the United States.
    5. I have been qualified to testify as an expert in forensic DNA analysis in Texas,
       New Mexico, and Utah.
    6. My C.V. is attached to this affidavit.
       Involvement in Obel Cruz-Garcia ’s Case
    7. Sorenson Forensics was retained in November 2014 by the Office of Capital Writs
       to do a case review of the DNA testing performed by various laboratories,
       including the Houston Police Department (HPD) crime laboratory, Genetic Design,
       and Orchid Cellmark related to Obel Cruz-Garcia’s capital trial. For this review,
       we were provided with case files regarding the testing done by the HPD crime lab,
       Genetic    Design,      and   Orchid     Cellmark,   including   reports,   supporting
       documentation, and chain of custody documents.
       DNA Case Review Findings
    8. My review of the materials provided yielded several significant concerns about the
       DNA testing and analysis performed in this case. Had I been retained as an expert
       in forensic DNA analysis at Cruz-Garcia’s 2013 capital murder trial, I could have
       provided testimony that would have assisted the judge and the jury in evaluating
       the integrity and significance of the DNA evidence presented at the suppression
       hearing and at trial.
       Chain of Custody Problems
    9. My review of chain of custody documentation raised concerns about the integrity
       of the probative pieces of evidence in this case. Based on my review of chain of
       custody documentation provided by Orchid Cellmark, it appears the evidence bag
       containing the sexual assault kit that housed the vaginal swabs tested in this case
       was unsealed prior to laboratory processing. The laboratory noted that the “FedEx
       Box” that contained the evidence was sealed, but the sexual assault kit housed
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       within that box was unsealed when received by the Orchid Cellmark laboratory .
       Given the extended timeframe between the original HPD/Genetic Design testing
       and the submission of this evidence to Orchid Cellmark   —roughly fifteen years—
       the unsealed sexual assault kit raises serious concerns as to the integrity of this
       evidence.
    10.1 also noted that, although the manila envelope containing the cutting from the
       crotch of the red panties was identified as a sealed container, two integral pieces
       within that sealed package were noted as unsealed .        The unsealed envelopes
       contained within this packaged housed the cutting from the crotch of the red
       panties and the liquid blood known sample from Arturo Rodriguez. An unsealed
       known sample housed with an unknown evidence sample is cause for concern and
       calls into question the integrity of this evidence.
       The Mixture DNA Profile Obtained from the Cutting of the Red Panties
    11.A mixture DNA profile was obtained from the sperm cell fraction from the cutting
       of the red panties. At trial, testimony was presented that Obel Cruz-Garcia was the
        major contributor to this mixture and that Arturo Rodriguez could not be excluded
       as the second contributor to the mixture.
    12.In my review, I noted that no statistical evaluation was reported by Orchid
       Cellmark with respect to the inclusion of Arturo Rodriguez in the mixture DNA
        profile obtained from the cutting of the red panties.      In 2010, the Scientific
        Working Group on DNA Analysis Methods (SWGDAM) provided guidelines that
       specifically state that any inclusion (or non-exclusion ) must be reported along with
       a statistical weight to aid the trier of fact in the strength of this inclusion. The
        laboratory did not do a statistical calculation on this DNA mixture and, thus,
       should not have included Arturo Rodriguez as a possible contributor to this
        mixture without an associated weight.


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    13.Additionally, the DNA mixture obtained from the cutting of the red panties is only
       detected in four of fifteen DNA loci and at a very low level. It is very unlikely that
       any of these would be deemed suitable for statistical analysis and, thus, impossible
       to obtain that statistical weight. It is thus my opinion that the comparison between
       this item and Arturo Rodriguez should have been deemed inconclusive.
    14.Testimony at trial that Arturo Rodriguez was the second contributor to the mixture
       DNA profile obtained from the sperm cell fraction from the cutting of the red
       panties was, therefore, misleading. The second contributor to the mixture should
       correctly have been described as an unknown source.            Based on the genetic
       material recovered, there is insufficient information for a laboratory to conclude
       that Arturo Rodriguez may have been the second contributor.
       The Vaginal Swabs
    15. Regarding the sperm cell fraction of the vaginal swab, I disagree with the statistical
       weight provided by the Orchid Cellmark report. When utilizing the statistical
       method used in this analysis, the Combined Probability of Inclusion (CPI), it is
       essential to evaluate the DNA profile obtained to ensure that no allelic dropout
       (DNA information that is “missing” from the profile due to minute amounts of
       input DNA or DNA degradation ) has occurred, as this will invalidate the CPI
       statistic. With regards to the sperm cell fraction of the vaginal swab, there are
       several DNA loci (tested locations on the DNA) that appear to be at a low enough
       level that the laboratory should have precluded them from statistical analysis.
       There are even indications of missing allele (denoted by a * in the laboratory
       notes) where the laboratory still improperly utilized this DNA locus for statistical
       analysis.
    16.The SWGDAM guidelines recommend incorporation of a stochastic threshold to
       ensure that no allelic dropout is occurring, thus validating the CPI statistic. It does
       not appear that the laboratory utilized a stochastic threshold in this case. The
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       laboratory chose to preclude the use of only one DNA locus ( FGA) from the
       statistical calculation when there are definite questions as to allelic dropout at
       several other DNA loci. Specifically, D21S11, D7S820, CSF1PO, vWA, TPOX,
       D18S51, D5S818 appear to have either possible alleles below analytical threshold
       or alleles that would fall under typical stochastic threshold for this amplification
       kit.
    17. Additionally, the laboratory provided two separate statistical analyses for this item,
       one for the inclusion of Arturo Rodriguez and another for the inclusion of Obel
       Cruz-Garcia. It is essential that evaluation of the unknown, evidentiary DNA
       profile occur with no bias from the known samples that will be compared.
       Essentially, an unknown evidentiary profile should be evaluated for suitability for
       comparison as well as statistical analysis before introducing the known, potential
       suspect samples. That appears not to have been the case in this analysis, as the
       statistics were changed for the subsequent inclusion of Obel Cruz-Garcia. This is
       in violation of SWGDAM guidelines, and I disagree with this practice. It is a
       fundamental principle of forensic analysis to do all possible to remove
       interpretational bias toward any individual by analyzing the evidentiary DNA
       profiles previous to and blind to the analysis and subsequent comparison to the
       known sample.      Orchid Cellmark’s failure to do so calls into question the
       comparison as well as the statistics generated as a result of this comparison.
       The HPD Crime Lab’s Reinterpretation of the Orchid Cellmark Data
    18.1n this case, the HPD crime laboratory interpreted data/profiles that were generated
       by the Orchid Cellmark laboratory approximately three years prior to the issuing of
       the HPD report. This in itself is problematic, given that, as a best scientific
       practice, it is not recommended that a laboratory reanalyze the work of another
       forensic DNA laboratory. The analysis and interpretation of forensic DNA profiles
       should be done utilizing the procedures, protocols, and interpretation thresholds
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       (analytical, stochastic, etc.) of the laboratory that processed and created the
       profiles.
    19.1n addition to my concerns about Orchid Cellmark’s initial interpretation and
       reporting of the DNA profile from the sperm cell fraction of the vaginal swab, I
       also disagree with the HPD reinterpretation of this profile. It is impossible for the
       HPD laboratory to evaluate for stochastic dropout when 1) the original Orchid
       Cellmark data did not appear to use a stochastic threshold in their original
       interpretation and 2) the HPD laboratory does not have a thorough understanding
       of the validation documentation, procedures, and thresholds specific to the Orchid
       Cellmark laboratory processing necessary to accurately reinterpret this profile, as it
       displays data that would likely be within a range of stochastic concerns. It is
       required by accreditation standards that every laboratory must validate the
       instruments, chemistries, and procedures before utilizing them within their
       laboratory.    These lead to laboratory-specific thresholds, procedures, and
       specifications that are applicable to the laboratory itself. Thus, without intimate
       knowledge of and proper adherence to the validated procedures, thresholds, and
       specifications of the Orchid Cellmark laboratory at the time of their interpretation,
       the HPD laboratory would not be utilizing the interpretation that is unique to the
       laboratory that the data was created in and interpreted under.
    20.Additionally, it appears that the HPD laboratory made the decision in its
       reinterpretation of this DNA mixture to exclude a DNA marker (D21S11) in its
       statistical calculations that was originally included by the Orchid Cellmark
       interpretation and included a DNA marker (D19S433) in its statistical calculation
       that was originally excluded by the Orchid Cellmark interpretation. There is no
       provided documentation that explains the reason behind this interpretation decision
       by the HPD laboratory . This is another example of the difficulties that stem from


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       HPD’s reinterpreting data that was not generated at its own laboratory and, in my
       opinion, this was not an appropriate adjustment to the statistical interpretation .
    21.Furthermore, while interpreting the two single source profiles (the cigar and the
       major component of the sperm cell fraction from the panties), the HPD laboratory
       increased the rarity of the profile by including two DNA loci (D2S1338 and
       D19S433) in its statistical calculation. These were previously not reported in the
       Orchid Cellmark laboratory report. While the inclusion of these two markers in
       the statistics is not necessarily cause for concern, it is still problematic that the
       original laboratory that created the profile did not denote these two markers as
       suitable for comparison (and thus suitable for statistical calculation) in any way.
       The only documentation that noted suitability for statistical calculation within the
       Orchid Cellmark report is the documentation of the statistics that the laboratory
       used, which, in both profiles, did not include these two markers. The HPD report
       assumes that there is no concern for utilizing these two markers in the statistical
       calculation. While this may be true, it is impossible to be absolutely certain as,
       again, the Orchid Cellmark laboratory interpreted the profiles in question and did
       not document the suitability of these markers for comparison sufficiently to
       remove any doubt.       This illustrates the difficulties and concerns of HPD’s
       interpreting data that was not generated by its own laboratory.
       Conclusions Regarding the DNA Testing Performed in This Case
    22.As stated previously, my review of the materials related to the DNA testing
       performed in this case yielded significant concerns regarding the reliability of the
       evidence tested and some of the conclusions drawn regarding this evidence.
    23.First, the fact that certain chain-of-custody documents suggest that key pieces of
                                                      —
       evidence— including the sexual assault kit were received unsealed by Orchid
       Cellmark calls into question the integrity of the physical evidence.                  It is
       furthermore problematic that this documentation shows that a known contributor
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       sample   —the blood of Arturo Rodriguez—was housed together with an unsealed
       unknown sample. Such practices are against best scientific practice, and call into
       doubt the overall reliability of the evidence handling in this case.
    24.Second, it is my opinion that no conclusion should have been drawn, or could have
       been drawn, about Arturo Rodriguez’s inclusion as a contributor to the DNA
       mixture present on the crotch cutting from the red panties. Based on my review of
       the evidence, there is insufficient information to suggest that Arturo Rodriguez,
       rather than an unknown additional contributor, was the source of the additional
       male DNA sample present on this evidence.
    25.Third, I find the manner in which Orchid Cellmark rendered statistical conclusions
       regarding the DNA sample on the vaginal swabs to be problematic and against best
       scientific practices.    Furthermore, Orchid Cellmark acted in violation of
       SWGDAM guidelines in adjusting its DNA inclusion statistics based on the
       introduction of the known-suspect sample from Obel Cruz-Garcia.
    26.Finally, a host of problems arise from the HPD crime laboratory’s decision to
       reinterpret Orchid Cellmark’s data, rather than conducting DNA testing anew prior
       to trial . Such a practice necessarily compromises the statistical and scientific
       validity of the conclusions drawn and presented regarding the DNA evidence in
       this case.
    27.1 was available to consult and testify as an expert in forensic DNA analysis at
       Cruz-Garcia’s 2013 capital murder trial. Had I been retained, I would have told
       Cruz-Garcia’s counsel what is contained in this affidavit and would have testified
       to the same had I been called as a witness.




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    28.1 have read and reviewed this nine-page affidavit.


       I declare under penalty of perjury under the laws of the State of Utah that the
       foregoing is true and correct to the best of my knowledge and that this affidavit
       was executed on the       of August, 2015 in                         L{ [   .




                                           <    C Daniel Hellwig




       Subscribed and sworn to before me on                            , 2015.




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                                                              May 29 2017




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                                   DANIEL S. HELLWIG
                                    SORENSON FORENSICS
                       2511 S. WEST TEMPLE, SALT LAKE CITY, UT 84115
        801-462-1486 •              (CELL) • DHELLWIG@SORENSONFORENSICS.COM

      EDUCATION

      Bachelor of Science Degree, Viterbo University, La Crosse, Wisconsin, 1997
      Major: Biology/Chemistry

      Masters of Science Degree, Marshall University, Huntington, West Virginia, 2003
      Major: Forensic Science

      WORK EXPERIENCE
      July 2013 - Present
      Lab Director, Sorenson Forensics, Salt Lake City, UT
       Direct supervision of senior DNA staff members
       Manage the evaluation, interview and hiring of potential employees
       Responsible for the operation and oversight of DNA casework operations and personnel
       Budget management and oversight for DNA casework operations
       Provide both in-house and offsite technical training
       Assist with laboratory development consulting projects (Lagos, Nigeria; Dakar, Senegal)
       Consult with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing and
           DNA results, conclusions and statistics
       Planning and implementation of technology upgrades, process modification and lean/six sigma quality and
           efficiency projects
       Establishing and maintaining business development relationships with potential partners, vendors and collaborators
           within the forensic community
       Provide and report forensic DNA case reviews for the defense law community

      January 2012 – July 2013
      Associate Lab Director – Operations, Sorenson Forensics, Salt Lake City, UT
       Direct supervision of senior DNA staff members
       Manage the evaluation, interview and hiring of potential employees
       Responsible for the operation and oversight of DNA casework operations and personnel
       Provide both in-house and offsite technical training
       Assist with laboratory development consulting projects (Lagos, Nigeria; Dakar, Senegal)
       Consult with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing and
          DNA results, conclusions and statistics
       Planning and implementation of technology upgrades, process modification and lean/six sigma quality and
          efficiency projects
       Establishing and maintaining business development relationships with potential partners, vendors and collaborators
          within the forensic community
       Provide and report forensic DNA case reviews for the defense law community

      June 2009 – January 2012
      Forensic DNA Technical Leader, Sorenson Forensics, Salt Lake City, UT
       Responsible for the technical operation and oversight of DNA analytical operations
       Developed and evaluated all laboratory methods and protocols for forensic DNA casework
       Ensured all technical staff is properly trained on existing and new technical procedures
       Oversaw, participated in and evaluated all in-house forensic validations
       Performed forensic DNA examinations on a variety of evidentiary items and write reports regarding the result of
          that testing
       Responsible for testifying as an expert witness in court
       Provided and reported forensic DNA case review for the defense law community
       Consulted with law enforcement, prosecutors and other forensic laboratory staff on evidence submission, testing
          and DNA results, conclusions and statistics
       Provide both in-house and offsite technical training


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      December 2008 – June 2009
      Professor, New Mexico Highlands University, Las Vegas, New Mexico
       Instructed forensic science related coursework in the Chemistry department of the university
       Developed class curriculum for several forensic science classes
       Assisted the department in their pursuit of a Forensic Science Education Programs Accreditation Commission
          (FEPAC) accredited B.S. Forensic Science degree offering
       Provided forensic DNA case review for the New Mexico defense attorney community

      July 2003 - November 2006; October 2007 - September 2008
      Forensic Scientist - Advanced, New Mexico Department of Public Safety, Santa Fe, New Mexico
       Performed forensic serology and DNA examinations on a variety of evidentiary items and wrote reports regarding
           the results of that testing
       Responsible for testifying as an expert witness in court
       Assisted with validation, development of standard operating procedures and performance checks on various new
           technologies
       Quality assurance and quality control laboratory duties, including FBI DNA quality assurance internal auditing
       Instructed various law enforcement personnel on forensic science and crime scene investigation techniques
       Acted as safety officer of the DNA section

      November 2006 - October 2007
      Forensic Scientist/Crime Scene Investigator, Minnesota Bureau of Criminal Apprehension, Bemidji, Minnesota
       Performed forensic serology and DNA examinations on a variety of evidentiary items and wrote reports regarding
          the results of that testing
       Responsible for testifying as an expert witness in court
       Responded to and processed homicide crime scenes as a member of the Bemidji regional Crime Scene Team.
       Quality assurance and quality control laboratory duties
       Acted as the safety officer for the Bemidji regional laboratory

      January 2004-November 2006
      Part-time Faculty, Santa Fe Community College
       Instructed coursework for Forensic Science I and II
       Responsible for developing and instructing the forensic science curriculum in the Criminal Justice program of the
          college

      May 2002 - August 2002
      Intern, Armed Forces DNA Identification Laboratory, Rockville Maryland
       Assisted with validation and development of several Mitochondrial DNA extraction techniques
       Assisted AFDIL staff in the compilation and reporting of findings for future publication

      COURT TESTIMONY
      •     Qualified as an expert in Forensic Serology/DNA Analysis on multiple occasions in several different jurisdictions
            throughout the state of New Mexico (2004-2008)

      •     Qualified as an expert in Forensic DNA Analysis in the state of Texas (2010, 2014)

      •     Qualified as an expert in Forensic DNA Analysis in the state of Utah (2010-2011, 2014)



      PROFESSIONAL ASSOCIATIONS
      NDIS Panel Member, National DNA Identification System (FBI), 2008
      Member, American Academy of Forensic Sciences, 2001-present
      Member, International Association for Identification, 2001-2003

      CERTIFICATES
      FBI DNA Quality Assurance Auditor                                          March 3, 2006
      ASCLD/LAB-International Assessor                                           March 17, 2006



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      Lean Six Sigma Green Belt Certification                      November 27, 2009
      Six Sigma Black Belt Certification                           July 29, 2013
      US Synthetic Corp.                                           Orem, UT


      TRAINING
      American Academy of Forensic Sciences Annual Meeting
      Chicago, Illinois                                            February, 2003
      New Orleans, Louisiana                                       February, 2005
      Seattle Washington                                           February, 2006
      Seattle Washington                                           February, 2010
      Chicago, Illinois                                            February, 2011
      Washington, DC                                               February, 2013

      Reflective Ultra Violet Imaging System (R.U.V.I.S)           January 26, 2004
      Sirchie Finger Print Laboratories                            Santa Fe, NM


      Basic Forensic Serology                                      February 9-13, 2004
      Serological Research Institute                               Richmond, CA

      ABI Prism 310 Genetic Analyzer/AmpFLSTR training             June 1-4, 2004
      Applied Biosystems Inc.                                      Foster City, CA

      Instructor Development                                       July 12-16, 2004
      Law Enforcement Academy                                      Santa Fe, NM

      ABI 3100 Capillary Electrophoresis, GeneMapper ID
      Data Analysis and Real Time PCR Training Module              June 12-17, 2005
      Marshall University                                          Huntington, WV

      DNA Auditor Training                                         February 20-21, 2006
      Federal Bureau of Investigation                              Seattle, WA

      Decoding DNA: Train the Trainer                              March 8-10, 2006
      Texas Regional Community Policing Institute                  Salt Lake City, UT

      ASCLD/LAB Introduction to ISO/IEC 17025:2005                 March 13, 2006
      Federal Bureau of Investigation                              Stafford, VA

      ASCLD/LAB-International Assessor                             March 13-17, 2006
      Federal Bureau of Investigation                              Stafford, VA

      Court Room Testimony                                         September 27-30, 2007
      Minnesota Bureau of Criminal Apprehension                    St. Paul, MN

      Bode Technologies Technical Workshop - East                  May 19-22, 2008
                                                                   Captiva Island, FL

      Lean Six Sigma Laboratory Efficiency Improvement             August 2009-November 2009
      Sorenson Forensics                                           Salt Lake City, UT
      Presenter: Dirk Hooiman (Lean Six Sigma Master Black Belt)

      SWGDAM Mixture Interpretation Guidelines                     August 5, 2010
      Utah State Bureau of Forensic Science                        Salt Lake City, UT
      Presenter: Bruce Heidebrecht (SWGDAM)

      Microsoft Excel: Beyond the Basics/Advanced Excel            August 11-12, 2010
      Fred Pryor Seminar                                           Salt Lake City, UT




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      Genemapper ID-X User Training                                       November 3-4, 2010
      Sorenson Forensics                                                  Salt Lake City, UT
      Presenter: Catherine Caballero (Forensic Training Network)

      National CODIS Conference                                           November 15, 2010
                                                                          Salt Lake City, UT

      California Association of Criminalists Spring Meeting               May 18, 2011
      DNA Workshop                                                        Long Beach, CA

      Promega Powerplex 18D System Workshop                               June 1-2, 2011
      Promega Campus                                                      Madison, WI

      International Society for Applied Biological Sciences 2011 Meeting June 20-24, 2011
                                                                         Bol, Croatia

      Green Mountain DNA Conference                                       July 25-27, 2011
                                                                          Burlington, VT


      Power to Solve Workshop                                             August 8-9, 2011
      Sorenson Forensics                                                  Salt Lake City, UT
      Promega DNA IQ/Plexor HY/PP16HS/PP18D

      Cold Case Conference                                                September 26-30, 2011
      Vidocq Society/Unified Police Department                            Salt Lake City, UT

      Bullet Proof Manager
      Crestcom Management Training                                        Salt Lake City, UT
      Time Management - The 70 Minute Hour                                November 18, 2010
      Plan Management - Effective Planning: A 7 Step Formula              December 16, 2010
      Customer Loyalty - How to Exceed Customer Expectations              January 20, 2011
      Stress Management - How to Survive and Thrive Under Stress          February 17, 2011
      Negotiation - Negotiating to Win                                    March 17, 2011
      Creativity - Tap the Creativity of Your Team                        April 21, 2011
      Motivation - Increasing Productivity through Motivated People       June 16, 2011
      Employee Recognition - Recognition: The Key to Higher Performance   July 21, 2011

      Louisiana Association of Forensic Sciences Annual Meeting           April 18, 2012
      Louisiana State Crime Laboratory                                    Baton Rouge, LA

      International Symposium on Human Identification
      Nashville, TN                                                       October 15-17, 2012

      Mid-Atlantic Association of Forensic Scientists Annual Meeting      May 6-7, 2013
      Roanoke, VA

      PRESENTATIONS/POSTERS/PUBLICATIONS
      Overview of Forensic DNA Techniques (presenter)                     February 27, 2010
      King County Prosecuting Attorney’s Office                           Seattle, WA

      Y-STR Interpretation and Statistics Workshop (presenter)            April 27-28, 2010
      Onondaga County Crime Laboratory                                    Syracuse, NY

      Lean 6 Sigma Efficiency Improvement Project (team lead)             August 17-18, September 14-15, 2010
      Monroe County Crime Laboratory – Forensic DNA Section               Rochester New York

      Y-Screening: An alternative to Microscopic Examination (presenter)
      Michigan State Police Laboratory Conference, Traverse City, MI     August 20, 2010
      California Association of Criminalists Conference, Long Beach, CA  May 18, 2011



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      Green Mountain DNA Conference, Burlington VT                        July 27, 2011
      Genetic Identity Webinar – Promega @cademy                          August 25, 2011
      Louisiana Association of Forensic Sciences, Baton Rouge, LA         April 18, 2012

      STR Wars: A comparison of Powerplex 16HS and Identifiler Plus       October 12, 2010
      Promega International Symposium on Human Identification (poster)    San Antonio, TX

      Forensic Investigative Law Enforcement Ancestry Test (ILEAD) (presenter)
      Cold Case Summit, Unified Police Department, Salt Lake City, UT     April 25, 2011
      International Society for Applied Biological Sciences, Bol, Croatia June 24, 2011
      Green Mountain DNA Conference, Burlington VT                        July 27, 2011
      Louisiana Association of Forensic Sciences, Baton Rouge, LA         April 18, 2012

      Lean 6 Sigma: Efficiency and Quality Improvement (presenter)        June 1, 2011
      Promega Powerplex 18D Workshop                                      Madison, WI

      Basic Y-STR Interpretation and Statistics Workshop (presenter)
      New York State Police Crime Laboratory, Albany, NY                  September 20-22, 2011
      Monroe & Erie County Crime Laboratories, Syracuse, NY               May 4, 2012

      SWGDAM Mixture Guidelines/Y-STR Interpretation (presenter)          December 13-14, 2011
      Massachusetts State Police Crime Laboratory                         Maynard, MA

      Advanced Y-STR Interpretation Workshop (presenter)
      New York State Police Crime Laboratory, Albany, NY                  April 30, 2012
      Massachusetts State Police Crime Laboratory, Maynard MA             June 25-28, 2012 (2 days, 2 classes)
      Oregon State Police Forensic Lab, Clackamas OR                      January 15, 2013
      West Palm Beach County Sherriff’s office                            July 22-23, 2013

      Y-STR Interpretation and Statistics Workshop (presenter)            May 2, 2012
      OCME, Westchester, Suffolk County, Nassau County Laboratories       Westchester, NY

      Bringing Y-STRs into Your Laboratory (workshop chair/speaker)       October 15, 2012
      International Symposium on Human Identification                     Nashville, TN

      Estimating Genetic Ancestry Using SNP Analysis (presenter)          February 8, 2013
      American Academy of Forensic Sciences Annual Meeting                Washington, DC

      Y-STR Workshop (presenter)                                          May 7, 2013
      Mid-Atlantic Association of Forensic Scientists Annual Meeting      Roanoke, VA

      Forensic DNA 101/Trends in Forensic DNA                             May 13, 2014
      2014 Cold Case Summit, Unified Police Department                    Salt Lake City, Utah

      Y-STR Workshop/SWGDAM Mixture Guidelines/Statistics                 Nov 4-6, 2014
      Metropolitan Nashville Police Department                            Nashville, TN




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               IN THE 337TH JUDICIAL DISTRICT COURT
                       HARRIS COUNTY, TEXAS

                                  AND

             IN THE TEXAS COURT OF CRIMINAL APPEALS
                          AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §             CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 11 THROUGH 20
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor, Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  Northern District of Texas
                                  525 S. Griffin St., Ste. 629
                                  Dallas, Texas 75202
                                  jeremy_schepers@fd.org
                                  (214) 767-2746
                                  (214) 767-2886 (fax)

                                  Counsel for Obel Cruz-Garcia



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                                       Houston Forensic Science Center
                                                     Forensic Analysis Division
                                                           Biology Section
                                               1200 Travis Street, Houston, Texas 77002
                                                            (713) 308-2600                                                           FORENSIC TESTING
                                                                                                                                       ISO/IEC 17025

             Incident Number:             105758592
                                                                                    Report Date:                               November 03, 2015
  Forensic Case Number:                    2010-11899

                                                  Amended Laboratory Report #5
The report dated October 18, 2010 (OLO Supplement #84) has been amended with corrections and/or
additions. Under Results and Interpretations, the statistics for item HP07-0014-01 and HP07-0014-07 (sperm
fraction) have been changed to reflect an update to the FBI Popstats database, and the source statement has
been removed. The conclusion for Item HP07-0014-02 (sperm fraction) has changed to reflect current
interpretation guidelines. A conclusion for item 3.1 has been added. The note statement for loci D2S1338 and
D19S433 has been removed. The assigned analyst has changed from Courtney Head to Robin Guidry. The
original report is available at the Houston Forensic Science Center upon request.



                  Offense: Murder                     Previous Analysis:            Genetic Design DNA Report dated February 4,
                                                                                    1993; Genetic Design DNA Report dated February
                                                                                    23, 1994; Orchid Cellmark DNA Report HP07-
                                                                                    0014, dated November 27, 2007; Orchid Cellmark
                                                                                    DNA Report HP07-0014-A, dated December 31,
                                                                                    2007; Orchid Cellmark DNA Report HP07-0014-B,
                                                                                    dated July 25, 2008; Orchid Cellmark DNA Report
                                                                                    HP07-0014-C, dated April 20, 2011; Orchid
                                                                                    Cellmark DNA Report HP07-0014-D, dated June
                                                                                    15, 2011; Laboratory Reports dated November 16,
                                                                                    1992 (OLO Supplement #28), December 1, 1992
                                                                                    (OLO Supplement #31), May 13, 1993 (OLO
                                                                                    Supplement #33), February 24, 1994 (OLO
                                                                                    Supplement #37), December 10, 2007 (OLO
                                                                                    Supplement #48), October 18, 2010 (OLO
                                                                                    Supplement #84), January 13, 2011, and June 25,
                                                                                    2013
    Requesting Officer: R. W.
                        Chappell
                                                                        Lab #: L92-10367

ITEMS OF EVIDENCE:

       3                   Known buccal swabs - Obel Cruz-Garcia

       3.1                 Portion of known buccal swabs – Obel Criz-Garcia




   The Houston Forensic Science Center is accredited by ANSI-ASQ National Accreditation Board/FQS in the following forensic testing categories: Drugs,
                                                          Toxicology, Biology and Firearms.
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           Incident Number:   105758592                                        Houston Forensic Science Center

  Forensic Case Number:       2010-11899 (5)                                   Report Date:       November 03, 2015

   Item 3.1 was compared to the following DNA profiles previously reported by Orchid Cellmark in Report
   HP07-0014, dated November 27, 2007:

   HP07-0014-01: Cigar
   HP07-0014-02: Vaginal swabs from                   (sperm fraction)
   HP07-0014-07: Panties: crotch - red from                (sperm fraction)
RESULTS AND INTERPRETATIONS:
The DNA was extracted and amplified using polymerase chain reaction (PCR). The following STR loci were
analyzed: D8S1179, D21S11, D7S820, CSF1PO, D3S1358, TH01, D13S317, D16S539, D2S1338, D19S433,
vWA, TPOX, D18S51, D5S818, and FGA, along with the sex determining marker Amelogenin.

 HP07-0014-01 (Cigar)
 A full, single-source male DNA profile was obtained from this item. OBEL CRUZ-GARCIA cannot be excluded
 as a possible contributor to the DNA profile obtained from this item. The probability that a randomly chosen
 unrelated individual would be included as a possible contributor to this DNA profile is approximately 1 in 6.0
 quintillion for Caucasians, 1 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest
 Hispanics.

 HP07-0014-02 (Vaginal swabs from                       (sperm fraction))
 A mixture of DNA from at least three individuals, at least one of whom is male, was obtained from this item.
 No conclusions will be made given the excessive number of contributors to this DNA mixture.

 HP07-0014-07 (Panties: crotch - red from                      (sperm fraction))
 A mixture of DNA from at least two individuals, at least one of whom is male, was obtained from this item.
 OBEL CRUZ-GARCIA cannot be excluded as a possible contributor to the major component of this DNA
 mixture. The probability that a randomly chosen unrelated individual would be included as a possible
 contributor to the major component of this DNA mixture is approximately 1 in 6.0 quintillion for Caucasians, 1
 in 700 quintillion for African Americans, and 1 in 100 quintillion for Southwest Hispanics. No conclusions will
 be made regarding the minor component of this DNA mixture due to insufficient data.

 Item 3.1 (Portion of known buccal swabs - Obel Cruz-Garcia)
 A full, single-source male DNA profile was obtained from this item.

DISPOSITION:
All DNA extracts and any remaining portions are being retained in the laboratory. Any other items will be returned
to the submitting agency.



fifU - P
 _______________________
 Robin Guidry
 Supervisor - Forensic Biology
 Assigned Analyst
                                              The prosecutor and defense counsel may obtain additional
documents related to this case by submitting a request to Triage@HoustonForensicScience.org . Requests
should state the requestor’s connection to the case and include full contact information.




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                                 Incident Number:              105758592                                                               Houston Forensic Science Center

                         Forensic Case Number:                 2010-11899 (5)                                                          Report Date:            November 03, 2015
                                                                                                                                                                                                              Case




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                                                                                                                                                                                                                Case




                                      D8S1179       D21S11       D7S820       CSF1PO        D3S1358       TH01     D13S317   D16S539       D2S1338   D19S433    vWA     TPOX   D18S51   Amel   D5S818   FGA
                         Items




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                           3.1
                       Portion of
                         known
                         buccal
                                        10,16       30.2,31        8,11          11           16,18         6,8     11,12       9,11        17,20     13,14     16,17    8     13,18    X,Y      12     22
                        swabs –
                          Obel
                                                                                                                                                                                                                   4:17-cv-03621




                         Cruz-
                         Garcia

                      SF=Sperm Fraction; EF=Epithelial Fraction,
                       NR = No interpretable result; ( ) = Minor allele; ^ = Allele below stochastic threshold
                      ~ = Allele below stochastic threshold, but suitable for statistics, assuming single-source
                      INC = Inconclusive/activity that could not be confirmed as real or artifactual
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                 EXHIBIT 12




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                                     UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                              (HOUSTON)



              Re: United States of America v . Carmelo Martinez,                    APK 1 8 2011
                  NO , 4:98CR00012-004
                                                                              David J. braofey, ClerK of
                                                                                                           Couf

                      Dear Clerk:
              I hope this letter finds you in great health and spirits. I am
              writing to request a copy of my docket record. I am planning to
              mount a collateral challenge based on my continued incompetence
              to accept a guily plea , and to be sentenced.

                   I have a plethora of medical records that illustrate my
              undeniable incompetence to accept a guilty plea , and thus,
              I will file a late 28 U.S.C. § 2255 motion through the aid
              of an inmate assistant, In light of my illness, I would have
              never been able to file such a motion.

                      Please, mail me a copy of my docket entries as soon as
               possible.    In anticipation of your cooperation I thank you.



                                                         Truly yours,



                                                         Carmelo Martinez                     <j
                                                         No. 79574 079
                                                                     -
                                                         MVCC D 6-
                                                             -
                                                         555 1 Geo Drive
                                                         Philipsbuog , Pa 16866

                                                         Dated




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                 EXHIBIT 13




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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                                                                    ORIGINAL
                                         HOUSTON DIVISION

         UNITED STATES OF AMERICA                 §                                 m 2 3 1998          JS
                                                  §
         VS.                                      §      CR-H- 98-12        ilCHAEL fi Iff IBY, Cfsrk of Court
                                                  §
         CARMELO MARTINEZ                         §

                               MOTION FOR PSYCHIATRIC EXAMINATION

         TO THE HONORABLE JUDGE OF SAID COURT:

                 COMES NOW, J.C. CASTILLO , Attorney for Defendant, and respectfully moves

         the court to order the Harris County Sheriffs Office to allow Dr. Fred Fason to examine

         Defendant, Carmelo Martinez.




                                                                                                                 :
                 Attorney for Defendant has reason to believe that a psychiatric examination is

         necessary to determine if Defendant is competent.

                 Arrangements have been made for Dr. Fason to see Defendant in the Harris

         County Jail.

                 WHEREFORE PREMISES CONSIDERED , Movant respectfully prays that the

         Harris County Sheriffs Office be ordered to allow Dr. Fason to conduct the

         examination.


                                                  Respectfully submitted,




                                                  J.C. dASTILLO
                                                  909 Pannin, Suite 1500
                                                  Houston, Texas 77010
                                                  (713)655-1515 Fax (713)655-0314
                                                  SBN: 03986500 Fed Id. 911




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                                    CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing wjas delivered to the Assistant United

      1998.                                            ^
      States Attorney in charge of this case on the _£2 t4day of
                                                         .           0
                                                J.C. CASTILLO




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                 EXHIBIT 14




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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                JUL   '   8 1998
                                      HOUSTON DIVISION
                                                                                       Michael N. Milby, Clerk .


      UNITED STATES OF AMERICA                       §
                                                     §
                                                     §
      v.                                             §          CRNO. H-98-12
                                                     §
      CARMELO MARTINEZ                               §

                                                  ORDER

              Pending before the Court is the motion of Carmelo Martinez to be examined in the

      Harris County Jail by a psychiatrist, Dr. Fred Fason, to determine his mental competence.

      The United States does not oppose the examination, but does not waive its right to have

      Martinez examined by its own psychiatrist. The motion states that arrangements have been

       made to have Martinez examined by Dr. Fason in the Harris County Jail. The Court has not

       been made aware of the nature of the arrangements and can only assume that the Harris

       County Jail authorities have agreed to co-operate with Dr. Fason, Martinez, and Counsel to

       provide a place and adequate security for such an examination within the confines of the jail.

       If these are the particulars of the “arrangements,” then it is hereby

              ORDERED that defendant Carmelo Martinez be examined by Dr. Fred Fason at the

       Harris County Jail.

              Signed at Houston, Texas, this 3rd day of July, 1998.



                                                           n
                                                             ^ -rw    -<
                                                              Melinda Harmon
                                                         United States District Judge
                                                                                           —
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                 EXHIBIT 15




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              Memorandum



            To
                                         -
                       SAC, HOUSTON (7 HO-34256) (GC 1) (P )-           Dace   2 / 9 /93        &
            From       SA ERIC L. JOHNSON

            Subject:   UNSUBS;
                       KIDNAPPING;
                                       -   VICTIM ( DECEASED);
                       OO: HOUSTON


                   The purpose of this memorandum is to furnish the
        present status of this case          .
                                       On 2 /8 /93 , SA GABE MALDONADO, San
        Juan Division, Dominican Republic Liaison Agent , advised that the
        Dominican Republic Officials would not be willing to extradite
        OBEL JULIAN CRUZ-GARCIA, aka CHICO, from the Dominican Republic
        (DR ) to the United States, since GARCIA is a DR citizen. SA
        MALDONADO did state that if the local charge against GARCIA was
        murder and the UFAP was for murder, DR would consider and most
        likely extradite GARCIA,    SA MALDONADO further advised that INS
        stops are in place for Puerto Rico and local officials in DR have
        been advised of the outstanding warrant against GARCIA.

                                                 .
                    Also on 2 / 8/ 93, J.C CASTILLO, telephone number
        712 / 655-1515, who is the attorney for ANGELITA RODRIGUEZ, advised
        that in December 1992 , RODRIGUEZ telephonically contacted him
        from Santa Domingo, Dominican Republic. RODRIGUEZ stated that
        she would not be able to attend her scheduled court hearing (a
        few days later ) due to a family illness. CASTILLO informed
        RODRIGUEZ that her bail would most likely be forfeited and a
        warrant for her arrest was also likely if she did not attend the
        hearing. On the hearing date, RODRIGUEZ did not appear, but the
        Judge post -poned the trial until May 6, 1993            .
                                                           CASTILLO has not
        heard from RODRIGUEZ since her initial call in December and
        assumes RODRIGUEZ believes a warrant for failure to appear was
        issued for her arrest. RODRIGUEZ is the common law wife of
        GARCIA and is currently residing with RODRIGUEZ in the Dominican
        Republic at her mother's house.
                  On 2 / 9 /92, Houston Police Department Homicide
        Detective, BILL STEPHENS advised that DNA test conducted on the
        specimens taken from DIANE GARCIA the morning of sexual assault
        and kidnapping was determined to be from three or four unknown
        males. At this time, HPD have not identified any other suspect
        outside of OBEL JULIAN CRUZ-GARCIA.
        3 - Houston (Z> - 7 — HO-34256) (1
        ELJrelj
                                                     - 88B-H0-34368 )
        (3)




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                 EXHIBIT 16




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    NOT TO BE CONNECTED WITH THE ABDUCTION .
                                                                                                     b6
                                                                                                     b7C




             THROUGH INVESTIGATIONS CONDUCT BY THE HOUSTON POLICE

    DEPARTMENT AND THE HOUSTON FBI IT IS BELIEVED THAT OBEL JULIAN
    CRUZ- GARCIA , AKA CHICO , IS BEHIND THE KIDNAPPING               OR KNOWS THE

        IDENTITIES OF THE INDIVIDUALS WHO COMMITTED THE KIDNAPPING .

                                                                   THROUGH
        INTERVIEWS IT WAS DETERMINED THAT                                                           b6
                                                                                                    b7C
    BECAUSE OF T H I S , I T I S BELIEVED THAT CHICO TOOK




             THE SECOND THEORY ,       INVOLVES A DRUG RIP - OFF COMMITTED BY
    CHICO                                                                                                  b6
                                                                                                           b7C
                                               APPROXIMATELY F I V E MONTHS AGO .




            SINCE THE KIDNAPPING , C H I C O ’ S WHEREABOUTS HAVE BEEN

    UNKNOWN AND ON 1 0 / 8 / 9 2 CHICO FAILED TO APPEAR FOR A PENDING




                                                                                                                 I
                                                                                                                 !
                                                                                              000929
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                 EXHIBIT 17




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       FD-36(Rev. 8-29-85)

                                                                 FBI

               TRANSMIT VIA :              PRECEDENCE:                      CLASSIFICATION:
               1x3 Teletype                   Immediate                        TOP SECRET
                   Facsimile               1X1   Priority                      SECRET
                   AIRTEL                        Routine                       CONFIDENTIAL
                                                                               UNCLAS E F T 0
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                                                                               Date   12/ 2/92



                                     - -
             FM FBI HOUSTON (7 HO 34256) (P)
*           TO DIRECTOR FBI/PRIORITY/
                                                                                                                  b7D


             BT
             UNCLAS
             CITE:       // 3290//


             SUBJECT:        UNSUB(S);                           -   VICTIM (DECEASED);
             KIDNAPPING ; 00:        HOUSTON.

                      RE HOUSTON TEL TO BUREAU , ET AL, DATED 10/1/92.
                      FOR INFORMATION OF BUREAU AND SAN ANTONIO, ON THE MORNING
             OF 10/ 5/92, VICTIM WAS FOUND DEAD IN A BAYTOWN , TEXAS CREEK.

             BAYTOWN IS LOCATED JUST OUTSIDE OF HOUSTON , TEXAS. THE BODY
             WAS FOUND BY A MAN WHO HAD BEEN CRAB FISHING IN THE CREEK. IT

             APPEARED THAT THE BODY HAD BEEN AT THE LOCATION FOR A MINIMUM
             OF TEN DAYS, BUT MAY HAVE BEEN ABANDONED AT THE SITE SHORTLY
             AFTER ABDUCTION.        DUE TO THE DEGRADED CONDITION OF THE E CjDY ,
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                                                                                                        J
                                                                                            Serialized V J
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               Approved:                               Original filename:   F&ro / O
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               MRI /JULIAN DATE:                  /Z
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               FOX DATE & TIME OF ACCEPTANCE:
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        CAUSE OF DEATH COULD NOT BE DETERMINED ( DO NOT RELEASE

        INFORMATION ABOUT UNCERTAIN CAUSE OF DEATH ).
                ON 10 / 11/92 , WHILE THE VICTIM WAS STILL MISSING , A MAN

        WHO IDENTIFIED HIMSELF AS                  TELEPHONICALLY CONTACT                       b6
                                                                                                b7C



        ADVISED THAT HE KNEW THE PEOPLE WHO KIDNAPPED                       AND
        STATED THAT THE PEOPLE WANTED $30, 000.00 BEFORE 10/ 30/92.

                BOASTED ABOUT HAVING BETTER CONTACTS THAN THE FBI AND THE
        HOUSTON POLICE DEPARTMENT ( HPD).                 ALSO INQUIRED

        EXTENSIVELY ABOUT WHAT INFORMATION HAD BEEN FURNISHED TO THE
        FBI AND HPD ABOUT THE KIDNAPPING.                  TOLD             TO HAVE

                 CONTACT HIM AT TELEPHONE NUMBER                         AND ADDED
        THAT HE KNEW               TELEPHONE WOULD BE TAPPED.

                LATER THAT EVENING ,           TELEPHONICALLY CONTACTED                         b6
                                                                                                b7C
                                                                                                b 7E

                                            ONCE AGAIN            -BOLSTERED   ABOUT

        HAVING BETTER CONTACTS INTO THE KIDNAPPERS, ALTHOUGH HE DID
        NOT MENTION THE $ 30, 000.00 RANSOM DEMAND.                  PRESSED
        ABOUT INFORMATION THAT WAS TOLD TO THE FBI AND ENDED THE

        CONVERSATION




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        BY STATING THAT HE WOULD GET BACK TO THEM.                DETECTIVE

                           CHARACTERIZED THE CALL AS BEING A HOAX.
                                                                                                    b6
                                                                                                    b7C
                                      DETERMINED THAT                                               b7D




                INVESTIGATION AT HOUSTON DETERMINED THAT TELEPHONE NUMBER

                               WAS SUBSCRIBED TO

                                                        ON                        WAS

        CONTACTED                    ADVISED THAT[           IS
                                                                                              v/
                      IS                                                          WEEK
        OF 10 / 11 / 92                WAS LIVING Yq                     ON THE          x/
        NIGHT OF 10 / 11 /92 ,                 ADVISED THAT                                       b6
                                                                                                  b7C
                                                                                              V''
                                                                                                  b7D

        STOPPED BY TO SEE                       WHILE INSIDE THE APARTMENT,
                      ASKED THE TWO IF THEY HAD HEARD ABOUT THE CHILD WHO

        WAS MISSING            THEY REPLIED,   "YES".
                           ^
                           THEN WALKED OUTSIDE.
                               RETURNED TO THE APARTMENT ALONE AND PLACED A
        TELEPHONE CALL.                   OVERHEARD               SAYING,   "DO   YOU
        KNOW ABOUT THAT DEAL WITH                                        THEN




                                                                                         000933
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        REQUESTED $ 30 , 000 AND THEN LOWERED THE REQUEST TO $ 20, 000.00.

        LATER , AFTER               HUNG UP THE TELEPHONE, THE TELEPHONE RANG
                                                                                            b6
                          ANSWERED THE PHONE. A FEMALE IDENTIFIED HERSELF AS
                                                                                            b7C
                                                                                            b 7D
                                                              HANDED THE TELEPHONE
        TO                 AFTER           ENDED THIS CONVERSATION, HE BECAME
        VERY DEPRESSED.                                 BEGAN ARGUING BECAUSE
                      DID NOT APPROVE OF             MAKING THESE CALLS FROM

                       RESIDENCE.             ORDERED                OUT OF HIS

        APARTMENT AND CALLED THE POLICE TO HAVE HIM REMOVED.
               SINCE THIS INCIDENT                 HAS HAD SHORT CONVERSATIONS
        WITH                  ON THE TELEPHONE AND HAS TOLD HIM THAT HE WAS

                                        DOES NOT BELIEVE                    KNOWS
        ANYTHING ABOUT THE SUBJECTS WHO KIDNAPPED THE VICTIM.                 HE
        BELIEVES                           AT HIS HOUSE ON 10/ 11/92 WERE
        PROBABLY                                       ON

        TELEPHONICALLY CONTACTED                              TOLD            THAT
        THE FBI WANTED TO SPEAK WITH HIM.                      ADVISED THAT HE WAS
                             AND COULD BE REACHED AT TELEPHONE NUMBER


                                                                                                   b6
                                                                                                   b7C
                                                                                                   b 7D




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                                                                                                b6
                                                                                                b7C
                                                                                                b7D




               NO SUBJECTS HAVE BEEN IDENTIFIED IN THIS MATTER.                 FBI
        HOUSTON AND HPD ARE CURRENTLY ATTEMPTING TO LOCATE ONE

                                        -
        SUSPECT, OBEL JULIAN CRUZ GARCIA , AKA , CHICO. CRUZ GARCIA IS  -
        MOST LIKELY IN PUERTO RICO AT THIS TIME. LEADS HAVE BEEN SENT
        TO THE SAN JUAN DIVISION       tb
                                        /
                                                                            -
                                                                       Lt/vr .              J
                                                      IS HISPANIC MALE                          b6
                                                                                                b7C




                                                            DETERMINE ADDRESS TO
        TELEPHONE NUMBER                         LOCATE AND INTERVIEW
                      CONCERNING HIS KNOWLEDGE OF THE KIDNAPPING OF
        CAPTIONED VICTIM.         LEAD SHOULD BE CONDUCTED AS SOON AS




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                                                                                            b6
        POSSIBLE.                         ADVISED THAT                                      b7C
                                                                                            b7D



        BT




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                 EXHIBIT 18




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 TO FBI HOUSTON / ROUTINE/

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     CITE:      // 3770//
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 SUBJECT:             UNSUB(S);                   •   VICTIM ( DECEASED);
     KIDNAPPING; 00:            HOUSTON.

             REFERENCE HOUSTON TELETYPE TO                           DATED DECEMBER                                   b7D

     2, '1992.

             FOR INFORMATION OF THE HOUSTON OFFICE

             I DATE   OF BIRTH                          WAS CONTACTED ON

                                 DENIED ANY INVOLVEMENT IN THE KIDNAPPING AND                               b6
                                                                                                            b7C
     SUBSEQUENT DEATH OF                                        STATED HE WAS                               b7D

     DEEPLY CONCERNED ABOUT THE YOUNG BOY AND DISCUSSED THE MATTER
     WITH                                                     WHO AT THE TIME WAS




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* PAGE"TWO        DE FBl]      |0002   UNCLAS                                                             b7D




    INFORMED                   THAT                                                                     b6
                                                                                                        b7C
                          PROVIDED                WITH THE PHONE NUMBER WHICH                           b7D

                 SUBSEQUENTLY CONTACTED AND WAS ABLE TO SPEAK TO

                                                 PRIOR TO PLACING THE PHONE
    CALL,                TALKED WITH AN ACQUAINTANCE                   WHO TOLD

                TO TELL                     IF SHE KNEW WHERE THE BOY WAS HE
    COULD GO IN AND GET HIM BACK FOR TEN THOUSAND DOLLARS.

                RELAYED THAT INFORMATION TO
               ] ALSO   STATED THAT[            HAD TOLD HIM


    FURTHER IDENTIFIED                     AS BEING


            AN AIRTEL WITH THE FD-302 INTERVIEW OF                       WILL                             b6
                                                                                                          b7C
    FOLLOW.                                                                                               b7D

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                 EXHIBIT 19




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                                 CITY OF HOUSTON
                                   INTER CORRESPONDENCE
                                          OFFICE

        Jim Bolding                           FROM:   W.I. Stephens,               Sergeant
        Crime Lab
VIA: 1.0. Franks, Lieutenant                         DATE:
                                                                January 6 1993
     Homicide Division
                                                                Request fo   AMP -
                                                     SUBJECT:
                                                                in the   ^              Case

        On September. 30, 1992, several suspects allegedly broke into an
        apartment occugie b irturo Rodriguez, Diana Garcia, and her seven
        year old son,
                           ^
                         ^ ^
                             ^          According to Diana and Arturo, one
        suspect pisto wnippec Arturo while another sexually assaulted
        D n     Following the beating and sexual assault, the suspects took
                                                                                              .



         ^^ ^^
        Tn abouctTon,
                      an lef th scene. Approximately a month following
        Lake near Baytown.^ ^^          decomposed body was found in Goose

        Diana and Arturo have been untruthful throughout the investigation
        with regard to the events inside the apartment and the identity of
        the suspects. A rape kit was obtained on Diana Garcia, and the
        blood of several possible suspects has been submitted during the
        course of the investigation. As per our conversation on January 5,
        1993 where we were informed of the two possible hits concerning
        suspect Mello and Rodriguez and the presence of additional material
        indicating that there is an unknown suspect, we request that an
        AMP-FLP test be conducted on the pertinent samples obtained during
        this investigation.
        We intend to take Diana Garcia to the Grand Jury and will use the
        DNA evidence when she is questioned. We are in hopes we will learn
        the truth concerning th j t e an identity of the suspects who
        abducted and murdered         ^^ ^ ^      We will then use this
        evidence in the prosecution of the suspects.




                                                                  W.I. Stephens, Sergeant
                                                                  Homicide Division




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                 EXHIBIT 20




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               IN THE 337TH JUDICIAL DISTRICT COURT
                       HARRIS COUNTY, TEXAS

                                  AND

             IN THE TEXAS COURT OF CRIMINAL APPEALS
                          AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §             CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 21 THROUGH 30
                                  Jeremy Schepers (Texas 24084578)
                                  Supervisor, Capital Habeas Unit
                                  David Currie (TX 24084240)
                                  Naomi Fenwick (TX 24107764)
                                  Assistant Federal Public Defender
                                  Office of the Federal Public Defender
                                  Northern District of Texas
                                  525 S. Griffin St., Ste. 629
                                  Dallas, Texas 75202
                                  jeremy_schepers@fd.org
                                  (214) 767-2746
                                  (214) 767-2886 (fax)

                                  Counsel for Obel Cruz-Garcia



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                 EXHIBIT 21




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                               AFFIDAVIT OF CESAR AMADO RIOS

        I, Cesar Amado Rios, state and declare as follows:

            1. My name is Cesar Amado Rios. I have known Obel Cruz-Garcia since
                 around 1990 or so. We got to know each other through mutual friends. I
                 have always known Obel by his nickname, Chico.
            2. At the time that                    was kidnapped, I knew Chico well. I had
                 lived with him and his wife, Angelita, when they lived in an apartment
                 called the Willow Creek Apartments. I lived there for a year or two around
                 1992. I also knew Diana Garcia and Arturo Rodriguez and Diana's son ,


            3. Around the time              was kidnapped, Chico was having an ongoing
                 sexual relationship with Diana. Other people knew about it as well. On the
                 day          was kidnapped, Chico was over at Diana’s apartment earlier in
                 the day.
            4. I remember I saw Chico that morning, the day it all happened. Later that
                  night, Chico called me and asked me to go to Diana's house. This happened
                 before the kidnapping occurred. Chico told me to go get some stuff out of a
                 safe and take it to a motel off of 225. When I got back to the apartment, the
                 cops were there. Diana told me later that the kidnapping happened right
                 after 1 left, because she thought it was me at the door, like I had walked out
                 and was trying to coming back inside.
            5. I heard that the people who did this ransacked Diana and Arturo’s
                 apartment, like they were looking for something.        That’s why I never
                  understood why people thought Chico was involved. Fie knew I had already
                 gone over and moved the stuff from the safe, so if it were him he would not
                  have had any reason to look for something else.




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            6. Chico had a big heart and was a good friend to me. He was close to my
               parents and would do anything to help them out. He was really respectful
                 and treated us like family. He bought me my first car. It was a 1983 Buick
                 Regal that he gave me as a gift.
            7. I was shot three times with a twelve gauge shotgun in 1991. I was shot in
               the arm and the back. I called Diana, and Diana called Chico. Diana came
                 to pick me up at my friend’s place where I had run after I got shot. Diana
                 drove me to the hospital and Chico met us at the hospital. The first hospital
                 said they had to amputate my arm, but Chico said no. We ended up going
                 to Southeast Memorial Hospital, and they said they could save my arm. But
                 I did not have insurance. Chico said he would take care of it. He put down
                 the title of his car and went and got some money, and he told the hospital to
                 operate.
            8. After          was kidnapped, I was interviewed by some detectives from
                 the Houston Police Department. I remember talking to one person on the
                 defense team briefly, but I never spoke with them again after that. I was
                  around and would have been happy to help Chico. I was available to testify
                  during Chico’s trial in July 2013. Had I been interviewed by Chico’s
                  defense team, I would have told them everything that I have stated in this
                  affidavit and would have testified to the same had I been called as a witness.




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             9. I have read and reviewed this three- page affidavit.


            I declare under penalty of perjury under the laws of the State of Texas that the
            foregoing is true and correct to the best of my knowledge and that this affidavit
            was executed on        fth \  2 0 1 5 in        CcunK , Houston, Texas.
                                                                       ^
                                                Cesar Amado Rios




        Subscribed and sworn to before me on                       2015.




        Notary Public, State of Ttkas                   m        ADRIAN DE LAIROSA
                                                               Notary Public. State c4 Texas
                                                                 My Commission Expires
                                                                     JUNE 30, 201«

                                                              Notary without Bond




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                 EXHIBIT 22




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                            AFFIDAVIT OF JOSE MARTIN VALDEZ

        I, Jose Martin Valdez, state and declare as follows:

           1. My name is Jose “Joe” Valdez. I have known Obel Cruz-Garcia since
               around 1989. I have always known Obel by his nickname, Chico.
           2. I was the first one in my family to meet Chico. I met him through another
               friend when we all went out to eat. That first time we hung out, we just
               really got along. After that we started hanging out often. I would say we
               hung out almost every day. After I got locked up, Chico started talking to
               my brother Cesar.
           3. In the years leading up to the kidnapping of                [, I was friends
               with Diana Garcia and Arturo Rodriguez. I actually knew them before I
               met Chico. We lived in the same apartment complex for a while. Cesar and
               I would go over there sometimes and Diana would cook for us. She’d make
               us breakfast, lunch, and dinner sometimes. I did not know Chico at this
               time. I met him later.
           4. Diana and I would have sex together sometimes.        When I first started
               messing around with Diana, she was with Arturo. What happened was that
               she caught him messing around with another woman. She came to me and
               wanted to have sex, so we did. After that, we would have sex any chance
               we got, though it was hard because Arturo was around sometimes. Diana
               and I would often have sex, even though she was with Arturo. To my
               knowledge, Diana was also messing around with other guys, including
               Chico. I was not surprised that she was messing around with other guys. I
               found out about Chico and Diana messing around from my family. The
               time period that Chico and Diana were having sex was around the same
               time         was kidnapped.


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               5. Chico was a good friend to me and my family. Back in those days, we
                   would not like to bring our friends around our family, but Chico was
                   different. He would come around. He treated my mom and dad with the
                   utmost respect. I remember he would come over and tell my parents, “Let’s
                   go out to eat somewhere nice.” He would take them out to eat at these nice
                   restaurants. He would buy them gifts for Christmas. He treated my parents
                   like they were his parents. He was really good to them and very respectful.
                   He would tell us to be respectful to them . Whenever I was in prison, Chico
                   would send me money for commissary. He was generous like that with
                   everyone. I believe he paid for Diana and Arturo’s phone.
               6. After          was kidnapped, I was interviewed by some detectives from
                   the Houston Police Department, but I was never contacted or interviewed by
                   anyone on Chico’s defense team .       Had I been interviewed by Chico’s
                   defense team, I would have told them everything that I have stated in this
                   affidavit and would have testified if they had asked me to be a witness.
               7. I have read and reviewed this two-page affidavit.


               I declare under penalty of perjury under the laws of the State of Texas that the
               foregoing is true and correct to the bes of my knowledge and that this affidavit
               was executed o                2015 in  ^                , Houston, Texas.




            Subscribed and sworn to before me on                     2015.



      _ --                                                          ADMAN DC     s    ROSA
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                             AFFIDAVIT OF HECTOR SAAVEDRA

      I, Hector Saavedra, state and declare as follows:

          1. My name is Hector Saavedra. I was bom                             I am thirty-
              seven years old. I currently work at Pioneer Waste Services. I have been
              working there for about three years.
          2. I knew Obel Cruz-Garcia through my brother, Cesar Rios. I first met Obel
              in or around 1990 when I was about thirteen years old. My brother and I
              always called Obel by his nickname, “Chico.” I knew Obel well when I
              was thirteen to fifteen years old.
          3. When I was about fourteen years old, in 1991, my brother Cesar got shot in
              the arm. I was asleep when it happened because I had school the next day.
              Obel was not with Cesar when he got shot, but he came with us when we
              took him to the hospital. At the first hospital we went to, they told us that
              they probably would have to amputate Cesar’s arm. Obel was shocked and
              told us that we needed to go to a different hospital for a second opinion.
              Cesar and I both told Obel that, either way, we did not have the money to
              pay for Cesar’s treatment. Obel told us not to worry about it. We went to
              another hospital, Memorial Hermann Southeast Hospital, off of Scarsdale
              Boulevard, where they were able to treat Cesar without needing to
              amputate. As he promised, Obel paid for Cesar’s treatment and hospital
              bills.   It was not even that he had that much money lying around        -I
              remember Obel saying that he would sell one of his cars, if he had to, to pay
              for Cesar’s medical bills. He just treated us like family. I remember seeing
              all this firsthand, as a child, in the hospital.
          4. Obel was really good about helping out with our parents. For example,
              sometimes when Obel would go to the grocery store, he would pick up milk



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              and food to drop off with my family. It was a way of showing respect for
              our parents because we were so close, like family, in the same way that my
              family would bring food when we would go to visit our relatives in Mexico.
              Obel was like a family member. He would come over and eat with us. He
              was very respectful and very supportive of me and my family.
          5. Obel also seemed to take a personal interest in me and my wellbeing, like a
             little brother. He would ask me about school and football. I know he didn’t
              have family here, so I think we were like his family while he was here.
              Obel would always tell me to study, and he stressed how important it was
              for me to pay attention and do well in school. When I got a report card,
              Obel would want to see it to make sure I had good grades. If I earned good
              grades, Obel would reward me with pocket-money or a gift. If I ever
              needed anything for school, like clothes or books, Obel would make sure to
              get it for me. Overall, I just knew Obel to be a great and generous person.
              He never asked for anything in return for all the good deeds he did for me
              and my family.
          6. Also around this time, I knew of Diana Garcia, her boyfriend Arturo, and
             her son       |. I knew that Diana was sleeping with my brother, Joe, and
              also that she was sleeping with Obel. Diana would come see Joe at the
              house where I lived, and I knew they were sleeping together. When Joe
              went to jail, I knew that Diana and Obel were together.
          7. No one from Obel’s defense team ever contacted me to ask me about Obel.
              If they had, I gladly would have told them everything I know about what a
              good guy Obel was. I happily would have testified at trial, had I been
              asked.
          8. I have read and reviewed this three- page affidavit.



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          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed onCii ty         2015 in VjArTf., Gq       . Houston, Texas.
                             ^
                                              Hector Sevaadra




       Subscribed and sworn to before me on                     2015 .




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                                                                 ADRIAN DC LA ROM
                                                                                  * *m
                                                             Notary Public, State < T
                                                                   JUNE 30.201»
       Notary Public, State of Texas                        Notary without Bond




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            585698                      CHICO
            616109                      ANGELITA RODRIGUEZ    WIFE OF CHICO..MAIN PLAYER
            432474                      LEONARDO GERMAN...COUSIN OF CHICO
  ^         651879
            210560
                                        CANDIDO LEBRON
                                        DIANA GARCIA
                                                           FLUNKY OF CHICO
            403348                      ARTURO RODRIGUEZ    BOYFRIEND OF DIANA..
            616100
            524429                      JOSE VALDEZ...UNK
                                                                     -
                                        JOSE NORBERTO GOMEZ...COMPL IN ANOTHER DOPE RIP

            630331                      JAVIER GALINDO...BURGLAR FROM PASADENA PD AND ATF
AS OF THIS DATE THERE HAS ONLY BEEN ONE RAP ON THE PRINTS AND THAT RAP WAS TO
ARTURO RODRIGUEZ OFF OF PAPERWORK FROM THE PURSE. WE WILL CONTINUED TO ADD
NAMES TO THE LIST FOR COMPARISON PURPOSES. INV HERNANDEZ ALSO GOT
ELIMINATION PRINTS FROM SOME OF THE FAMILY MEMBERS OF DIANA GARCIA. SEE THE
SUPPLEMENT BY INV HERNANDEZ FOR THE NAMES OF THE FAMILY MEMBERS.
WE HAVE ALSO OBTAINED BLOOD SAMPLES FROM SEVERAL MALES TO BE COMPARED WITH
THE RAPE KIT OBTAINED FROM DIANA GARCIA.

THE BLOOD THAT HAS BEEN SUBMITTED AS OF THIS DATE IS THAT OF:
           ARTURO RODRIGUEZ                                     BOYFRIEND OF DIANA
           LEONARDO GERMAN.                                     ASSOCIATE OF DIANA AND ARTURO AND BOYFRIEND OF
                                                                LINDA SHRADE
           BIENVENIDO MELO                                      DOPE DEALER THAT SELLS FOR CHICO
   /**\ JAVIER    GALINDO.                                      BURGLAR WHO WAS ARRESTED
           CANDIDO LEBRON.                                      FLUNKY OF CHICO...ARRESTED AT CHICO ’S APARTMENT
           JAVIER GALINDO.                                      BURGLAR FROM PASADENA PD


WE WILL ADD TO THIS LIST AS THE INVESTIGATION CONTINUES. SPOKE WITH DEE
WALLACE OF THE CRIME LAB ON NOVEMBER 6TH AND SHE SAID THAT SHE SENT THE SEMEN
FROM THE RAPE KIT AND THE BLOOD SAMPLES TO BE COMPARED VIA DNA.

ONE OF THE CLUES WE OBTAINED IN THIS CASE CAME FROM THE ATF AND PASADENA PD
IN REFERENCE TO TWO BURGLARS. THOMAS THOMS AND JAVIER GALINDO ARE BURGLARS
THAT WERE UNDER INVESTIGATION BY A TASK FORCE INCLUDING ATF, PASADENA, AND
THE TACT TEAM FROM MAGNOLIA SUBSTATION. TO MAKE A LONG STORY SHORT, WE
CHECKED OUT THOMS AND GALINDO AND FEEL THAT THEY ARE NOT INVOLVED IN THE
ABDUCTION MURDER. HOWEVER, THOMS AND HIS GIRLFRIEND. TRACY PRESSLY, GOT SOME
COCAINE FROM DIANA GARCIA ON THE NIGHT        WAS ABDUCTED. ACCORDING TO
PRESSLY DIANA FRONTED AN EIGHT BALL TO THOMS AND HE SAID THAT HE WOULD LIKE
TO GO BACK AND RIP HER OFF ONE DAY. THOMS IS A WHITE MALE WITH TATOOS ALL
OVER HIM. GALINDO IS HISPANIC BUT IS NOT VERY DARK. GALINDO WAS INTERVIEWED
EXTENSIVELY AND THOMS WAS UNDER ADVISEMENT OF AN ATTORNEY. IT IS OUR BELIEF
THAT THEY ARE NOT INVOLVED IN THE ABDUCTION MURDER AN THAT THEY WERE
BURGLARIZING A HOUSE IN LIVINGSTON ON THE NIGHT        DISAPPEARED.
PRESSLY CONTRADICTS DIANA GARCIA IN THAT GARCIA CLAIMS TO HAVE NOT BEEN
SErTNG DOPE ON THE NIGHT OF THIS INCIDENT. PRESSLY DESCRIBES THE
   -..SACTION THAT OCCURRED BETWEEN DIANA AND THOMS AND PRESSLY SAID THAT SHE
TEL.
USED PART OF THE COCAINE THOMS GOT FROM DIANA. PRESSLY ’S STORY IS
CORROBORATED BY ANITA DORR, THE RELATIVE THAT WAS OVER AT ARTURO AND DIANA'S
UNTIL APPROXIMATELY 9:00PM ON THE NIGHT          WAS TAKEN. THOMS WAS IN A
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BLUE TRUCK AND WAS DESCRIBED IN DETAIL BY DORRS. DIANA ALSO ADMITS SELLING
TO THOMS ON A REGULAR BASIS BUT CLAIMS TO HAVE NOT SOLD TO HIM ON THE NIGHT
     IS INCIDENT.
OF
      ^
WE ALSO HAD DIANA GARCIA AND ARTURO RODRIGUEZ TAKE POLYGRAPHS. WHEN THEY
TOOK THE POLYGRAPHS AT THE HOUSTON POLICE DEPARTMENT, ARTURO FAILED AND DIANA
GARCIA SHOWED DECEPTION. THEY WERE POLYGRAPHED FOR A SECOND TIME AT THE FBI.
IN THOSE POLYGRAPHS DIANA GARCIA WAS DEEMED TRUTHFUL ABOUT HER KNOWLEDGE
CONCERNING THIS ABDUCTION AND ARTURO STILL SHOWED SOME DECEPTION.

WE HAVE BEEN WORKING IN CONJUNCTION WITH THE FBI ON THIS INVESTIGATION. WE
HAVE BEEN ATTEMPTING TO LOCATE CHICO FROM DAY ONE.   HE HAD A COURT DATE SET
FOR A POSSESSION CASE AND HE FAILED TO SHOW UP FOR THIS SCHEDULED COURT DATE.
A WARRANT WAS ISSUED FOR CHICO....OBEL GARCIA    AND HE IS PRESENTLY WANTED.
ANGELITA GARCIA ALSO HAS A POSSESSION CASE IN THE SAME COURT AS CHICO. SHE
WAS AROUND FOR COURT AND ON ONE OCCASION WE FOLLOWED HER FROM THE MOTEL ON
HIGHWAY 225 TO THE HARRIS COUNTY COURTHOUSE. SEE THE SUPPLEMENT BY SWAIM FOR
THE ACTIONS AROUND THE MOTEL PRIOR TO THE MOVING SURVEILLANCE. THE FBI
CONTINUED THE SURVEILLANCE ON ANGELITA ONCE SHE ARRIVED AT COURT AND SHE WAS
EVENTUALLY FOLLOWED TO AN ADDRESS ON WESTOVER. ANGELITA STAYED AT THIS
LOCATION FOR A SHORT TIME AND THEN LEFT.

WE EVENTUALLY WENT TO THE LOCATION ON WESTOVER       7523    THERE WAS A GOLD
COLORED DELTA 88...LICENSE HWG 83C PARKED BEHIND THE APARTMENT. THIS VEHICLE
WAS FOUND TO BELONG TO CHICO AND ANGELITA. WE, STEPHENS, SHIRLEY, WENDELL,
AND AGENTS FROM THE FBI, JOHNSON, TAMMY, AND TWO UCS.... WENT TO THE
AP./**5 MENT AND LEARNED THAT IT WAS OCCUPIED BY LINDA HERNANDEZ AND FRED
FERKER. HERNANDEZ STATED SHE MET FERRER SEVERAL MONTHS AGO AND HE WAS THE
PERSON WHO WAS ASSOCIATED WITH CHICO AD ANGELITA. WE FELT THAT FERRER KNEW
MORE THAT HE INDICATED AND BROUGHT HIM TO THE HOMICIDE OFFICE FOR AN
ADDITIONAL INTERVIEW. HE DID NOT SPEAK ENGLISH AND HE WAS INTERVIEWED BY
STEPHENS AND INV. AVILA. FERRER DENIED ANY INVOLVEMENT IN ABDUCTING
GARCIA. HE STATED THAT HE DID SELL DOPE FOR CHICO BUT THAT HE HAD NOT SEEN
CHICO FOR SOME TIME.

WE LATER LEARNED FROM LINDA HERNANDEZ THAT ON THE NIGHT THAT
DISAPPEARED, CHICO CALLED FERRER FROM BAYTOWN AND SAID THAT HE NEEDED THE
OLDSMOBILE. SHE ADDED THAT THE CAR BELONGS TO CHICO AND ANGELITA BUT THAT HE
WAS LETTING FERRER DRIVE THE CAR. HERNANDEZ STATED THAT FERRER REFUSED TO GO
AND GET CHICO BUT HE TOLD CHICO THAT HE COULD HAVE THE CAR IF HE CAME AND GOT
IT. ACCORDING TO HERNANDEZ, THE CALLS CAME IN AROUND MIDNIGHT OR SHORTLY
THEREAFTER. SHE ADDED THAT AROUND 1:00AM TO 2:00AM CHICO AND RUDY CAME TO
THE APARTMENT ON WESTOVER. SHE STATED THAT CHICO WAS CALM BUT THAT RUDY WAS
VERY, VERY NERVOUS. HERNANDEZ SAID THAT THEY STAYED FOR A SHORT TIME AND
THEN RUDY AND CHICO LEFT IN THE OLDSMOBILE. SHE ALSO SAID THAT RUDY BROUGHT
THE CAR BACK THE NEXT DAY OR SO. SHE SAID THAT SHE HEARD FERRER TALKING TO
CHICO ON THE PHONE AND THAT FERRER TOLD HER THAT CHICO TOLD HIM THAT CHICO
WAS LEAVING THE COUNTRY FOR A WHILE. WHEN FERRER ASKED CHICO WHY HE WAS
LEAVING, CHICO TOLD FERRER THAT HE WOULD TELL HIM WHEN HE RETURNED.

WH   ^
     WE GOT FERRER TO THE OFFICE WE LEARNED THAT HIS REAL NAME WAS BIENVENIDO
MELu, DOB             WE ALSO LEARNED THAT HE WAS WANTED ON A PROBATION
VIOLATION FOR DELIVERY UNDER THAT NAME...HE WAS PLACED IN JAIL UNDER THAT
OUTSTANDING WARRANT. HE WAS ALSO REINTERVIEWED AT A LATER DATE BY INV
HERNANDEZ AND SGT ALONZO. SEE THEIR SUPPLEMENT FOR DETAILS...
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TH. JOMPL'S BODY WAS DISCOVERED IN BAYTOWN ON NOVERMBER 5 TH. WE WENT TO THE
MORGUE AND OBSERVED THE BODY....OR WHAT WAS LEFT OF IT. IT SHOULD BE NOTED
THAT IT APPEARED THAT THE BODY HAD BEEN IN THE WATER FOR A LONG TIME. DR .
PARUNGAO STATED THAT HIS OPINION WAS THAT THE BODY WAS IN THE WATER FOR 10
PLUS DAYS. SEE THE SUPPLEMENT BY ELLIOTT FOR DETAILS OF THE DISCOVERY OF THE
BODY.

FOLLOWING THE DISCOVERY OF THE COMPL ’ S BODY, WE SET OUT TO FIND RUDY AND
ANGELITA AGAIN. SINCE CHICO IS STILL ON THE RUN AND WE HAVE BEEN UNABLE TO
INTERVIEW HIM, RUDY AND ANGELITA ARE THE NEXT BEST THING. EARLIER IN THE
INVESTIGATION WHEN ANGELITA WAS LOCATED SHE HAD A NOTE PINNED TO HER SHIRT
WHICH AUTOMATICALLY INVOKED HER 5TH AND 6TH AMENDMENT RIGHTS BY HER ATTORNEY,
J.C. CASTILLO. SHE WAS LATER INTERVIEWED IN THE PRESENCE OF HER ATTORNEY, J.
C. CASTILLO. SEE THE SUPPLEMENT BY ALONZO AND HERNANDEZ FOR DETAILS.

WE FOUND THAT RUDY WAS IN THE COUNTY JAIL. HE WAS INTERVIEWED AGAIN BY INV
HERNANDEZ AND ALONZO AND AGAIN MAINTAINED THAT HE KNEW NOTHING ABOUT THE
MURDER. HE ADDED THAT AS FAR AS HE KNEW CHICO WAS IN AERO PIERDRA PUERTO
RICO.

THERE HAS BEEN TALK OF A "RIP OFF" WHERE CHICO, RUDY, ANGELITA, DIANA,
ARTURO, AND CESAR GOT A LARGE SUM OF MONEY. RUDY WAS ASKED ABOUT THIS RIP
OFF IN THE EVENT THAT IT TIED INTO THE ABDUCTION AND MURDER OF
HEi NFIRMED THAT IT OCCURRED, HOWEVER, HE HAD LITTLE INFORMATION TO ADD.
   ^
AG,_ N, SEE THE SUPPLEMENT BY HERNANDEZ AND ALONZO. RUDY DOESN'T SPEAK
ENGLISH.

DUE TO THE FACT THAT WE KNOW THAT CHICO AND ANGELITA HAVE TIES TO
PASADENA....THEY STAYED AT THE PASADENA MOTOR INN LOCATED AT 225 AND THE
BELTWAY     WE ATTEMPTED TO CHECK THE PHONE LOGS FROM THE MOTEL TO SEE IF
THERE WAS A CALL PLACED TO LINDA HERNANDEZ'S HOUSE ON THE NIGHT
DISAPPEARED. AS NOTED EARLIER, HERNANDEZ STATED THAT CHICO CALLED FROM
BAYTOWN ON THE NIGHT OF THIS INCIDENT AND ASKED TO USE THE CAR. SWAIM AND
BROWN WENT TO THE MOTEL AND LEARNED THERE HAD BEEN NO LONG DISTANCE CALLS
PLACED FROM THE MOTEL ROOM BY CHICO OR ANGELITA. WE ALSO CHECKED TO SEE IF
THERE WAS A CAB TAKEN TO THE LOCATION ON WESTOVER AND LEARNED THAT THE
DEPARTURE LOCATION IS MANDATORY FOR SUCH A CHECK. SINCE WE HAD NO ADDRESS IN
BAYTOWN THIS WAS NOT DONE.

WE THEN SET OUT TO FIND ANGELITA AGAIN. SGT ELLIOTT LEARNED THE BONDING
COMPANY THAT MADE BOND ON ANGELITA AND WENT TO THIS COMPANY AND OBTAINED A
COPY OF THE APPLICATION. IT SHOULD BE NOTED THAT IN NOVEMBER OF 1991,
ANGELITA LISTED HER ADDRESS AS                                  A COPY OF
THIS APPLICATION IS ATTACHED TO THE CASE FILE.

WE ALSO LEARNED THAT THERE WAS ANOTHER CASE INVOLVING A DOPE RIP OFF IN THE
SAME AREA OF TOWN AS THIS INCIDENT. IN THIS SECOND INCIDENT, TWO MALES WERE
     ~
KI/ ED AND THE SUSPECTS WERE SUPPOSED TO BE JAMAICAN. WE CALLED DIANA BACK
TO .GAIN GO OVER THE ACCENT THAT SHE SAID THE SUSPECTS USED WHEN THEY WERE IN
     -
THE APARTMENT. SHE CLAIMS THAT THE SUSPECTS WERE NOT AMERICAN BLACKS, NOT
MEXICAN, AND NOT CHICANO.   SHE SAID THAT THE ACCENT WAS DEFINITELY HISPANIC
BUT WAS LIKE SOMEONE FROM PUERTO RICO OR COLUMBIA. THERE IS ONE SUSPECT
ARRESTED IN THIS JAMAICAN CASE AND SEVERAL OTHERS IDENTIFIED. OBTAINED000959
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HPD NUMBERS OF THE IDENTIFIED SUSPECTS AND SENT THEM TO SALDIVAR IN LATENT
PRINTS. THE HPD NUMBERS ARE :651078 Z ( THOMAS ), 651096 ( NELSON ),
53)5 8 ( SIMON ) .
      ^
CALLED CRIME STOPPERS AND TALKED TO SGT GILBERT. SGT GILBERT WAS ASKED IF
THE REWARD IN THIS CASE COULD BE ENHANCED DUE TO THE AGE OF THE COMPL AND THE
NATURE OF THE CRIME. GILBERT CALLED SOME OF THE BOARD MEMBERS FOR CRIME
STOPPERS AND RAN THE IDEA PAST THEM. HE THEN CALLED BACK AND SAID THAT THEY
WOULD ASK FOR $ 5000 DURING A SPECIAL MEETING ON TUESDAY. HE WILL LET US
KNOW.

CALLED MEDIA RELATIONS AND SET UP A NEWS CONFERENCE FOR TUESDAY AFTERNOON.
THIS WILL BE TO ANNOUNCE THE REWARD AND TO PUBLICIZE THE CASE ONE MORE TIME
IN HOPES THAT THE MONSTERS THAT KILLED THIS SMALL CHILD WILL TALK OR WILL
HAVE TOLD SOMEONE WHO WILL BE PROMPTED TO CALL.
GOT A CALL FROM A FEMALE WHO REFUSED TO GIVE HER NAME. SHE SAID THAT SHE IS
CLOSE TO THE FAMILY AND WANTED US TO KNOW THE FOLLOWING INFORMATION.
 SHE STATED THAT DIANA AND ARTURO WERE SELLING DRUGS FROM THE APARTMENT UP
UNTIL THE NIGHT OF THIS INCIDENT. THE CALLER ADDED THAT THE DAY           WAS
       ,
TAKEN DIANA AND ARTURO HAD TAKEN THE DOPE AND THE MONEY OUT OF THE APARTMENT
BECAUSE THEY WERE AFRAID THAT THEY WERE ABOUT TO BE BUSTED BY SOME PEOPLE
THEY SUSPECTED AS POLICE WHO HAD BEEN SITTING ACROSS THE STREET FROM THE
APARTMENTS. IT SHOULD BE NOTED THAT WE LEARNED THAT THE MAJOR OFFENDER'S
UNIT WAS WATCHING A "FENCE" LOCATED ON THE NEXT STREET OVER AND HAD BEEN
DOING SO FOR APPROXIMATELY A WEEK. THE CALLER SAID THAT DIANA'S COUSIN NAMED
RUr*N WENT AND WROTE DOWN THE LICENSE PLATE NUMBER TO ONE OF THE VEHICLES
OCL . PIED BY THE SUSPECTED NARCOTICS OFFICERS. THE CALLER ALSO SAID THAT
RUBEN STAYS IN THE APARTMENTS ON WINFREE WHERE DIANA AND ARTURO USED TO LIVE.
IT SHOULD BE NOTED THAT THE DIRECTIONS THE CALLER GAVE TO RUBEN'S APARTMENT
LEAD TO THE APARTMENT OCCUPIED BY LINDA SHRADE. THIS IS ALSO THE SAME
APARTMENT WHERE WE LOCATED LEONARDO GERMAN....
I ASKED THE CALLER HOW MUCH DOPE DIANA AND ARTURO WOULD SELL. SHE STATED
THAT THEY SOLD MOSTLY 20S IN POWDER FORM. SHE ALSO SAID THEY WOULD
OFTENTIMES TAKE PROPERTY AS WELL AS MONEY.
DURING THE EARLY STAGES OF THIS INVESTIGATION WE LEARNED ABOUT THE
SURVEILLANCE CONDUCTED BY MAJOR OFFENDERS. WE INITIALLY TALKED TO SGTS SITZ
AND THOMAS AS THEY WERE ON THE SURVEILLANCE PARKED BY BARNETT STADIUM. WE
ALSO LEARNED THAT THE INVESTIGATION WAS HEADED BY SGT CULLAR AND I TALKED TO
HIM BRIEFLY. AFTER THE DISCOVERY OF THE BODY, I CALLED CULLAR BACK AND
REINTERVIEWED HIM CONCERNING THE INFORMATION HE NOTED AS HE WAS ON
SURVEILLANCE.

CULLAR STATED THAT HE WAS ON THE SURVEILLANCE ON THE NIGHT OF THIS INCIDENT,
9-30-92. HE ADDED THAT AROUND 10:30 TO 11:00PM HE MOVED HIS SURVEILLANCE
FROM THE PARKING AREA OF BARNETT STADIUM TO A LOCATION ON THE GULF FREEWAY
SERVICE ROAD. HE ALSO SAID THAT PRIOR TO MOVING HIS SURVEILLANCE, HE NOTED
A SMALL VAN, EITHER A FORD AEROSTAR OR A CHEVY ASTRO VAN, PARKED OVER BY THE
    ^
APT MENTS ( WHERE DIANA AND ARTURO LIVE ) ON FAIRWAY. ACCORDING TO CULLAR, THE
VAN WAS PARKED HEADED TOWARD BROAD STREET ON THE APARTMENT SIDE OF THE
STREET.   HE ADDED HAT HE CAN'T BE SURE OF THE EXACT TIME THE VAN WAS PARKED
AT THE APARTMENTS, BUT HE THINKS IT WAS AROUND 9:30 PM TO 10:30PM . SGT CULLAR
DESCRIBED THE VAN AS SILVER AND MAROON BUT HE COULD BE WRONG. HE ALSO STATED
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THAT HE DID NOT NOTICE THE OCCUPANTS OF THE VAN.

A S S G T CULLAR IF THERE WERE ANY VEHICLES THAT PULLED ALONGSIDE OF HIM
WHi^E HE WAS ON SURVEILLANCE. HE STATED THAT HE DOES NOT REMEMBER ANY AND HE
THINKS THIS WOULD HAVE GOTTEN HIS ATTENTION ENOUGH FOR HIM TO MOVE. HE ALSO
SAID THAT HE DID NOT FLASH HIS LIGHTS AT ANYONE THAT NIGHT. THIS WOULD
INDICATE THAT THE VEHICLE OBSERVED BY ISABEL MARTINEZ WAS PROBABLY THE
SUSPECT VEHICLE. AS NOTED IN HIS STATEMENT THERE WAS A TALL BLACK MALE
STANDING BY THE VAN AND A SMALLER CAR.

WE THEN WENT AND INTERVIEWED A C.I. WITH WHOM WE SPOKE EARLIER.                                                                                                            SEE THE
SUPPLEMENT BY SGT SWAIM FOR DETAILS.


FOLLOWING THE INTERVIEW WE WENT TO BAYTOWN TO SEE THE AREA WHERE THE BODY WAS
FOUND. WE NOTED THERE WAS AN APARTMENT COMPLEX LOCATED SEVERAL HUNDRED YARDS
FROM THE WATER. WHEN WE RETURNED TO THE OFFICE WE GOT WITH ELLIOTT AND
LEARNED THAT THE OFFICER THAT SUPPOSEDLY HAS SECURITY FOR THE COMPLEX IS
NAMED ROGER CLIFFORD. CALLED THE NUMBER OBTAINED BY ELLIOTT AND TALKED WITH
THE MANAGER OF THE COMPLEX, KELLY      422-3214      HM #..427-0123
KELLY WAS ASKED IF THERE WERE ANY COLUMBIAN OR PUERTO RICAN PEOPLE LIVING AT
THE COMPLEX. SHE SAID THAT SHE WAS NOT FAMILIAR WITH ANY BUT THAT SHE WOULD
CHECK HER FILES. THEN ASKED HER IF THERE WERE ANY OCCUPANTS THAT DROVE A
MINI VAN. AT FIRST SHE SAID THAT SHE DIDN'T KNOW OF ANY, THEN SHE CALLED
BACK A SHORT TIME LATER AND SAID THAT THERE IS ONE THAT FREQUENTS THE
APARTMENT LATE AT NIGHT. SHE ALSO SAID THAT THERE IS AN APARTMENT ON THE
BA ^ SIDE OF THE COMPLEX THAT THE VAN SEEMS TO VISIT, AND THIS APARTMENT IS
OCCUPIED BY SEVERAL HISPANIC MALES. WE WILL GO TO BAYTOWN AND MEET WITH
KELLY AND GET THE INFORMATION ON THESE MALES




I N V E S T I G A T I O N                                                           T 0                C O N T I N U E




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                      TRANSFER DEVICE: AST 386SX 105011 HJM /HJN                      *
                   * TRANSFER DATE-110992 TIME-1321    LOAD DATE-110992 TIME-1326
                   * LOCATION OF OFFENSE: POLICE DISTRICT-CONFIDENTIAL      DIST-CO
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                 EXHIBIT 25




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                BOND 00000000
                    :                No .    118191001010                      SPN :     01134368                                           £
The State of Texas                                                                 In the   262thDistrict Court
 VS   .                                                                            County Criminal Court at Law No.
           CRUZ - GARCIA , OBEL                            , Defendant             Harris County, Texas
                                        , DOB                                        INS : FID             PFG : K


                 PROBABLE CAUSE FOR FURTHER DETENTION & STATUTORY WARNINGS BY MAGISTRATE
     Today, the above named defendant , charged with   CAPITAL MURDER                                                    , appeared before
the undersigned authority , (the Court)      p in
                                                '
                                                  person.    by video teleconference.




                                                                                                     k
                                                                                                   er
                                        I All statements in bold should be addressed to defendant. I




                                                                                                 Cl
          ^.
Do/ ou request appointment of counsel? (check one)
 / NO.




                                                                                                 t
               The defendant did not request appointment of counsel .




                                                                                             ric
   YES       The defendant requested appointment of counsel . The Court ORDERS the Office of Pre-Trial Services (PTS) to




                                                                                          ist
      immediately assist defendant in preparing a request for appointment of counsel. PTS shall forward defendant ' s request to
      the judge of the court in which die case is pending within 24 hours.




                                                                                    lD
                                                                               nie
If you are not a United States citizen, you may be entitled to have us notify your country ' s consular
representative here in the United States. Do you want us to notify your country's consular officials? (check one)
                                                                          Da
            . What country?                                     . If you are a citizen of a country that requires us to notify
                                                                      ris
youi      >country ' s consular representative , we shall notify  them as soon as possible.
                                                              <
                                                               Dr
                                                                  Ch


H^MANDATORY NOTIFICATION. CLERK, NOTIFY                    > /U / /1 /V                           (Country) CONSULATE               .
If you are a foreign national, please provide the following information:
                                                                        ^
                                                             of




Mr. /Ms:
(father 's name {surname}/ mother 's maiden name / first name)                               Date of birth (mm/dd/yy)
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                                                       fic




Place of birth
                                                   Of




Passport number                              Date of passport issuance                Place of passport issuance
                                              py
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 This proceeding was interpreted by:                                                  l   OS               (Print name of interpreter)
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                                                                    ORDER
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  The Court FINDS probable cause for further detention DOES NOT EXIST. Accordingly , in this case, the Court ORDERS the
                              of




  law enforcement agency/officer having custody of the defendant, to immediately release the defendant from custody.
                            Un




                                                                              .
 ' The Court FINDS PROBABLE CAUSE for further detention EXISTS The Court set and/or reviewed the defendant ' s bond ,
   and in clear and unambiguous language, the Court 1) advised defendant of his rights as enumerated in Article 15.17 of the
   Texas Code of Criminal Procedure and 2) provided him with information required by law. Accordingly, The Court ORDERS
   defendant committed to the custody of the Sheriff of Harris County , Texas. Defendant shall remain in the Sheriff ' s custody
   uptil he posts bail in this cause, or until further orders by the Court.
                                               'Personal Bond is:
   Bail is set at $                 '                                      APPROVED                    DISAPPROVED
                                                                                                                                   ^    REFERRED



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DATE TIME (Print)
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                             Ice    Detainer                                                                   RECORDER’S MEMORANDUM
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                                                                                            Case Number: 1181910
                                                                                                        Court: 262
                   Fax Sheet to Notify Consulate/Embassy of Arrests/Detentions

                  Date: 2 /12/2010




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                         To:          Email: notlfyhouston@sre.gob.mx (Consulate of Mexico only)
                                      713-271-3201, Consulate of Mexico, Houston TX




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                                 E3        , DOMINICA Embassy, Washington DC




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                                             Consulate of    ,
                                      (phone)                (Country)




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                         From: Griffith



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                         Harris County District Clerk, Detention Court
                         Address: 1201 Franklin, Houston TX 77002
                         Telephone: 713-755-1048
                         Fax: 713-368-3912
                                                                          Da
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                  Subject: Notification of the Arrest/Detention of a National of your Country
                                                                Ch



                         We arrested/detained the following foreign national, whom we understand to be a
                                                            of




                         national or your country, on, 02/11/2010.
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                         Mr./Ms. Cruz Garcia Obel
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                                (On Mexican Consulate: fathers surname, mothers maiden name, surname, first name)
                                                  Of




                         Date of bii
                         Place of birth:
                                             p




                                            (On Mexican Consulate: municipal, state, country)
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                         Passport number:
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                         Charge:Capital Murder
                         Detainee:
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                         Court Number:
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                         Court Date:
                        Un




                         Date of passport issuance:
                         Place of passport issuance:

                  To arrange for consular access, please call the Harris County Sheriffs Office Detention
                  Supervisor at 713-755-8961 between the hours of 8:00 a.m. and 5:00p.m. Please refer to
                  the defendant’s name and this SPN # 01134368 when you call.

                  Comments:

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                 Subject: Notification of the Arrest/Detention of a National of your Country
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                         Wc arrested/detained the following foreign national, whom we understand to be a
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                         national or your country, on, 02/11 /2010.
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                         Mr / Ms. Cruz Garcfa Obel
                                (On Mexican Consulate: fathers surname, mothers maiden name, surname, first name)
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                         Date of birth
                         Place of birth:
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                                            (On Mexican Consulate: municipal, state, country)
                         Passport number:
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                         Cast number
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                 To arrange for consular access, please call the Harris County Sheriffs Office Detention
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                 Supervisor at 713 755 8961 between the hours of 8:00 a m. and 5:00p.m. Please refer to
                 the defendant’s name and this SPN # 01134368 when you call.

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                 EXHIBIT 26




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                            AFFIDAVIT OF SANDRA L. BABCOCK

            I, Sandra Babcock, state and declare as follows:
        1. My name is Sandra Babcock.            I am a Clinical Professor at Cornell
            University Law School, where I teach a legal clinic on international human
            rights. I am an attorney licensed to practice in the states of Texas and
            Minnesota, the United States Court of Appeals for the Fifth Circuit, and the
            United States Supreme Court. I received my J.D. from Harvard Law School
            in 1991.
        2. A substantial part of my teaching and scholarship is devoted to the study of
            the application of international norms in U.S. death penalty cases. I have
            taught courses on international law and the death penalty at Northwestern
           Law School and at Tulane University Law School’s summer program in
            Amsterdam. I am the founder and director of Death Penalty Worldwide, a
           publicly available database that tracks developments in the laws and practice
                                             -
           of capital punishment in ninety three countries and territories around the
           world, available at www.deathpenaltyworldwide.org. I have also published
           several articles regarding the intersection of human rights norms and the
           death penalty, including The Mandatory Death Penalty in Malawi: The
           Unrealized Promise of Kafantayeni, with Ellen Wight, in Peter Hodgkinson
           and Kerry Ann Akers, THE LIBRARY OF ESSAYS ON CAPITAL PUNISHMENT
           (Ashgate 2014); The Limits of International Law: Efforts to Enforce Rulings
           of the International Court of Justice in U.S. Death Penalty Cases, 62
           SYRACUSE L. REV . 183 (2012); International Standards on the Death
           Penalty, 28 THOMAS M. COOLEY L. REV . 103 (2011); Human Rights
           Advocacy in United States Capital Cases, in THE CONTEMPORARY HUMAN
           RIGHTS MOVEMENT IN THE UNITED STATES (2007); The Global Debate on


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            the Death Penalty, in American Bar Association, Human Rights (Spring
            2007); The Growing Influence of International Tribunals, Foreign
            Governments and Human Rights Perspectives in United States Death
            Penalty Cases, in Center for Capital Punishment Studies, Occasional Papers
            vol. 2 (August 2005); The Role of International Law in United States Death
            Penalty Cases, 15 Leiden J. Inti Law (2002); and L ' application du droit
                                                                 -
            international dans les executions capitals aux Etats Unis: de la theorie a la
            pratique, in La peine capitale et le droit international des droits de l’homme,
            Universite Pantheon-Assas (Paris II) (2003).
        3. I have been licensed to practice law in Texas since 1992. I worked at the
            Texas Resource Center, a non-profit organization established to defend
            individuals facing the death penalty in that state, from 1991 to 1995. In
            1992, 1 became the first attorney in the United States to challenge the state’s
            failure to comply with Article 36 of the Vienna Convention on Consular
            Relations (“Vienna Convention”), in a capital case out of Angelina County,
            Texas (Faulder v. Johnson ). Later that year, I raised a Vienna Convention
            claim in a Harris County case involving Mexican national Ricardo Aldape
            Guerra. After leaving the Resource Center, 1 continued to serve as counsel
            in numerous death penalty cases in Texas, most of which involved foreign
            nationals facing the death penalty . I litigated Vienna Convention claims in
           the Fifth Circuit Court of Appeals, the U.S. Supreme Court, the Inter         -
                                                                     -
           American Commission on Human Rights, and the Inter American Court on
           Human Rights. From 2000 to 2006, I was the Director of the Mexican
           Capital Legal Assistance Program (MCLAP), a program established by the
           Mexican Foreign Ministry to defend the rights of Mexican nationals facing
           capital punishment in the United States. I represented Mexico before the
           International Court of Justice in Avena and Other Mexican Nationals (Mex.

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            v. U.S.), 2004 I.C.J. 12 (Mar. 31), involving violations of the Vienna
            Convention in the cases of 51 Mexican nationals sentenced to death in the
            United States.
        4. Since 1992, 1 have personally represented at least 10 foreign nationals facing
            the death penalty in the United States, including the petitioner in Medellin v.
            Texas, 552 U.S. 491 (2008). I have consulted with attorneys representing
            foreign nationals facing the death penalty in at least one hundred cases. I
            have been invited to speak at multiple national conferences and training
           seminars for capital defense attorneys regarding the representation of foreign
            nationals facing the death penalty . I estimate that I have given at least thirty
            lectures on this topic over the last twenty years. I have also trained consular
           officials from Europe and Mexico regarding best practices in consular
           assistance. I have argued cases involving violations of Article 36 of the
            Vienna Convention in the Texas Court of Criminal Appeals as well as the
           Supreme Courts of California, Minnesota, Nevada, and New Mexico. I have
           testified as an expert on the application of the Vienna Convention in death
           penalty cases in the state courts of California, Oklahoma and Georgia.
        5. My C.V. is attached to this affidavit.
        6. I have been asked by current post-conviction counsel for Obel Cruz Garcia,
           the Office of Capital Writs (OCW), to review various documents relating to
           Mr. Cruz Garcia’s capital murder prosecution in the 337th District Court of
           Harris County, Texas. Specifically, counsel has asked me to render an
                                                                           -
           opinion on the prevailing standard of care in Texas in 2011 2013 for capital
           trial counsel representing a non-national client.
        7. The list of materials I have reviewed includes: (1) Supplemental police
           report authored by E.S. Mehl on October 8, 2008; (2) Order by the 262nd
           District Court dated February 2, 2010 finding probable cause to detain Mr.

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            Cruz Garcia; (3) Notice to Defendant of State’s Intent to Use Extraneous
            Offenses and Prior Conviction; and (4) a copy of Mr. Cruz Garcia’s passport
            issued by the Dominican Republic.
        8. In my opinion, and based on my review of the records provided, counsel
            knew that their client was from the Dominican Republic. Under the ABA
           Guidelines for the Appointment and Performance of Defense Counsel in
            Death Penalty Cases and prevailing Texas practice, competent defense
            counsel would have notified Mr. Cruz Garcia of his rights under Article 36
            of the Vienna Convention . After obtaining Mr. Cruz Garcia’s consent, they
            would have notified consular officials of his detention and sought assistance
           from the consulate. If Mr. Cruz Garcia’s trial counsel failed to take these
           actions, that failure was objectively unreasonable.


           Evidence of Mr. Cruz Garcia’s Foreign Nationality
        9. Several documents confirm Mr. Cruz Garcia’s foreign nationality, and all of
           these would have been available to counsel well before the start of Mr. Cruz
                                                                      nd
           Garcia’s capital murder trial. On Febrary 12, 2010, the 262 District Court
           of Harris County issued an Order finding probable cause to detain Mr. Cruz
           Garcia. The Order indicates that Mr. Cruz Garcia is a foreign national,
           although it incorrectly identifies him as a national of Dominica a        —
           Caribbean island in the Lesser Antilles. The order also indicates that Mr.
                                                —
           Cruz Garcia required an interpreter another indicia of foreign nationality.
           A supplemental police report drafted by Officer E.S. Mehl on October 8,
           2008 identifies Mr. Cruz Garcia as a national of the Dominican Republic.
           Finally, on June 19, 2013, the prosecution filed a Notice to Defendant of
           State’s Intent to Use Extraneous Offenses and Prior Conviction. This notice
           indicates that “[t]he defendant is a citizen of the Dominican Republic who

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            entered the United States as well as the Commonwealth of Puerto Rico on
            multiple occasions since the late 1980s illegally and remained in both
            locations for periods of time as an undocumented alien.”


            Standard of Practice in Texas Capital Cases Involving Foreign
            Nationals
        10.The starting point for any inquiry into the reasonableness and quality of
            legal representation in a capital case is the American Bar Association’s
            “Guidelines for the Appointment and Performance of Defense Counsel in
            Death Penalty Cases.” The United States Supreme Court has observed that
            the ABA Guidelines establish the “prevailing norms of practice” that serve
            to measure counsel’s performance. Wiggins v. Smith, 539 U.S. 510, 522-24
           (2003) (finding counsel ineffective for failing to investigate defendant’s
            background ).   The 2003 ABA Guidelines specifically address counsel’s
            obligations when representing a foreign national client facing the death
           penalty. Guideline 10.6 unequivocally states that counsel should advise a
           foreign national client of her right to communicate with consular officials.
           Guideline 10.6 further advises counsel to seek and obtain a foreign national
           client’s consent to contact consular officials, and to follow through by
           informing the consular office of her client’s detention. Guideline 10.6 reads:


                      GUIDELINE 10.6—ADDITIONAL OBLIGATIONS OF
                      COUNSEL REPRESENTING A FOREIGN NATIONAL

                  A. Counsel at every stage of the case should make appropriate
                     efforts to determine whether any foreign country might
                     consider the client to be one of its nationals.




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                   B. Unless predecessor counsel has already done so, counsel
                      representing a foreign national should:

                      1. immediately advise the client of his or her right to
                      communicate with the relevant consular office; and

                      2. obtain the consent of the client to contact the consular office.
                      After obtaining consent, counsel should immediately contact
                      the client’s consular office and inform it of the client’s
                      detention or arrest.

                              a. Counsel who is unable to obtain consent should
                                 exercise his or her best professional judgment under
                                 the circumstances.

           11.In 2006, the Texas State Bar adopted Guideline 10.6 (B) in its Guidelines
               for Death Penalty Representation (“SBOT Guidelines”).1                            SBOT
               Guideline 10.3 reads as follows:
                  GUIDELINE 10.3 Additional                      Obligations       of    Counsel
                  Representing a Foreign National

                  A. Counsel at every stage of the case should make appropriate
                  efforts to determine whether any foreign country might consider
                  the client to be one of its nationals.

                   B. Counsel representing a foreign national should:

                  1. Immediately determine if the client's ability to communicate
                  with counsel, in English, is sufficient to allow counsel and the
                  client to adequately communicate. Counsel must recognize that
                  some foreign nationals speak in dialects of which counsel may be
                  unfamiliar, resulting in unintended miscommunication.



           1
            The Texas Court of Criminal Appeals has cited the SBOT Guidelines in assessing the
           prevailing standard of practice in Texas. See , e. g. , Ex parte Van Alstyne , 239 S . W.3d
           815, 822 (Tex. Crim. App . 2007); Ex Parte Medina, 361 S . W . 3 d 633 (Tex. Crim . App.
           2011).

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                  2. If there are any language conflicts, counsel should immediately
                  request the court to appoint an appropriate interpreter to assist the
                  defense in all stages of the proceeding, or counsel may request
                  permission to withdraw due to language problems. It is highly
                  recommended that both lead and associate counsel have adequate
                  communication with the defendant, rather than just one of counsel.

                  3. Immediately advise the client of his or her right to communicate
                  with the relevant consular office; and

                  4. Obtain the consent of the client to contact the consular office.
                  After obtaining consent, counsel should immediately contact the
                  client's consular office and inform it of the client's detention or
                  arrest. Counsel who is unable to obtain consent should exercise
                  his or her best professional judgment under the circumstances.

           12.The duties outlined in the ABA and SBOT guidelines stem from Article
               36 of the Vienna Convention on Consular Relations.              Article 36(b)
               imposes an obligation on state authorities to advise a detained foreign
               national of his right to have the consulate notified of his detention.
               Article 36 (a) and (b) further provide that detained foreign nationals have
               the right to communicate with consular officials. Article 36 (c) of the
               Vienna Convention on Consular Relations confers rights on consular
               officers to visit their nationals and arrange for their legal representation.
           13.The rights set forth in Article 36, and counsel’s corresponding duties
               under the ABA and SBOT Guidelines, are no mere formality . The
               Commentary to Guideline 10.6 offers a useful explanation of the range of
               services that consular officials can provide:
                  As a practical matter, consuls are empowered to arrange for their
                  nationals’ legal representation and to provide a wide range of
                  other services. These include, to name a few, enlisting the
                  diplomatic assistance of their country to communicate with the
                  State Department and international and domestic tribunals (e.g.,
                  through amicus briefs), assisting in investigations abroad,

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                  providing culturally appropriate resources to explain the American
                  legal system, and arranging for contact with families and other
                  supportive individuals. As a legal matter, a breach of the
                  obligations of the Vienna Convention or a bilateral consular
                  convention may well give rise to a claim on behalf of the client.

            American Bar Association, Standards for the Appointment and Performance
            of Defense Counsel in Death Penalty Cases, February, 2003 ( footnotes
           omitted).
        14.Consular involvement can literally make the difference between life and
            death in capital cases-    sven those involving highly aggravated crimes.
            Accordingly , the Commentary to the ABA Guidelines observes that
            “[ejnlisting the consulate’s support after obtaining the client’s consent to do
           so should therefore be viewed by counsel as an important element in
            defending a foreign national at any stage of a death penalty case.” Both the
           ABA and SBOT Guidelines highlight the importance of counsel’s duties in
           this regard by insisting that counsel should immediately notify her client of
           the right to consular notification and communication, and should
           immediately notify the consulate once the client’s consent has been obtained.
        15. The assistance provided by consular officials varies from case to case. I
           have been involved in at least two dozen cases in which consular officials
           have interceded with prosecutors prior to trial to persuade them not to seek
           the death penalty . In most of these cases, the prosecution decided to waive
           the death penalty in exchange for a guilty plea. In other cases, consular
           officials have been instrumental in obtaining mitigating evidence from the
           national’s home country that has a decisive impact on the penalty phase
           defense. Consular officials have also recruited legal counsel to represent
           foreign nationals facing the death penalty where trial counsel lacks the
           requisite experience or competence to defend a capital case.

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        16.Numerous courts have recognized the significance of consular assistance in
            capital prosecutions and have found trial attorneys ineffective for failing to
            inform foreign national clients of their consular rights. More than a decade
            ago, the Oklahoma Court of Criminal Appeals acknowledged the
            “significance and importance” of consular assistance in the case of a
            Mexican national, and declared:
                  It is evident from the record before this Court that the Government
                  of Mexico would have intervened in the case, assisted with
                  Petitioner's defense, and provided resources to ensure that he
                  received a fair trial and sentencing hearing...We believe trial
                  counsel, as well as representatives of the State who had contact
                  with Petitioner prior to trial and knew he was a citizen of Mexico,
                  failed in their duties to inform Petitioner of his right to contact his
                  consulate.

           Valdez v. State, 46 P.3d 703, 710 (Okla. Crim . App. 2002). In 2007, the
           Oklahoma Court of Criminal Appeals found trial counsel ineffective for
           failing to present mitigating evidence that they could have obtained with the
           assistance of lawyers working with the Mexican consulate.               Marquez
           Burrola v. State , 157 P.3d 749, 766 n.20 (Okla. Crim . App. 2007).
        17.As the above discussion makes clear, Mr. Cruz Garcia’s defense team should
           have been aware of their obligations to advise him of his right to seek
           consular assistance.     They should likewise have been aware of their
           corresponding obligation to advise the consulate of his detention. It seems
           highly likely that Mr. Cruz Garcia would have consented, given that he
           requested that his consulate be notified of his detention during his probable
           cause hearing on February 12, 2010. By August 2011, when trial counsel
           was appointed to represent Mr. Cruz Garcia, it was standard practice for
           Texas capital defense attorneys to seek the assistance of consular officials
           when representing a foreign national.

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        18.1n 2008, the U.S. Court of Appeals for the Seventh Circuit found trial
            counsel had rendered deficient performance by failing to notify his foreign
            national client of his consular rights and by failing to raise the issue in court.
            Osagiede v. United States, 543 F. 3d 399 (7th Cir. 2008). In support of its
            conclusion, the court cited Illinois state guidelines that had adopted language
            similar to SBOT Guideline 10.3, and held that “[prevailing norms of
            practice as reflected in American Bar Association standards and the like ...
            are guides to determining what is reasonable.” Id. at 411 (citing Strickland
            v. Washington, 466 U.S. 668 (1984)). It noted that Vienna Convention
            claims had been the subject of litigation in several high profile cases leading
            to widespread local and national media coverage.2 Id. The court concluded
            that “[i]n this climate, we believe that Illinois criminal defense attorneys
            representing a foreign national in 2003 should have known to advise their
            clients of the right to consular access and to raise the issue with the presiding
            judge.” Id.
        19.lt is inconceivable that a Texas capital defense lawyer in 2011 could be
            unaware of his obligations to facilitate a foreign national client’s exercise of
           his consular rights. Whether counsel’s failure to fulfill their duties derived
           from ignorance or inattentiveness matters little; in either case, their
           performance fell well below an objective standard of reasonableness when
                                 \
           measured against prevailing professional norms.
        20.1 have read and reviewed this eleven-page affidavit.


           2
            The same is true in Texas. See, e .g., Bill Mears, Mexican National Executed in Texas,
           CNN, July 7, 2011 ; Allen Turner and Rosanna Ruiz, Medellin Executedfor Rape ,
           Murder of Houston Teens, HOUST. CHRON . , Aug. 5 , 2008; Ginger Thompson, An
           Execution in Texas Strains Ties With Mexico and Others, N. Y . TIMES, August 16, 2002,
           at A6; Appeals Court Clears Way for Canadian ’s Execution in Texas, CNN, Dec, 10,
           1998 .

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            I declare under penalty of perjury under the laws of the State of New York
            that the foregoing is true and correct to the best of my knowledge and that
            this affidavit was executed on the              August, 2015 in Ithaca, New
            York.



                                                            iandra L. Babcock



            Subscribed and sworn before me this    12.^ ^    of   /Xuc v ^ -V
            2015, in Ithaca, New York.                                 ^
                                                                            ERICA J. RUSSELL


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                                          Cornell Law School
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                                           Ithaca, NY 14853
                                           Tel. 607-255-5278
                                          slb348@cornell.edu

                                             March 18, 2015


  TEACHING            Clinical Professor, Cornell Law School                                  2014-present
                      Teach clinical courses on international human rights. Supervise students on wide
                      variety of human rights projects, including litigation before international tribunals,
                      advocacy before UN bodies, prisoners’ rights work in Malawi, capital defense work
                      in the United States, and human rights advocacy in a variety of other countries.
                      Represent Mexican nationals facing execution and advise the Government of
                      Mexico regarding the defense of Mexican nationals on death row within the United
                      States.

                      Fulbright-Toqueville Distinguished Chair, Université de Caen                Fall 2014
                      First clinical professor awarded the top Fulbright fellowship in France, for a project
                      involving the comparative study of clinical legal education in France and the
                      United States. Taught international human rights clinic and seminar on
                      international gender rights to French masters students. Gave series of lectures on
                      human rights and clinical education.

                      Clinical Professor, Center for International Human Rights, Northwestern
                      University Law School                                                   2006-2014
                      Taught clinical course on human rights advocacy as well as doctrinal classes in the
                      field of human rights. Recipient of Dean’s Teaching Award.

                      Tulane Law School/University of Amsterdam                              2004-2012
                      Amsterdam, The Netherlands
                      Taught courses on international women’s rights and international law and the death
                      penalty

                      University of Addis Ababa, Ethiopia                                       Dec. 2008
                      Taught course on gender and international human rights


  EXPERIENCE          Reprieve (London)                                                Sept – Dec. 2012
                      Senior Fellow
                      Consultant to international team of lawyers providing legal assistance to prisoners
                      facing the death penalty.

                      Mexican Capital Legal Assistance Program                            2000-2006
                      Director
                      Directed a national program funded by Mexico to assist Mexican nationals facing
                      capital punishment in the United States. Advised the Mexican Foreign Ministry

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                      and Mexican consular officers in the U.S., supervised the work of 14 attorneys,
                      consulted with trial and post-conviction attorneys, experts and investigators, met
                      with diplomats and consular officials, organized training seminars for consular
                      officials and defense attorneys, negotiated with prosecutors, and represented the
                      Government of Mexico in state and federal courts around the United States.
                      Counsel for the Government of Mexico in litigation on behalf of 54 Mexican
                      nationals before the International Court of Justice in Avena And Other Mexican
                      Nationals (Mex. v. U.S.).

                      Hennepin County Public Defender                                     1995-1999
                      Minneapolis, MN
                      Assistant Public Defender
                      Trial lawyer. Represented criminal defendants in state court facing felony and
                      misdemeanor charges.

                      Texas Capital Resource Center                                            1991-1995
                      Austin, TX
                      Supervising Attorney
                      Litigated capital cases in state and federal habeas corpus proceedings. Represented
                      four foreign nationals under sentence of death; conducted investigation in Mexico,
                      Vietnam, and Canada; and worked closely with government officials to enlist their
                      support of foreign citizens on death row. Wrote briefs, habeas corpus petitions, and
                      petitions for writ of certiorari, often under the pressure of an imminent execution
                      date. Conducted evidentiary hearings, investigated guilt and punishment phases of
                      capital cases, and argued before the United States Court of Appeals for the Fifth
                      Circuit.

  EDUCATION           Harvard Law School, J.D., June 1991
                            CIVIL RIGHTS/CIVIL LIBERTIES LAW REVIEW, Executive Editor
                            Harvard Human Rights Program

                      Johns Hopkins University, B.A. in International Relations, June 1986
                            Phi Beta Kappa
                            Harry S. Truman Fellow
                            Watson Fellow

                      Bologna Center, Johns Hopkins School of Advanced International Studies,
                      1984-1985

  HONORS AND          Awarded the Cesare Beccaria medal by the International Society of Social Defense
  AWARDS              and Humane Criminal Policy for my commitment to the defense of individuals
                      facing the death penalty, Dec. 2009

                      Awarded the Aguila Azteca by the Government of Mexico, May 2003, for legal
                      assistance provided to Mexico and Mexican nationals facing the death penalty in
                      the United States. The Aguila Azteca is the highest honor bestowed by the
                      Government of Mexico upon citizens of foreign countries.

                      Minnesota Association of Criminal Defense Lawyers, Outstanding Legal
                      Achievement Award, February 25, 2006.


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                      Outstanding Legal Service Award, National Coalition to Abolish the Death
                      Penalty, October 2004.

                      Access to Justice Award, Minnesota Hispanic Bar Association, October 23, 2003.

                      Volunteer Award, Minnesota Advocates for Human Rights, June 2004.

                      1997 “Public Defender of the Year,” Hennepin County Public Defender’s Office.

                      Recognized as one of the outstanding criminal defense lawyers in the State of
                      Minnesota by Minnesota Law and Politics magazine for five consecutive years.

  PUBLICATIONS        Le droit international et la peine de mort: Dans le flou entre la théorie et la
                      pratique, in « Vers l’interdiction absolue de la peine de mort : perspectives
                      philosophiques et juridiques », Ecole Normale Supérieure, France (forthcoming
                      2015).

                      Death Penalty Worldwide, http://www.deathpenaltyworldwide.org/index-cihr.cfm.
                      The death penalty worldwide project includes a comprehensive database on the
                      laws and practices of 90 countries and two territories that continue to apply the
                      death penalty. It represents the first attempt by any academic institution to compile
                      this information and make it available to the public. Three years of research went
                      into the project, which also includes information on various topics of international
                      law and the death penalty. Financial support for the database was received from
                      the European Union, through the World Coalition Against the Death Penalty, as
                      well as the Proteus Action League. The database was launched in Strasbourg at the
                      Council of Europe on April 14, 2010, and is continually updated.

                      The Mandatory Death Penalty in Malawi: The Unrealized Promise of Kafantayeni,
                      with Ellen Wight, in Peter Hodgkinson and Kerry Ann Akers, THE LIBRARY OF
                      ESSAYS ON CAPITAL PUNISHMENT (Ashgate 2013).

                      The Limits of International Law: Efforts to Enforce Rulings of the International
                      Court of Justice in U.S. Death Penalty Cases, 62 SYRACUSE L. REV. 183 (2012).

                      International Standards on the Death Penalty, 28 THOMAS M. COOLEY L. REV. 103
                      (2011).

                      Human Rights Advocacy in United States Capital Cases, in THE CONTEMPORARY
                      HUMAN RIGHTS MOVEMENT IN THE UNITED STATES (2007).

                      The Global Debate on the Death Penalty, in AMERICAN BAR ASSOCIATION, HUMAN
                      RIGHTS, Spring 2007.

                      The Growing Influence of International Tribunals, Foreign Governments and
                      Human Rights Perspectives in United States Death Penalty Cases, in CENTER FOR
                      CAPITAL PUNISHMENT STUDIES, OCCASIONAL PAPERS vol. 2 (August 2005).

                      The Role of International Law in United States Death Penalty Cases, 15 LEIDEN J.
                      INT’L LAW (2002).


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                        L’application du droit international dans les executions capitals aux Etats-Unis:
                        de la théorie à la pratique, in LA PEINE CAPITALE ET LE DROIT INTERNATIONAL DES
                        DROITS DE L’HOMME, Université Panthéon-Assas (Paris II) (2003)(in English with
                        introduction in French).

                        Co-author, Namibia: Constructive Engagement and the Southern Africa Peace
                        Accords, 2 HARV. HUM. RTS. J. 149 (1989).

  GRANTS
  RECEIVED:             February 2013: Received grant in the amount of $4,000 from the Northwestern
                        Program of African Studies to research laws and practices of African states that
                        retain the death penalty.

                        September 2010-August 2012: Received three annual grants in the amount of
                        $10,000 (each) from the Proteus Action League for research relating to the Death
                        Penalty Worldwide database.

                        May 2012: Obtained a 3-year grant from the European Union in the amount of
                        $100,000 for ongoing research associated with the Death Penalty Worldwide
                        database.

                        September 2011: Received $4,000 from the French Embassy for ongoing research
                        associated with the Death Penalty Worldwide database and translation of database
                        into French

                        2010: European Union funded an independent researcher to assist me in completing
                        the Death Penalty Worldwide database in the amount of 50,400 euros

  LANGUAGES             Proficient in French and Spanish, conversational Italian and German

  RECENT LECTURES AND PRESENTATIONS (not a complete list):

  Speaker, “Foreign Nationals Facing Capital Punishment,” Expert meeting organized by the UN High
  Commissioner on Human Rights, Geneva, Switzerland, June 16, 2015.

  Moderator, “Framing the Issues—Women, Prison, and Gender-Based Violence,” 2015 Women and
  Justice Conference, Washington, D.C., April 15, 2015.

  Panelist, “Human Rights in Western Sahara: The Right to Self-Determination,” United Nations, Geneva,
  March 10, 2015.

  Speaker, “La peine de mort aux États-Unis,” University of Tours, Tours, France, December 4, 2014.

  Speaker, “Pourquoi la peine de mort survit-elle en Amérique ? Etats-Unis v Mexique,” Association
  France-Amériques, Paris, France, December 2, 2014.

  Leçon Inaugurale, “Cliniques juridiques, l’enseignement du droit et accès à la justice,” Inaugural lecture
  as Fulbright-Toqueville chair at Université de Caen, Basse-Normandie, November 19, 2014.

  Guest lecture, “Les cliniques juridiques aux États-Unis,” University of Paris-Nanterre, Paris, France,
  October 20, 2014.

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  Speaker, “Politique, morale et légalité de la peine de mort au XXIème siècle,” Caen Memorial (World
  War II Museum), Caen, France, October 8, 2014.

  Speaker, “Global Politics, Morality, and the Declining Use of the Death Penalty,” Illinois Wesleyan
  University, Feb. 6, 2014.

  Speaker, “Fair Trial and Due Process Guarantees in the Use of the Death Penalty,” Expert Seminar on
  Moving Away from the Death Penalty in Southeast Asia, Seminar with Southeast Asian Governments
  organized by the UN High Commissioner on Human Rights, Bangkok, Oct. 22-23, 2013.

  Speaker, “La nécessité de reviser les guaranties des roits des personnes passibles de la peine de mort,”
  (delivered in French), Ecole Normale Supérieure, Paris, Oct. 18, 2013.

  Speaker and Chair, “Legal Representation in Capital Cases,” Fifth World Congress Against the Death
  Penalty, Madrid, June 14, 2013.

  Closing speaker, “Contra las penas crueles e inhumanas y la pena de muerte,” Real Academia de Bellas
  Artes, Madrid, June 11, 2013.

  “Réflexions sur la peine de mort,” Speech delivered at the French Ministry of Foreign Affairs, Quai
  d’Orsay, Paris, on the occasion of World Day Against the Death Penalty, Oct. 9, 2012.

  “Methods of Execution as Cruel, Inhuman or Degrading Treatment or Punishment,” Presentation given at
  expert meeting with UN Special Rapporteurs on Torture and on Extrajudicial, Summary and Arbitrary
  Executions, June 26, 2012, Harvard Law School, Cambridge, MA.

  “The Death Penalty Worldwide: Prospects for Reform and Abolition,” Cornell Law School, April 13,
  2012.

  Speaker, “Le droit à la vie et la fourniture de substances létales,” and “Les resistances à la abolition de la
  peine capital”, at workshop hosted by the College de France, Paris, entitled “La protection international
  du droit à la vie: Mobiliser le système penal?”, Nov. 18, 2011.

  Speaker, “Estrategias de litigio en casos de pena de muerte,” Congreso Sobre Abolición Universal de la
  Pena de Muerte y Otros Tratos o Penas Cureles, Inhumanos o Degradantes, Law Faculty of the University
  of Buenos Aires, Sept. 21, 2011.

  Speaker, “Cross-Examination and Other Litigation Strategies in the U.S. Criminal Justice System,”
  Defensoría General de la Nación, Buenos Aires, Sept. 20, 2011.

  Panelist, L’iniezioine letale e la pena di morte,” Hands off Cain, Rome, Italy, Dec. 3, 2010.

  Speaker, “Reflecciones sobre la pena de muerte,” Academic Network Against the Death Penalty, Madrid,
  Spain, Oct. 4, 2010.

  Speaker, “Reflections on the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 26, 2010.

  Panelist, “Abolition of the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 27, 2010.

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  Panelist, “Author Meets Reader – The Next Frontier: National Development, Political change, and the
  Death Penalty in Asia,” Law and Society Association, Chicago, May 28, 2010.

  Panelist, “Innovative Models and Solutions: Reducing Prison Overcrowding through Paralegals and
  Other Programmes,” United Nations Office on Drugs and Crime 12th Quinquennial Congress, Salvador,
  Brazil, Apr. 15, 2010.

  Moderator, “Privatization of Prisons: Global Trends and the Growing Debate,” United Nations Office on
  Drugs and Crime 12th Quinquennial Congress, Salvador, Brazil, Apr. 14, 2010.

  Panelist, “Death Penalty: Abolition or Moratorium,” United Nations Office on Drugs and Crime 12th
  Quinquennial Congress, Salvador, Brazil, Apr. 13, 2010.

  Panelist, “Promoting Abolition Through Academic Research and Collaboration,” World Congress
  Against the Death Penalty, Geneva, Switzerland, Feb. 25, 2010.

  Panelist, “Conditions and Limits for International Legal Cooperation Regarding the Death Penalty,”
  Conference sponsored by the Centro de Estudios Políticos y Constitucionales, Madrid, Spain, Dec. 11,
  2010 (Presentation given in Spanish).

  Speaker, “International Legal Standards and the Death Penalty” and “Challenges in the Application of the
  Death Penalty: The U.S. Experience,” at seminar sponsored by the Moroccan Ministry of Justice and the
  Centre for Capital Punishment Studies, Rabat, Morocco, Oct. 5-7, 2009.

  Panelist, “Unfinished Business: Human Rights Treaties and the Obama Administration,” panel organized
  by the Journal of International Human Rights, Feb. 3, 2009.

  Panelist, “International Policy in the Obama Administration,” panel organized by Amnesty International
  and the International Law Society, Jan. 23, 2009.

  Panelist: “Retos para el Derecho Internacional post-Medellin y retos para el Estado Mexicano en espera
  de próximas ejecuciones,” Universidad Iberoamericana, October 30, 2008, Mexico City, Mexico.

  Presentation for Military Commissions Lawyers on “International Human Rights Law and the Military
  Commissions Act,” American Civil Liberties Union, September 29, 2008, New York, NY

  Panelist, “Relevance of the Use of the Inter-American System for the Protection of Human Rights”, at
  Conference entitled “The United States and the Inter-American Human Rights System, organized by
  Columbia University Law School and the Center for Justice and International Law, New York, NY, April
  7, 2008

  Panelist, “The Quest for International Justice,” at A Celebration of Public Interest, Harvard Law School,
  March 13-15, 2008.

  Speaker, “Client to Cause: locating our work, identifying the tensions, pedagogic opportunities and
  goals,” Annual Human Rights Clinicians Conference, March 1, 2008.

  Yale Law School, September 20, 2006, “Enforcing International Law in U.S. Death Penalty Cases: From
  The Hague to Houston.”


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  Keynote Speaker, Amnesty International Human Rights Awards Dinner, University of St. Thomas School
  of Law, April 19, 2006.

  “La Pena de Muerte en Estados Unidos,” Mexican Foreign Ministry, Instituto Matias Romero, lectures
  given to students in diplomatic academy in 2001, 2002, 2004, and 2005, Mexico City, México.

  “International Standards on the Death Penalty,” at the International Leadership Conference on the Death
  Penalty in Tokyo, Japan, Dec. 7, 2005.

  Keynote Speaker, NAACP Legal Defense Fund Annual Conference for Capital Defense Lawyers, Airlie,
  Virginia, July 23, 2004.

  Ford Foundation: “Close to Home: Human Rights and Social Justice Advocacy in the United States,”
  Panelist, “Human Rights and U.S. Law,” June 21, 2004, New York, New York.

  University of Westminster School of Law, London, October 14, 2003, “The Growing Influence of
  International Tribunals, Foreign Governments and Human Rights Perspectives in United States Death
  Penalty Cases.”

  Avocats San Frontières, “Del Proceso penal inquisitivo hacia el acusatorio,” Bogotá, Colombia, August 4,
  2003.

  Canadian Department of Foreign Affairs, “Transcending Barriers: 25th Anniversary of International
  Transfer of Offenders Program,” Presentation on Prisoner Exchange Treaties, Ottawa, Canada, May 23,
  2003.




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                 EXHIBIT 27




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            Consulado General de la Republica Dominicana en New York


                   002681

                                           TO WHOM IT MAY CONCERN


          The Vienna Convention of April 24, 1963, on Consular Relations, made available the
          provision, for foreign citizens accused or arrested, of notifying the consular authorities of their
          country of origin, with the sole purpose of guaranteeing such foreign national the protection of
          their rights, proper legal representation and the opportunity to contact family members who
          can participate in the judicial procedures and aid in the investigations; the consular agents can
          also work with the defendants lawyers to locate witnesses or records in the Dominican
          Republic. The above mentioned Vienna Convention also allows the Consulate to send
          documents and letters to the court, and to be present in court, to support the foreign national
          and to protect the rights of the defendant.

          In the case of Mr. Obel Cruz-Garcia, this office has no records whatsoever of a consular
          notification of Mr. Cruz-Garcia’s arrest, in accordance to Vienna Convention stipulations. If
          Mr. Cruz-Garcia would have contacted our offices and requested our help, this consulate
          general would have provided Mr. Cruz-Garcia with whatever partial or total assistance it
          could, at that moment, as stated above.

          According to our experience, consular intervention can make the difference in a legal
          procedure. There are many examples of cases to prove the big difference such assistance can
          make in the fate of a person accused of committing a crime.

          The present is issued upon the interested parties’ request, for purposes deemed appropriate, in
          the city of New York, United States of America, on the Thirteenth (13th) day of the month of
          August in the year Two Thousand Fifteen (2015).




           1501 Broadway Suite 410, New York, NY 10036. TeL (212) 768-2480. Fax: (212) 768-2677 .   : i nnsuluiord-ny.orv

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            Consulado General de la Republica Dominicana en New York

               002681

                                           A QUIEN PUEDA INTERESAR:



          La Convention de Viena del 24 de abril del 1963 sobre Relaciones Consulares dispone el
          procedimiento a seguir cuando un nacional de un pais extranjero es detenido o arrestado y la
          obligatoriedad de notificar a las autoridades consulares del pais de origen de ese arresto o
          detention, esto con el unico objetivo de que ese nacional reciba la protection y la asesoria
          legal correspondiente, a saber: respeto a sus derechos, representation legal activa, contactar
          los familiares del acusado para que participen en Ios procedimientos judiciales y en la
          investigation del caso; los agentes consulares tambien pueden trabajar con los abogados del
          acusado para localizar registros u otros testigos en la Republica Dominicana; enviar
          documentos y cartas a la corte, e incluso estar fisicamente presente en la corte en apoyo del
          ciudadano, con el objetivo de proteger los derechos del acusado.

          En el caso del sefior Obel Cruz-Garcia, no existen registros en esta oficina de la notification
          consular de la detention del senor Cruz-Garcia, en cumplimiento de lo dispuesto en la
          Convention de Viena. Si el Sr. Cruz-Garcia hubiera contactado nuestra oficina y pedido
          ayuda, esta oficina hubiera proporcionado una parte o la totalidad de la ayuda que se
          menciono anteriormente, en la medida posible en ese momento.

          Es nuestra experiencia que la intervention consular puede hacer una diferencia en el
          procedimiento legal . Son muchos los ejemplos de casos para demostrar la gran ventaja que
          nuestra asistencia puede hacer en el destino de una persona acusada de un crimen.

          La presente certification es expedida a petition de parte interesada, en la ciudad de New
          York, Condado y Estado del mismo nombre, Estados Unidos de America, a los trece (13) dias
          del agosto del ano dos mil quince (2015).

                                                        Atentamente,




                                         Arq. Rafael Eduardo St
                                                    Consul Gene



           1501 Broadway Suite 410, New York , NY 10036. Tei (212) 768-2480.

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                 TEXAS FORENSIC
                 SCIENCE COMMISSION
                 Justice Through Science
                 1700 North Congress Ave., Suite 445
                 Austin,Texas 78701



       August 21, 2015


              Members of the Texas Criminal Justice Community:

              This letter provides notification to the community regarding an issue of potential concern
       to judges, criminal prosecutors, criminal defense lawyers, victims and defendants in the Texas
       criminal justice system. The concerns involve the interpretation of DNA results where multiple
       contributors may be present, commonly referred to as DNA mixture interpretation. The attached
       document details the origin and scope of the concerns.

               While the Commission assesses the issues described in the attached document, we
       recommend any prosecutor, defendant or defense attorney with a currently pending case
       involving a DNA mixture in which the results could impact the conviction consider requesting
       confirmation that Combined Probability of Inclusion/Exclusion (referred to as “CPI” or “CPE”)
       was calculated by the laboratory using current and proper mixture interpretation protocols. If the
       laboratory is unable to confirm the use of currently accepted protocols for the results provided,
                                               -
       counsel should consider requesting a re calculation of CPI/CPE.

            The extent to which any closed criminal cases may require re-analysis will be a subject of
       Commission review and subsequent notification to the stakeholder community.

              If you have any questions regarding these issues, please contact the Commission’s
       general counsel, Lynn Garcia, at 512-936-0649 or lynn.garcia@fsc.texas.gov.


                                                           Sincerely,



                                                           Vincent J.MVDi Maio, MD
                                                           Presiding Officer




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                           Unintended Catalyst: the Effects of 1999 and 2001 FBI STR Population Data
                             Corrections on an Evaluation of DNA Mixture Interpretation in Texas

                    1. FBI Data Corrections: What Do They Mean?

            In May 2015, the Federal Bureau of Investigation (“FBI”) notified all CODIS laboratories it
    had identified minor discrepancies in its 1999 and 2001 STR Population Database. Laboratories across
    the country have used this database since 1999 to calculate DNA match statistics in criminal cases and
    other types of human identification. The FBI attributed the discrepancies to two main causes: (a)
    human error, typically due to manual data editing and recording; and (b) technological limitations (e.g.,
    insufficient resolution for distinguishing microvariants using polyacrylamide gel electrophoresis), both
    of which were known limitations of the technology. The FBI has provided corrected allele frequency
    data to all CODIS laboratories.

           In May and June 2015, Texas laboratories notified stakeholders (including prosecutors, the
    criminal defense bar and the Texas Forensic Science Commission) that the FBI allele frequency data
    discrepancies were corrected. The immediate and obvious question for the criminal justice community
    was whether these discrepancies could have impacted the outcome of any criminal cases. The widely
    accepted consensus among forensic DNA experts is the database corrections have no impact on the
    threshold question of whether a victim or defendant was included or excluded in any result. The next
    questions were whether and to what extent the probabilities associated with any particular inclusion
    changed because of the database errors.

            The FBI conducted empirical testing to assess the statistical impact of the corrected data. This
    testing concluded the difference between profile probabilities using the original data and the corrected
    data is less than a two-fold difference in a full and partial profile. Testing performed by Texas
    laboratories also supports the conclusion the difference is less than two-fold. For example, in an
    assessment performed by one Texas laboratory, the maximum factor was determined to be 1.2 fold. In
    other words, after recalculating cases using the amended data, the case with the most substantially
    affected Combined Probability of Inclusion/Exclusion (“CPI”)1 statistical calculation (evaluated for a
    mixed sample) changed from a 1 in 260,900,000 expression of probability to a 1 in 225,300,000
    expression of probability.

          Amended allele frequency tables are publicly available for anyone to compare the calculations
    made using the previously published data and the amended allele frequencies, though expert assistance
    may be required to ensure effective use of the tables.2

                    2. The Impact of FBI Database Errors on DNA Mixture Interpretation Using CPI

                                                           As part of their ongoing commitment to accuracy, integrity and transparency, many Texas
    laboratories offered to issue amended reports to any stakeholder requesting a report using the corrected
    FBI allele frequency data. Some prosecutors have submitted such requests to laboratories, particularly
    for pending criminal cases. As expected, the FBI corrected data have not had an impact exceeding the
    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
    1
      The Combined Probability of Inclusion/Exclusion is commonly referred to as either “CPI” or “CPE.” They are referred to
    jointly in this document as “CPI” for ease of reference.
    	  
    2
           https://www.fbi.gov/about-us/lab/biometric-analysis/codis/amended-fbi-str-final-6-16-15.pdf




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    two-fold difference discussed above. However, because analysts must issue signed amended reports
    with the new corrected data, they may only issue such reports if they believe the analyses and
    conclusions in the report comply with laboratory standard operating procedures. For cases involving
    DNA mixtures, many laboratories have changed their interpretation protocols and related procedures
    using CPI. To reiterate, changes in mixture interpretation protocols are unrelated to the FBI allele
    frequency data corrections discussed above. However, when issuing new reports requested because of
    the FBI data corrections, the laboratory’s use of current mixture protocols may lead to different results
    if the laboratory had a different protocol in place when the report was originally issued. Changes in
    mixture interpretation have occurred primarily over the last 5-10 years and were prompted by several
    factors, including but not limited to mixture interpretation guidance issued in 2010 by the Scientific
    Working Group on DNA Analysis (“SWGDAM”).

             The forensic DNA community has been aware of substantial variance in mixture interpretation
    among laboratories since at least 2005 when the National Institute of Standards and Technology
    (“NIST”) first described the issue in an international study called MIX05. Though NIST did not
    expressly flag which interpretation approaches were considered scientifically acceptable and which
    were not as a result of the study, it has made significant efforts to improve the integrity and reliability
    of DNA mixture interpretation through various national training initiatives. These efforts have
    ultimately worked their way into revised standard operating procedures at laboratories, including
    laboratories in Texas. Based on the MIX05 study, we know there is variation among laboratories in
    Texas and nationwide, including differences in standards for calculation of CPI that could be
    considered scientifically acceptable. However, we also know based on a recent audit of the
    Department of Forensic Sciences (“DFS”) in Washington, DC that some of the “variation” simply does
    not fall within the range of scientifically acceptable interpretation. This finding does not mean
    laboratories or individual analysts did anything wrong intentionally or even knew the approaches fell
    outside the bounds of scientific acceptability, but rather the community has progressed over time in its
    ability to understand and implement this complex area of DNA interpretation appropriately.

            While in many cases the changed protocols may have no effect, it is also possible changes to
    results may be considered material by the criminal justice system, either in terms of revisions to the
    population statistics associated with the case or to the determination of inclusion, exclusion or an
    inconclusive result. The potential range of interpretive issues has yet to be assessed, but the potential
    impact on criminal cases raises concerns for both scientists and lawyers. We therefore recommend any
    prosecutor, defendant or defense attorney with a currently pending case involving a DNA mixture in
    which the results could impact the conviction consider requesting confirmation that CPI was calculated
    by the laboratory using current and proper mixture interpretation protocols. If the laboratory is unable
    to confirm the use of currently accepted protocols for the results provided, counsel should consider
    requesting a re-analysis of CPI. 	  

            The Texas Forensic Science Commission is currently in the process of assembling a panel of
    experts and criminal justice stakeholders to determine what guidance and support may be provided to
    assist Texas laboratories in addressing the challenging area of DNA mixture interpretation. In
    particular, a distinction must be made between acceptable variance in laboratory interpretation policies
    and protocols and those approaches that do not meet scientifically acceptable standards. An emphasis
    on statewide collaboration and stakeholder involvement will be critical if Texas is to continue to lead
    the nation in tackling challenging forensic problems such as those inherent in DNA mixture
    interpretation.



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                                                                                 SUPPLEMENT NARRATIVE

PROGRESS REPORT                                          -
                                                        8 29 89                  TUESDAY

  , ALONZO ,                     WENT TO 5519 EAST HOUSTON AND TALKED WITH GILBERT GONZALES.
ORAL INTERVIEW WITH GILBERT GONZALES , I /M 29 , DOI                                                   .                                                   ADDRESS
         PHONIi

MR . GONZALES KNEW A CONVICT IN PRISON NAMED ALEX SHEPHERD WHO TOLD HIM ABOUT BE-
ING INVOLVED IN A MURDER COMMITTED BY A CUBAN NAMED"JAIME" . ANOTHER INDIVIDUAL
NAMED “SHORTY " WAS ALSO PRESENT. THE MURDER ACTUALLY TOOK PLACE IN A VAN OWNED
BY ALEX. WHO THEY MURDERED AND WHERE THEY DUMPED THE BODY, MR . GONZALES DID
NOT KNOW . IT TOOK PLACE SOMETIME BEFORE FEBRUARY SINCE THAT WAS WHEN ALEX
TALKED ABOUT THE MURDER.
I SHOWED MR . GONZALES SEVERAL I.D. PHOTOS INCLUDING ONE OF THE COMPLAINANT
AND ALFONSO FAUST1NO CERVANTES AKA"SHORTY". MR . GONZALES RECOGNIZED THE
PICTURE OF SHORTY IMMEDIATELY. HE SAID SHORTY , A DOPE DEALER , WAS ALWAYS
AROUND THE NEIGHBORHOOD . THE LAST TIME HE HAD SEEN HIM HE WAS DRIVING A
WHITE LTD WITH A PAIR OP' HANDCUFFS ON THE REAR VIEW MIRROR .

THE CUBAN , JAIME , USED TO LIVE SOMEWHERE BEHIND K MART OFF OF THE GULF FREEWAY
THE FIRST PART OF THE YEAR . MR . GONZALES HAD NOT SEEN HIM RECENTLY.

MR. GONZALES ALSO TOLD ME ABOUT SHORTY SHOOTING A GUY NAMED “LEO". LEO ALSO
A SMALL TIME DOPE DEALER LIVED IN THE EAST END. HE TOO WAS AROUND USUALLY
DRIVING A LIGHT BLUE 1980 CADILLAC.

MR . GONZALES HAD NO OTHER INFORMATION.
END OF ORAL INTERVIEW WITH GILBERT GONZALES***




      OGRESS REPORT                                       -
                                                        8 31 - 89                THURSDAY


R . E . GONZALES RECIEVED A MESSAGE THAT JOHNNY LOPEZ, WHO IS IN THE HARRIS
COUNTY JAIL, HAD SOME INFORMATION IN REGARDS TO THE MURDER OF THIS COMPLAINANT.

GONZALES AND I , ALONZO , WENT TO THE HARRIS COUNTY JAIL AND INTERVIEWED LOPEZ.


ORAL INTERVIEW WITH JOHNNY AMOS LOPEZ, L/ M 27 ,DOB                                                                                                        SSN
HOME ADDRESS

MR . LOPEZ TALKED ABOUT BEING THE BEST FRIEND OF THE COMPLAINANT.                                                                                                               FLORES WAS
A DEALER FOR "SHORTY" UNTIL THEY HAD A FALLING OUT. WHEN FLORES                                                                                                                 WAS WORKING FOR
SHORTY , SHORTY ALWAYS HAD A PLACE FOR HIM TO STAY AND CLOTHES TO                                                                                                               WEAR. LOPEZ
TALKED ABOUT HOW FLORES WAS ONLY A KID TRYING TO MAKE A LIVING.                                                                                                                 HE WAS SAD




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ABOUT FLORES DYING THAT WAY .

FLORES RELATED AN INCIDENT TO LOPEZ , WHERE SHORTY HAD TIED HIM UP WITH SOME WIRE
~'r AN APARTMENT NEAR BRISCOE ELEMENTARY SCHOOL WHERE THEY LIVED AT ONE TIME.
   IRES HAD MANAGED TO GET HIS LEGS UNTIED AND LEAPED OUT A SECOND STORY WINDOW
. ROM THAT APARTMENT. SHORTY LOOKED FOR HIM FOR ABOUT A MONTH UNTIL FLORES
WAS FOUND DEAD . FLORES HAD RIPPED A HALF OUNCE OF COCAINE THAT BELONGED TO
SHORTY. DURING THE MONTH FLORES WAS HIDING FROM SHORTY , LOPEZ SAID HE WOULD
COME AROUND NEVER STAYING IN ONE PARTICULAR PLACE. SEVERAL TIMES SHORTY
CAUGHT UP WITH FLORES WHO MANAGED TO GET AWAY. ONE PARTICULAR INCIDENT
IX)PEZ RECALLED SHORTY TELLING SOME PEOPLE IN A BEER JOINT, THAT IF THEY SAW
FLORES TO HAVE HIM REPORT TO HIM.

LOPEZ SAID HE DID NOT WANT TO HAVE ANYTHING TO DO WITH SHORTY .                                                                                                                 HE SEEMED THE
TYPED THAT COULD NOT BE TRUSTED.
LOPEZ DID NOT HAVE ANY MORE INFORMATION.


END OF ORAL INTERVIEW .
CASE DISPOSITION (MARK ONLY ONE CATEGORY) ANY SUSPECTS MUST BE LISTED ON PAGE 9
  ARRESTED AND CHARGED IN THIS CASE (INCLUDES JUVENILES ARRESTED AND REFERRED)
  ARRESTED AND CHARGED IN OTHER CASES (BUT NOT THIS CASE)
  EXCEPTIONAL CLEARANCES     MUST HAVE THE FOLLOWING CONDITIONS IN NARRATIVE:
    IDENTITY OF OFFENDER IS ESTABLISHED , AND ENOUGH INFORMATION EXISTS TO
    SUPPORT AN ARREST, CHARGE , AND PROSECUTION , AND EXACT LOCATION OF THE
    OFFENDER IS KNOWN , AND THERE IS SOME REASON BEYOND LAW ENFORCEMENT CONTROL
    THAT PROHIBITS THE ARREST AND/OR CHARGING OF THE OFFENDER (MARK ONLY ONE).
    LACK OF PROSECUTION BY BY D. A . FOR NON - EVIDENTIARY REASON
    LACK OF PROSECUTION BY COMPLAINANT    ORAL CONFESSION WITH MINIMAL EVIDENCE

_   OTHER                  _
    MINOR OFFENSE (JUVENILE ONLY)         DEATH OF DEFENDANT

  UNFOUNDED   INACTIVE      CLEARED BY INVESTIGATION (INVESTIGATION CASES ONLY)
X CASE OPEN AND ACTIVE INVESTIGATION CONTINUING

       pplement entered by =                                       40092
       port reviewed by- EG                                                                             Employee number- 025010


No 0022-
Offense- MURDER
                             Street location information
                  --                                                                                                          - -
Nurober       123 Name - WINKLER                   Type         Suffix                                                                                                                    -
Apt no        Name TELEPHONE                   -
                                               Type         Suffix                                                                                                        -
Date of offense-07/01/09                    Date of supplement 09/22/89                                                                                        -
Compl (s) Last FLORES             -
                                 First SAUL        Middle CEDILLO                            -                                                     -
          Last                    -
                         Recovered stolen vehicles information
 Stored -                           by-                    Ph
                                                           | < (000) 000 0000                                                                                  -                                   -
Officerl A C ALONZO    -         Emp#- 040892 Shift 1 Div/Station- HOMICIDE                                                   -




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                                                                                        SUPPLEMENT NARRATIVE

PROGRESS REPORT                                              -
                                                        9 22 - 89                       FRIDAY

  rtSED ON THE INFORMATION PROVIDED BY JOHNNY AMOS I.OPEZ, IN SUPPLEMENT #21
-ALFONSO  FAUSTJNO CERVANTES , WILL BE LISTED AS WANTED FOR QUESTIONING (NO
WARRANT ISSUED) IN THE SUSPECT PAGE OF THIS REPORT.

MR . LOPEZ IDENTIFIED CERVANTES FROM SEVERAL PHOTOGRAPHS SHOWN HIM AT THAT TIME .
MR . LOPEZ KNOWS CERVANTES ONLY AS "SHORTY ".

EFFORTS TO LOCATE CERVANTES HAVE BEEN UNSUCCESSFUL.

WANTED FOR QUESTIONING: NO WARRANT ISSUED.
ALFONZO FAUSTINO CERVANTES AKA PEDRO GONZALEZ, TOMAS SEDIO , ROBERTO GONZALES ,
JAVIER TORRES , "SHORTY ".
CASE DISPOSITION (MARK ONLY ONE CATEGORY) ANY SUSPECTS MUST BE LISTED ON PAGE 9
  ARRESTED AND CHARGED IN THIS CASE (INCLUDES JUVENILES ARRESTED AND REFERRED)
  ARRESTED AND CHARGED TN OTHER CASES ( BUT NOT THIS CASE)
                                                                                                                                                                                                -
  EXCEPTIONAL CLEARANCES     MUST HAVE THE FOLLOWING CONDITIONS IN NARRATIVE:
    IDENTITY OF OFFENDER IS ESTABLISHED, AND ENOUGH INFORMATION EXISTS TO
    SUPPORT AN ARREST, CHARGE, AND PROSECUTION, AND EXACT LOCATION OF THE
    OFFENDER IS KNOWN , AND THERE IS SOME REASON BEYOND LAW ENFORCEMENT CONTROL
    THAT PROHIBITS THE ARREST AND/OR CHARGING OF THE OFFENDER (MARK ONLY ONE).
    LACK OF PROSECUTION BY BY D. A. FOR NON EVIDENTIARY REASON                                                                  -
        1
    LACK OF PROSECUTION BY COMPLAINANT
    MINOR OFFENSE (JUVENILE ONLY)
                                          ORAL CONFESSION WITH MINIMAL EVIDENCE
                                          DEATH OF DEFENDANT
        2
    OTHER
  UNFOUNDED    INACTIVE                                                       _
                            CLEARED BY INVESTIGATION (INVESTIGATION CASES ONLY)
X CASE OPEN AND ACTIVE INVESTIGATION CONTINUING
Supplement entered by = 40892
Report reviewed by -JOHNSON                                                                                               Employee number-064289


No- 0023

Offense             -     MURDER
                            Street location information
Number -
Apt no-
              123 Name WINKLER
              Name TELEPHONE                 Type
                                                 Type
                                                    -
                                                               Suffix
                                                           Suffix                                                                            -
                                                                                                                                                        -                              -
                                                                                                                                                                                                     -
Date of offense - 07/0l/89                Date of supplement 09/29/89                                                                                                       -
Compl (s) Laat FLORES
          Last -
                                      -
                                First SAUL        Middle CEDILLO                                        -                                                     -
                        Recovered stolen vehicles information
 Stored
Otficerl -A C ALONZO
                    -              by                     Ph# (000) 000 0000
                                Emp#-040892 Shift 1 Div/Station-HOMICIDE
                                                                                                        -                                    -
                                                                                                                                                                            -                                 -
Officer2- R E GONZALES          Emp# 041934 Shift -1                                                -




                                                                                                                                                                                                                                                     000997
             EXHIBIT 29 Page 003
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                 EXHIBIT 30




                                                                        000998
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                                  Declaration of Elizabeth Ramos
                I, Elizabeth Ramos, declare the following to be true and correct.
           1.      In 1989, 1 lived with my mother in an apartment building on Broadway Street
                   in Houston, Texas. While we lived there, I spent time with a man I called
                   “ Oben.” I have recently been shown a photo of Oben and am told the man’s
                   name is Obel Cruz-Garcia.
           2.      I met Oben at the apartment complex where we both lived, on Broadway
                   Street. Oben shared an apartment with his wife. I believe another man
                   sometimes stayed at the apartment with them. I have been shown a photo of
                   that man and recognize him as Oben’s friend, Rudy.
           3.      I was involved in a sexual relationship with Oben for about three or four
                   weeks. We usually met at Oben’s apartment. I knew he was married and
                   believe his wife did not know about our relationship. I was aware that Oben
                   and his friend Rudy sold cocaine, but I never learned details about their
                   business. Back then I used cocaine and sometimes I got it from Oben.
                   I no longer use drugs.
           4.      I stopped seeing Oben after a few weeks. I did not want a serious relationship
                   with anyone, and especially not a married man. Oben did not pursue me or try
                   to keep me in his life. Our relationship had been very casual, and it ended on
                   friendly terms. Around the time I ended our relationship, I moved out of my
                   mother’s apartment and into the home of my cousin. I do not think I ever saw
                   Oben after this. I did not know he was convicted of murder or that he is
                   in prison.
           5.      I was recently contacted and asked questions about my time with Oben. I have
                   been told that Oben’s friend, Rudy, testified that Oben killed a man named
                   Saul Flores and that the reason he killed Flores was because Flores was trying
                   to court me. I was told that Rudy testified that I called Oben from my
                   apartment (which would have been my mother’s apartment at the time) to tell
                   him that Flores was trying to start a relationship with me. Rudy then said that
                   Oben and others came to my apartment after I called and picked up Flores and
                   took him someplace else. I was also told that Rudy testified that Oben and
                   others killed Flores because of this, and then later placed his body in
                   a dumpster.




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           6.    None of this is true. I do not remember a young man named Saul Flores. I do
                 not even recognize his name. I was never “courted” by this man. I did not call
                 Oben and tell him that Flores was trying to start a relationship with me. He did
                                      —             —
                 not pick up this man or any man at my apartment under the circumstances
                 described by Rudy.
           7.    If the story were true, I am sure that I would remember a man being murdered
                 because he wanted to court me. I certainly would have remembered if several
                 men and Oben arrived at my mother’s apartment where I was living at the time
                 and removed another man interested in “some type of love relationship” with
                 me. The events described by Rudy regarding the murder of Saul Flores simply
                 did not happen.
           8.    Before this month, I was never contacted about Oben or about Saul Flores. In
                 2013, 1 lived in Houston and was available to discuss these events. I would
                 have testified, if needed, regarding the events described in this Declaration.
              I declare, under penalty of perjury, that the foregoing is true and correct and is
       based on my personal knowledge. This Declaration is signed on October ! j , 2018, in
       Harris County, Texas.




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                IN THE 337TH JUDICIAL DISTRICT COURT
                        HARRIS COUNTY, TEXAS

                                   AND

              IN THE TEXAS COURT OF CRIMINAL APPEALS
                           AUSTIN, TEXAS

                           §
Ex parte OBEL CRUZ-GARCIA, §
                           §             Writ No.
                           §             Trial Court Case No:
                           §             1384794
                           §
                Applicant. §              CAPITAL CASE
                           §
                           §
                           §


             SUBSEQUENT APPLICATION FOR
        POST-CONVICTION WRIT OF HABEAS CORPUS
                EXHIBITS 31 THROUGH 40
                                   Jeremy Schepers (Texas 24084578)
                                   Supervisor, Capital Habeas Unit
                                   David Currie (TX 24084240)
                                   Naomi Fenwick (TX 24107764)
                                   Assistant Federal Public Defender
                                   Office of the Federal Public Defender
                                   Northern District of Texas
                                   525 S. Griffin St., Ste. 629
                                   Dallas, Texas 75202
                                   jeremy_schepers@fd.org
                                   (214) 767-2746
                                   (214) 767-2886 (fax)

                                   Counsel for Obel Cruz-Garcia



                                                                       0001001
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                 EXHIBIT 31




                                                                       0001002
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                          AFFIDAVIT OF MICHAEL CASARETTO

      I, Michael Casaretto, state and declare as follows:

          1.   My name is Michael Casaretto. I have been barred as an attorney in the
               State of Texas since 2011. My bar number is 24071019. I operate a solo
               practice handling civil and criminal matters. My practice is based out of
               Brenham, Texas, but I regularly work in Houston and Harris County. I am
               also the president of the local state bar association in Waller County.
          2.   On the morning of July 16, 2013, I was at the Harris County Criminal
               Courthouse to make an appearance in a new criminal case. I arrived in the
               basement and began taking an elevator upstairs. As other people joined the
               elevator, I noticed two men come in on my side. Both men wore juror
               badges. One of the men appeared to be in his late-twenties or early-
               thirties. The other man appeared to be in his mid-fifties or early-sixties. In
               addition to myself and the two jurors, there were several other people in
               the elevator. However, despite the other people, I could clearly see and
               hear the two jurors.
          3.   As they got on the elevator, I could hear the two jurors speaking to each
               other.   They continued their conversation while we rode the elevator
               together. In listening to their conversation, it was clear to me that they
               were discussing the case for which they were jurors. Because I did not
               know anything about the case, I could not tell what exactly the two men
               were talking about. However, it was clear from their comments that they
               were speaking about the case itself. It seemed they were talking about the
               testimony of a witness they had heard—both the content of the testimony
               and how they felt about the evidence.




                                                                                         0001003
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          4.   I was immediately troubled by the possibility that two jurors were
               discussing an ongoing case publicly and outside the presence of the other
               jurors. I made note of the badges they were wearing, which indicated what
               court and judge they were assigned to. After checking in with my court, I
               went to the jurors’ courtroom and asked to speak with the judge.
          5.   I met with Judge Renée Magee in her chambers. I told the judge about
               what I had seen and heard in the elevator. I explained to her that, as an
               officer of the court, I felt it necessary to report to her conduct that appeared
               to me to reach the level of juror misconduct. I described both men to the
               judge, including what they were wearing. I no longer remember those
               details, but at the time I did. I also stated that I was willing to speak to the
               attorneys for the State and defense about what I had witnessed if they had
               questions.
          6.   After speaking with the judge I believed that I had fulfilled my duty to
               report the incident, and I left the courtroom. I was never contacted by the
               judge, the State, or the defense attorneys after that.
          7.   I had never reported juror misconduct prior to this event, and I have not
               done so since. I only did so in this case, because I believed I witnessed an
               obvious violation of the jurors’ obligations during trial.        This should
               indicate what a big deal I felt it was at the time. I felt obliged to say
               something because the juror misconduct seemed so blatant.
          8.   In April 2015, I was contacted by a post-conviction investigator with the
               Office of Capital Writs. The investigator explained to me that the case
               described above was the capital murder trial of his client, Obel Cruz-
               Garcia. I was shocked to learn that these were jurors serving on a capital
               trial. In addition, I was surprised to learn that there was no motion for a
               mistrial by the defense and that the judge did not remove the jurors.



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          9.   I would have willingly spoken to Cruz-Garcia’s defense attorneys about
               this incident had they contacted me. As someone who has practiced as a
               defense attorney, I know that the rule prohibiting jurors from discussing a
               case before all the evidence has been submitted is extremely important.
          10. I have reviewed the portion of Cruz-Garcia’s trial transcript in which the
               judge recounted our conversation for the record. In addition, she provided
               my name and phone number to both the State and defense counsel. In
               2013, that was my correct phone number. As described above, however, I
               was not contacted about this incident by anyone involved in the case until
               April 2015.
          11. I have read and reviewed this three-page affidavit.

          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on August 27, 2015 in Brenham, Washington County, Texas.




                                              Michael R . Casaxetto




      Subscribed and sworn to before me on August 27, 2015.


                                                         NICOLE C WHISNAMT
                                                        My COMTWSflM E >p*rei
                                                            April 21 , 2019
       Notary Public , Slate of Texas                                           s




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                 EXHIBIT 32




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                            AFFIDAVIT OF SHARON ALEXANDER

       I, Sharon Alexander, state and declare as follows:

          1.    My name is Sharon Alexander. I served as an alternate juror for the capital
                murder trial of Obel Cruz-Garcia in July 2013.           I sat through the
                presentation of both the guilt/innocence phase and the punishment phase of
                trial.
          2.    I have had some prior experience sitting on a jury, but it was not a criminal
                case. It was a civil case. It was about someone who had taken money
                from his company and used it for a vacation. So that experience did not
                really impact my role on the Cruz-Garcia jury.
          3.    During the trial, I did not read anything in the news about the case because
                we were told we were not supposed to. I do remember the case from when
                it happened, though, back in the ‘90s. I remember when they found the
                child’s body. I remember back then thinking it had to do with drugs. I
                wondered why it took so long for the case to come to court.
          4.    Although I did not sit in the actual deliberations, we would talk as a jury
                about the case and what was going on, some during the trial and some after
               the trial was over. We would talk during breaks, when we were in the jury
               room waiting. I do not remember anyone talking about the case outside of
               the jury room, though.
          5.   I remember learning from the other jurors that one of the jurors in
               particular was having a hard time voting for the death penalty. That was
               one of the things we talked about during the trial when we were together.
               The rest of the jurors had to work really hard to convince her. I remember
               her struggle was something that the jurors talked about during the trial
               because we knew the decision had to be unanimous. My understanding


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               was that if we did not all come to an agreement, there would be a mistrial
               and it would have to be done over again.
          6.   I have read and reviewed this two-page affidavit.

          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on August        J3_, 2015 in Houston, Harris County, Texas.


                                                 Sharon Alexander




       Subscribed and sworn to before me on August Jjj        ,   2015.




       Notary Public, State of Te s
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            m         NoaaywMhoutBond




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                 EXHIBIT 33




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                             AFFIDAVIT OF ANGELA BOWMAN

       I, Angela Bowman, state and declare as follows:

          1.   My name is Angela Bowman . I served as a juror for the capital murder
               trial of Obel Cruz-Garcia in July 2013.         I deliberated for both the
               guilt/innocence phase and the punishment phase of trial.
          2.   During the punishment phase deliberations, it became clear that I was the
               only juror voting for life without parole. One other juror initially voted for
               life instead of death, but eventually changed her mind . I tried to explain to
               the other jurors why I felt the death was not the appropriate punishment,
               but after several hours and one night of being sequestered, it was pretty
               clear I was not going to change anyone’s mind. In addition, I learned that
               my daughter was very sick, so I felt a lot of pressure to change my vote so
               that I could go home.
          3.   On the morning after we were sequestered, I sent a note to the judge asking
               to speak with her. The bailiff came and stopped deliberations, and I was
               taken to the judge’s chambers. It was just the judge and the court reporter
                in the room with me. I explained to the judge that I was stuck on my own
               side and that no other juror was voting the way I was. I asked her to put in
               an alternate in my place because I needed to go home.
          4.   The judge denied my request and told me that was not what alternates were
                for. Instead, the judge told me that I had to go back to the deliberations
               and try to come to a resolution. I do not remember her exact words to me,
                but I understood that she was telling me I had to go back into deliberations
                and see whether I could find it within myself to vote with the other jurors,
                without violating my conscience.



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          5.   The judge did not tell me what would happen if I could not change my
               mind or how long I would be there if I did not agree. I understood that it
                                         —
               could be a long time days, weeks even. That is something the other

                                                —.
               jurors also talked to me about that it could take a long time, but we
               would need to keep deliberating We did not know what would happen if I
               could not agree with them, but I think we figured there would be a mistrial .
          6.   Ultimately, I went back to deliberations like the judge instructed me to and
               thought about whether I could find a way to agree with the rest of the
               jurors. Because of all the pressure from the other jurors and my daughter
               being sick, I decided to change my vote to death.
          7.   At no time did I truly believe the evidence presented warranted a sentence
               of death, but I had to stop fighting what seemed inevitable.
          8.    After trial, I contact the defense attorneys and signed an affidavit
               discussing my true feeling, my daughter’s illness, and an incident in which
               the foreman used religious scripture verses to encourage the other hesitant
                juror to vote for death.
          9.    I have read and reviewed this two-page affidavit.

          I declare under penalty of perjury under the laws of the State of Texas that the
          foregoing is true and correct to the best of my knowledge and that this affidavit
          was executed on August l3 , 2015 in Houston, Harris County, Texas.




                                              AngehrBdwmarr^
       Subscribed ind sworn to before me on August          , 2015.


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         otary Public, State       xas
                                                                          ADMAN DELAROSA
                                                                          fr
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                                                                               ’gjggsa11
                                                                      Notary wfflhout Bond
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                 EXHIBIT 34




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                                        CAUSE NO. 1 ) 81910

   THE STATE OF TEXAS               §                IN THE 262 DISTRICT COURT

   vs.                              §                OF

   OBEL CRUZ-GARCIA                 §                HARRIS COUNTY, TEXAS




                                                                                   k
                                                                                 er
                               STATUTORY WARNING BY MAGISTRATE




                                                                               Cl
         ( UNDER ARTICLE 15.17 OF THE TEXAS CODE OF CRIMINAL PROCEDURE AS AMENDED)




                                                                                t
                                                                            ric
                                -
         ON THIS DAY OBEL CRUZ GARCIA, W , M, 7/8/67, PERSONALLY APPEARED BEFORE ME IN




                                                                         ist
   THE CUSTODY OF ERIC MEHL, AND I GAVE SAID ACCUSED THE FOLLOWING WARNING :




                                                                   lD
               -
   OBEL CRUZ GARCIA, YOU HAVE BEEN ACCUSED OF THE OFFENSE OF .




                                                             nie
         YOU HAVE THE RIGHT TO RETAIN COUNSEL. YOU HAVE A RIGHT TO REMAIN SILENT.
   YOU HAVE A RIGHT TO HAVE AN ATTORNEY PRESENT DURING ANY INTERVIEW WITH PEACE
                                                      Da
   OFFICERS OR ATTORNEYS REPRESENTING THE STATE. YOU HAVE A RIGHT TO TERMINATE AN
   INTERVIEW WITH PEACE OFFICERS OR ATTORNEYS REPRESENTING THE STATE AT ANY TIME.
                                                    ris
   YOU HAVE A RIGHT TO REQUEST THE APPOINTMENT OF COUNSEL IF YOU ARE INDIGENT AND
   CANNOT AFFORD COUNSEL, AND YOU HAVE A RIGHT TO HAVE AN EXAMINING TRIAL.
                                             Ch



        YOU ARE NOT REQUIRED TO MAKE ANY STATEMENT AND ANY STATEMENT YOU MAKE
                                            of




   MAY AND PROBABLY WILL BE USED AGAINST YOU IN YOUR TRIAL .
                                        e




        IF YOU ARE NOT A CITIZEN OF THE UNITED STATES, YOU MAY HAVE THE RIGHT TO
                                    fic




   CONTACT YOUR CONSULATE . IF YOU ARE A FOREIGN NATIONAL OF CERTAIN COUNTRIES,
                               Of




   YOU HAVE THE RIGHT TO HAVE YOUR CONSULATE CONTACTED FOR YOU .

                                A-          -
                            py




          YOUR BAIL IS SET AT      jS   * \\
          (OR )
                          Co




          BAIL IS DENIED. IF A FORMAL COMPLAINT IS FILED AGAINST YOU , YOUR BAIL WILL
   THEN BE SET.
                         ial




          ABOVE STATUTORY WARNING GIVEN BY THE UNDERSIGNED MAGISTRATEyHARRIS
   COUNTY TEXAS ON THE lU  DAY OF
                      fic
                   of




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                                                    F I L E MAGIStRA
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              Un




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   I UNDERSTAND THE ABOVE WARNING .
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   X     T) M
   DEFENDANT
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   REMARKS -


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                 EXHIBIT 35




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SUBPOENA BY STATE FOR WITNESS IN DISTRICT COURT.

                                                               No.1181910

The State Of Texas                                                                     In The District Court No. 337
vs.                                                                                    Of Harris County, Texas
OREL CRUZ GARCIA                                                                       Offense CAPITAL MURDER

                                                                                   -
To Any Peace Officer or person authorized in accordance with Art. 24.01( b) C.C.P. Greetings:

YOU ARE HEREBY COMMANDED TO SUMMON THE FOLLOWING NAMED WITNESS(ES) WHOSE LOCATION IN
HARRIS COUNTY AND VOCATION AS FAR AS KNOWN, I STATE BELOW:


JUAN DEJUS RODRIGUEZ

PLEASE CONTACT ADA NATALIE TISE OR DA INVESTIGATOR MICAH WEBB WITH ANY QUESTIONS, AT 713-755-6173.




if found in your county, to appear before the Honorable MIKE ANDERSON, District Court No. 337, Harris County, Texas, on
JANUARY 18, 2011 at 8:45 a. m., to give evidence in behalf of the State and Defendant in the above styled cause wherein the State of
Texas is the Plaintiff and OBEL CRUZ GARCIA is the Defendant, and to remain there from day to day, term to term until discharged by
the Court. The testimony of said witness(es) is believed to be material to the State.




                                                                                                                   QAFLU
                                                                            Assistant District Attorney                       7
                                                                            Harris County, Texas

Herein Fail Not, and due return make of this writ                                                    Witness my official Signature
                                              JAN 12 2011
this                             day of                               A.D. 2010.

CHRIS DANIEL
DISTRICT CLERK
HARRIS COUNTY, TEXAS                                                       BY                                            Deputy
                                                                                                                             0001015
   EXHIBIT 35 Page 001
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                 EXHIBIT 36




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 APPLICATION FOR SUBPOENA BY STATE FOR WITNESS IN DISTRICT pOURT
 NATALIE TISE - March 1, 2011
                                                             No .1289188/1289189
 The State Of Texas                                                                  ; In The District Court No .-262tuT
 vs .                                                                                : Of Harris County, Texas
 OREL CRUZ GARCIA                                                                    ; Offense CAP MURDER/AGG SEX ASST
 Please issue a subpoena in the above styled cause for the following named witness(es) whose
                                                                                             location in HARRIS County and vocation, as
 far as known, I state below:
                                                                                 :i
 Ronald Colderas, Custodian of Records, Admii
 former inmate Obel Cruz Garcia, Date of Birth
                                               ^^
                                                ^ of    ji     Corrections Department. Please provide a certified copy of the complete file on




                                                                                                          ORIGINAL RECEIVED m
                                                                                                          DISTRICT CLERK 'S OFFICE
                                                                                                                 3/ / n
                                                                                                          DATE     ^
                                                                                                                    Si
                                                                                                          DEPUTY



if found in your county, to appear before the Honorable MIKE ANDERSON, District Court No. Jl&Zna , Harris County
                                                                                                                              , Texas, on
instanter at 8:45 a. m., to give evidence in behalf of the State and Defendant in the above styled cause wherein
                                                                                                                 the State of Texas is the
Plaintiff and OBEL CRUZ GARCIA is the Defendant, and to remain there from day to day, term to term until discharged
                                                                                                                             by the Court.
The testimony of said witness(es) is believed to be material to the State.




                                                                            NATALIE TISE
                                                                            Assistant District Attorney
                                                                            Harris County, Texas
Sworn to and subscribed before me, this                                day of                              A. D. 201/ .
LOREN JACKSON
DISTRICT CLERK
HARRIS COUNTY, TEXAS                                                        BY
                                                                                         ^7                               Deputy

                                                                                                                               0001017
   EXHIBIT 36 Page 001
             Case 4:17-cv-03621
               Case  4:17-cv-03621Document 89-4
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                                             18-36     on 01/05/23 in TXSD
                                                           on 07/01/19       Page
                                                                       in TXSD    1022
                                                                                Page 2 of
                                                                                       of 1028
                                                                                          10

Tise , Natalie
From:                        Webb, Micah
Sent:                        Monday, February 28, 2011 3:07 PM
To:                          Tise, Natalie
Subject:                     FW: Subpoena


Can you get this on file, so I can get it to DeJesus?


From: Moran, Michelle
              ,
Sent: Monday February 28, 2011 3:05 PM
To: Webb, Micah
Subject: Subpoena


Micah,

DeJesus just called me from P.R. and informs me that they need a subpoena addressed to Ronald Colderas, Custodian of
Records, Administration of Corrections Department regarding defendant, please indicate defendants name and DOB
information... We will get a copy of the entire file while defendant was in custody at their prison.

Also, the District Attorney's office, has lost the file on defendants. When Natalie and I were there, they were looking for
the file...

Told DeJesus that I would fax him the subpoena tomorrow.

Thanks
Michelle




                                                             l

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   EXHIBIT 36 Page 002
         Case 4:17-cv-03621
           Case  4:17-cv-03621Document
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                                    # **   TX REPORT         ***
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   JIM LEITNER                                                                      CRIMINAL JUSTICE CENTER
   FIRST ASSISTANT                                                                   1201 FRANKLIN, SUITE 600
                                                                                    HOUSTON, TEXAS 77002-1901




                                  Patricia R. Lykos
                                   DISTRICT ATTORNEY
                                  HARRIS COUNTY, TEXAS



                              FAX COVER SHEET

   TO:                        FBI - Puerto Rico Field Office
   ATTENTION:                 Juan DeJesus

   FAX NUMBER:                787-277-7000


   FROM:                      Inv. Micah Webb
   TELEPHONE                  (713)755-0410
   FAX NUMBER                 (713)755-5469
   NUMBER OF PAGES            2
   (including cover sheet):

   Date and Time Sent         March 7, 2011 , 8 :59 AM

   REMARKS:                   Correccion Subpoena


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EXHIBIT 36 Page 003
       Case 4:17-cv-03621
         Case  4:17-cv-03621Document 89-4
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                                                                                 of 1028
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    JIM LEITNER                                                                  CRIMINAL JUSTICE CENTER
    FIRST ASSISTANT                                                               1201 FRANKLIN, SUITE 600
                                                                                 HOUSTON, TEXAS 77002-1901




                                       Patricia R. Lykos
                                         DISTRICT ATTORNEY
                                        HARRIS COUNTY, TEXAS



                                FAX COVER                        SHEET

    TO:                            FBI - Puerto Rico Field Office

    ATTENTION:                     Juan Dejesus

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   FAX NUMBER                     (713)755-5469
   NUMBER OF PAGES                2
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    REMARKS:                      Correccion Subpoena




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                                                                             Page 5 of
                                                                                    of 1028
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                   COURT SUBPOENA
                     A FINE AND IMPRISONMENT MAY BE IMPOSED
                          FOR FAILURE TO OBEY THIS NOTICE




 TO: Ronald Golderos                                    F:XTREMELY IMPORTANT
       Custodian of Records                               UPON RECEIPT, CALL
       Administracion de Correccion                    PERSON(S) CHECKED BELOW
       San Juan, Puerto Rico


                                                       Assistant District Attorney
  You are hereby notified to appear as a witness
                     before                                   NATALIE TISE
       Judge HERB RITCHIE                                        713-755-6173
                                                        District Attorney Investigator
          337th District County Court,
           Harris County, Texas
                                                               MICAH WEBB
        Located on the 15th Floor,
                                                                713-755-0410
  Harris County Criminal Justice Center,
   1201 Franklin St., Houston, TX 77002
             At 8:45 a.m. on:                                 Patricia R. Lykos
                                                              District Attorney

                INSTANTER

    In the case of the State of Texas vs.
            Obel Cruz Garcia

                            1181910
  CASE NO.:                                           MICAH WEBB, DA Investigator

   OFFENSE           CAPITAL MURDER
 SPECIAL INSTRUCTIONS :

 PLEASE PROVIDE A CERTIFIED COPY OF THE COMPLETEEILE FOR FORMER INMATE:
 OBEL CRUZ GARCIA. DOB:


fO AVOID FURTHER PROCESSING , CALL THE PERSON(S) HIGHLIGHTED
                                                                                      0001021
   EXHIBIT 36 Page 005
       Case 4:17-cv-03621
         Case  4:17-cv-03621Document 89-4
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                  PAGES SENT                           2
                  RESULT                          OK




   JIM LEITNER                                                              CRIMINAL JUSTICE CENTER
   FIRST ASSISTANT                                                           1201 FRANKLIN, SUITE 600
                                                                            HOUSTON, TEXAS 77002-1901




                                  Patricia R. Lykos
                                   DISTRICT ATTORNEY
                                  HARRIS COUNTY, TEXAS



                              FAX COVER SHEET

   TO:                        FBI - Puerto Rico Field Office
   ATTENTION:                 Juan Dejesus

   FAX NUMBER:                787-277-7000


   FROM:                      Inv. Micah Webb
   TELEPHONE                  (713)755-0410
   FAX NUMBER                 (713)755-5469
   NUMBER OF PAGES            2
   (including cover sheet):

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   REMARKS:                   Correccion Subpoena


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EXHIBIT 36 Page 006
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         Case  4:17-cv-03621Document 89-4
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                                                                          Page 7 of
                                                                                 of 1028
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    JIM LEITNER                                                                  CRIMINAL JUSTICE CENTER
    FIRST ASSISTANT                                                               1201 FRANKLIN, SUITE 600
                                                                                 HOUSTON, TEXAS 77002-1901




                                       Patricia R. Lykos;
                                         DISTRICT ATTORNEY
                                        HARRIS COUNTY, TEXAS



                                FAX COVER SHEET

   TO:                             FBI - Puerto Rico Field Office
   ATTENTION:                      Juan DeJesus

   FAX NUMBER:                     787-277-7000


   FROM:                           Inv. Micah Webb
   TELEPHONE                       (713)755-0410
   FAX NUMBER                      (713)755-5469
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   REMARKS:                        Correccion Subpoena




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EXHIBIT 36 Page 007
           Case 4:17-cv-03621
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                                                                              Page 8 of
                                                                                     of 1028
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                   COURT SUBPOENA
                     A FINE AND IMPRISONMENT MAY BE IMPOSED
                          FOR FAILURE TO OBEY THIS NOTICE




 TO: RONALD COLDERAS                                     EXTREMELY IMPORTANT
       Custodian of Records                                UPON RECEIPT, CALL
       Administracion de Coreccion                      PERSON(S) CHECKED BELOW
       San Juan, PR



  You are hereby notified to appear as a witness
                     before
       Judge HERB RITCHIE
                                                   ^    Assistant District Attorney

                                                                NATALIE TISE
                                                                  713-755-6173
                                                         District Attorney Investigator
         337th District County Court,
         Harris County, Texas
       Located on the 15th Floor,                              MICAH WEBB
 Harris County Criminal Justice Center,                         713-755-0410
  1201 Franklin St., Houston , TX 77002
            At 8:45 a.m . on:                                  Patricia R. Lykos
                                                               District Attorney

                INSTANTER

   In the case of the State of Texas vs.
            Obel Cruz Garcia

                            1289188
  CASE NO.:                                            MICAH WEBB, DA Investigator

  OFFENSE            CAPITAL MURDER
SPECIAL INSTRUCTIONS:

PLEASE PROVIDE A CERTIFIED COPY OF THE COMPLETE FILE FOR FORMER INMATE: OBEL
CRUZ GARCIA. DOB:


O AVOID FURTHER PROCESSING, CALL THE PERSON(S) HIGHLIGHTED
                                                                                       0001024
   EXHIBIT 36 Page 008
